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                            16-2523, 16-2524




                       d
                                   IN THE


  United States Court of Appeals
                    FOR THE FEDERAL CIRCUIT



                 DSS TECHNOLOGY MANAGEMENT, INC.,
                                                                            Appellant,
                                    —v.—

                                APPLE INC.,
                                                                            Appellee.



       ON APPEAL FROM THE UNITED STATES PATENT AND TRADEMARK OFFICE,
        PATENT TRIAL AND APPEAL BOARD IN IPR2015-00369 AND IPR2015-00373




                            JOINT APPENDIX




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 Appellant’s opening brief, page 43, cites Neve, Appx1117—the correct citation is
Neve, Appx1177.
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                   636 F. App'x. 575 (Fed. Cir. 2016)
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                   660 F. App'x 919 (Fed. Cir. 2016)




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  Appellant’s opening brief, page 40, cites Declaration of Dr. Hu at Appx1994 and
also at Appx2039. Because these pages are duplicates, only Appx1994 is included
in the Joint Appendix,
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Trials@uspto.gov                                           Paper No. 40
571-272-7822                                     Entered: June 17, 2016


       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                            APPLE INC.,
                             Petitioner,

                                  v.

             DSS TECHNOLOGY MANAGEMENT, INC.,
                        Patent Owner.
                        ____________

                        Case IPR2015-00369
                          Patent 6,128,290
                           ____________



Before JAMESON LEE, MATTHEW R. CLEMENTS, and
CHARLES J. BOUDREAU, Administrative Patent Judges.

BOUDREAU, Administrative Patent Judge.



                   FINAL WRITTEN DECISION
               35 U.S.C. § 318(a) and 37 C.F.R. § 42.73




                             Appx0001
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IPR2015-00369
Patent 6,128,290

                            I. INTRODUCTION
      A. Background
      Petitioner Apple Inc. (“Apple”) filed a Petition (Paper 1, “Pet.”) to
institute inter partes review of claims 1–4 of U.S. Patent No. 6,128,290 to
Carvey (Ex. 1001, “the ’290 patent”). Patent Owner DSS Technology
Management, Inc. (“DSS”) filed a Preliminary Response (Paper 8, “Prelim.
Resp.”). On June 25, 2015, we instituted an inter partes review of claims 1–
4 on one of two grounds of unpatentability presented in the Petition
(Paper 9, “Dec.”).
      After institution of trial, DSS filed a Patent Owner Response
(Paper 17, “PO Resp.”), and Apple filed a Reply thereto (Paper 24,
“Reply”). An oral hearing was held on March 15, 2016, and a transcript of
the hearing is included in the record (Paper 39, “Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(c). This Final Written
Decision is issued pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73.
      Based on the record before us, and for the reasons that follow, we
determine that Apple has demonstrated, by a preponderance of the evidence,
that each of claims 1–4 of the ’290 patent is unpatentable.

      B. Related Matters
      The ’290 patent has been the subject of two district court actions:
DSS Technology Management, Inc. v. Apple, Inc., No. 5:14-cv-05330-LHK
(N.D. Cal.), and DSS Technology Management, Inc. v. Lenovo (United
States), Inc., No. 6:14-cv-00525-JDL (E.D. Tex.). Pet. 3–4; Paper 4, 2.
IPR2015-00373 also involves claims of the ’290 patent and was argued
together with this proceeding at the March 15, 2016, oral argument.



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      C. The Instituted Ground
      We instituted a trial as to claims 1–4 of the ’290 patent under
35 U.S.C. § 103(a) as unpatentable over U.S. Patent No. 5,241,542 to
Natarajan et al. (Ex. 1003, “Natarajan”) and U.S. Patent No. 4,887,266 to
Neve et al. (Ex. 1004, “Neve”). Dec. 13–21.

                                II. ANALYSIS
      A. The ’290 Patent
      The ’290 patent, titled “Personal Data Network,” issued October 3,
2000, from U.S. Patent Application No. 08/949,999 (Ex. 1005, 22–62,
“the ’999 application”). The ’999 application was filed October 14, 1997, as
a continuation-in-part of U.S. Patent Application No. 08/611,695 (Ex. 1006,
21–61, “the ’695 application”), filed March 6, 1996, which matured into
U.S. Patent No. 5,699,357 (Ex. 2001, “the ’357 patent”). See Ex. 1001, 1:6–
8.
      The ’290 patent relates to a data network for bidirectional wireless
data communications between a host or server microcomputer unit and a
plurality of peripheral units referred to as personal electronic accessories
(PEAs). Ex. 1001, 1:11–14, 2:15–18. Among the objects of the invention is
the provision of a data network that requires extremely low power
consumption, “particularly for the peripheral units,” avoids interference
from nearby similar systems, and is relatively simple and inexpensive to
construct. Id. at 1:33–34, 1:39–45. Figure 1 of the ’290 patent, reproduced
below, is illustrative of the described wireless data network system.




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        Figure 1 is a block diagram of a wireless data network system linking
a server microcomputer, referred to as personal digital assistant (PDA) 11,
with a plurality of peripheral units, or PEAs, 21–29. Id. at 2:42–44, 2:66–
3:15.
        According to the ’290 patent, “the server microcomputer unit and the
several peripheral units which are to be linked are all in close physical
proximity, e.g., within twenty meters, to establish, with very high accuracy,
a common time base or synchronization.” Id. at 1:50–54. “Using the
common time base, code sequences are generated which control the
operation of the several transmitters in a low duty cycle pulsed mode of
operation.” Id. at 1:57–59. “The server and peripheral unit transmitters are
energized in low duty cycle pulses at intervals which are determined by a
code sequence which is timed in relation to the synchronizing information
initially transmitted from the server microcomputer.” Id. at 2:35–39. “The
low duty cycle pulsed operation both substantially reduces power
consumption and facilitates the rejection of interfering signals.” Id. at 1:59–

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61. “In the intervals between slots in which a PEA is to transmit or receive,
all receive and transmit circuits are powered down.” Id. at 4:6–8.

      B. Illustrative Claim
      Claim 1, the sole independent claim among the challenged claims, is
reproduced below. Challenged claims 2–4 depend directly or indirectly
from claim 1.
      1. A data network system for effecting coordinated operation of a
   plurality of electronic devices, said system comprising:
      a server microcomputer unit;
      a plurality of peripheral units which are battery powered and portable,
   which provide either input information from the user or output
   information to the user, and which are adapted to operate within short
   range of said server unit;
      said server microcomputer incorporating an RF transmitter for
   sending commands and synchronizing information to said peripheral
   units;
      said peripheral units each including an RF receiver for detecting said
   commands and synchronizing information and including also an RF
   transmitter for sending input information from the user to said server
   microcomputer;
      said server microcomputer including a receiver for receiving input
   information transmitted from said peripheral units;
      said server and peripheral transmitters being energized in low duty
   cycle RF bursts at intervals determined by a code sequence which is
   timed in relation to said synchronizing information.
Ex. 1001, 11:61–12:18.

      C. Claim Construction
      The ’290 patent expired on March 6, 2016, twenty years from the
filing date of the ’695 application from which the ’290 patent claims


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priority. 35 U.S.C. § 154(a)(2). We construe expired patent claims
according to the standard applied by the district courts. See In re Rambus
Inc., 694 F.3d 42, 46 (Fed. Cir. 2012). Specifically, we apply the principles
set forth in Phillips v. AWH Corp., 415 F.3d 1303, 1312–17 (Fed. Cir. 2005)
(en banc). “In determining the meaning of the disputed claim limitation, we
look principally to the intrinsic evidence of record, examining the claim
language itself, the written description, and the prosecution history, if in
evidence.” DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 469 F.3d
1005, 1014 (Fed. Cir. 2006) (citing Phillips, 415 F.3d at 1312–17). Only
those terms that are in controversy need to be construed, and only to the
extent necessary to resolve the controversy. Vivid Techs., Inc. v. Am. Sci. &
Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999).
      The words of a claim are generally given their ordinary and customary
meaning, and that is the meaning the term would have to a person of
ordinary skill at the time of the invention, in the context of the entire patent
including the specification. See Phillips, 415 F.3d at 1312–13. Claims are
not interpreted in a vacuum but are a part of and read in light of the
specification. See Slimfold Mfg. Co. v. Kinkead Indus., Inc., 810 F.2d 1113,
1116 (Fed. Cir. 1987). Although it is improper to read a limitation from the
specification into the claims (In re Van Geuns, 988 F.2d 1181, 1184 (Fed.
Cir. 1993)), the claims still must be read in view of the specification of
which they are a part. See Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d
1340, 1347 (Fed. Cir. 2004).
      If the applicant for patent desires to be its own lexicographer, the
purported definition must be set forth in either the specification or
prosecution history. CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359,


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1366 (Fed. Cir. 2002). And such a definition must be set forth with
reasonable clarity, deliberateness, and precision. In re Paulsen, 30 F.3d
1475, 1480 (Fed. Cir. 1994).
      Apple asked us in its Petition to construe two phrases: “within short
range of said server unit,” as recited in claim 1, and “code sequence,” as
recited in claims 1 and 3. Pet. 9–11. DSS responded to Apple’s proposed
construction of only the first of these phrases in its Preliminary Response,
and additionally asked us to construe “energized in low duty cycle RF
bursts,” also recited in claim 1. Prelim. Resp. 18–21. DSS proposed, in
particular, that the phrase “energized in low duty cycle RF bursts” be given
its plain and ordinary meaning, or alternatively, in the event of any
ambiguity, that it should be construed as “a pulsed operation that
substantially reduces power consumption and facilitates the rejection of
interfering signals.” Id. at 20 (boldface and italics omitted).
      In our Decision on Institution, we construed the phrase “within short
range” to mean “within a range in which the accuracy of synchronization is
not appreciably affected by transit time delays, including at least the range of
within 20 meters,” but concluded that it was not necessary for our
determination of whether to institute inter partes review of claims 1–4 of the
’290 patent to construe expressly the phrases “code sequence” and
“energized in low duty cycle RF bursts.” Dec. 7–10. Because the
’290 patent had not yet expired at the time of our Decision on Institution, we
interpreted the claims under the broadest reasonable interpretation standard.
Dec. 6–7; see 37 C.F.R. § 42.100(b); Office Patent Trial Practice Guide,
77 Fed. Reg. 48,756, 48,766 (Aug. 14, 2012); In re Cuozzo Speed Techs.,




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LLC, 778 F.3d 1271, 1278–81 (Fed. Cir. 2015), cert. granted sub nom.
Cuozzo Speed Techs. LLC v. Lee, 136 S. Ct. 890 (mem.) (2016).
      Notwithstanding that we now apply the Phillips standard, our
construction now for “within short range” is the same as our construction in
the Decision on Institution. Neither party now challenges that construction
or our determination in the Decision on Institution that “code sequence”
does not require express construction. Based on DSS’s Patent Owner
Response, Apple’s Reply, and the arguments presented at oral argument,
however, the construction of the phrase “energized in low duty cycle RF
bursts” is a central issue in this proceeding.
                   “energized in low duty cycle RF bursts”
      Outside of the claims, the ’290 patent recites the phrase “low duty
cycle” four times, as emphasized below:
      The data network disclosed herein utilizes low duty cycle pulsed
      radio frequency energy to effect bidirectional wireless data
      communication between a server microcomputer unit and a
      plurality of peripheral units . . . . By establishing a tightly
      synchronized common time base between the units and by the
      use of sparse codes, timed in relation to the common time base,
      low power consumption and avoidance of interference between
      nearby similar systems is obtained.
Ex. 1001, Abst.
      Using the common time base, code sequences are generated
      which control the operation of the several transmitters in a low
      duty cycle pulsed mode of operation. The low duty cycle pulsed
      operation both substantially reduces power consumption and
      facilitates the rejection of interfering signals.”
Id. at 1:57–61.
      The server and peripheral unit transmitters are energized in low
      duty cycle pulses at intervals which are determined by a code


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      sequence which is timed in relation to the synchronizing
      information initially transmitted from the server microcomputer.
Id. at 2:35–39.
      In its Patent Owner Response, DSS contends that a person of ordinary
skill in the art would have understood the “duty cycle” of the server
transmitter as “the ratio of actual duration during which the server
transmitter is energized to the total duration designated for outbound
transmissions.” Id. at 10 (emphasis omitted). DSS contends that
understanding is consistent with deposition testimony provided by Apple’s
expert, Dr. Jack Duane Grimes (Id. at 10–11 (citing Ex. 2015 (“Grimes
Depo. Tr.”), 41:7–9 (“The low-duty cycle refers to the ratio of the time spent
transmitting versus the time spent nontransmitting.”), 31:10–12 (“Low-duty
cycle tells you that most of the time there’s nothing being sent. And when
there is something being sent, that’s what’s called a burst.”), 46:12–15
(“[T]he key thing is that the burst is small—the time it takes is small relative
to the overall time that the transmitter could have been transmitting.”))).
Citing both Dr. Grimes’s deposition testimony and the declaration of its own
expert, Robert Dezmelyk, DSS further contends that “the duty cycle of the
server transmitter must be calculated over the total duration designated
for the outbound transmissions,” and that “[t]ime slots designated for the
inbound data traffic are not taken into account because the server transmitter
could not have been transmitting during these time slots.” Id. at 11 (citing
Ex. 2015, 60:19–22; Ex. 2016 (“Dezmelyk Decl.”) ¶¶ 23, 27). DSS
concludes, “[u]nder the broadest reasonable interpretation, a [person of
ordinary skill in the art] would have understood that a server transmitter is
energized in a low duty cycle when the server transmitter is energized for



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less than ten percent (10%) of the total duration designated for outbound
transmissions.” Id.1
         DSS contends the “less than ten percent” range is consistent with the
Specification of the ’290 patent, including an example in which “a
maximum of three RF bursts can occur” for outbound transmissions in
sections that each include sixty-four slots, and another example in which
transmitted synchronization beacons are described as consisting of eight RF
bursts spread out over 252 slots. PO Resp. 11–12 (citing Ex. 1001, 7:22–
33). According to DSS, the first example results in the server transmitter
being energized for 4.688% (i.e., 3/64) of the transmission period, while in
the second example, the server transmitter is energized in a duty cycle of
3.175% (i.e., 8/252). Id. at 12. DSS also cites five patents (Exs. 2004–
2008) that it contends to be the first five “relevant” results “obtained on
Google Patents through the query: ‘low duty cycle e.g.’ & network &
percent” (id. at 12–13, 12 n.1, Table 1).2 Those patents include exemplary
“low duty cycle” ranges from “e.g., 0.5 percent” (Ex. 2006, 8:3) to “e.g., at
an about 10 percent . . . duty cycle” (Ex. 2008, 10:5–6).
         As to the phrase “RF bursts,” DSS contends that “a [person of
ordinary skill in the art] would have understood the phrase ‘RF bursts’ to
mean ‘a short period of intense activity on an otherwise quiet data
channel.’” PO Resp. 13 (citing definition of “burst” from CHAMBERS
DICTIONARY OF SCI. & TECH. 155 (1999) (Ex. 2009)). DSS asserts that this

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  DSS and Apple both confirmed during the oral hearing that their respective
claim construction proposals for “low duty cycle” would be no different
under the Phillips standard, as opposed to the broadest reasonable
interpretation standard. Tr. 28:23–29:1, 39:7–11.
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    DSS does not explain its criteria for determining “relevance.”

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construction is consistent with Dr. Grimes’s deposition testimony that “the
key thing is that the burst is small—the time it takes is small relative to the
overall time that the transmitter could have been transmitting” and with the
’290 patent’s illustration of 2 µsec burst slots. Id. at 13–14 (citing Ex. 2015,
34:2–8, 46:12–15; Ex. 1001, Fig. 6).
      In its Reply, Apple responds that a “low duty cycle” of a transmitter
should simply be interpreted as the transmitter being designed to be on only
to satisfy the data communication needs over the communication cycle of
the system. Reply 22. According to Apple, “DSS’s proposed claim
construction that ‘low duty cycle’ is less than 10% is arbitrary and unduly
narrow.” Id. at 20 (emphasis omitted). Apple contends that “[t]he
‘examples’ that DSS cites in Table 1 are cherry-picked results from a search
premised on finding examples by including ‘e.g.’ in the search string,” that
“none of these references are contemporaneous with the ’290 patent’s filing
date,” and that one of those examples even “contradicts the proposed
construction of ‘less than ten percent,’ providing a ‘low duty cycle, e.g., at
an about 10 percent (10%) duty cycle.” Id. at 21 (quoting Ex. 2008, 10:5–
6). Apple also contends that the deposition testimony of DSS’s expert
undermines DSS’s proposed construction, as “Mr. Dezmelyk admits that the
term ‘low duty cycle’ itself does not require an upper bound at 10%.”
Id. (citing Ex. 1011 (“Dezmelyk Depo. Tr.”), 78:2–6).
      Apple also points out that claim 8 of the ’357 patent (i.e., the parent of
the ’290 patent), which was cited by Mr. Dezmelyk during his deposition as
further support for the “10% limit,” recites “said low duty cycle pulses
comprise chips within the respective code sequences such that a transmitter
is enerrgized [sic] less than 10% of the time during an allocated time slot.”


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Reply 22. According to Apple, “[b]ecause claim 8 depends ultimately from
independent claim 6, it is narrower than the independent claim, meaning
that the ’357 patent contemplates a ‘low duty cycle’ greater than 10%.” Id.
      In the oral hearing, DSS retreated from insisting that “low duty cycle”
should be limited to a duty cycle of “less than ten percent.” While
maintaining that “[l]ow duty cycle is a term of art” and that “[i]n the context
of wireless communications, 10 percent is a reasonable number,” DSS
conceded, “there is no hard value for the numbers.” Tr. 48:6–7, 48:22,
49:16–17. DSS asserted: “Anything below 10 percent is low duty cycle.
Anything over 10 percent would be considered high duty cycle and—or at
least it would not be considered a low duty cycle in the context of wireless
communications technology.” Id. at 50:22–25. DSS additionally suggested
that a person of ordinary skill in the art would understand that, if there were
more data than could be transmitted in three of sixty-four slots, the
transmission of the data would be held by the transmitter for future frames,
and that “low duty cycle” operation requires “kicking off mobile units” and
introducing “additional complexity and additional inefficiency,” merely so
that a server transmitter can be depowered for the majority of a duty cycle
regardless of whether there is more data waiting to be transmitted (see id. at
61:13–62:2, 71:9–72:5).
      As an initial matter, we understand an “RF burst” to be “a short period
of intense RF transmission activity on an otherwise quiet data channel,”
consistent with DSS’s proposal (see PO Resp. 13). That understanding is
supported by the ’290 patent and other evidence of record (see Ex. 1001,
Fig. 1; Ex. 2009; Ex. 2015, 34:2–8, 46:12–15), and Apple does not provide
any contrary argument.


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      Nonetheless, we are unpersuaded by DSS’s arguments concerning the
proper interpretation of “low duty cycle.” First, we agree with Apple that
the term “duty cycle” should be calculated based on the total time it takes a
system to go through a cycle of communication (see Reply 22–23), and is
not limited to “the total duration designated for outbound transmissions,” as
asserted by DSS (see PO Resp. 10) (emphasis omitted). This interpretation
is consistent with the Specification. See Ex. 1001, 11:46–51 (“Further, the
utilization of low duty cycle pulse mode transmission particularly with the
employment of uncorrelated codes in a TDMA context, leads to very low
power consumption since the transmitters and receivers in each PEA are
powered for only a small percentage of the total time.”). We also agree with
Apple that “the data requirements for the master station to broadcast to the
peripherals change[], and the data requirements for the peripherals to
transmit back to the master station change over time.” Tr. 9:4–8.
Accordingly, we understand the “duty cycle” of a transmitter to be the
average ratio of the durations during which the transmitter is energized to
the duration of communication cycles over the course of network operation.
      We also agree with Apple that “low duty cycle” should not be limited
to a duty cycle of less than 10% or to any other hard limit (Reply 20–22),
and instead conclude, on this record, that “energized in low duty cycle RF
bursts” simply means that a transmitter is not energized continuously over
the course of network operation, but is depowered during at least two time
periods of each communication cycle: first, in time slots in which the unit
that includes the transmitter is assigned to receive data; and second, in time
slots, if any, when the unit is assigned to transmit data but has no data to
transmit.


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      As DSS conceded at the oral hearing, there is “no hard value” recited
in the ’290 patent or elsewhere on the record (Tr. 49:16–17), and we are not
persuaded on this record that we should infer from the examples in the
’290 patent that Applicant intended thereby to limit the meaning of “low
duty cycle” to transmitting in just three of sixty-four or eight of 252 time
slots reserved for transmission, or anything on that order (see PO Resp. 12).
We also find that DSS’s suggestions regarding “kicking off” of mobile units
and introduction of “complexity and “inefficiency” (see Tr. 61:13–62:2,
71:9–72:5) are inappropriate because they are new arguments raised for the
first time at oral argument. Thus, those new arguments are not considered.
See Apple Inc. v. e-Watch, Inc., Case IPR2015-00412, slip op. at 40–41
(PTAB May 6, 2016) (Paper 50) (declining to consider arguments raised for
the first time at oral argument).
      We also are not persuaded by DSS’s sampling in its Patent Owner
Response of five unrelated patents (i.e., Exs. 2004–2008) that, by virtue of
their use of the abbreviation “e.g.,” explicitly provide only examples of low
duty cycles (see Ex. 2002 (Black’s Law Dictionary, definition of “e.g.”)).
PO Resp. 12–13. Indeed, although there may not be any evidence of record
that the definition of “duty cycle” changed in the years between the filing
date of the application for the ’290 patent and the filing dates of the
applications that issued as Exhibits 2004–2008 (see Tr. 50:5–7), the fact that
none of those references predates the ’290 patent casts doubt upon the
weight to which that evidence is entitled in showing how a person of
ordinary skill in the art would have understood low duty cycle in the context
of the ’290 patent (see Reply 21).




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        In view of the foregoing, on the record before us, we conclude that the
phrase “energized in low duty cycle RF bursts” means “energized, in short
periods of intense RF transmission activity on an otherwise quiet data
channel, only to the extent required to satisfy the data transmission needs
over the course of a communication cycle.”

        D. Obviousness of Claims 1–4 over Natarajan and Neve
        Apple contends that claims 1–4 of the ’290 patent are unpatentable
under 35 U.S.C. § 103(a) as obvious over the combination of Natarajan and
Neve.
        A claim is unpatentable under 35 U.S.C. § 103(a) if the differences
between the claimed subject matter and the prior art are “such that the
subject matter as a whole would have been obvious at the time the invention
was made to a person having ordinary skill in the art to which said subject
matter pertains.” We resolve the question of obviousness on the basis of
underlying factual determinations, including: (1) the scope and content of
the prior art; (2) any differences between the claimed subject matter and the
prior art; (3) the level of skill in the art; and (4) objective evidence of
nonobviousness, i.e., secondary considerations.3 See Graham v. John Deere
Co., 383 U.S. 1, 17–18 (1966).
        In an obviousness analysis, some reason must be shown as to why a
person of ordinary skill would have combined or modified the prior art to
achieve the patented invention. See Innogenetics, N.V. v. Abbott Labs.,
512 F.3d 1363, 1374 (Fed. Cir. 2008). A reason to combine or modify the
prior art may be found explicitly or implicitly in market forces, design


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    The record does not contain any evidence of secondary considerations.

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incentives, the “interrelated teachings of multiple patents,” “any need or
problem known in the field of endeavor at the time of invention and
addressed by the patent,” or the background knowledge, creativity, and
common sense of the person of ordinary skill. Perfect Web Techs., Inc. v.
InfoUSA, Inc., 587 F.3d 1324, 1329 (Fed. Cir. 2009) (quoting KSR Int’l Co.
v. Teleflex Inc., 550 U.S. 398, 418–21 (2007)).

         1. Scope and Content of the Prior Art
             a.     Overview of Natarajan
      Natarajan is directed to power conservation in wireless
communication, particularly battery efficient operation of wireless link
adapters of mobile computers (also referred to, inter alia, as battery powered
computers, hand held or laptop computers, mobile units, and mobile
stations) as controlled by multiaccess protocols used in wireless
communication. Ex. 1003, Abst., 1:7–13, 2:32. Figure 2 of Natarajan is
reproduced below.




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Figure 2 is a block diagram of a digital data communication system of the
type in which Natarajan’s invention is implemented, illustrating the basic
components of a mobile station and a base station. Id. at 1:67–2:3. As
depicted in Figure 2, mobile stations 10, 12, 14, and 16 communicate with
gateways (i.e., base stations 26, 28) connected with server 18, via wireless
transceivers adapters 36, 44. Id. at 2:32–39, 2:51–52, 2:58–59, 2:65–67.
According to Natarajan:
      The scheduled access multiaccess protocol is implemented to
      effectively conserve battery power by suitable control of the
      state of the controller, the transmitter and receiver units at the
      wireless link adapter by scheduling when the adapter is in a
      normal running mode, or a standby mode in which power is
      conserved.
Id. at Abst.; see also id. at 3:66–4:1.
      Natarajan discloses that “[a] desirable solution is one in which the
transmitter (or receiver) consumes power only when it is actively
transmitting a message (or actively receiving a message).” Id. at 4:3–6.
Natarajan further discloses that the scheduled multiaccess protocol divides
time into “fixed-length frames, and frames are divided into slots.” Id. at
4:20–23. The frames are divided into subframes for transmission of data
from the base station to mobile units (outbound traffic) as well as
transmission of data from mobile units to the base station (inbound traffic).
Id. at 4:27–38. According to Natarajan, at least one slot is assigned to each
mobile computer designated to communicate with the base station. Id. at
10:26–29. The battery power of the wireless link adapter for a given mobile
computer is turned on to full power during the at least one assigned slot, and
the battery power of the wireless link adapter is substantially reduced during
the remaining time slots. Id. at 10:29–37.


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      With respect to outbound traffic, Natarajan discloses that the base
station broadcasts a header that includes a list of mobile users that will be
receiving data packets from the base station in the current frame, the order in
which the mobile users will receive the data packets, and the bandwidth
allocated to each user. Id. at 4:45–53. According to Natarajan, a mobile
unit that is not included in the header from the base station can turn its
receiver “OFF” for the duration of the current subframe. Id. at 4:64–67.
Additionally, the adapter of each receiving mobile unit can compute exactly
when it should be ready to receive packets from the base station by adding
up the slots allocated to all receiving units that precede it, power “ON”
during that time slot to receive its data, and go back to sleep for the
remainder of the subframe. Id. at 4:67–5:6.
      For inbound traffic, Natarajan similarly discloses that the base station
broadcasts a header that includes an ordered list of users that will be allowed
to transmit packets to the base station in the current frame and the bandwidth
allocated to each. Id. at 5:9–19. Using the information regarding the
number of packets that each user can transmit, each mobile unit can compute
exactly when it should begin its transmission. Id. at 5:20–22. Once each
mobile station computes its exact time for transmission, it can shut both its
transmitter and receiver “OFF” until the designated time, and then turn
“ON” and transmit for a fixed period of time whose duration depends on the
number of slots allocated to it. Id. at 5:23–29.

             b.     Overview of Neve
      Neve is directed to a communication system able to provide multiple
path communication between a plurality of stations operating on a single
channel. Ex. 1004, Abst. Neve discloses that one station, which is


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physically similar to the others but operates a different stored program, may
be designated the “master” station and provides synchronization signals for
all of the other stations (referred to as “‘slave’ stations”) and controls access
of the stations to the single radio channel. Id. at 4:10–15.
      According to Neve, the stations are synchronized and a cyclically
repeating series of time slots is defined. Id. at Abst. One time slot in each
cycle is reserved for the transmission of synchronization information by the
master station for reception by the slave stations and for maintaining
synchronization therein. Id. Another time slot is reserved for any slave
station to transmit a message indicating that it needs to communicate to
another station, such indication preferably being by transmitting its own pre-
assigned address code. Id. The remaining time slots are used for
transmitting address information and data. Id.
      Neve discloses that when data transfer is not taking place, the
described devices can enter a lower power consumption state. Id. at 2:13–
16. The system is designed automatically to re-enter the data transfer
condition when either a signal is received from the device indicative of the
need to transmit data or a predetermined code signal is received by the
receiver circuit indicative of the need to receive data. Id. at 2:19–24. Neve
discloses that the receiver has very low power consumption because only the
internal timing circuitry is energized continuously, whereas the rest of the
receiving circuit is energized only when its assigned time slot occurs. Id. at
2:39–41. More particularly, the receiver circuit includes a low power timing
circuit that operates to energize the rest of the receiver circuit only for the
time slot in which its address may occur and for the synchronization time
slot, thereby enabling it to maintain synchronization with low power


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consumption. Id. at 4:43–48. Neve similarly discloses that the interface
circuit is arranged to energize the transmitter circuit only when transmission
is required. Id. at 2:45–47.

          2. Level of Ordinary Skill in the Art
      We determine that no express finding with regard to the level of
ordinary skill in the art is necessary in this proceeding, as the level of
ordinary skill in the art is reflected by the prior art of record. See Okajima v.
Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001); In re GPAC Inc., 57 F.3d
1573, 1579 (Fed. Cir. 1995); In re Oelrich, 579 F.2d 86, 91 (CCPA 1978).

          3. Differences Between the Prior Art and Claims 1–4;
             Reasons to Combine
             a.      Uncontested Claim Limitations
      The features of Natarajan and Neve are summarized above.
Regarding claim 1, we have considered Apple’s evidence, including
Dr. Grimes’s testimony (Ex. 1008 ¶¶ 89–126), presented at pages 39–59 of
the Petition, and make the following findings regarding matters not disputed
in DSS’s Patent Owner Response:
               i.    Natarajan and Neve are from the same field of
                     endeavor—wireless network communication systems
                     (see Ex. 1003, Abst.; Ex. 1004, Abst.);
               ii.   Both Natarajan and Neve disclose a data network system
                     for effecting coordinated operation of a plurality of
                     electronic devices, as recited in claim 1 (see Ex. 1003,
                     1:67–68, 6:48–54, Fig. 1; Ex. 1004, 4:6–9, Fig. 9);
               iii. Both Natarajan and Neve are concerned with conserving
                     battery power of battery powered, portable, wireless


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                   devices (see Ex. 1003, Abst., 1:16–21; Ex. 1004, 1:29–
                   34, 2:48–59);
             iv. Both Natarajan and Neve disclose a server that
                   communicates with a plurality of “peripheral units,”
                   where each device has an RF transmitter and receiver
                   (see Ex. 1003, Abst., 2:40–45, Figs. 1, 2; Ex. 1004, Abst.,
                   3:64–66, 4:10–15, Figs. 1, 4, 5, 9);
             v.    Natarajan’s “base station” and Neve’s “master station”
                   are “server microcomputer[s] incorporating an RF
                   transmitter for sending commands . . . to . . . peripheral
                   units,” as recited in claim 1 (see Ex. 1003, 2:51–58,
                   3:18–21, 4:20–5:19, 6:48–54, Figs. 2, 3; Ex. 1004, 3:26–
                   28, 3:59–63, 7:46–49, Figs. 1, 3);
             vi. Neve discloses that the server unit (“master station”)
                   sends “synchronizing information” to peripheral units, as
                   recited in claim 1 (see Ex. 1004, Abst., 4:10–13, Fig. 2);
             vii. Natarajan’s “mobile units” and Neve’s “slave units” are
                   “peripheral units which are battery powered and portable,
                   which provide either input information from the user or
                   output information to the user, . . . which are adapted to
                   operate within short range of said server unit,” and which
                   “each includ[e] an RF receiver for detecting said
                   commands and synchronizing information and including
                   also an RF transmitter for sending input information from
                   the user to said server microcomputer,” as recited in
                   claim 1 (see Ex. 1003, Abst., 1:39–43, 2:1–3, 2:48–60,


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                   2:65–67, 3:28–30, 3:50–51, 4:30–38, 4:67–5:2, 5:20–26,
                   6:17–21, 6:32–34, 6:41–44, Figs. 1–3; Ex. 1004, Abst.,
                   1:10–15, 1:34–40, 3:59–63, 7:46–49);
             viii. Neve discloses that the server (“master unit”) is
                   physically similar to the peripheral units (“slave units”)
                   but operates a different stored program (see Ex. 1004,
                   2:49–55, 4:10–15);
             ix. Natarajan and Neve reduce power consumption in similar
                   ways, by scheduling transmission time slots and having
                   devices operate in a low power mode when they are not
                   transmitting or receiving data (see Ex. 1003, Abst., 3:66–
                   4:7; Ex, 1004, Abst., 2:35–41);
             x.    Natarajan and Neve each disclose “peripheral
                   transmitters being energized in low duty cycle RF bursts
                   at intervals determined by a code sequence,” as recited in
                   claim 1; in particular, Natarajan discloses that
                   “[s]cheduled access multiaccess protocols can be
                   implemented to effectively conserve battery power by
                   suitable control of the state of transmitter and receiver
                   units at the portable units (i.e., by scheduling when they
                   should be turned ON or OFF),” that “the transmitter (or
                   receiver) consumes power only when it is actively
                   transmitting a message (or actively receiving a
                   message),” and that transmission intervals are determined
                   by a code sequence (Ex. 1003, 3:59–4:6; 6:15–33, 6:59–
                   68, Figs. 4, 5); and Neve discloses that “[t]he slave


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                   stations operate in a low power condition except during
                   one of the other time slots when they may receive their
                   own address, or except when they need to transmit data”
                   (Ex. 1004, Abst.), and that the interface circuit of each
                   device is “arranged to energise the transmitter circuit
                   only when transmission is required” (id. at 2:42–47); see
                   also id. at 5:60–61 (disclosing “low power duty cycle”).
              xi. Neve discloses that the master station provides
                   synchronization signals for all of the other stations (id. at
                   4:10–13, Fig. 2).

             b.    “said server . . . transmitter[] being energized in low
                   duty cycle RF bursts”
      As reproduced in Section II.B. supra, claim 1 recites, inter alia, “said
server and peripheral transmitters being energized in low duty cycle RF
bursts at intervals determined by a code sequence which is timed in relation
to . . . synchronizing information.” The single substantive dispute in this
proceeding is whether the combination of Natarajan and Neve teaches or
suggests that the recited server transmitter is energized in low duty cycle RF
bursts. See Pet. 52–54; PO Resp. 15–33; Reply 2–18.
      In its Petition, Apple cited Natarajan’s disclosure that “[s]cheduled
access multiaccess protocols can be implemented to effectively conserve
battery power by suitable control of the state of transmitter and receiver
units at the portable units (i.e., by scheduling when they should be turned
ON or OFF)” and that “the transmitter (or receiver) consumes power only
when it is actively transmitting a message (or actively receiving a message)”
as evidence of Natarajan’s disclosure of “low duty cycle RF bursts.”

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Pet. 52–53 (citing Ex. 1003, 3:59–4:6; Ex. 1008 ¶ 115). Apple additionally
cited Natarajan’s disclosure of a period “for the transfer of all bursty data
traffic in a contention mode from mobile units to base station (inbound
traffic)” and Neve’s disclosure that “[t]he slave stations operate in a low
power condition except during one of the other time slots when they may
receive their own address, or except when they need to transmit data” and
that the interface circuit of each device is “arranged to energise the
transmitter circuit only when transmission is required,” in support of its
assertion that “Natarajan and Neve each disclose that the transmitters are
‘energized in low duty cycle RF bursts.’” Id. at 53 (citing Ex. 1003, 4:36–
38; Ex. 1004, Abst., 2:42–47; Ex. 1008 ¶ 115). Apple pointed further to
Figures 4 and 5 and corresponding text of Natarajan, as disclosing
transmission “intervals determined by a code sequence” as recited by claim
1. Id. at 53–54 (citing Ex. 1003, 4:20–23, 5:9–11, 5:20–29, 8:54–62, 6:15–
33, 6:59–68, Figs. 4, 5).
      In response to Apple’s contentions, DSS argues that Natarajan does
not teach or suggest that the server transmitter is energized in low duty cycle
RF bursts. PO Resp. 15. According to DSS, “[a]lthough Natarajan teaches a
system for reducing power consumption in mobile units, Natarajan is silent
regarding the operation of the base unit’s transmitter.” Id. at 16. “Natarajan
discloses that its objective is to provide energy savings for the mobile units,
but does not teach or suggest that there are any energy savings associated
with operation of the base unit’s transmitter,” and “[f]or this reason, the base
unit’s transmitter could operate continuously during the time slots
designated for outbound traffic without undermining the objectives of
Natarajan.” Id. at 16–17 (citing Ex. 1003, 3:59–61, 10:14–37; Ex. 2016


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¶¶ 32, 38). Moreover, according to DSS, “[i]t is well understood in the art
that although the base unit and mobile units may be structured similarly, the
base and mobile units operate under different schemes,” and accordingly, a
person of ordinary skill in the art “would not have concluded that base
transmitters operate the same way as the mobile units.” Id. at 16 (citing Ex.
1004, 4:10–12; Ex. 2016 ¶ 31). DSS concludes, “Natarajan does not
disclose that the server transmitter is energized in a low duty cycle,” and
“[t]he logical conclusion is that in the data network system disclosed in
Natarajan, the base transmitter is continuously energized during the time
periods designated for outbound transmissions.” Id. at 18–19.
      In further support of its arguments, DSS points to disclosure in
Natarajan that serial channels in the base unit’s transmitter “encapsulate data
and control information in an HDLC (high-level data link control) packet
structure and provide the packet in serial form to the RF transceiver 54,” and
contends that “HDLC involves continuous transmissions in which special bit
sequences—i.e. idle words—are transmitted when no data transmission is
required.” PO Resp. 20–21 (quoting Ex. 1003, 3:34–37) (emphasis omitted).
According to DSS, “[t]he HDLC packet structure disclosed in Natarajan is
inconsistent with a server transmitter being energized in low duty cycle RF
bursts,” and “[i]t is well-known in the art that HDLC is an example of a
bit-oriented framing that involves a continuous outbound transmission rather
than operation in low duty cycle RF bursts.” Id. at 20 (emphasis omitted).
In support of that assertion, DSS quotes the following excerpt from the
McGraw Hill Encyclopedia of Networking & Telecommunications:
“Bit-oriented framing . . . allows the sender to transmit a long string of bits
at one time. . . . The beginning and end of a frame is signaled with a special


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bit sequence (01111110 for HDLC). If no data is being transmitted, this
same sequence is continuously transmitted so the end systems remain
synchronized.” Ex. 2010, 549 (quoted at PO Resp. 20–21). According to
DSS, “Natarajan’s disclosure of HDLC, which is used for transmitting ‘long
strings of data [sic] at one time,’ directly contradicts the requirement of
claim 1 of the ’290 Patent that server transmitters be energized in RF
bursts.” PO Resp. 21. DSS concludes, “a continuous transmission is an
antithesis of RF bursts” and “protocols involving transmission of idle words
in an absence of active transmissions are inconsistent with server transmitter
operating in a low-duty cycle.” Id. at 21–22.
      DSS further contends that Neve does not cure the alleged deficiencies
of Natarajan. PO Resp. 27–33. In particular, according to DSS, Neve does
not teach or suggest that server transmitter is energized in low duty cycle RF
bursts. Id. at 30. DSS acknowledges our finding in the Decision on
Institution that Neve does not suggest continuous transmission from the
master station and, accordingly, does not teach away from the server
transmitter being energized in low duty cycle RF bursts. Id. (citing Dec. 19–
20). DSS contends, however, that “during the time slots designated for
outbound transmissions, ‘[i]f no data is currently required to be transmitted,
the master station transmits idle words’” (id. (quoting Ex. 1004, 4:48–50)),
and argues, “[i]dle words are inconsistent with server transmitter being
energized in low duty cycle RF bursts” (id.). Again citing Natarajan’s
disclosure that data is encapsulated into an HDLC packet structure for the
RF transceiver and Neve’s disclosure of idle word transmission, DSS
concludes, “[w]hen Natarajan is considered in view of Neve, it becomes
even more apparent that these references, either individually or in


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combination, do not teach or suggest that server transmitter is energized in
low duty cycle RF bursts.” Id. at 31–32 (citing Ex. 1003, 3:33–37;
Ex. 1004, 4:48–50; Ex. 2016 ¶¶ 34, 35, 45).
      In reply, Apple argues that a person of ordinary skill in the art would
have understood from Natarajan that, when Natarajan’s base station is not
transmitting, its transmitter is powered off. Reply 2–3 (citing Ex. 1003,
6:41–44; Ex. 1008 ¶¶ 27, 115–116; Ex. 1014 (“Hu Decl.”) ¶¶ 44–45;
Ex. 2015, 68:5–12, 74:7–19, 75:21–76:3). Apple contends, “DSS
acknowledges that Natarajan explicitly discloses that the mobile unit
transmitters operate in ‘low duty cycle RF bursts’” (id. at 3 (citing PO Resp.
16; Ex. 2016 ¶ 31)), “[s]o even if not expressly taught by Natarajan, it would
have been plainly obvious to a [person of ordinary skill in the art] to have
the base station operate in an analogous manner” (id. (citing Ex. 1014 ¶ 45)).
In particular, according to Apple, “[t]he ‘low duty cycle RF bursts’
limitation of claim 1 is not novel,” and “[b]ecause the base and mobile
stations have the same physical structure, this would have been no more than
using a known technique to improve similar devices in the same way.” Id.
(citing Ex. 1003, 3:7–8; Ex. 1014 ¶ 45).
      Apple further points out that, not only is HDLC consistent with low
duty cycle RF bursts, contrary to DSS’s assertions, but the preferred
embodiment in the ’290 patent itself utilizes the HDLC protocol. Reply 3–4.
According to Apple:
             The “basic scheme” of the ’290 patent’s frame structure is
      “a form of time division multiple access (TDMA).” ([Ex. 1001],
      5:45-50.) The ’290 patent states that “[a]s will be understood by
      those skilled in the art, the TDMA system is greatly facilitated
      by the establishment of a common frame time base between PEA
      and PDA.” (Id. at 7:63-65 (emphasis added).) This is


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      accomplished using synchronization beacons (SBs). (Id. at 7:65-
      67.) Before receiving the SBs, a PEA is associated with the PDA
      using a succession of Attachment Beacons (ABs), which are
      “composed of RF bursts,” broadcast from the PDA to the PEAs.
      (Id. at 9:8-16, 9:66-10:2.) “This succession of ABs forms an
      HDLC channel using bit-stuffing to delineate the beginning and
      end of a packet.” (Id. at 10:2-4 (emphasis added).)
             So, the ’290 patent uses HDLC to transmit and receive RF
      bursts. ([Ex. 1014] ¶¶ 48-49.) Thus, the ’290 patent itself shows
      that DSS’s argument is fallacious.
Id. at 4.
      Apple additionally contends that DSS’s evidence and reliance on
Mr. Dezmelyk’s testimony regarding HDLC should be disregarded for at
least the following four reasons:
      First, Mr. Dezmelyk admitted in his deposition that he would not say
that he is an expert in the HDLC protocol, he is not inventor on any patents
related to the HDLC protocol, he has not received any industry awards,
related to the HDLC protocol, he has never lectured on the HDLC protocol,
and this and the related district court litigation are the only matters he
recollects working on that are even related more generally to wireless
communication. Reply 5 (citing Ex. 1011, 19:10–20:4, 21:1–22, 26:15–16).
      Second, Mr. Dezmelyk did not consider the most logical reference for
information on Natarajan’s HDLC protocol when forming his opinions.
Reply 6. In particular, Apple points out that Natarajan—indeed, in the very
next sentence after the one quoted by DSS as evidence of Natarajan’s use of
the HDLC protocol—states as follows: “For more information on the HDLC
packet structure, see, for example, Mischa Schwartz, Telecommunication
Networks: Protocols, Modeling and Analysis, Addison-Wesley (1988).”
Id. (quoting Ex. 1004, 3:37–40). Apple contends that “the Schwartz book


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([Ex.] 1012) is the most logical resource for a [person of ordinary skill in the
the art] to consult for information on Natarajan’s HDLC packet structure,”
and “Mr. Dezmelyk acknowledged that a [person of ordinary skill] in the art
would have access to Schwartz,” and “[y]et Mr. Dezmelyk never looked at
Schwartz when considering how Natarajan’s HDLC packet structure
operates.” Id. (citing Ex. 1011, 71:11–13; Ex. 1014 ¶ 51).
      Third, Schwartz not only demonstrates that Natarajan’s HDLC
protocol is consistent with low duty cycle communication, but also
illustrates that RF transmissions occur in “bursts.” Reply 7–9 (citing
Ex. 1012, 135–36 (“When the transmitter reaches its maximum sequence
number it is forced to stop transmitting until a frame in the reverse direction
is received, acknowledging an outstanding packet.”), Figs. 4–9, 4–13
(showing periods where the transmitter is idle between frames); Ex. 1015
¶¶ 53, 54).
      Fourth, the references that DSS and Mr. Dezmelyk “piece[d]
together” in support of the argument that Natarajan does not teach low duty
cycle RF bursts “do not support the asserted premise.” Reply 9–15. Apple
argues, for example, that DSS’s reliance on the cited excerpt from the
Encyclopedia of Networking & Telecommunications is misplaced. Id. at 10.
According to Apple, whereas “DSS asserts that the cited definition of ‘bit-
oriented framing’ shows that HDLC ‘involves continuous outbound
transmission,’” DSS neglects to acknowledge the very first sentence of the
cited section, which indicates that the excerpt “refers to point-to-point wired
communication, not to a point-to-multipoint wireless system as taught in
Natarajan.” Id. (citing Ex. 1014 ¶ 56; Ex. 2010, 549). Relying on Dr. Hu’s
testimony, Apple contends “[t]here are fundamental differences and unique


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challenges between point-to-point wired systems and point-to-multipoint
wireless systems,” and “the features are not simply interchangeable.” Id.
(citing Ex. 1014 ¶¶ 57–60). For example, Apple asserts, “continuous
transmission of so-called ‘idle words’ to maintain synchronization when
there is no data to transmit” may be “suitable for an isolated point-to-point
wired connection,” but “would be detrimental to a point-to-multipoint
wireless connection because it would interfere with the carefully designed
scheduling, waste power, decrease the system data rate, and pollute the
wireless channel potentially shared by many devices.” Id. (citing Ex. 1014
¶ 59). Apple also points out, for example, that DSS significantly misquotes
the cited portion of the Encyclopedia of Networking & Telecommunications
(id. at 11 (citing PO Resp. 21; Ex. 2010, 549)); that other portions of that
same Encyclopedia—not provided by DSS either to the Board or to Mr.
Dezmelyk—corroborate Schwartz’s description (id. at 11–12 (citing Ex.
1011, 101:4–102:7; Ex. 1012, 135; Ex. 1013, 582, Fig. H-2; Ex. 1014 ¶ 62));
and that other evidence relied upon by Mr. Dezmelyk similarly fails to show
that Natarajan teaches continuous transmission and underscores his
misunderstanding of HDLC (id. at 12–15 (citing, e.g., Ex. 1011, 69:17–71:1,
99:12–20; Ex. 1014 ¶¶ 57–60, 64–68; Ex. Ex. 2013, 2; Ex. 2014 § 2.5.6, 4;
Ex. 2016 ¶ 35)).
      Lastly, Apple contends that “DSS’s ‘idle words’ argument is a red
herring.” Reply 15 (emphasis omitted). According to Apple, Neve was
included in combination with Natarajan to show that synchronizing a base
station and peripheral units was well-known to those of ordinary skill in the
art, not to suggest that Natarajan operates identically to Neve with respect to
the latter’s use of idle words. Id. at 15–16.


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      We are persuaded by each of Apple’s arguments presented above, and
conclude that it would have been obvious to a person of ordinary skill in the
art to energize Natarajan’s server transmitter in low duty cycle RF bursts, as
recited in claim 1. We find that Natarajan is expressly concerned with
“power conservation due to wireless communication,” and specifically, with
“battery efficient operation of wireless link adapters of mobile computers as
controlled by multiaccess protocols used in wireless communication.”
Ex. 1003, 1:7–13. Although Natarajan describes explicitly only mobile
stations as battery-powered devices such as laptop computers, Natarajan also
discloses that the base units may be “conventional microcomputer[s]” (id. at
2:40–41) and that the mobile units are similarly provided with the same
components—e.g., RF transceiver adapter 36, including “a spread spectrum
transceiver of convention design” and antenna 38, in the base station; and
transceiver adapter 44, including “a spread spectrum transceiver of similar
design” and antenna 42, in each mobile unit (id. at 2:51–3:2). We are
persuaded that a person of ordinary skill in the art would have been
motivated by Natarajan to apply the same power-conserving techniques to
base units as it is disclosed with respect to mobile units, as well as that it
would have been within the skill of the ordinarily skilled artisan to do so.
There is no persuasive evidence of record that it would have been “uniquely
challenging or difficult for one of ordinary skill in the art” to do so.
See Leapfrog Enters., Inc. v. Fisher-Price, Inc., 485 F.3d 1157, 1162
(Fed. Cir. 2007) (citing KSR, 550 U.S. at 418). Indeed, as the Court
explained in KSR, the skilled artisan is “a person of ordinary creativity, not
an automaton.” 550 U.S. at 420–21.




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      We also find that Natarajan’s disclosure of the HDLC protocol is
consistent with Natarajan’s base units being energized in low duty cycle RF
bursts, as that term is properly construed. See supra Section II.C. In that
regard, the Schwartz reference (Ex. 1012), which was cited by Natarajan
(see Ex. 1003, 3:37–40), is significantly more probative of how a person of
ordinary skill in the art would have understood Natarajan’s reference to
HDLC than the Encyclopedia of Networking & Telecommunications excerpt
(Ex. 2010) cited by DSS, which, by its own terms, describes HDLC within
the context of a point-to-point network. Mr. Dezmelyk’s failure to consider
Schwartz or other portions of the Encyclopedia of Networking &
Telecommunications beyond those specifically provided to him by DSS
(see Ex. 1011, 71:11–73:13, 101:4–102:7, 104:9–11), as well as his admitted
lack of expertise regarding the HDLC protocol (see id. at 19:13–20:22,
26:15–16), call into question the credibility of his opinion on HDLC.
Accordingly, we do not find persuasive the testimony of Mr. Dezmelyk on
that subject. Additionally, the employment of an HDLC channel in the
preferred embodiment of the ’290 patent (Ex. 1001, 10:2–4) contradicts
DSS’s assertion that “[t]he HDLC packet structure is inconsistent with a
server transmitter being energized in low duty cycle RF bursts” (PO Resp.
20–22).
      Finally, because we are not persuaded by DSS’s arguments that
Natarajan is deficient, we are not persuaded by DSS’s arguments that Neve
does not cure the alleged deficiencies of Natarajan or that the combination of
Neve and Natarajan does not teach or suggest that the server transmitter is
energized in low duty cycle RF bursts. PO Resp. 27–33. In this proceeding,
Apple relies on Neve only as evidence that it was well-known and would


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have been obvious to those of ordinary skill in the art for a base station
transmitter to send “synchronizing information” to mobile units, as recited in
claim 1, which feature Apple contends is suggested but not explicitly
described by Natarajan. Pet. 55–56; Reply 15–16. In contrast, Apple relies
on Natarajan alone—not Neve—for the suggestion of “said server . . .
transmitter[] being energized in low duty cycle RF bursts.” See Pet. 52–54;
Reply 1–15. Accordingly, DSS’s contentions that Neve does not separately
teach or suggest “said server . . . transmitter[] being energized in low duty
cycle RF bursts” are unavailing. See In re Keller, 642 F.2d 413, 426
(CCPA 1981) (“[O]ne cannot show non-obviousness by attacking references
individually where, as here, the rejections are based on combinations of
references.”). Moreover, “[t]he test for obviousness is not whether the
features of a secondary reference may be bodily incorporated into the
structure of the primary reference; . . . [r]ather, the test is what the combined
teachings of the references would have suggested to those of ordinary skill
in the art.” Id. at 425 (citations omitted). We are not persuaded that
combination of Neve’s teachings on synchronizing information with
Natarajan’s disclosure would necessitate incorporation of Neve’s use of
“idle words,” let alone that it would require “continuous transmission” or be
“inconsistent with server transmitter being energized in low duty cycle RF
bursts.” PO Resp. 30–33. As we explained in our Decision on Institution,
we do not find Neve to suggest continuous transmission from its master
station, but instead only transmission of idle words in the event that that
there is no data required to be transmitted in the time slots specifically
allocated for transmission by the server. Dec. 19–20.




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         4. Conclusion of Obviousness
      As explained above, we find, based on Apple’s evidence, that the
combination of Natarajan and Neve teaches each limitation of claim 1. We
also find, based on Apple’s evidence, that a skilled artisan would have had
reasons, with rational underpinning, to combine these teachings to arrive at
the invention of claim 1. We have considered DSS’s arguments to the
contrary and find them unpersuasive. The parties do not introduce or rely on
objective indicia of nonobviousness. After weighing the evidence, we
conclude that Apple has shown by a preponderance of the evidence that
claim 1 would have been obvious over Natarajan and Neve.
      Claims 2–4 depend from claim 1. Apple introduced evidence and
argument as to the obviousness of each of these claims. Pet. 56–59. We
have considered the evidence in the Petition and are persuaded, for the
reasons presented by Apple, that Apple has shown by a preponderance of the
evidence that claims 2–4 would have been obvious over Natarajan and Neve.
DSS does not present separate arguments for claims 2–4. Rather, DSS
argues that these claims are patentable for the reasons given for claim 1. PO
Resp. 36. As explained above, these reasons are not persuasive. By not
raising them in its Patent Owner Response, DSS has waived any additional
argument regarding claims 2–4. Scheduling Order, Paper 10, 3 (“The patent
owner is cautioned that any arguments for patentability not raised in the
response will be deemed waived.”); see also 37 C.F.R. § 42.23(a)
(“Oppositions and replies . . . must include a statement identifying material
facts in dispute. Any material fact not specifically denied may be considered
admitted.”).




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                         III. MOTION TO EXCLUDE
      Apple filed a Motion to Exclude DSS’s Exhibits 2003–2008, 2011–
2014, and 2017. Paper 27 (“Mot. Excl.”). DSS filed an Opposition to
Apple’s Motion to Exclude (Paper 32, “Opp. Mot. Excl.”)), and Apple filed
a Reply to DSS’s Opposition (Paper 33, “Reply Mot. Excl.”).
      In inter partes review proceedings, documents are admitted into
evidence subject to an opposing party asserting objections to the evidence
and moving to exclude the evidence. 37 C.F.R. § 42.64. As movant, Apple
has the burden of showing that an objected-to exhibit is not admissible.
37 C.F.R. § 42.20(c).
      For the reasons discussed below, we deny Apple’s Motion to Exclude
as to all objected-to exhibits.

      A. Relevance
      Apple seeks to exclude Exhibits 2003–2008, 2012–2014, and 2017
under Fed. R. Evid. 401 as irrelevant. Mot. Excl. 1–10. First, Apple argues,
Exhibits 2003–2008, 2012, and 2013 all bear copyright or filing dates well
after the priority date of the ’290 patent and, accordingly, are not remotely or
sufficiently contemporaneous with the ’290 patent to be relevant for the
purposes for which they are proffered. Id. at 2, 4, 6, 7. Similarly, according
to Apple, “Exhibit 2017 is undated, so its relevance also cannot be
established because DSS cannot show that Exhibit 2014 is sufficiently
contemporaneous with the ’290 patent to be relevant.” Id. at 10. Second,
Apple argues, DSS does not cite Exhibits 2003 and 2012–2014 in its Patent
Owner Response or identify with any particularity how those exhibits are
relevant to this proceeding. Id. at 3, 6–9.



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      DSS responds that Petitioner’s allegations are unavailing. Opp. Mot.
Excl. 4. DSS points out Fed. R. Evid. 401 provides that evidence is relevant
if “it has any tendency to make a fact more or less probable than it would be
without the evidence” and “the fact is of consequence in determining the
action,” and that “[b]oth the Federal Circuit and the Board have recognized
that there is a ‘low threshold for relevancy.’” Id. (citing OddzOn Prods.,
Inc. v. Just Toys, Inc., 122 F.3d 1396, 1407 (Fed. Cir. 1997); Laird Techs.,
Inc. v. GrafTech Int’l Holdings, Inc., Case IPR2014-00025, slip op. at 44
(PTAB Mar. 25, 2015) (Paper 45)). DSS also contends that Mr.
Dezmelyk—who DSS proffers as an expert witness in this matter—relies on
each of the objected-to exhibits in his declaration, and therefore, this
evidence is relevant for the assessment of his credibility and for establishing
the context for his testimony. Id. at 6.
      We agree with DSS on this issue. In this case, we determine that
Apple’s arguments concerning the relevance of Exhibits 2003–2008, 2012–
2013, and 2017 in view of their late or uncertain dates concern the weight
that we should accord to those exhibits, rather than their admissibility. As
explained in Laird Technologies, “[a] motion to exclude . . . is not an
appropriate mechanism for challenging the sufficiency of evidence or the
proper weight that should be afforded an argument.” Case IPR2014-00025,
slip op. at 42 (Paper 45). Moreover, “[o]ur general approach for considering
challenges to the admissibility of evidence was outlined in Corning Inc. v.
DSM IP Assets B.V., Case IPR2013-00053, slip op. at 19 (PTAB May 1,
2014),” which stated that, “similar to a district court in a bench trial, the
Board, sitting as a non-jury tribunal with administrative expertise, is well-
positioned to determine and assign appropriate weight to evidence


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presented.” Id. (citing Donnelly Garment Co. v. NLRB, 123 F.2d 215, 224
(8th Cir. 1941) (“One who is capable of ruling accurately upon the
admissibility of evidence is equally capable of sifting it accurately after it
has been received . . . .”)). Further, although DSS does not appear to cite
Exhibits 2003 and 2012–2014 in its Patent Owner Response, we agree with
DSS that those exhibits are relevant for the assessment of Mr. Dezmelyk’s
credibility to the extent that he has cited them in support of his opinions.

      B. Hearsay
      Apple additionally seeks to exclude each of Exhibits 2003–2008,
2011–2014, and 2017 as inadmissible hearsay under Fed. R. Evid. 801 not
subject to any exception. Mot. Excl. 1–2, 4–8, 10.
      DSS responds that each of Exhibits 2003–2008, 2011–2014, and 2017
is admissible because they are offered for what they describe to a person of
ordinary skill in the art, rather than for the truth of the matters asserted in
them, and “[t]he law is well established that the Board will not exclude
evidence that is proffered to show what a [person of ordinary skill in the art]
would have known about the relevant field of art.” Opp. Mot. Excl. 2 (citing
Liberty Mut. Ins. Co. v. Progressive Cas. Ins., Case CBM2012-00010
(PTAB Feb. 24, 2014) (Paper 59)).
      In its Reply to DSS’s Opposition, Apple argues that DSS and
Mr. Dezmelyk simply provide quotations from the objected-to exhibits,
rather than offering them “for what they describe to a person of ordinary
skill in the art,” and, thus, offer them “exactly for the impermissible purpose
of proving the truth of the matter asserted therein.” Reply Mot. Excl. 1.
Moreover, according to Apple, because Exhibits 2003–2008, 2012–2014,



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and 2017 all post-date the ’290 patent or are undated, those exhibits
“therefore cannot ‘show what one with ordinary skill in the art would have
known about technical features and developments in the pertinent art’” at the
time the invention was made. Id. (quoting Liberty Mut., slip op. at 37
(emphasis added by Apple)) (citing 35 U.S.C. § 103(a)).
      We agree with DSS on this issue, as well. Although DSS has quoted
certain phrases from the references, we understand DSS to have offered each
of the objected-to exhibits for the effect that they would have had on the
understanding of a person of ordinary skill in the art, rather than for the truth
of the matters asserted. The portion of Exhibit 2004 cited by DSS, for
example, states:
      [FIG. 2(a) is a flow chart of the steps performed by the adaptive
      duty cycle management system shown in FIG. 1] whereby a
      relatively high duty cycle, e.g. 25%, is applied and FIG. 2(b) is a
      flow chart showing the special case steps performed by the
      adaptive duty cycle management system whereby a relatively
      low duty cycle, e.g. 2%, is applied . . . .
Ex. 2004, 4:13–16 (cited at PO Resp. 12). We understand DSS to have cited
this text only for the alleged effect that the statements “high duty cycle,
e.g. 25%” and “low duty cycle, e.g. 2%” would have on the ordinarily
skilled reader, in support of DSS’s conclusion that a person of ordinary skill
in the art “would have understood that a server transmitter is energized in a
low duty cycle when the server transmitter is energized for less than ten
percent (10%) of the total duration designated for outbound transmissions.”
PO Resp. 11. Whether or not it is “true” that Figures 2(b) and 2(b) of
Exhibit 2004 are flow charts of systems whereby relatively high (e.g., 25%)
and low (e.g., 2%) duty cycles are applied, respectively, has no discernable
bearing on DSS’s conclusion. We find that a similar analysis applies with

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respect to each of the other objected-to exhibits, with respect to which DSS’s
conclusions do not turn on whether the described systems truly operated
according to the specified duty cycles (Exs. 2003, 2005–2008) or truly
transmitted data in the manner specified (Exs. 2011–2014, 2017).

      C. Conclusion
      For the foregoing reasons, Apple’s Motion to Exclude Exhibits 2003–
2008, 2011–2014, and 2017 is denied.

                   IV. MOTION FOR OBSERVATION
      DSS filed a Motion for Observation regarding Dr. Hu’s cross-
examination. Paper 29 (“Obs.”). Apple, in turn, filed a Response. Paper 31
(“Obs. Resp.”). To the extent DSS’s Motion for Observation pertains to
testimony purportedly impacting Dr. Hu’s credibility, we have considered
DSS’s observations and Apple’s responses in rendering this Final Written
Decision, and accorded Dr. Hu’s testimony appropriate weight where
necessary. See Obs. 2–6; Obs. Resp. 1–5.

                             V. CONCLUSION
      Apple has demonstrated by a preponderance of the evidence that
claims 1–4 of the ’290 patent are unpatentable under 35 U.S.C. § 103(a)
over Natarajan and Neve.

                                 VI. ORDER
      For the reasons given, it is
      ORDERED, based on a preponderance of the evidence, that claims 1–
4 of U.S. Patent No. 6,128,290 are held unpatentable;



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      FURTHER ORDERED that Apple’s Motion to Exclude is DENIED;
and
      FURTHER ORDERED, because this is a final written decision, that
the parties to this proceeding seeking judicial review of our Decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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Trials@uspto.gov                                            Paper No. 39
571-272-7822                                      Entered: June 17, 2016


       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                            APPLE INC.,
                             Petitioner,

                                  v.

             DSS TECHNOLOGY MANAGEMENT, INC.,
                        Patent Owner.
                        ____________

                        Case IPR2015-00373
                          Patent 6,128,290
                           ____________



Before JAMESON LEE, MATTHEW R. CLEMENTS, and
CHARLES J. BOUDREAU, Administrative Patent Judges.

BOUDREAU, Administrative Patent Judge.



                   FINAL WRITTEN DECISION
               35 U.S.C. § 318(a) and 37 C.F.R. § 42.73




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Patent 6,128,290

                            I. INTRODUCTION
      A. Background
      Petitioner Apple Inc. (“Apple”) filed a Petition (Paper 2, “Pet.”) to
institute inter partes review of claims 6, 7, 9, and 10 of U.S. Patent No.
6,128,290 to Carvey (Ex. 1001, “the ’290 patent”). Patent Owner DSS
Technology Management, Inc. (“DSS”) filed a Preliminary Response
(Paper 7, “Prelim. Resp.”). On June 25, 2015, we instituted an inter partes
review of claims 6, 7, 9, and 10 on two of three grounds of unpatentability
presented in the Petition (Paper 8, “Dec.”).
      After institution of trial, DSS filed a Patent Owner Response
(Paper 15, “PO Resp.”). DSS also filed a Notice of Filing of Statutory
Disclaimer, notifying us of a statutory disclaimer of claims 6 and 7 of the
’290 patent, pursuant to 37 C.F.R. § 1.321(a), that DSS had filed on
October 5, 2015 (Paper 18). Subsequently, Apple filed a Reply to DSS’s
Patent Owner Response (Paper 23, “Reply”). An oral hearing was held on
March 15, 2016, and a transcript of the hearing is included in the record
(Paper 38, “Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(c). This Final Written
Decision is issued pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73.
      Based on the record before us, and for the reasons that follow, we
determine that Apple has demonstrated, by a preponderance of the evidence,
that each of claims 9 and 10 of the ’290 patent is unpatentable. Further,
because we treat DSS’s statutory disclaimer of claims 6 and 7 as a request
for adverse judgment as those claims (see 37 C.F.R. § 42.73(b); Paper 20),
we additionally enter judgment against DSS with respect to claims 6 and 7
of the ’290 patent.


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        B. Related Matters
        The ’290 patent has been the subject of two district court actions:
DSS Technology Management, Inc. v. Apple, Inc., No. 5:14-cv-05330-LHK
(N.D. Cal.), and DSS Technology Management, Inc. v. Lenovo (United
States), Inc., No. 6:14-cv-00525-JDL (E.D. Tex.). Pet. 2; Paper 5, 2.
IPR2015-00369 also involves claims of the ’290 patent and was argued
together with this proceeding at the March 15, 2016, oral argument.

        C. The Instituted Grounds
        We instituted a trial as to claims 6, 7, 9, and 10 of the ’290 patent
under 35 U.S.C. § 103(a) as unpatentable over U.S. Patent No. 5,241,542 to
Natarajan et al. (Ex. 1003, “Natarajan”) and U.S. Patent No. 4,887,266 to
Neve et al. (Ex. 1004, “Neve”); and also as to claims 6 and 7 under § 103
over U.S. Patent No. 5,696,903 to Mahany. Dec. 11–21. As noted in
Section I.A., supra, DSS subsequently disclaimed claims 6 and 7, leaving
only claims 9 and 10 in trial on the single ground based on Natarajan and
Neve.

                                 II. ANALYSIS
        A. The ’290 Patent
        The ’290 patent, titled “Personal Data Network,” issued October 3,
2000, from U.S. Patent Application No. 08/949,999 (Ex. 1005, 22–62,
“the ’999 application”). The ’999 application was filed October 14, 1997, as
a continuation-in-part of U.S. Patent Application No. 08/611,695 (Ex. 1006,
21–61, “the ’695 application”), filed March 6, 1996, which matured into




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U.S. Patent No. 5,699,357 (Ex. 2001, “the ’357 patent”). See Ex. 1001, 1:6–
8.
        The ’290 patent relates to a data network for bidirectional wireless
data communications between a host or server microcomputer unit and a
plurality of peripheral units referred to as personal electronic accessories
(PEAs). Ex. 1001, 1:11–14, 2:15–18. Among the objects of the invention is
the provision of a data network that requires extremely low power
consumption, “particularly for the peripheral units,” avoids interference
from nearby similar systems, and is relatively simple and inexpensive to
construct. Id. at 1:33–34, 1:39–45. Figure 1 of the ’290 patent, reproduced
below, is illustrative of the described wireless data network system.




        Figure 1 is a block diagram of a wireless data network system linking
a server microcomputer, referred to as personal digital assistant (PDA) 11,
with a plurality of peripheral units, or PEAs, 21–29. Id. at 2:42–44, 2:66–
3:15.



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      According to the ’290 patent, “the server microcomputer unit and the
several peripheral units which are to be linked are all in close physical
proximity, e.g., within twenty meters, to establish, with very high accuracy,
a common time base or synchronization.” Id. at 1:50–54. “Using the
common time base, code sequences are generated which control the
operation of the several transmitters in a low duty cycle pulsed mode of
operation.” Id. at 1:57–59. “The server and peripheral unit transmitters are
energized in low duty cycle pulses at intervals which are determined by a
code sequence which is timed in relation to the synchronizing information
initially transmitted from the server microcomputer.” Id. at 2:35–39. “The
low duty cycle pulsed operation both substantially reduces power
consumption and facilitates the rejection of interfering signals.” Id. at 1:59–
61. “In the intervals between slots in which a PEA is to transmit or receive,
all receive and transmit circuits are powered down.” Id. at 4:6–8.

      B. Illustrative Claim
      Independent claim 9 is reproduced below. Claim 10 depends directly
from claim 9.
         9. A data network system for effecting coordinated operation of a
      plurality of electronic devices, said system comprising:
         a server microcomputer unit, said server unit including an
      oscillator for establishing a time base;
         a plurality of peripheral units which provide either input
      information from the user or output information to the user, and which
      are adapted to operate within about 20 meters of said server unit;
         said server microcomputer incorporating an RF transmitter
      controlled by said oscillator for sending commands and synchronizing
      information to said peripheral units, said synchronizing information



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      being carried by time spaced beacons characteristic of the particular
      server unit;
         said peripheral units each including an RF receiver for detecting
      said commands and synchronizing information and including also a
      local oscillator, each of said peripheral units being operative in a first
      mode to receive said beacons independently of synchronization of the
      respective local oscillator when that peripheral unit is in close
      proximity to said server unit and to determine from the server unit its
      characteristics, each of said peripheral units being operative in a
      second mode to synchronize the respective local oscillator with the
      server unit oscillator, each of said peripheral units also including an
      RF transmitter operative in a third mode for sending input information
      from the user to said server microcomputer,
         said server microcomputer including a receiver for receiving input
      information transmitted from said peripheral units;
         said server and peripheral transmitters being energized in low duty
      cycle RF bursts at intervals with said receivers being controlled by the
      respective oscillators.
Ex. 1001, 13:25–14:10.

      C. Claim Construction
      The ’290 patent expired on March 6, 2016, twenty years from the
filing date of the ’695 application from which the ’290 patent claims
priority. 35 U.S.C. § 154(a)(2). We construe expired patent claims
according to the standard applied by the district courts. See In re Rambus
Inc., 694 F.3d 42, 46 (Fed. Cir. 2012). Specifically, we apply the principles
set forth in Phillips v. AWH Corp., 415 F.3d 1303, 1312–17 (Fed. Cir. 2005)
(en banc). “In determining the meaning of the disputed claim limitation, we
look principally to the intrinsic evidence of record, examining the claim
language itself, the written description, and the prosecution history, if in
evidence.” DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 469 F.3d



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1005, 1014 (Fed. Cir. 2006) (citing Phillips, 415 F.3d at 1312–17). Only
those terms that are in controversy need to be construed, and only to the
extent necessary to resolve the controversy. Vivid Techs., Inc. v. Am. Sci. &
Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999).
      The words of a claim are generally given their ordinary and customary
meaning, and that is the meaning the term would have to a person of
ordinary skill at the time of the invention, in the context of the entire patent
including the specification. See Phillips, 415 F.3d at 1312–13. Claims are
not interpreted in a vacuum but are a part of and read in light of the
specification. See Slimfold Mfg. Co. v. Kinkead Indus., Inc., 810 F.2d 1113,
1116 (Fed. Cir. 1987). Although it is improper to read a limitation from the
specification into the claims (In re Van Geuns, 988 F.2d 1181, 1184 (Fed.
Cir. 1993)), the claims still must be read in view of the specification of
which they are a part. See Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d
1340, 1347 (Fed. Cir. 2004).
      If the applicant for patent desires to be its own lexicographer, the
purported definition must be set forth in either the specification or
prosecution history. CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359,
1366 (Fed. Cir. 2002). And such a definition must be set forth with
reasonable clarity, deliberateness, and precision. In re Paulsen, 30 F.3d
1475, 1480 (Fed. Cir. 1994).
      Apple asked us in its Petition to construe “local oscillator,” as recited
in claims 6 and 9 (Pet. 6–8); and DSS asked us in its Preliminary Response
to construe “energized in low duty cycle RF bursts,” also recited in claims 6
and 9 (Prelim. Resp. 19–20). DSS proposed, in particular, that the phrase
“energized in low duty cycle RF bursts” be given its plain and ordinary


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meaning, or alternatively, in the event of any ambiguity, that it should be
construed as “a pulsed operation that substantially reduces power
consumption and facilitates the rejection of interfering signals.”
Id. (boldface and italics omitted).
      In our Decision on Institution, we concluded that it was not necessary
for our determination of whether to institute inter partes review of the
challenged claims to construe expressly either “local oscillator” or
“energized in low duty cycle RF bursts.” Dec. 8–9. Because the ’290 patent
had not yet expired at the time of our Decision on Institution, we interpreted
the claims under the broadest reasonable interpretation standard. Dec. 6–7;
see 37 C.F.R. § 42.100(b); Office Patent Trial Practice Guide, 77 Fed.
Reg. 48,756, 48,766 (Aug. 14, 2012); In re Cuozzo Speed Techs., LLC,
778 F.3d 1271, 1278–81 (Fed. Cir. 2015), cert. granted sub nom. Cuozzo
Speed Techs. LLC v. Lee, 136 S. Ct. 890 (mem.) (2016).
      Neither party now challenges our determination in the Decision on
Institution that “local oscillator” does not require express construction.
Based on DSS’s Patent Owner Response, Apple’s Reply, and the arguments
presented at oral argument, however, the construction of the phrase
“energized in low duty cycle RF bursts” is a central issue in this proceeding.
                   “energized in low duty cycle RF bursts”
      Outside of the claims, the ’290 patent recites the phrase “low duty
cycle” four times, as emphasized below:
      The data network disclosed herein utilizes low duty cycle pulsed
      radio frequency energy to effect bidirectional wireless data
      communication between a server microcomputer unit and a
      plurality of peripheral units . . . . By establishing a tightly
      synchronized common time base between the units and by the
      use of sparse codes, timed in relation to the common time base,


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      low power consumption and avoidance of interference between
      nearby similar systems is obtained.
Ex. 1001, Abst.
      Using the common time base, code sequences are generated
      which control the operation of the several transmitters in a low
      duty cycle pulsed mode of operation. The low duty cycle pulsed
      operation both substantially reduces power consumption and
      facilitates the rejection of interfering signals.
Id. at 1:57–61.
      The server and peripheral unit transmitters are energized in low
      duty cycle pulses at intervals which are determined by a code
      sequence which is timed in relation to the synchronizing
      information initially transmitted from the server microcomputer.
Id. at 2:35–39.
      In its Patent Owner Response, DSS contends that a person of ordinary
skill in the art would have understood the “duty cycle” of the server
transmitter as “the ratio of actual duration during which the server
transmitter is energized to the total duration designated for outbound
transmissions.” Id. at 11 (emphasis omitted). DSS contends that
understanding is consistent with deposition testimony provided by Apple’s
expert, Dr. Jack Duane Grimes (Id. at 11 (citing Ex. 2015 (“Grimes Depo.
Tr.”), 41:7–9 (“The low-duty cycle refers to the ratio of the time spent
transmitting versus the time spent nontransmitting.”), 31:10–12 (“Low-duty
cycle tells you that most of the time there’s nothing being sent. And when
there is something being sent, that’s what’s called a burst.”), 46:12–15
(“[T]he key thing is that the burst is small—the time it takes is small relative
to the overall time that the transmitter could have been transmitting.”))).
Citing both Dr. Grimes’s deposition testimony and the declaration of its own
expert, Robert Dezmelyk, DSS further contends that “the duty cycle of the

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server transmitter must be calculated over the total duration designated
for the outbound transmissions,” and that “[t]ime slots designated for the
inbound data traffic are not taken into account because the server transmitter
could not have been transmitting during these time slots.” Id. at 11–12
(citing Ex. 2015, 60:19–22; Ex. 2016 (“Dezmelyk Decl.”) ¶¶ 23, 27). DSS
concludes, “[u]nder the broadest reasonable interpretation, a [person of
ordinary skill in the art] would have understood that a server transmitter is
energized in a low duty cycle when the server transmitter is energized for
less than ten percent (10%) of the total duration designated for outbound
transmissions.” Id. at 12.1
      DSS contends the “less than ten percent” range is consistent with the
Specification of the ’290 patent, including an example in which “a
maximum of three RF bursts can occur” for outbound transmissions in
sections that each include sixty-four slots, and another example in which
transmitted synchronization beacons are described as consisting of eight RF
bursts spread out over 252 slots. PO Resp. 12–13 (citing Ex. 1001, 7:22–
33). According to DSS, the first example results in the server transmitter
being energized for 4.688% (i.e., 3/64) of the transmission period, while in
the second example, the server transmitter is energized in a duty cycle of
3.175% (i.e., 8/252). Id. DSS also cites five patents (Exs. 2004–2008) that
it contends to be the first five “relevant” results “obtained on Google Patents
through the query: ‘low duty cycle e.g.’ & network & percent” (id. at 13,



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  DSS and Apple both confirmed during the oral hearing that their respective
claim construction proposals for “low duty cycle” would be no different
under the Phillips standard, as opposed to the broadest reasonable
interpretation standard. Tr. 28:23–29:1, 39:7–11.

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13 n.1, Table 1).2 Those patents include exemplary “low duty cycle” ranges
from “e.g., 0.5 percent” (Ex. 2006, 8:3) to “e.g., at an about 10 percent . . .
duty cycle” (Ex. 2008, 10:5–6).
         As to the phrase “RF bursts,” DSS contends that “a [person of
ordinary skill in the art] would have understood the phrase ‘RF bursts’ to
mean ‘a short period of intense activity on an otherwise quiet data
channel.’” PO Resp. 14 (citing definition of “burst” from CHAMBERS
DICTIONARY OF SCI. & TECH. 155 (1999) (Ex. 2009)). DSS asserts that this
construction is consistent with Dr. Grimes’s deposition testimony that “the
key thing is that the burst is small—the time it takes is small relative to the
overall time that the transmitter could have been transmitting” and with the
’290 patent’s illustration of 2 µsec burst slots. Id. at 14–15 (citing Ex. 2015,
34:2–8, 46:12–15; Ex. 1001, Fig. 6).
         In its Reply, Apple responds that a “low duty cycle” of a transmitter
should simply be interpreted as the transmitter being designed to be on only
to satisfy the data communication needs over the communication cycle of
the system. Reply 23. According to Apple, “DSS’s proposed claim
construction that ‘low duty cycle’ is less than 10% is arbitrary and unduly
narrow.” Id. at 21 (emphasis omitted). Apple contends that “[t]he
‘examples’ that DSS cites in Table 1 are cherry-picked results from a search
premised on finding examples by including ‘e.g.’ in the search string,” that
“none of these references are contemporaneous with the ’290 patent’s filing
date,” and that one of those examples even “contradicts the proposed
construction of ‘less than ten percent,’ providing a ‘low duty cycle, e.g., at



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    DSS does not explain its criteria for determining “relevance.”

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an about 10 percent (10%) duty cycle.’” Id. at 21–22 (quoting Ex. 2008,
10:5–6). Apple also contends that the deposition testimony of DSS’s expert
undermines DSS’s proposed construction, as “Mr. Dezmelyk admits that the
term ‘low duty cycle’ itself does not require an upper bound at 10%.” Id.
(citing Ex. 1011 (“Dezmelyk Depo. Tr.”), 78:2–6).
      Apple also points out that claim 8 of the ’357 patent (i.e., the parent of
the ’290 patent), which was cited by Mr. Dezmelyk during his deposition as
further support for the “10% limit,” recites “said low duty cycle pulses
comprise chips within the respective code sequences such that a transmitter
is enerrgized [sic] less than 10% of the time during an allocated time slot.”
Reply 22–23. According to Apple, “[b]ecause claim 8 depends ultimately
from independent claim 6, it is narrower than the independent claim,
meaning that the ’357 patent contemplates a ‘low duty cycle’ greater than
10%.” Id. at 23.
      In the oral hearing, DSS retreated from insisting that “low duty cycle”
should be limited to a duty cycle of “less than ten percent.” While
maintaining that “[l]ow duty cycle is a term of art” and that “[i]n the context
of wireless communications, 10 percent is a reasonable number,” DSS
conceded, “there is no hard value for the numbers.” Tr. 48:6–7, 48:22,
49:16–17. DSS asserted: “Anything below 10 percent is low duty cycle.
Anything over 10 percent would be considered high duty cycle and—or at
least it would not be considered a low duty cycle in the context of wireless
communications technology.” Id. at 50:22–25. DSS additionally suggested
that a person of ordinary skill in the art would understand that, if there were
more data than could be transmitted in three of sixty-four slots, the
transmission of the data would be held by the transmitter for future frames,


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and that “low duty cycle” operation requires “kicking off mobile units” and
introducing “additional complexity and additional inefficiency,” merely so
that a server transmitter can be depowered for the majority of a duty cycle
regardless of whether there is more data waiting to be transmitted (see id. at
61:13–62:2, 71:9–72:5).
      As an initial matter, we understand an “RF burst” to be “a short period
of intense RF transmission activity on an otherwise quiet data channel,”
consistent with DSS’s proposal (see PO Resp. 14). That understanding is
supported by the ’290 patent and other evidence of record (see Ex. 1001,
Fig. 1; Ex. 2009; Ex. 2015, 34:2–8, 46:12–15), and Apple does not provide
any contrary argument.
      Nonetheless, we are unpersuaded by DSS’s arguments concerning the
proper interpretation of “low duty cycle.” First, we agree with Apple that
the term “duty cycle” should be calculated based on the total time it takes a
system to go through a cycle of communication (see Reply 23–24), and is
not limited to “the total duration designated for outbound transmissions,” as
asserted by DSS (see PO Resp. 11) (emphasis omitted). This interpretation
is consistent with the Specification. See Ex. 1001, 11:46–51 (“Further, the
utilization of low duty cycle pulse mode transmission particularly with the
employment of uncorrelated codes in a TDMA context, leads to very low
power consumption since the transmitters and receivers in each PEA are
powered for only a small percentage of the total time.”). We also agree with
Apple that “the data requirements for the master station to broadcast to the
peripherals change[], and the data requirements for the peripherals to
transmit back to the master station change over time.” Tr. 9:4–8.
Accordingly, we understand the “duty cycle” of a transmitter to be the


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average ratio of the durations during which the transmitter is energized to
the duration of communication cycles over the course of network operation.
      We also agree with Apple that “low duty cycle” should not be limited
to a duty cycle of less than 10% or to any other hard limit (Reply 20–22),
and instead conclude, on this record, that “energized in low duty cycle RF
bursts” simply means that a transmitter is not energized continuously over
the course of network operation, but is depowered during at least two time
periods of each communication cycle: first, in time slots in which the unit
that includes the transmitter is assigned to receive data; and second, in time
slots, if any, when the unit is assigned to transmit data but has no data to
transmit.
      As DSS conceded at the oral hearing, there is “no hard value” recited
in the ’290 patent or elsewhere on the record (Tr. 49:16–17), and we are not
persuaded on this record that we should infer from the examples in the ’290
patent that Applicant intended thereby to limit the meaning of “low duty
cycle” to transmitting in just three of sixty-four or eight of 252 time slots
reserved for transmission, or anything on that order (see PO Resp. 12–13).
We also find that DSS’s suggestions regarding “kicking off” of mobile units
and introduction of “complexity” and “inefficiency” (see Tr. 61:13–62:2,
71:9–72:5) are inappropriate because they are new arguments raised for the
first time at oral argument. Thus, those new arguments are not considered.
See Apple Inc. v. e-Watch, Inc., Case IPR2015-00412, slip op. at 40–41
(PTAB May 6, 2016) (Paper 50) (declining to consider arguments raised for
the first time at oral argument).
      We also are not persuaded by DSS’s sampling in its Patent Owner
Response of five unrelated patents (i.e., Exs. 2004–2008) that, by virtue of


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their use of the abbreviation “e.g.,” explicitly provide only examples of low
duty cycles (see Ex. 2002 (Black’s Law Dictionary, definition of “e.g.”)).
PO Resp. 12–13. Indeed, although there may not be any evidence of record
that the definition of “duty cycle” changed in the years between the filing
date of the application for the ’290 patent and the filing dates of the
applications that issued as Exhibits 2004–2008 (see Tr. 50:5–7), the fact that
none of those references predates the ’290 patent casts doubt upon the
weight to which that evidence is entitled in showing how a person of
ordinary skill in the art would have understood low duty cycle in the context
of the ’290 patent (see Reply 22).
      In view of the foregoing, on the record before us, we conclude that the
phrase “energized in low duty cycle RF bursts” means “energized, in short
periods of intense RF transmission activity on an otherwise quiet data
channel, only to the extent required to satisfy the data transmission needs
over the course of a communication cycle.”

      D. Obviousness of Claims 9 and 10 over Natarajan and Neve
      Apple contends that claims 9 and 10 of the ’290 patent are
unpatentable under 35 U.S.C. § 103(a) as obvious over the combination of
Natarajan and Neve.
      A claim is unpatentable under 35 U.S.C. § 103(a) if the differences
between the claimed subject matter and the prior art are “such that the
subject matter as a whole would have been obvious at the time the invention
was made to a person having ordinary skill in the art to which said subject
matter pertains.” We resolve the question of obviousness on the basis of
underlying factual determinations, including: (1) the scope and content of



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the prior art; (2) any differences between the claimed subject matter and the
prior art; (3) the level of skill in the art; and (4) objective evidence of
nonobviousness, i.e., secondary considerations. 3 See Graham v. John Deere
Co., 383 U.S. 1, 17–18 (1966).
        In an obviousness analysis, some reason must be shown as to why a
person of ordinary skill would have combined or modified the prior art to
achieve the patented invention. See Innogenetics, N.V. v. Abbott Labs., 512
F.3d 1363, 1374 (Fed. Cir. 2008). A reason to combine or modify the prior
art may be found explicitly or implicitly in market forces, design incentives,
the “interrelated teachings of multiple patents,” “any need or problem known
in the field of endeavor at the time of invention and addressed by the
patent,” or the background knowledge, creativity, and common sense of the
person of ordinary skill. Perfect Web Techs., Inc. v. InfoUSA, Inc., 587 F.3d
1324, 1329 (Fed. Cir. 2009) (quoting KSR Int’l Co. v. Teleflex Inc., 550 U.S.
398, 418–21 (2007)).

            1. Scope and Content of the Prior Art
               a.    Overview of Natarajan
        Natarajan is directed to power conservation in wireless
communication, particularly battery efficient operation of wireless link
adapters of mobile computers (also referred to, inter alia, as battery powered
computers, hand held or laptop computers, mobile units, and mobile
stations) as controlled by multiaccess protocols used in wireless
communication. Ex. 1003, Abst., 1:7–13, 2:32. Figure 2 of Natarajan is
reproduced below.


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    The record does not contain any evidence of secondary considerations.

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      Figure 2 is a block diagram of a digital data communication system of
the type in which Natarajan’s invention is implemented, illustrating the basic
components of a mobile station and a base station. Id. at 1:67–2:3. As
depicted in Figure 2, mobile stations 10, 12, 14, and 16 communicate with
gateways (i.e., base stations 26, 28) connected with server 18, via wireless
transceivers adapters 36, 44. Id. at 2:32–39, 2:51–52, 2:58–59, 2:65–67.
According to Natarajan:
      The scheduled access multiaccess protocol is implemented to
      effectively conserve battery power by suitable control of the
      state of the controller, the transmitter and receiver units at the
      wireless link adapter by scheduling when the adapter is in a
      normal running mode, or a standby mode in which power is
      conserved.
Id. at Abst.; see also id. at 3:66–4:1.
      Natarajan discloses that “[a] desirable solution is one in which the
transmitter (or receiver) consumes power only when it is actively
transmitting a message (or actively receiving a message).” Id. at 4:3–6.


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Natarajan further discloses that the scheduled multiaccess protocol divides
time into “fixed-length frames, and frames are divided into slots.” Id. at
4:20–23. The frames are divided into subframes for transmission of data
from the base station to mobile units (outbound traffic) as well as
transmission of data from mobile units to the base station (inbound traffic).
Id. at 4:27–38. According to Natarajan, at least one slot is assigned to each
mobile computer designated to communicate with the base station. Id. at
10:26–29. The battery power of the wireless link adapter for a given mobile
computer is turned on to full power during the at least one assigned slot, and
the battery power of the wireless link adapter is substantially reduced during
the remaining time slots. Id. at 10:29–37.
      With respect to outbound traffic, Natarajan discloses that the base
station broadcasts a header that includes a list of mobile users that will be
receiving data packets from the base station in the current frame, the order in
which the mobile users will receive the data packets, and the bandwidth
allocated to each user. Id. at 4:45–53. According to Natarajan, a mobile
unit that is not included in the header from the base station can turn its
receiver “OFF” for the duration of the current subframe. Id. at 4:64–67.
Additionally, the adapter of each receiving mobile unit can compute exactly
when it should be ready to receive packets from the base station by adding
up the slots allocated to all receiving units that precede it, power “ON”
during that time slot to receive its data, and go back to sleep for the
remainder of the subframe. Id. at 4:67–5:6.
      For inbound traffic, Natarajan similarly discloses that the base station
broadcasts a header that includes an ordered list of users that will be allowed
to transmit packets to the base station in the current frame and the bandwidth


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allocated to each. Id. at 5:9–19. Using the information regarding the
number of packets that each user can transmit, each mobile unit can compute
exactly when it should begin its transmission. Id. at 5:20–22. Once each
mobile station computes its exact time for transmission, it can shut both its
transmitter and receiver “OFF” until the designated time, and then turn
“ON” and transmit for a fixed period of time whose duration depends on the
number of slots allocated to it. Id. at 5:23–29.

            b.      Overview of Neve
      Neve is directed to a communication system able to provide multiple
path communication between a plurality of stations operating on a single
channel. Ex. 1004, Abst. Neve discloses that one station, which is
physically similar to the others but operates a different stored program, may
be designated the “master” station and provides synchronization signals for
all of the other stations (referred to as “‘slave’ stations”) and controls access
of the stations to the single radio channel. Id. at 4:10–15.
      According to Neve, the stations are synchronized and a cyclically
repeating series of time slots is defined. Id. at Abst. One time slot in each
cycle is reserved for the transmission of synchronization information by the
master station for reception by the slave stations and for maintaining
synchronization therein. Id. Another time slot is reserved for any slave
station to transmit a message indicating that it needs to communicate to
another station, such indication preferably being by transmitting its own pre-
assigned address code. Id. The remaining time slots are used for
transmitting address information and data. Id.
      Neve discloses that when data transfer is not taking place, the
described devices can enter a lower power consumption state. Id. at 2:13–


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16. The system is designed automatically to re-enter the data transfer
condition when either a signal is received from the device indicative of the
need to transmit data or a predetermined code signal is received by the
receiver circuit indicative of the need to receive data. Id. at 2:19–24. Neve
discloses that the receiver has very low power consumption because only the
internal timing circuitry is energized continuously, whereas the rest of the
receiving circuit is energized only when its assigned time slot occurs. Id. at
2:39–41. More particularly, the receiver circuit includes a low power timing
circuit that operates to energize the rest of the receiver circuit only for the
time slot in which its address may occur and for the synchronization time
slot, thereby enabling it to maintain synchronization with low power
consumption. Id. at 4:43–48. Neve similarly discloses that the interface
circuit is arranged to energize the transmitter circuit only when transmission
is required. Id. at 2:45–47.

          2. Level of Ordinary Skill in the Art
      We determine that no express finding with regard to the level of
ordinary skill in the art is necessary in this proceeding, as the level of
ordinary skill in the art is reflected by the prior art of record. See Okajima v.
Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001); In re GPAC Inc., 57 F.3d
1573, 1579 (Fed. Cir. 1995); In re Oelrich, 579 F.2d 86, 91 (CCPA 1978).

          3. Differences Between the Prior Art and Claims 9 and 10;
             Reasons to Combine
             a.     Uncontested Claim Limitations
      The features of Natarajan and Neve are summarized above.
Regarding claim 9, we have considered Apple’s evidence, including
Dr. Grimes’s testimony (Ex. 1008 ¶¶ 89–94, 124–152), presented at pages


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27–35 and 41–51 of the Petition, and make the following findings regarding
matters not disputed in DSS’s Patent Owner Response:
              i.    Natarajan and Neve are from the same field of
                    endeavor—wireless network communication systems
                    (see Ex. 1003, Abst.; Ex. 1004, Abst.);
              ii.   Both Natarajan and Neve disclose a data network system
                    for effecting coordinated operation of a plurality of
                    electronic devices, as recited in claim 9 (see Ex. 1003,
                    1:67–68, 6:48–54, Fig. 1; Ex. 1004, 4:6–9, Fig. 9);
              iii. Both Natarajan and Neve are concerned with conserving
                    battery power of battery powered, portable, wireless
                    devices (see Ex. 1003, Abst., 1:16–21; Ex. 1004, 1:29–
                    34, 2:48–59);
              iv. Both Natarajan and Neve disclose a server that includes
                    an oscillator for establishing a time base (see Ex. 1003,
                    Abst., 2:40–45, 3:18–21, 7:10–27, Figs. 1–3; Ex. 1004,
                    Abst., 3:64–66, 4:10–15, 5:24–28, 6:7–14, Figs. 1, 4,
                    5, 9);
              v.    Natarajan’s “base station” and Neve’s “master station”
                    are “server microcomputer[s] incorporating an RF
                    transmitter controlled by [an] oscillator for sending
                    commands . . . to . . . peripheral units,” as recited in claim
                    9 (see Ex. 1003, 2:51–58, 3:18–21, 4:20–5:19, 6:48–54,
                    Figs. 2, 3; Ex. 1004, 3:26–28, 3:59–63, 7:46–49, Figs. 1,
                    3);




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             vi. Neve discloses that the server unit (“master station”)
                   provides “synchronization signals for all of the other
                   stations” (see Ex. 1004, Abst., 4:10–13, Fig. 2);
             vii. Natarajan’s “mobile units” and Neve’s “slave units” are
                   “peripheral units which provide either input information
                   from the user or output information to the user, . . . are
                   adapted to operate within about 20 meters of said server
                   unit,” and “each includ[e] an RF receiver for detecting
                   said commands and synchronizing information and
                   including also a local oscillator,” where each of said
                   peripheral units is operative in various modes, as recited
                   in claim 9 (see Ex. 1003, Abst., 1:39–43, 2:1–3, 2:32–39,
                   2:58–59, 2:65–67, 3:28–30, 3:41–46, 3:50–51, 4:30–38,
                   4:67–5:4, 6:17–21, 6:32–34, 6:41–44, 7:17–25, Figs. 1–
                   3; Ex. 1004, Abst., 1:10–15, 1:34–40, 3:10–14, 3:59–63,
                   4:6–9, 4:38–43, 5:24–28, 6:7–14, 7:46–49, Figs. 4, 5);
             viii. Neve discloses that the server (“master unit”) is
                   physically similar to the peripheral units (“slave units”)
                   but operates a different stored program (see Ex. 1004,
                   4:10–15, Fig. 9);
             ix. Natarajan and Neve disclose that the server unit includes
                   a receiver for receiving input information transmitted
                   from the mobile units (see Ex. 1003, 2:51–59, 5:9–15,
                   Figs. 2, 3; Ex. 1004, 3:59–63; 7:31–34, Figs. 1, 3);
             x.    Natarajan and Neve reduce power consumption in similar
                   ways, by scheduling transmission time slots and having


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                   devices operate in a low power mode when they are not
                   transmitting or receiving data (see Ex. 1003, Abst., 3:66–
                   4:7; Ex, 1004, Abst., 2:35–41);
             xi. Natarajan and Neve each disclose “peripheral
                   transmitters being energized in low duty cycle RF
                   bursts,” as recited in claim 9; in particular, Natarajan
                   discloses that “[s]cheduled access multiaccess protocols
                   can be implemented to effectively conserve battery
                   power by suitable control of the state of transmitter and
                   receiver units at the portable units (i.e., by scheduling
                   when they should be turned ON or OFF)” and that “the
                   transmitter (or receiver) consumes power only when it is
                   actively transmitting a message (or actively receiving a
                   message)” (see Ex. 1003, 3:66–4:6; 6:15–33, 6:59–68,
                   Figs. 4, 5); and Neve discloses that “[t]he slave stations
                   operate in a low power condition except during one of
                   the other time slots when they may receive their own
                   address, or except when they need to transmit data” (see
                   Ex. 1004, Abst.), and that the interface circuit of each
                   device is “arranged to energise the transmitter circuit
                   only when transmission is required” (see id. at 2:42–47);
                   see also id. at 5:60–61 (disclosing “low power duty
                   cycle”).




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             b.     “said server . . . transmitter[] being energized in low
                    duty cycle RF bursts”
      As reproduced in Section II.B. supra, claim 9 recites, inter alia, “said
server and peripheral transmitters being energized in low duty cycle RF
bursts at intervals with said receivers being controlled by the respective
oscillators.” The single substantive dispute in this proceeding is whether the
combination of Natarajan and Neve teaches or suggests that the recited
server transmitter is energized in low duty cycle RF bursts. See PO Resp.
16–36; Reply 2–19.
      In its Petition, Apple cited Natarajan’s disclosure that “[s]cheduled
access multiaccess protocols can be implemented to effectively conserve
battery power by suitable control of the state of transmitter and receiver
units at the portable units (i.e., by scheduling when they should be turned
ON or OFF)” and that “the transmitter (or receiver) consumes power only
when it is actively transmitting a message (or actively receiving a message)”
as evidence of Natarajan’s disclosure of “low duty cycle RF bursts.” Pet. 50
(citing Ex. 1003, 3:66–4:6; Ex. 1008 ¶ 150). Apple additionally cited
Natarajan’s disclosure of a period “for the transfer of all bursty data traffic
in a contention mode from mobile units to base station (inbound traffic)” and
Neve’s disclosure that “[t]he slave stations operate in a low power condition
except during one of the other time slots when they may receive their own
address, or except when they need to transmit data” and that the interface
circuit of each device is “arranged to energise the transmitter circuit only
when transmission is required,” in support of its assertion that “Natarajan
and Neve each disclose that the transmitters are ‘energized in low duty cycle
RF bursts.’” Id. (citing Ex. 1003, 4:36–38; Ex. 1004, Abst., 2:42–47;



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Ex. 1008 ¶ 150). Apple pointed further to portions of Natarajan and Neve as
disclosing that the devices each include an “oscillator,” as recited by claim
9. Id. at 50–51 (citing Ex. 1003, 7:17–25; Ex. 1004, 5:24–28, 6:7–14,
Figs. 4, 5; Ex. 1008 ¶ 151).
      In response to Apple’s contentions, DSS argues that Natarajan does
not teach or suggest that the server transmitter is energized in low duty cycle
RF bursts. PO Resp. 16. According to DSS, “[a]lthough Natarajan teaches a
system for reducing power consumption in mobile units, Natarajan is silent
regarding the operation of the base unit’s transmitter.” Id. at 17. “Natarajan
discloses that its objective is to provide energy savings for the mobile units,
but does not teach or suggest that there are any energy savings associated
with operation of the base unit’s transmitter,” and “[f]or this reason, the base
unit’s transmitter could operate continuously during the time slots
designated for outbound traffic without undermining the objectives of
Natarajan.” Id. at 17–18 (citing Ex. 1003, 3:59–61, 10:14–37; Ex. 2016
¶¶ 32, 38). Moreover, according to DSS, “[i]t is well understood in the art
that although the base unit and mobile units may be structured similarly, the
base and mobile units operate under different schemes,” and accordingly, a
person of ordinary skill in the art “would not have concluded that base
transmitters operate the same way as the mobile units.” Id. at 17 (citing
Ex. 1004, 4:10–12; Ex. 2016 ¶ 31). DSS concludes, “Natarajan does not
disclose that the server transmitter is energized in a low duty cycle,” and
“[t]he logical conclusion is that in the data network system disclosed in
Natarajan, the base transmitter is continuously energized during the time
periods designated for outbound transmissions.” Id. at 19.




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      In further support of its arguments, DSS points to disclosure in
Natarajan that serial channels in the base unit’s transmitter “encapsulate data
and control information in an HDLC (high-level data link control) packet
structure and provide the packet in serial form to the RF transceiver 54,” and
contends that “HDLC involves continuous transmissions in which special bit
sequences—i.e. idle words—are transmitted when no data transmission is
required.” PO Resp. 21–22 (quoting Ex. 1003, 3:34–37) (emphasis omitted).
According to DSS, “[t]he HDLC packet structure disclosed in Natarajan is
inconsistent with a server transmitter being energized in low duty cycle RF
bursts,” and “[i]t is well-known in the art that HDLC is an example of a
bit-oriented framing that involves a continuous outbound transmission rather
than operation in low duty cycle RF bursts.” Id. at 20–21 (emphasis
omitted). In support of that assertion, DSS quotes the following excerpt
from the McGraw Hill Encyclopedia of Networking & Telecommunications:
“Bit-oriented framing . . . allows the sender to transmit a long string of bits
at one time. . . . The beginning and end of a frame is signaled with a special
bit sequence (01111110 for HDLC). If no data is being transmitted, this
same sequence is continuously transmitted so the end systems remain
synchronized.” Ex. 2010, 549 (quoted at PO Resp. 21–22). According to
DSS, “Natarajan’s disclosure of HDLC, which is used for transmitting ‘long
strings of data [sic] at one time,’ directly contradicts the requirement of
claim 9 of the ’290 Patent that server transmitters be energized in RF
bursts.” PO Resp. 22. DSS concludes, “a continuous transmission is an
antithesis of RF bursts” and “protocols involving transmission of idle words
in an absence of active transmissions are inconsistent with server transmitter
operating in a low-duty cycle.” Id. at 22–23.


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      DSS further contends that Neve does not cure the alleged deficiencies
of Natarajan. PO Resp. 27–33. In particular, according to DSS, Neve does
not teach or suggest that server transmitter is energized in low duty cycle RF
bursts. Id. at 30. DSS acknowledges our finding in the Decision on
Institution that Neve does not suggest continuous transmission from the
master station and, accordingly, does not teach away from the server
transmitter being energized in low duty cycle RF bursts. Id.; see Dec. 18.
DSS contends, however, that “during the time slots designated for outbound
transmissions, ‘[i]f no data is currently required to be transmitted, the master
station transmits idle words’” (id. (quoting Ex. 1004, 4:48–50)), and argues,
“[i]dle words are inconsistent with server transmitter being energized in low
duty cycle RF bursts” (id.). Again citing Natarajan’s disclosure that data is
encapsulated into an HDLC packet structure for the RF transceiver and
Neve’s disclosure of idle word transmission, DSS concludes, “[w]hen
Natarajan is considered in view of Neve, it becomes even more apparent that
these references, either individually or in combination, do not teach or
suggest that server transmitter is energized in low duty cycle RF bursts.”
Id. at 31–32 (citing Ex. 1003, 3:33–37; Ex. 1004, 4:48–50; Ex. 2016 ¶¶ 34,
35, 45).
      In reply, Apple argues that a person of ordinary skill in the art would
have understood from Natarajan that, when Natarajan’s base station is not
transmitting, its transmitter is powered off. Reply 3 (citing Ex. 1003, 6:41–
44; Ex. 1008 ¶¶ 27, 115–116; Ex. 1014 (“Hu Decl.”) ¶¶ 44–45; Ex. 2015,
68:5–12, 74:7–19, 75:21–76:3). Apple contends, “DSS acknowledges that
Natarajan explicitly discloses that the mobile unit transmitters operate in
‘low duty cycle RF bursts’” (id. at 4 (citing PO Resp. 17; Ex. 2016 ¶ 31)),


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“[s]o even if not expressly taught by Natarajan, it would have been plainly
obvious to a [person of ordinary skill in the art] to have the base station
operate in an analogous manner” (id. (citing Ex. 1014 ¶ 45)). In particular,
according to Apple, “[t]he ‘low duty cycle RF bursts’ limitation of claim 9 is
not novel,” and “[b]ecause the base and mobile stations have the same
physical structure, this would have been no more than using a known
technique to improve similar devices in the same way.” Id. (citing Ex. 1003,
3:7–8; Ex. 1014 ¶ 45).
      Apple further points out that, not only is HDLC consistent with low
duty cycle RF bursts, contrary to DSS’s assertions, but the preferred
embodiment in the ’290 patent itself utilizes the HDLC protocol. Reply 4–5.
According to Apple:
             The “basic scheme” of the ’290 patent’s frame structure is
      “a form of time division multiple access (TDMA).” ([Ex. 1001],
      5:45-50.) The ’290 patent states that “[a]s will be understood by
      those skilled in the art, the TDMA system is greatly facilitated
      by the establishment of a common frame time base between PEA
      and PDA.” (Id. at 7:63-65 (emphasis added).) This is
      accomplished using synchronization beacons (SBs). (Id. at 7:65-
      67.) Before receiving the SBs, a PEA is associated with the PDA
      using a succession of Attachment Beacons (ABs), which are
      “composed of RF bursts,” broadcast from the PDA to the PEAs.
      (Id. at 9:8-16, 9:66-10:2.) “This succession of ABs forms an
      HDLC channel using bit-stuffing to delineate the beginning and
      end of a packet.” (Id. at 10:2-4 (emphasis added).)
             So, the ’290 patent uses HDLC to transmit and receive RF
      bursts. ([Ex. 1014] ¶¶ 48-49.) Thus, the ’290 patent itself shows
      that DSS’s argument is fallacious.
Id. at 5.




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      Apple additionally contends that DSS’s evidence and reliance on
Mr. Dezmelyk’s testimony regarding HDLC should be disregarded for at
least the following four reasons:
      First, Mr. Dezmelyk admitted in his deposition that he would not say
that he is an expert in the HDLC protocol, he is not inventor on any patents
related to the HDLC protocol, he has not received any industry awards,
related to the HDLC protocol, he has never lectured on the HDLC protocol,
and this and the related district court litigation are the only matters he
recollects working on that are even related more generally to wireless
communication. Reply 6 (citing Ex. 1011, 19:10–20:4, 21:1–22, 26:15–16).
      Second, Mr. Dezmelyk did not consider the most logical reference for
information on Natarajan’s HDLC protocol when forming his opinions.
Reply 7. In particular, Apple points out that Natarajan—indeed, in the very
next sentence after the one quoted by DSS as evidence of Natarajan’s use of
the HDLC protocol—states as follows: “For more information on the HDLC
packet structure, see, for example, Mischa Schwartz, Telecommunication
Networks: Protocols, Modeling and Analysis, Addison-Wesley (1988).”
Id. (quoting Ex. 1004, 3:37–40). Apple contends that “the Schwartz book
([Ex.] 1012) is the most logical resource for a [person of ordinary skill in the
art] to consult for information on Natarajan’s HDLC packet structure,” and
“Mr. Dezmelyk acknowledged that a [person of ordinary skill in the art]
would have access to Schwartz,” and “[y]et Mr. Dezmelyk never looked at
Schwartz when considering how Natarajan’s HDLC packet structure
operates.” Id. (citing Ex. 1011, 71:11–13; Ex. 1014 ¶ 51).
      Third, Schwartz not only demonstrates that Natarajan’s HDLC
protocol is consistent with low duty cycle communication, but also


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illustrates that RF transmissions occur in “bursts.” Reply 8–10 (citing
Ex. 1012, 135–36 (“When the transmitter reaches its maximum sequence
number it is forced to stop transmitting until a frame in the reverse direction
is received, acknowledging an outstanding packet.”), Figs. 4–9, 4–13
(showing periods where the transmitter is idle between frames); Ex. 1015
¶¶ 53, 54).
      Fourth, the references that DSS and Mr. Dezmelyk “piece[d]
together” in support of the argument that Natarajan does not teach low duty
cycle RF bursts “do not support the asserted premise.” Reply 10–16. Apple
argues, for example, that DSS’s reliance on the cited excerpt from the
Encyclopedia of Networking & Telecommunications is misplaced. Id. at 11.
According to Apple, whereas “DSS asserts that the cited definition of ‘bit-
oriented framing’ shows that HDLC ‘involves continuous outbound
transmission,’” DSS neglects to acknowledge the very first sentence of the
cited section, which indicates that the excerpt “refers to point-to-point wired
communication, not to a point-to-multipoint wireless system as taught in
Natarajan.” Id. (citing Ex. 1014 ¶ 56; Ex. 2010, 549). Relying on Dr. Hu’s
testimony, Apple contends “[t]here are fundamental differences and unique
challenges between point-to-point wired systems and point-to-multipoint
wireless systems,” and “the features are not simply interchangeable.”
Id. (citing Ex. 1014 ¶¶ 57–60). For example, Apple asserts, “continuous
transmission of so-called ‘idle words’ to maintain synchronization when
there is no data to transmit” may be “suitable for an isolated point-to-point
wired connection,” but “would be detrimental to a point-to-multipoint
wireless connection because it would interfere with the carefully designed
scheduling, waste power, decrease the system data rate, and pollute the


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wireless channel potentially shared by many devices.” Id. (citing Ex. 1014
¶ 59). Apple also points out, for example, that DSS significantly misquotes
the cited portion of the Encyclopedia of Networking & Telecommunications
(id. at 12 (citing PO Resp. 22; Ex. 2010, 549)); that other portions of that
same Encyclopedia—not provided by DSS either to the Board or to Mr.
Dezmelyk—corroborate Schwartz’s description (id. at 12–13 (citing
Ex. 1011, 101:4–102:7; Ex. 1012, 135; Ex. 1013, 582, Fig. H-2; Ex. 1014
¶ 62)); and that other evidence relied upon by Mr. Dezmelyk similarly fails
to show that Natarajan teaches continuous transmission and underscores his
misunderstanding of HDLC (id. at 13–15 (citing, e.g., Ex. 1011, 69:17–71:1,
99:12–20; Ex. 1014 ¶¶ 57–60, 64–68; Ex. Ex. 2013, 2; Ex. 2014 § 2.5.6, 4;
Ex. 2016 ¶ 35)).
      Lastly, Apple contends that “DSS’s ‘idle words’ argument is a red
herring.” Reply 16 (emphasis omitted). According to Apple, Neve was
included in combination with Natarajan to show that synchronizing a base
station and peripheral units was well-known to those of ordinary skill in the
art, not to suggest that Natarajan operates identically to Neve with respect to
the latter’s use of idle words. Id. at 17.
      We are persuaded by each of Apple’s arguments presented above, and
conclude that it would have been obvious to a person of ordinary skill in the
art to energize Natarajan’s server transmitter in low duty cycle RF bursts, as
recited in claim 9. We find that Natarajan is expressly concerned with
“power conservation due to wireless communication,” and specifically, with
“battery efficient operation of wireless link adapters of mobile computers as
controlled by multiaccess protocols used in wireless communication.” Ex.
1003, 1:7–13. Although Natarajan describes explicitly only mobile stations


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as battery-powered devices such as laptop computers, Natarajan also
discloses that the base units may be “conventional microcomputer[s]” (id. at
2:40–41) and that the mobile units are similarly provided with the same
components—e.g., RF transceiver adapter 36, including “a spread spectrum
transceiver of convention design” and antenna 38, in the base station; and
transceiver adapter 44, including “a spread spectrum transceiver of similar
design” and antenna 42, in each mobile unit (id. at 2:51–3:2). We are
persuaded that a person of ordinary skill in the art would have been
motivated by Natarajan to apply the same power-conserving techniques to
base units as it is disclosed with respect to mobile units, as well as that it
would have been within the skill of the ordinarily skilled artisan to do so.
There is no persuasive evidence of record that it would have been “uniquely
challenging or difficult for one of ordinary skill in the art” to do so. See
Leapfrog Enters., Inc. v. Fisher-Price, Inc., 485 F.3d 1157, 1162 (Fed. Cir.
2007) (citing KSR, 550 U.S. at 418). Indeed, as the Court explained in KSR,
the skilled artisan is “a person of ordinary creativity, not an automaton.”
550 U.S. at 420–21.
      We also find that Natarajan’s disclosure of the HDLC protocol is
consistent with Natarajan’s base units being energized in low duty cycle RF
bursts, as that term is properly construed. See supra Section II.C. In that
regard, the Schwartz reference (Ex. 1012), which was cited by Natarajan
(see Ex. 1003, 3:37–40), is significantly more probative of how a person of
ordinary skill in the art would have understood Natarajan’s reference to
HDLC than the Encyclopedia of Networking & Telecommunications excerpt
(Ex. 2010) cited by DSS, which, by its own terms, describes HDLC within
the context of a point-to-point network. Mr. Dezmelyk’s failure to consider


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Schwartz or other portions of the Encyclopedia of Networking &
Telecommunications beyond those specifically provided to him by DSS (see
Ex. 1011, 71:11–73:13, 101:4–102:7, 104:9–11), as well as his admitted lack
of expertise regarding the HDLC protocol (see id. at 19:13–20:22, 26:15–
16), call into question the credibility of his opinion on HDLC. Accordingly,
we do not find persuasive the testimony of Mr. Dezmelyk on that subject.
Additionally, the employment of an HDLC channel in the preferred
embodiment of the ’290 patent (Ex. 1001, 10:2–4) contradicts DSS’s
assertion that “[t]he HDLC packet structure is inconsistent with a server
transmitter being energized in low duty cycle RF bursts” (PO Resp. 20–22).
      Finally, because we are not persuaded by DSS’s arguments that
Natarajan is deficient, we are not persuaded by DSS’s arguments that Neve
does not cure the alleged deficiencies of Natarajan or that the combination of
Neve and Natarajan does not teach or suggest that the server transmitter is
energized in low duty cycle RF bursts. PO Resp. 27–33. In this proceeding,
Apple relies on Neve only as evidence that it was well-known and would
have been obvious to those of ordinary skill in the art for a base station
transmitter to send “synchronizing information” to mobile units, as recited in
claim 9, which feature Apple contends is suggested but not explicitly
described by Natarajan. Pet. 28–29, 40, 44; Reply 16. In contrast, Apple
relies on Natarajan alone—not Neve—for the suggestion of “said server . . .
transmitter[] being energized in low duty cycle RF bursts.” See Pet. 50–51;
Reply 2–16. Accordingly, DSS’s contentions that Neve does not separately
teach or suggest “said server . . . transmitter[] being energized in low duty
cycle RF bursts” are unavailing. See In re Keller, 642 F.2d 413, 426 (CCPA
1981) (“[O]ne cannot show non-obviousness by attacking references


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individually where, as here, the rejections are based on combinations of
references.”). Moreover, “[t]he test for obviousness is not whether the
features of a secondary reference may be bodily incorporated into the
structure of the primary reference; . . . [r]ather, the test is what the combined
teachings of the references would have suggested to those of ordinary skill
in the art.” Id. at 425 (citations omitted). We are not persuaded that
combination of Neve’s teachings on synchronizing information with
Natarajan’s disclosure would necessitate incorporation of Neve’s use of
“idle words,” let alone that it would require “continuous transmission” or be
“inconsistent with server transmitter being energized in low duty cycle RF
bursts.” PO Resp. 30–33. As we explained in our Decision on Institution,
we do not find Neve to suggest continuous transmission from its master
station, but instead only transmission of idle words in the event that that
there is no data required to be transmitted in the time slots specifically
allocated for transmission by the server. Dec. 18.

          4. Conclusion of Obviousness
      As explained above, we find, based on Apple’s evidence, that the
combination of Natarajan and Neve teaches each limitation of claim 9. We
also find, based on Apple’s evidence, that a skilled artisan would have had
reasons, with rational underpinning, to combine these teachings to arrive at
the invention of claim 9. We have considered DSS’s arguments to the
contrary and find them unpersuasive. The parties do not introduce or rely on
objective indicia of nonobviousness. After weighing the evidence, we
conclude that Apple has shown by a preponderance of the evidence that
claim 9 would have been obvious over Natarajan and Neve.




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      Claim 10 depends from claim 9. Apple introduced evidence and
argument as to the obviousness of claim 10. Pet. 41, 51. We have
considered the evidence in the Petition and are persuaded, for the reasons
presented by Apple, that Apple has shown by a preponderance of the
evidence that claim 10 would have been obvious over Natarajan and Neve.
DSS does not present separate arguments for claim 10. Rather, DSS argues
that claim 10 is patentable for the reasons given for claim 9. PO Resp. 36.
As explained above, these reasons are not persuasive. By not raising them in
its Patent Owner Response, DSS has waived any additional argument
regarding claim 10. Scheduling Order, Paper 9, 3 (“The patent owner is
cautioned that any arguments for patentability not raised in the response will
be deemed waived.”); see also 37 C.F.R. § 42.23(a) (“Oppositions and
replies . . . must include a statement identifying material facts in dispute.
Any material fact not specifically denied may be considered admitted.”).

                        III. MOTION TO EXCLUDE
      Apple filed a Motion to Exclude DSS’s Exhibits 2003–2008, 2011–
2014, and 2017. Paper 26 (“Mot. Excl.”). DSS filed an Opposition to
Apple’s Motion to Exclude (Paper 31, “Opp. Mot. Excl.”)), and Apple filed
a Reply to DSS’s Opposition (Paper 32, “Reply Mot. Excl.”).
      In inter partes review proceedings, documents are admitted into
evidence subject to an opposing party asserting objections to the evidence
and moving to exclude the evidence. 37 C.F.R. § 42.64. As movant, Apple
has the burden of showing that an objected-to exhibit is not admissible.
37 C.F.R. § 42.20(c).




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      For the reasons discussed below, we deny Apple’s Motion to Exclude
as to all objected-to exhibits.

      A. Relevance
      Apple seeks to exclude Exhibits 2003–2008, 2012–2014, and 2017
under Fed. R. Evid. 401 as irrelevant. Mot. Excl. 1–10. First, Apple argues,
Exhibits 2003–2008, 2012, and 2013 all bear copyright or filing dates well
after the priority date of the ’290 patent and, accordingly, are not remotely or
sufficiently contemporaneous with the ’290 patent to be relevant for the
purposes for which they are proffered. Id. at 2, 4, 6, 7. Similarly, according
to Apple, “Exhibit 2017 is undated, so its relevance also cannot be
established because DSS cannot show that Exhibit 2014 is sufficiently
contemporaneous with the ’290 patent to be relevant.” Id. at 10. Second,
Apple argues, DSS does not cite Exhibits 2003 and 2012–2014 in its Patent
Owner Response or identify with any particularity how those exhibits are
relevant to this proceeding. Id. at 3, 6–9.
      DSS responds that Petitioner’s allegations are unavailing. Opp. Mot.
Excl. 4. DSS points out Fed. R. Evid. 401 provides that evidence is relevant
if “it has any tendency to make a fact more or less probable than it would be
without the evidence” and “the fact is of consequence in determining the
action,” and that “[b]oth the Federal Circuit and the Board have recognized
that there is a ‘low threshold for relevancy.’” Id. (citing OddzOn Prods.,
Inc. v. Just Toys, Inc., 122 F.3d 1396, 1407 (Fed. Cir. 1997); Laird Techs.,
Inc. v. GrafTech Int’l Holdings, Inc., Case IPR2014-00025, slip op. at 44
(PTAB Mar. 25, 2015) (Paper 45)). DSS also contends that Mr.
Dezmelyk—who DSS proffers as an expert witness in this matter—relies on



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each of the objected-to exhibits in his declaration, and therefore, this
evidence is relevant for the assessment of his credibility and for establishing
the context for his testimony. Id. at 6.
      We agree with DSS on this issue. In this case, we determine that
Apple’s arguments concerning the relevance of Exhibits 2003–2008, 2012–
2013, and 2017 in view of their late or uncertain dates concern the weight
that we should accord to those exhibits, rather than their admissibility. As
explained in Laird Technologies, “[a] motion to exclude . . . is not an
appropriate mechanism for challenging the sufficiency of evidence or the
proper weight that should be afforded an argument.” Case IPR2014-00025,
slip op. at 42 (Paper 45). Moreover, “[o]ur general approach for considering
challenges to the admissibility of evidence was outlined in Corning Inc. v.
DSM IP Assets B.V., Case IPR2013-00053, slip op. at 19 (PTAB May 1,
2014),” which stated that, “similar to a district court in a bench trial, the
Board, sitting as a non-jury tribunal with administrative expertise, is well-
positioned to determine and assign appropriate weight to evidence
presented.” Id. (citing Donnelly Garment Co. v. NLRB, 123 F.2d 215, 224
(8th Cir. 1941) (“One who is capable of ruling accurately upon the
admissibility of evidence is equally capable of sifting it accurately after it
has been received . . . .”)). Further, although DSS does not appear to cite
Exhibits 2003 and 2012–2014 in its Patent Owner Response, we agree with
DSS that those exhibits are relevant for the assessment of Mr. Dezmelyk’s
credibility to the extent that he has cited them in support of his opinions.




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      B. Hearsay
      Apple additionally seeks to exclude each of Exhibits 2003–2008,
2011–2014, and 2017 as inadmissible hearsay under Fed. R. Evid. 801 not
subject to any exception. Mot. Excl. 1–2, 4–8, 10.
      DSS responds that each of Exhibits 2003–2008, 2011–2014, and 2017
is admissible because they are offered for what they describe to a person of
ordinary skill in the art, rather than for the truth of the matters asserted in
them, and “[t]he law is well established that the Board will not exclude
evidence that is proffered to show what a [person of ordinary skill in the art]
would have known about the relevant field of art.” Opp. Mot. Excl. 2 (citing
Liberty Mut. Ins. Co. v. Progressive Cas. Ins., Case CBM2012-00010
(PTAB Feb. 24, 2014) (Paper 59)).
      In its Reply to DSS’s Opposition, Apple argues that DSS and
Mr. Dezmelyk simply provide quotations from the objected-to exhibits,
rather than offering them “for what they describe to a person of ordinary
skill in the art,” and, thus, offer them “exactly for the impermissible purpose
of proving the truth of the matter asserted therein.” Reply Mot. Excl. 1.
Moreover, according to Apple, because Exhibits 2003–2008, 2012–2014,
and 2017 all post-date the ’290 patent or are undated, those exhibits
“therefore cannot ‘show what one with ordinary skill in the art would have
known about technical features and developments in the pertinent art’” at the
time the invention was made. Id. (quoting Liberty Mut., slip op. at 37
(emphasis added by Apple)) (citing 35 U.S.C. § 103(a)).
      We agree with DSS on this issue, as well. Although DSS has quoted
certain phrases from the references, we understand DSS to have offered each
of the objected-to exhibits for the effect that they would have had on the


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understanding of a person of ordinary skill in the art, rather than for the truth
of the matters asserted. The portion of Exhibit 2004 cited by DSS, for
example, states:
      [FIG. 2(a) is a flow chart of the steps performed by the adaptive
      duty cycle management system shown in FIG. 1] whereby a
      relatively high duty cycle, e.g. 25%, is applied and FIG. 2(b) is a
      flow chart showing the special case steps performed by the
      adaptive duty cycle management system whereby a relatively
      low duty cycle, e.g. 2%, is applied . . . .
Ex. 2004, 4:13–16 (cited at PO Resp. 13). We understand DSS to have cited
this text only for the alleged effect that the statements “high duty cycle,
e.g. 25%” and “low duty cycle, e.g. 2%” would have on the ordinarily
skilled reader, in support of DSS’s conclusion that a person of ordinary skill
in the art “would have understood that a server transmitter is energized in a
low duty cycle when the server transmitter is energized for less than ten
percent (10%) of the total duration designated for outbound transmissions.”
PO Resp. 12. Whether or not it is “true” that Figures 2(b) and 2(b) of
Exhibit 2004 are flow charts of systems whereby relatively high (e.g., 25%)
and low (e.g., 2%) duty cycles are applied, respectively, has no discernable
bearing on DSS’s conclusion. We find that a similar analysis applies with
respect to each of the other objected-to exhibits, with respect to which DSS’s
conclusions do not turn on whether the described systems truly operated
according to the specified duty cycles (Exs. 2003, 2005–2008) or truly
transmitted data in the manner specified (Exs. 2011–2014, 2017).

      C. Conclusion
      For the foregoing reasons, Apple’s Motion to Exclude Exhibits 2003–
2008, 2011–2014, and 2017 is denied.


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                   IV. MOTION FOR OBSERVATION
      DSS filed a Motion for Observation regarding Dr. Hu’s cross-
examination. Paper 28 (“Obs.”). Apple, in turn, filed a Response. Paper 30
(“Obs. Resp.”). To the extent DSS’s Motion for Observation pertains to
testimony purportedly impacting Dr. Hu’s credibility, we have considered
DSS’s observations and Apple’s responses in rendering this Final Written
Decision, and accorded Dr. Hu’s testimony appropriate weight where
necessary. See Obs. 2–6; Obs. Resp. 1–5.

                             V. CONCLUSION
      Apple has demonstrated by a preponderance of the evidence that
claims 9 and 10 of the ’290 patent are unpatentable under 35 U.S.C. § 103(a)
over Natarajan and Neve.

                                 VI. ORDER
      For the reasons given, it is
      ORDERED, based on a preponderance of the evidence, that claims 9
and 10 of U.S. Patent No. 6,128,290 are held unpatentable;
      FURTHER ORDERED that judgment is entered against DSS with
respect to claims 6 and 7 of U.S. Patent No. 6,128,290;
      FURTHER ORDERED that Apple’s Motion to Exclude is DENIED;
and
      FURTHER ORDERED, because this is a final written decision, that
the parties to this proceeding seeking judicial review of our Decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                                                                                                                 US006128290A
United States Patent [19]                                                                    [11] Patent Number:                                  6,128,290
Carvey                                                                                       [45]      Date of Patent:                           *Oct. 3, 2000

[54]     PERSONAL DATA NETWORK                                                                   5,297,142    3/1994 Paggeot et a1. ....................... .. 370/461
                                                                                                 5,307,297    4/1994 Iguchi et a1.                         364/708 1
[75]     Inventor:       Philip P. Carvey; Bedford; Mass.                                        5,371,734 12/1994 Fischer                                   370/311
                                                                                                 5,481,265    1/1996 Russell                                  341/22
[73]     Assignee: BBN Corporation, Cambridge, Mass.                                             5,517,505    5/1996 BuchholZ et al- --                    - 370/350
                                                                                                 5,598,419    1/1997 Weigand et a1. ...................... .. 370/514
[*]      Notice:         This patent is subject to a terminal dis
                         claimer.
                                                                                         Primary Examiner—Huy D. Vu
[21] AppL NO‘, 08/949,999                                                                Assistant Examiner—Jasper KWoh
                                                                                         Attorney, Agent, or Firm—Leonard Charles Suchyta; Floyd
                         Oct                                                                Anderson
                   Related US. Application Data                                           [57]                        ABSTRACT
[63]     Continuation-in-part of application No. 08/611,695, Mar. 6,                     The data network disclosed herein utilizes 10W duty Cycle
         1996, Pat NO- 5,699,357-                                                        pulsed radio frequency energy to effect bidirectional Wire
[51]     Int. Cl.7 ................................................... .. H04B 7/212      less data Communication between a Server microcomputer
[52]     US. Cl. ........................ .. 370/347; 370/350; 370/442;                  unit and a plurality of Peripheral “nits located Within Short
                                             370/509; 455/89; 364/7081                    range of the server unit; e.g. Within 20 meters. By estab
[58]     Field of Search ................................... .. 370/347; 350;             ?shing a tightly Synchronized Common time base between
                             370/442 509 512. 455/89. 36 4H081                            the units and by the use of sparse codes; timed in relation to
                                         ’      ’       ’           ’                     the common time base; loW poWer consumption and avoid
[56]                        References Cited                                              ance of interference betWeen nearby similar systems is
                                                                                          obtained.
                    U.S. PATENT DOCUMENTS
       5,247,285      9/1993 Yokota et a1. ........................ .. 361/680                               11 Claims, 8 Drawing Sheets


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                                                                                                               38
                                                                                                                    [—        Mag/2M              SENSOR
                                                                                                                                                      g3
                                                                                                               39                i1

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                                                                                                                                 30          -



                              PERSONAL                                                 RF LINKS
12      —                       DIGITAL                         PDA                                                                          '
       _:_                    ASSISTANT                      MODEM                                                                           .
        I                         (PDA)                          E
                                    l                                                                                                       29

                                                                                                               38                PEA
                                                                                                                                                 ACTUATOR
                                                                                                                              MODEM                   g
                                                                                                               39



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                                                                         Appx0083
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                       Appx0090
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                                  IMO                  oPwQ
                            mm?   0m




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                                                                    om
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         81                                                         61



                                                              mow

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                              1                                                                      2
              PERSONAL DATA NETWORK                                    being developed Which project a private image directly into
                                                                       an user’s eye using a device Which is mounted on a head
             CROSS REFERENCE TO RELATED                                band or eyeglasses. These displays are useful, for example,
                     APPLICATION                                       for providing combat information to military personnel and
                                                                       for realistic games. LikeWise, so called virtual keyboards are
  This application is a continuation-in-part of application            being developed Which use inertial or magnetic sensors
Ser. No. 08/611,695 ?led on Mar. 6, 1996 now US. Pat. No.              attached to a users ?ngers in the manner of rings. Further,
5,699,357.                                                             apart from more usual business type computer applications,
         BACKGROUND OF THE INVENTION                                   the data netWork system of the present invention may also be
                                                                  10   useful for applications such as physiological monitoring
   The present invention relates to a data network and more            Where the peripheral units may be physiological sensors
particularly to a data netWork Which can effect bidirectional          such as temperature, heartbeat and respiration rate sensors.
Wireless data communications betWeen a microcomputer                   As Will be understood, such peripheral units may be useful
unit and a plurality of peripheral units, all of Which are             for outpatient monitoring, monitoring for sudden infant
adapted to be carried on the person of the user.                  15   death syndrome, and for ?tness training. It is convenient in
  The siZe and poWer consumption of digital electronic                 the context of this present description to refer to such
devices has been progressively reduced so that personal                conventional and inconventional peripheral units collec
computers have evolved from lap tops through so-called                 tively as personal electronic accessories
notebooks, into hand held or belt carriable devices com                   Brie?y stated, a data netWork system according to the
monly referred to as personal digital assistants (PDAs). One           present invention effects coordinating operation of a plural
area Which has remained troublesome hoWever, is the cou                ity of electronic devices carried on the person of the user.
pling of peripheral devices or accessories to the main                 These devices include a server microcomputer and a plu
processing unit. With rare exception, such coupling has       rality of peripheral units Which are battery poWered and
typically been provided by means of connecting cables         portable and Which provide input information from the user
Which place such restrictions on the handling of the units 25 or output information to the user. The server microcomputer
that many of the advantages of small siZe and light Weight    incorporates an RF transmitter for sending commands and
are lost.                                                     synchroniZing information to the peripheral units. The
   While it has been proposed to link a keyboard or a mouse   peripheral units, in turn, each include an RF receiver for
to a main processing unit using infrared or radio frequency   detecting those commands and synchroniZing information
(RF) communications, such systems have been typically         and include also respective RF transmitters for sending
limited to a single peripheral unit With a dedicated channel           information from the peripheral unit to the server micro
of loW capacity.                                                       computer. The server microcomputer includes a receiver for
  Among the several objects of the present invention may               receiving that information transmitted from the peripheral
be noted the provision of a novel data netWork Which Will 35 units.
provide Wireless communication betWeen a host or server         The server and peripheral unit transmitters are energiZed
microcomputer unit and a plurality of peripheral units; the            in loW duty cycle pulses at intervals Which are determined by
provision of a data netWork Which provides highly reliable             a code sequence Which is timed in relation to the synchro
bidirectional data communication betWeen the peripheral                niZing information initially transmitted from the server
units and the server; the provision of such a data netWork             microcomputer.
Which requires extremely loW poWer consumption, particu                      BRIEF DESCRIPTION OF THE DRAWINGS
larly for the peripheral units; the provision of such a netWork
system Which avoids interference from nearby similar sys                 FIG. 1 is an overall block diagram of a Wireless data
tems; and the provision of such a data netWork system Which            netWork system linking a personal digital assistant or server
is highly reliable and Which is of relatively simple and 45 microcomputer With a plurality of peripheral units;
inexpensive construction. Other objects and features Will be    FIG. 2 is a block diagram of a modem circuitry employed
in part apparent and in part pointed out hereinafter.        in one of the peripheral units of FIG. 1;
                                                                          FIG. 3 is a block diagram of a modem circuitry employed
      SUMMARY OF THE PRESENT INVENTION                                 in the server microcomputer of FIG. 1;
   The data netWork of the present invention utiliZes the fact            FIG. 4 is a block diagram of the transmitter circuitry
that the server microcomputer unit and the several peripheral          employed in the modem of FIG. 2;
units Which are to be linked are all in close physical                    FIG. 5 is a circuit diagram of receiver circuitry employed
proximity, e. g., Within tWenty meters, to establish, With very        in the modem of FIG. 2; and
high accuracy, a common time base or synchroniZation. The       FIG. 6 is a diagram illustrating timing of RF signals Which
short distances involved means that accuracy of synchroni 55 are transmitted betWeen the server microcomputer and the
Zation is not appreciably affected by transit time delays.             various peripheral units;
Using the common time base, code sequences are generated                  FIG. 7 is a block diagram of the controller employed in
Which control the operation of the several transmitters in a           the PEA modem; and
loW duty cycle pulsed mode of operation. The loW duty cycle               FIG. 8 is a block diagram of the digital matched ?lter
pulsed operation both substantially reduces poWer consump              employed in the PEA controller; and
tion and facilitates the rejection of interfering signals.               Corresponding reference characters indicate correspond
  In addition to conventional peripheral devices such as a             ing parts throughout the several vieW of the draWings.
keyboard or mouse, it should be understood that data com
munications in accordance With the present invention Will          DESCRIPTION OF THE PREFERRED
also be useful for a Wide variety of less conventional 65                      EMBODIMENT
peripheral systems Which can augment the usefulness of a    Referring noW to FIG. 1, a server microcomputer of the
microcomputer such as a PDA. For example, displays are    type characteriZed as a personal digital assistant (PDA) is




                                                       Appx0092
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                               3                                                                      4
designated generally be reference character 11. The PDA                 greater detail hereinafter, the FSK tones are transmitted in
may also be considered to be a HOST processor and the                   only those slots indicated by a TDMA program. Both the
HUB of the local netWork. The PDA is poWered by a battery               host and all PEAs share a common TDMA program at one
12 and may be adapted to be carried on the person of the                time. For each slot, this TDMA program indicates that a PEA
user, eg in his hand or on a belt hook. Such PDAs typically             or host is to transmit, or not, and Whether it Will receive, or
accept options Which are physically con?gured as an indus               not. In the intervals betWeen slots in Which a PEA is to
try standard PCMCIA card. In accordance With the present                transmit or receive, all receive and transmit circuits are
invention such a card, designated by reference character 13      poWered doWn.
is implemented Which includes a PCMCIA interface and                Referring noW to FIG. 3, the PEA modem illustrated there
PDA modem.                                                    10 comprises ?ve major components, a transmitter 15, a
   As is described in greater detail hereinafter, the netWork    receiver 17, a local oscillator 16 Which is shared by the
system of the present invention establishes Wireless com         transmitter and the receiver, a controller 14 Which times and
munication betWeen PDA 11 and a plurality of peripheral          coordinates the operations of the transmitter, receiver, and
units or PEAs designated generally by reference characters       PCMCIA interface and, ?nally, a crystal oscillator 18 Which
21—29. A PDA and a collection of PEAs associated With it 15 is utiliZed in maintaining the netWork time base. The oscil
are referred to herein as an “ensemble”. The present inven              lator 18 utiliZes a crystal Which operates at 4 MhZ. There are
tion alloWs the creation of a data netWork linking such an              no differences betWeen the receiver, local oscillator, and
ensemble of elements With minimal likelihood of interfer                transmitter in both the PEA and PDA modems. PDA con
ence from similar ensembles located nearby. Each of the                 troller 14 differs from the PEA modem in three Ways. First
peripheral units is poWered by a respective battery 30 and              it contains no synhroniZation capability as it serves as the
incorporates a PEA modem 31. Further, each peripheral unit              netWork master. Secondly, it includes a PCMCIA interface
can incorporate a sensor 33, Which responds to input from     rather than a sensor/transducer interface. Only the PEA
the user or an actuator 37 Which provides output to the user. modem is described in detail herein since it is includes all
Some peripheral units might also employ both sensors and      the novel capabilities of the PDA modem.
actuators. As illustrated, each PEA modem preferably incor 25    Referring noW to FIG. 4, transmission is effected using the
porates tWo antenna’s, a dipole antenna 38 for reception and  local oscillator 45 to drive the transmit antenna ampli?er 50
a loop antenna 39 for transmitting. The use of separate       Whose output drives transmit antenna 51. The local oscillator
antennas for transmitting and receiving facilitates the utili 45 is coupled to a tuning netWork 48 including a plurality of
Zation of impedance matching netWorks Which in turn                     frequence adjusting varactors VR1—VR3. Operation of the
facilitates the operation at very loW poWer.                            varactors is controlled by sWitch pairs 52 and 53. 500
   Referring noW to FIG. 2, the PDA modem illustrated there             nanoseconds before the start of transmission, the local
comprises ?ve major components, a transmitter 40, a         oscillator 45 is poWered up. During this period and during all
receiver 41, a local oscillator 42 Which is shared by the   receive intervals, frequency selection varactor sWitches 52
transmitter and the receiver, a controller 43 Which times and
                                                            and 53 are opened and closed respectively. This frequency
coordinates the operations of the transmitter, receiver, 35 selection state is employed for all periods eXcept those in
microprocessor and, ?nally, a voltage controlled crystal    Which the local oscillator is used to drive the antenna
oscillator oscillator 44 Which is utiliZed in maintaining a             ampli?er. To transmit a “one”, both sWitches 52 and 53 are
common time base With the host microcomputer. The oscil                 opened. This causes the oscillator to oscillate above its
lator 44 utiliZes a crystal Which operates at 4 MhZ.                    nominal value. To transmit a “Zero”, both sWitches 52 and 53
   As is described in greater detail hereinafter, the controller        are closed. This causes the oscillator to oscillate beloW its
43 sequences the operations necessary in establishing syn   nominal value. The local oscillator output then drives ampli
chroniZation With the host system, adjusting the oscillator ?er 50. In the preferred embodiment, the transmit antenna 51
44, acquiring from the host appropriate code sequences to beis loop of Wire tWo centimeters in diameter. During short
used in data communications, in coupling received infor     periods in Which data is not being received nor is being
mation from receiver 41 to a sensor/actuator interface, 45 transmitted, the oscillator is poWered and the varactor con
designated by reference character 46, and in transmitting   trol voltage Vc is adjusted such that the oscillator frequency
data from the interface 46 back to the host through trans   equals the carrier frequency.
mitter 40. The controller in one embodiment is partitioned     Referring noW to FIG. 5, the input signal from the
into a commercially available general purpose microproces   receiving antenna 38 is applied, through an impedance
sor such as the PIC16C64, together With a special purpose   matching netWork 61 to a loW noise ampli?er 62 and
logic integrated circuit (IC). The special purpose IC imple bandpass ?lter 63. The received and ampli?ed signal is
ments those functions Which cannot be ef?ciently executed   combined With the local oscillator shifted 45 degrees in
on the general purpose microprocessor. For eXample, the     phase in miXer 65 to produce signal Im and combined With
clock to the PIC16C64 is sourced by the special purpose IC  the local oscillator shifted —45 degrees in phase in miXer 66
because even in the microprocessor’s so-called “sleep” 55 to produce signal Qm. Im and Qm are the so-called “in
mode, its poWer consumption is higher than acceptible.                  phase” and “quadrature-phase” signals commonly knoWn to
  As is explained in greater detail hereinafter, the general            radio engineers. Both Im and Qm are centered at Zero hertZ
scheme of data transmission and reception is a form of time             rather than at an intermediate frequency. This scheme is
division multiple access (TDMA). This TDMA access is                    commonly referred to as “direct conversion” because a
characteriZed by a frame interval, common to the host and               direct conversion to baseband is effected rather than con
all PEAs of 32.768 milliseconds, segmented into 16,384                  version to an intermediate frequency Which is then con
time slots. Each time slot is further partitioned into four data        verted to baseband. Direct conversion reduces poWer
bit intervals during Which the RF carrier is modulated either           consumption, as no intermediate frequency circuits are
above the the nominal for a binary “one” or beloW the carrier           employed and it alloWs use of loW pass ?lters to effect
for a binary “Zero”. The basic modulation scheme is fre            65   selectivity. LoWpass ?lters 67 and 68, preferably of the
quency shift keying (FSK), Well knoWn to those skilled in               linear phase type, remove the unWanted miXing products and
digital radio transmission. HoWever, as is eXplained in                 provide selectivity of signals Im and Qm respectively.




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  The ?ltered output signals If and Qf passed through                   channels requiring larger bandWidths are assigned a multi
blocking ampli?ers 69 and 70 to form signals I and Q. The               plicity of slots. For example, When ten slots are assigned, the
supply currents of ampli?ers 69 and 70 are adjusted so that             virtual channel bandWidth is increased to 1220 bits per
the parasitic output capacitance of these ampli?ers effec               second. More than one virtual channel can be established
tively form a bandpass ?lter With gain. These ampli?ers                 betWeen the PDA and a single PEA. If one channel is
block frequencies beloW 100 KHZ and above tWo MHZ. This                 outgoing from PDA to PEA While the other channel is
?ltering adds to the overall selectivity and blocks any                 incoming from the PEA to the PDA, an effectively full
unWanted DC mixer byproduct common to direct conversion                 duplex communication link is constructed. It is possible for
schemes.                                                                each virtual channel to differentiate bandWidths. Another
                                                                        possible operational mode is for the data transfer direction of
   Some conventional frequency discriminators create the                a single virtual channel to be changed dynamically. Acontrol
signal V=I*dQ/dt—Q*dI/dt. When the frequency of the                     channel can be employed Whose sole purpose is to indicate
received signal is above the local oscillator frequency, V is           the data How direction on the data channel. Changeover
greater than Zero. Correspondingly, When the frequency of       from one direction to another is typically affected at the
the received signal is beloW the local oscillator frequency, V  frame boundary.
is less than Zero. This scheme has the advantages of being 15
                                                                   A single virtual channel may be shared amongst several
totally insensitive to both amplitude and phase errors
                                                                PEAs under control of the PDA. In this operational mode, a
betWeen I and Q mixer stages. Its disadvantage is that it
                                                                control virtual channel is employed to indicate to the
requires the creation of the time derivatives of I and Q. As
                                                                ensemble of PEAs sharing the channel Which is to transmit
is Well knoWn, precise derivative forming circuits and and
                                                                at any given time. Still another operational mode occurs
dif?cult to implement and poWer consumptive.
                                                                When a single virtual channel is used to broadcast informa
   To circumvent the disadvantages of derivative forming        tion from PDA to multiple PEAs. While it is possible to
netWorks and still keep the advantages of the frequency         establish virtual channels betWeen tWo PEAs, the increased
discrimination scheme, the receiver employs all pass phase      Worst case separation possible from one PEA to another PEA
shifters 71, 72, 73 and 74 to create the signals Ia, Qa, Qb and may preclude establishment of a reliable radio link. There
Qc respectively. Multipliers 75 and 76 together With adder 25 fore PEA to PEA links are not present in the preferred
77 then form the signal U=Ia*Qb-Ib*Qa. The advantage is       embodiment. While all these operational modes appear
that U has the same desirable properties of a discriminator   different, they are essentially Well knoWn variants to the
based on I*dQ/dt—Q*dI/dt Without requiring differentiation.   underlying time division multiple access technique.
It is only required that Ia and lb be separated by 90 degrees    TDMA alloWs an ensemble of PEAs and PDA to establish
and that Qa and Qb be separated by 90 degrees. As is Well     a Wide assortment of non-con?icting, error free, virtual
knoWn, all pass netWorks consisting of a resistor and capaci  channels betWeen PEAs and PDA. When tWo different
tor can be used to effect this phase separation. These        ensembles of PEAs and PDA happen by chance to employ
netWorks produce an accurate 90 degree phase separation       the same carrier frequency, it is possible for the RF bursts of
over a frequency range Well in excess of the blocking                   one ensemble to overlap those of the other ensemble. This
ampli?er bandpass and consume extremely loW poWer con                   overlap can cause errors. If during a particular bit period,
sumption.                                                               tWo RF bursts are being simultaneously received, one from
  Limiter 78 then ampli?es U to form signal Lim. Limiter                a transmitter in the home ensemble and the other from a
circuits Which can generate these signals are Well knoWn and            foreign ensemble, the receiver Will “capture’ only the data
have been integrated into integrated receiver chips for many            received from the stronger of tWo transmitters. This Well
years. Limiter output Lim is utiliZed by the controller 43 in           knoWn aspect of FM modulation, results in an error free
both establishing the common time base and in recovering                channel When the stronger transmitter is part of the home
the data transmitted as described in greater detail hereinafter.        ensemble and can result in errors When the stronger trans
                                                                        mitter is part of a foreign ensemble. While it is very likely
                   FRAME STRUCTURE
                                                                   45   that the stonger transmitter is part of the home ensemble,
  As indicated previously, the basic scheme for alloWing                there are circumstances in normal operation Where the
multiple Personal Electronic Assessocies (PEAs) to com                  stonger transmitter Will part of a foreign ensemble. Note that
municate With the common server microcomputer (PDA)                     even When a foreign transmitter is of much greater poWer
may be characteriZed as a form of time division multiple                than the home transmitter, if the foreign RF bursts and home
access (TDMA). Asingle virtual channel can be established               RF burst do not overlap, no error occurs.
betWeen the PDA and any one PEAby assigning one or more                   As is Well knoWn, many channel errors can be corrected
slots Within the 32.768 millisecond frame. In the preferred             by employing Error Correction Codes (ECC). In this
embodiment, four data bits are transmitted during each slot             technique, data to be sent over a channel is segmented into
interval With the designation of a binary one or Zero encoded           Words of length M. A checksum of length C is computed as
by means of frequency modulation of the RF carrier as 55 the Word is being transmitted and also sent across the
described previously. In slots Where a PEA neither transmits    channel. For the M bits of data, a total of N=M+C bits of
nor receives, essentially all of the modem circuits are         channel bandWidth are utiliZed. For a ?xed Word length, as
poWered off, thus effecting a substantial poWer reduction. As   the number of error bits Which can be corrected increases,
is described in greater detail hereinafter, some slots are used the channel ef?ciency decreases. As a general rule, as the
to establish synchroniZation betWeen PEA and PDA and            channel’s error rate increase, the channel bandWdith ef?
others are used to implement a control channel. These slots     ciency (needed to achieve a certain corrected error rate)
are not assigned to a particular PEA but are rather shared      decreases and the minimum WordsiZe increases. In one of
amongst all PEAs.                                                       the simplest error correction schemes, called majority
  In normal operation, each virtual channel is half duplex,             coding, Where data bit is transmitted three time (M=1, C=2),
transfering data either from PEA to PDA or from PDA to 65 channel bandWidth is reduced to 33%.
PEA. Assignment of a single slot per frame results in a     In channels Where errors occur in bursts, single error
virtual channel bandWidth of 122 bits per second. Virtual correction codes, even though they have high channel




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ef?ciency, Will yield poor after correction error rates. In         ted by the PDA. Each SB consists of eight RF bursts spread
interleaving, a Well knoWn scheme to handle burst errors,           out over 252 slots. One of the SBs arbitrarily starts a frame.
data is segmented into Words Which are then interleaved             The positions of the remaining seven SBs are selected
onto the channel. If the maximum error burst consists of four       pseudo-randomly With tWo restrictions. First the maximum
consecutive errors, then interleaving four Words results in         interval betWeen tWo successive SBs is less than 6.144
each burst occuring in a separate codeWord. Since each              milliseconds. Secondly, the positions must alloW a unique
codeWord noW has only one error after interleaving, it can be       frame determination based on the intervals betWeen SBs.
corrected.                                                   Thus for example, equidistantly spaced SBs are not alloWed.
   Yet another means for correcting errors is to packetiZe the  In accordance With one aspect of the present invention,
data and retransmit on detection of a checksum error. For 10 the slot location of each RF burst Within all SBs is identical
virtual channels not requiring loW latency, the highest chan for all ensembles. In a particular ensemble, the 32-bit data
nel ef?ciencies are possible. Hybrid schemes Where error     bit pattern of each SB Will be identical. BetWeen tWo
correction codes are employed together With retransmission   different ensembles, hoWever, the SB data bit pattern, cho
of packets on checksum errors are also possible.             sen randomly, Will be quasi-distinct. The combination of SB
   Error rates caused by the interference of RF bursts 15 data bit pattern and SB locations alloW every ensemble to be
betWeen tWo different ensembles can be signi?cantly         uniquely identi?ed.
reduced by judicious assignment of slots in each ensemble.     In the preferred embodiment illustrated in FIG. 6, each of
One assignment scheme that has desirable properties         the eight SBs 100—107 is immediately folloWed by a sector
employs majority encoding and the use of so-called Opti     assigned to the common Communication and Control Chan
cally Orthogonal Codes (OOCs). In this scheme, the 16384 20 nel (CCC). The sector immediately folloWing the ?rst seven
slots are equally segmented into 25 6 intervals called sectors.     CCC sectors is assigned to the Attention Channels (ACs).
A maximum of three RF bursts can occur in each section.             The CCC sectors are designated by reference characters
The position of each burst is dictated by a one in an OOC           110—117 in FIG. 6 While the Attention Channels are desig
codeWord. CodeWords have unity auto-correlation and           nated by reference characters 120—127. As Will be explained
cross-correlation With respect to rotation by an arbitrary 25 in greater detail later, the CCC and AC are used in main
number of slot positions Within a sector. The codes are       taining the virtual channels betWeen PDA and all PEAs.
mostly Zeros With three scattered ones representing the               Referring noW to FIG. 7, all PEA activities are activated
locations of the slots in Which RF bursts are to be transmitted and monitored by the PEA controller 43. While the control
or received. There are ten OOC codeWords With a sector          ler  could be implemented in a single custom integrated
length of 64 slots. In general, a sector can be assigned any 30 circuit, the present embodiment partitions the controller into
one of the ten codeWords With a rotation of from Zero to 63     a commercially available microprocessor 90, a PIC16C64, a
slot positions.                                                     special purpose logic integrated circuit IC 91, voltage con
   To assign slots in an ensemble, one of 640 different        trolled crystal oscillator 44, and a charge pump voltage
combinations of codeWord and rotations is selected for the 35 generator 93. Voltage controlled crystal oscillator (VCXO)
?rst sector. A codeWord/rotation combination is selected for   44 is controlled by voltage Vc, sourced by charge pump 93.
the second section such that 1) the last RF burst postion of   The controller IC 91 can cause the frequency of oscillation
the last sector codeWord and the tWo RF burst postions of the  to change by activating charge pump. Varying the control
neW codeWord do not form a codeWord and 2) the last tWo        voltage Vc from 0 to —6 volts changes the oscillator fre
RF burst positions of the last sector codeWord and the ?rst 40 quency by 50 parts per million. VCXO 44 is poWered
RF burst position of the neW codeWord do not form a            continuously and serves as the time base for all activities.
codeWords, and 3) the codeWord/rotation has not been                The microprocessor chip includes 256 bytes of ROM Which
selected before. Each sector consists of three identical RF       contains the program instructions needed for all activities
bursts (ie a majority error correcting code is chosen).           and 256-bytes of SRAM used in program execution.
   At any instant of time, the frame structures of tWo 45            The controller IC 91 serves as the primary control agent
ensembles Will in general not be aligned. HoWever, With           for all activities. It contains registers, counters, Finite State
their uncorrelated separate time bases, the frame structures      Machines (FSMs), and as Will be explained in more detail
Will slip past one another and Will become aligned. Every         later, a Digital Matched Filter (DMF) used to detect syn
possible correlation betWeen the tWo frames Will thus even        chroniZation and attachment beacons, and a 1024><16-bit
tually occur. Assuming each ensemble is using 100% of its         SRAM used to store the usage sector assignments in the
bandWidth, then it is highly likely that at some time a           PEAs TDMA plan. While some of the activites are imple
codeWord in each ensemble Will be aligned. When code              mented Without microprocessor intervention, most activities
Words from separate ensembles are aligned, a receiver             involve the microprocessor execution of short instruction
captures data from the stronger transmitter. In this case, the    sequences. Normally, the microprocessor clock, sourced by
error correction coding serves no value since it perfectly 55 controller IC 91 is inactive, thus reducing poWer consump
corrects the data of the foreign transmitter. When this           tion. When microprocessor intervention is required, control
condition occurs, the probability that another sector is also     ler IC 91 activates the microprocessor clock and issues an
aligned is about 0.002. Thus one sees a Worst case uncor          8-bit code over the interconnecting bus to indicate What
rectible error rate of about 0.001. As is Well knoWn, this        activity the microprocessor is to perform. When the micro
uncorrectible error rate is suf?ciently loW that, by employing 60 processor has completed its program sequence, it issues a
packetiZing and retransmitting on checksum errors, an effec       code to controller IC 91 indicating completion. Controller
tively error free channel can be obtained.                          IC 91 then inactivates the microprocessor clock returning
 As Will be understood by those skilled in the art, the             the micrprocessor into its minimum poWer consumption
TDMA system is greatly facilitated by the establishment of          state.
a common frame time base betWeen PEA and PDA. In 65                   To reduce poWer consumption by the controller IC 91,
establishing this common time base, the present invention           only a very small percentage of the logic is clocked con
employs timing or synchroniZation beacons (SBs) transmit            tinuously. Clocks to all remaining sections of controller IC




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91 are enabled only When required. As is common practice             receive additional AB each Within a 6 millisecond period of
in loW poWer designing, the supply voltage of all internal           the previously received AB. This succession of ABs forms
logic is reduced to one volt and implemented With special            an HDLC channel using bit-stuffing to delineate the begin
loW voltage cell designs.                                            ning and end of a packet.
  The PEA controller 43 operates in one of three major                 A single packet of information (the Attachment Packet) is
states: Unattached (U), Sleep (S), and Active          These         transmitted over and over by the PDA during the attachment
states and the state change conditions are described beloW.          procedure, interleaved With the Synchronization Beacons.
   In the Unattached state, the controller has not been              This packet contains all information needed to establish a
personaliZed by any particular PDA. It cannot function               Command and Control Channel (CCC) connection betWeen
normally until it receives information contained in an attach the PEA’s microprocessor and the PDA’s microprocessor.
ment packet. This packet is sent over a communications link   The packet contains the SynchroniZation Beacon code, the
formed When the PDA modem broadcasts Attachment Bea           SynchroniZation Beacon interval spacings, and a 6-bit iden
cons in response to the user’s request. An Attachment         ti?cation number issued to each PEA. A 16-bit checksum at
Beacon         is composed of RF bursts having the same       the end of the packet alloWs the PEA to verify correct packet
interval spacings as Synchronization Beacons but With a 15 receipt. Total packet length, including the 8-bit start of
particular bit pattern.                                              packet ?ag is 84 bits. Receipt of an Attachment Packet thus
                                                                     requires a Worst case of 0.69 seconds. Once an Attachment
   Apair of Digital Matched Filters (DMFs) implemented in
controller IC 91 are the primary means for both receiving thePacket has been received, the PEA enters the Sleep state.
attachment packet and for establishing synchroniZation. As      In this state, the PEA has sufficient information to syn
shoWn in FIG. 8, each DMF is composed of 1032-bit shift      chroniZe itself to the SynchroniZation Beacons (SB) nor
register 100, 32-bit DMF Target register 101,                mally broadcast by the PDA. It can synchroniZe itself to the
32-comparitors 102—133, a 32-input adder 134, and tWo        home PDA since it has the SynchroniZation Beacon bit
6-bit comparitors 135 and 136. Limiter 78 output sources     pattern and the intervals betWeen SynchroniZation Beacons.
data to each DMF. One DMF is clocked on the positive edge 25    In the Sleep state, a PEA initiates a SynchroniZation
of a 2 MHZ clock derived from VCXO 44 While the other is     Beacon search procedure every 8 seconds. This procedure is
clocked on the negative edge. Each of the 32-taps on the     identical to that employed in attachment eXcept that the
shift register correspond to bit locations of SyncroniZation SynchroniZation Beacon code contained in the Attachment
and Attachement Beacons. The 32-bits from the shift register Packet is stored in the DMF Target Registers. If a Synchro
are compared, bit for bit by eXnor gates 102—133 With the    niZation Beacon is not detected Within 6.144 milliseconds, it
target bit beacon bit-sequence held in DMF Target Register   is assumed that the home PDA is not near enough for
101. Adder 134 sums the number of comparitor matches. A      synchroniZation to proceed. It then poWers off all circuits
sum equal to Zero indicates that each shift register tap is  eXcept the alarm clock circuits Which reinitiates the Syn
eXactly the compliment of the DMF Target Register 101                chroniZation Beacon search procedure 8 seconds later.
While a sum equal to thirty-tWo indicates that each shift 35           Once a single SynchroniZation Beacon is detected, the
register tap eXactly matches the corresponding bit in the            PEA assumes that its home PDA is nearby and that it should
DMF Target Register 101. As is understood by those skilled           acquire synchroniZation. It acquires synchroniZation in tWo
in the data communications arts, a more robust detection             stages. When the ?rst SynchroniZation Beacon is detected, a
scheme results When detection alloWs a feW errors to occur           14-bit counter is cleared. This counter, clocked at the slot
rather than requiring a perfect match. Accordingly, compari          clock rate, then continues counting.
tor 135 detects a match When the sum is greater or equal to            When the neXt SynchroniZation Beacon is detected, the
thirty While comparitor 136 detects an unmatch When the            upper 8-bits of the counter are stored in an interval register
sum is less than or equal to tWo.                                  and the upper 6-bits of the counter are cleared. The loWer
   At the end of each 500 nanosecond bit period, the tWo           6-bits are then compared against Zero. Under Worst case
DMF’s thus indicate one of three conditions, target match,      45 clock tolerance, the loW 6-bit value should be Zero plus or
target compliment match, and no match. The DMF can thus            minus 0.25 clock periods. If the loW order counter bits are
form a communications channel betWeen transmitter and              Zero no action is taken. Charge pump 93 is activated to
receiver Without the receiver being synchroniZed to the              increase the VCXO frequency. The interval is compared
transmitter in the manner utiliZed after attachment, ie after        against each of the seven interval values loaded in the
the PEA has become part of the ensemble. A target match              Attachment Packet, no tWo of Which are identical.
indicates a logic ‘one’ and digit received condition While a           After the third SynchroniZation Beacon is detected, the
target compliment match indicates a logic ‘Zero’ and digit           process is repeated. This time, the interval is compared
received condition. With eight Attachment Beacons trans              against the neXt interval in the SynchroniZation Beacon
mitted per frame, an asynchronous 244 bit per second                 interval table With the assumed framing established from the
communications channel can be formed betWeen the PDA 55 ?rst interval. Again the charge pump is activated to increase
and an unattached PEA by detecting these Attachment                  the VCXO frequency if needed. This process of comparing
Beacons or their compliments.                                        intervals and adjusting the crystal oscillator continues until
  An Unattached PEA initiates an Attachment Beacon                   the PEA has a reliable indication that framing has been
search procedure every 8 seconds. In this procedure, the             established and that the crystal oscillator frequency is very
controller enables the DMF to detect Attachment Beacons.             close to that of the PDA. When this occurs the second phase
It alloWs the search to continue, attempting to match the            of synchroniZation, called phase alignment, is entered.
attachment bit pattern (or its compliment) every 250 nano              In the phase alignment stage, the ?rst four bursts of the
seconds. If no Attachment Beacon is detected during a                SynchroniZation Beacon are used to adjust the phase of the
search period of 6.144 milliseconds the PEA terminates the           VCXO. The bit pattern of the ?rst four bursts of all Syn
search and reenters its loW poWer condition until the neXt      65   chrnoniZation Beacons is either 0011 or 1100. This simpli
search is initiated. When an Attachment Beacon AB or its             ?es the phase adjustment process. VCXO frequency adjust
compliment is detected, it then expects to quasi-periodically        ment is one sided in that BCC can only increase frequency




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via the charge pump. Leakage currents in the charge pump                   from the user or output information to the user, and
cause the frequency to decrease. Thus by monitoring the                    Which are adapted to operate Within short range of said
percentage of time that the SyncroniZation Beacon transi                   server unit;
tions are ahead or behind the 2 MHZ bit clock, the micro                said server microcomputer incorporating an RF transmit
processor can determine When synchronization is estab                      ter for sending commands and synchroniZing informa
lished.
                                                                           tion to said peripheral units;
   After the PEA acquires synchronization, it sends a status
code over the Attention Channel assigned to that PEA.                   said peripheral units each including an RF receiver for
   Each frame contains seven sectors assigned to Attention                 detecting said commands and synchroniZing informa
Channel groups. These sectors folloW the sectors assigned to               tion and including also an RF transmitter for sending
                                                                 10
the Command and Control Channel sectors Which immedi                       input information from the user to said server micro
ately folloW the eight SynchrnoniZation Beacons. Eight                     computer;
successive frames provide a total of 56 Attention Channels,             said server microcomputer including a receiver for receiv
one for each of the 56 possible PEAs. After the PEA acquires               ing input information transmitted from said peripheral
synchroniZation, it sends a status code over the Attention                 units;
Channel assigned to the PEA indicating that it has just 15              said server and peripheral transmitters being energiZed in
acquired synchroniZation and is requesting activation. Each                loW duty cycle RF bursts at intervals determined by a
PEA is required to send a status code in its respective                    code sequence Which is timed in relation to said syn
Attention Channel once every eight frames. The PEA and
PDA microprocessors then go through a protocol Which
                                                                           chroniZing information.
                                                                        2. A data netWork system as set forth in claim 1 Wherein
checks that the PEAs TDMA plan is current. If the PEA’s
                                                                      said server and peripheral units are allocated respective time
TDMA plan is not current, the PDA then loads the neW
                                                                      slots Within a predetermined frame interval for transmitting.
TDMA plan into the PEA’s TDMA memory and enables the
                                                                         3. A data netWork system as set forth in claim 2 Wherein
PEA to enter the Active state.
                                                                      a code sequence for a given one of said units is transmitted
   The basic unit of the TDMA plan is a User Data Infor    Within a respective time slot.
mation Block (UDIB). Each UDIB contains 12 bits. When 25      4. A data netWork system as set forth in claim 1 Wherein
no error encoding is employed, each UDIB nets 12 user data said server microcomputer unit transmits RF synchroniZing
bits. Majority error correction coding, Where the sector   beacons at times Within each of a predetermined sequence of
contains three identical copies of the same RF burst nets four        frames Which times vary in accordance With a code unique
error corrected data bits. Majority coding is employed on all         to the particular server microcomputer unit.
sectors comprising both the Command and Control Channel                  5. Adata netWork system for effecting coordinated opera
and Attention Channels.                                               tion of a plurality of electronic devices, said system com
  On entry to the Active state, the PEA initialiZes registers         prising:
and Waits until the beginning of the neXt frame. At that time,          a server microcomputer;
it accesses its TDMA control memory, resident in the
1024><16 BCC SRAM, to determine 1) When it should                       a plurality of peripheral units Which are battery poWered
transmit or receive data, 2) Which sub-channel, and 3) Which               and portable, Which provide either input information
error correction to apply. The data then being transmitted                 from the user or output information to the user, and
and received by each PEA Will then depend on its applica                   Which are adapted to operate Within about 20 meters of
tion or function Within the ensemble, eg as a sensor,                      said server unit;
actuator or other type of component.                                    said server microcomputer incorporating an RF transmit
  As Will be understood by those skilled in the art, the use               ter for sending commands and synchroniZing informa
of sparse codes, pseudorandomly selected, together With                    tion to said peripheral units during allocated time slots
error correction coding, renders the data communication                    Within an overall time frame;
provided by the present invention highly reliable and rela 45           said peripheral units including an RF receiver for detect
tively unsusceptible to interference from similar netWorks                 ing said commands and synchroniZing information and
operating nearby. Further, the utiliZation of loW duty cycle               including also an RF transmitter for sending input
pulse mode transmission particularly With the employment                   information from the user to said server microcomputer
of uncorrelated codes in a TDMA conteXt, leads to very loW                 during respective allocated time slots Within said over
poWer consumption since the transmitters and receivers in                  all time frame;
each PEA are poWered for only a small percentage of the                 said server microcomputer including a receiver for receiv
total time.                                                                ing input information transmitted from said peripheral
   In vieW of the foregoing it may be seen that several                    units;
objects of the present invention are achieved and other                 said server and peripheral transmitters being energiZed in
advantageous results have been attained.                    55             loW duty cycle pulses at pseudo-random intervals
   As various changes could be made in the above construc                  Within each of said allocated time slots, said pseudo
tions Without departing from the scope of the invention, it                random intervals being determined by a code sequence
should be understood that all matter contained in the above                Which is timed in relation to said synchroniZing infor
description or shoWn in the accompanying draWings shall be                 mation.
interpreted as illustrative and not in a limiting sense.                6. Adata netWork system for effecting coordinated opera
  What is claimed is:                                                 tion of a plurality of electronic devices, said system com
  1. Adata netWork system for effecting coordinated opera             prising:
tion of a plurality of electronic devices, said system com              a server microcomputer unit, said server unit including an
prising:                                                                   oscillator for establishing a time base;
  a server microcomputer unit;                                   m5     a plurality of peripheral units Which are battery poWered
  a plurality of peripheral units Which are battery poWered                and portable and Which provide either input informa
     and portable, Which provide either input information                  tion from the user or output information to the user;




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  said server microcomputer incorporating an RF transmit                   the server unit oscillator, each of said peripheral units
     ter controlled by said oscillator for sending commands                also including an RF transmitter operative in a third
     and synchronizing information to said peripheral units;               mode for sending input information from the user to
  said peripheral units each including an RF receiver for                  said server microcomputer,
     detecting said commands and synchroniZing informa                  said server microcomputer including a receiver for receiv
     tion and including also a local oscillator Which can be              ing input information transmitted from said peripheral
     synchroniZed to said server unit oscillator using said               units;
     synchroniZing information and an RF transmitter con
     trolled by said local oscillator for sending input infor           said server and peripheral transmitters being energiZed in
     mation from the user to said server microcomputer;                    loW duty cycle RF bursts at intervals With said receivers
                                                                          being controlled by the respective oscillators.
  said server microcomputer including a receiver controlled
                                                                        10. Adata netWork system as set forth in claim 9 Wherein
    by said server unit oscillator for receiving input infor
                                                                said server and peripheral units are allocated respective time
     mation transmitted from said peripheral units;
                                                                slots Within a predetermined frame interval for transmitting.
  said server and peripheral transmitters being energiZed in 15    11. A data netWork system for effecting coordinated
     loW duty cycle RF bursts Which are timed in relation to
     said synchroniZing information.                                  operation of a plurality of electronic devices, said system
   7. A data netWork system as set forth in claim 6 Wherein
                                                                      comprising:
said server and peripheral units are allocated respective time          a server microcomputer unit, said server unit including an
slots Within a predetermined frame interval for transmitting.             oscillator for establishing a time base;
   8. A data netWork system as set forth in claim 6 Wherein             a plurality of peripheral units Which provide either input
said input and output information is carried by frequency                 information from the user or output information to the
modulation of the respective transmitters and the receivers               user;
employ the respective oscillators for detecting the frequency           said server microcomputer incorporating an RF transmit
modulation.                                                      25       ter controlled by said oscillator for sending commands
  9. Adata netWork system for effecting coordinated opera                 and synchroniZing information to said peripheral units,
tion of a plurality of electronic devices, said system com                said synchroniZing information being carried by time
prising:                                                                  spaced beacons;
  a server microcomputer unit, said server unit including an            said peripheral units each including an RF receiver for
     oscillator for establishing a time base;                             detecting said commands and synchroniZing informa
  a plurality of peripheral units Which provide either input              tion and including also an RF transmitter for sending
     information from the user or output information to the               input information from the user to said server micro
     user, and Which are adapted to operate Within about 20               computer;
     meters of said server unit;                                        said server microcomputer including a receiver for receiv
  said server microcomputer incorporating an RF transmit         35       ing input information transmitted from said peripheral
     ter controlled by said oscillator for sending commands               units, said server microcomputer unit being operative
     and synchroniZing information to said peripheral units,              to de?ne a TDMA plan in Which said server and
     said synchroniZing information being carried by time                 peripheral units are allocated respective time slots
     spaced beacons characteristic of the particular server               Within a predetermined frame interval for transmitting;
     unit;                                                              each of said peripheral units being operative in a ?rst
  said peripheral units each including an RF receiver for                 mode to receive said beacons from said server unit
     detecting said commands and synchroniZing informa                    independently of synchroniZation of the respective
     tion and including also a local oscillator, each of said             local oscillator When the peripheral unit is in close
     peripheral units being operative in a ?rst mode to                   proximity to the server unit and to determine the
     receive said beacons independently of synchroniZation 45             respective TDMA plan, each of said peripheral units
     of the respective local oscillator When that peripheral              being operative in a second mode to exchange input
     unit is in close proximity to said server unit and to                 and output information With said server unit in accor
     determine from the server unit its characteristics, each             dance With the determined TDMA plan.
     of said peripheral units being operative in a second
     mode to synchroniZe the respective local oscillator With




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                                                                       October 3, 2016
                                                                       (Date)



THIS IS TO CERTIFY that the attached document is a list of the papers that comprise
the record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review
proceedings identified below.


                            DSS TECHNOLOGY MANAGEMENT, INC.
                                    Patent Owner,
                                           v.


                            APPLE, INC.
                                   Petitioner.

                            IPRS 2015-00369 and 00373
                               Patent No. 6,128,290

                            By authority of the

                            DIRECTOR OF THE UNITED STATES
                            PATENT AND TRADEMARK OFFICE




                                                  Certifying Officer




                                     Appx0101
        Case: 16-2523   Document: 32 Page: 103 Filed: 03/01/2017
          Case: 16-2523  Document: 13 Page: 4 Filed: 10/03/2016

PROSECUTION HISTORY OF DSS TECHNOLOGY MANAGEMENT, INC. v. APPLE,
                                INC.
          IPR2015-00369 APPEAL NOS. 2016-2523 AND 2016-2524


DATE                                DOCUMENT
12/04/2014                          Petition for Inter Partes Review of U.S.
                                    Patent No. 6,128,290
12/04/2014                          Petitioner's Power of Attorney
12/30/2014                          Patent Owner's Power of Attorney
12/30/2014                          Mandatory Notice of the Patent Owner
12/30/2014                          Expunged
12/30/2014                          Notice of Filing Date Accorded to Petition
                                    and Time for Filing Patent Owner's
                                    Preliminary Response
03/30/2015                          Patent Owner's Updated Mandatory Notices
03/30/2015                          Patent Owner's Preliminary Response
06/25/2015                          Decision
06/25/2015                          Scheduling Order
07/09/2015                          Petitioner's Request for Rehearing
07/31/2015                          Petitioner's ADR Statement
08/12/2015                          Expunged
08/12/2015                          Decision- Petitioner's Request for Rehearing
08/18/2015                          Patent Owner's Notice of Deposition ofDr.
                                    Grimes
09/16/2015                          Joint Stipulation to Modify the Scheduling
                                    Order
10/05/2015                          Patent Owner's Response to Petition
10/13/2015                          Petitioner's Objection to Evidence
12/01/2015                          Petitioner's Notice of Deposition of Mr.
                                    Dezmelyk
01/05/2016                          Joint Stipulation to Modify Due Date 2
01/11/2016                          Conduct of Proceeding
01/22/2016                          Petitioner's Power of Attorney
01/22/2016                          Petitioner's Updated Mandatory Notices
01/22/2016                          Petitioner's Reply
02/08/2016                          Joint Stipulation to Modify Due Dates 4 and 5
02/10/2016                          Patent Owner's Notice of Deposition of Dr.
                                    Hu
02/22/2016                          Petitioner's Motion to Exclude
02/22/2016                          Petitioner's Request for Oral Hearing
02/22/2016                          Motion for Observation Regarding Cross-
                                    Examination of Dr. Hu
02/22/2016                          Patent Owner's Request for Oral Argument
02/26/2016                          Petitioner's Response to Patent Owner's
                                    Motion for Observation Regarding Cross-
                                    Examination




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          IPR2015-00369 APPEAL NOS. 2016-2523 AND 2016-2524


02/26/2016                          Patent Owner's Opposition to Motion to
                                    Exclude
03/01/2016                          Petitioner's Reply to Opposition to Motion to
                                    Exclude
03/02/2016                          Oral Trial Hearing
03/02/2016                          Order Conduct of Proceeding
03/11/2016                          Patent Owner's Demonstrative Exhibits
03/11/2016                          Patent Owner's Demonstratives
03/11/2016                          Petitioner's Demonstratives Transmittal
05/31/2016                          Record of Oral Hearing
06/17/2016                          Final Written Decision




                               Appx0103
        Case: 16-2523   Document: 32 Page: 105 Filed: 03/01/2017
          Case: 16-2523  Document: 13 Page: 6 Filed: 10/03/2016

PROSECUTION HISTORY OF DSS TECHNOLOGY MANAGEMENT, INC. v. APPLE,
                                INC.
          IPR2015-00373 APPEAL NOS. 2016-2523 AND 2016-2524


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12/04/2014                          Petitioner's Power of Attorney
12/04/2014                          Petition for Inter Partes Review of U.S.
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12/30/2014                          Notice of Filing Date Accorded to Petition
                                    and Time for Filing Patent Owner's
                                    Preliminary Response
12/30/2014                          Patent Owner's Power of Attorney
12/30/2014                          Mandatory Notice ofthe Patent Owner
03/30/2014                          Patent Owner's Power of Attorney
03/30/2015                          Patent Owner's Updated Mandatory Notices
03/30/2015                          Patent Owner's Preliminary Response
06/25/2015                          Decision
06/25/2015                          Scheduling Order
07/09/2015                          Petitioner's Request for Rehearing
07/31/2015                          Petitioner's ADR Statement
08/12/2015                          Decision- Petitioner's Request for Rehearing
08/20/2015                          Patent Owner's Notice of Deposition of Dr.
                                    Grimes
09/16/2015                          Joint Stipulation to Modify the Scheduling
                                    Order
10/05/2015                          Patent Owner's Response to Petition
10/13/2015                          Petitioner's Objection to Evidence
12/01/2015                          Petitioner's Notice of Deposition of Mr.
                                    Dezmelyk
01/05/2016                          Notice of Filing of Statutory Disclaimer
01/05/2016                          Joint Stipulation to Modify Due Date 2
01/11/2016                          Conduct of Proceeding
01/22/2016                          Petitioner's Power of Attorney
01/22/2016                          Petitioner's Updated Mandatory Notices
01/22/2016                          Petitioner's Reply
02/08/2016                          Joint Stipulation to Modify Due Dates 4 and 5
02/10/2016                          Patent Owner's Notice of Deposition ofDr.
                                    Hu
02/22/2016                          Petitioner's Motion to Exclude
02/22/2016                          Petitioner's Request for Oral Hearing
02/22/2016                          Motion for Observation Regarding Cross-
                                    Examination of Dr. Hu
02/22/2016                          Patent Owner's Request for Oral Argument
02/26/2016                          Petitioner's Response to Patent Owner's
                                    Motion for Observation Regarding Cross-
                                    Examination




                               Appx0104
        Case: 16-2523   Document: 32 Page: 106 Filed: 03/01/2017
          Case: 16-2523  Document: 13 Page: 7 Filed: 10/03/2016

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                                INC.
          IPR2015-00373 APPEAL NOS. 2016-2523 AND 2016-2524


02/26/2016                          Patent Owner's Opposition to Motion to
                                    Exclude
03/01/2016                          Petitioner's Reply to Opposition to Motion to
                                    Exclude
03/02/2016                          Oral Trial Hearing
03/02/2016                          Order Conduct of Proceeding
03/11/2016                          Patent Owner's Demonstrative Exhibits
03/11/2016                          Patent Owner's Demonstratives
03/11/2016                          Petitioner's Demonstratives Transmittal
05/31/2016                          Record of Oral Hearing
06/17/2016                          Final Written Decision




                               Appx0105
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          UNITED STATES PATENT AND TRADEMARK OFFICE
                      _____________________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      _____________________


                                 APPLE INC.
                                  Petitioner

                                     v.

                DSS TECHNOLOGY MANAGEMENT, INC.
                           Patent Owner

                          _____________________

                            Case IPR: Unassigned
                              Patent 6,128,290
                          _____________________

              PETITION FOR INTER PARTES REVIEW
                   OF U.S. PATENT NO. 6,128,290
     UNDER 35 U.S.C. §§ 311-319 and 37 C.F.R. §§ 42.1-.80, 42.100-.123




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Patent Trial and Appeal Board
U.S. Patent & Trademark Office
P.O. Box 1450
Alexandria, VA 22313-1450




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I.    INTRODUCTION
      Apple Inc. petitions for inter partes review of claims 1-4 of United States

Patent No. 6,128,290 to Carvey, titled “Personal Data Network” (“the ’290 pa-

tent”) (APL 1001). The claims of the ’290 patent recite nothing more than the

combination of well-known concepts. Indeed, the ’290 patent specification is little

more than a recitation of well-known techniques patent owner admits are in the

prior art. The ’290 patent characterizes its alleged inventions by describing that

“the general scheme of data transmission and reception is a form of time division

multiple access (TDMA).” (’290 patent, 3:57-59.) The ’290 patent plainly admits

that its “basic modulation scheme is frequency shift keying (FSK), well known to

those skilled in digital radio transmission.” (Id. at 3:65-67 (emphasis added).) The

’290 patent describes a litany of other “well-known” aspects of the alleged inven-

tions, for example:

          The oscillator phase shift illustrated in FIG. 5 shows the Im and Qm

            signals, “the so-called ‘in-phase’ and ‘quadrature-phase’ signals

            commonly known to radio engineers” (id. at 4:51-57 (emphasis add-

            ed));

          The “all pass phase shifters” disclosed were “well known” (id. at

            5:21-33);




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          The disclosed “limiter circuits” “are well known and have been inte-

            grated into integrated receiver chips for many years” (id. at 5:38-41

            (emphasis added));

          In describing various operational modes, the ’290 patent admits,

            “[w]hile all these operational modes appear different, they are essen-

            tially well known variants to the underlying time division multiple

            access technique” (id. at 6:16-29 (emphasis added));

          Capturing data from only the stronger “RF bursts” in TDMA schemes

            is a “well known aspect of FM modulation” (id. at 6:36-41 (emphasis

            added));

          “Interleaving” is “a well known scheme to handle burst errors” (id. at

            7:1-4 (emphasis added)); and

          In describing the “error correction” that occurs “[w]hen codewords

            from separate ensembles are aligned”, the ’290 patent discloses that

            “[a]s is well known, this uncorrectible error rate is sufficiently low

            that…an effectively error free channel can be obtained.” (Id. at 7:52-

            62 (emphasis added)).

      The ’290 patent purports to divert from well-known TDMA schemes be-

cause transmissions occur “in only those slots indicated by a TDMA program…For

each slot, this TDMA program indicates that a PEA or host is to transmit, or not,


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and whether it will receive, or not. In the intervals between slots in which a PEA is

to transmit or receive, all receive and transmit circuits are powered down.” (Id. at

3:67-4:8.) But this allegedly point of novelty was also well-known, as explained in

detail below. Thus, none of the ’290 patent’s claims recite a patentable invention.

Rather, the ’290 patent has taken from the public technology that was already in

the public domain or would have been obvious to one of skill in the art. The ’290

patent should never have issued. Its uncommon and frankly ambiguous terms veil

the well-known concepts described in the ’290 patent and recited in the ’290 pa-

tent’s claims.

      Accordingly, Apple respectfully requests inter partes review of claims 1-4

and that these claims be found invalid.

II.   MANDATORY NOTICES (37 C.F.R. § 42.8(a)(1))

      A.       Real Party-In-Interest (37 C.F.R. § 42.8(b)(1))
      The real party-in-interest is Petitioner Apple Inc.

      B.       Notice of Related Matters (37 C.F.R. § 42.8(b)(2))
      The ’290 patent is involved in the following cases that may affect or be af-

fected by a decision in this proceeding: DSS Technology Management, Inc. v. Ap-

ple Inc., 6:13-cv-00919-JDL1 and DSS Technology Management, Inc. v. Lenovo


      1
          A motion to transfer to Northern District of California has been granted.




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(United States), Inc., 6:14-cv-00525-JDL, both in the Eastern District of Texas. A

Petition for Inter Partes Review of claims 6, 7, 9, and 10 of the ’290 patent is con-

currently filed.

       C.      Designation of Counsel (37 C.F.R. § 42.8(b)(3))

                   Lead Counsel                               Back-Up Counsel
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       D.      Notice of Service Information (37 C.F.R. § 42.8(b)(4))
       Please direct all correspondence to lead counsel at the above address. Apple

consents      to   email    service   at:   davidc-PTAB@skgf.com         and       mrygiel-

PTAB@skgf.com.

III.   GROUNDS FOR STANDING (37 C.F.R. § 42.104(a))
       Apple certifies pursuant to Rule 42.104(a) that the ’290 patent is available

for IPR, and that Apple is not barred or estopped from requesting IPR of any claim

of the ’290 patent on the grounds identified herein. This Petition is filed in accord-

ance with 37 C.F.R. § 42.106(a). A Power of Attorney and Exhibit List pursuant to

§ 42.10(b) and § 42.63(e), respectively, are filed herewith. The required fee has

been paid through online credit card payment. The Office is authorized to charge


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fee deficiencies and credit overpayments to Deposit Acct. No. 19-0036 (Customer

ID No. 63,975).

IV.   STATEMENT OF THE PRECISE RELIEF REQUESTED AND THE
      REASONS THEREFOR (37 C.F.R. § 42.22(a))
      Apple requests IPR and cancellation of claims 1-4. Apple’s full statement of

the reasons for the relief requested is set forth below.

V.    THE ’290 PATENT

      A.      Overview of the ’290 Patent

      The ’290 patent describes a data network for “bidirectional wireless data

communications between a microcomputer unit and a plurality of peripheral units.”

(’290 patent, 1:11-15.) FIG. 1 of the ’290 patent illustrates the server microcom-

puter (11) and associated peripheral units (21, 29). The ’290 patent describes that

the “server microcomputer” can be a personal digital assistant (“PDA”). (Id. at

2:66-67.) The “peripheral units,” referred to

generally as “personal electronic accesso-

ries (PEAs),” include “conventional” pe-

ripheral devices such as a keyboard and

mouse, and also “a wide variety of less conventional” peripheral and input devices,

including body-mounted accessories such as displays “mounted on a headband or

eyeglasses,” and “physiological sensors.” (Id. at 1:62-2:18.) For example, the phys-

iological sensors can be temperature, heartbeat, and respiration sensors for patient


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monitoring and fitness training. (Id. at 2:10-15.) The server microcomputer and pe-

ripherals are linked “in close physical proximity, e.g., within twenty meters,” to es-

tablish a common time base or synchronization. (Id. at 1:50-55.)

      The goal of the ’290 patent is to “provide wireless communication between a

host or server microcomputer unit and a plurality of peripheral units” that is “relia-

ble,” “low power,” “avoids interference from nearby similar systems,” and is “rela-

tively simple.” (Id. at 1:33-46.) This goal is purportedly achieved, in part, by gen-

erating “code sequences” which control the operation of transmitters in a low duty

cycle pulsed mode of operation. (Id. at 1:57-61, 2:35-39.) This allows the transmit-

ters to only be active for short durations of time, which “substantially reduces

power consumption and facilitates the rejection of interfering signals.” (Id. at 1:59-

61.) The ’290 patent describes that “[t]he codes are mostly zeros with three scat-

tered ones representing the locations of the slots in which RF bursts are to be

transmitted or received.” (Id. at 7:27-29.) Thus, the ’290 patent’s alleged point of

novelty is using a code sequence to designate when devices are to transmit or re-

ceive data.

      B.      Priority Date of the ’290 Patent
      The ’290 patent was filed on October 14, 1997 and assigned Application No.

08/949,999 (“the ’999 application”). It is a continuation-in-part of U.S. Application

No. 08/611,695, filed on March 6, 1996 (“the ’695 application”)(APL 1006). But



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independent claim 1 of the ’290 patent, and its dependent claims 2-4, are entitled

only to the benefit of the ’290 patent’s October 14, 1997 filing date because they

recite new matter added to the ’999 application.

      The specifications of the ’999 application and the ’695 application are nearly

identical, except for two features that were added to the ’999 application and spe-

cifically claimed in the ’290 patent. The ’999 application added new disclosure

that the peripheral units are “located within short range of the server unit, e.g. with-

in 20 meters.” (’290 patent, Abstract.) Additionally, in comparison to the ’695 ap-

plication, the ’999 application was changed as shown: “the server microcomputer

unit and the several peripheral units which are to be linked are all in close physical

proximity, e.g., under two meters separation within twenty meters”. (Compare

APL 1006, p. 25 with APL 1005, p. 25.) Thus, the ’999 application added that the

peripheral units are “located within short range of the server unit” and also extend-

ed the range of “close physical proximity” from “under two meters” to “within

twenty meters”.

      The ’290 patent specifically claims the newly added features first disclosed

in the ’999 application. Independent claim 1 recites “a plurality of peripheral units

which are battery powered and portable, which provide either input information

from the user or output information to the user, and which are adapted to operate

within short range of said server unit”. Therefore, independent claim 1 and its de-



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pendent claims 2-4, are entitled only to the benefit of the ’290 patent’s October 14,

1997 filing date.

      C.      Level of Ordinary Skill in the Art
      A person of ordinary skill in the art (“POSA”) at the time of invention would

have typically had an undergraduate degree in Electrical Engineering and 1-2 years

of experience working with wireless network technology, or equivalent education

and/or work experience. (Grimes Dec. ¶ 9.) Further, a POSA would have had

knowledge of and understood commonly known devices, methods, and techniques

in this field, for example, those described as “well known” in the ’290 patent.

VI.   CLAIM CONSTRUCTION

      Under 37 C.F.R. § 42.100(b), the challenged claims must be given their

broadest reasonable interpretations in light of the patent specification. Generally,

claim terms are given their ordinary and customary meaning. Phillips v. AWH

Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005) (en banc); Alloc, Inc. v. Int’l Trade

Comm’n, 342 F.3d 1361, 1368 (Fed. Cir. 2003). The broadest reasonable interpre-

tation must also be consistent with the interpretation that those skilled in the art

would reach. In re Cortright, 165 F.3d 1353, 1359 (Fed. Cir. 1999).

      Apple presents herein interpretations of certain claim limitations under the

broadest reasonable interpretation standard. Apple reserves the right to present dif-

ferent constructions in the District Court litigation where a different claim con-



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struction standard applies, and in no way acquiesces to being bound in the District

Court litigation by the claim construction presented in this Petition.

      A.       “within short range of said server unit”
      The term “within short range of said server unit” appears in challenged

claim 1. The ’290 patent added as new matter that the peripheral units are “located

within short range of the server unit, e.g. within 20 meters.” This feature was add-

ed only to the Abstract and then specifically claimed in claim 1. While the ’290 pa-

tent uses “within 20 meters” as an example (by using “e.g.”), this is the only indi-

cation in the ’290 patent as to what the newly added term “short range” means. No

other “examples” are provided. And the term “short range” has no commonly ac-

cepted meaning in the art. (Grimes Dec. ¶ 23.) Accordingly, a POSA would not

have understood this term to have a meaning outside of the guidance provided by

the specification. (Id.) Thus, if the example provided by the specification is ig-

nored, the term “short range” is indefinite.2 So the term must be construed in view

of the specification. Since the only guidance in the ’290 patent specification for

this newly added feature is “within 20 meters”, Apple submits that the broadest


      2
          While Apple understands that indefiniteness under 35 U.S.C. § 112 cannot

be raised in inter partes review, because this term would be indefinite on its own, it

must be construed in view of the ’290 patent specification.




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reasonable interpretation of “within short range of said server unit” is “within 20

meters of said server unit.”

      B.      “code sequence”
      The term “code sequence” appears in challenged claims 1 and 3. A “code

sequence” is not a term of art and therefore must be construed in view of the ’290

patent specification. The ’290 patent describes that “[u]sing the common time base,

code sequences are generated which control the operation of the several transmit-

ters in a low duty cycle pulsed mode of operation.” (’290 patent, 1:57-59 (empha-

sis added).) The ’290 patent further describes that, “[t]he server and peripheral unit

transmitters are energized in low duty cycle pulses at intervals which are deter-

mined by a code sequence which is timed in relation to the synchronizing infor-

mation initially transmitted from the server microcomputer”, which is similar to

the language recited in claim 1. (Id. at 2:35-39 (emphasis added).) The ’290 patent

also discloses that the PEA controller is responsible for “acquiring from the host

appropriate code sequences to be used in data communications.” (Id. at 3:43-44.)

      The phrase “code sequence” is not used anywhere else in the ’290 patent,

although the ’290 patent also uses “Optically Orthogonal Codes” and “codewords.”

(Id. at 7:15-44.) “The codes are mostly zeros with three scattered ones represent-

ing the locations of the slots in which RF bursts are to be transmitted or received.”

(Id. at 7:26-29 (emphasis added).)



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      Therefore, a “code sequence” is a series of ones and zeros (i.e., values) rep-

resenting possible transmission time slots. A “one” indicates that a unit will trans-

mit in that time slot and, therefore, its transmitter will be energized. A “zero” indi-

cates that a unit will not transmit, and so its transmitter will not be energized. Ac-

cordingly, Apple submits that the broadest reasonable interpretation of the term

“code sequence” in view of the ’290 patent specification is “a series of values,

where each value in the series represents a time slot where a unit’s transmitter is

energized or a time slot where a unit’s transmitter is depowered.”

VII. IDENTIFICATION OF CHALLENGE (37 C.F.R. § 42.104(b))

      A.      Statutory Grounds for the Challenge

      Petitioner requests review of claims 1-4 on two grounds:

      GROUND 1: Claims 1-4 are unpatentable under 35 U.S.C. § 103 as obvious

over by “BodyLANTM: A Low-Power Communications System” by Thomas J.

Barber Jr. (“Barber”).3




      3
          Although Apple believes claims 1-4 are also anticipated by Barber under

35 U.S.C. § 102, due to the page limit of this Petition, Apple presents herein that

claims 1-4 are clearly obvious in view of Barber.




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      GROUND 2: Claims 1-4 are unpatentable under 35 U.S.C. § 103 as obvious

over U.S. Patent No. 5,241,542 to Natarajan et al. (“Natarajan”) in view of U.S.

Patent No. 4,887,266 to Neve et al. (“Neve”).

      B.      Citation of Prior Art
      Petitioner cites the following prior art references:

      BodyLANTM: A Low-Power Communications System by Thomas J. Bar-

ber Jr. (APL 1002) is prior art under at least 35 U.S.C. § 102(b) because it was

published at least as early as April 11, 1996, more than one year prior to the proper

priority date for claims 1-4 of the ’290 patent, its October 14, 1997 filing date.

      U.S. Patent No. 5,241,542 to Natarajan et al. (APL 1003) is prior art under

at least 35 U.S.C. § 102(b) because it issued on August 31, 1993, more than 2 years

before the earliest possible priority date of the ’290 patent.

      U.S. Patent No. 4,887,266 to Neve et al. (APL 1004) is prior art under at

least 35 U.S.C. § 102(b) because it issued on December 12, 1989, more than 6

years before the earliest possible priority date of the ’290 patent.

      C.      The Proposed Grounds Are Not Redundant
      Apple recognizes that the Board may use its discretion under 35 U.S.C. §

325(d) to institute trial only on certain grounds when multiple grounds “are pre-

sented in a redundant manner by a petitioner who makes no meaningful distinction

between them.” Liberty Mutual Ins. Co. v. Progressive Casualty Ins. Co.,



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CBM2012-00003, Paper 7, p. 2 (P.T.A.B. Oct. 25, 2012). The grounds presented

here are not redundant and Apple discusses the distinction between them below.

The Board has typically exercised its discretion when numerous proposed grounds

are asserted against the same claims. For example, the Board recently exercised its

discretion where all 31 claims of a patent were challenged and the petitioner pre-

sented at total of 49 grounds over multiple petitions. See e.g., Canon Inc. v. Intel-

lectual Ventures I LLC, IPR2014-00535, Paper 9, pp. 19-20 (P.T.A.B. Sept. 24,

2014). Such is not the case here. Only four claims are presented for inter partes re-

view, challenged under just two distinct grounds.

      In view of the reasonable number of challenged claims and grounds present-

ed, Apple also points out that the Board may institute inter partes review on any

and all grounds where the petitioner “articulate[s] relative strengths and weakness-

es between references.” Liberty Mutual, CBM2012-00003, Paper 7 at 3. Apple

does so here.

      The first ground presented is based on the Barber thesis. Barber is asserted

under 35 U.S.C. § 103 as disclosing each of the claim limitations on its own in

view of the knowledge of a POSA and what would have been obvious to a POSA.

In this respect, this ground is stronger in that only a single reference is needed to

render the claims obvious. Apple asserts that Barber qualifies as prior art under 35

U.S.C. § 102(b) because the claims against which Barber is asserted are entitled



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only to the filing date of the ’290 patent. These claims specifically recite new mat-

ter added to the application that became the ’290 patent. In this respect, this ground

is arguably weaker in that the patent owner may argue that Barber does not qualify

as prior art because in the patent owner’s view the ’290 patent is entitled to an ear-

lier priority date (even though it is not entitled to an earlier date).

       The second ground of rejection is based on the Natarajan and Neve patents.

This combination is asserted under 35 U.S.C. § 103 as rendering each of the chal-

lenged claims obvious. Both Natarajan and Neve qualify as prior art under 35

U.S.C. § 102(b) even based on the earliest possible priority date for the ’290 pa-

tent. Thus, the combination of Natarajan and Neve is stronger in that the patent

owner cannot even attempt to prove the claims are entitled to an earlier priority

date to overcome these references. However, this ground is arguably weaker in that

a combination of references is used, rather than a single reference, to demonstrate

the obviousness of the challenged claims.

       Apple would be prejudiced by the Board’s decision to institute trial based

only on Barber or the combination of Natarajan and Neve. If the Board institutes

trial, for example, based only on Natarajan and Neve and thereby avoids address-

ing the ’290 patent’s lack of priority, Apple would be denied the opportunity to

present what is arguably the “stronger” ground of rejection. Yet if the Board insti-

tutes trial based only on Barber and the patent owner somehow proves an earlier



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priority date, Apple could lose the opportunity to challenge claims that are clearly

unpatentable.

      Accordingly, the totality of the circumstances here counsels that the Board

should use its discretion to institute trial for each of the four challenged claims

based on both presented grounds.

VIII. GROUNDS OF REJECTION

      A.        Ground 1: Claims 1-4 would have been obvious in view of Barb
                                                                           ber.
      Each and every limitation of claims 1-4 is disclosed by Barber or would

have been obvious to a POSA in view of Barbeer. Therefore, Barber renders obvi-

ous claims 1-4 of the ’290 patent.

           1.     Overview of Barber
      The Barber reference is a Master’s thesis titled “BodyLANTM: A Low-Power

Communications System.” (Barber, p. 1.) Notably, the author, Thomas J. Barber

Jr., thanks Phil Carvey of Bolt Barenek and Newman. (Idd. at 3.) Philip Carvey is

the named inventor on the ’290 patent, assigned on its face to BBN Corporation.

      Barber is directed to “a low-power wireless communications system de-

signed to operate within the sphere of the body.” (Id. at

9.) Barber discloses three possible network configura-

tions, including the “Star” configuration, shown in Fig-

ure 1a of Barber, where all communications occur

through a central node called the “Hub.” (Id.) Barber describes that the other nodes

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formation necessary to align the PEA local sy mbol clock with the Hub symbol

clock “is transmitted to the PEA through synchronization beacons.” (Barber, p.

26.) The “expected inter-arrival time” of the synchronization beacons is supplied

by the Hub to the PEA “as part of the initial TDMA plan.” (Id. at 27.) And Barber

discloses that “the synchronization beacons are based on the code word transmit-

ted to the PEA during the attachment mode, which is a code specific to that Hub

rather than a universal code.” (Id. (emphasiss added).) Thus, Barber discloses

“wherein said server microcomputer unit transmits RF syynchronizing beacons at

times within each of a predetermined sequence of frames which times vary in ac-

cordance with a code unique to the particular serrver microcomputer unit,” as recit-

ed in claim 4. (Grimes Dec. ¶¶ 86-87.)

      B.        Ground 2: Claims 1-4 would have been obvious over Natarajaan in
                view of Neve.
      Each and every limitation of claims 1-4 is disclosed by the combination of

Natarajan and Neve or would have been obvious to a POSA in view thereof.

Therefore, Natarajan and Neve render obvious claims 1-4 of the ’290 patent.

           1.     Overview of Nataraja
                                     an
      Natarajan is directed to battery power conservation in wireless communica-

tions of mobile computers controlled by multi-access protocols. (Natarajan, 1:6-

12.) As shown in Figure 1, multiple mobile units (10, 12, 14, 16) communicate

with base stations (26, 28) via wireless radio links. (Id. at 2:28-39, Figure 1.) The


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base stations can be a “conventional microcomputer” and the mobile units can be a

“hand held or laptop computer.” (Id. at 2:40-43, 2:58-59.) Both the base stations

and mobile units have an RF transceiver. (Id. at 2:51-52, 2:65-67.)

       Natarajan states that “the main idea for minimizing battery power consumed

by wireless link adapters at the mobile units” is that:

       [s]cheduled access multiaccess protocols can be implemented to effec-

       tively conserve battery power by suitable control of the state of trans-

       mitter and receiver units at the portable units (i.e., by scheduling when

       they should be turned ON or OFF). A desirable solution is one in

       which the transmitter (or receiver) consumes power only when it is

       actively transmitting a message (or actively receiving a message).

(Id. at 3:59-4:6.)

       Natarajan discloses that the scheduled multiaccess protocol divides time into

“fixed-length frames, and frames are divided into slots.” (Id. at 4:20-23, FIG. 4.)

The frames are divided into subframes for transmission of data packets from the


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base station to mobile units, contention-free transmission from mobile units to the

base station, and “bursty data traffic” in a contention mode from mobile units to

the base station. (Id. at 4:27-38.) The base station transmits a header AH to the

mobile units that includes: a list of mobile units that will be receiving data packets

from the base station, the order in which the mobile units will receive the data

packets, and the number of data packets that will be transmitted to each mobile

unit. (Id. at 4:45-53.)

       Natarajan discloses that if a mobile unit is not included in the header AH

from the base station, it can turn its receiver off during the base station’s transmis-

sion time frame because that mobile unit will not be receiving any data. (Id. at

4:64-67, FIGS. 8A-8D.) A mobile unit that will be receiving data can compute

when the transmission will occur based on its assigned time slot, power up during

that time slot to receive its data, and go back to sleep for the remainder of the base

station’s transmission time frame after receiving its data. (Id. at 4:67-5:6.) Nata-

rajan similarly discloses broadcasting another header BH for scheduling which

mobile units will be allowed to transmit to the base station and the order they will

transmit. (Id. at 5:9-19.) Each mobile unit can therefore compute when its desig-

nated transmission slot will occur, saving power by powering up only during that

time slot. (Id. at 5:20-29.) Mobile units that will not be transmitting data to the

base station can keep their transmitters powered off. (Id. at 6:35-38.)



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      Natarajan more specifically discloses that header AH includes “a coded de-

scription of mobile users that will receive data in the current frame. That is, it is a

designation of which mobile users

are to communicate with the base

station during this frame.” (Id. at

6:19-22.) Header BH similarly in-

cludes “a coded designation or de-

scription of mobile users that can transmit data in the current frame.” (Id. at 6:31-

33.) Natarajan discloses assigning each mobile unit an index number during a “reg-

istration period” which is “needed to associate each mobile unit in the network

with the intended base station.” (Id. at 6:48-54.) The header AH transmitted from

the base station includes a “Receiving Users designation or Index message portion”

that is a bit-vector sequence with a bit for each of the registered mobile units. (Id.

at 6:55-58.) Natarajan discloses that:

      The content of each bit location signals the receiver activity of the us-

      er designated or indexed by the bit location. For example, reading left

      to right, a “1” in the 4’th, 8’th, 9’th, etc. bit location can be used to

      signal that the 4’th, 8’th, 9’th, etc. mobile unit is designated to receive

      one message in the current frame period. “0” in the 1’st, 2’nd, 3’rd,

      etc. bit location signals that the 1’th, 2’nd, 3’rd, etc. mobile unit is in-



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       active (is not designated to receive any data) and can turn its receiver

       power OFF until the beginning of Header BH.

(Id. at 6:59-68.) An analogous scheme is used in the header BH for transmission

from the mobile units to the base station. (Nataarrajan, 7:1-6.) This scheduled com-

munication scheme reduces power consumption by requiring that the mobile units

only be powered on during time slots where they will be receiving or transmitting

        d. at 7:6-15.)
data. (Id

          2.     Overview of Neve

       Neve is directed to “[a] communication system ablee to provide multiple path

communication between a plurality of stations operating on a single channel. The

stations are synchronized and a cyclically repeating series of time slots is defined.”

(Neve, Abstract.) In order to provide radio data communnication, Neve discloses

that each device includes “a transmitter and receiver device (transceiver) 2 which

includes an antenna 3, a transmitter circuit 4 and a receiver circuit 5.” (Id. at 3:59-

63.) The transceiver is connected to a digital control processor, which controls data

transfer to and from the transmitter and receiver.. (Id. at 3:64-68.)

       Neve discloses that it is “desirable to provide a communications system in

which the transmitting and receiving apparatus iis small, may be easily installed in

any location, and is of very low power consuumption.” (Id. at 1:29-34.) Thus,

Neve’s system “enables a very low power consumption to be achieved in the cases



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where the device requires to transmit data only rarely or the receiver receives the

predetermined code signal only rarely…a device may need to transmit data for on-

ly a fraction of a second in many hours.” (Id. at 2:25-31.)

      Neve discloses that when data transfer is not taking place, the device can en-

ter a lower power consumption state. (Id. at 2:13-16.) The system is designed “au-

tomatically to re-enter the data transfer condition when either a signal is received

from the device indicative of the need to transmit data or a predetermined code

signal is received by the receiver circuit indicative of the need to receive data.” (Id.

at 2:19-24.) Thus, the receiver has very low power consumption because only the

internal timing circuitry is energized continuously, whereas the rest of the receiv-

ing circuit is energized only when its assigned time slot occurs. (Id. at 2:39-41.)

Similarly, the transmitter only needs to be energized when transmission is required.

(Id. at 2:45-47.)

      Neve further discloses that “the system is a synchronous communication

system with one station designated the master station providing system synchroni-

sation signals, and defining a cyclic sequence of time slots.” (Id. at 3:9-12.) The

time slots include “at least one synchronisation time slot, at least one interrupt time

slot, and a plurality of address or data time slots, wherein any other station can

transmit a message to the master station during an interrupt time slot to indicate a

request to communicate.” (Id. at 3:12-17.) Neve discloses that the receiver circuit



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“includes a low power timing circuit which operates to energise the rest of the re-

ceiver circuit only for the time slot in which its address may occur and for the syn-

chronisation time slot thereby enabling it to maintain synchronisation with low

power consumption.” (Id. at 4:43-48.)

         3.     Overview of the Combination of Natarajan and Neve

      Natarajan and Neve are from the same field of endeavor—wireless network

communication systems. (Grimes Dec. ¶ 89.) Each prior art reference is concerned

with conserving battery power of wireless devices. (Natarajan, Abstract, 1:16-21;

Neve, 1:29-34, 2:48-51.) The ’290 patent allegedly addresses this same issue. (’290

patent, Abstract, 1:59-61.) Natarajan and Neve reduce power consumption in simi-

lar ways by scheduling transmission time slots and having the devices operate in a

low power mode when they are not transmitting or receiving data. (Natarajan, Ab-

stract, 3:66-4:7; Neve, Abstract, 2:35-41.) The ’290 patent uses a similar tech-

nique. (’290 patent, 2:35-40.)

      As is evident from these prior art referencces, many of the claimed elements

in the ’290 patent are merely standard components of wireless communications

systems that are disclosed by both Natarajan and Neve. ((Grimes Dec. ¶ 90.) For

example, both references disclose a “server mi crocomputer” base unit that com-

municates with a plurality of “peripheral units”, where each device has an RF




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transmitter and receiver. (See e.g., Natarajan, Abstract, FIGS. 1-2; Neve, Abstract,

FIG. 1.)

      Natarajan also discloses that the purported point of novelty of the ’290 pa-

tent, a “code sequence” for determining transmission intervals, was well-known.

(Grimes Dec. ¶ 91.) As discussed above, Natarajan discloses a coded description of

mobile units that will receive and/or transmit data in a given time frame. (Nata-

rajan, 6:15-33.) Natarajan discloses that a sequence of ones and zeros indicates

whether or not a mobile unit is designated to receive (or transmit) data during a

specified time slot. (Id. at 6:59-68.) A mobile unit that will not receive (or trans-

mit) data can turn its receiver (or transmitter) power off. (Id. at 5:20-29, 6:66-68.)

      Although Natarajan does not explicitly describe synchronizing the mobile

units with the base station, Natarajan teaches that coordinated timing of transmis-

sions is important. (Grimes Dec. ¶ 92.) First, Natarajan discloses a “registration pe-

riod” where the base station indexes each of the mobile units. (Natarajan, 6:48-53.)

“The registration is needed to associate each mobile unit in the network with the

intended base station.” (Id. at 6:53-54 (emphasis added).) Thus, Natarajan teaches

“associating” the mobile units and the base station. Second, in order to carry out its

scheduled access protocol, Natarajan discloses that the mobile units and base sta-

tions each have “a dedicated microprocessor 62 containing high-resolution time

interval determination hardware or ‘timers’ typical of real-time microprocessor



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systems.” (Id. at 3:18-21, FIG 3.) The timers provide that “each receiving mobile

unit can compute exactly when it should be ready to receive packets from the base

station (add up the slots allocated to all receiving units that precede it). Each re-

ceiving mobile unit goes to sleep after scheduling to wake itself up at its designat-

ed time for receiving data.” (Id. at 4:67-5:4.) Natarajan describes how this facili-

tates reduced power consumption by determining when to power on and off the

transmitter and receiver. (Id. at 7:7-38.) A POSA would have understood that in

order to execute the coordinated data transmission plan described in Natarajan, it

would have been beneficial to have the timers in the mobile units synchronized

with the base station. (Grimes Dec. ¶ 92.) Thus, a POSA would have been motivat-

ed to precisely synchronize the mobile units with the base unit. (Id.)

      This would have led a POSA to Neve, which is in the same field of endeavor

as Natarajan and describes a well-known method in wireless communication sys-

tems for synchronizing multiple peripheral devices with a base station. (Id. at 93.)

Neve discloses “a synchronous communication system with one station designated

the master station providing system synchronisation signals, and defining a cyclic

sequence of time slots.” (Neve, 3:9-12.) During a dedicated “synchronization time

slot,” a “synchronization word” is transmitted by the master station. (Id. at 7:31-

33.) Neve discloses that the CPU is able to “adjust the phase of the clock used for

synchronous communication for correct reception of the incoming synchronous da-



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ta.” (Id. at 6:15-18.) Neve further discloses that the receivers are energized “only

for the time slot in which its address may occur and for tthe synchronisation time

slot thereby enabling it to maintain synchronisation with low power consumption.”

(Id. at 4:43-48.)

      A POSA would have combined the synchronization technique described in

Neve with the system of Natarajan because Neve is an example of a conventional

synchronization technique for a time scheduled data communication system and

Natarajan teaches that timing is important for data transmissions in its similar time

scheduled communication system. (Grimes Dec. ¶ 94.) Thus, the combination of

Natarajan and Neve would have been merely coombining prior art elements accord-

ing to known methods to yield predictable results and using a known technique to

improve similar devices in the same way. (Id.; KSR International Co. v. Teleflex

Inc., 550 U.S. 398, 416-17 (2007).)

          4.        Independent claim 1 would have been obvious over Natarajan
                    in view of Neve.

                    (a)   Natarajan and Neve eacch disclose “[a] data network sys-
                                         n coordinated operation of a pluralitty of
                          tem for effecting
                          electronic devices,” as recited in claim 1.

      Natarajan discloses a multiaccess protocol for a plurality of mobile electron-

ic devices in “an indoor digital data communication system” where “registration is

needed to associate each mobile unit in the network with the intended base sta-

tion.” (Natarajan, 1:67-68, 6:48-54, FIG. 1.) Neve similarly discloses “[a] commu-


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nication system able to provide multiple path communication between a plurality

of stations operating on a single channel.” (Neve, Abstract.) “A large number of

communication stations…may be provided in a communication network operating

on the same radio frequency.” (Id. at 4:6-9, FIG. 9.) Thus, Natarajan and Neve

each disclose “[a] data network system for effecting coordinated operation of a

plurality of electronic devices,” as recited in claim 1. (Grimes Dec. ¶¶ 95-96.)

                (b)    Natarajan and Neve each disclose “a server microcom-
                       puter unit” as recited in claim 1.
      Natarajan discloses “a base station 26 or 28, which may be [a] conventional

microcomputer” and that a “server” is “typically also a conventional microcomput-

er.” (Natarajan, 2:40-45, FIGS. 1-2.) Neve similarly discloses that “[o]ne station,

which is physically similar to the others but operates a different stored program,

may be designated the master station and provides synchronisation signals for all

of the other stations (referred to hereinafter as ‘slave’ stations) and controls access

of the stations to the single radio channel.” (Neve, 4:10-15, FIG. 9.) Each station

includes “a digital control processor 8 controlled by a stored program in memory

9.” (Id. at 3:64-66, FIGS. 1, 4, and 5.) Neve also describes that the units are porta-

ble. (See e.g., id. at 2:49-55.) Thus, Natarajan and Neve each disclose “a server mi-

crocomputer unit” as recited in claim 1. (Grimes Dec. ¶¶ 97-98.)




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                (c)   Natarajan and Neve in combination disclose “a plurality
                      of peripheral units which are battery powered and port-
                      able, which provide either input information from the
                      user or output information to the user, and which are
                      adapted to operate within short range of said server
                      unit” as recited in claim 1.
      Natarajan discloses a system with a plurality of “mobile units” that are de-

signed “for conserving battery power in a wireless link adapter of a battery operat-

ed computer such as a portable laptop computer.” (Natarajan, Abstract, FIG. 1.)

Neve similarly discloses that the devices each have “a small primary battery” for a

“complete self-contained data transmitting and receiving device [that] may be

made in a package only a few centimeters in each dimension, allowing it to be

mounted almost anywhere that communication is required” (i.e., “portable”).

(Neve, 2:48-59.) Thus, Natarajan and Neve each disclose that the peripheral units

are “battery powered and portable.” (Grimes Dec. ¶ 99.)

      Natarajan discloses that “[t]he mobile station may itself be a hand held or

laptop computer such as an IBM PS/2 Model L40 SX laptop computer.” (Nata-

rajan, 2:58-60.) Natarajan further discloses that “computer 50 runs an operating

system 70 which supports one or more user application programs 72.” (Id. at 3:50-

51.) A POSA would have understood that “user application programs” of a “hand

held or laptop computer” would have been used to provide “input information from

the user” and “output information to the user,” as recited in claim 1. (Grimes Dec.

¶ 100.) The “user application programs” are the vehicle by which input is provided


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from the user and output is provided to the user. (Id.) For example, Natarajan de-

scribes that during Period A, data is transmitted from the base station to the mobile

unit. (Natarajan, 4:30-32.) And during Period B, data is transmitted from the mo-

bile unit to the base station. (Id. at 4:33-35.) Transmissions occur according to a

“Receiving Users Index” and a “Transmitting Users Index.” (Id. at 6:17-21, 6:32-

34.) Natarajan further describes that “[m]ost users are very likely to be inactive

(both Transmit-Inactive and Receive-Inactive) most of the time for most applica-

tions.” (Id. at 6:41-44.) In view of Natarajan’s disclosure, a POSA would have un-

derstood that the user can be an active participant in supplying the “input infor-

mation” and receiving the “output information” via the mobile units, for example,

by using the “user application programs.” (Grimes Dec. ¶ 100.) Thus, Natarajan

discloses that the peripheral devices “provide either input information from the us-

er or output information to the user.” (Id.)

      Natarajan further discloses that “[t]here has been recent work directed to the

design of multiaccess protocols for portable mobile computer users, as well as

movable boundary protocols for supporting integrated voice/data users in mobile

indoor radio networks.” (Natarajan, 1:39-43 (emphasis added).) A POSA would

have understood that portable computers operating in an indoor network would

have been “adapted to operate within short range of said server unit.” (Grimes Dec.

¶ 101.) Similarly, Neve discloses that its system can be used in an industrial plant,



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such as an oil refinery, where “there may typically be of the order of 4000 points

between which it is desired to provide data communication for process control

purposes…3000 sensors at various points in the plant and perhaps 1000 receiving

devices, such as data recording devices or actuators.” (Neve, 1:10-15, 1:34-40.) In

this environment, the peripheral units would have been “adapted to operate within

short range of said server unit.” (Grimes Dec. ¶ 101.)

      Accordingly, the combination of Natarajan and Neve discloses “a plurality

of peripheral units which are battery powered and portable, which provide either

input information from the user or output information to the user, and which are

adapted to operate within short range of said server unit” as recited in claim 1. (Id.

at 102.)

                 (d)   Natarajan and Neve in combination disclose “said server
                       microcomputer incorporating an RF transmitter for
                       sending commands and synchronizing information to
                       said peripheral units” as recited in claim 1.
      Natarajan discloses that the base station has an RF transceiver, that is, both

an RF transmitter and an RF receiver. (Natarajan, 2:51-58, FIGS. 2 and 3; Grimes

Dec. ¶ 103.) Neve similarly discloses “a radio transmitter and receiver apparatus”

which has “a transmitter and receiver device (transceiver) 2 which includes an an-

tenna 3, a transmitter circuit 4 and a receiver circuit 5.” (Neve, 3:59-63, FIGS. 1

and 3.)




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      Natarajan discloses that the base station transmitter sends “commands” to

the peripheral units, for example, the headers AH and BH discussed above contain-

ing information about which mobile units will receive (or transmit) data and the

order in which they will do so. (Natarajan, 4:20-5:19; Grimes Dec. ¶ 104.) Neve

similarly discloses that the master station allocates time slots for communication to

the slave stations. (Neve, 3:26-28.) The instruction as to which time slot to com-

municate in is a “command” sent from the master station to the slave station.

(Grimes Dec. ¶ 104.) Further, Neve discloses that the slave station “responds to

commands on the channel and takes part in transmission and reception.” (Neve,

7:46-49.) These “commands” would have been sent by the master station. (Grimes

Dec. ¶ 104.) Thus, Natarajan and Neve each disclose that the server microcomputer

sends commands to the peripheral units. (Id.)

      As discussed above, Natarajan teaches that coordinated timing of transmis-

sions is important. Natarajan teaches the need for a “registration period” to associ-

ate the mobile units with the base station (Natarajan, 6:48-54), “high-resolution

time interval determination hardware” and “timers” (id. at 3:18-21, FIG 3), and

that the receiving mobile units can compute exactly when to wake up to receive da-

ta packets from the base station (id. at 4:67-5:4). Thus, Natarajan clearly contem-

plates the need for precise timing of data transmissions between the base station

and mobile units. (Grimes Dec. ¶ 105.) So, although Natarajan does not explicitly



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disclose that the base station transmitter sends “synchronizing information” to the

mobile units, this feature would have been obvious to a POSA in view of Neve.

(Id.) Neve discloses that the master station “provides synchronisation signals for

all of the other stations.” (Neve, 4:10-13, FIG. 2.) Indeed, “[o]ne time slot in each

cycle is reserved for the transmission of synchronization information by a station

designated the master station for reception by the other stations, designated slave

stations, and maintaining synchronization therein.” (Id. at Abstract.) When the

master and slave stations are synchronized, the respective transmitters and receiv-

ers can operate at the proper times to provide synchronized data communication.

(Grimes Dec. ¶ 106.) The known synchronization technique disclosed in Neve

would have improved Natarajan’s similar system in this same way. (Id.; KSR, 550

U.S. at 416-17.)

        Accordingly, Natarajan and Neve in combination disclose “said server mi-

crocomputer incorporating an RF transmitter for sending commands and synchro-

nizing information to said peripheral units” as recited in claim 1. (Grimes Dec. ¶

107.)




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                (e)   Natarajan and Neve in combination disclose “said pe-
                      ripheral units each including an RF receiver for detect-
                      ing said commands and synchronizing information and
                      including also an RF transmitter for sending input in-
                      formation from the user to said server microcomputer”
                      as recited in claim 1.
      FIG. 2 of Natarajan illustrates “the basic components of a mobile station and

a base station.” (Natarajan, 2:1-3.) Natarajan describes that “[t]he laptop computer

like the base station, is provided with an antenna 42 and a transceiver adapter 44.”

(Id. at 2:65-67, FIGS. 2 and 3.) Thus, the mobile units have an RF transceiver, that

is, both an RF transmitter and an RF receiver. (Grimes Dec. ¶ 108.) Neve similarly

discloses that the slave stations are “a radio transmitter and receiver apparatus”

which has “a transmitter and receiver device (transceiver) 2 which includes an an-

tenna 3, a transmitter circuit 4 and a receiver circuit 5.” (Neve, 3:59-63, FIGS. 1

and 3.)

      A POSA would have understood that the receivers in Natarajan and Neve

would have been the component responsible for detecting the “commands and syn-

chronizing information” described above. (Grimes Dec. ¶ 109.) Natarajan discloses

that “[p]ackets received or to be sent are held in data storage 68 and communicated

to or from the RF transceiver 54.” (Natarajan, 3:28-30.) Natarajan further discloses

that “each receiving mobile unit can compute exactly when it should be ready to

receive packets from the base station” (id. at 4:67-5:2) and that “each mobile unit

can compute exactly when it should begin its transmission…it can schedule to


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wake up its transmitter at its designated time and then go to sleep (i.e., shut both its

transmitter and receiver OFF)” (id. at 5:20-26). And Neve discloses that “[o]ne

time slot in each cycle is reserved for the transmission of synchronization infor-

mation by a station designated the master station for reception by the other sta-

tions, designated slave stations, and maintaining synchronization therein.” (Neve,

Abstract.) Neve further discloses that the slave station “responds to commands on

the channel and takes part in transmission and reception.” (Id. at 7:46-49.) These

“commands” would have been detected by the slave station’s receiver. (Grimes

Dec. ¶ 109.) Thus, Natarajan and Neve each disclose that the peripheral units re-

ceive commands and synchronization information sent from the server microcom-

puter. (Id.)

       Natarajan further discloses that the peripheral unit’s RF transmitter “send[s]

input information from the user to said server microcomputer.” (Id. at 110.) Nata-

rajan discloses that there are designated periods “for the contention-free transfer of

all traffic from mobile units to base station (inbound traffic)” and “the transfer of

all bursty data traffic in a contention mode from mobile units to base station.” (Na-

tarajan, 4:33-38.) A POSA would have understood that since the mobile units can

be a “hand held or laptop computer” (id. at 2:58-59), the data transferred from the

mobile units to the base station would have been “input information from the us-

er,” for example, via the “user application programs” (id. at 3:50-51; Grimes Dec.



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¶ 110.) Natarajan further discloses that inbound transmissions from the mobile

units occur according to a “Transmitting Users Index” (Natarajan, 6:32-34) and

that “[m]ost users are very likely to be inactive (both Transmit-Inactive and Re-

ceive-Inactive) most of the time for most applications” (id. at 6:41-43). In view of

Natarajan’s disclosure, a POSA would have understood that the user can be an ac-

tive participant in supplying the “input information” via the mobile units. (Grimes

Dec. ¶ 110.) And a POSA would have understood that the RF transmitter of the

mobile unit would have been responsible for sending this input information. (Id.)

Thus, Natarajan discloses that the peripheral devices include “an RF transmitter for

sending input information from the user to said server microcomputer.” (Id.)

      Accordingly, Natarajan and Neve in combination disclose “said peripheral

units each including an RF receiver for detecting said commands and synchroniz-

ing information and including also an RF transmitter for sending input information

from the user to said server microcomputer” as recited in claim 1. (Id. at 111.)

                (f)    Natarajan and Neve in combination disclose “said server
                       microcomputer including a receiver for receiving input
                       information transmitted from said peripheral units” as
                       recited in claim 1.
      Natarajan discloses that the base station has an RF transceiver, that is, both

an RF transmitter and an RF receiver. (Natarajan, 2:51-58, FIGS. 2 and 3; Grimes

Dec. ¶ 112.) Neve similarly discloses “a radio transmitter and receiver apparatus”

which has “a transmitter and receiver device (transceiver) 2 which includes an an-


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tenna 3, a transmitter circuit 4 and a receiver circuit 5.” (Neve, 3:59-63, FIGS. 1

and 3.)

        Natarajan discloses that “[h]eader BH contains an ordered list of users that

will be allowed to transmit to the base station in the current frame.” (Natarajan,

5:9-11.) Neve similarly discloses that there is a designated time slot where “the

master station receives” from the slave stations. (Neve, 7:31-34.) As discussed

above, a POSA would have understood that since the mobile units in Natarajan can

be a “hand held or laptop computer” (Natarajan, 2:58-29), the data transferred from

the mobile units to the base station would have been “input information” and that

the receivers in the base/master stations of Natarajan and Neve would have been

the component responsible for receiving the “input information.” (Grimes Dec. ¶

113.)

        Accordingly, Natarajan and Neve in combination disclose “said server mi-

crocomputer including a receiver for receiving input information transmitted from

said peripheral units” as recited in claim 1. (Id. at 114.)

                 (g)    Natarajan and Neve in combination disclose “said server
                        and peripheral transmitters being energized in low duty
                        cycle RF bursts at intervals determined by a code se-
                        quence which is timed in relation to said synchronizing
                        information” as recited in claim 1.
        Natarajan discloses that “[s]cheduled access multiaccess protocols can be

implemented to effectively conserve battery power by suitable control of the state



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of transmitter and receiver units at the portable units (i.e., by scheduling when they

should be turned ON or OFF)…the transmitter (or receiver) consumes power only

when it is actively transmitting a message (or actively receiving a message).” (Na-

tarajan, 3:59-4:6.) This constitutes “low duty cycle RF bursts.” (Grimes Dec. ¶

115.) Natarajan also discloses that there is a period “for the transfer of all bursty

data traffic in a contention mode from mobile units to base station (inbound traf-

fic), with a header CH.” (Natarajan, 4:36-38 (emphasis added).) Neve similarly

discloses a “low power duty cycle.” (Neve, 5:60-61.) Neve also discloses that

“[t]he slave stations operate in a low power condition except during one of the oth-

er time slots when they may receive their own address, or except when they need

to transmit data” (id. at Abstract) and that the interface circuit of each device is

“arranged to energise the transmitter circuit only when transmission is required”

(id. at 2:42-47). Thus, Natarajan and Neve each disclose that the transmitters are

“energized in low duty cycle RF bursts.” (Grimes Dec. ¶ 115.)

      Natarajan also discloses transmission “intervals determined by a code se-

quence” as recited by claim 1. (Id. at

116.) FIG. 4 of Natarajan illustrates an

example of a scheduled multiaccess

protocol “in which time is divided into

fixed-length frames, and frames are



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divided into slots.” (Natarajan, 4:20-23, FIG. 4.) As discussed above, Natarajan

discloses that headers AH and BH are a coded description of mobile units that will

receive and/or transmit data in a given time frame. (Id. at 6:15-33.) Natarajan dis-

closes that a sequence of ones and zeros (i.e., a series of values) indicates whether

or not a mobile unit is designated to receive (or transmit) data during a specified

time slot. (Id. at 6:59-68.) For example, in header AH shown in FIG. 5, the “1” in

the 4th, 8th, and 9th bit locations indicates that the corresponding mobile units are

designated to receive a message in their respective time slots. (Id.) Therefore, dur-

ing these time slots, the base station’s (server unit) transmitter is energized to

transmit data to the mobile units. (Grimes Dec. ¶ 116.) Similarly, header BH des-

ignates which mobile stations are to transmit to the base station and when. (Nata-

rajan, 5:9-11.) Each mobile station can compute exactly when it should begin its

transmission, energize its transmitter during its respective time slot to transmit to

the base station, and then power off its transmitter. (Id. at 5:20-29.) If a mobile sta-

tion is not designated by header BH to transmit, its transmitter is depowered during

its time slot. (Id. at 8:54-62.) Therefore, the “code sequence” disclosed by Nata-

rajan is a series of values, where each value in the series represents a time slot

where a unit’s transmitter is energized or a time slot where a unit’s transmitter is

depowered.5 (Grimes Dec. ¶ 116.)

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          Should the Board adopt a broader construction of “code sequence,” this


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      As discussed above, Natarajan teaches the need for a “registration period” to

associate the mobile units with the base station (Natarajan, 6:48-54), “high-

resolution time interval determination hardware” and “timers” (id. at 3:18-21, FIG

3), and that the transmitters can turn on only when it is their turn to transmit (id. at

3:66-4:6). Thus, although Natarajan does not explicitly disclose that the base sta-

tion transmitter sends “synchronizing information” to the mobile units, this feature

would have been obvious to a POSA in view of Neve. (Grimes Dec. ¶ 117.) In par-

ticular, a POSA would have found the “registration period” to be a logical time to

transmit synchronization information, so that the timers were synchronized before

the data transmission schedule began. (Id.)

      The combination of Natarajan and Neve teaches that the “code sequence” is

“timed in relation to said synchronizing information.” (Id. at 118.) A POSA would

have understood this broad term to mean that the “synchronizing information” is

transmitted either before or after the “code sequence.” (Id.) Neve discloses that the

master station “provides synchronisation signals for all of the other stations.”

(Neve, 4:10-13, FIG. 2.) Indeed, “[o]ne time slot in each cycle is reserved for the

transmission of synchronization information by a station designated the master sta-

tion for reception by the other stations, designated slave stations, and maintaining

synchronization therein.” (Id. at Abstract.) A POSA would have found it logical to

feature would still be disclosed by Natarajan. (Grimes Dec. ¶ 120.)


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transmit synchronization information as taught in Neve during the registration pe-

riod disclosed in Natarajan in order to accurately synchroonize the devices to carry

out the data transmission schedule disclosed in Natarajan. (Grimes Dec. ¶ 118.)

The code sequence would therefore be “timed in relation to said synchronizing in-

formation” in that it would have been transmitttted after thhe timers were synchro-

nized. (Id.)

      Accordingly, Natarajan and Neve in combination disclose “said server and

peripheral transmitters being energized in low duty cycle RF bursts at intervals de-

termined by a code sequence which is timed in relation to said synchronizing in-

formation” as recited in claim 1. (Id. at 119.)

          5.    Claim 2 would have been obvious over Natarajan in view of
                Neve.
      The above explanation pertaining to claim 1 also applies to claim 2, which

depends therefrom. Natarajan and Neve each disclose the additional limitation of

claim 2: “wherein said server and peripheral units are allocated respective time

slots within a predetermined frame interval for transmitting.” Natarajan discloses

“a scheduled multiaccess protocol is used in which time is divided into fixed-

length frames, and frames are divided into slots” with “Period A for broadcaast of

packets from base station to mobile units (outbound traffic)” and “Period B for the

contention-free transfer of all traffic from mobile units to base station (inbound

traffic).” (Natarajan, 4:20-38, FIG. 4.) Neve similarly discloses that the master sta-


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tion defines “a cyclic sequence of time slots” where the master station transmits a

synchronization word to the slave stations during a synchronization time slot and

the slave stations transmit to the master station in an interrupt time slot. (Neve, 3:9-

17, 7:27:33.) Thus, Natarajan and Neve each disclose the limitation recited in

claim 2. (Grimes Dec. ¶¶ 121-22.)

          6.    Claim 3 would have been obvious over Natarajan in view of
                Neve.

      The above explanation pertaining to claims 1 and 2 also applies to claim 3,

which depends therefrom. Natarajan and Neve in combination disclose the addi-

tional limitation of claim 3: “wherein a code sequence for a given one of said units

is transmitted within a respective time slot.” To the extent claim 3 includes a draft-

       o and should recite “the code sequence…is transmitted within a respective
ing error

time slot,” the discussion above for claim 1 applies to claim 3. More specifically,

the header AH or BH is transmitted in a particular time slot. (See Natarajan, FIG.

4.) And although the code sequence is transmittted to all mobile units, it is also for

“a given one of said units” because it contains either a one or zero to instruct each

particular unit whether or not it will communicate with the base station. (Grimes

Dec. ¶ 123.)

      To the extent the recited “code sequence” is another “code sequence,” Nata-

rajan discloses that header AH or BH includes a one or zero in the bit location for

each designated mobile unit and that “[t]he content of each bit location signals the


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receiver activity of the user designated or indexed by the bit location.” (Natarajan,

6:55-68.) Thus, the one or zero is the “code sequence for a given one of said units”

and it is “transmitted within a respective time slot”—the header time slot—as re-

cited by claim 3. (Grimes Dec. ¶ 124.) Thus, Natarajan and Neve in combination

disclose the limitation recited in claim 3. (Id. at 125.)

          7.     Claim 4 would have been obvious over Natarajan in view of
                 Neve.

      The above explanation pertaining to claim 1 also applies to claim 4, which

depends therefrom. Natarajan and Neve in combination disclose the additional lim-

itation of claim 4: “wherein said server microcomputer unit transmits RF synchro-

nizing beacons at times within each of a predetteermined sequence of frames which

times vary in accordance with a code unique to the particular server microcom-

puter unit.” Neve discloses that the master station “provides synchronisation sig-

nals for all of the other stations” (Neve, 4:10-15) and that “[o]ne time slot in each

cycle is reserved for the transmission of synchronization information by a station

designated the master station for reception by the other stations” (Idd. at Abstract).

Neve also discloses that each receiver has “a pre-assigned address” for “uniquely

identifying the device.” (Id. at 4:38-43.) Natarajan similarly discloses that the re-

ceivers are able “to recognize a specific adaptor address as well as a broadcast ad-

dress.” (Natarajan, 3:41-46) Natarajan explains; “assume that there are N users in

the system, say, N=64. Then the users can be indexed from 1 to 64 by the base sta-


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tion in each user’s initial registration period. The registration is needed to associate

each mobile unit in the network with the intended base station.” (Natarajan, 6:49-

54.) As a result, each base station sends a unique code that registers and addresses

a subset of the mobile units. (Grimes Dec. ¶ 126.) Thus, a POSA would have found

it obvious to include “a code unique to the particular server microcomputer unit”

because of the need to associate a group of mobile units with each base station.

(Id.) Therefore, the limitation recited in claim 4 would have been obvious to a

POSA. (Id.)




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IX.   CONCLUSION
      Inter partes review of claims 1-4 of U.S. Patent No. 6,128,290 is requested.

                                  Respectfully submitted,
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                APPENDIX A – EXHIBIT LIST

Exhibit No.                            Description
APL 1001      U.S. Patent No. 6,128,290 to Carvey (“the ʼ290 patent”)
APL 1002      T. J. Barber, Jr., “BodyLAN™: A Low Power Communications
              System,” Masterʼs Thesis at Massachusetts Institute of Technol-
              ogy, 1996 (“Barber”)
APL 1003      U.S. Patent No. 5,241,542 to Natarajan (“Natarajan”)
APL 1004      U.S. Patent No. 4,887,266 to Neve (“Neve”)
APL 1005      Prosecution History of U.S. Application No. 08/949,999 (now
              U.S. Patent No. 6,128,290) (“the ’999 application”)
APL 1006      U.S. Application No. 08/611,695 (as-filed) (“the ’695 applica-
              tion”)
APL 1007      Apple’s Claim Construction Brief in Case No. 6:13-cv-00919
              JDL (EDTX)
APL 1008      Declaration of Jack D. Grimes, Ph.D. in Support of Petition for
              Inter Partes Review of U.S. Patent No. 6,128,290 (“Grimes
              Dec.”)
APL 1009      Curriculum Vitae of Jack D. Grimes, Ph.D. (“Grimes CV”)




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      CERTIFICATION OF SERVICE (37 C.F.R. §§ 42.6(e), 42.105(a))

           The undersigned hereby certifies that the above-captioned PETITION

 FOR INTER PARTES REVIEW OF U.S. PATENT NO. 6,128,290, Petition-

 er’s power of attorney, and all associated exhibits were served in their entireties

 on December 4, 2014, on the following parties via FedEx®:

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 6,128,290

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       UNITED STATES PATENT AND TRADEMARK OFFICE
                      ______________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      ______________

                         APPLE, INC.,
                          Petitioners,

                               v.

            DSS TECHNOLOGY MANAGEMENT, INC.,
                       Patent Owner.

                         ____________

                     Case: IPR2015-00369
                    U.S. Patent No. 6,128,290

                         ____________

PATENT OWNER DSS TECHNOLOGY MANAGEMENT, INC.’S
 PRELIMINARY RESPONSE PURSUANT TO 37 C.F.R. §42.107




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Patent No. 6,128,290
IPR2015-00369
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                      PATENT OWNER’S LIST OF EXHIBITS

DSS-2001    U.S. Patent No. 5,699,357

DSS-2002    Definition of “e.g.,” Black’s Law Dictionary (9th ed. 2009).




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Patent No. 6,128,290
IPR2015-00369
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I. INTRODUCTION


       Pursuant to 37 C.F.R. § 42.207(a), the patent owner, DSS Technology Management, Inc.,

(“Patent Owner”), hereby submits the following Preliminary Response in response to the Petition

for Inter Partes Review (“IPR”) of U.S. Patent No. 6,128,290 (“the ‘290 Patent”) (APL-1001).

       The ‘290 Patent, entitled “Personal Data Network,” issued on October 3, 2000 and has a

priority date of March 6, 1996. The ‘290 Patent contains eleven (11) claims, of which claims 1, 5,

6, 9, and 15 are independent. Petitioner challenges validity of claims 1-4. Petitioner advances the

following two invalidity challenges:

       (1) obviousness of claims 1-4 under 35 U.S.C. §103 based on a Master’s Thesis entitled

           “BodyLANTM: A Low-Power Communications System” by Thomas J. Barber Jr.

           (“Barber”) (APL-1002); and

       (2) obviousness of claims 1-4 under 35 U.S.C. §103 based on U.S. Patent No. 5,241,542

           to Natarajan et al. (“Natarajan”) (APL-1003) in view of U.S. Patent No. 4,887,266 to

           Neve et al. (“Neve”) (APL-1004).

       To institute an IPR review, Petitioner must satisfy its burden of establishing that there is a

reasonable likelihood that at least one of the challenged claims of the ‘290 Patent is unpatentable.

See 37 C.F.R. § 42.108(c). “The Director may not authorize an inter partes review to be instituted

unless the Director determines that the information presented in the petition filed under section

311 and any response filed under section 313 shows that there is a reasonable likelihood that the

petitioner would prevail with respect to at least one of the claims challenged in the petition.” 35

U.S.C. § 314(a). Here, Petitioner failed to meet its burden, and therefore, the Patent Trial and



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Appeal Board (“the Board”) should deny the Petition in its entirety and decline to institute trial

against claims 1-4 of the ‘290 Patent.


II. STATEMENT OF RELIEF REQUESTED


       Patent Owner respectfully requests the Board to deny the Petition for an IPR of claims 1-4

of the ‘290 Patent because Petitioner has failed to prove that there is a reasonable likelihood that

the challenged claims are unpatentable under 35 U.S.C. § 103.


III. RELATED IPR PETITION


       Petitioner filed another IPR petition against claims 6, 7, 9, and 10 of the ‘290 Patent in case

IPR2015-00373. The Board’s decision in the present case is likely to be pertinent to at least some

of the invalidity challenges advanced by Petitioner in case IPR2015-00373.


IV. OVERVIEW OF THE INVENTION CLAIMED IN THE ‘290 PATENT

       In its summary of the ‘290 Patent, Petitioner omitted several material elements of the

claimed invention. The following overview provides a brief description of the data network system

disclosed and claimed in the ‘290 Patent, focusing on the elements Petitioner failed to discuss.

       A. Summary of the ‘290 Patent

       The ‘290 Patent discloses and claims a data network system that improves bidirectional

wireless data communications between a server microcomputer unit and a plurality of peripheral

units. See APL 1001, ‘290 Patent at 1:11-14. At the time of invention, two major issues hindered

widespread adoption of wireless data communication systems: (1) short battery life and (2)



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interference from other wireless data systems operating nearby. See id. at Abstract. The ‘290 Patent

advanced the state of the art by ameliorating both issues.

       The ‘290 Patent discloses and claims a wireless data system, in which both the server and

peripheral transmitters are energized in low duty cycle RF bursts. See id. at claim 1. This feature

of the claimed invention achieves two important objectives: (1) it reduces power usage for both

the server and the peripheral units because the server transmitter is only energized when the server

must transmit data; and (2) it reduces likelihood of interference between nearby wireless ensembles

because the server transmits signals only during scheduled communications with a peripheral unit.

See id. at 1:59-61. The specification of the ‘290 Patent explains that “[i]f during a particular bit

period, two RF bursts are being simultaneously received, one from a transmitter in the home

ensemble and the other from a foreign ensemble, the receiver will ‘capture’ only the data received

from the stronger of two transmitters.” Id. at 6:36-40. Accordingly, by claiming a system in which

both the server and peripheral transmitters operate in low duty cycle RF bursts, the ‘290 Patent

significantly reduces the number of transmissions outgoing from the server unit, thereby

decreasing the likelihood that nearby peripheral units belonging to a foreign ensemble will receive

an unintended data signal from the server. Id. at 1:59-61.

       At the time of filing of the ‘290 Patent, the accepted convention in wireless data systems

technology was for a server transmitter to continuously transmit data, regardless of whether any

peripheral units were receiving that data. See, e.g., APL 1004, Neve at 4:48-50 (disclosing that the

server unit transmits “idle words” when no active data transmission is scheduled). While the server

transmitter is outputting a continuous data stream, the peripheral units schedule to wake

themselves up at designated times to receive or transmit data and remain powered down at all other

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times. See, e.g., APL 1003, Natarajan at 5:2-4. In such a system, it is only necessary to ensure that

the peripheral receivers are energized at an appropriate time to receive the designated data segment

within the continuous data stream. This scheme is advantageous because it does not require the

server transmitter to be separately energized for each individual transmission to a peripheral unit—

instead, the server must only be energized once to initiate the continuous transmission of the data

stream, and the peripheral units are timed to listen in at appropriate times. If no data has to be

transmitted, the server remains energized and transmits idle signals. See APL 1004, Neve at 4:48-

50.

       In sharp contrast, the ‘290 Patent claims a system in which the server transmitter does not

send a continuous data stream, but instead is energized in RF bursts only when active data

transmission between the server unit and a peripheral unit is scheduled to occur. See id. at 1:59-

61. The data network system disclosed in the ‘290 Patent employs a complex synchronization

scheme to achieve a functioning system in which both the server and peripheral transmitters are

energized in low duty cycle RF bursts. See id. at 10:5-11:8. The server unit must initiate a separate

transmission to each unit at the exact time as the peripheral unit’s receiver is tuning in to listen.

This scheme introduces complexities to the data network system because the server must be very

closely synchronized with the peripheral units. For this reason, the ‘290 Patent discloses a complex

synchronization scheme in which the peripheral units are equipped with voltage controlled crystal

oscillators, whose frequency must be aligned with the frequency of the server’s oscillator to

establish precise synchronization between the server unit and the peripheral unit. See id. at 10:35-

61. The ‘290 Patent introduces these complexities into a wireless data system to allow both the




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server and peripheral transmitters to be energized only when an active data transmission must

occur and remain powered down at all other times.

        In conclusion, the ‘290 Patent explicitly states that its objectives include “provision of such

a data network which requires extremely low power consumption” and “avoids interference from

nearby similar systems.” Id. at 1:39-44. The ‘290 Patent achieves these objectives by creating a

data network system in which, inter alia, both “server and peripheral transmitters [are] energized

in low duty cycle RF bursts.” Id. at claim 1 (emphasis added); see also id. at 1:59-61 (“The low

duty cycle pulsed operation both substantially reduces power consumption and facilitates the

rejection of interfering signals.”).

        B. Priority date of the ’290 Patent

        The ’290 Patent issued from Application No. 08/949,999 (“the ’999 application”) (APL

1005) filed on October 14, 1997. The ‘290 Patent claims the benefit of priority from the U.S.

Application No. 08/611,695 (“the ’695 Application”) (APL 1006) on a basis of being continuation-

in-part thereof. The ‘695 Application was filed on March 6, 1996 and issued into the U.S. Patent

No. 5,699,357 (“the ‘357 Patent) (DSS-2001). Challenged claims 1-4 are fully supported by the

original disclosure of the ‘695 Application for the reasons provided below, and therefore, are

entitled to the priority date of the ‘695 Application.

        Petitioner alleges that claim 1 recites new matter not disclosed in the ‘695 Application. See

Petition at pg. 6. This is not true. Petitioner fails to recognize that the ‘695 Application discloses

and claims a data network system having the exact same structure as the system claimed in the

’290 Patent, and therefore, all functional capabilities of the system claimed in the ‘290 Patent are



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250 nanoseconds. The 125-nanosecond transit time corresponds to a distance of approximately 37

meters.3

       Both the ‘290 Patent and the ‘695 Application expressly provide that the operable range of

the system to enable the protocol is constrained by the distance at which the “accuracy of

synchronization is not appreciably affected by transit time delays.” A POSA would appreciate that

the claimed system, as disclosed identically in both the ‘290 and ‘695 Applications, has a

maximum operational range that is greater than the non-limiting examples of two meters and

twenty meters disclosed in the ‘695 Application the ‘290 Patent respectively.

       In conclusion, the ‘695 Application discloses every limitation of claim 1, including the

disputed limitation “peripheral units . . . adapted to operate within short range of said server unit”

in a manner that satisfies the requirements of 35 U.S.C. § 112. Accordingly, the Board should find

that claims 1-4 of the ‘290 Patent are entitled to March 6, 1996 priority date of the ‘695

Application.


V. CLAIM CONSTRUCTION

       The Board generally interprets the claims of an unexpired patent according to the broadest

reasonable interpretation (“BRI”) standard. See 37 C.F.R. § 42.100(b).

       1. Adapted to operate within a short range of [said server unit]
       The phrase “adapted to operate within a short range of [said server unit]” is defined in the

specification of the ‘290 Patent as a distance that does not meaningfully affect the radio frequency


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 The time of flight for the signals is determined by the speed of light in air, which is
approximately 1 meter per 3.33 nanoseconds. In 125 nanoseconds, a signal will travel 37.54
meters.
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transmission transit time. See APL 1001, ‘290 Patent at 1:50-56. Patent Owner proposes that this

phrase be construed as “adapted to operate within a range where the transmission transit time

does not meaningfully affect the accuracy of synchronization.” This construction is precisely

how the inventor defined it: “[t]he short distances involved means that accuracy of synchronization

is not appreciably affected by transit time delays.” See APL 1001, ‘290 Patent at 1:50-56.

       Petitioner’s proposed construction is based on a non-limiting example provided in the ‘290

specification. Petitioner contends that short range has no common meaning in the art, and thus,

reasons that “short range” should be construed in view of the specification. See Petition at pg. 9.

Petitioner further states that “[t]he ’290 patent is clear that short range is ‘close physical proximity,

e.g., within twenty meters.’” Petition at pg. 29 (citing APL 1001, ’290 patent at 1:50-56). Petitioner

fails to disclose the complete passage relating to “close physical proximity” on which it relies in

defining “short range” as “within twenty meters.” The complete passage is as follows:

                 The data network of the present invention utilizes the fact that
                 the server microcomputer unit and the several peripheral
                 units which are linked are all in close physical proximity,
                 e.g., within twenty meters, to establish, with very high
                 accuracy, a common time base or synchronization. The short
                 distances involved [sic] means that accuracy of the
                 synchronization is not appreciably affected by transit time
                 delays.

                 See APL 1001, ‘290 Patent, at 1:50-56 (emphasis added).

Accordingly, the ‘290 Patent teaches that the peripheral and server units must be in close physical

proximity to establish a common time base so that the synchronization is not appreciably affected

by transit time delays.

        The term “e.g.” means “for example.” DSS-2002. The use of the terms “for example”

specifically signifies the broader scope than encompassed by the example. Any distance, so long


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as “the accuracy of the synchronization is not appreciably affected by transit time delays” is within

the operable range of the invention. Lacking clear disclaimer, the phrase “within a short range”

should be given the broader definition, which complies with the BRI standard, provided by the

inventor and proposed here by the Patent Owner.

       Furthermore, as explained in Part IV.B.1, supra, a POSA would understand that the term

“short range” is not limited by an exemplary operable range, but instead, is constrained by the

technical aspects of the invention. Specifically, the ‘290 Patent explicitly required that the “short

distances” involved are such that synchronization is not appreciably affected by transit time delays.

As shown in Part IV.B.1(c), supra, the maximum operational range of the disclosed data network

system extends beyond the twenty-meter example. See Part IV.B.1., supra. Accordingly, under the

BRI standard, the Board should construe the limitation “adapted to operate within a short range”

as “a distance at which the accuracy of the synchronization is not appreciably affected by transit

time delays.”

       2. Energized in low duty cycle RF bursts

       Patent Owner proposes that the claim language “energized in low duty cycle RF bursts”

be given its plain and ordinary meaning. Alternatively, if the Board finds any ambiguity, the

specification of the ‘290 Patent states that “[t]he low duty cycle pulsed operation both substantially

reduces power consumption and facilitates the rejection of interfering signals.” APL 1001, ‘290

Patent at 1:59-61. Accordingly, the limitation “energized in low duty cycle RF bursts” should be

construed as “a pulsed operation that substantially reduces power consumption and facilitates

the rejection of interfering signals.”




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       Although Petitioner did not provide an explicit construction for this claim term, both

Petitioner and Petitioner’s expert stated that a transmitter is energized in low duty cycle RF bursts

if the transmitter “consumes power only when it is actively transmitting a message.” See Petition

at pg. 54; see also APL 1008 at ¶115.

       Patent Owner believes that the Board’s decision on whether to institute trial will be the

same under either construction.


VI. PETITIONER HAS FAILED TO PROVE THAT THERE IS A REASONABLE
    LIKELIHOOD THAT AT LEAST ONE CLAIM OF THE ‘290 PATENT IS
    UNPATENTABLE


       A. Challenge #1: Barber does not qualify as prior art against the ‘290 Patent


       As established in Part IV.B., supra, claims 1-4 of the ‘290 Patent are entitled to March 6,

1996 priority date. Barber did not become publicly available at least until April 11, 1996. For this

reason, Barber does not qualify as prior art against claims 1-4 of the ‘290 Patent. Accordingly, the

Board should deny Petitioner’s invalidity challenge based on this reference.

       B. Challenge #2: There is no reasonable likelihood that claims 1-4 are obvious based
          on Natarajan in view of Neve


       In a trial before the Board, Petitioner “has the burden of proof to establish that it is entitled

to the requested relief.” See 37 C.F.R. §42.20(c). In this case, Petitioner has not met this burden

because the combination of the cited prior art references does not teach or suggest all limitations

of challenged claim 1.

               1. Natarajan does not disclose that the server transmitter is energized in low
                  duty cycle RF bursts



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       It is well established in the United States patent law that challenges on obviousness grounds

cannot be sustained by mere conclusory statements. See KSR Int'l Co. v. Teleflex Inc., 550 U.S.

398, 418 (2007) (quoting In re Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). Instead, “there must be

some articulated reasoning with some rational underpinning to support the legal conclusion of

obviousness.” Id. As the Federal Circuit eloquently stated: “[o]bviousness requires a court to walk

a tightrope blindfolded (to avoid hindsight) – an enterprise best pursued with the safety net of

objective evidence.” See Mintz v. Dietz & Watson, Inc., 679 F. 3d 1372, 1379 (Fed. Cir. 2012).

       In its invalidity challenge based on Natarajan in view of Neve, Petitioner ignores a material

limitation of claim 1: “said server and peripheral transmitters being energized in low duty cycle

RF bursts.” APL 1001, ‘290 Patent at claim 1. Petitioner profusely quotes disclosures of Natarajan

and Neve teaching that the transmitters of the peripheral units (i.e. mobile units, portable units,

slave stations) are energized only when they are actively transmitting data. See Petition at pg. 53.

Petitioner, however, does not provide any objective evidence that could reasonably lead to a

conclusion that these references also disclose that the transmitter of the server unit (i.e. base, hub,

master) is energized in low duty cycle RF bursts.

       Based on its analysis of Natarajan and Neve’s descriptions of how the peripheral units

operate, Petitioner concludes that “Natarajan and Neve each disclose that the transmitters are

‘energized in low duty cycle RF bursts.’” Id. (emphasis added). Petitioner, therefore, completely

ignores the fact that claim 1 does not merely recite “transmitters,” but rather, it explicitly requires

“said server and peripheral transmitters being energized in low duty cycle RF bursts.” APL 1001,

‘290 Patent at claim 1. In fact, other than the excerpt quoted below, Part VIII.B.4(g) of the Petition



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provides no reasoning as to why the cited prior art could render obvious the limitation of claim 1

requiring the server transmitter to be energized in low duty cycle RF bursts:

               For example, in header AH shown in FIG. 5, the “1” in the 4th, 8th,
               and 9th bit locations indicates that the corresponding mobile units
               are designated to receive a message in their respective time slots.
               (Id.) Therefore, during these time slots, the base station’s (server
               unit) transmitter is energized to transmit data to the mobile units.
               (Grimes Dec. ¶ 116.)
               Petition at pg. 54 (emphasis added)


       Patent Owner does not dispute the correctness of this assertion. However, the premise that

the server transmitter is energized during the time slots at which the mobile units are scheduled to

receive data does not logically lead to a conclusion that the server transmitter is powered OFF

during the remaining time slots when no active transmission between the server and peripheral

units occurs. According to Petitioner, to satisfy the “low duty cycle” limitation of claim 1, the

transmitter must be powered ON only during data transfer and powered OFF at all other times. See

Petition at pg. 53; see also APL 1008, Grimes Dec. at ¶115. Natarajan and Neve do not disclose

that the server transmitter operates in such a way. Therefore, even under Petitioner’s interpretation

of the terms “energized in low duty cycle RF bursts,” Natarajan and Neve fail to teach or suggest

that the transmitter of the server unit is energized in low duty cycle RF bursts.

       Natarajan discloses in detail the scheduling plan according to which “[e]ach receiving

mobile unit goes to sleep after scheduling to wake itself up at its designated time for receiving

data. After receiving its packets, the mobile unit goes to sleep for the remainder of period A.” APL

1003, Natarajan at 5:2-6. Notably, Natarajan states nothing about the server transmitter turning

itself OFF and scheduling to wake up at an appropriate time to transmit data to the receiving mobile

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units. In fact, when Natarajan calculates the power savings provided by its system, it only takes

into account the savings associated with the mobile unit operating in low duty cycle RF bursts. See

id. at 7:22-58. Natarajan neither teaches nor suggests that the operation of the server unit provides

any power savings, thereby further buttressing a conclusion that, unlike the mobile units, the server

transmitter does not operate in low duty cycle RF bursts.

       For the reasons set forth above, the Petition lacks any reasoning or objective evidence that

could reasonably establish that Natarajan and Neve teach or suggest that “said server and

peripheral transmitters are energized in low duty cycle RF bursts.”



               2. Neve teaches away from the server transmitter being energized in low duty
                  cycle RF bursts

       It has become axiomatic that "[a] prior art reference must be considered in its entirety, i.e.,

as a whole, including portions that would lead away from the claimed invention." W.L. Gore &

Associates, Inc. v. Garlock, Inc., 721 F.2d 1540 (Fed. Cir. 1983)). Neve explicitly discloses that

the server unit remains energized even when it is not actively transmitting any data to the peripheral

units. See APL 1004, Neve at 4:48-50. (“If no data is currently required to be transmitted, the

master station transmits idle words.”) (emphasis added). Neve explains that “the master station

has to allocate the various virtual circuits to the time slots in a manner avoiding interference

between the data paths whilst utilizing the available time slots efficiently. An idle word is

transmitted if no other transmission is needed.” See id. at 7:14-19. Accordingly, Neve discloses

a server transmitter that is constantly ON, even when no active data transfer is scheduled between

the server unit and a peripheral unit. For this reason, Neve not only lacks disclosure of “said server



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and peripheral transmitter being energized in low duty cycle RF bursts,” but in fact, teaches away

from this limitation of claim 1.

        For the reasons set forth above, Natarajan in view of Neve do not render claim 1 obvious.

Claims 2-4 depend from patentable claim 1, and therefore are patentable as a matter of law. See In

re Fine, 837 F.2d 1071, 1076 (Fed. Cir. 1988). Accordingly, the Board should deny Petitioner’s

challenge of claims 1-4 based on obviousness over Natarajan in view of Neve.


        VII. CONCLUSION


        For the reasons set forth above, Petitioner failed to show that there is a reasonable

likelihood that Petitioner would prevail in an IPR trial with respect to a single claim of the ‘290

Patent based on the two challenges advanced in the Petition. Accordingly, the Board should deny

the Petition in its entirety and decline to institute the IPR trial of the ‘290 Patent.



Date: March 30, 2015                                            Respectfully submitted,

                                                                /andriy lytvyn/
                                                                Andriy Lytvyn
                                                                Lead Counsel for Patent Owner
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, in accordance with 37 C.F.R. § 42.6(e), the above

Preliminary Response of the Patent Owner and a copy of the Exhibits were served via electronic

mail on March 30, 2015, in their entirety upon the following:



David K.S. Cornwell, Lead Counsel for Petitioner
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Mark W. Rygiel, Back-Up Counsel for Petitioner
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Date: March 30, 2015                                       /andriy lytvyn/
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Trials@uspto.gov                                                 Paper No. 9
571-272-7822                                          Entered: June 25, 2015




       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                               APPLE INC.,
                                Petitioner,

                                     v.

             DSS TECHNOLOGY MANAGEMENT, INC.,
                        Patent Owner.
                        ____________

                           Case IPR2015-00369
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                              ____________



Before JAMESON LEE, MATTHEW R. CLEMENTS, and
CHARLES J. BOUDREAU, Administrative Patent Judges.

BOUDREAU, Administrative Patent Judge.

                                 DECISION
                     Institution of Inter Partes Review
                             37 C.F.R. § 42.108




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Patent 6,128,290

                              I. INTRODUCTION
      On December 4, 2014, Petitioner Apple Inc. (“Apple”) filed a Petition
(Paper 1, “Pet.”) requesting inter partes review of claims 1–4 of U.S. Patent
No. 6,128,290 (Ex. 1001, “the ’290 patent”). On March 30, 2015, Patent
Owner DSS Technology Management, Inc. (“DSS”) timely filed a
Preliminary Response (Paper 8, “Prelim. Resp.”). We have jurisdiction
under 35 U.S.C. § 314, which provides that inter partes review may not be
instituted “unless . . . there is a reasonable likelihood that the petitioner
would prevail with respect to at least 1 of the claims challenged in the
petition.” 35 U.S.C. § 314(a). Upon consideration of the Petition,
Preliminary Response, and the proffered evidence, we conclude that Apple
has established a reasonable likelihood that it would prevail in challenging
the patentability of claims 1–4 of the ’290 patent under 35 U.S.C. § 103(a)
on one of the grounds presented. Accordingly, we institute inter partes
review of those claims.

      A. Related Matters
      The parties inform us that the ’290 patent is the subject of two district
court actions: DSS Technology Management, Inc. v. Apple, Inc., No. 5:14-
cv-05330-LHK (N.D. Cal.), and DSS Technology Management, Inc. v.
Lenovo (United States), Inc., No. 6:14-cv-00525-JDL (E.D. Tex.). Pet. 3–4;
Paper 4, 2. Additionally, claims 6, 7, 9, and 10 of the ’290 patent are the
subject of a concurrently filed petition for inter partes review, IPR2015-
00373.

      B. The ’290 Patent (Ex. 1001)
      The ’290 patent, titled “Personal Data Network,” issued October 3,
2000, from U.S. Patent Application No. 08/949,999 (Ex. 1005, 22–62, “the

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’999 application”). The ’999 application was filed October 14, 1997, as a
continuation-in-part (“CIP”) of U.S. Patent Application No. 08/611,695 (Ex.
1006, 21–61, “the ’695 application”), filed March 6, 1996, which matured
into U.S. Patent No. 5,699,357 (Ex. 2001, “the ’357 patent”). See Ex. 1001,
col. 1, ll. 6–8.
       The ’290 patent relates to a data network for bidirectional wireless
data communications between a host or server microcomputer unit and a
plurality of peripheral units referred to as personal electronic accessories
(PEAs). Ex. 1001, col. 1, ll. 11–14, col. 2, ll. 15–18. Among the objects of
the invention is the provision of a data network that requires extremely low
power consumption, “particularly for the peripheral units,” avoids
interference from nearby similar systems, and is of relatively simple and
inexpensive construction. Id. at col. 1, ll. 33–34, 39–45. Figure 1 of the
’290 patent, reproduced below, is illustrative of the described wireless data
network system.




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       Figure 1 is a block diagram of a wireless data network system linking
a server microcomputer, referred to as “personal digital assistant (PDA) 11,”
with a plurality of peripheral units, or PEAs, 21–29. Id. at col. 2, ll. 42–44,
col. 2, l. 66–col. 3, l. 15.
       According to the ’290 patent, “the server microcomputer unit and the
several peripheral units which are to be linked are all in close physical
proximity, e.g., within twenty meters, to establish, with very high accuracy,
a common time base or synchronization.” Id. at col. 1, ll. 50–54. “Using the
common time base, code sequences are generated which control the
operation of the several transmitters in a low duty cycle pulsed mode of
operation.” Id. at col. 1, ll. 57–59. “The server and peripheral unit
transmitters are energized in low duty cycle pulses at intervals which are
determined by a code sequence which is timed in relation to the
synchronizing information initially transmitted from the server
microcomputer.” Id. at col. 2, ll. 35–39. “The low duty cycle pulsed
operation both substantially reduces power consumption and facilitates the
rejection of interfering signals.” Id. at col. 1, ll. 59–61. “In the intervals
between slots in which a PEA is to transmit or receive, all receive and
transmit circuits are powered down.” Id. at col. 4, ll. 6–8.

       C. Illustrative Claim
       As noted above, Apple challenges claims 1–4 of the ’290 patent.
Claim 1, the sole independent claim challenged, is reproduced below.
Challenged claims 2–4 depend directly or indirectly from claim 1.
      1. A data network system for effecting coordinated operation of a
   plurality of electronic devices, said system comprising:
       a server microcomputer unit;


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      a plurality of peripheral units which are battery powered and portable,
   which provide either input information from the user or output
   information to the user, and which are adapted to operate within short
   range of said server unit;
      said server microcomputer incorporating an RF transmitter for
   sending commands and synchronizing information to said peripheral
   units;
      said peripheral units each including an RF receiver for detecting said
   commands and synchronizing information and including also an RF
   transmitter for sending input information from the user to said server
   microcomputer;
      said server microcomputer including a receiver for receiving input
   information transmitted from said peripheral units;
      said server and peripheral transmitters being energized in low duty
   cycle RF bursts at intervals determined by a code sequence which is
   timed in relation to said synchronizing information.
Ex. 1001, col. 11, l. 61–col. 12, l. 18.

      D. Evidence of Record
      Apple relies on the following references, as well as the Declaration of
Jack D. Grimes, Ph.D. (Ex. 1008):

                            Reference                                  Exhibit

Thomas J. Barber Jr., BODYLANTM: A LOW-POWER
COMMUNICATION SYSTEM (M.S. thesis, Massachusetts                        1002
Institute of Technology) (“Barber”)

Natarajan (U.S. Patent No. 5,241,542; issued Aug. 31, 1993)             1003

Neve (U.S. Patent No. 4,887,266; issued Dec. 12, 1989)                  1004




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      E. Asserted Grounds of Unpatentability
      Apple challenges the patentability of the challenged claims on the
following two grounds:

         Reference(s)                Basis              Claims Challenged

Barber                             § 103(a)                   1–4

Natarajan and Neve                 § 103(a)                   1–4

                               II. DISCUSSION
      A. Claim Interpretation
      In inter partes review proceedings, claims of an unexpired patent are
given their broadest reasonable interpretation in light of the specification of
the patent in which they appear. 37 C.F.R. § 42.100(b); Office Patent Trial
Practice Guide, 77 Fed. Reg. 48,756, 48,766 (Aug. 14, 2012); see In re
Cuozzo Speed Techs., LLC, 778 F.3d 1271, 1278–82 (Fed. Cir. 2015).
Under this standard, we interpret claim terms using “the broadest reasonable
meaning of the words in their ordinary usage as they would be understood
by one of ordinary skill in the art, taking into account whatever
enlightenment by way of definitions or otherwise that may be afforded by
the written description contained in the applicant’s specification.” In re
Morris, 127 F.3d 1048, 1054 (Fed. Cir. 1997). We presume that claim terms
have their ordinary and customary meaning. See In re Translogic Tech.,
Inc., 504 F.3d 1249, 1257 (Fed. Cir. 2007) (“The ordinary and customary
meaning is the meaning that the term would have to a person of ordinary
skill in the art in question.”) (internal quotation marks omitted). A patentee,
however, may rebut this presumption by acting as his own lexicographer,
providing a definition of the term in the specification with “reasonable


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clarity, deliberateness, and precision.” In re Paulsen, 30 F.3d 1475, 1480
(Fed. Cir. 1994).
      Apple asks us to construe two phrases: “within short range of said
server unit,” as recited in claim 1, and “code sequence,” as recited in claims
1 and 3. Pet. 9–11. DSS responds to Apple’s proposed construction of only
the first of these phrases and additionally asks us to construe “energized in
low duty cycle RF bursts,” also recited in claim 1. Prelim. Resp. 18–21.
                    (1) “within short range of said server unit”
      Outside of claim 1, the phrase “short range” appears only in the
Abstract of the ’290 patent, where it is stated that the peripheral units are
located “within short range of the server unit, e.g. within 20 meters.” Apple
argues that “[w]hile the ’290 patent uses ‘within 20 meters’ as an example
(by using ‘e.g.’), this is the only indication in the ’290 patent as to what the
newly added term ‘short range’ means.” Pet. 9. Moreover, according to
Apple, “the term ‘short range’ has no commonly accepted meaning in the
art,” and a person of ordinary skill in the art “would not have understood this
term to have a meaning outside of the guidance provided by the
specification.” Id. Accordingly, Apple proposes that the broadest
reasonable interpretation of “within short range of said server unit” is
“within 20 meters of said server unit.” Id. at 9–10.
      DSS counters that “[t]he phrase ‘adapted to operate within a [sic]
short range of [said server unit]’ is defined in the specification of the ’290
Patent as a distance that does not meaningfully affect the radio frequency
transmission time” and proposes that the phrase instead be construed as
“adapted to operate within a range where the transmission transit time does
not meaningfully affect the accuracy of synchronization.” Prelim. Resp. 18–


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19 (citing Ex. 1001, col. 1, ll. 50–56) (third alteration in original) (boldface
and italics omitted). According to DSS:
             Petitioner’s proposed construction is based on a non-
      limiting example provided in the ’290 specification. Petitioner
      contends that short range has no common meaning in the art,
      and thus, reasons that “short range” should be construed in view
      of the specification. See Petition at pg. 9. Petitioner further
      states that “[t]he ’290 patent is clear that short range is ‘close
      physical proximity, e.g., within twenty meters.’” Petition at pg.
      29 (citing [Ex.] 1001, ’290 patent at 1:50–56). Petitioner fails
      to disclose the complete passage relating to “close physical
      proximity” on which it relies in defining “short range” as
      “within twenty meters.” The complete passage is as follows:
                The data network of the present invention utilizes
                the fact that the server microcomputer unit and the
                several peripheral units which are linked are all in
                close physical proximity, e.g., within twenty
                meters, to establish, with very high accuracy, a
                common time base or synchronization. The short
                distances involved [sic] means that accuracy of the
                synchronization is not appreciably affected by
                transit time delays.

             See [Ex.] 1001, ’290 Patent, at 1:50–56 (emphasis
      added).
             ....
             The term “e.g.” means “for example.” [Ex.] 2002. The
      use of the terms “for example” specifically signifies the broader
      scope than encompassed by the example. Any distance, so long
      as “the accuracy of the synchronization is not appreciably
      affected by transit time delays” is within the operable range of
      the invention. Lacking clear disclaimer, the phrase “within a
      short range” should be given the broader definition, which
      complies with the BRI standard, provided by the inventor and
      proposed here by the Patent Owner.
Id. at 19–20.



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      We are unable to locate the purported quotation from page 29 of the
Petition cited by DSS. Regardless, the passage identified by Apple from the
Abstract of the ’290 patent, which actually uses the phrase “within short
range,” is more directly probative of the construction of “within short range
of said server unit” than is the passage quoted by DSS from column 1, lines
50–56, of the ’290 patent, which instead relates to the phrase “close physical
proximity.” Claim 1 does not recite “close physical proximity.” Given,
however, that the ’290 patent also associates the phrase “close physical
proximity” to an exemplary range of “within twenty meters” (Ex. 1001, col.
1, ll. 50–53), similar to the phrase “within short range” (Ex. 1001, Abstract),
there is at least an appearance that “within short range” and “close physical
proximity” are used interchangeably. The association of “close physical
proximity” to “within twenty meters” also supports construing “within short
range” as meaning “within twenty meters.”
      As stated above, the phrases “within 20 meters” and “within twenty
meters” are preceded in both the Abstract and column 1 of the ’290 patent
with “e.g.” (see Ex. 1001, Abst., col. 1, l. 53). We accordingly look
elsewhere in the Specification for additional indication of what “within short
range” means. Any description related to the benefit achieved by the
“within short range” feature is apposite. In that regard, the Specification, at
column 1, lines 54–56, states: “The short distances involved means that
accuracy of synchronization is not appreciably affected by transit time
delays.” On this record, we construe “within short range” to mean “within a
range in which the accuracy of synchronization is not appreciably affected
by transit time delays, including at least the range of within 20 meters.”




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     (2) “code sequence” and “energized in low duty cycle RF bursts”
       Apple contends that “[a] ‘code sequence’ is not a term of art and
therefore must be construed in view of the ’290 patent specification.” Pet.
10. Citing three instances of the phrase “code sequence” in the Specification
of the ’290 patent, Apple proposes that the broadest reasonable interpretation
of that phrase in view of the Specification is “a series of values, where each
value in the series represents a time slot where a unit’s transmitter is
energized or a time slot where a unit’s transmitter is depowered.” Id. at 10–
11 (citing Ex. 1001, col. 1, ll. 57–59, col. 2, ll. 35–39, col. 3, ll. 43–44).
DSS neither responds to Apple’s proposal nor offers any alternative
interpretation.
      DSS proposes that the phrase “energized in low duty cycle RF bursts”
be given its plain and ordinary meaning, or alternatively, in the event of any
ambiguity, that it should be construed as “a pulsed operation that
substantially reduces power consumption and facilitates the rejection of
interfering signals.” Prelim. Resp. 20 (boldface and italics omitted).
      We conclude that it is not necessary for our determination of whether
to institute inter partes review of claims 1–4 of the ’290 patent to construe
expressly the phrases “code sequence” and “energized in low duty cycle RF
bursts.” Only those terms which are in controversy need to be construed,
and only to the extent necessary to resolve the controversy. Vivid Techs.,
Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999).

      B. Obviousness of Claims 1–4 over Barber
      Apple contends that claims 1–4 of the ’290 patent are unpatentable
under 35 U.S.C. § 103(a) as obvious over Barber, which Apple asserts was
published “at least as early as April 11, 1996.” Pet. 12, 15, 18–33.


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According to Apple, claims 1–4 recite features first disclosed in the ’999
application, and accordingly, are entitled only to the benefit of the ’999
application’s October 14, 1997 filing date, rather than the March 6, 1996
filing date of the ’695 parent application. Id. at 7. Because April 11, 1996,
was more than one year prior to October 14, 1997, Apple asserts that Barber
is prior art under at least 35 U.S.C. § 102(b). Id. at 12. DSS counters that
claims 1–4 are fully supported by the original disclosure of the ’695
application and are, therefore, entitled to the benefit of the March 6, 1996
filing date of the ’695 application. Prelim. Resp. 5.
      For the reasons explained below, we are not persuaded that Apple has
established a reasonable likelihood that it would prevail on this ground with
respect to each of claims 1–4, regardless of whether claims 1–4 are entitled
to the ’695 application’s March 6, 1996 filing date or only to the ’999
patent’s October 14, 1997 filing date.
      As the Board has previously explained, to qualify as a printed
publication within the meaning of § 102, “a reference ‘must have been
sufficiently accessible to the public interested in the art’ before the critical
date.” Actavis, Inc. v. Research Corp. Techs., Inc., Case IPR2014-01126,
slip op. at 9 (PTAB Jan. 9, 2015) (Paper 22) (quoting In re Cronyn, 890 F.2d
1158, 1160 (Fed. Cir. 1989). Whether a reference is publicly accessible is
determined on a case-by-case basis, based on the “facts and circumstances
surrounding the reference’s disclosure to members of the public.” In re
Lister, 583 F.3d 1307, 1311 (Fed. Cir. 2009). A reference is considered
publicly accessible if it was disseminated or otherwise made available to the
extent that persons interested and ordinarily skilled in the subject matter or
art, exercising reasonable diligence, can locate it. Id. Having reviewed


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Apple’s arguments and proffered evidence, we determine that Apple has not
satisfied its burden to prove that Barber qualifies as prior art.
      Apple merely asserts, without any citation of evidence, that Barber
“was published at least as early as April 11, 1996.” Pet. 12. Apple’s expert,
Dr. Grimes, likewise asserts, without citing any additional evidence, that
Barber was “submitted January 30, 1996, [and] archived in Massachusetts
Institute of Technology Libraries April 11, 1996” (Ex. 1008, 6).
      We acknowledge that the cover page of Barber includes a stamp
reading “ARCHIVES MASSACHUSETTS INSTITUTE OF
TECHNOLOGY APR 11 1996 LIBRARIES.” Ex. 1002, 1. That stamped
date, however, would appear to be a hearsay statement to the extent that it
would be offered for its truth (see Fed. R. Evid. 801). Further, even if Apple
could establish either that the statement is excluded from hearsay or that an
exception to the rule against hearsay should apply, such that we would admit
the stamped date as evidence of when the thesis was archived, the stamp
does not establish when, if ever, the thesis became publicly accessible.
      We must decide whether to institute a trial based on “the information
presented in the petition” (35 U.S.C. § 314(a)). In this case, Apple has not
identified sufficient evidence on the record before us to qualify Barber as
prior art. Apple has submitted no evidence, for example, to establish that the
thesis was indexed, cataloged, and shelved in the university library prior to
the filing of the ’999 application. See Cronyn, 890 F.2d at 1161; cf. In re
Hall, 781 F.2d 897 (Fed. Cir. 1986). We conclude, therefore, that Apple has
not demonstrated a reasonable likelihood that it would prevail at trial in
challenging claims 1–4 of the ’290 patent under 35 U.S.C. § 103(a) over
Barber. Because our conclusion does not turn on whether claims 1–4 are


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entitled to the priority date of the ’695 application or only that of the ’999
application, we further conclude that it is not necessary for our
determination of whether to institute inter partes review of claims 1–4 of the
’290 patent to decide that issue.

      C. Obviousness of Claims 1–4 over Natarajan and Neve
      Apple contends that claims 1–4 of the ’290 patent are unpatentable
under 35 U.S.C. § 103(a) as obvious over the combination of Natarajan and
Neve. Pet. 33, 42–59. We are persuaded that Apple has established a
reasonable likelihood that it would prevail on this ground with respect to
each of claims 1–4, for the reasons explained below.
                                 (1) Natarajan
      Natarajan is directed to power conservation in wireless
communication, particularly battery efficient operation of wireless link
adapters of mobile computers (also referred to, inter alia, as battery powered
computers, hand held or laptop computers, mobile units, and mobile
stations) as controlled by multiaccess protocols used in wireless
communication. Ex. 1003, col. 1, ll. 7–13, col. 2, l. 32, Abst. Figure 2 of
Natarajan is reproduced below.




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Figure 2 is a block diagram of a digital data communication system of the
type in which Natarajan’s invention is implemented, illustrating the basic
components of a mobile station and a base station. Id. at col. 1, l. 67–col. 2,
l. 3. As depicted in Figure 2, mobile stations 10, 12, 14, and 16
communicate with gateways (i.e., base stations 26, 28) connected with
server 18, via wireless transceivers adapters 36, 44. Id. at col. 2, ll. 32–39,
51–52, 58–59, 65–67. According to Natarajan:
       The scheduled access multiaccess protocol is implemented to
       effectively conserve battery power by suitable control of the
       state of the controller, the transmitter and receiver units at the
       wireless link adapter by scheduling when the adapter is in a
       normal running mode, or a standby mode in which power is
       conserved.
Id., Abst; see also id. at col. 3, l. 66–col. 4, l. 1.
       Natarajan discloses that “[a] desirable solution is one in which the
transmitter (or receiver) consumes power only when it is actively
transmitting a message (or actively receiving a message).” Id. at 4:3–6.


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Natarajan further discloses that the scheduled multiaccess protocol divides
time into “fixed-length frames, and frames are divided into slots.” Id. at
col. 4, ll. 20–23. The frames are divided into subframes for transmission of
data from the base station to mobile units (outbound traffic) as well as
transmission of data from mobile units to the base station (inbound traffic).
Id. at col. 4, ll. 27–38. According to Natarajan, at least one slot is assigned
to each mobile computer designated to communicate with the base station.
Id. at col. 10, ll. 26–29. The battery power of the wireless link adapter for a
given mobile computer is turned on to full power during the at least one
assigned slot, and the battery power of the wireless link adapter is
substantially reduced during the remaining time slots. Id. at col. 10, ll. 29–
37.
      With respect to outbound traffic, Natarajan discloses that the base
station broadcasts a header that includes a list of mobile users that will be
receiving data packets from the base station in the current frame, the order in
which the mobile users will receive the data packets, and the bandwidth
allocated to each user. Id. at col. 4, ll. 45–53. According to Natarajan, a
mobile unit that is not included in the header from the base station can turn
its receiver “OFF” for the duration of the current subframe. Id. at col. 4,
ll. 64–67. Additionally, the adapter of each receiving mobile unit can
compute exactly when it should be ready to receive packets from the base
station by adding up the slots allocated to all receiving units that precede it,
power “ON” during that time slot to receive its data, and go back to sleep for
the remainder of the subframe. Id. at col. 4, l. 67–col. 5, l. 6.
      For inbound traffic, Natarajan similarly discloses that the base station
broadcasts a header that includes an ordered list of users that will be allowed


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to transmit packets to the base station in the current frame and the bandwidth
allocated to each. Id. at col. 5, ll. 9–19. Using the information regarding the
number of packets that each user can transmit, each mobile unit can compute
exactly when it should begin its transmission. Id. at col. 5, ll. 20–22. Once
each mobile station computes its exact time for transmission, it can shut both
its transmitter and receiver “OFF” until the designated time, and then turn
“ON” and transmit for a fixed period of time whose duration depends on the
number of slots allocated to it. Id. at col. 5, ll. 23–29.
                                    (2) Neve
      Neve is directed to a communication system able to provide multiple
path communication between a plurality of stations operating on a single
channel. Ex. 1004, Abst. Neve discloses that one station, which is
physically similar to the others but operates a different stored program, may
be designated the “master” station and provides synchronization signals for
all of the other stations (referred to as “slave stations”) and controls access
of the stations to the single radio channel. Id. at 4:10–15.
      According to Neve, the stations are synchronized and a cyclically
repeating series of time slots is defined. Id. at Abst. One time slot in each
cycle is reserved for the transmission of synchronization information by the
master station for reception by the slave stations and for maintaining
synchronization therein. Id. Another time slot is reserved for any slave
station to transmit a message indicating that it needs to communicate to
another station, such indication preferably being by transmitting its own pre-
assigned address code. Id. The remaining time slots are used for
transmitting address information and data. Id.




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      Neve discloses that when data transfer is not taking place, the
described devices can enter a lower power consumption state. Id. at col. 2,
ll. 13–16. The system is designed automatically to re-enter the data transfer
condition when either a signal is received from the device indicative of the
need to transmit data or a predetermined code signal is received by the
receiver circuit indicative of the need to receive data. Id. at col. 2, ll. 19–24.
Neve discloses that the receiver has very low power consumption because
only the internal timing circuitry is energized continuously, whereas the rest
of the receiving circuit is energized only when its assigned time slot occurs.
Id. at col. 2, ll. 39–41. More particularly, the receiver circuit includes a low
power timing circuit that operates to energize the rest of the receiver circuit
only for the time slot in which its address may occur and for the
synchronization time slot, thereby enabling it to maintain synchronization
with low power consumption. Id. at col. 4, ll. 43–48. Neve similarly
discloses that the interface circuit is arranged to energize the transmitter
circuit only when transmission is required. Id. at col. 2, ll. 45–47.
                                  (3) Analysis
      Apple contends that Natarajan discloses all limitations of claims 1–4,
with the exception of explicit disclosure of the server unit sending
“synchronizing information” to the mobile units, as recited in claim 1, and
“synchronizing beacons,” as recited in claim 4. Pet. 42–59. Apple further
contends that Neve discloses those elements not disclosed explicitly by
Natarajan. Id. Upon review of the Petition, we are persuaded that Apple has
shown a reasonable likelihood that it would prevail in establishing the
unpatentability of claims 1–4 on this ground.




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      DSS makes two principal arguments regarding Natarajan and Neve in
the Preliminary Response. First, DSS argues that Natarajan does not
disclose that the server transmitter is energized in low duty cycle RF bursts.
Prelim. Resp. 21. According to DSS, Apple “profusely quotes disclosures of
Natarajan and Neve teaching that the transmitters of the peripheral units
(i.e. mobile units, portable units, slave stations) are energized only when
they are actively transmitting data,” but “does not provide any objective
evidence that could reasonably lead to a conclusion that these references also
disclose that the transmitter of the server unit (i.e. base, hub, master) is
energized in low duty cycle RF bursts.” Id. at 22. DSS does not dispute
that, during time slots in which Natarajan’s mobile units are designated to
receive a message, the base station’s (i.e., the server unit’s) transmitter is
energized to transmit data to the mobile units. Id. at 23 (quoting Pet. 54).
DSS contends, however, that the server transmitter’s being energized during
the time slots at which the mobile units are scheduled to receive data “does
not logically lead to a conclusion that the server transmitter is powered OFF
during the remaining time slots when no active transmission between the
server and peripheral units occurs” (id.).
      Based on the record before us, we are persuaded that the disclosure of
Natarajan pertaining to a scheduled multi-access protocol in which time is
divided into fixed-length frames, along with Natarajan’s description of
frames being divided into slots and multiple subframes, is sufficient to
demonstrate a reasonable likelihood that Natarajan discloses “said server and
peripheral transmitters being energized in low duty cycle RF bursts,” as
recited in claim 1. Claims 1–4 do not recite any requirement that the server
transmitter must be “powered OFF” during the time slots when no active


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transmission between the server and peripheral units occurs; nor is such
required by the plain and ordinary meaning of the claim phrase “energized in
low duty cycle RF bursts.” Regardless, by disclosing, for example, that “a
scheduled multi-access protocol is used in which time is divided into fixed-
length frames” and that “frame[s] [are] divided into multiple subframes,”
including different periods for broadcast of packets from base station to
mobile units (outbound traffic) and for transfer of traffic from mobile units
to base station (inbound traffic) (see, e.g., Ex. 1003, col. 4, ll. 20–22, 28–
38), we are persuaded for purposes of this Decision that Natarajan conveys
that both the receivers and the transmitters in the base station, as well as in
the mobile units, are energized only in low duty cycle RF bursts.
      Second, DSS argues that Neve teaches away from the server
transmitter being energized in low duty cycle RF bursts. Prelim. Resp. 24.
According to DSS, “Neve explicitly discloses that the server unit remains
energized even when it is not actively transmitting any data to the peripheral
units” and “[f]or this reason, Neve not only lacks disclosure of ‘said server
and peripheral transmitter [sic] being energized in low duty cycle RF
bursts,’ but in fact, teaches away from this limitation of claim 1.” Id. at 24–
25. In support of that contention, DSS cites portions of Neve stating “[i]f no
data is currently required to be transmitted, the master station transmits idle
words” and “[a]n idle word is transmitted if no other transmission is
needed.” Id. at 24 (quoting Neve 4:48–50, 7:17–19 (emphasis added by
DSS)).
      Based on the record before us, we are not persuaded that Neve teaches
away from the server transmitter being energized in low duty cycle RF
bursts. When the sentences quoted by DSS are read in the context of the full


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disclosure of Neve, those sentences do not suggest continuous transmission
from the master station, but instead transmission of idle words in the event
that there is no data required to be transmitted in the time slots specifically
allocated for transmission by the server. Neve explicitly discloses that the
described synchronous communication system, which includes “one station
designated the master station,” “allows stations to remain in an inactive
condition when they are not communicating.” Ex. 1004, col. 3, ll. 9–20.
Neve also discloses that the master station performs different functions
during different time slots, only certain of which involve transmission:
      After the master station is powered up it scans its table of time
      slot allocations. . . . If the time slot is a synchronisation time
      slot the synchronisation word is transmitted. If it is an interrupt
      time slot the master station receives. If a valid address is
      received this is entered into the table of active slave stations
      requiring communication. During the other time slots either a
      housekeeping operation is performed as previously described or
      the master station takes part in a communication operation or
      the master station monitors the channel if the time slot has been
      allocated to communication between two slave stations. If the
      time slot is unassigned the idle word is transmitted.
Ex. 1004, col. 7, ll. 27–42 (emphases added).
      Because, on this record, Apple has identified sufficient evidence to
support its contention that the combination of Natarajan and Neve would
have rendered obvious the subject matter of claims 1–4 of the ’290 patent,
we conclude that Apple has established a reasonable likelihood that it would
prevail at trial in challenging those claims under 35 U.S.C. § 103(a) over the
combination of Natarajan and Neve.




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                              III. CONCLUSION
      We conclude that Apple has shown a reasonable likelihood that it
would prevail at trial in demonstrating that claims 1–4 of the ’290 patent are
unpatentable under 35 U.S.C. § 103(a).
      At this stage of the proceeding, the Board has not made a final
determination as to the patentability of any challenged claim or the
construction of any claim term.

                                  IV. ORDER
      Upon consideration of the record before us, it is, therefore,
      ORDERED that an inter partes review is instituted as to claims
1–4 of the ’290 patent under 35 U.S.C. § 103(a) as unpatentable over
Natarajan and Neve;
      FURTHER ORDERED that pursuant to 35 U.S.C. § 314(a), inter
partes review of the ’290 patent is hereby instituted commencing on the
entry date of this Decision, and pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4, notice is hereby given of the institution of a trial;
      FURTHER ORDERED that no other grounds set forth in the Petition
as to claims 1–4 of the ’290 patent are authorized.




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  UNITED STATES PATENT AND TRADEMARK OFFICE
                 ______________

   BEFORE THE PATENT TRIAL AND APPEAL BOARD
                 ______________

                      APPLE, INC.,
                       Petitioners,

                            v.

       DSS TECHNOLOGY MANAGEMENT, INC.,
                  Patent Owner.

                      ____________

                  Case: IPR2015-00369
                 U.S. Patent No. 6,128,290

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     PATENT OWNER DSS TECHNOLOGY, INC.’S
            RESPONSE TO PETITION




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Federal Cases
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     550 U.S. 398, 418 (2007) ....................................................................... 15, 25

Microsoft Corp. v. Proxyconn, Inc.,
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                 PATENT OWNER’S LIST OF EXHIBITS

DSS-2001     U.S. Patent No. 5,699,357

DSS-2002     Definition of “e.g.,” Black’s Law Dictionary (9th ed. 2009)

DSS-2003     Myk Dormer, Low Duty Cycle?, Electronics World Magazine, Dec.
             2008, available at http://www.radiometrix.com/files/additional/Low-
             Duty-Cycle.pdf

DSS-2004     U.S. Pat. No. 7,558,232

DSS-2005     U.S. Pat. No. 7,092,762

DSS-2006     U.S. Pat. No. 7,049,620

DSS-2007     U.S. Pat. No. 8,837,653

DSS-2008     U.S. Pat. No. 8,727,561

DSS-2009     Definition of “burst,” Chambers Dictionary of Science and
             Technology (1st ed. 1999)

DSS-2010     Tom Sheldon, Encyclopedia of Networking & telecommunications,
             549, (Lisa Wolters-Broder ed., McGraw Hill 2001)

DSS-2011     U.S. Pat. No. 3,598,914

DSS-2012     U.S. Pat. No. 6,983,031

DSS-2013     Yurcik, William J., Serial and Parallel Transmission. Computer
             Sciences. 2002. Encyclopedia.com, available at
             http://www.encyclopedia.com

DSS-2014     Asynchronous HDLC MC68360 ASYNC HDLC Protocol Microcode
             User’s Manual, 8, (Freescale Semiconductor, Inc. 1996)

DSS-2015     Transcript of 08-27-2015 Deposition Testimony of Dr. Jack Duane
             Grimes


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DSS-2016     Declaration of Mr. Robert Dezmelyk

DSS-2017     Wmat Auppu, AIF Inter DSP Communication, 1, available at
             http://processors.wiki.ti.com/index.php/AIF_Inter_DSP_Communica
             tion




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I. INTRODUCTION


      On June 25, 2015, the Board instituted trial with respect to claims 1-4 of the

U.S. Patent No. 6,128,290 (“the ‘290 Patent”) (APL 1001) owned by DSS

Technology Management, Inc., (“Patent Owner”). Specifically, the Board instituted

trial based on a single ground:

      (1) obviousness of claims 1-4 under 35 U.S.C. §103(a) based on U.S. Pat. No.

(“Natarajan”) (APL 100) in view of U.S. Pat. No (“Neve”) (APL 100);

      Patent Owner submits this Response to the invalidity challenge listed above.

For the reasons set forth below, the Board should find claims 1-4 patentable over

Natarajan in view of Neve.


II. RELATED IPR PETITION


      Petitioner filed another IPR petition against claims 6, 7, 9, and 10 of the ‘290

Patent in case IPR2015-00373. The Board’s decision in the present case is likely to

be pertinent to case IPR2015-00373.


III. OVERVIEW OF THE INVENTION CLAIMED IN THE ‘290 PATENT

      In its summary of the ‘290 Patent, Petitioner omitted several material elements

of the claimed invention. The following overview provides a brief summary of the


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prior art and a concise description of the data network system disclosed and claimed

in the ‘290 Patent, focusing on the elements Petitioner failed to discuss.

      A. Summary of the prior art

      At the time of filing of the ‘290 Patent, wireless data networks had several

major shortcomings. The accepted convention in wireless data networks was to

partition a multiaccess protocol into fixed-length frames, wherein each frame is

further divided into the following subframes: (1) outbound transmission period for

broadcast of data from server unit to Peripheral units, (2) inbound contention-free

traffic for the contention-free transfer of all transmissions from Peripheral units to

the server unit, and (3) inbound contention traffic for the transfer of data traffic in a

contention mode from Peripheral units to the server unit. See APL 1003, Natarajan

at 4:30-38. A server unit would transmit to peripheral units during the outbound

transmission period and receive transmissions from peripheral units during the time

periods designated for inbound data traffic. See id.

      During the outbound transmission period, the server would transmit a

continuous data stream which comprises data packets addressed to peripheral units

and idle words when no other transmission is needed. See, e.g., DSS 2010,

Encyclopedia of Networking, at pg. 549 (“If no data is being transmitted, this same


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sequence is continuously transmitted so the end systems remain synchronized.”); see

also APL 1004, Neve at 4:48-50 (disclosing that the server unit transmits “idle

words” when no active data transmission is scheduled); DSS-2016, Dezmelyk Dec.

at ¶ 38. Idle words are important to operability of such systems because idle

transmissions maintain synchronization between the server unit and the Peripheral

units. See DSS-2010, Encyclopedia of Networking, at pg. 549; see also DSS-2015,

Grimes Cross-Exam at 43:20-22 – 44:1-7. The following is a brief explanation of

the idle word transmissions and the advantages they provide:

            idle words are injected by the terminal whenever there are
            no data words available to be transmitted. In some
            applications, this approach is found to be desirable
            because it avoids the necessity of bringing the transmitting
            and receiving ends of the signaling channel into
            synchronization each time the stream of actual data words
            is interrupted as when there is no data to be sent. Since the
            system is in continuous operation, delays occasioned by
            the need to resynchronize may largely be avoided.

            DSS-2011 at 1:14-22.

      In such data networks, the server transmitter would transmit a continuous data

stream during the outbound transmission period. See DSS-2016, Dezmelyk Dec. at

¶ 28. The peripheral units would schedule to wake themselves up at designated times

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to receive data segments within the data stream addressed to them and power down

after the data is received. See, e.g., APL 1003, Natarajan at 5:2-4. In such a system,

it is only necessary to ensure that each peripheral receiver is energized at an

appropriate time to receive the designated data segment within the continuous data

stream. See DSS-2016, Dezmelyk Dec. at ¶ 28. This scheme is advantageous because

it does not require that the server transmitter be energized at the exact time for each

individual transmission—instead, the server transmitter remains energized for the

duration of the outbound transmission period, and the peripheral units are timed to

listen in at appropriate times. See id. If no data has to be transmitted in a particular

time slot, the server transmits idle signals. See APL 1004, Neve at 4:48-50.

      The data networks that existed prior to the ‘290 Patent had two major

drawbacks. First, a server-PEA ensemble in which the server transmitter operates in

a continuous or a high duty cycle is likely to interfere with nearby foreign ensembles.

See DSS-2016, Dezmelyk Dec. at ¶ 19. By transmitting idle words when no data

transmission is necessary, the likelihood of collisions between the transmission of

two nearby ensembles increases: the longer the duration during which the transmitter

is energized, the higher the likelihood that at some point during that transmission

period a signal coming from a nearby second ensemble will interfere with the signal

transmitted by the first ensemble. See id. Second, in applications where the server

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unit is battery-operated, transmission of idle words, in addition to an active

transmission of useful data packets, significantly increases power consumption

making the data network unsuitable for low-power applications. See id. at ¶ 29; see

also APL-1002 at pg. 11.

      B. Summary of the ‘290 Patent and its advancement over the prior art

      The ‘290 Patent discloses and claims a data network system that improves

bidirectional wireless data communications between a server microcomputer unit

and a plurality of peripheral units. See APL 1001, ‘290 Patent at 1:11-14. At the time

of invention, two major issues hindered widespread adoption of wireless data

communication systems: (1) short battery life and (2) interference from other

wireless data systems operating nearby. See id. at Abstract. The ‘290 Patent

advanced the state of the art by ameliorating both issues.

      The ‘290 Patent discloses and claims a wireless data system, in which both

the server and peripheral transmitters are energized in low duty cycle RF bursts. See

id. at claim 1. This feature of the claimed invention achieves two important

objectives: (1) it reduces power usage for both the server and the peripheral units

because the server transmitter is only energized when the server must transmit data;

and (2) it reduces the likelihood of interference between nearby wireless ensembles


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because the server transmits signals only during scheduled communications with a

peripheral unit. See id. at 1:59-61. The specification of the ‘290 Patent explains that

“[i]f during a particular bit period, two RF bursts are being simultaneously received,

one from a transmitter in the home ensemble and the other from a foreign ensemble,

the receiver will ‘capture’ only the data received from the stronger of two

transmitters.” Id. at 6:36-40. Accordingly, by claiming a system in which both the

server and peripheral transmitters operate in low duty cycle RF bursts, the ‘290

Patent significantly reduces the number of transmissions outgoing from the server

unit, thereby decreasing the likelihood that a nearby foreign ensemble will receive

an unintended data signal. Id. at 1:59-61.

      In sharp contrast to the data network systems described in Section III.A.,

supra, the ‘290 Patent claims a system in which the server transmitter does not

transmit a continuous data stream, but, instead, is energized in low duty cycle RF

bursts only when active data transmissions between the server unit and a peripheral

units are scheduled to occur. See id. at 1:59-61; see also DSS-2015, Grimes Cross-

Exam at 44:9-11 (“[T]he patent only talks about transmissions that are done for the

purpose of conveying useful data to the receiving entity.”). The data network system

disclosed in the ‘290 Patent employs a complex synchronization scheme to achieve

a functioning system in which both the server and peripheral transmitters are

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energized in low duty cycle RF bursts. See APL 1001, ‘290 Patent at 10:5-11:8; see

also DSS-2016, Dezmelyk Dec. at ¶ 20. The ‘290 Patent discloses a synchronization

scheme in which the peripheral units are equipped with voltage controlled crystal

oscillators, whose frequencies are aligned with the frequency of the server’s

oscillator to establish precise synchronization between the server unit and the

peripheral unit. See APL 1001, ‘290 Patent at 10:35-61. The synchronization scheme

disclosed in the ‘290 Patent makes it possible for both the server and peripheral

transmitters to be energized only when an active data transmission must occur and

remain powered down at all other times, thereby achieving “low power consumption

and avoidance of interference between nearby similar systems.” See id. at Abstract;

see also DSS-2016, Dezmelyk Dec. at ¶ 21. This advancement over the prior art is

captured in the following limitation of claim 1: “said server and peripheral

transmitters being energized in low duty cycle RF bursts.”

      The ‘290 Patent explicitly states that its objectives include “provision of such

a data network which requires extremely low power consumption” and “avoids

interference from nearby similar systems.” APL 1001, ‘290 Patent at 1:39-44. The

‘290 Patent achieves these objectives by creating a data network system in which,

inter alia, both “server and peripheral transmitters [are] energized in low duty cycle

RF bursts,” wherein“[t]he low duty cycle pulsed operation both substantially

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reduces power consumption and facilitates the rejection of interfering signals.” Id.

at claim 1 (emphasis added) and at 1:59-61.


IV. CLAIM CONSTRUCTION

      The Board generally interprets the claims of an unexpired patent according to

the broadest reasonable interpretation (“BRI”) standard. See 37 C.F.R. § 42.100(b).

In Microsoft Corp. v Proxyconn, Inc., the Federal Circuit provided the following

guidance pertaining to proper application of the BRI standard to claim terms in the

context of an IPR:

            [T]he protocol of giving claims their broadest reasonable
            interpretation does not include giving claims a legally
            incorrect interpretation. Rather, claims should always be
            read in light of the specification and teachings in the
            underlying patent. The PTO should also consult the
            patent’s prosecution history in proceedings in which the
            patent has been brought back to the agency for a second
            review. Even under the broadest reasonable interpretation,
            the Board’s construction cannot be divorced from the
            specification and the record evidence, and must be
            consistent with the one that those skilled in the art would
            reach. A construction that is unreasonably broad and
            which does not reasonably reflect the plain language and
            disclosure will not pass muster.

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             Microsoft Corp. v Proxyconn, Inc., 789 F.3d 1292, 1298
             (Fed. Cir. 2015) (internal quotations omitted) (emphasis
             added).



      1. Claim construction the Board applied in the Institution Decision

      In the Institution Decision, the Board held that: “it is not necessary for our

determination of whether to institute inter partes review of claims 1–4 of the ’290

patent to construe expressly the phrases ‘code sequence’ and ‘energized in low duty

cycle RF bursts.’” Institution Decision at pg. 10. The Board also found that “Claims

1–4 do not recite any requirement that the server transmitter must be “powered OFF”

during the time slots when no active transmission between the server and peripheral

units occurs; nor is such required by the plain and ordinary meaning of the claim

phrase ‘energized in low duty cycle RF bursts.’” Institution Decision at pg. 18-19.

This finding is inconsistent with the record before the Board because this finding

contradicts construction proposed by Patent Owner, Petitioner’s statements, and

testimonies of both parties’ experts.

      Although Petitioner did not provide an explicit construction for “low duty

cycle RF bursts,” both Petitioner and Petitioner’s expert stated the following: “the

transmitter (or receiver) consumes power only when it is actively transmitting a

message (or actively receiving a message). This constitutes low duty cycle RF
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bursts.”)” See Petition at pg. 54 and APL 1008 at ¶115 (internal quotations omitted)

(emphasis added). Mr. Dezmelyk, the expert for Patent Owner, also testified that the

server transmitter remaining energized when it is not actively transmitting data to

the peripheral units is inconsistent with a low duty cycle operation. See DSS-2016,

Dezmelyk Dec. at ¶ 35. Therefore, although claims 1-4 do not explicitly require that

the server transmitter be energized only when it is actively transmitting a message

and powered down when there is no data to transmit, this requirement is imposed by

the “energized in low duty cycle RF bursts limitation.” See Petition at pg. 54; see

also APL 1008 at ¶115; DSS-2016, Dezmelyk Dec. at ¶ 36.




      2. Low duty cycle

      “Low duty cycle” is a term of art in wireless communication data networks.

Under broadest reasonable interpretation, a POSITA would have understood “duty

cycle” of the server transmitter as “the ratio of actual duration during which the

server transmitter is energized to the total duration designated for outbound

transmissions.”

      This construction is consistent with the one provided by Petitioner’s expert:

“[t]he low-duty cycle refers to the ratio of the time spent transmitting versus the

time spent nontransmitting.” DSS-2015, Grimes Cross-Exam at 41:7-9. “Low-duty
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cycle tells you that most of the time there's nothing being sent. And when there is

something being sent, that's what's called a burst.” Id. at 31:10-12. “[T]he key thing

is that the burst is small -- the time it takes is small relative to the overall time that

the transmitter could have been transmitting.” Id. at 46:12-15 (emphasis added);

see also DSS-2016, Dezmelyk Dec. at ¶ 27. Accordingly, the duty cycle of the

server transmitter must be calculated over the total duration designated for the

outbound transmissions. See DSS-2016, Dezmelyk Dec. at ¶ 23. Time slots

designated for the inbound data traffic are not taken into account because the server

transmitter could not have been transmitting during these time slots. See DSS-

2015, Grimes Cross-Exam at 60:19-22 (“[W]hen the units are receiving

information, their respective transmitters can't be operating. If they were, they

would not be able to receive information.”); see also DSS-2016, Dezmelyk Dec.

at ¶ 23.

       Under the broadest reasonable interpretation, a POSITA would have

understood that a server transmitter is energized in a low duty cycle when the

server transmitter is energized for less than ten percent (10%) of the total duration

designated for outbound transmissions. See DSS-2016, Dezmelyk Dec. at ¶ 24.

This range is consistent with the specification of the ‘290 Patent. See id. For

example, for the outbound transmissions involving Optically Orthogonal Codes,


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the ‘290 patent discloses that “a maximum of three RF bursts can occur in each

section,” wherein each section comprises sixty-four (64) slots. See APL 1001, ‘290

Patent at 7:23-33, see also DSS-2016, Dezmelyk Dec. at ¶ 26. This scheme results

in the server transmitter being energized for 4.688% of the transmission period,

which falls well within the low-duty cycle range of 10%. See APL-1001 at 7:22-

32. Another example of outbound transmission disclosed in the ‘290 Patent

involves transmission of synchronization beacons (SBs): “[e]ach SB consists of

eight RF bursts spread out over 252 slots.” Since each burst equals to one slot, the

server transmitter is energized in the duty cycle of 3.175%, which also falls within

the low duty cycle range of 10%.

        Furthermore, Table 1 provided below, contains results of a survey of

exemplary ranges for “low duty cycle” as this term is used in the art, which is

evidence of how a POSITA would interpret the terms “low duty cycle.”1

        Table 1. Exemplary ranges of “low duty cycle” in third party patents
    Exhibit      Patent No.            Duty cycle (%)                         Citation
    DSS-2004     U.S. 7,558,232        “low duty cycle, e.g. 2%”              4:13-16
                                       “high duty cycle, e.g. 25%”
    DSS-2005     U.S. 7,092,762        “low duty cycle, e.g., 4% or           2:21-22
                                       less”
    DSS-2006     U.S. 7,049,620        “low duty cycle, e.g., 0.5             8:3
                                       percent”

1
 Search Methodology: Table 1 provides the first five (5) relevant results obtained on Google
Patents through the query: “low duty cycle e.g.” & network & percent.
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    DSS-2007     U.S. 8,837,653      “low duty cycle (e.g., a duty       10:52-
                                     cycle of less than 10 percent, 1    53
                                     one percent, 0.1 percent or 0.02
                                     percent)”
    DSS-2008     U.S. 8,727,561      “low duty cycle, e.g., at an        10:5-6
                                     about 10 percent (10%) duty
                                     cycle”


        3. RF bursts

        “RF bursts” is a term of art in the field of wireless data networks. Under the

broadest reasonable interpretation, a POSITA would have understood the phrase

“RF bursts” to mean “a short period of intense activity on an otherwise quiet data

channel.” See DSS-2009.

        This construction is consistent with the one provided by Petitioner’s expert:

“the key thing is that the burst is small -- the time it takes is small relative to the

overall time that the transmitter could have been transmitting.” See DSS-2015,

Grimes Cross-Exam at 46:12-15 (emphasis added). Furthermore, this construction

is also consistent with the specification of the ‘290 Patent. For example, FIG. 6

shows that three (3) RF bursts are transmitted during an outbound transmission

sector having 64 time slots, wherein each RF burst slot is 2 µs.2 See APL-1001 at



2
 It should be noted that prosecution history of the ‘290 Patent illustrates the
original informal drawings stated that RF burst slot = 2 µsec, when the drawings
were formalized, “µsec” was changed to “MSEC.” See APL 1005 at pg. 76.
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Fig. 6; see also DSS-2015, Grimes Cross-Exam at 34:2-8 (“[T]here's a Figure 6 in

the specification that shows how these bursts occur and gives you kind of a spatial

image of the -- of these bursts. And you can see from looking at the picture that

most of the time nothing is being transmitted, nothing is being received.”).




      In the exemplary embodiment depicted in Fig. 6, the duration of a single RF

burst accounts for        100%     1.563% of the outbound transmission section,

thereby satisfying the construction of the term “RF burst” provided herein. See

DSS-2016, Dezmelyk Dec. at ¶ 26. The duty cycle of the embodiment depicted in

Fig. 6 can be calculated as      100%    4.688%, which also satisfies the low duty

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cycle requiremnt. See id. at ¶ 24. Therefore, the constructions for “low duty cycle”

and “RF bursts” provided herein are supported by the specification of the ‘290

Patent. See id. at ¶ 24-26.




V. PETITIONER HAS FAILED TO PROVE THAT CLAIMS 1-4 OF THE
   ‘290 PATENT ARE UNPATENTABLE

      A. Claims 1-4 are not rendered obvious by Natarajan in view of Neve

      The Board instituted this trial on the ground that there is a reasonable

likelihood that claims 1-4 of the ‘290 Patent are rendered obvious by Natarajan in

view of Neve. For the reasons that follow, the Board should uphold validity of all

challenged claims.

             1. Natarajan does not teach or suggest that the server transmitter
                is energized in low duty cycle RF bursts

                     a. Natarajan is silent with respect to operation of server
                        transmitter during outbound data traffic periods

      It is well established in the United States patent law that challenges on

obviousness grounds cannot be sustained by mere conclusory statements. See KSR

Int'l Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007) (quoting In re Kahn, 441 F.3d

977, 988 (Fed. Cir. 2006)). Instead, “there must be some articulated reasoning with


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some rational underpinning to support the legal conclusion of obviousness.” Id. As

the Federal Circuit eloquently stated: “[o]bviousness requires a court to walk a

tightrope blindfolded (to avoid hindsight) – an enterprise best pursued with the safety

net of objective evidence.” See Mintz v. Dietz & Watson, Inc., 679 F. 3d 1372, 1379

(Fed. Cir. 2012).

      Natarajan does not contain any disclosure of the server transmitter being

energized in low duty cycle. See DSS-2016, Dezmelyk Dec. at ¶ 31. Although

Natarajan teaches a system for reducing power consumption in mobile units,

Natarajan is silent regarding the operation of the base unit’s transmitter. See id. It is

well understood in the art that although the base unit and mobile units may be

structured similarly, the base and mobile units operate under different schemes. See,

e.g., APL 1004, Neve, at 4:10-12 (“One station, which is physically similar to the

others but operates a different stored program, may be designated the master station

and provides synchronisation signals for all of the other stations (referred to

hereinafter as “slave” stations) and controls access of the stations to the single radio

channel.”). Accordingly, a POSITA would not have concluded that base transmitters

operate the same way as the mobile units. See DSS-2016, Dezmelyk Dec. at ¶ 31.

Indeed, Natarajan discloses that its objective is to provide energy savings for the

mobile units, but does not teach or suggest that there are any energy savings

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associated with operation of the base unit’s transmitter. See APL 1003 at 3:59-61

and 10:14-37, See DSS-2016, Dezmelyk Dec. at ¶ 32. For this reason, the base unit’s

transmitter could operate continuously during the time slots designated for outbound

traffic without undermining the objectives of Natarajan. See id. at ¶ 38.

      Natarajan discloses a multi-access protocol in which time is divided into

fixed-length frames that are further subdivided in three (3) subframes:

             Period A for broadcast of packets from base station to
             mobile units (outbound traffic), with a header AH for
             period A. Period B for the contention-free transfer of all
             traffic from mobile units to base station (inbound traffic),
             with a header BH for period B. Period C for the transfer of
             all bursty data traffic in a contention mode from mobile
             units to base station (inbound traffic), with a header CH.
             APL 1004, Natarajan at 4:30-38.
      An example of a frame is provided in FIG. 4 of Natarajan, which is reproduced

below:




      FIG. 4 depicts a single frame of the multi-access protocol, which begins with

a header G of fixed length FH. See id. at 4:27-28. Natarajan discloses that outbound


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transmission from the base unit to the mobile units takes place during time Period

A. See id. at 4:30-32. Period B is designated for inbound data traffic from mobile

units to the base unit. See id. at 4:33-35. During Period C, mobile units transmit data

to the base unit in a contention mode, and, responsive to a mobile unit’s transmission,

the base unit transmits an outbound ACK/NAK message. See id. at 9:30-34.

Accordingly, the base transmitter must be energized during header durations AH and

BH, during outbound transmission Period A, and also when sending ACK/NAK

messages during Period C. The only subframe during which the base transmitter is

not transmitting is Period B. See DSS-2016, Dezmelyk Dec. at ¶ 32.

      Without additional information regarding “the relative amount of time

consumed by transmission versus nontransmission”—which Natarajan does not

provide—the disclosure pertaining to partitioning of multi-access protocol into

frames and subframes does not teach or suggest that base transmitter operates in a

low-duty cycle. See DSS-2015, Grimes Cross-Exam at 40:21-22 – 41:1 (“So low-

duty cycle is simply a statement about the relative amount of time consumed by

transmission versus nontransmission.”); see also DSS-2016, Dezmelyk Dec. at ¶ 36.

Natarajan is bereft of any disclosure pertaining to the duty cycle of the server

transmitter. See id. at ¶ 38. Specifically, Natarajan does not disclose that the server

transmitter is energized in a low duty cycle. The logical conclusion is that in the data

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network system disclosed in Natarajan, the base transmitter is continuously

energized during the time periods designated for outbound transmissions—which is

how a POSITA would interpret Natarajan for the reasons provided in Section V.1.b.,

infra. Therefore, a POSITA would conclude that Natarajan suggests that the server

transmitter is not energized in low duty cycle RF bursts. See DSS-2016, Dezmelyk

Dec. at ¶ 38.

      In the absence of an express disclosure stating that the base transmitter

operates in a low duty cycle, it is necessary to know “the relative amount of time

consumed by transmission versus nontransmission” to determine whether the duty

cycle of the base transmitter falls within the range that a POSITA would consider as

low duty cycle. See DSS-2015, Grimes Cross-Exam at 40:21-22 – 41:1. Natarajan

lacks this information. See DSS-2016, Dezmelyk Dec. at ¶ 32. The description of

the only exemplary embodiment disclosed in Natarajan would lead a POSITA to a

conclusion that at least in that exemplary embodiment, the base unit transmitter is

not energized in a low duty cycle. See id. at ¶ 35. Accordingly, Natarajan neither

teaches that the base transmitter operates in a low duty cycle nor provides sufficient

information that would suggest to a POSITA the base transmitter is energized in a

low duty cycle.



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                     b. The HDLC packet structure disclosed in Natarajan is
                        inconsistent with a server transmitter being energized in low
                        duty cycle RF bursts.
      As explained in Section V.A.1.a., supra, Natarajan is devoid of disclosure

pertaining to operation of base unit’s transmitter. However, Natarajan does provide

some insight into how the base unit’s transmitter operates in the following

description:

               Packets received or to be sent are held in data storage 68
               and communicated to or from the RF transceiver 54 via
               interface 58 under control of serial channels and a direct
               memory access (DMA) controller (not shown) which is
               part of the microprocessor 62. The function of these serial
               channels is to encapsulate data and control information
               in an HDLC (high-level data link control) packet
               structure and provide the packet in serial form to the RF
               transceiver 54.
               APL 100x, Natarajan at …

      It is well-known in the art that HDLC is an example of a bit-oriented framing

that involves a continuous outbound transmission rather than operation in low duty

cycle RF bursts. The following is an excerpt from Encyclopedia of Networking &

Telecommunications pertaining to bit-oriented framing:

               Bit-oriented framing This type of framing allows the
               sender to transmit a long string of bits at one time. IBM's
               SDLC (Synchronous Data Link Control) and HDLC (High
               Level Data Link Control) are examples of bit-oriented
               protocols. Most LANs use bit-oriented framing. There is

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             usually a maximum frame size. For example, Ethernet has
             a maximum frame size of 1,526 bytes. The beginning and
             end of a frame is signaled with a special bit sequence
             (01111110 for HDLC). If no data is being transmitted,
             this same sequence is continuously transmitted so the
             end systems remain synchronized.
             DSS-2010, Encyclopedia of Networking at pg. 549.

      As the excerpt quoted above indicates, HLDC packet structure is used to

transmit “long strings of data at one time.” See id. When asked to define an “RF

burst,” Petitioner’s expert explained that “the key thing is that the burst is small --

the time it takes is small relative to the overall time that the transmitter could have

been transmitting.” DSS-2015, Grimes Cross-Exam at 46:12-15. Accordingly,

Natarajan’s disclosure of HDLC, which is used for transmitting “long strings of data

at one time,” directly contradicts the requirement of claim 1 of the ‘290 Patent that

server transmitters be energized in RF bursts.

      Moreover, HDLC involves continuous transmissions in which special bit

sequences—i.e. idle words—are transmitted when no data transmission is required.

See DSS-2010, Encyclopedia of Networking at pg. 549. This undermines the

Petitioner’s challenge of claims 1-4 for two reasons. First, a continuous transmission

is an antithesis of RF bursts. See id. (contrasting bit-oriented framing involving

continuous    transmissions    and    clock-oriented    framing    involving    pulsed

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transmissions); see also DSS-2016, Dezmelyk Dec. at ¶ 34. Second, protocols

involving transmission of idle words in an absence of active transmissions are

inconsistent with server transmitter operating in a low-duty cycle because such

protocols extend the duration during which the server transmitter is energized. See,

e.g., APL-1002 at pg. 11 (stating that continuous transmission protocols are

“unsuitable for low-power applications” because “[m]aintaining these continuous

links while there is no data transmission causes the power dissipation to be higher”);3

see also Petition at pg. 53 (“[T]he transmitter (or receiver) consumes power only

when it is actively transmitting a message (or actively receiving a message). This

constitutes low duty cycle RF bursts.”) (internal quotations omitted) (emphasis

added).

                    c. Natarajan’s disclosure of “bursty traffic” during the
                       contention period does not teach or suggest that the server
                       transmitter is energized in RF bursts
      In support of Petitioner’s contention that Natarajan in view of Neve teaches

or suggests the server and peripheral transmitters being energized in RF bursts,


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  It should be noted, that the “continuous transmission” discussed in this section
pertains to outbound transmission subframe during Period A disclosed in
Natarajan. Patent Owner acknowledges that the operation of the base transmitter is
not continuous over the entire frame because the base transmitter is powered down
during inbound traffic in Period B. However, just because the base transmitter is
powered down during a certain subframe, does not mean that the base transmitter
is “energized in low duty cycle RF bursts.”
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Petitioner stated the following: “Natarajan also discloses that there is a period “for

the transfer of all bursty data traffic in a contention mode from mobile units to base

station (inbound traffic), with a header CH.” Petition at pg. 53 (quoting Natarajan)

(emphasis in original). This disclosure of Natarajan, however, does not teach or

suggest that that the server transmitter is energized in RF bursts at least for two

reasons. First, Natrajan’s disclosure of “bursty data traffic” pertains to the contention

period which is designated for inbound traffic from mobile units to the base unit, and

therefore, does not teach or suggest that this type of traffic also applies to the

outbound data traffic. See DSS-2016, Dezmelyk Dec. at ¶ 37.

      Second, arguendo, even if the “bursty data traffic” pertained to the outbound

data traffic, just because the traffic is bursty does not mean that the transmitter is

energized in RF bursts. See id. In fact, “the easiest approach to implement bursty

traffic would be to have the AIF transmitter continuously send dummy data, and

insert useful data when there is actually something to send.” DSS-2017 at pg. 1. This

approach closely aligns with the HDLC protocol, which also involves server

transmitter continuously sending out a data stream wherein idle words are

transmitted when there is no actual data to transmit. See Section V.A.1.c., supra.

Accordingly, Natarajan’s disclosure of “bursty data traffic” does not teach or suggest



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that the server transmitter is energized in RF bursts. See DSS-2016, Dezmelyk Dec.

at ¶ 37.

                    d. Petitioner failed to meet its burden of establishing that
                       Natarajan in view of Neve teaches or suggests that the server
                       transmitter is energized in low duty cycle RF bursts
       Petitioner failed to satisfy its burden of establishing that Natarajan in view of

Neve teaches or suggest server transmitter being energized in low duty cycle RF

bursts. The Petition does not adequately address a material limitation of claim 1:

“said server and peripheral transmitters being energized in low duty cycle RF

bursts.” APL 1001, ‘290 Patent at claim 1. Petitioner quotes disclosures of Natarajan

and Neve teaching that the transmitters of the peripheral units (i.e. mobile units,

slave stations) are energized in low duty cycles. See Petition at pg. 53. Petitioner,

however, does not provide any objective evidence that could reasonably lead to a

conclusion that these references also disclose that the transmitter of the server unit

(i.e. base unit, master station) is also energized in low duty cycle RF bursts.

       Based on Petitioner’s analysis of Natarajan’s and Neve’s disclosures

pertaining to operation of the peripheral units, Petitioner concludes that “Natarajan

and Neve each disclose that the transmitters are ‘energized in low duty cycle RF

bursts.’” Id. (emphasis added). Petitioner, therefore, completely ignores the fact that

claim 1 does not merely recite “transmitters,” but rather, it explicitly requires “said

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server and peripheral transmitters being energized in low duty cycle RF bursts.”

APL 1001, ‘290 Patent at claim 1. Neve discloses that although the server unit and

peripheral units may have similar structures, their functionalities are different. See

APL 1004, Neve at 4:10-15 (“One station, which is physically similar to the others

but operates a different stored program, may be designated the master station and

provides synchronisation signals for all of the other stations (referred to hereinafter

as “slave” stations) and controls access of the stations to the single radio channel.”)

(emphasis added); id. at FIGS. 6 and 7. Accordingly, it is improper to conclude that

just because the peripheral transmitters operate in a low duty cycle, the server

transmitter also operates in a low duty cycle. See DSS-2016, Dezmelyk Dec. at ¶ 39.

      The U.S. Supreme Court set forth that “there must be some articulated

reasoning with some rational underpinning to support the legal conclusion of

obviousness.” KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007). Petitioner’s

arguments fall far short of this legal standard. In fact, other than the excerpt quoted

below, Petitioner provides no reasoning as to why Natarajan in view of Neve would

render obvious the limitation of claim 1 requiring the server transmitter to be

energized in low duty cycle RF bursts:

             For example, in header AH shown in FIG. 5, the “1” in the
             4th, 8th, and 9th bit locations indicates that the
             corresponding mobile units are designated to receive a
                                          25


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             message in their respective time slots. (Id.) Therefore,
             during these time slots, the base station’s (server unit)
             transmitter is energized to transmit data to the mobile
             units. (Grimes Dec. ¶ 116.)
             Petition at pg. 54 (emphasis added)


      Although the statement quoted above is factually correct, it does not establish

that Natarajan teaches or suggests that the server transmitters operate in a low duty

cycle. See DSS-2016, Dezmelyk Dec. at ¶ 41. In fact, Petitioner’s statement is

consistent with the analysis provided in Sections V.A.1.a.-b, supra, which

establishes that Natarajan suggests that during the transmission period the server

transmitter is continuously transmitting data, and therefore, does not operate in a low

duty cycle. See Sections V.A.1.a.-b, supra.

      Petitioner states that a data network in which “the transmitter (or receiver)

consumes power only when it is actively transmitting a message (or actively

receiving a message) . . . constitutes ‘low duty cycle RF bursts.’” See Petition at pg.

53 (emphasis added); see also APL 1008, Grimes Dec. at ¶115. Even under this

construction, Natarajan and Neve do not provide disclosure sufficient to render

obvious claim limitation requiring that server transmitter is “energized in low duty

cycle RF bursts.” See DSS-2016, Dezmelyk Dec. at ¶ 43. In fact, Natarajan teaches

using HDLC, the functionality of which is summarized in the Encyclopedia of


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Networking and Telecommunications: “[i]f no data is being transmitted, this same

sequence is continuously transmitted so the end systems remain synchronized.”

DSS-2010, Encyclopedia of Networking at pg. 549. Neve discloses a similar data

network protocol in which “[i]f no data is currently required to be transmitted, the

master station transmits idle words.” APL 1004, Neve at 4:48-50. Accordingly,

even under Petitioner’s construction, Natarajan and Neve do not disclose server

transmitter operating in low duty cycles because in both Natarajan and Neve, the

server transmitter consumes power not only while it is actively transmitting a

message, but also when it is transmitting idle signals to maintain synchronization.

See DSS-2016, Dezmelyk Dec. at ¶ 45.

      For the reasons set forth above, the Petition lacks any reasoning or objective

evidence that could reasonably establish that Natarajan and Neve teach or suggest

that “said server and peripheral transmitters are energized in low duty cycle RF

bursts.”

              2. Combining Natarajan with Neve does not cure deficiencies of
                 Natarajan and further suggests that the combination of these
                 references does not teach or suggest that server transmitter is
                 energized in low duty cycle RF bursts

                    a. Petitioner’s expert distinguished Neve from transmissions
                       involving RF bursts



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      Claim 1 of the ‘290 Patent unambiguously requires that server transmitter be

“energized in low duty cycle RF bursts.” During the cross-examination, Petitioner’s

expert distinguished data networks using “idle words”—such as the one disclosed in

Neve—from RF bursts:

             Q.    Is there any other type of transmission besides RF
             bursts?
                   MR. CORNWELL:               Objection.    Foundation.
             Objection. Form.
             A.    There are sometimes in some systems where you
             can have a transmission -- in other words, the transmitter
             is transmitting, but there's no information being
             transmitted.
                   The Neve reference refers to that as an idle word, if
             you will. And the idle word means that the transmitter is
             transmitting but there's no information being transmitted.
             Or another way of saying it is that the information that's
             being transmitted is that there's no information there.
             DSS-2015, Grimes Cross-Exam at 42:9-22 (emphasis
             added).


      The above testimony of Petitioner’s expert reinforces that Neve does not teach

or suggest that server transmitter operates in RF bursts. Instead, the expert testimony

reinforces that Neve discloses a data network in which the server transmitter send

out idle words if no other transmission is needed rather than being energized in RF




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bursts only when a data packet must be transmitted to a peripheral unit. See APL

1004, Neve at 4:48-50.

      Petitioner’s expert further testified that although idle transmissions may be

necessary to maintain synchronization in the some data networks, this not how the

‘290 Patent operates. See DSS-2015, Grimes Cross-Exam at 43:20-22 – 44:1-11.

Petitioner’s expert stated the following in response to a question about the purpose

of idle words:

                  It could be -- it could have to do with
            synchronization. It could have to do with, you know, the
            transmitter saying, I'm still here.
                  I mean, in some sense, that’s information. But if you
            look at the data stream, there's no content to the data
            stream. It's just simply you know the transmitter is
            transmitting, but that's all you know.
                   Now, in some cases, that turns out to be important
            to know. But in the case of this system here, the patent,
            it's not discussed.
                  So the patent only talks about transmissions that
            are done for the purpose of conveying useful data to the
            receiving entity.
            Id. (emphasis added).



      The testimony of Petitioner’s expert reinforces that Neve and the ‘290 Patent

operate under functionally different protocols: claim 1 of the ‘290 Patent requires


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that the server transmitter be energized in low duty cycle RF bursts only when an

active data transmission is required, whereas Neve discloses that the server

transmitter (master station) transmits a data stream in which idle words are

transmitted when no data transmission is required. See APL 1004, Neve at 4:48-50,

7:17-19, and 7:41-42.

                    b. Neve does not teach or suggest that server transmitter is
                       energized in low duty cycle RF bursts
      In the Institution Decision, the Board found that Neve does not teach away

from the server transmitter being energized in low duty cycle RF bursts because the

disclosure of Neve does not suggest continuous transmission from the master station.

See Institution Decision at pg. 19-20. The Board’s finding is correct insofar as the

server transmitter is not transmitting during every time slot. See DSS-2016,

Dezmelyk Dec. at ¶ 44. However, during the time slots designated for outbound

transmissions, “[i]f no data is currently required to be transmitted, the master station

transmits idle words.” See APL 1004, Neve at 4:48-50.

      Idle words are inconsistent with server transmitter being energized in low duty

cycle RF bursts for the following two reasons. First, the server transmitter must be

energized while it is actively transmitting data to peripheral units, and additionally,

it must also be energized during transmission of idle words. See DSS-2015, Grimes


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Cross-Exam at 38:2-6 (“[B]eing energized simply means that the transmitter is

transmitting. The transmitter is either transmitting or it’s not transmitting. When it’s

transmitting, it’s energized.”). Transmission of idle words, therefore, increases the

power consumption of the server transmitter and reduces its battery life. See DSS-

2016, Dezmelyk Dec. at ¶ 38. Second, transmission of idle signals may interfere with

the signals transmitted by nearby foreign ensembles, which could disrupt the

operation of both data networks. See id. at ¶ 19. At least for these reasons, protocols

involving idle words are inconsistent with the server operating in low duty cycle RF

bursts because transmission of idle words undermines the following objectives of

low duty cycle RF bursts: “[t]he low duty cycle pulsed operation both substantially

reduces power consumption and facilitates the rejection of interfering signals.” APL

1001, ‘290 Patent at 1:59-61

                    c. Neve reinforces the conclusion that Natarajan does not teach
                       or suggest the server transmitter being energized in low duty
                       cycle RF bursts

      When Natarajan is considered in view of Neve, it becomes even more

apparent that these references, either individually or in combination, do not teach or

suggest that server transmitter is energized in low duty cycle RF bursts. See DSS-

2016, Dezmelyk Dec. at ¶ 45. Neve discloses that the master station transmits idle

words when no other transmission is required. See APL 1004, Neve at 4:48-50.
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Natarajan discloses that data is encapsulated into HDLC packet structure that used

to provide the packet in serial form to the RF transceiver. See APL 1003, Natarajan

at 3:33-37. Both idle words and HDLC are characteristic to bit-oriented framing:

             Bit-oriented framing This type of framing allows the
             sender to transmit a long string of bits at one time. IBM's
             SDLC (Synchronous Data Link Control) and HDLC
             (High Level Data Link Control) are examples of bit-
             oriented protocols. Most LANs use bit-oriented framing.
             There is usually a maximum frame size. For example,
             Ethernet has a maximum frame size of 1,526 bytes. The
             beginning and end of a frame is signaled with a special bit
             sequence (01111110 for HDLC). If no data is being
             transmitted, this same sequence is continuously
             transmitted so the end systems remain synchronized.
             DSS 2010, Encyclopedia of Networking, at pg. 549.

      As established in Section V.A.1.b, supra, bit-oriented framing is inconsistent

with a server transmitter being energized in low duty cycle RF bursts for the

following reasons. First, under bit-oriented framing, the server transmitter transmits

“long strings of bits at one time,” which contradicts RF bursts. See DSS-2016,

Dezmelyk Dec. at ¶ 34. Second, the server transmitter continuously transmits idle

signals when no data is being transmitted, thereby contradicting a low duty cycle

operation. See id. at ¶ 35.

      The Petition states that a data transmission protocol in which “the transmitter

(or receiver) consumes power only when it is actively transmitting a message (or
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actively receiving a message) . . . constitutes ‘low duty cycle RF bursts.’” See

Petition at pg. 53 (emphasis added); see also APL 1008, Grimes Dec. at ¶115.

Accordingly, even under Petitioner’s interpretation of “low duty cycle RF bursts,”

data network systems disclosed in Natarajan and Neve in which the server

transmitter is energized when no data is being transmitted do not teach or suggest

that server transmitter be energized in low duty cycle RF bursts.

      3. The Board should not give any weight to Petitioner’s expert’s
         testimony pertaining to the issue of whether Natarajan in view of Neve
         teaches or suggests that server transmitters are energized in low duty
         cycle RF bursts
       “The Board is capable of taking into account the baselessness of a witness's

testimony, if any, when weighing all of the testimony of the witness.” Liberty Mutual

Insurance Co. v. Progressive Casualty Insurance Co., CBM2013-00009, Final

Written Decision at pg. 47 (Feb. 11, 2014). The Manual of Patent Examining

Procedure (“MPEP”) provides that “[t]he person of ordinary skill in the art is a

hypothetical person who is presumed to have known the relevant art at the time of

the invention.” MPEP 2141.03.I. In this case, Dr. Grimes, Petitioner’s expert, cannot

be considered a person of ordinary skill in the art at least because he has admitted

his unfamiliarity with several key elements of Natarajan and Neve.




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      Specifically, when asked about whether he was familiar with HDLC, Dr.

Grimes replied: “I have passing familiarity with HDLC. I’ve certainly heard of it.”

DSS-2015, Grimes Cross-Exam at 51:6-10. Passing familiarity with a key element

of the prior art is insufficient to render a reliable and well-informed opinion on

whether the prior art renders obvious a patent claim. Dr. Grimes further admitted

that he is unfamiliar with the terms “idle words,” despite this concept being explicitly

discussed in Neve:

                     Q.    Is it possible the transmitter could be sending
             an idle word during that time?

                           MR. CORNWELL: Objection. Form.

                     A.    That's not disclosed at all in Natarajan.

                           BY MR. LYTVYN:

                     Q.    But that's within the knowledge of an
             ordinary person skilled in the art at that time; is that
             correct?

                     A.    This notion of idle words is a weird concept
             that I have not run into before, so I'm not sure that that
             would be understood by a person of ordinary skill in the
             art.




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                   When I saw that in Neve, I thought to myself, what
            is this? And I did a little bit of research to try and figure it
            out, and it's weird.

                   Apparently, it refers to -- according to -- in Neve,
            refers to some kind of a mechanism to let you know that
            the transmitter is still working, even though it's
            transmitting not useful information.

                   It's just transmitting a sequence of 1s or something
            like that.

                   Q.     So your opinion is that a person of ordinary
            skill in the art would not be familiar with that scheme at
            the time of the invention in 1997?

                          MR. CORNWELL: Objection. Form.

                   A.     Yes. That was a new term for me. I certainly
            have never heard this term "idle word" before.

                   I don't believe that a person of ordinary skill would
            understand what it means either.

            DSS-2015, Grimes Cross-Exam at 68:13-22 – 69:1-20 (emphasis
            added)


      In this case, determination of whether Natarajan in view of Neve teaches or

suggests the server transmitters being energized in low duty cycle RF bursts hinges

on proper understanding of “HDLC” and “idle words”—both of which are explicitly
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disclosed in the prior art cited against claims 1-4 of the ‘290 Patent. See Sections

V.A.1-2, supra. In the testimony quoted above, Dr. Grimes admitted that the

concepts of “idle words” and “HDLC” fall outside the boundaries of his expertise.

Because Dr. Grimes admittedly does not have requisite knowledge and

understanding of these concepts, he could not have competently analyzed whether

the server transmitter in Natarajan is send out idle words when no active

transmission is required. Accordingly, the testimony of Dr. Grimes on the issue of

whether Natarajan in view of Neve teaches or suggests “said server and peripheral

transmitters being energized in low duty cycle RF bursts” limitation of claim 1 is

unreliable and should not be given any weight.

      For the reasons set forth above, Natarajan in view of Neve do not render claim

1 obvious. Claims 2-4 depend from patentable claim 1, and therefore are patentable

as a matter of law. See In re Fine, 837 F.2d 1071, 1076 (Fed. Cir. 1988).

Accordingly, the Board should deny Petitioner’s challenge of claims 1-4 based on

obviousness over Natarajan in view of Neve.


      VI. CONCLUSION


      For the reasons set forth above, Petitioner failed to prove by preponderance

of evidence that the challenged claims are unpatentable based on the asserted


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grounds for invalidity. Accordingly, the Board should affirm the validity of all

claims 1-4 of the ‘084 Patent.



Date: October 5, 2015                      Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, in accordance with 37 C.F.R. §

42.6(e), the above Patent Owner’s Response and a copy of the Exhibits were

served via electronic mail on October 5, 2015, in their entirety upon the following:



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          UNITED STATES PATENT AND TRADEMARK OFFICE
                      _____________________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      _____________________


                                 APPLE INC.
                                  Petitioner

                                     v.

                DSS TECHNOLOGY MANAGEMENT, INC.
                           Patent Owner

                          _____________________

                            Case IPR2015-00369
                              Patent 6,128,290
                          _____________________

        PETITIONER’S REPLY TO PATENT OWNER RESPONSE




Mail Stop “PATENT BOARD”
Patent Trial and Appeal Board
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                                                                IPR2015-00369
                                                         U.S. Pat. No. 6,128,290
                            EXHIBIT LIST

  Apple                                  Description
Exhibit No.
APL 1001      U.S. Patent No. 6,128,290 to Carvey (“the ʼ290 patent”)
APL 1002      T. J. Barber, Jr., “BodyLAN™: A Low Power Communications
              System,” Masterʼs Thesis at Massachusetts Institute of Technol-
              ogy, 1996 (“Barber”)
APL 1003      U.S. Patent No. 5,241,542 to Natarajan (“Natarajan”)
APL 1004      U.S. Patent No. 4,887,266 to Neve (“Neve”)
APL 1005      Prosecution History of U.S. Application No. 08/949,999 (now
              U.S. Patent No. 6,128,290) (“the ’999 application”)
APL 1006      U.S. Application No. 08/611,695 (as-filed) (“the ’695 applica-
              tion”)
APL 1007      Apple’s Claim Construction Brief in Case No. 6:13-cv-00919
              JDL (EDTX)
APL 1008      Declaration of Jack D. Grimes, Ph.D. in Support of Petition for
              Inter Partes Review of U.S. Patent No. 6,128,290 (“Grimes
              Dec.”)
APL 1009      Curriculum Vitae of Jack D. Grimes, Ph.D. (“Grimes CV”)
APL 1010      INTENTIONALLY BLANK
APL 1011      Deposition Transcript of Robert Dezmelyk, IPR2015-00369 and
              IPR2015-00373, December 15, 2015 (“Dezmelyk Depo.”)
APL 1012      Mischa Schwartz, Telecommunications Networks: Protocols,
              Modeling and Analysis, Addison-Wesley, 1988 (“Schwartz”)
APL 1013      Tom Sheldon, Encyclopedia of Networking & Telecommunica-
              tions, Lisa Wolters-Broder ed., McGraw Hill, 2001 (other ex-
              cerpts submitted as DSS 2010)
APL 1014      Declaration of Dr. Jing Hu (“Hu Dec.”)
APL 1015      Curriculum Vitae of Dr. Jing Hu




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                                                                     IPR2015-00369
                                                              U.S. Pat. No. 6,128,290
I.    Introduction
      Claims 1-4 of the ’290 patent at issue in this inter partes review are merely a

combination of well-known concepts. Each and every limitation is either expressly

disclosed in the prior art or would have been plainly obvious to a person of ordi-

nary skill in the art (“POSA”).

      DSS’s sole argument in its Patent Owner’s Response is that the combination

of Natarajan and Neve does not teach or suggest a server transmitter that operates

in “low duty cycle RF bursts.” Although this term was not commonplace, the tech-

nical features it describes were well-known to those of ordinary skill in the art.

      DSS’s argument is flawed for at least four reasons. First, Natarajan teaches

or suggests a server transmitter operating in “low duty cycle RF bursts.” Second,

DSS bases its argument on the inaccurate premise that HDLC is inconsistent with

low duty cycle RF bursts. In particular, DSS erroneously assumes that HDLC uses

idle words. Third, DSS uses faulty logic to define “low duty cycle” and imposes an

arbitrary 10% maximum threshold. And fourth, DSS bases its positions on the tes-

timony Mr. Dezmelyk, which lacks credibility, particularly because he admits that

he is not an expert in HDLC.

      Accordingly, DSS’s argument is meritless. Apple has shown by a prepon-

derance of the evidence that claims 1-4 of the ’290 patent are unpatentable and the

Board should enter judgment in accordance therewith.



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                                                                 IPR2015-00369
                                                          U.S. Pat. No. 6,128,290
II.   Natarajan teaches or suggests a server transmitter operating in “low
      duty cycle RF bursts,” as recited in claim 1 of the ’290 patent.
      The vague term “low duty cycle RF bursts” is not defined in the ’290 patent.

As the Board correctly recognized in the Institution Decision, under the broadest

reasonable interpretation of this term, Natarajan’s “scheduled multi-access protocol

in which time is divided into fixed-length frames, along with Natarajan’s descrip-

tion of frames being divided into slots and multiple subframes” demonstrates that

Natarajan discloses “said server and peripheral transmitters being energized in low

duty cycle RF bursts.” (Institution Decision, p. 18; Hu Dec. ¶ 43.) Indeed, like the

’290 patent, Natarajan discloses that “[s]cheduled access multiaccess protocols can

be implemented to effectively conserve battery power by suitable control of the

state of transmitter and receiver units at the portable units (i.e., by scheduling when

they should be turned ON or OFF)…the transmitter (or receiver) consumes power

only when it is actively transmitting a message (or actively receiving a message).”

(Natarajan, 3:59-4:6.) This type of communication operates in “low duty cycle RF

bursts.” (Grimes Dec. ¶ 115; Hu Dec. ¶ 43.)

      DSS argues that Natarajan only describes that the mobile units operate in

this manner. (POR, p. 16.) But a POSA would have understood that, similarly,

when the base station is not transmitting, its transmitter is powered off. (Grimes

Dec. ¶¶ 27, 115-116; Grimes Depo. (DSS 2015), 68:5-12, 74:7-19, 75:21-76:3; Hu

Dec. ¶ 44.) In Natarajan, “[m]ost users are very likely to be inactive (both Trans-


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                                                                 IPR2015-00369
                                                         U.S. Pat. No. 6,128,290
mit-Inactive and Receive-Inactive) most of the time for most applications. This is

primarily due to the bursty nature of data communication traffic.” (Natarajan,

6:41-44 (emphasis added).) A POSA would have understood this to mean that Na-

tarajan’s base station and mobile units operate in low duty cycle RF bursts. (Hu

Dec. ¶ 45.)

       Moreover, DSS acknowledges that Natarajan explicitly discloses that the

mobile unit transmitters operate in “low duty cycle RF bursts.” (POR, p. 16;

Dezmelyk Dec. ¶ 31.) So even if not expressly taught by Natarajan, it would have

been plainly obvious to a POSA to have the base station operate in an analogous

manner. (Hu Dec. ¶ 45.) Because the base and mobile stations have the same phys-

ical structure, this would have been no more than using a known technique to im-

prove similar devices in the same way. (Natarajan, 3:7-8; Hu Dec. ¶ 45.) The “low

duty cycle RF bursts” limitation of claim 1 is not novel. (Hu Dec. ¶ 45.)

III.   HDLC is consistent with low duty cycle RF bursts.
       DSS alleges that the High-Level Data Link Control (HDLC) packet structure

disclosed in Natarajan is inconsistent with a server transmitter being energized in

low duty cycle RF bursts. (POR, pp. 20-22.) This is false. First, the ’290 patent’s

preferred embodiment uses HDLC. Second, DSS relies on testimony from Mr.

Dezmelyk, who admits he is not an expert in HDLC. Third, a POSA would have

been directed to Schwartz for information on Natarajan’s HDLC protocol and un-



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                                                                 IPR2015-00369
                                                         U.S. Pat. No. 6,128,290
derstood that HDLC is consistent with low duty cycle RF bursts. Fourth, DSS con-

cocts inaccurate, piecemeal arguments that are inconsistent with the HDLC proto-

col. And fifth, Natarajan’s HDLC protocol does not use idle words.

      A.      The preferred embodiment in the ’290 patent uses HDLC.
      DSS’s argument that HDLC is inconsistent with low duty cycle RF bursts is

meritless because the preferred embodiment of the ’290 patent itself discloses us-

ing HDLC for communication between the PDA and PEAs. If DSS’s argument is

believed, then the ’290 patent’s preferred embodiment would not be enabled.

      The “basic scheme” of the ’290 patent’s frame structure is “a form of time

division multiple access (TDMA).” (’290 patent, 5:45-50.) The ’290 patent states

that “[a]s will be understood by those skilled in the art, the TDMA system is

greatly facilitated by the establishment of a common frame time base between PEA

and PDA.” (Id. at 7:63-65 (emphasis added).) This is accomplished using synchro-

nization beacons (SBs). (Id. at 7:65-67.) Before receiving the SBs, a PEA is asso-

ciated with the PDA using a succession of Attachment Beacons (ABs), which are

“composed of RF bursts,” broadcast from the PDA to the PEAs. (Id. at 9:8-16,

9:66-10:2.) “This succession of ABs forms an HDLC channel using bit-stuffing to

delineate the beginning and end of a packet.” (Id. at 10:2-4 (emphasis added).)

      So, the ’290 patent uses HDLC to transmit and receive RF bursts. (Hu Dec.

¶¶ 48-49.) Thus, the ’290 patent itself shows that DSS’s argument is fallacious.



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                                                             IPR2015-00369
                                                      U.S. Pat. No. 6,128,290
      B.      DSS relies on the testimony of Mr. Dezmelyk, who admits he is
              not an expert in HDLC.
      DSS relies on Mr. Dezmelyk’s testimony to support its argument that HDLC

is inconsistent with a server transmitter operating in low duty cycle RF bursts. (See

e.g., POR, pp. 21-22 (citing Dezmelyk Dec. ¶ 34.).) But Mr. Dezmelyk admits he

is not an expert in HDLC.

              Q.· Are you an expert in the HDLC protocol?

              A.· No.·I would not say I am an expert in that area.

      (Dezmelyk Depo., 26:15-16.)

      Mr. Dezmelyk is not an inventor on any patents related to HDLC protocol;

he has not received any industry awards related to HDLC protocol; and he has

never lectured on HDLC protocol. (Id. at 19:10-20:4.) In fact, this IPR and the re-

lated district court case are the only matters he recollects working on that are even

related more generally to wireless communication (id. at 21:1-22), which he asserts

is “a hugely broad topic area” (id. at 26:1-2). Although his standard practice is to

attach his Curriculum Vitae with a declaration, he did not here. (Id. at 16:5-7.)

There is no evidence that Mr. Dezmelyk is qualified to opine on HDLC. To the

contrary, by his own admission, Mr. Dezmelyk is not an expert in HDLC. And his

understanding of the HDLC protocol is factually inaccurate. (Hu Dec. ¶ 50.) Ac-

cordingly, DSS’s reliance on his testimony on HDLC must be disregarded.




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                                                                IPR2015-00369
                                                        U.S. Pat. No. 6,128,290
      C.        A POSA would have looked to Schwartz for information on Nata-
                rajan’s HDLC protocol and understood that it is consistent with
                low duty cycle RF bursts.
           1.     Mr. Dezmelyk did not consider Schwartz–the most logical ref-
                  erence for information on Natarajan’s HDLC protocol–when
                  forming his opinions.
      A POSA need not look any further than Natarajan itself for direction on

more specifics about Natarajan’s HDLC protocol. Natarajan describes that infor-

mation packets are transmitted between the base station and mobile stations:

      Packets received or to be sent are held in data storage 68 and commu-
      nicated to or from the RF transceiver 54 via interface 58 under control
      of serial channels…. The function of these serial channels is to encap-
      sulate data and control information in an HDLC (high-level data link
      control) packet structure and provide the packet in serial form to the
      RF transceiver 54. For more information on the HDLC packet struc-
      ture, see, for example, Mischa Schwartz, Telecommunication Net-
      works: Protocols, Modeling and Analysis, Addison-Wesley (1988).
      (Natarajan at 3:28-40 (emphasis added).)
      So, the Schwartz book (APL 1012) is the most logical resource for a POSA

to consult for information on Natarajan’s HDLC packet structure. (Hu Dec. ¶ 51.)

Indeed, Mr. Dezmelyk acknowledged that a POSA would have access to Schwartz.

(Dezmelyk Depo., 72:12-22.) Yet Mr. Dezmelyk never looked at Schwartz when

considering how Natarajan’s HDLC packet structure operates. (Id. at 71:11-73:13.)

Nor does DSS reference Schwartz. Instead, DSS forgoes logic, formulating a con-

voluted argument that defies technical accuracy. (See infra, Section III.D.)

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                                                      IPR2015-00369
                                               U.S. Pat. No. 6,128,290
   2.    Natarajan’s HDLC protocol is consistent with low duty cycle
         RF burst communication.
Schwartz provides a concise summary of the HDLC frame format:

The standard frame format for HDLC (ADCCP and SDLC have the
same format) appears in Fig. 4-9. Note that the number of overhead
(control) bits is ℓ' = 48, just the number used earlier for calculations.
The eight-bit flag sequence 01111110 that appears at the beginning
and end of a frame is used to establish and maintain synchroniza-
tion. Because the flag appears at the beginning and end of the frame
there is no need to prescribe an information field structure. The in-
formation field (packet) delivered from the network layer above can
be any desired number of bits. Extended versions of the frame struc-
ture of Fig. 4-9 are available as well: The address, control, and
block­check fields can all be increased to allow additional addressing,
improved error detection, and increased sequence numbers. Since the
flags appearing at the beginning and end of a frame contain six con-
secutive ones, that sequence may not appear anywhere else in the
frame. Bit stuffing is used to eliminate this possibility: a zero is in-
serted at the transmitter any time that five ones appear outside the F
fields. The zeros are removed at the receiver. If seven ones appear
anywhere in the frame (six ones followed by an additional one), the
frame is declared in error.




(Schwartz, pp. 135-136 (emphasis added), Fig. 4-9.)

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                                                         U.S. Pat. No. 6,128,290
      Schwartz also describes that “[w]hen the transmitter reaches its maximum

sequence number it is forced to stop transmitting until a frame in the reverse direc-

tion is received, acknowledging an outstanding packet.” (Id. at 136 (emphasis add-

ed).) Thus, the transmitter does not continuously transmit under HDLC protocol.

(Hu Dec. ¶ 53.) The discontinuous transmission of the HDLC protocol is also

shown in Schwartz’s throughput calculation illustrated in Figure 4-13, showing pe-

riods (e.g., between I10 and I30) where the transmitter is idle (i.e., not transmit-

ting). (Id.) Figure 4-13 illustrates the maximum throughput, so the amount of time

the transmitter is not transmitting is at a minimum. (Schwartz, p. 142 (“This station

is assumed in addition to be in a saturated state: It always has frames to send. As

noted earlier, this provides the maximum possible throughput.” (emphasis origi-

nal)); Hu Dec. ¶ 53.) When the primary station is not saturated, there will be addi-

tional periods where the transmitter is not transmitting. (Hu Dec. ¶ 53.)




                       Annotated Figure 4-13 of Schwartz




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                                                        U.S. Pat. No. 6,128,290
      Thus, the HDLC protocol described in Schwartz is consistent with low duty

cycle communication. (Hu Dec. ¶ 54.) Moreover, as illustrated, for example by the

I-frames I00-I30 in Figure 4-13, the transmissions occur in “bursts.” (Id.)

      Schwartz also describes the three modes of operation for the HDLC proto-

col. (Schwartz, pp. 137-138.) The asynchronous balanced mode (ABM) is for

point-to-point transmission only, and therefore inapplicable to Natarajan, which is

point-to-multipoint communication. (Id.; Hu Dec. ¶ 55.) The normal response

mode (NRM) and asynchronous response mode (ARM) are used for point-to-

multipoint operation. (Schwartz, p. 137; Hu Dec. ¶ 55.)

      A POSA would have understood that Natarajan operates using the ARM.

(Hu Dec. ¶ 55.) ARM provides that “the secondary station does not need permis-

sion from the primary station to initiate transmission.” (Schwartz, p. 137.) This oc-

curs in Period C in Natarajan, which allows for “bursty data traffic in a contention

mode from mobile units to base station.” (Natarajan, 4:36-37 (emphasis added);

Hu Dec. ¶ 55.) In Period C, the mobile units initiate transmission without permis-

sion from the base station. (Hu Dec. ¶ 55.)

      D.      DSS and Mr. Dezmelyk concoct inaccurate piecemeal arguments
              from excerpts of unrelated references that are inconsistent with
              each other and inconsistent with the operation of HDLC.
      DSS and Mr. Dezmelyk did not consider the most logical reference–

Schwartz–for information on Natarajan’s HDLC protocol. Instead, they piece to-



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gether a patchwork of references in an ill-fated effort alleging that Natarajan does

not teach low duty cycle RF bursts because it employs HDLC. (POR, pp. 20-22;

Dezmelyk Dec. ¶¶ 34-35.) This argument is meritless because the disparate refer-

ences do not support the asserted premise. (Hu Dec. ¶ 56.)

      First, DSS’s reliance on the excerpt from DSS 2010 is misplaced. DSS as-

serts that the cited definition of “bit-oriented framing” shows that HDLC “involves

continuous outbound transmission.” (POR, pp. 20-21.) But DSS neglects to

acknowledge the very first sentence of the cited section, stating that “[a] point-to-

point connection between two computers or devices consists of a wire in which

data is transmitted as a stream of bits.” (DSS 2010, p. 549 (emphasis added).) DSS

2010 refers to point-to-point wired communication, not to a point-to-multipoint

wireless system as taught in Natarajan. (Hu Dec. ¶ 56.) There are fundamental dif-

ferences and unique challenges between point-to-point wired systems and point-to-

multipoint wireless systems–the features are not simply interchangeable. (Id. at 57-

60.) For example, a continuous transmission of so-called “idle words” to maintain

synchronization when there is no data to transmit–suitable for an isolated point-to-

point wired connection for design simplicity and reliability–would be detrimental

to a point-to-multipoint wireless connection because it would interfere with the

carefully designed scheduling, waste power, decrease the system data rate, and pol-

lute the wireless channel potentially shared by many devices. (Id. at 59.)


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        DSS also asserts that the “HLDC [sic] packet structure is used to transmit

‘long strings of data at one time,’” and therefore is inconsistent with “small” RF

bursts. (POR, p. 21 (emphasis original).) DSS misquotes this passage, which actu-

ally states: “[t]his type of framing allows the sender to transmit a long string of

bits at one time.” (DSS 2010, p. 549 (emphasis added).) A POSA would have un-

derstood that this does not mean that HDLC only sends a long string of bits; nor

does it suggest that transmitting a string of bits is not a “burst.” (Hu Dec. ¶ 61.) Ra-

ther, a sender with data bits to transmit “at one time” does not have to break the

string into smaller packets before the string of bits reach the data link layer. (Id.)

        Moreover, this same reference discloses that the number of bits in the Infor-

mation Field of an HDLC frame is “variable.” (APL 1013, p. 582, Figure H-2.) Mr.

Dezmelyk, however, did not consider any portion of this reference other than what

DSS provided to him. 1 (Dezmelyk Depo., 101:4-102:7.)




1
    Regarding DSS 2010, Mr. Dezmelyk asserts he was “trying to get [a reference] in

the right time frame” (Dezmelyk Depo., 101:18-19), but the copyright date for this

reference is 2001–well after the ’290 patent’s filing date.




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                          Annotated Figure H-2 of APL 1013

         This portion of DSS 2010 (APL 1013)–uncited by DSS–corroborates

Schwartz. (Schwartz, p. 135 (“The information field (packet) delivered from the

network layer above can be any desired number of bits.”) (emphasis added).) So,

the HDLC frame format is compatible with a “burst” transmission. (Hu Dec. ¶ 62.)

         Next, Mr. Dezmelyk tries to tie the excerpt from DSS 2010 with an excerpt

from DSS 2013, proposing that Natarajan teaches continuous transmission, which

it does not. Mr. Dezmelyk notes that Natarajan’s HDLC packets are in “serial

form.” (Dezmelyk Dec. ¶ 35 (citing APL 1003 at 3:36-37).) He alleges that serial

communication systems “include a server transmitter transmitting idle words when

no useful data is being transmitted.” (Dezmelyk Dec. ¶ 35.) But nowhere does DSS

2013 use the term “idle words.”2 Mr. Dezmelyk instead provides a quote: “In syn-

chronous transmission, groups of bits are combined into frames and frames are

sent continuously with or without data to be transmitted.” (Id. (quoting DSS 2013,

p. 2 (emphasis added)).) But this does not describe Natarajan’s HDLC protocol,

2
    Importantly, Natarajan’s system does not use idle words. (Section III.E., infra.)




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which is asynchronous. (Hu Dec. ¶ 64.) Mr. Dezmelyk is wrong that a POSA

would not have known whether Natarajan operates under a synchronous or asyn-

chronous protocol. (Dezmelyk Depo., 99:12-20; Hu Dec. ¶ 64.) His assertion un-

derscores his misunderstanding of HDLC, a subject on which he admits he is not

an expert. (Dezmelyk Depo., 26:15-16; Hu Dec. ¶ 50.) As discussed above in Sec-

tion III.C.2, a POSA would have understood that Natarajan operates under the

asynchronous response mode (ARM) of HDLC. (Hu Dec. ¶ 64.)

      The very next sentences in DSS 2013 distinguish that “[i]n asynchronous

transmission, groups of bits are sent as independent units with start/stop flags and

no data link synchronization, to allow for arbitrary size gaps between frames.

However, start/stop bits maintain physical bit level synchronization once detect-

ed.” (DSS 2013, p. 2 (emphasis added).) These “start/stop flags” for synchroniza-

tion corroborate Schwartz, that an “eight-bit flag sequence 01111110 that appears

at the beginning and end of a frame is used to establish and maintain synchroniza-

tion.” (Schwartz, p. 135; Hu Dec. ¶ 65.) Thus, in HDLC, transmission is not con-

tinuous, as DSS asserts; rather, there are gaps between frames. (Hu Dec. ¶ 65.)

      Finally, Mr. Dezmelyk pieces an excerpt from DSS 2014 together with the

excerpts from DSS 2010 and DSS 2013. (Dezmelyk Dec. ¶ 35 (quoting DSS 2014

at Section 2.5.6. (“When transmitting, the Asynchronous HDLC controller will

transmit IDLE characters (characters consisting of only “1”s) when no data is


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available for transmission.”)).) This association is inapt for two reasons. First, DSS

2014 relates to point-to-point communications, not point-to-multipoint communi-

cations as in Natarajan. (DSS 2014, p. 4 (“This protocol is typically used as the

physical layer for the Point-to-Point (PPP) protocol.”); Hu Dec. ¶ 66.) As discussed

above, a point-to-point wired connection and a point-to-multipoint wireless con-

nection are two fundamentally different types of data communication with distinct

design challenges and principles. (See supra, Section III.D; Hu Dec. ¶¶ 57-60, 66.)

Second, DSS 2014 is a technical manual for a proprietary Motorola product, which

uses a modified “HDLC-like” protocol. (Hu Dec. ¶ 66.) This is evident because it

can repeatedly transmit “characters consisting of only ‘1’s.” (Id.) This violates the

standard HDLC protocol, where “[i]f seven ones appear anywhere in the frame

(six ones followed by an additional one), the frame is declared in error.”

(Schwartz, p. 136 (emphasis added); see also APL 1013, p. 582 (“If any portion of

the data in the frame contains more than five 1 bits, a zero-bit insertion technique

inserts a 0 bit to ensure that data is not mistaken for a flag.”).)

      Thus, DSS 2014 does not disclose the standard HDLC protocol and so it

cannot be used to support DSS’s position. (Hu Dec. ¶¶ 67-68.) Yet Mr. Dezmelyk

relies on this document as supposedly disclosing “the HDLC spec,” which it does

not. (Dezmelyk Depo., 69:17-71:1; Hu Dec. ¶ 68.) Because Mr. Dezmelyk bases

his opinions on DSS 2014, which does not disclose the standard HDLC protocol,


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his opinions on HDLC are unsupported. (Hu Dec. ¶ 68.)

      The piecemeal argument cobbled together by DSS and Mr. Dezmelyk pro-

vides misinformation about how HDLC operates. Indeed, excluded portions of the

very references they cite belie their contentions regarding HDLC, and thus their

assertions regarding Natarajan. Accordingly, DSS’s arguments are baseless.

      E.        DSS’s “idle words” argument is a red herring.
           1.     Neve is cited to expressly show that synchronizing a base sta-
                  tion and peripheral units was well-known.
      Apple’s Petition includes Neve in combination with Natarajan because “Na-

tarajan does not explicitly describe synchronizing the mobile units with the base

station.” (Petition, p. 40.) However, Natarajan teaches numerous reasons that “co-

ordinated timing of transmissions is important”. (See id. at 40-41 (citing Grimes

Dec. ¶ 92); Hu Dec. ¶ 69.) Thus, a POSA would have been motivated to precisely

synchronize the mobile units and base unit, leading a POSA to Neve–an example

of a conventional synchronization technique. (Petition, pp. 41-42; Hu Dec. ¶ 69.)

      Indeed, although Natarajan does not explicitly disclose synchronizing the

mobile units with the base station, the HDLC protocol, for example as described in

Schwartz, explains that the “standard frame format for HDLC” has an “eight-bit

flag sequence 01111110 that appears at the beginning and end of a frame [that] is

used to establish and maintain synchronization.” (Schwartz, p. 135 (emphasis

added).) Thus, Natarajan’s HDLC protocol contemplates a synchronization mech-


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anism. (Hu Dec. ¶ 70.) To make clear that synchronization was well-known, Neve

is combined with Natarajan. As Mr. Dezmelyk acknowledges, synchronization was

within the skill of a POSA. (Dezmelyk Depo., 93:6-16; Hu Dec. ¶ 70.)

         2.     Natarajan’s HDLC protocol does not use idle words.
      Again, Apple cites Neve to make clear that synchronization was convention-

al in communication networks before the ’290 patent’s priority date. DSS uses

Neve as a distraction, conjuring a theory that Natarajan uses idle words, as dis-

closed in Neve. DSS’s theory is unfounded. (Hu Dec. ¶¶ 71-72.)

      To begin with, even Neve’s master station does not continuously transmit

idle words. (Id. at 71.) The Board correctly found that Neve “do[es] not suggest

continuous transmission from the master station, but instead transmission of idle

words in the event that there is no data required to be transmitted in the time slots

specifically allocated for transmission by the server” and that “the master station

performs different functions during different time slots, only certain of which in-

volve transmission.” (Institution Decision, p. 20 (emphasis added); Hu Dec. ¶ 71.)

Idle words are not continuously transmitted in Neve. (Hu Dec. ¶ 71.)

      DSS contorts the inclusion of Neve as somehow suggesting that Natarajan

operates identically, which it does not. (Id. at 72.) In particular, DSS suggests that

Natarajan transmits idle words (POR, pp. 32-33), which it does not. (Hu Dec. ¶

72.) Indeed, neither Natarajan, nor Schwartz’s discussion of HDLC for that matter,



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mention idle words. This is likely because using idle words in Natarajan would be

pointless. (Id. at 73.) First, HDLC has a mechanism–start/stop flags–for synchroni-

zation, so idle words would be redundant. (Id.) Second, if Natarajan used idle

words, they would be transmitted “out into the air and there is nobody really pay-

ing attention to it.” (Dezmelyk Depo., 84:22-85:1 (emphasis added).) This is illog-

ical. (Hu Dec. ¶ 73.) Mr. Dezmelyk tries to reconcile, asserting that when receivers

turned back on, they could synchronize onto the stream of idle words. (Dezmelyk

Depo., 85:2-14.) But Natarajan discloses that “each receiving mobile unit can

compute exactly when it should be ready to receive packets from the base sta-

tion…to wake itself up at its designated time for receiving data.” (Natarajan, 4:67-

5:3 (emphasis added).) Thus, a POSA would understand that Natarajan does not

operate in the manner Mr. Dezmelyk suggests. (Hu Dec. ¶ 73.)

      Mr. Dezmelyk even acknowledges that Natarajan does not actually disclose

continuous transmission: “…using the Natarajan example, there is a period of time

for outbound data traffic. There will be effectively, if there is a lot of data sent,

continuous transmission over across that interval.” (Dezmelyk Depo., 62:3-6 (em-

phasis added).) And although he is factually inaccurate because the HDLC proto-

col does not use idle words, Mr. Dezmelyk asserts that HDLC only “typically” us-

es idle words. (Id. at 69:10-16.)




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      Moreover, Mr. Dezmelyk asserts that systems using idle words can have, for

example, ten consecutive 1’s. (Dezmelyk Depo., 98:1-13.) Again, Mr. Dezmelyk is

wrong. (Hu Dec. ¶ 74.) HDLC cannot have more than six consecutive 1’s, other-

wise an error is declared. (Schwartz, p. 135-136; Hu Dec. ¶ 74.) That is why, ac-

cording to the book cited by DSS, “[i]f any portion of the data in the frame con-

tains more than five 1 bits, a zero-bit insertion technique inserts a 0 to ensure that

data is not mistaken for a flag,” which is 01111110. (APL 1013, p. 582.)

      Nothing in Natarajan or the HDLC protocol suggests using idle words. (Hu

Dec. ¶ 75.) And, in fact, a POSA would understand that HDLC does not use idle

words. (Id.) DSS’s argument on this point is meritless.

IV.   DSS’s “low duty cycle” argument is meritless.
      A.      Mr. Dezmelyk’s definition of “duty cycle” is nonsensical.
      Mr. Dezmelyk asserts in his declaration that “duty cycle” should be con-

strued to mean “the ratio of the duration during which the server transmitter is en-

ergized to the total duration designated for outbound transmissions–from the server

unit to the peripheral units.” (Dezmelyk Dec. ¶ 23.) But in his deposition, he pro-

vides two different, yet equally confounding, explanations for determining duty

cycle. In each case, the ’290 patent would have a 100% duty cycle.

      First, in his redirect testimony, Mr. Dezmelyk asserts that “duty cycle is

measured based on when you are transmitting.” (Dezmelyk Depo., 116:8-9.) He



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asserts that Natarajan has a 100% duty cycle because “if you measure during what

periods of time it is transmitting it is transmitting at 100 percent duty cycle.”

(Dezmelyk Depo., 69:7-9.) But of course, if the only times used to calculate duty

cycle are when the transmitter is actually transmitting, the duty cycle will always

be 100%. (Hu Dec. ¶ 80.) Using Mr. Dezmelyk’s example from the ’290 patent, if

transmissions occur in 3 out of 64 slots and “if you measure during what periods of

time it is transmitting” (i.e., the 3 transmissions slots), the ’290 patent transmits at

a 100% duty cycle. (Dezmelyk Dec. ¶¶ 24, 26; see also Dezmelyk Depo., 116:10-

14 (“So if there was enough data to occupy two slots then the question is:· What is

the duty cycle of the RF transmitter during that period of time of those two slots.

Or the aggregate time of those two slots if they weren’t adjacent to one another.”);

Hu Dec. ¶ 80.) Under Mr. Dezmelyk’s interpretation, if a particular time slot is

filled by a transmission, the duty cycle is 100%. (Hu Dec. ¶ 80.)

      Second, Mr. Dezmelyk doubles down on this peculiar interpretation, assert-

ing that duty cycle is calculated based on the sub-portion of a time slot taken up by

a transmission. Mr. Dezmelyk asserts that:

      if you had -- you are using in essence two slots out of the 10 that are
      available, and particular slots have a fixed width, then that period of
      time of the two slots that you actually have something to transmit in
      gives you the kind of what you are dividing by, the time you are di-
      viding by to calculate the duty cycle. You are looking at the percent-


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      age of time that the transmitter is active during the period in time
      when, in essence when a transmission is called for.
      (Dezmelyk Depo., 116:20-117:6 (emphasis added).)

      Put another way by Mr. Dezmelyk, “the question is, what percentage of that

slot time is taken up by the transmission.” (Dezmelyk Depo., 106:2-4 (emphasis

added).) So, Mr. Dezmelyk’s interpretation requires determining the percentage of

a single transmission slot used for transmission. (Hu Dec. ¶ 82.) Again, Mr.

Dezmelyk’s calculation for the ’290 patent accounts for transmission during the

entirety of the 3 time slots (out of the 64 total slots), which would be a 100% duty

cycle under his interpretation. (See ’290 patent at 4:2-6 (“For each slot, this

TDMA program indicates that a PEA or host is to transmit, or not, and whether it

will receive, or not.”); Hu Dec. ¶ 82.)

      Neither of Mr. Dezmelyk’s interpretations of duty cycle are consistent with

the ’290 patent. (Hu Dec. ¶ 82.) And only under this inaccurate interpretation of

duty cycle is he able to allege that Natarajan has a 100% duty cycle. So too, how-

ever, would the ’290 patent. Because Mr. Dezmelyk’s interpretation is erroneous,

his testimony on duty cycle and DSS’s reliance thereon should be ignored.

      B.      DSS’s proposed claim construction that “low duty cycle” is less
              than 10% is arbitrary and unduly narrow.
      DSS proposes that the broadest reasonable interpretation for a server trans-

mitter energized in a “low duty cycle” is that “the server transmitter is energized



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for less than ten percent (10%) of the total duration designated for outbound

transmissions.” (POR, p. 11 (emphasis added).) But DSS’s proffered evidence does

not support a ceiling of 10% for a low duty cycle. (Hu Dec. ¶ 76.)

      The “examples” that DSS cites in Table 1 are cherry-picked results from a

search premised on finding examples by including “e.g.” in the search string.

(POR, pp. 12-13.) Yet none of these references are contemporaneous with the ’290

patent’s filing date. One of DSS’s own examples contradicts the proposed con-

struction of “less than ten percent,” providing a “low duty cycle, e.g., at an about

10 percent (10%) duty cycle.” (POR, p. 13 (quoting DSS 2008 at 10:5-6) (empha-

sis added).) So, the duty cycle could be at or even slightly above 10%, which is not

“less than ten percent,” as DSS proposes. Thus, DSS’s own example demonstrates

that its proposed construction is inappropriate. (Hu Dec. ¶ 77.)

      DSS cites Mr. Dezmelyk’s declaration in support of its interpretation (POR,

p. 11), but his deposition testimony undermines the proposed construction. First,

Mr. Dezmelyk admits that the term “low duty cycle” itself does not require an up-

per bound at 10%. (Dezmelyk Depo., 78:2-6; see Hu Dec. ¶ 77.) While Mr.

Dezmelyk asserts that “we are quibbling over whether it is 9.9 or 10.1,” it is he

who places a strict upper bound on a low duty cycle. (Dezmelyk Depo., 80:11-12;

Dezmelyk Dec. ¶ 24.)




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      Second, Mr. Dezmelyk asserts for the first time that the 10% limit is actually

based on claim 8 of U.S. Patent No. 5,699,357. (See Dezmelyk Depo., 79:12-81:3.)

DSS does not cite the ’357 patent in its claim construction or in Table 1. Mr.

Dezmelyk states that he “probably missed the citation to it in here because I was

plowing away in a hurry.” (Id. at 80:6-7.) But claim 8 of the ’357 patent is irrele-

vant because it does not support a 10% limit either. Claim 8 recites “…said low

duty cycle pulses comprise chips within the respective code sequences such that a

transmitter is enerrgized [sic] less than 10% of the time during an allocated time

slot.” Because claim 8 depends ultimately from independent claim 6, it is narrower

than the independent claim, meaning that the ’357 patent contemplates a “low duty

cycle” greater than 10%. (Hu Dec. ¶ 78.)

      Apple does not propose a specific upper threshold for “low duty cycle;”

however, it is evident that DSS’s proposed upper bound of 10% is unsupported.

So, under the broadest reasonable interpretation standard, a “low duty cycle” of a

transmitter should simply be interpreted as the transmitter being designed to be on

only to satisfy the data communication needs over the communication cycle of the

system. (See Grimes Depo., 40:16-19; Hu Dec. ¶ 79.)

      C.      DSS improperly truncates the time period for calculating Nata-
              rajan’s duty cycle.
      DSS focuses only on the period for “outbound transmissions” for calculating

Natarajan’s duty cycle. (POR, p. 11; Dezmelyk Dec., ¶ 23.) This is improper. (Hu


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Dec. ¶ 83.) A POSA would calculate the duty cycle over the period of time that it

takes a system to go through a cycle of communication. (Id.) DSS’s methodology

improperly manipulates that time period. (Id.)

      A POSA would calculate Natarajan’s duty cycle over all of Periods A, B,

and C. (Hu Dec. ¶ 84.) To limit the calculation only to Period A, as Mr. Dezmelyk

suggests (Dezmelyk Dec. ¶ 32), reads the word “cycle” out of the term “duty cy-

cle.” (Hu Dec. ¶ 84.) The communication “cycle” in Natarajan includes all of Peri-

ods A-C. (Id.) Once the transmissions between the base station and mobile stations

cycle through Periods A-C, the cycle begins again with Period A for the next

frame. (Id. at 85.) Thus, Natarajan’s duty cycle must be calculated over Periods A-

C. (Id.) Indeed, Natarajan’s communication cycle, where “[m]ost users are very

likely to be inactive (both Transmit-Inactive and Receive-Inactive) most of the

time,” is a low duty cycle. (Natarajan, 6:41-44; Hu Dec. ¶ 85.) Further still, even

under DSS’s improper limitations for duty cycle, Natarajan’s system would be ca-

pable of operating at a duty cycle less than 10% in Period A. (Hu Dec. ¶¶ 86-88.)

V.    The Board should not give any weight to Mr. Dezmelyk’s testimony.
      A.      Mr. Dezmelyk’s testimony lacks credibility.
      Mr. Dezmelyk asserts that he read his declaration “[m]any, many, many

times.” (Dezmelyk Depo., 27:18.) And yet he did not notice that the very first page

after the caption states “DECLARATION OF CHRIS A. MACK, PH.D.” (Id. at



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26:21-27:18.) Nor did he notice that there are two paragraphs numbered 15 and

two paragraphs numbered 16. (Id. at 27:19-28:3.)

      Even if the duplicative paragraph numbers resulted from “Microsoft Word at

work where it has got strange issues of paragraph numbering” (id. at 28:5-7), this

error casts doubt on how thoroughly he reviewed the statements in his declaration.

More importantly, the fact that Mr. Dezmelyk did not notice someone else’s name

on his sworn declaration clouds the credibility and veracity of his entire testimony.

Thus, the Board should not give any weight to Mr. Dezmelyk’s declaration.

      B.      Mr. Dezmelyk admits he is not an expert in HDLC.
      As discussed above in Section III.B., Mr. Dezmelyk admits he is not an ex-

pert in HDLC. At a minimum, his testimony on that topic must be discounted.

      C.      Mr. Dezmelyk bases his opinions on inaccurate assumptions.
      Mr. Dezmelyk bases his opinions on the inaccurate assumption that Nata-

rajan’s system uses idle words. (See supra, Section III.E.) Because Natarajan does

not use idle words, Mr. Dezmelyk’s opinions are meritless. Mr. Dezmelyk also ba-

ses his opinions on an arbitrary and unduly narrow construction of “low duty cy-

cle” and improperly truncating the time period for calculating Natarajan’s duty cy-

cle. (See supra, Section IV.) So again, Mr. Dezmelyk’s opinions are meritless.




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VI.   Conclusion
      Apple has demonstrated by a preponderance of the evidence that claims 1-4

of U.S. Patent No. 6,128,290 are unpatentable and respectfully requests that the

Board enter judgment in accordance therewith.

                                 Respectfully submitted,
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             CERTIFICATION OF SERVICE (37 C.F.R. §§ 42.6(e))

      The undersigned hereby certifies that the above-captioned PETITIONER’S

REPLY TO PATENT OWNER RESPONSE and all associated exhibits were

served in their entirety via e-mail on January 22, 2016, upon the following counsel

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trials@uspto.gov                                  IPR2015-00369, Paper No. 39
                                                  IPR2015-00373, Paper No. 38
571-272-7822                                                    May 31, 2016

  UNITED STATES PATENT AND TRADEMARK OFFICE
                  ____________

   BEFORE THE PATENT TRIAL AND APPEAL BOARD
                  ____________

                        APPLE INC.,
                         Petitioner,

                              v.

        DSS TECHNOLOGY MANAGEMENT, INC.,
                   Patent Owner.
                   ____________

          Cases IPR2015-00369 and IPR2015-00373
                     Patent 6,128,290
                      ____________

                     Held: March 15, 2016
                        ____________

BEFORE: JAMESON LEE, MATTHEW R. CLEMENTS, and
CHARLES J. BOUDREAU, Administrative Patent Judges.



      The above-entitled matter came on for hearing on Tuesday,
March 15, 2016, commencing at 1:02 p.m., at the U.S. Patent and
Trademark Office, 600 Dulany Street, Alexandria, Virginia.




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Cases IPR2015-00369 and IPR2015-00373
Patent 6,128,290

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1                       PROCEEDINGS
 2                            -    -    -   -       -
 3             JUDGE LEE: Good afternoon. Please be seated.
 4             Judge Boudreau will be conducting today's session and
 5   he and Judge Clements will appear on the screen from San Jose,
 6   California. So if we could all wait a few minutes, I would
 7   appreciate that. Thank you.
 8             JUDGE BOUDREAU: Good afternoon. This is the
 9   oral hearing in Cases IPR2015-00369 and IPR2015-00373
10   involving U.S. Patent Number 6,128,290.
11             Can counsel please state your names for the record?
12             MR. STERNE: Good afternoon, Your Honor. Robert
13   Sterne for Petitioner Apple Inc.
14             JUDGE BOUDREAU: Thank you, Mr. Sterne.
15             MR. HOPEN: Good afternoon, Your Honor. My name
16   is Anton Hopen. I am counsel for the Patent Owner. With me
17   here is my colleague, Andriy Lytvyn, as well.
18             JUDGE BOUDREAU: Thank you, Mr. Hopen.
19             Per the trial hearing order in this case, each party will
20   have 60 minutes of total time to present arguments. The order of
21   presentation will be that the Petitioner will go first and present its
22   case regarding the challenged claims. You may reserve time for
23   rebuttal. Patent Owner will then respond to Petitioner's
24   presentation and, finally, Petitioner may use any remaining time
25   to respond to Patent Owner's presentation.

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             Just a few reminders, before you begin, one is to ensure
 2   that the transcript is clear and because we have two judges here in
 3   a different office, please try to refer to your demonstratives by
 4   slide number.
 5             Also, if either party believes that something the other
 6   party is arguing is a new argument in substance that was not
 7   made in the party's briefs, I would ask you to please raise that
 8   during your presentation rather than interrupting the other side.
 9             Any questions from either party before we begin?
10             MR. HOPEN: No, sir.
11             JUDGE BOUDREAU: All right. Thank you.
12             Counsel for the Petitioner, you may begin. And do you
13   plan to reserve time for rebuttal?
14             MR. STERNE: Yes, Your Honor. I'd like to reserve 15
15   minutes, if I may.
16             JUDGE BOUDREAU: Okay. Thank you.
17             MR. STERNE: Before I begin, I would like to
18   approach Judge Lee and give him a hard copy of the slides.
19             JUDGE LEE: I would like that very much. Thank you.
20             MR. STERNE: And for our judges in San Jose, I've got
21   hard copies for you that you can either get through Judge Lee or
22   use the electronic versions.
23             JUDGE BOUDREAU: Thank you. And just to be
24   clear, the electronic versions that you filed two days ago are the
25   same as what you just provided Judge Lee?

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             MR. STERNE: That's correct.
 2             JUDGE BOUDREAU: Okay. Thank you.
 3             MR. STERNE: So, Your Honor, it's my understanding
 4   that if I am looking at the camera above Judge Lee's head that I
 5   will be look directly at you; is that correct?
 6             JUDGE BOUDREAU: That is correct, yes. Thank
 7   you.
 8             MR. STERNE: Thank you.
 9             So good afternoon, Your Honors, and may it please the
10   Board, Robert Sterne for Petitioner Apple Inc. With me at
11   counsel table is my colleague, Jason Fitzsimmons, who's on my
12   right. Also from my firm present are David Cornwell and Mark
13   Rygiel and also joining us from California is trial counsel, David
14   Alberti, and they are in the back of the room.
15             Let me begin. Six challenged claims remain at issue.
16   This Board properly instituted trial based on the combination of
17   Natarajan and Neve patents. As we will discuss today, these
18   claims are unpatentable on this ground. So let me summarize, if I
19   can begin with, five key points that I will be addressing more
20   today.
21             First, Patent Owner has not disputed that a vast majority
22   of the claim limitations are disclosed in the combination of
23   Natarajan and Neve under any reasonable claim construction.
24             Number two, Patent Owner disputes only a single
25   limitation of the claims related to the term low duty cycle. Your

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   Honors, I have had Mr. Fitzsimmons display slide 1 of our slide
 2   deck and also slide 2, which show Claims 1 and 9, respectively,
 3   and also break out the single limitation that we will be addressing
 4   today, which is said server transmitters being energized in low
 5   duty cycle RF bursts.
 6             Third, Patent Owner's argument that Natarajan does not
 7   disclose a quote, low duty cycle, as required by the claims,
 8   requires this Board to improperly focus only on period A of the
 9   relevant time cycle in Natarajan and ignore periods B and C of
10   this time cycle.
11             Number four, but even if you, the Board, consider just
12   Period A of Natarajan, Natarajan still discloses a low duty cycle
13   as required by the claims.
14             And, number five, Patent Owner's position on period A
15   is premised entirely on an argument about the HDLC protocol
16   that is contradicted by its own '290 patent.
17             Patent Owner argues that the HDLC protocol is
18   inconsistent with a "low duty cycle" and incompatible with their
19   very own '290 patent, but yet the only disclosed embodiments of
20   the '290 patent uses the HDLC packet protocol. In essence, we
21   submit Patent Owner's argument requires the Board to ignore the
22   teachings of its own patent.
23             So turning now to claim construction, the only issue
24   termed -- the only claim term here at issue appears in both



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     Patent 6,128,290

 1   Independent Claims 1 and 9 and, as I've said before, we have
 2   highlighted those in our slides 1 and 2 of the slide deck.
 3             A reasonable claim construction for low duty cycle is
 4   found at paragraph 79 of Dr. Hu's declaration, which I have now
 5   reproduced for the Board's convenience. This is slide 11 of our
 6   slide deck. And what did Dr. Hu state in 79? And I'll read this
 7   into the record to complete the record.
 8             Accordingly, it is my opinion that the term "low duty
 9   cycle" does not impose an upper limit of 10 percent for the duty
10   cycle. Under the broadest reasonable interpretation standard, a
11   "low duty cycle" of a transmitter should simply be interpreted as
12   the transmitter being carefully designed to be on only to satisfy
13   the data communication needs over the communication cycle of
14   the system. Moreover, a transmitter that is off for more time than
15   it is on over the communication cycle of the system would be an
16   example of a low duty cycle.
17             JUDGE LEE: Mr. Sterne, I have a question. I'm a little
18   confused by the terminology low duty cycle. It isn't defined in
19   the spec and it wasn't construed in your petition at first either, but
20   right now it seems to be at the focal point of the dispute.
21             I'm wondering if the transmitter is energized for more
22   than half the time that it could be energized, maybe even 80 or 90
23   percent of the time. Could that possibly still be deemed low duty
24   cycle if there is such a need to transmit? If it has a need to



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     Cases IPR2015-00369 and IPR2015-00373
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 1   transmit to everybody and it takes all of that time, would that still
 2   be considered low duty cycle?
 3             MR. STERNE: Yes, it would be, Your Honor, because
 4   you're looking at -- well, there's a lot of parts to my answer to
 5   your question, but the simple answer is regardless of any
 6   reasonable claim construction here, whether we focus just on
 7   period A, as has been argued by the Patent Owner, or if we
 8   impose a 10 percent cap on the transmitter at the master station
 9   being the maximum, it can be on during time frame A. Under
10   any reasonable construction, even that one which we say is
11   unreasonable in the record, the Natarajan and Neve combination
12   renders those claims unpatentable as obvious.
13             And if you want, I can go through the claim
14   construction arguments or I can approach this from the
15   perspective of the Natarajan and Neve patents. But regardless of
16   what reasonable claim construction is done here, our position in
17   the record -- this is not a new argument -- is that the claims are
18   unpatentable over the two U.S. patents that are the combination.
19             JUDGE LEE: I understand that, but it would be nice if
20   we know what the term actually means.
21             MR. STERNE: Right. And Dr. Hu in her paragraph 79
22   says under the broadest reasonable interpretation a low duty cycle
23   of a transmitter should simply be interpreted as the transmitter
24   being carefully designed to be on only to satisfy the data



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     Cases IPR2015-00369 and IPR2015-00373
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 1   communication needs over the communication cycle of the
 2   system.
 3             And what she's driving at here is the communication
 4   cycle of the system, the data requirements for the master station
 5   to broadcast to the peripherals changes, and the data requirements
 6   for the peripherals to transmit back to the master station change
 7   over time, and Natarajan and Neve teach what is required by the
 8   claim and, therefore, you know, the claims are unpatentable.
 9             The Patent Owner has argued that there is a 10 percent
10   cap when the transmitter can be -- there's a 10 percent cap in
11   terms of low duty cycle and you only focus on period A when the
12   master station is transmitting to the remote stations.
13             If we could go and look perhaps at Figure 4 of the
14   Natarajan patent so that I can put this in better context. By the
15   way, this is slide 4 in our slide deck and I'm looking at Figures 4
16   and 5 of the Natarajan patent. As we -- and we're also looking at
17   an excerpt from the Natarajan patent that comes from column 4,
18   lines 20 to 26.
19             So if we look at Figure 4, we see there are three
20   subframes A, B, and C. In subframe A the base station or the
21   server, as it's used in the claim, Judge Lee, is transmitting to the
22   mobile devices. This is a point to multipoint RF communication
23   system using a time domain multiple access protocol with an
24   HDLC packet structure. We'll get more into that in a minute.



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     Cases IPR2015-00369 and IPR2015-00373
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 1             But essentially for this conversation at this point is
 2   there's a subframe A, a subframe B and a subframe C. Subframe
 3   A is when the base station is transmitting to the mobiles as
 4   indicated and each of the mobile devices in those various slots
 5   shown in subframe A are turned and off based on the code in
 6   Figure 5 during that period A.
 7             So when the transmitter is transmitting in each of -- or
 8   in some or each or none of those slots during subframe A,
 9   depending on what the data is that's going to be transmitted from
10   the master station to the peripherals, the receivers in the remote
11   devices turn themselves on based on the control information that
12   they have received from the period AH. AH is a header in the
13   frame and AH provides control information and synchronization
14   information for that particular frame.
15             After the transmitter from the base station transmits to
16   the mobile devices, you enter another control period. BH is
17   shown in Figure 4. In BH you, again, have control signals and
18   synchronization signals according to Natarajan and at that point
19   the peripheral devices, were all listening to BH, because they're
20   all synchronized to the master, know when they are going to be
21   allowed to transmit from their device to the base station and so
22   they're off, their transmitters are off until they need to transmit
23   according to this framing format specified on a frame-by-frame
24   basis.



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                                   Appx0591
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             After that occurs, as shown in shown in Figure 4, you
 2   have another control period and synchronization period, CH, as
 3   described in Natarajan, and then we enter subframe C, which is
 4   the contention period. During the contention period, some or all
 5   or none of the mobile devices can raise their hand, so to speak,
 6   and send a packet to the master station and many times there will
 7   be a couple stations transmitting at once, which is why it's called
 8   contention.
 9             The transmitter at the master station sends back what's
10   called an acknowledgment frame, which is in one of the slots in
11   C, when it picks up a particular request from a particular
12   peripheral station and in that way there's a handshaking that goes
13   on between the peripheral station that's sent a packet that is
14   received by the master and the master acknowledges that with a
15   return transmission in one of the slots later in C and tells that
16   particular peripheral device that it has received its contention
17   message, and then the whole thing repeats itself after we have this
18   footer FT, which again synchronizes the end of the frame.
19             So regardless of whether you look at subframes A, B,
20   and C, which is our position, for determining duty cycle or
21   whether you look just at subframe A, which we contend is not
22   proper, but even if you were to do that and under any claim
23   construction that is being advanced in this proceeding, including
24   the one from the Patent Owner of limiting duty cycle to 10



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     Cases IPR2015-00369 and IPR2015-00373
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 1   percent, as we've laid out carefully in the record they -- all of
 2   these variants are obvious in view of Natarajan and Neve.
 3             That's essentially our position. And if you'd like, I can
 4   go through the specifics of that.
 5             JUDGE LEE: Well, my question is, what does any of
 6   this have to do with the specific number --
 7             JUDGE BOUDREAU: Are you referring to the
 8   examples that Dr. Hu provided in her declaration where she
 9   ended up with duty cycles of -- let's see, this is paragraph 86 of
10   her declaration. It says 8.57 percent. Paragraph 87, she ended up
11   with a calculation of 9.09 percent.
12             MR. STERNE: Yes, Your Honor. Judge Boudreau, if
13   we look at her paragraph 86 and we have only reproduced the
14   beginning of it because there's more detail as you know that
15   comes after, but the portion that we have highlighted on slide 13
16   of our slide deck states under 86, using the proper calculation
17   over periods A through C for duty cycle in Natarajan, even under
18   DSS's incorrect interpretation of "low duty cycle" being less than
19   10 percent, Natarajan can operate in a manner that satisfies the
20   proposed interpretation, and then she shows you some
21   representative examples.
22             JUDGE BOUDREAU: And what is the basis for those
23   examples? I see in paragraph 86 it says, “[b]y way of example, if
24   the base station transmits to 1 mobile unit during period A, 30



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                                   Appx0593
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     Cases IPR2015-00369 and IPR2015-00373
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 1   mobile units transmit to the base station during period B, and 2
 2   mobile units transmits to the base station during period C. . . .”
 3               Where do those 1, 30 and 2 come from?
 4               MR. STERNE: They are representative examples that
 5   Dr. Hu has proposed as representative of a frame that could easily
 6   occur in the communication cycle of a normal system.
 7               As you can imagine, Judge Boudreau, as I said before,
 8   the data that's being transmitted from the base station to the
 9   specified peripherals changes over time and the data that's being
10   transmitted by the respective peripherals back to the base station
11   change over time because these are RF LANs point to multipoint.
12   So what Dr. Hu has done here is advanced particular examples of
13   how the system could operate, and what I would like to do, Your
14   Honor, before I go any further is go back to my slide that shows
15   Figure 4.
16               JUDGE BOUDREAU: Okay. My question, though, is
17   whether those have any basis in examples that are actually
18   disclosed in Natarajan?
19               MR. STERNE: No, Your Honor. Those are not
20   specific examples disclosed in Natarajan, but they're based on the
21   -- they are based on the statement that I wanted to point to, if I
22   may, which is critical. The critical point in this whole discussion
23   is what is stated specifically in Natarajan and it says at column 4,
24   lines 20 through 26, in the scheme described here, a scheduled
25   multiaccess protocol is used in which time is divided into

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     Cases IPR2015-00369 and IPR2015-00373
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 1   fixed-length frames, and frames are divided into slots as shown in
 2   Figure 4.
 3               It is to be appreciated the different frame divisions and
 4   header lengths and content -- remember content, that's what we're
 5   talking about here -- content may be utilized in the practice of the
 6   invention, and the scheme set forth here is merely exemplary.
 7               So you can see that a person of ordinary skill in the art
 8   in 1997 reading Natarajan, which was filed in 1991 and issued in
 9   1993, could understand that the content could change, the header
10   lengths could change, the frame divisions could change. All is
11   contemplated by a person of ordinary skill in the art.
12               And the reason this is important is because the system
13   needs to conserve battery power. And in order to conserve
14   battery power both at the base station and at the peripherals, you
15   only want to be transmitting on either side of that when you need
16   to. You don't want to be sending the same message more than
17   once unless you have to. You don't want to be sending idle words
18   because you don't need to. And the point is, battery power is
19   primarily regulated and conserved by reducing the unneeded
20   transmissions that occur.
21               The receiver, of course, uses some power when it's on
22   and the logic of both the peripheral and the base stations are on
23   all the time because they have to be keeping track of when to turn
24   on the transmitters and the receivers based on the framing that has
25   information that's been received in this TDMA approach.

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 1             But the real power consumption, as is well understood
 2   in the art, comes from the transmitter and it's the transmitters at
 3   the base station and at the peripheral devices that are consuming
 4   the power and, also, you don't want the transmitters running
 5   unnecessarily because they produce interference with other
 6   systems that are being operated in the same frequency spectrum.
 7             So the goals of the '290 patent are the same as what's
 8   shown in Natarajan and they’re both point to multipoint systems
 9   as is the system in Neeve or Neve and, therefore, it's our position
10   that the combinations are legitimate and fully supported and that
11   the combinations render the challenged claims that remain in the
12   case unpatentable.
13             Your Honor, I would like to talk, if I may, about some
14   of the other things that are important to know. I would point to
15   Dr. Hu's deposition.
16             JUDGE LEE: Before you go on, let me ask a follow-up
17   a little bit on claim construction. Under the broadest reasonable
18   construction rule, would it be sufficient to simply say that as long
19   as the transmitter is not transmitting idle data, that's enough to be
20   low duty cycle, or is that too broad?
21             MR. STERNE: No. I think -- Your Honor, the way the
22   claim is written -- if we go back to Claim 1, what we're talking
23   about is it's in the context of this combination. So in order for the
24   server transmitter to be in the low duty cycle range, the server
25   transmitter needs to -- according to the '290 patent, the server

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     Cases IPR2015-00369 and IPR2015-00373
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 1   transmitter needs to be transmitting when it has to transmit
 2   for that particular frame.
 3               JUDGE LEE: It doesn't want to be transmitting all the
 4   time.
 5               MR. STERNE: Well, it doesn't want to be transmitting
 6   more than once per frame for that particular peripheral device
 7   would be one way to look at it. In other words, it doesn't want to
 8   be transmitting redundantly, which is what would be going on
 9   when you are using this idle word construction that has been
10   advanced by Patent Owner where you're just sending idle words
11   that have no data. You have synchronization. It's produced by
12   the frame structure and by the use of the HDLC frame protocol
13   and, therefore --
14               JUDGE LEE: Yeah, but that's in the spec. Just on the
15   claim itself, the claim doesn't call for slots or frames.
16               MR. STERNE: Right.
17               JUDGE LEE: And I think somewhere in the patent it
18   distinguishes over the art by saying, well, in the prior art there's
19   transmission of idle data, which is bad for the battery and bad for
20   interference.
21               MR. STERNE: Right, that's correct.
22               JUDGE LEE: So I'm thinking whether it would be
23   unreasonably broad simply to say low duty cycle just means don't
24   have the transmitter transmit idle data when there's nothing to
25   transmit.

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 1             MR. STERNE: That could be a possible construction.
 2   Under any of the constructions that have been advanced in this
 3   proceeding, even if you were as I said before to adopt this 10
 4   percent ceiling, the combination renders the claims obvious.
 5             JUDGE LEE: I know that, but I'm trying to figure out
 6   exactly what the term means. I'm positing different constructions
 7   to see what the parties' views are and one possible construction
 8   simply is we don't want the transmitter to be transmitting
 9   unnecessarily because that's the broad idea. It's bad for battery,
10   bad for interference.
11             So is it unreasonably broad simply to say it meets low
12   duty cycle if you limit the transmitter such that it does not
13   transmit idle data just to fill up its total frame?
14             MR. STERNE: Yeah, that would be one example.
15   Your Honor, as you probably know, but let me make it clear for
16   the record the patent expired on March 6. Okay. So throughout
17   the proceedings we've used BRI, broadest reasonable
18   interpretation.
19             The patent expired on March 6, so it could be argued
20   that -- I don't believe there's a precedential decision from the
21   Board on this issue yet. I know there is in reexamination, in inter
22   partes reexamination, but when you -- when the patent expires
23   during a proceeding like a reexam, inter partes reexam, you
24   convert over to the Phillips standard.



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 1             This, of course, was not raised in this proceeding. But
 2   when the patent expired, we would, of course, arguably be under
 3   the Phillips standard. Well, it doesn't matter under Phillips
 4   because the claim construction is the same because there was no
 5   prosecution history, no amendments made during the prosecution
 6   of this patent dealing with low duty cycle, so the low duty cycle
 7   limitation doesn't change from BRI to Phillips.
 8             JUDGE LEE: But let me ask you another possible
 9   construction, which is not as broad, and that would be you divide
10   up a frame into slots and then you assign slots to each of the
11   peripherals for the server. So each unit has its own designated
12   slot in which to transmit or not to transmit. And unless it's in that
13   slot, it should power off.
14             Is that -- could that be a proper construction for low
15   duty cycle?
16             MR. STERNE: Well, I mean, I'm answering this
17   hypothetically, but if the -- if during that frame where you've got
18   these assigned slots for each peripheral unit and then each
19   peripheral unit has an assigned slot to transmit back to the base
20   station, as you say, so it's not dynamic at all, depending on the
21   data requirements in the system at that moment in time, it would
22   be low duty cycle because you wouldn't be transmitting the same
23   information twice I would submit that was the requirement during
24   that frame.



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 1            You would transmit it and then if you had to transmit it
 2   again, you'd have to transmit it in a subsequent frame or frames.
 3            JUDGE LEE: Right, and then it's powered off --
 4            MR. STERNE: Powered off.
 5            JUDGE LEE: -- between the time of the assigned slots.
 6            MR. STERNE: Right. And because you have
 7   synchronization on a frame-by-frame basis between the master
 8   and the peripherals, the master and the slaves, you would -- the
 9   slaves would know or the peripherals would know when to turn
10   their receivers on and off, when to turn their transmitters on and
11   off and the same would apply for the master.
12            The only difference would be that the master would not
13   know if a particular peripheral was going to need to transmit
14   during that frame. It would assume that that peripheral would
15   have reserved a dedicated reserve to transmit slots.
16            JUDGE LEE: Right. So the server would have to be
17   powered on to listen because the peripheral might transmit.
18            MR. STERNE: Right, and the beauty of the '290 patent
19   and the beauty of Natarajan and Neve is they're dynamic in that
20   sense so they can know -- on the master side you don't have to be
21   listening unless you know that something is supposed to be
22   transmitted by that peripheral.
23            Now, of course, we have that contention period in
24   Natarajan where they can set it up for the next frame or frames,
25   but there would be times that the master station in your

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                                  Appx0600
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   configuration would be listening and there would be no signal
 2   that would be transmitted by the peripheral dedicated to that slot.
 3             JUDGE LEE: So you don't object to that construction,
 4   because I'm also reading from the abstract. Just a few lines after
 5   low duty cycle appears, it says by establishing a tightly
 6   synchronized common time base between the units and by the use
 7   of sparse codes, timed in relation to the common time base, lower
 8   power consumption and avoidance of interference between
 9   nearby similar systems is obtained.
10             So that seems to indicate that, to be low duty cycle, all
11   you need is a synchronized frame in which different units are
12   assigned transmission time or receiving time. We don't need any
13   particular number, 10 percent, 20 percent, 30, 40, 50. That
14   doesn't matter. That's the way I'm reading this.
15             MR. STERNE: Yeah, there's nothing -- as you
16   correctly point out, there's nothing in the spec that defines low
17   duty cycle. The term low duty cycle is given its ordinary
18   meaning and, therefore, a person of ordinary skill in the art
19   reading the objectives or I guess we used to call them the objects
20   of the invention would understand that the goal is to achieve
21   those two objectives that you keep pointing out, which is low
22   battery consumption and reducing interference, and that I believe
23   would be accomplished by your construction.
24             That's not been the specific constructions advanced here
25   because we've been more focused, frankly, on what is shown in

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                                   Appx0601
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   Natarajan and what is shown in Neve. So we're trying to show
 2   that what is shown in those two references either individually or
 3   combined would meet the limitations of claims -- of the
 4   challenged claims.
 5             JUDGE LEE: I understand you probably never heard of
 6   it before today, but we've got to figure out what the term means.
 7   We can't say whatever the term means the art meets it. It's not the
 8   better way to go, but I'm just proposing this and see what the
 9   parties think about it.
10             MR. STERNE: Right.
11             JUDGE LEE: So you don't think that's too narrow or
12   too broad? Let's apply the Phillips standard. Would that be a
13   reasonable construction, that if you have synchronized time slots
14   for transmission and receiving, that would constitute utilizing low
15   duty cycle.
16             MR. STERNE: I would say that the concept of low
17   duty cycle there would be met based on what I can appreciate
18   your hypothetical to be. It would be encompassed I submit by the
19   '290 patent's disclosure. The examples that they use are not bad,
20   but the claims in terms of their broad meaning and the objectives
21   of the embodiments that are shown to the public and disclosed to
22   the public and being interpreted by a person reading the patent
23   could encompass that.
24             JUDGE LEE: The Petitioner has no objection to that
25   construction.

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                                  Appx0602
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             MR. STERNE: No. No, I don't have an objection to
 2   that. Obviously what we have built our whole case around is
 3   what's laid out in the record and I want to make sure the record is
 4   understood, as I said a couple of times, that regardless of the
 5   claim constructions that are currently in the record, the
 6   combinations render the claims obvious.
 7             I don't know where my time is. I realize that I probably
 8   -- I reserved 15 minutes. I'd like to talk a little bit about the --
 9   two things I guess.
10             JUDGE BOUDREAU: Mr. Sterne, if I could just ask
11   one more question before you move on. Even if you energize the
12   server transmitter only when you need to transmit, doesn't the
13   duty cycle necessarily depend on how many of the peripheral
14   units need to receive data?
15             MR. STERNE: The duty cycle is from the focus of the
16   transmitter in the base station or master station to the peripherals,
17   that's correct, Judge Boudreau, in my opinion. And in Natarajan,
18   for example, you have a transmitter that's on both in subframe A
19   when it's transmitting data from the master station to the
20   designated receivers as indicated by Figure 5 the code that's used.
21             And then in the contention period in subframe C, you
22   also have acknowledgments from the transmitter at the master
23   station to the peripheral devices whose requests have been heard.
24   So you have transmitting both in subframe A and subframe C in
25   Natarajan.

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                                    Appx0603
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             Does that answer your questions?
 2             JUDGE BOUDREAU: So, in other words, if you had
 3   30 peripheral units that each have a slot and all 30 of those
 4   peripheral units are trying to download, say, something very
 5   resource intensive, maybe a high-resolution video, wouldn't that
 6   require that the server transmitter be energized for essentially a
 7   hundred percent of the -- I guess we'll call it period A of
 8   Natarajan?
 9             MR. STERNE: Well, Your Honor, the claims don't
10   require that this duty cycle be met during the entire transmission
11   in that sense. This is -- the duty cycle is over time. Dr. Hu brings
12   this out in her deposition. If I could point the Board's attention,
13   please, to page 147 of Dr. Hu's deposition and she states, the low
14   duty cycle -- the duty cycle is calculated over a cycle of
15   communications, a cycle of communications that will include
16   subframes A, B, and C.
17             And then she goes on to state, as well as over time how
18   transmitter and receiver works in these cycles and a person of
19   ordinary skill in the art would understand that the duty cycle
20   should be calculated in this manner because from reading the
21   Natarajan and Neve patents.
22             So the point here is this, you have a dynamic
23   requirement for data to be transmitted from the transmitter at the
24   base station to the receivers and that's going to change over time
25   and there will be times where there will be no transmissions and

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                                   Appx0604
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   there will be times when there will be some and there will be
 2   times when all the available transmissions will occur, depending
 3   on what the system dynamics are.
 4             And, remember, it's bidirectional because you have a
 5   point to multipoint system, Judge Boudreau, so things are going
 6   to be changing over time. The claims don't require that the low
 7   duty cycle, which if interpreted by this Board means that if the
 8   transmitter is transmitting all the time, it's not low duty cycle is
 9   not met. The claims would still be met because you have to look
10   at this in the context of its operation.
11             This is a system claim, not a method claim, and this
12   system is contemplated in terms of its operation by Natarajan and
13   Neve in terms of the way they describe to a person of ordinary
14   skill in the art their system and how it operates over time.
15             Does that answer your question?
16             JUDGE BOUDREAU: Yeah, it does. I'm just trying to
17   figure out how we could ever put a numerical limitation on the
18   term.
19             MR. STERNE: Well, that's what we're faced with here
20   with these claims. I mean, in the litigation they have been
21   asserted against Bluetooth, so we're just trying deal with that
22   issue.
23             I do want to save time for my rebuttal. I don't know
24   how much time I have left.



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                                    Appx0605
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             JUDGE BOUDREAU: It looks like you have about 10
 2   minutes left in your initial presentation, so.
 3             MR. STERNE: Okay. So maybe I should deal with a
 4   few more issues that we should get into the record.
 5             Dr. Hu's deposition, Your Honors, the base station
 6   transmitter and low duty cycle I would like you to -- based on the
 7   presentation being made here to consider her deposition at pages
 8   76 and 77.
 9             The issue that has been argued by Patent Owner is
10   subframes being dynamic or being static. In the Natarajan patent,
11   clearly they can be static as Dr. Hu states in her deposition at 149
12   to 150. If you want a more simpler system, for example, you
13   would fix those subframes along the lines of what doctor -- what
14   Judge Lee has been stating in his hypothetical and, of course, we
15   have -- we need to look at Dr. Hu's declaration at paragraph 88.
16             Idle words are not needed for synchronization, Your
17   Honors. This is frankly -- maybe this isn't the best way to
18   describe it, but it's kind of a red herring argument. It's the
19   headers, it's the headers that maintain synchronization.
20             So I'm now looking at Dr. Hu's declaration at paragraph
21   73, which is on slide 20 of our slide deck, and we've reproduced
22   the beginning of that. It says, to be clear, neither Natarajan nor
23   Schwartz's discussion of HDLC mention idle words. In my
24   opinion, this is likely because the use of continuous idle words in



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                                   Appx0606
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   Natarajan, which DSS asserts would assist with synchronization,
 2   would be pointless in HDLC.
 3            First, HDLC has its own mechanism, the start/stop
 4   flags, and we'll go look at those in a moment, for synchronization.
 5   And, second, as Mr. Dezmelyk acknowledges -- and he's the
 6   declarant for Patent Owner -- if Natarajan used idle words, they
 7   would be transmitted "out into the air and there is nobody really
 8   paying to it." A POSA would have found it illogical to transmit
 9   idle words that were not received by any of the mobile devices.
10            So if we could go back to the slide that shows the
11   HDLC frame for a moment and then I want to go back to Figure
12   4. So if we -- we are now back at slide 17, which shows the
13   Schwartz patent that is referenced specifically in Natarajan, and
14   we're looking at pages 135 to 136 of Schwartz, which is part of
15   the record.
16            And I quote from Schwartz, the standard frame format
17   for HDLC (ADCCP and SDLC have the same format) appears in
18   Figure 4-9. Note that the number of overhead (control) bits is L
19   prime equal 48, just the number used earlier for calculations.
20   And then this is the important part in regard to synchronization,
21   the eight-bit flag sequence 01111110 that appears at the
22   beginning and end of a frame is used to establish and maintain
23   synchronization. Those are the flags you see in Figure 4-9 that's
24   also reproduced of the HDLC standard frame format at the
25   beginning and the end of the frame.

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                                  Appx0607
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             Now let's go back, if we would, to Figure 4. Again, I do
 2   want to save some time for rebuttal.
 3             If we look at Figure 4, the argument from Patent Owner
 4   is that during Frame A when the base station is transmitting to the
 5   mobile units, if there is no data that has to be transmitted during
 6   that time frame, it will transmit idle words, and they argue that
 7   Neve teaches continuous transmission of idle words, which we
 8   say is false, and Dr. Hu deals with that.
 9             But assume for purposes of analysis, just for analysis,
10   that during those slots in A where there is no data to be
11   transmitted to a particular mobile unit that you transmit an idle
12   word, which would turn the transmitter on throughout all of
13   subframe A and, therefore, the argument is that is not low duty
14   cycle.
15             The reason Natarajan would not do this, as Dr. Hu
16   explains carefully and rebuts what Mr. Dezmelyk states would be
17   something that could occur, is that the receivers, the receivers in
18   the mobile devices have been told in the control header AH when
19   to turn themselves on and when to turn themselves off to receive
20   their designated transmissions of frames, HDLC packets as
21   they're called, from the base station to the mobile devices.
22             So a receiver already knows from AH, because it's
23   synchronized, a receiver in a mobile device knows from AH
24   when it needs to listen and when it needs to sleep. It knows to
25   listen when a slot in subframe A is going to contain a

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                                   Appx0608
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   transmission for it, but Mr. Dezmelyk argues that we could get
 2   extra synchronization perhaps if we transmitted during the unused
 3   slots with idle words and the idea being that those receivers at the
 4   remote units would turn themselves on earlier to get that added
 5   synchronization that they would somehow achieve by listening
 6   early and listening late around their slot.
 7             That makes no sense. There would be no reason to be
 8   transmitting these idle words out into space if the receivers were
 9   not on and they should not be on based on the information they've
10   received at AH until they need to be on. This use of this idle
11   word concept makes no sense and even Mr. Dezmelyk states that
12   you would be transmitting these words out into space and no one
13   would be listening, meaning none of the peripheral devices would
14   be listening.
15             And I refer the Board to the -- to Dr. Hu's declaration at
16   paragraph 73 on these two points and also Dr. Hu's declaration at
17   paragraph 59.
18             So that's all I have for now, Your Honors. I will reserve
19   the rest of my time, if I may, for rebuttal.
20             JUDGE LEE: I have some questions and this won't
21   count to your rebuttal time.
22             MR. STERNE: Okay.
23             JUDGE LEE: I just want to confirm that your claim
24   construction arguments in your papers don't change whether we
25   apply BRI or Phillips; is that right?

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                                    Appx0609
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             MR. STERNE: Correct, and the reason for that, Your
 2   Honor, as I stated earlier, is there was no prosecution on the low
 3   duty cycle term.
 4             JUDGE LEE: Thank you. And I know that you've
 5   taken the position that whatever the term means, A or B, that the
 6   reference meets it. I heard you say that a few times.
 7             MR. STERNE: Yes, sir.
 8             JUDGE LEE: I understand that. Do you think the
 9   Board could or should issue an opinion that said it all? We don't
10   know what the term means. If it means A, the claim would have
11   been rendered obvious. If it means B, it would have been
12   obvious. If it means C, the claim is anticipated, so the claim is
13   unpatentable.
14             Essentially the Board is saying we don't know what it
15   means, but the claim is unpatentable over the art. Should the
16   Board do that?
17             MR. STERNE: I'm not sure, Your Honor. I think that
18   you have a public responsibility. These claims are at issue in
19   litigation, and under that public responsibility, if the claims can
20   be read in the way the Patent Owner is arguing and they're being
21   read the way we argued them in the record and they're
22   unpatentable and there still could be even a broader construction,
23   I think that under the most narrow construction advanced by the
24   Patent Owner that would be controlling because they would still
25   be obvious under that very narrow construction.

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                                   Appx0610
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             JUDGE LEE: It's a really simple question, though.
 2   Should the Board essentially articulate that we don't know what it
 3   means, but the claim is unpatentable and invalidate it, the claim?
 4             MR. STERNE: The claims are clearly unpatentable and
 5   if that's what the Board comes to as the conclusion about its claim
 6   construction requirement, then I don't see a problem with that.
 7             JUDGE LEE: And you have no problem with the
 8   Board doing that or should the Board say we don't know what to
 9   do with this claim because on the record it can't be construed.
10   There's not enough information. We either possibly terminate or
11   maybe some other avenue. I'm just asking --
12             MR. STERNE: No, Your Honor, we request that the
13   claims be found unpatentable because we've clearly shown that.
14   If the Patent Owner cannot satisfy your requirement as to the
15   outermost bounds of duty cycle, even under their narrowest
16   interpretation of duty cycle, they're still unpatentable and we
17   would request that the claims be found unpatentable.
18             JUDGE LEE: Thank you.
19             MR. STERNE: Thank you.
20             MR. HOPEN: Your Honors, while I'm setting up, I
21   would like to pre-apologize for one thing. We've been calling --
22   we've been saying Natarajan and not Natarajan. So if I say it in
23   the wrong way, I'll just go ahead and apologize at this point right
24   now.



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                                  Appx0611
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             Anton Hopen for the Patent Owner right now. I would
 2   like to ask the Board if it's all right that I make some initial
 3   statements and point out our position, but also leave open the
 4   opportunity for my colleague, Andriy Lytvyn, who is technically
 5   the lead counsel in this case, to be able to come on line with the
 6   Board and answer any technical questions and contribute. Is that
 7   okay with the Board?
 8             JUDGE BOUDREAU: Yes, that's fine. Thank you.
 9             MR. HOPEN: All right. Thank you.
10             I tried to put myself in the position of the Board and
11   how they could make a straightforward and unambiguous
12   decision in this case. And from the dialogue with Judge Lee and
13   my colleague over here, I can see that he's troubled by anything
14   that's uncertain and this Board just wants to do a good job and
15   come up with a decision that is based on the record without
16   uncertainty.
17             So to that case, what I would like to do is establish our
18   case entirely on the testimony of the Petitioner's expert witnesses
19   and not necessarily rely on our own and the reason for that is
20   because an expert witness that we hire is inherently going to be a
21   bit self-serving to their employer.
22             So if I can establish the case of patentability in this
23   matter and I am relying entirely on the statements and testimony
24   of Petitioner's expert witnesses, I'm trying to put the Board in a



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                                    Appx0612
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   position where they are comfortable with the decision that I'm
 2   going to be seeking you to make.
 3             The three things that I would like to talk about are the
 4   Institution Decision itself and we would like to revisit that. My --
 5   Petitioner didn't seem to address that, but I wanted to address that
 6   just briefly with the Board and particularly what the term
 7   energized means and how that should be construed.
 8             The second part of my presentation is I'd like to talk
 9   about Natarajan's base station and what it actually teaches versus
10   what Petitioner's experts have opined.
11             And the third thing that I'd like to talk about is the duty
12   cycle itself and Petitioner has already brought up some of the
13   issues there, and I've taken some notes and I'd like to clarify a few
14   things to the Board.
15             So if we go to the Institution Decision itself, and I'm
16   looking at Patent Owner slide 4, and this is PTAB Paper 9,
17   Institution Decision, page 18, lines 10 through 18. The Board
18   picked up on a statement that the Patent Owner made. The Patent
19   Owner made -- picked up on a statement that Patent Owner made
20   in its initial response and it's right there at the top line.
21             It says, DSS does not dispute that during time slots to
22   which Natarajan's mobile units are designated to receive a
23   message, the base station, i.e. the server unit's transmitter, is
24   energized to transmit data to the mobile units.



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                                     Appx0613
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             Well, energized as a term can have two connotations.
 2   Energize can be an adjective and, Judge Lee, we're looking up at
 3   the lights here and the lights above us are in an energized state.
 4   Energized can also be a verb and that when our proceeding came
 5   in here, one of the assistants turned on the light switch and
 6   energized the lighting circuit to illuminate this room.
 7             And in the case, I just wanted to be clear this has not
 8   been really a bone of contention it appears with the Petitioner, but
 9   it did form a basis for the Institution Decision that when we state
10   that we did not dispute something, we were saying that we don't
11   dispute that Natarajan's base station is actually on, but we did not
12   concede that Natarajan's base station was powered up.
13             So as an adjective, energize means changing the state
14   from being off to turning on. We were not using it to describe the
15   current state.
16             So if we go to continue to the Institution Decision, we're
17   at page 18 and 19, the Board found Claims 1 through 4 of the '290
18   patent do not recite any requirement that the server transmitter
19   must be powered off during time slots when no active
20   transmission between the server and peripheral units occur.
21             Well, in actuality -- and I'm not sure Petitioner has got a
22   rebuttal. They may disagree with this point. But in the proper
23   construction, the term using energized is powering up does mean
24   by inverse that ours was powered down during that time.



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                                   Appx0614
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             So, again, this does not seem to be something that was
 2   hit on very hard in the trial itself, but I wanted to be very clear
 3   that the '290 claim construction when we say energized, we are
 4   saying something is powered up in low duty RF cycle bursts.
 5             Now, the other thing we want to do, again, is I just don't
 6   want this to be attorney argument. So if we look at Apple
 7   Exhibit 1007 --
 8             JUDGE LEE: Excuse me.
 9             MR. HOPEN: Oh, I'm sorry.
10             JUDGE LEE: Based on what you say then, if I have a
11   time frame that's divided into 10 slots and I have 10 people
12   waiting to receive from me, so, according to you then, I have to
13   power up, transmit to the first person, power down at the end of
14   the first slot and power up again in the second slot, transmit to the
15   second person, then power up. Is that what you're saying --
16             MR. HOPEN: No, sir.
17             JUDGE LEE: -- energize up, energize down in each
18   slot?
19             MR. HOPEN: No, sir, because that's a continuous
20   transmission. If all my -- if I'm going slot to slot to slot to slot
21   and it's completely filled up, then I'm not meeting the limitation
22   of first low duty cycle and I'm not meeting a burst, which is a
23   short transmission that is then concluded.
24             So there needs to be a cycle here. And if you construct
25   a situation -- and that's a great question, Your Honor, and I'm

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                                    Appx0615
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   going to come to that when we talk about Natarajan -- that if all
 2   your slots are filled up and you are continuously transmitting, you
 3   have not met the limitation of low duty cycle.
 4             JUDGE BOUDREAU: So does that mean that the '290
 5   patent is inconsistent with having, say, 10 peripheral units that are
 6   all waiting to receive?
 7             MR. HOPEN: If you -- well, the '290 patent, if you
 8   have a time period and all your peripherals have taken up all the
 9   time slots that you can possibly do, there's no energy savings to
10   be had. You're transmitting the entire time.
11             So in that hypothetical case, you know, Carvey is no
12   better than the prior state of the art. Where Carvey shines is
13   when you have receiver units that don't need anything and you
14   have that empty time slot, you don't need to transmit anything,
15   well, let's go ahead and power down the base station in
16   Natarajan's lexicon or the server unit in the '290 lexicon.
17             JUDGE LEE: Well, I really don't understand this now
18   because that means I can turn the system into a low duty cycle by
19   introducing inefficiency. I say even though I have 10 people on
20   the list in front of me, I just kick one of them off, so I've saved
21   myself one empty slot in which I don't do anything and I just let
22   that person go to the back of the line.
23             In that case I'll only be transmitting 9 slots out of 10 and
24   I'm now suddenly on low duty cycle. I'm saving interference, I'm



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                                   Appx0616
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   saving battery time, but in effect I really just kicked the person
 2   off when I should be transmitting to them.
 3             MR. HOPEN: Well, you compromise the
 4   communication because you've kicked that person off.
 5             JUDGE LEE: But that doesn't make any sense. What
 6   you're saying is that that's not low duty cycle, but you can turn it
 7   into low duty cycle simply by asking one of the 10 to move to the
 8   end of the line.
 9             JUDGE BOUDREAU: Or asking 9 of the 10 to move
10   to the end of the line if we want to get below the 10 percent.
11             JUDGE LEE: Yeah, exactly.
12             MR. HOPEN: Oh, well, you know, let me come back
13   to this, Your Honor, on that question.
14             Two of the things that I'm not going to bring up in my
15   presentation and we don't need to bring up are HDLC. The Patent
16   Owner does not need to establish that and I'm not going to ask
17   this Board to make any determination of what HDLC teaches or
18   what it does not teach. It's a communication protocol, it's not a
19   power protocol and the Board doesn't need to find one thing or
20   the other on HDLC.
21             And the other thing that Patent Owner is not going to
22   ask this Board to do is to assign any numerical value to the term
23   low duty cycle.
24             JUDGE LEE: Well, didn't you argue it's got to be
25   below 10 percent?

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             MR. HOPEN: But, Your Honor, the presentation that
 2   we're going to put forward today, we don't need you to even find
 3   that. I'm not going to even argue it.
 4             JUDGE LEE: So you want to take it back or you still
 5   want to maintain it?
 6             MR. HOPEN: I want to be silent on that issue because I
 7   can see -- first of all, I do not want to put this Board in a position
 8   where it has to make a judgment call or determination based on
 9   the opinions of one expert versus the opinions of another expert.
10   And as I get farther into my presentation, Your Honor, I think I'll
11   be able to show you that low duty cycle, assigning it a number
12   value to it, is not going to be necessary for this Board to find
13   these claims are valid.
14             JUDGE LEE: So you still maintain all the positions
15   you've taken in your brief; is that right?
16             MR. HOPEN: I do, I do, but --
17             JUDGE LEE: So if we want to, we could address that
18   and say it makes sense or it makes no sense to have a numerical
19   cap.
20             MR. HOPEN: You are welcome to do that as a Board.
21   It's certainly your judgment, but we would like to give you the
22   low-lying fruit in this case and not have to expend yourself to
23   make a decision one way or the other.
24             JUDGE BOUDREAU: In your preliminary response
25   you had suggested a construction that was a pulsed operation that

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   substantially reduces power consumption and facilitates the
 2   rejection of interfering signals. Do you still stand by that
 3   proposed construction?
 4             MR. HOPEN: Yes, sir. Yes, sir. So if I can --
 5             JUDGE BOUDREAU: How do you reconcile that with
 6   the modified construction that you had in the Patent Owner
 7   response which was energized for less than 10 percent of the total
 8   duration designated for outbound transmissions?
 9             MR. HOPEN: I'm sorry, Your Honor, could you state
10   that again?
11             JUDGE BOUDREAU: I'm just asking whether or not
12   you can reconcile the originally proposed construction with the
13   later proposed construction.
14             MR. HOPEN: I think we --
15             JUDGE BOUDREAU: Originally you had said a
16   pulsed operation that's substantially reduces power consumption
17   and facilitates the rejection of interference signals and then later
18   you proposed energized for less than 10 percent of the total
19   duration designated for outbound transmissions.
20             MR. HOPEN: Right. Well, as far as reconciling it, I
21   think we can reconcile it, but again, Your Honor, I have a limited
22   period of time and the 10 percent limitation, there are clear
23   teachings in Natarajan and clear limitations in the '290 patent that
24   don't need us to get to that point. So I don't mean to try and duck



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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   the question, Your Honor, but I don't think that we even need to
 2   decide that.
 3             JUDGE BOUDREAU: All right. Well, I'll let you
 4   move on to that and if there are still questions at the end --
 5             MR. HOPEN: Okay. Very good.
 6             JUDGE CLEMENTS: Mr. Hopen, before we move on,
 7   both of those constructions that were proposed were proposed
 8   under the BRI standard. Suppose we use the Phillips standard
 9   now for the final written decision. Are either of those
10   constructions changed from Patent Owner's point of view?
11             MR. HOPEN: No.
12             JUDGE CLEMENTS: Okay.
13             MR. HOPEN: So if we go to Apple Exhibit -- and we
14   are on slide 5 here and I just, again, want to conclude this one
15   issue with the Institution Decision and just put a couple things on
16   the record.
17             This is Apple Exhibit 1007 and this is Dr. Hu's District
18   Court declaration at page 28 or paragraph 28 I should say. And if
19   we go probably about two-thirds down, it starts, the 64 values in
20   the sequence correspond to a sequence of time slots. In this
21   example, the first, fourth, and seventh time slot in the unit's
22   transmitter would be energized. In all the other 61 time slots, the
23   unit's transmitter would be depowered.
24             That is Dr. Hu talking about the '290 server transmitter
25   and specifically saying when it's not transmitting that information

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                                   Appx0620
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   it is depowered, and I'm only bringing that up in the context of
 2   the Board's finding in the Institution Decision.
 3             And then I would also point, just for completeness of
 4   the record, Dr. Grimes' declaration. Dr. Grimes' declaration --
 5   and this is paragraph -- this is Apple Exhibit 1008. This is
 6   paragraph 25, and these are between pages 14 and 15. And Dr.
 7   Grimes declares a zero indicates that the unit will not transmit
 8   and so the transmitter will not be energized, i.e., it is depowered.
 9   Accordingly, it is my opinion that the broadest reasonable
10   interpretation of the term code sequence in view of the '290 patent
11   specification is a series of values which each value in the series
12   represents a time slot where the unit's transmitter is energized or a
13   time slot for the unit's transmitter is depowered.
14             So in this case just to revisit the Institution Decision,
15   there is, according to two of Apple's expert witnesses, when the
16   '290 patent is not actively transmitting it does require the server to
17   be depowered.
18             So moving on. The next slide would be number 7 and
19   this is Apple Exhibit 1003. This is Natarajan and what we've
20   done is combined in this slide Figure 2 of Natarajan and also
21   some discussion of Figure 2, which is in column 2, lines 40
22   through 47.
23             So the purpose of bringing this up is to measure this
24   against the testimony and the statements of Apple's expert witness



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                                   Appx0621
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   regarding the motivation and the market need to conserve
 2   batteries, battery power at the base station.
 3               JUDGE LEE: Mr. Hopen, can you address the meaning
 4   of low duty cycle first, because none of this means very much
 5   unless we know what low duty cycle means.
 6               MR. HOPEN: If you'd like, I can skip to that. I can
 7   skip to that. So we can go to page 14 or slide 14 and talk about
 8   low duty cycle and this is Figure 6 of Natarajan, which is Apple
 9   Exhibit 1003.
10               JUDGE LEE: Why are you referring to -- or I want to
11   go to your patent. Tell us what the term means in the context of
12   your own patent.
13               MR. HOPEN: Well, in the context of our own patent,
14   low duty cycle means in the specific limitation at issue here,
15   which is the server transmitter, low duty cycle means the time in
16   which the transmitter is transmitting versus when it was able to
17   transmit.
18               I'll just give you one analogy. So you have a soccer
19   game and you --
20               JUDGE LEE: Analogies don't count. We have a lot of
21   examples. I need something definitive. If you're the judge here
22   and you're writing an opinion, what would you write?
23               MR. HOPEN: If I was a judge and I was writing an
24   opinion on what low duty cycle means, I would basically say that
25   it is for that transmitter the time which it is capable of

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                                    Appx0622
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   transmitting versus how much it actually does transmit and how
 2   much it is powered. It's not transmission. It's actually powered
 3   on. It's energized in low duty cycle RF bursts.
 4             So it is that time that which it is energized and
 5   transmitting versus the time when that transmitter is capable of
 6   doing its job.
 7             JUDGE LEE: Well, when you say energize here, do
 8   you mean it in the adjective form or do you mean it in the verb
 9   form?
10             MR. HOPEN: No, sir. I most certainly mean it in the
11   verb form, that is powered up.
12             JUDGE LEE: But in the other instance you meant the
13   adjective form because you wanted us to believe you're switching
14   it on, but here you're taking the other out. You want us to say,
15   well, do you mean the fact that it's on means it's energized? Are
16   you switching to --
17             MR. HOPEN: No, sir. No, sir. The '290 patent is
18   always energized from a low power to -- or off to a power state.
19   And then even according to Petitioner's expert witnesses, both of
20   them, that when it is not actively transmitting, it is depowered.
21   They use that term.
22             JUDGE LEE: No, but a little earlier you informed us
23   that in order to be energized you require a switch going from off
24   to on.



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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             MR. HOPEN: Oh, that was just my example of this
 2   turning the lights on.
 3             JUDGE LEE: Right. So if we listen to you, then
 4   energize would have to require the switch, but here in your
 5   definition of low duty cycle that seems to be out the door.
 6             MR. HOPEN: Well, the switch itself, Your Honor,
 7   would be the intelligence of the device itself knowing when to
 8   power up and when to power down according to the
 9   synchronization.
10             JUDGE LEE: So in your construction do you require
11   the actual switching or is it enough that the device is energized, is
12   in the powered state without the need to go through the off to on
13   switch?
14             MR. HOPEN: It has to go from off to on or it would
15   not be conserving battery power at the transmitter side. I
16   apologize if I'm not following this.
17             JUDGE BOUDREAU: Does it need to turn off
18   completely or can it just go into a low power state between
19   transmissions?
20             MR. HOPEN: I would only speculate on that, Your
21   Honor, but I know that you cannot energize something that's
22   already on. So if you are energizing something in low duty cycle
23   RF bursts according to the '290 patent, you're powering it up.
24   And even according to the Petitioner's experts, when it's not
25   doing that, it's depowered down. That's -- you know, my

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                                   Appx0624
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   testimony doesn't matter. They're the experts and they've
 2   conceded that.
 3             JUDGE LEE: Yes, but your argument on what the
 4   claim term means does matter. So based on your construction, it
 5   doesn't require any particular percentage of transmission time
 6   versus the total possible transmission energization time. All it
 7   takes is some period of time in which it is powered off.
 8             MR. HOPEN: Your Honor, yes, and I think that's all
 9   the Board is going to need to find in this case.
10             JUDGE LEE: So could you --
11             MR. HOPEN: Yes, absolutely.
12             JUDGE LEE: -- articulate it one more time with all of
13   that?
14             MR. HOPEN: Absolutely. I do have to point to Figure
15   6 and explain Figure 6 to get you there.
16             JUDGE LEE: No. Point only to your own patent. Let's
17   don't get confused over what the art says. In your own patent
18   what does low duty cycle mean?
19             MR. HOPEN: In our own patent low duty cycle -- I
20   mean, is this -- are you asking to refer to our patent?
21             JUDGE LEE: That's your patent.
22             MR. HOPEN: Okay. Very good. Very good. All
23   right. I didn't know if it was my opinion or the patent itself. Low
24   duty cycle has to be read within the context of the claim and the
25   context of the specification and the entire specification is talking

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                                   Appx0625
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   about conserving battery power, not just on the peripheral, but the
 2   server units themselves.
 3             So low duty cycle, you know, in the trial itself both
 4   sides had some tension over could we assign a numerical value to
 5   this, but in all cases low duty cycle -- it's fairly unequivocal that
 6   low duty cycle means that we are energized on less than a full
 7   amount.
 8             And there are -- like in Neve there are instances where
 9   you have examples of a transmitter that can be powered on while
10   waiting to transmit a message. In fact, Natarajan even describes
11   that situation.
12             JUDGE LEE: The Petitioner didn't have any problem
13   with the other proposed construction I mentioned that was
14   synchronized transmission times, meaning sometimes the unit is
15   assigned a time to be energized and transmit or receive and in
16   other times it's off. So that would meet your criteria for low duty
17   cycle.
18             MR. HOPEN: There is nothing in Natarajan, though,
19   that teaches --
20             JUDGE LEE: No, I'm not into the prior art yet.
21             MR. HOPEN: I see.
22             JUDGE LEE: I'm just working on what the term
23   means, because the abstract says tightly synchronized common
24   time base between the units. So could low duty cycle simply



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                                    Appx0626
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   mean each unit has its own assigned time in which to be
 2   energized and at other times it should not be energized?
 3             MR. HOPEN: When you say unit are you talking about
 4   the base station or the server?
 5             JUDGE LEE: Whichever unit is subject to the low duty
 6   cycle limitation. It should have its own assigned time to power
 7   up and other times it should not be powered up.
 8             MR. HOPEN: Okay. Is it possible -- I know that Mr.
 9   Lytvyn is specifically knowledgeable about this. Would the
10   Board allow me to allow him to speak on this?
11             JUDGE LEE: Of course.
12             MR. HOPEN: Okay.
13             MR. LYTVYN: Your Honors, my name is Andriy
14   Lytvyn. I am the lead counsel for Patent Owner DSS and may it
15   please the Board, the question that Your Honors keep asking is
16   what is low duty cycle.
17             If you look at Figure 6 of the '290 patent, that's Apple
18   Exhibit 1001, this is what a low duty cycle looks like
19   schematically. Here is the description from Dr. Grimes,
20   Petitioner's expert, on what this figure represents. In fact, there's
21   a Figure 6 in the specification that shows how these bursts occur
22   and gives you kind of spatial image of these bursts.
23             You can see from looking at the picture that most of the
24   time nothing is being transmitted, nothing is being received.
25   That's exactly what the burst is and that's what low duty cycle --

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                                   Appx0627
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             JUDGE LEE: I'm sorry, but we don't have a picture
 2   claim unless you want us to read in everything from Figure 6 into
 3   your claim.
 4             MR. LYTVYN: I'm just trying to explain what a low
 5   duty cycle --
 6             JUDGE LEE: It's just one example.
 7             MR. LYTVYN: Sure.
 8             JUDGE LEE: What I'm trying to get at, what is the
 9   outer bounds of a low duty cycle? Is it enough simply to have the
10   peripheral unit powered on some of the time and off some other
11   time?
12             MR. LYTVYN: No. That is inconsistent with an
13   understanding of a person of ordinary skill in the art of what low
14   duty cycle would be. If we had to assign a numerical value and,
15   again, we don't require the Board to assign and the examples
16   provided in our Patent Owner response is simply exemplary, 10
17   percent sounds like a reasonable --
18             JUDGE LEE: No, let's not go to the numbers.
19             MR. LYTVYN: Sure. Okay. Well, duty cycle is a
20   percentage. Duty cycle is a percentage. That's what duty cycle
21   is. That's how it's calculated. So duty cycle is inherently a
22   percentage. It's a ratio. It doesn't matter if you're talking about
23   transmitters or if you're talking about welding apparatus, anything
24   that has a duty cycle. Duty cycle is a ratio and that ratio -- it's a



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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   ratio of when that particular component is operational versus the
 2   time, versus the total time that it could be operational.
 3             JUDGE LEE: So is anything less than a hundred low?
 4             MR. LYTVYN: In some, in some applications it could
 5   be. I can't really speculate what low duty cycle would be
 6   considered outside of this technology. In the context of wireless
 7   communications, 10 percent is a reasonable number. We're not
 8   going to ask the Board to accept 10 percent as the low bound, but
 9   that's a reasonable exemplary.
10             JUDGE LEE: Well, I'm talking about the upper bound.
11   Is 95 percent enough to constitute low duty cycle because five
12   percent of the time it will be powered off.
13             MR. LYTVYN: There's nothing on the record that
14   would indicate that 95 percent would be considered to be a low
15   duty cycle in context of --
16             JUDGE LEE: Yeah, but there's nothing to indicate it's
17   not. You don't exclude it. The only explanation you have here in
18   your abstract is that there's a synchronized common time base.
19   So if that explains low duty cycle, then it's enough for the unit to
20   be off sometimes and sometimes it could be five percent. Why is
21   that not a reasonable interpretation?
22             MR. LYTVYN: Low duty cycle is a term of art. We
23   have some expert opinion on it. I'm going -- I'm going to cite to
24   Exhibit 1007. That's Petitioner's exhibit. Page 50 of that exhibit



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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   is actually page 10 of Dr. Hu's declaration submitted in District
 2   Court.
 3             Here's how she defined low duty cycle, because the
 4   number of slots when a unit's transmitter is depowered is
 5   substantially greater than the number of slots when the unit's
 6   transmitter is energized, the unit is said to have a low duty cycle.
 7   So that substantially greater indicates what the low duty cycle is.
 8             If in your hypothetical where it's powered off for five
 9   percent of the time and energized 95 percent of the time, that is
10   definitely not substantially greater powered down than it is
11   energized. Therefore, it would not be a low duty cycle.
12             JUDGE LEE: Well, you say it's a term of art. That's
13   not a very definitive term of art if the testimony is substantially
14   greater. Can you be more exact? Has any witness testified that
15   low duty cycle means here this is the cutoff?
16             MR. LYTVYN: Unfortunately, there is no hard value
17   for the numbers. There's nothing on the record --
18             JUDGE LEE: It's not a term of art, is it, as far as the
19   percentage number goes?
20             MR. LYTVYN: I think what the term of art is it's just a
21   low duty cycle and none of the experts offered an exact upper
22   boundary. What Patent Owner did provide is in our response.
23   We provide a number of examples of how this term is used in the
24   art and what these references, which are all issued United States



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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   patent within this technology field have used for duty cycles. So
 2   some example is --
 3             JUDGE LEE: Why isn't any of that predating the
 4   applications?
 5             MR. LYTVYN: Well, there's no evidence that the
 6   definition of duty cycle changed between then and when these
 7   patents were issued or filed.
 8             JUDGE LEE: No, but you're the party alleging the term
 9   of art and why do you search only for terms that postdate the
10   patent?
11             MR. LYTVYN: Just to be clear, the burden is on the
12   Petitioner to establish that the claims are obvious. It's not our
13   burden to establish that they would be obvious. We offer
14   testimony from Dr. Dezmelyk who says that a person of ordinary
15   skill in the art would understand that 10 percent is a reasonable
16   range and that is the best evidence we have from either party of
17   what would constitute a low duty cycle.
18             JUDGE LEE: I'm not getting that. You know, 10
19   percent sounds low, but that's not testimony on what's the upper
20   limit. Are they testifying to an upper limit?
21             MR. LYTVYN: Yes. 10 percent is the upper limit.
22   Anything below 10 percent is low duty cycle. Anything over 10
23   percent would be considered high duty cycle and -- or at least it
24   would not be considered a low duty cycle in the context of
25   wireless communications technology.

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1                 And, in fact, if you look at Natarajan, Natarajan
 2   operates at a hundred percent duty cycle. So even in your
 3   hypothetical where you just articulated where it's 95 percent of
 4   the time, Natarajan it's not 95 percent. It's a hundred percent of
 5   the time. Therefore, no matter what number you take to be the
 6   upper boundary for the low duty cycle, Natarajan still does not
 7   satisfy it.
 8                 And if you will allow me to proceed to the next slide, I
 9   will show you why.
10                 JUDGE LEE: The Patent Owner's position is you still
11   urge that low duty cycle requires a powered-on ratio of no greater
12   than 10 percent.
13                 MR. LYTVYN: 10 percent is an exemplary value.
14   That is what our expert, Robert Dezmelyk, stated and we still
15   stand behind it.
16                 JUDGE LEE: Well, now you're shifting on me. First,
17   you said it's a hard value, a hard number, it's a hard limit and now
18   you're saying it's an exemplary value.
19                 MR. LYTVYN: I've never said it. I said it's -- there's
20   no hard limit on the record. There's no hard value on the record.
21   Everything that's provided is exemplary and the best evidence we
22   have of an actual numerical value, Dr. Hu said it's substantially
23   greater. Again, it doesn't give the Board much clarity --
24                 JUDGE LEE: Well, is their claim indefinite if no one
25   can tell us what the line is?

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             MR. LYTVYN: But indefinite -- indefinite is --
 2   whether it's definite or not, indefinite, that's not the issue that is
 3   being decided in this IPR. That's an issue for a different judicial
 4   body to address. I understand the burden of --
 5             JUDGE LEE: So even the Patent Owner doesn't know
 6   where the line is. Do you know where the cutoff is?
 7             MR. LYTVYN: We don't. It's a vague term of art. In
 8   this particular art, low duty cycle is used and there's a number of
 9   values and the best we could do to show what this number is, is to
10   provide examples of --
11             JUDGE LEE: So it's a moving target? One day it's this
12   and the next day it's that, depending on who you ask?
13             MR. LYTVYN: You have to consult an expert in the
14   technology. Based on what our expert --
15             JUDGE LEE: And you still can't give us anything
16   definitive. It's all exemplary.
17             MR. LYTVYN: Sure. 10 percent is our example.
18   That's what our expert stated. We stand behind this. So 10
19   percent is our position. So 10 percent of the duty cycle is the
20   ratio of when the transmitter is powered on versus the entire
21   duration during which it could be powered on.
22             JUDGE LEE: So Patent Owner is unable to tell us an
23   upper limit for low duty cycle as far as a ratio goes?
24             MR. LYTVYN: It's 10 percent according to Robert
25   Dezmelyk's testimony. So 10 percent, that's what Patent Owner's

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   expert testified. We stand behind it, so the upper boundary is 10
 2   percent.
 3               JUDGE LEE: Well, now you're shifting back. Which
 4   way is it? Are they all exemplary or are you taking a hard line on
 5   what the limit is?
 6               MR. LYTVYN: I'm saying the Board does not need
 7   to --
 8               JUDGE LEE: Regardless of whether we need to, I'm
 9   asking you, does the Patent Owner take a position on what the
10   upper limit is, or you can simply tell us that you don't know, the
11   Patent Owner does not know what this term means in the context
12   of its claim as far as a hard limit goes.
13               MR. LYTVYN: Based on the testimony of our
14   expert --
15               JUDGE LEE: I don't care who it's based on. What is
16   the Patent Owner's position? Yes or no, is there an upper limit
17   for low duty cycle?
18               MR. LYTVYN: There's no hard numerical value. It's
19   not on the record under either broadest reasonable interpretation
20   --
21               JUDGE LEE: I don't care whether it's on the record or
22   not. What is the Patent Owner's position regarding this claim
23   term? It's nebulous or you do have a hard value beyond which it
24   would not be deemed low duty cycle.
25               MR. LYTVYN: If I could refer to the testimony of --

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1                JUDGE LEE: No. Just give a quick answer, yes or no.
 2                MR. LYTVYN: No. We don't have a hard value and
 3   the best -- I'm not an expert in the technology, but --
 4                JUDGE LEE: No. But I'm not asking you to be an
 5   expert. I'm just asking you as lead counsel for Patent Owner,
 6   what is Patent Owner's position on the meaning of this term?
 7                MR. LYTVYN: 10 percent.
 8                JUDGE LEE: As exemplary or simply -- or as a hard
 9   limit?
10                MR. LYTVYN: There's no hard limit. 10 percent is
11   exemplary. So anywhere within the ball park --
12                JUDGE LEE: All right. So I can take that to the bank,
13   there's no hard limit on what low duty cycle means.
14                MR. LYTVYN: There's nothing on the record that
15   provides a hard number.
16                JUDGE LEE: Please don't deviate. Just yes or no. I'm
17   trying to pin you down on something that's clear and we can
18   handle it.
19                MR. LYTVYN: 10 percent is --
20                JUDGE LEE: Is not a hard limit or is it just exemplary?
21   Or if there's no hard limit, just say there's no hard limit.
22                MR. LYTVYN: There's no hard limit.
23                JUDGE LEE: You can't articulate any hard limits,
24   right?



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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             MR. LYTVYN: I cannot articulate a hard limit at this
 2   time. The best evidence we have on the record, again, is our
 3   expert's testimony, which is what I'm relying on and he did not
 4   articulate a hard limit.
 5             JUDGE LEE: You know, hypothetically if we think
 6   your claim can't be construed, what should we do?
 7             MR. LYTVYN: How can you find something obvious
 8   that you cannot construe? And, in fact, there is precedent where
 9   IPRs were dismissed because the Board simply could not
10   interpret a claim. I mean, that's -- if that's what we are facing,
11   that's what we are facing. How can you render a claim obvious
12   that cannot be construed?
13             JUDGE LEE: So where will we be? What would the
14   Patent Owner urge that we do?
15             MR. LYTVYN: If the decision is really inconclusive,
16   it's better to err on the side of caution and find that based on the
17   evidence on the record Petitioner has not met its burden of
18   showing that this claim is obvious. Because under construction,
19   there's no conclusive construction, all these claims at least to
20   conclusion.
21             But if you allow me to proceed to the next slide, I can
22   show you that if you agree with me that low duty cycle is
23   anything less than a hundred percent -- I think anybody can agree
24   that hundred percent is as high as it gets. So anything less than a
25   hundred percent is low duty cycle. Even if you establish this

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                                   Appx0636
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   hypothetical boundary, which is beyond what reasonable
 2   interpretation would be, I can still show you why Natarajan does
 3   not satisfy the limitations of the claim.
 4             Would you like me to do that? I can proceed to the next
 5   slide.
 6             JUDGE LEE: Well, as soon as you answer what the
 7   Patent Owner would like us to do, maybe to terminate the
 8   proceeding because the claim can't be construed?
 9             MR. LYTVYN: Sure. I can -- I mean, no one in their
10   reasonable mind could ask the Board to render a claim obvious
11   that could not -- that the Board cannot issue a concrete
12   construction. So if the Board cannot construe a claim and there is
13   such construction that would render the claim either obvious or
14   not, then the Board would like to terminate the meeting -- the
15   proceeding. However, in this case it doesn't matter what the
16   numerical value for low duty cycle is. The art on record does not
17   meet --
18             JUDGE LEE: What about determining that the claims
19   are indefinite?
20             MR. LYTVYN: That's not an issue before the Board.
21             JUDGE LEE: Yes, but we could determine the claims
22   are indefinite by saying that it cannot be determined what they
23   mean. In effect, that will be a ruling on the claim. We wouldn't
24   say -- we wouldn't hold the claims unpatentable for
25   indefiniteness. We would terminate the proceeding.

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                                   Appx0637
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             MR. LYTVYN: And the Board has done this before.
 2   There's precedent for that. And if that's the decision the Board
 3   arrives to, then that's the decision --
 4             JUDGE LEE: So Patent Owner would be fine with that.
 5             MR. LYTVYN: We would not be fine with that
 6   outcome of the case. Under any construction, even if you
 7   construe 99 percent to be the upper boundary of the low duty
 8   cycle, so anything under 99 percent is low duty cycle, Natarajan
 9   still does not render this claim obvious.
10             The Board does not need to assign a numerical value, as
11   my colleague just articulated, in order to find this claim obvious
12   or not and I can show you exactly why.
13             If you look at slide 6 -- slide 14, sorry, Figure 6 on
14   Natarajan. Natarajan, first of all, does not disclose anything
15   about how the base transmitter operates. Here right now we are
16   focused on a single limitation. Server transmitters energized in
17   low duty cycle RF bursts.
18             Natarajan does not provide anything about how the base
19   unit operates. Natarajan says 81 times that conserving power is
20   important, yet every time it's used in the context of the mobile
21   unit. The only thing in Natarajan that actually shows how the
22   base unit operates is provided in Figure 6 and disclosure
23   explaining Figure 6 provided below.
24             If you look at this example -- and this is the only
25   example provided in Natarajan. In this particular example there

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   are 64 mobile units. So Your Honors previously provided a
 2   hypothetical where something is very data intensive and in that
 3   particular frame transmission happens to be continuous. Well,
 4   let's like look at this example in Natarajan.
 5             There are 64 mobile units, yet only four of these units
 6   need to receive information at this particular frame. So the
 7   subframe A here is allocated such that it only has 15 slots because
 8   it's all that's necessary to accomplish transmission. Each one of
 9   those 15 slots is assigned to a peripheral unit and here is an
10   accurate -- a very detail description, three slots for the first unit,
11   five for the second, three for the third, and four for the fourth.
12             And the transmission from the base side to the receiver
13   happens continuously during time period TA. If you look at time
14   period TA, the base transmitter is on for the transmission to the
15   first period, it's on for the second, it's on for the third, and it's on
16   for the fourth. Accordingly, the base --
17             JUDGE BOUDREAU: I'm sorry, where does it say that
18   it's continuous?
19             MR. LYTVYN: If you look at Figure 6 -- and actually
20   let me -- sorry. If you look at Dr. Hu's cross examination
21   transcript, if you look at page 144, she was asked the exact
22   question that you just asked me and here is your answer. So let
23   me start with the question.
24             Referring to Figure 6 of Natarajan, during time period A
25   -- and I'm reading from this is Exhibit 2018, page 144, line 9. So

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   here's the question, referring to Figure 6 on Natarajan, during
 2   time period A, are there any empty slots during which
 3   transmission does not occur? Opposing counsel objected. Dr. Hu
 4   answered. In this particular example of an example embodiment
 5   in Natarajan, this particular instance in time there is no slot left
 6   after they are in period A, subframe A after they are allocated to
 7   the four receivers.
 8             Question, so in this embodiment, is the transmitter of
 9   the base unit energized for the entire duration of time period A?
10   Answer, in this particular example at this particular instance of
11   time, the transmitter of the base station is on for the subframe A.
12             This is testimony of Dr. Hu, Petitioner's expert during
13   cross examination. She does not dispute that the transmitter of
14   the base unit is on continuously during the entire time period TA.
15             Why it's important? Two reasons. First, when one
16   unambiguously requires that the server transmitter be energized
17   in bursts, here the transmission is continuous for the entire 15
18   slots. That is not a burst in transmission. It's a continuous
19   transmission. It's antithetical to what a burst is.
20             Second, Claim 1 also unambiguously requires that the
21   server transmitter be energized in low duty cycle RF bursts.
22   Here, we have a hundred percent duty cycle. There are 15 slots to
23   which the transmitter could have been transmitting and the
24   transmitter is transmitting during the entire 15 slots. That is a
25   hundred percent duty cycle. That is not low under any

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   construction. That is a hundred percent duty cycle. That's the
 2   only example that Natarajan provides of how the base unit
 3   operates, how the transmitter of the base unit operates.
 4             Your Honors asked a question earlier pertaining to
 5   paragraphs 86 through 88 of Dr. Hu's declaration where she
 6   fabricates some examples of what Natarajan could do. The last
 7   time I checked, we don't analyze a reference for what it could do.
 8   We analyze a reference for what it teaches or suggests.
 9             Here, Natarajan clearly teaches and suggests that the
10   server transmitter is on through the entire duration of time period
11   TA and this is, again, there are 64 mobile units and only four of
12   them are designated to receive information. Based on this figure
13   and based on this disclosure, what a person of ordinary skill in the
14   art would conclude the time period TA is such that every slot is
15   occupied by transmission and the transmission happens in a
16   continuous manner.
17             The receiver is powered down and turned on whenever
18   they need to receive a particular packet within that data stream,
19   but the data stream happens during the 15 slots of the outbound
20   transmission TA. Dr. Hu conceded this. This is the only example
21   in Natarajan that pertains to operation of the base transmitter.
22   The remaining disclosure of Natarajan pertains only to what
23   happens in the mobile unit side.
24             Again, this Board does not need to address this issue.
25   The only issue that needs to be addressed here is whether the

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                                   Appx0641
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   server transmitters are energized at low duty cycle RF bursts.
 2   Here, they are energized continuously, so it's not RF bursts. This
 3   is -- the Board can dispose of this proceeding based on this
 4   ground alone without even going to the duty cycle.
 5             Second, even if the Board looks at the duty cycle, the
 6   duty cycle here is continuous. There is no time during which the
 7   transmitter is powered off. There is no time transmission to
 8   which it's energized in bursts. It's energized and it stays
 9   continuously on during that entire duration.
10             JUDGE LEE: So if a system assigns all of its time slots
11   out, then it cannot possibly be low duty cycle.
12             MR. LYTVYN: Exactly, and this is what Carvey
13   addresses and this is what Carvey solves. In going back to the
14   first question that Your Honors asked my colleague about kicking
15   out systems and introducing inefficiencies in the system to
16   achieve low duty cycle, this is exactly what Carvey does.
17             In Carvey this is a scheme for transmissions. The
18   channel is quiet and there are low duty cycle RF bursts. During
19   64 slots if you look down where there's a sector, there's 64 slots.
20             By the way, in District Court Dr. Hu used this exact
21   figure to determine what a low duty cycle is. The server is
22   energized for three out of these 64 slots. That's a low duty cycle
23   transmission. If there's more transmissions that needs to be
24   taking place, it happens during other frames. So, yes, it is an



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                                   Appx0642
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   inefficiency and that's why it would have been so
 2   counterintuitive.
 3              The reason why this inefficiency is introduced into the
 4   system, which prolongs a communication and it takes a longer
 5   period of time because now you're subdividing your transmission
 6   to where you're only transmitting in a low duty cycle, and your
 7   transmission bursts is for two reasons and these reasons are
 8   articulated in the '290 patent.
 9              JUDGE BOUDREAU: If we're looking at Figure 6.
10              MR. LYTVYN: Yes.
11              JUDGE BOUDREAU: If the base didn't have any data
12   to transmit to mobile unit S2, is there any indication that --
13              MR. LYTVYN: You're talking about Natarajan now,
14   correct?
15              JUDGE BOUDREAU: I'm talking about Natarajan,
16   yeah.
17              MR. LYTVYN: Yes.
18              JUDGE BOUDREAU: Is there any indication that the
19   base would still be powered up during those five time slots that
20   are associated with S2?
21              MR. LYTVYN: That's a good question and it has a
22   very easy answer. If you look, there are 64 mobile units. So, in
23   fact, 60 of them don't have any data to transmit. So the
24   transmission time period is subdivided among the units that
25   actually have data to receive.

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                                   Appx0643
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             So in this particular instance, it's not just that the unit S2
 2   doesn't have any data to receive, there are 60 such units that don't
 3   have any data to receive. And as we see in Natarajan, there are
 4   no empty slots. Each slot is occupied by a transmission.
 5   Natarajan --
 6             JUDGE BOUDREAU: But isn't that just because
 7   there's data to be transmitted? I'm struggling to understand why
 8   you would power up a transmitter if you don't have any data to be
 9   transmitted.
10             MR. LYTVYN: If you don't have any data to be
11   transmitted, the transmitter is off and you can't calculate any data
12   cycle because the transmitter is not operating at all. If there's no
13   data to transmit, if this system is sitting on a shelf and it's turned
14   off and it's not transmitting any data, it provides no utilities.
15             The only time this is useful and why Natarajan and
16   Neve and Carvey were awarded patents to this technology is
17   because it's designed to transmit data. That's the only time you
18   need to analyze it. If it's not transmitting any data, we don't have
19   a communication cycle, we don't have -- if there's no data to
20   transmit, the system is powered off and it doesn't have any duty
21   cycle at all. There are no bursts. It's definitely not powered on
22   and bursts is just powered off continuously and there's no duty
23   cycle to calculate. It's just powered off. It's not operational.
24             JUDGE BOUDREAU: So if we can look at Figure 5 of
25   Natarajan. Let me find the -- yeah, if we look at Figure 5, we

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   concluded that there were slots here -- slot 4, slot 8, slot 9, and it
 2   looks like it's probably slot 58 -- that have data to be transmitted
 3   to peripheral units.
 4             If all of those had been zeros, such that there weren't
 5   any receivers that needed to receive data, is it your position that
 6   Natarajan would still remain powered on throughout the entirety
 7   of frame A?
 8             MR. LYTVYN: That's a speculation. That's one
 9   possibility. It could be operating under one of these idle word
10   schemes, which we don't need to address. Another possibility is
11   that it's completely turned off and it's not sending any data. There
12   is absolutely no indication that if there is no data to transmit and
13   all these numbers are zero that the transmitter would be powered
14   on in RF bursts.
15             There is absolutely no indication in Natarajan that you
16   would power on the transceiver in a burst when there's no data to
17   transmit. Why would that be done? That seems wasteful to me.
18   Why would you turn on --
19             JUDGE BOUDREAU: But isn't that the basis of your
20   argument, though, that it's transmitting continuously?
21             MR. LYTVYN: Yes, and there's data to transmit. In
22   your hypothetical which, again, is outside of the boundaries of
23   what Natarajan actually teaches, if there were no -- if there was
24   no data to transmit and in Figure 5 all of these values were zeros,
25   then the transmitter would be powered off during the entire

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                                    Appx0645
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   duration. It would not be energized in RF bursts. I don't see a
 2   reason why Natarajan would energize its transmitter in RF bursts
 3   when it's not transmitting any data at all.
 4             JUDGE BOUDREAU: Okay. Thank you.
 5             MR. LYTVYN: And, again, let's talk about Figure 5.
 6   I'm glad you brought it up. Petitioner brought it up. What does
 7   Figure 5 actually provide? I'm looking at Natarajan, column 6,
 8   and if you look at line 16 through 23.
 9             In period A, before the base station broadcasts messages
10   to receivers, it includes a receiving user index in the header AH
11   section of the frame. A receiving user index is a coded
12   description of mobile users that will receive data in the current
13   frame. That is, it is a designation of which mobile users are to
14   communicate with the base station during that time.
15             And, again, if you look at column 6, skipping down to
16   line 59, we're still talking the concept of Figure 5. The content of
17   each bit location signals the receiver activity of the user
18   designated or indexed by the bit location. So, again, Figure 5
19   only shows which receivers need to be powered on and which
20   receivers need to stay off on the mobile unit side.
21             Figure 5 provides absolutely no information about what
22   happens on the server transmitter side.
23             JUDGE BOUDREAU: But why would it ever make
24   sense for the server transmitter to be energized if there aren't any
25   peripheral units to be communicated with?

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                                   Appx0646
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             MR. LYTVYN: It wouldn't. It would simply be turned
 2   off. It would not be turned on -- it would not be energized in low
 3   duty cycle RF bursts. It would remain off. So if there's no data to
 4   transmit, it will be turned off. If any one of these units --
 5             JUDGE BOUDREAU: Why isn't that a low duty cycle?
 6             MR. LYTVYN: Because the system is not operational.
 7   A person of ordinary skill in the art would not calculate the --
 8   would not calculate the duty cycle when the transmitter could not
 9   have been transmitting. So we only need to look at the
10   transmission period.
11             So the transmission period in this particular instance we
12   have four units out of 64 and it's 15. If you had only one unit, the
13   transmission period would be three units and the transmitter
14   would be on during those entire three slots to transmit
15   information to the mobile unit. So it still would be transmitting
16   continuously during those three slots and that would power it off.
17   It would still be a hundred percent duty cycle and would still not
18   be a burst.
19             And if there's no data to transmit, then the server
20   transmitter would be powered down completely and we wouldn't
21   have a transmission period, the outbound transmission period,
22   and we would not be able to calculate any kind of duty cycle
23   because the system would simply be nonoperational.




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                                   Appx0647
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             JUDGE BOUDREAU: But you're saying that if S1
 2   were the only peripheral unit that was receiving data, then the
 3   base unit would power down for the remaining 12 slots?
 4             MR. LYTVYN: No. What I'm saying is based on this
 5   -- well, first of all, Natarajan does not really say what would
 6   happen. Based on this example, there are 15 slots worth of data
 7   to transmit. If you only had three slots worth of data to transmit,
 8   the only reason to conclude the transmission period TA would not
 9   have been 15. It would be three.
10             So instead of looking at the entire where you have S1
11   on, on, on, on, you would have a single period TA would have
12   been truncated to three slots. There's absolutely no hard
13   requirement in Natarajan that transmission period is limited to 15
14   slots and if the transmission takes less time than the 15 slots, it's
15   any of the slots aren't assigned.
16             There's simply no teaching in Natarajan that would lead
17   a person of ordinary skill in the art to conclude that any of these
18   slots are ever unassigned.
19             In fact, if you look in Natarajan, this is the language
20   cited by the Board. If you look at column 4 starting with line 20,
21   wherein Natarajan explains what happens, in the scheme
22   described here, a scheduled multiaccess protocol is used in which
23   time frame is divided into fixed-length frames, and the frames are
24   divided into slots as shown in Figure 4.



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                                   Appx0648
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             So when we look here, before each frame is issued, the
 2   system calculates how much slots it needs for transmission, how
 3   many slots it needs for reception and how many slots allocated
 4   for the contention period and these slots are fixed at the beginning
 5   of each frame.
 6             So the system can adjust itself to eliminate waste and
 7   transmit only during the time slots where transmission needs to
 8   be taking place. Hypothetically -- and, again, this is outside of
 9   Natarajan, but just for the completeness of the answer, if all 64
10   mobile units had to receive information, the time period TA
11   would not be 15 slots. The time period TA would have been
12   adjusted so that all 64 of these units can receive the information
13   that they need to receive.
14             In this particular instance only four of them are
15   receiving information, therefore, the slot is allocated to ensure
16   that that transmission happens to these four units. If more units
17   need to receive data, that window would have been larger, but the
18   key point is that the server transmitter would have been energized
19   for the entire duration of that window.
20             There is absolutely nothing in Natarajan that teaches or
21   suggests that any of the slots during time designated for outbound
22   transmission would be simply unassigned and left vacant and,
23   second, there's absolutely no suggestion in Natarajan that even if
24   that were to happen, that the transmitter is powered off during
25   unassigned slots.

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                                   Appx0649
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1            These two premises are fabricated by Petitioner.
 2   They're explained in Dr. Hu's examples in 86 through 88 where
 3   she premises every single example on what Natarajan could do
 4   and not what Natarajan actually teaches or suggests, the only
 5   example that shines any light on how base unit transmitter
 6   operates in Natarajan is illustrated in Figure 6 and provided and
 7   explained in this short paragraph here.
 8            In this instance, this exemplary embodiment, Natarajan
 9   is operational for a hundred percent of its outbound transmission
10   period. It's a hundred percent duty cycle under any construction
11   of low duty cycle. Hundred percent cannot be low. That I think
12   everybody can agree with that.
13            And, second, the transmission is not -- the transmitter of
14   the base unit is not energized in bursts. The transmission is
15   continuous throughout the entire transmission period. We have
16   Dr. Hu's testimony, again Exhibit 2018, pages 144-145, where
17   she opined that, indeed, in this example the transmission is
18   continuous.
19            This is the only example Natarajan provides that
20   communicates anything to the person of ordinary skill in the art
21   about how the base unit transmitter operates. And in this
22   example, it's continuous. There are no other examples provided.
23   And just because somebody provided an example A and B in
24   their specification doesn't mean that they also disclosed, taught or
25   suggested example C.

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             And, here, all other examples are completely extrinsic
 2   to Natarajan and they are fabricated by Petitioner's hired expert
 3   and premised with a statement Natarajan could do this or could
 4   do this. Well, here's what Natarajan actually does.
 5             JUDGE BOUDREAU: But I'm trying to understand
 6   how Figure 6 would look different if Figure 6 -- if Natarajan had
 7   implemented a low duty cycle at the base stations.
 8             MR. LYTVYN: Sure. So in Figure 6 -- and, again, this
 9   is speculation because this is outside of the scope of Natarajan,
10   but if I were hypothetically to change the disclosure of Natarajan
11   to make base transmitter operate in low duty cycle RF bursts, the
12   transmitter would have a scheme similar to the one disclosed in
13   Carvey. So what you would see is you would see -- where you
14   see on, on, on, on during the entire time, it will be powered on for
15   a slot and it would be dedicated to S1 and then the transmitter
16   would be powered off for duration and the transmitter would --
17             JUDGE BOUDREAU: I can't see the screen that you're
18   looking at. Which --
19             MR. LYTVYN: I am so sorry, I apologize. I'm looking
20   at -- before I switched. So let's look at 13, slide 13, and I
21   apologize, Your Honor, for not indicating this earlier.
22             If you look at slide 13, we have a sector at the bottom
23   that has 64 slots and, again, just to reiterate, this is exactly the
24   figure that was used by Dr. Hu in District Court to decide what a
25   duty cycle is and why Carvey operates in low duty cycle.

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                                    Appx0651
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             The first sector has 64 slots. Only three of them have
 2   any transmission taking place. That's a low duty cycle operation.
 3   So to translate to what Natarajan teaches, if you look at Figure 6,
 4   it's on, on, on, on during the entire 15 slots. So in order for it to
 5   operate in low duty cycle RF bursts, the transmitter of the base
 6   unit would have to be powered on and then you would see a long
 7   off, off, off, off and then it will be powered on again and then you
 8   would see off, off, off, off.
 9             Again, Your Honors are absolutely correct that this is
10   inefficient. You're kicking off mobile units, you're extending the
11   time required for transmission and in some ways it's
12   counterintuitive.
13             And for Natarajan it wasn't a concern because Natarajan
14   discloses a base station that is cabled to a LAN outlet. There is
15   absolutely no disclosure in Natarajan that the base station is
16   battery power operated. There is no disclosure that energy
17   conservation on the base unit transmitter side is a concern.
18   Natarajan wasn't terse about articulating how a mobile unit
19   operates and the conservation and industrial applicability of
20   Natarajan on the mobile unit side.
21             If you look here, Natarajan is clearly focused on
22   portable units and here is an industrial applicability section of
23   Natarajan, power savings on the mobile computer side, which are
24   mobile units. There is absolutely no concern about a transmitter



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                                     Appx0652
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   operating low duty cycle and, therefore, the transmission is
 2   continuous.
 3             In Carvey we introduce additional complexity and
 4   additional inefficiency into the system where the transmissions
 5   are restricted to low duty cycle bursts. In this particular example
 6   we have three bursts for 64 slots --
 7             JUDGE CLEMENTS: I have a question.
 8             MR. LYTVYN: Yes.
 9             JUDGE CLEMENTS: Let's go back to your slide 14.
10   It's Figure 6 of Natarajan.
11             MR. LYTVYN: Yes.
12             JUDGE CLEMENTS: And I just want to understand
13   what you were saying earlier. So this period TA that's illustrated
14   sort of grows and shrinks, depending on which -- depending on
15   how many units have to receive data from the base station during
16   that time period, right?
17             So here we've got illustrated S1, S2, S3, S4 receiving
18   things and then if, for example, there was another situation where
19   there was no S3 and S4, that period TA would shrink to be only
20   the eight slots there. Am I understanding that?
21             MR. LYTVYN: Yeah, that is one possible
22   interpretation of Natarajan. Again, this is not disclosed in
23   Natarajan, so all these hypotheticals are speculative, but that is
24   one way to interpret in Natarajan is that that transmission window
25   would be shrunk. Because according to the example that

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                                   Appx0653
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   Natarajan does provide, that transmission only happens -- that the
 2   window is such that it satisfies the transmission requirements of
 3   that particular cycle.
 4             So if this cycle only has 64 units and only four of them
 5   receive data, the cycle is allocated to be 15 slots. If that number
 6   of designated -- if the number of mobile units changed, what the
 7   amount of data that the mobile unit needs to receive -- if you see,
 8   the time is not just merely equally divided among units. Each
 9   unit is allocated a certain number of slots based on the size of the
10   transmission that needs to happen, that it is reasonable to
11   conclude that that time window TA would shrink or expand based
12   on data requirements of that particular communication cycle.
13             JUDGE CLEMENTS: So if we had, for example, 64
14   mobile units requiring two slots in each, that time period TA
15   would be 128 slots?
16             MR. LYTVYN: Again, that is a reasonable
17   interpretation on Natarajan. That's how we would interpret it and
18   --
19             JUDGE CLEMENTS: That is the interpretation that
20   you're urging is correct?
21             MR. LYTVYN: Yes. That's an interpretation I'm
22   urging is correct. Again, I understand that this interpretation is
23   based on our interpretation, Patent Owner's interpretation of
24   Natarajan, and Natarajan is silent about what would actually
25   happen.

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             JUDGE CLEMENTS: Let's assume it's correct.
 2             MR. LYTVYN: Yes.
 3             JUDGE CLEMENTS: I've got a question about the
 4   next step. So as TA grows or shrinks, depending on how much
 5   data needs to be transmitted, isn't TA changing as a percentage of
 6   the overall time of that entire fixed-length frame? So, in other
 7   words, if you only have S1 needing three slots and then the
 8   remainder of that frame is devoted to TB and TC, why wouldn't
 9   that be transmitting at a low duty cycle because TA is a small
10   percentage of the overall time, TA plus TB plus TC?
11             MR. LYTVYN: Excellent question and let me explain
12   to you why Period B and Period C are irrelevant for calculating
13   the duty cycle of the transmitter. Again, I want to base my
14   presentation, as my colleague has stated, entirely or almost
15   entirely on the declaration of Petitioner's experts.
16             So if you'll look --
17             JUDGE CLEMENTS: Did you say B and C are
18   relevant or irrelevant?
19             MR. LYTVYN: Irrelevant for calculation of the server
20   transmitter's duty cycle. So when we're talking about server
21   transmitter duty cycle, duty cycle is an intrinsic property of a
22   transmitter. So when we look at that figure, only time
23   transmission TA is relevant to calculate the duty cycle and let me
24   explain to you why.



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                                      Appx0655
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1               First, with regard to Period C, Period C -- and I'm going
 2   on read from Natarajan, column 9, lines 19 through 23, and this is
 3   where Natarajan discusses Period C. A determination is made at
 4   decision block 116 whether or not the given mobile station has
 5   any packets to transmit in the random access mode, which is
 6   Period C.
 7               Again, Petitioner accurately described time period C as
 8   a period during which mobile units kind of chime in and
 9   sometimes talk over one another and the only transmission that
10   happened during time period C is the acknowledgement
11   transmission that the server transmitter sends upon receiving of a
12   message from a mobile unit.
13               So now why is this relevant? Let's got to Claim 1 and
14   this is slide 2, Your Honors. This is Claim 1 of the '290 patent.
15   Said server and peripheral transmitters being energized in low
16   duty cycle RF bursts at intervals determined by a code sequence.
17   So when we go back -- and I'm going back to slide 14.
18               The code sequence is transmitted during period AH.
19   The code sequence is transmitted during period BH. These slots
20   are allocated for transmission. During the contention period, the
21   transmitter is not energized in any particular slot. It's a random
22   access mode during which the transmission happens only in
23   response to the base station receiving a message from the base
24   unit. These transmissions are not done in accordance with a code



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                                    Appx0656
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   sequence. Therefore, this period can be disqualified just based on
 2   this alone.
 3             Now let's look at period B. During period B, the
 4   transmitter is powered down. Okay. The system is in reception
 5   mode. Let's look at testimony of Dr. Grimes pertaining to RF
 6   bursts and duty cycles. So -- and I'm going to read. This is
 7   DSS-2015, page 46, lines 12 through 15.
 8             When asked about what an RF burst is, Dr. Grimes,
 9   expert of the Petitioner, said the following, the key thing is that
10   the burst is small. The time it takes is small relative to the overall
11   time that the transmitter could have been transmitting. During
12   time period B the transmitter could not have been transmitting
13   because there's no transmission taking place.
14             There's -- Dr. Grimes also opined and this is DSS-2015,
15   page 60, 19 through 22. When the units are receiving
16   information, their respective transmitters can't be operating. If
17   they were, they would not be able to receive information.
18   According to time period B, and I think Petitioner contests this on
19   the record, is that the base unit is in the receive mode, so the
20   transmitter is powered off.
21             Again, even based on the definition of what a burst is
22   provided by Petitioner's own expert, we only need to look at the
23   time when the transmitter could have been transmitting. During
24   time period B the transmitter could not have been transmitting at
25   all because the transmitter is in reception mode. The receiver,

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                                   Appx0657
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   part of the transceiver circuit, is powered on and no transmission
 2   takes place. Again, that's why this period is irrelevant.
 3             When new transmissions take place, the transmissions
 4   take place during time period TA. What happens during time
 5   period TA, we have continuous operation at a hundred percent
 6   duty cycle. A hundred percent is not low under any claim
 7   construction and continuous is antithetical to RF bursts.
 8             JUDGE LEE: So you don't see any bursts in period A.
 9             MR. LYTVYN: No. It's energized continuously.
10   There are 15 slots and the transmitter is transmitting continuously
11   during those 15 slots and this is not what I see. I'm not an expert.
12   Dr. Hu who is an expert, that is what she opined when asked
13   about what happens in Figure 6. That's Patent Owner Exhibit
14   2018, pages 144-145.
15             Question -- and I read this before. I'll read it again just
16   to be clear. So in this embodiment, is the transmitter of the base
17   unit energized for the entire duration of time period A? Answer,
18   in this particular example at this particular instance of time, the
19   transmitter of the base station is on for the subframe A. This is
20   testimony of Dr. Hu, Petitioner's expert.
21             I don't see any bursts happening during TA, during time
22   period TA, and neither does their expert.
23             JUDGE LEE: How many bursts should there be
24   according to Claim 1 because it has the word bursts --



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                                   Appx0658
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1              MR. LYTVYN: Sure. Now we're getting back to the
 2   value of low duty -- what low duty cycle is. So if you look at the
 3   example -- and, again, to stay within what we have on the record,
 4   the '290 patent provided this example where we have one sector
 5   in which there are 64 slots and transmission happens during three
 6   slots, so that's a burst.
 7              In the second sector we have 64 slots. Transmission
 8   happens during five out 64 slots.
 9              JUDGE LEE: What if the slots are consecutive? So
10   that means it's transmitting consecutively for five slots. Is that
11   five bursts or is that --
12              MR. LYTVYN: Now, the whole point Carvey is that
13   the system is designed in such a way to where these bursts -- and
14   that's the whole point of claiming a burst. This is the
15   advancement over the art that these slots are distributed in such a
16   way that they are spread out. That's why -- that's exactly what the
17   claim limitation RF bursts requires. It's energized in bursts.
18              You can't -- under the system of Carvey, you can't have
19   five consecutive slots during which the system would be
20   energized. If that system existed, it would not infringe Claim 1
21   because it would not meet this limitation. It's a narrow limitation
22   that Patent Owner conceded on and is limited by on the
23   infringement side, but it's also the limitation that advanced the art.
24   These slots are spread out. They're not consecutive.



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                                   Appx0659
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             When you look at Figure 6, each slot is two
 2   microseconds long.
 3             JUDGE LEE: And if it was together, it wouldn't meet
 4   the claim.
 5             MR. LYTVYN: It would not meet the claim,
 6   absolutely. It would not be RF bursts. So even if it still satisfied
 7   the low -- let's say these three slots in that one sector were lumped
 8   together, it would still be a low duty cycle because sector 64 slots
 9   is energized only during three, but it would definitely not meet
10   the burst limitation. Because now instead of having these slots
11   spread out where --
12             JUDGE LEE: I see. So you actually have two different
13   limitations.
14             MR. LYTVYN: Yes, absolutely, and that's what we've
15   been arguing and that's why -- and I'm going to slide 14 now.
16   There are two reasons why the Board can find for Patent Owner
17   and uphold validity of claims -- of all challenged claims without
18   addressing what number we need to assign to a duty cycle.
19             If you look at Figure 6 again, the only figure in which
20   Natarajan illustrates how the base transmitter operates, it's on
21   continuously for the entire duration of A. There are two reasons
22   why this disclosure actually, in fact, does teach away from Claim
23   1.
24             One, the transmitter is energized continuously, so
25   definitely it does not satisfy the RF burst limitation and, again,

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                                   Appx0660
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   the continuous transmission is admitted by Dr. Hu in her
 2   interpretation of Figure 6 through the eyes of a person of ordinary
 3   skill in the art.
 4              Second, as I articulated many, many times already, it's
 5   on -- the transmitter of the base unit is on for 15 out of 15 slots.
 6   That's hundred percent duty cycle. So there are two separate
 7   reasons why the Board can find -- can uphold validity of all
 8   challenged claims without even putting a numerical value on
 9   what a duty cycle is.
10              JUDGE LEE: Can you clarify a little bit of what Mr.
11   Hopen said earlier? What's the difference between energized and
12   transmitting?
13              MR. LYTVYN: Absolutely. So we have -- and this is
14   an interesting issue that's really not -- okay. So let's -- so this is
15   state of the art. This is what Mr. Hopen was referring to. This is
16   the background section on Natarajan. This is slide 10. This is
17   Natarajan, column 3, lines 59 -- column 59, lines 4 -- sorry,
18   column 3, line 59 through the end, it looks like 68, and then
19   beginning of column 4, 1 through 19.
20              The transmitter can be in the off state and on state and
21   then active on state. And if you look at the bottom line, this is
22   what I want you to refer to, a transmitter might consume power
23   while waiting to transmit a packet.
24              So a transmitter may be energized, even when it's not
25   transmitting. So a transmission and something being energized,

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                                    Appx0661
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   there's not necessarily direct correlation between the two and it's
 2   possible that there are idle transmissions, which is something to
 3   be provided where a transmitter is energized, yet it's not sending
 4   data, actual data to peripheral units.
 5             There are some systems and, in fact, there are some
 6   multiaccess protocol systems under which this is what happens
 7   and this is the state of the art at the time Natarajan was filed. So
 8   to answer to your question, Claim 1 does not require anything
 9   pertaining to transmission.
10             Claim 1 requires a transmitter being energized in low
11   duty cycle RF bursts. So that's another issue that the Board does
12   not need consider what happens when it's energized. It just needs
13   to go from a depowered state and, again, both Dr. Grimes and Dr.
14   Hu stated that the full state is de-energized and then it's energized
15   in low duty cycle where it's brought up to this higher energy state
16   for a burst and then it's brought down again.
17             This is inherent in this limitation. This is what the term
18   bursts mean. This is what energized means. In order to energize
19   something, it has to be in an off state transmission into an on
20   state. That's what the plain meaning of the term energize is.
21             JUDGE LEE: So according to you, there has to be
22   enough power down period as a whole in order to achieve the low
23   duty cycle limitation.
24             MR. LYTVYN: The server transmitter needs to be
25   powered off.

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                                   Appx0662
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             JUDGE LEE: Enough to meet the low duty cycle.
 2             MR. LYTVYN: During the times it could have been
 3   transmitting and this is, again, not according to me. It's according
 4   to Dr. Grimes. This is also according to Dr. Hu who said that in
 5   order to satisfy the low duty limitation, the transmitter of the base
 6   unit needs to be powered off for an amount of time substantially
 7   greater than the time period in which it's energized.
 8             And Dr. Grimes said that in order to evaluate whether
 9   something is a burst, the key thing is that the burst is small as
10   comparison to the time period during which the transmitter could
11   have been transmitting, and I just paraphrased his testimony. I
12   just wanted to be clear for the record, I did not -- that was not a
13   direct quote.
14             JUDGE BOUDREAU: All right, counsel. We're
15   already about 15 minutes over your time. I know that we've been
16   asking a lot of questions. So unless the panel has any further
17   questions, we'll just give you two minutes to sum up.
18             MR. LYTVYN: Any questions?
19             JUDGE LEE: How about the BRI standard or Phillips,
20   does any of your positions change, depending on whether it's BRI
21   or Phillips or is it the same?
22             MR. LYTVYN: Our position is actually stronger under
23   Phillips. If you'll look -- and, again, you -- I think you, again, the
24   questions for my colleague was this line is Natarajan discloses its
25   objectives and why it introduces this low duty cycle RF burst

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                                      Appx0663
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   limitation is to provide battery savings and eliminate these
 2   constant transmissions that could be interfering with nearby
 3   signals.
 4              So if you actually interpret this claim even more so in
 5   light of the specification, it becomes clear that in order to achieve
 6   this, you have a system which is disclosed in the '290 patent in
 7   Figure 6 and not the one which is shown in Figure 6 of Natarajan.
 8              Does that answer your question? Thank you. So thank
 9   you so much time for your time. I know we went a little bit over.
10   I hope I answered all of your questions in a satisfactory manner
11   and, again, the Board should find that all the challenged claims
12   are not obvious in light of Natarajan and Neve.
13              Because, first, Natarajan is silent with respect to how
14   the base unit operates. Two, the only time that Natarajan shows
15   us how the base unit operates is Figure 6 and in that figure it is
16   both continuous, which does not satisfy their RF burst limitation,
17   and the transmission is also in a hundred percent duty cycle,
18   which does not satisfy a low duty cycle limitation.
19              For these reasons, I ask the Board to uphold validity of
20   Claims 1 through 4 and also Claims 9 and 10 on the '290 patent.
21   Thank you so much for your time.
22              JUDGE BOUDREAU: Thank you, Mr. Lytvyn.
23              Mr. Sterne, by my calculation you had 18 minutes left
24   from your original hour, but we'll give you additional time if you
25   need it given that we went over with Mr. Lytvyn.

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                                   Appx0664
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             I'd like you to start, though, by addressing Mr. Lytvyn's
 2   points with respect with Figure 6 of Natarajan.
 3             MR. STERNE: Yes, Your Honor. We are addressing
 4   these proceedings from the perspective of a person of ordinary
 5   skill in the art as of the 1997 time frame in terms of what the
 6   claims cover and in terms of what the prior art teaches and
 7   suggests. I feel like these proceedings were just thrown into
 8   quicksand. These arguments relating to Figure 6 clearly are
 9   beyond the record. They're new arguments, but I will address
10   them anyway.
11             We are told that a burst is not a packet of information,
12   and we'll come to that in a minute, but let's start with the ad
13   hominem attacks about fabrication by Dr. Hu.
14             First of all, let's look at Mr. Dezmelyk who is the
15   declarant for DSS. He admits that he is not an expert on the
16   HDLC protocol, whereas Dr. Hu not only is an expert in wireless
17   data communications, but also on HDLC protocol. The
18   arguments that were presented today want to focus entirely on the
19   subframe A in Figure 6. I don't have Figure 6 to display to you in
20   a slide, but if we all look at our hard copies of the Natarajan
21   patent, in Figure 6 it's very similar in terms of what's shown in
22   Figure 4, but it shows a specific example where we have the S1,
23   S2, S3, and S4.
24             Each packet that is transmitted in a slot in subframe A is
25   a burst. That's what the HDLC packetized system uses. It's the

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                                   Appx0665
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   same system of packetized transmission that is shown in Figure 6
 2   of the '290 patent and it's stated as in the '290 patent as follows,
 3   when an attachment beacon AB or its complement is detected, it
 4   then expects to quasi-periodically receive additional AB within a
 5   six-millisecond period of the previously received AB. This
 6   succession of ABs forms an HDLC channel using bit stuffing to
 7   delineate the beginning and end of each packet.
 8             HDLC packet is used in the '290 patent. It's the only
 9   disclosed packet structure used in the '290 patent and now we're
10   supposed to understand that that does not apply anymore, that
11   we're going to say that each of the packets transmitted in the slots
12   of Figure 6 of the Natarajan patent is not a burst, but, in fact, they
13   all smear together to form a single transmission.
14             That is not what occurs technically. That's not what a
15   person of ordinary skill in the art would understand from reading
16   the '290 patent or from reading the Natarajan patent.
17             The argument that we heard just now, this new
18   argument about Figure 6, basically says that Figure 6 is only used
19   in terms of its length, depending on the amount of bursts of
20   packets in the various slots that are needed for the particular
21   peripheral devices that are going to receive them and one specific
22   example is shown where the frame is dynamic for terminal A and
23   we know that subframe -- excuse me, subframe A, subframe B,
24   and subframe C together must add up to the fixed time frame for
25   the frame that they -- that they're part of along with the control

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                                   Appx0666
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   and synchronization segments AH, BH, and CH that are shown
 2   both in Figure 4 and Figure 6. Both Figure 4 and Figure 6 use the
 3   same structure of the frame. There is no deviation there. Just one
 4   example is shown.
 5             So the question was asked by Judge Clements what
 6   happens if there is no transmission at all in subframe A, which
 7   could happen, clearly could happen if based on the
 8   communications load in Natarajan, the mobile stations are going
 9   to be transmitting to the base station for the whole time for that
10   frame, and the answer is, well, there would be no transmission.
11   So in that situation subframe A would have a zero duty cycle
12   because it's not transmitting at all.
13             Let's take that example one step further. Let's say that
14   not only is the base station not transmitting to any of the
15   peripheral stations, but that in the contention subframe C, one or
16   more of the peripherals say that they -- during one of those slots
17   in subframe C contention period that they want to transmit.
18             Now, they do transmit and, as we know from column 9,
19   lines 15 through 36, it states that during the contention cycles for
20   mobile stations relative to transmission to the base station, the
21   header CH for period TC, Figures 4, 6 and 7, is received by the
22   given mobile station 10 in block 114 and the receiver is turned off
23   for the duration of period C.
24             A determination is made at the decision block 116
25   whether or not the given mobile station 10 has any packets to

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                                     Appx0667
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   transmit to the random -- to transmit in the random access mode
 2   (period C). If the answer is no as indicated at point 118, proceed
 3   to block 134 of Figure 8D. The function of the block 134 is
 4   explained shortly. If the determination at block 116 is yes,
 5   proceed to block 120 where transmission is scheduled in a slot T.
 6             The transmitter is turned off for the times other than slot
 7   T as indicated at block 122. The transmitter is then turned on at
 8   slot T as indicated at block 124. The receiver is turned on at
 9   block 126 to receive an ACK/NAK -- that's spelled ACK/NAK --
10   message at slot T plus delta from the base station. The delta is
11   equal to a delay sufficient for the base station to send, and the
12   mobile station to receive the ACK/NAK message. If a NAK
13   message is received, packet is rescheduled for repeat
14   transmission. The receiver is then put back to sleep.
15             Let's go to the HDLC frame format shown in Schwartz.
16   So why is the Natarajan system so effective? Why is the '290
17   system so effective? And it's because in this HDLC format, you
18   have what is called the block check. We see the block check in
19   Figure 4-9.
20             What does the block check tells us? It is error
21   correction and detection technology well-known at the time of
22   filing of the Natarajan patent. It's referred to in Schwartz in the
23   '88 treatise. It's well-known obviously in the '290 patent because
24   they used HDLC as well for the same purpose.



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                                   Appx0668
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             The block check is used to indicate to the receiver at the
 2   peripheral device that the particular information in the packet
 3   received cannot be error corrected and, therefore, needs to be
 4   retransmitted as just explained by the transmitter at the base
 5   station to the mobile device.
 6             So as we see, you cannot ignore in the Natarajan
 7   disclosure the critical aspect of the base station transmitting the
 8   acknowledgement, the acknowledgements, to these mobile
 9   devices that they have that the base station has received the
10   message in the form of an HDLC packet during the subframe C
11   that that particular base station has determined that it needs a new
12   transmission of the same packet that it received previously.
13             The reason it needs the new transmission is because at
14   the peripheral device the block check indicates that it cannot
15   effectively decode the data without error. So we see that the
16   transmitter in the base station is transmitting this
17   acknowledgement during the contention period to the peripheral
18   devices in every single situation where the peripherals are
19   utilizing the subframe C in a particular portion of the
20   communication cycle.
21             So to say that the transmitter is only operating in
22   subframe A when there is no transmission in subframe A or there
23   is a transmission in subframe A is not correct technically. A
24   person of ordinary skill in the art reading this would understand
25   this.

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                                     Appx0669
      Case: 16-2523      Document: 32      Page: 359    Filed: 03/01/2017


     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1             If we could see paragraph 88 of Dr. Hu's declaration.
 2   So this is slide 13, Your Honors, and we have seen this before.
 3   Furthermore, should the Board decide, wrongly in my opinion,
 4   only to look at period A in Natarajan for calculating the duty
 5   cycle, it is my opinion that a POSA would understand that period
 6   A of Natarajan could operate in a low duty cycle, even at less
 7   than 10 percent.
 8             And then she goes on -- Dr. Hu goes on to state, for
 9   example, a POSA would have understood that period A of
10   Natarajan could be of fixed length, for example, having a time
11   slot reserved for each of 30 mobile units, as was common in
12   TDMA schemes. If the base station transmits to two of the 30
13   time slots, this would represent a 6.67 percent duty cycle. The
14   transmitter would be off for the remainder of period A because,
15   as discussed above, Natarajan's HDLC protocol does not use idle
16   words when there is no data to transmit.
17             During these proceedings we have been told repeatedly
18   that if during period -- during subframe A there is -- there are
19   slots where data does not need to be transmitted to the peripheral
20   devices, Mr. Dezmelyk has stated on the record that idle words
21   could be transmitted in a continuous fashion.
22             This shows two things, number one, that the DSS
23   arguments are walking away completely from that, because now
24   they're saying that we're not talking about idle words now. We're
25   saying that the only time transmission occurs is in the example

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                                   Appx0670
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   shown in Figure 6 and that's the only way the system works in
 2   Natarajan that it's always transmitting in every single slot in
 3   Figure A, except when it's transmitting in no slots.
 4             And it also says that because Figure 6 is the way you
 5   must look at Natarajan's teaching from a suggestion point of view
 6   to a person of ordinary skill in the art, a person of ordinary skill in
 7   the art would not realize that there is also transmissions required
 8   in subframe C for the acknowledgements to the receivers to the
 9   transmissions from the peripheral devices that have utilized slots
10   in subframe C to indicate retransmission. So all of this is going
11   back and forth and around about.
12             So I want to also say for the record that clearly idle
13   words is no longer an argument in these proceedings. Each
14   packet is a burst of information. HDLC is contemplated by the
15   '290 patent. HDLC is clearly what is used. It's the only packet
16   example shown in the '290 patent. It provides the
17   synchronization. You do not need idle words for synchronization
18   and, therefore, the argument presented with respect to Figure 6
19   does not hold up.
20             I would also like to address the argument that I think
21   was made that the base station of Natarajan does not meet the
22   requirements of the claim. But before I get there, it seems that an
23   argument was made that we can't define low duty cycle in the
24   claims, so we need to read in limitations such as inefficient and
25   counterintuitive.

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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1                A person of ordinary skill in the art reading the claims
 2   in this patent is going to look at the example shown, but they're
 3   going to read these claims as they must, as any member of the
 4   public must, from the context of whether or not they are
 5   infringing them and I do not understand how the public would
 6   know that the examples shown in Figure 6 of the '290 patent
 7   delimits the claims.
 8                I don't think that that is a proper claim construction and
 9   these proceedings should not be based on this new argument that
10   we're going to now limit the claims to the examples shown in
11   Figure 6 of the '290 patent, we're going to advance this new
12   argument concerning Figure 6 of Natarajan that says that in
13   subframe A you have transmission the whole time.
14                Dr. Hu has refuted that. It's clear to anyone looking at
15   this, anybody would understand that there will be times when
16   there will be slots in subframe A where there will be no
17   transmissions from the master station to the receivers in the
18   mobile units.
19                With regard to battery operation of the base station,
20   which was argued in the record and we have to limit ourselves to
21   the record as we know and not to these new arguments that were
22   advanced first today, first of all, if we look at Natarajan at column
23   -- lines 16 through 18, quote in order to obtain true portability in
24   microcomputers and workstations, battery powered operation is
25   essential.

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                                      Appx0672
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1              And then if we look at Natarajan at column 2, lines 40
 2   to 41, it states, a base station 26 or 28 which may be conventional
 3   microcomputer.
 4              Dr. Hu in her deposition at page 22 -- can you give me
 5   page 22, please -- states that a -- excuse me, Dr. Hu in her
 6   deposition at page 23 states -- at line 12 she states, it is my
 7   opinion that a person of ordinary skill in the art at the time frame
 8   of '96 and '97, reading the Natarajan reference, will consider the
 9   base station, described as a conventional microcomputer, can be
10   battery powered and portable. True portability is a goal for -- in
11   the design of such conventional microcomputers.
12              So there is no suggestion whatsoever in Natarajan that
13   the base station cannot be battery powered and, in fact, a person
14   of ordinary skill in the art in the '91 time frame would clearly
15   understand that microcomputers, laptops and so forth were
16   battery powered.
17              Furthermore, the combination of unpatentability
18   includes the Neve reference. Neve has -- includes a master
19   station and remote stations that are all battery powered, Your
20   Honors. Let me point you to column 4, lines 10 through 12, and I
21   quote, one station, which is physically similar to the others but
22   operates a different stored program, may be designated the master
23   station.
24              And then, furthermore, at column 2, lines 49 through
25   59, a practical example of the invention provided with a small

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                                   Appx0673
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   primary battery. A complete self-contained data transmitting and
 2   receiving device may be made in a package only a few
 3   centimeters in each dimension, allowing it to be mounted almost
 4   anywhere.
 5             So it seems that DSS is arguing now that Natarajan can
 6   never be a battery powered base station. This is clearly
 7   unsupported by the record. It's obvious they're trying to convert
 8   this ground of unpatentability to one under anticipation.
 9             Your Honors, I also need to clarify the record in two
10   other places. Let's look back at the Natarajan patent at column 4
11   and I believe that this was cited in your Institution Decision at
12   column 4, line 3, where you state a desirable solution is one in
13   which the transmitter (or receiver) consumes power only when it
14   is actively transmitting a message.
15             And we all know that from our cellphone usage, Your
16   Honor, it's when you're transmitting, when you're speaking on
17   your cellphone, that's when the battery goes down most rapidly,
18   not when you're receiving, going back to this quote, consumes
19   power only when it is actively transmitting a message (or actively
20   receiving a message).
21             And then it goes on to state, traditional multiaccess
22   protocols do not have the above desirable characteristics because,
23   and then they go to the statement that my opponent quoted at the
24   end of his oral argument, which is found at line 18 of column 14



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                                   Appx0674
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     Cases IPR2015-00369 and IPR2015-00373
     Patent 6,128,290

 1   which it states, a transmitter may consume power while waiting
 2   to transmit a packet.
 3             Now, clearly that is not what Natarajan is doing. That
 4   is what was in the prior art. So to say that that's how Natarajan is
 5   operating is not correct.
 6             So in closing, in closing, we were told in these
 7   proceedings that the HDLC packet structure was not used in the
 8   '290 patent, that it could not be used in the '290 patent. That's
 9   clearly not the case. We were told that the HDLC packet
10   structure required additional synchronization in the form of
11   packet words. That's clearly not the case. We were told that the
12   examples shown in Natarajan must be strictly limited to exactly
13   what they are characterized as being by DSS. That is not the
14   case.
15             All of this needs to be looked at through the eyes of the
16   person of ordinary skill in the art as of 1997. Clearly the record
17   supports that the claims that are being challenged in these two
18   proceedings are unpatentable as being obvious. Thank you very
19   much.
20             JUDGE BOUDREAU: Okay. Thank you, counsel.
21             This concludes the hearing for cases IPR2015-00369
22   and IPR2015-00373. The cases are submitted. Thank you.
23             (Concluded at 3:30 p.m.)




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          UNITED STATES PATENT AND TRADEMARK OFFICE
                      _____________________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      _____________________


                           APPLE INC.
                             Petitioner
                                 v.
                DSS TECHNOLOGY MANAGEMENT, INC.
                           Patent Owner

                          _____________________

                           CASE IPR: Unassigned
                              Patent 6,128,290
                          _____________________

              PETITION FOR INTER PARTES REVIEW
                   OF U.S. PATENT NO. 6,128,290
     UNDER 35 U.S.C. §§ 311-319 and 37 C.F.R. §§ 42.1-.80, 42.100-.123




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I. INTRODUCTION
      Apple Inc. petitions for inter partes review of claims 6, 7, 9, and 10 of U.S.

Patent No. 6,128,290 to Carvey, titled “Personal Data Network” (“the ’290 pa-

tent”) (APL 1001). The claims of the ’290 patent recite nothing more than the

combination of well-known concepts. Indeed, the ’290 patent specification disclos-

es little more than well-known techniques patent owner admits are in the prior art.

The ’290 patent characterizes its alleged inventions by describing that “the general

scheme of data transmission and reception is a form of time division multiple ac-

cess (TDMA).” (’290 patent, 3:57-59.) The ’290 patent plainly admits that its

“basic modulation scheme is frequency shift keying (FSK), well known to those

skilled in digital radio transmission.” (Id. at 3:65-67 (emphasis added).) The ’290

patent describes a litany of other “well-known” concepts, for example, the oscilla-

tor phase shifts in FIG. 5 were “commonly known to radio engineers”. (Id. at 4:51-

57 (emphasis added).) And while the “operational modes appear different, they

are essentially well known variants to the underlying time division multiple access

technique.” (Id. at 6:16-29 (emphasis added).) Still further, capturing only the

strongest “RF bursts” in TDMA schemes was a “well known aspect of FM modu-

lation.” (Id. at 6:36-41 (emphasis added).)

      The ’290 patent purports to divert from well-known TDMA schemes be-

cause transmissions occur “in only those slots indicated by a TDMA program…For



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each slot, this TDMA program indicates that a PEA or host is to transmit, or not,

and whether it will receive, or not. In the intervals between slots in which a PEA is

to transmit or receive, all receive and transmit circuits are powered down.” (Id. at

3:67-4:8.) But this allegedly point of novelty was also well-known, as explained in

detail below. Thus, none of the ’290 patent’s claims recite a patentable invention.

Its uncommon and ambiguous terms veil the well-known concepts described and

claimed in the ’290 patent. Accordingly, Apple respectfully requests inter partes

review of claims 6, 7, 9, and 10, and that these claims be found invalid.

II. MANDATORY NOTICES (37 C.F.R. § 42.8(a)(1))

   A. Real Party-In-Interest (37 C.F.R. § 42.8(b)(1))

      The real party-in-interest is Petitioner Apple Inc.

   B. Notice of Related Matters (37 C.F.R. § 42.8(b)(2))

      The ’290 patent is involved in the following cases that may affect or be af-

fected by a decision in this proceeding: DSS Technology Management, Inc. v. Ap-

ple Inc., 6:13-cv-00919-JDL1 and DSS Technology Management, Inc. v. Lenovo

(United States), Inc., 6:14-cv-00525-JDL, both in the Eastern District of Texas. A

Petition for IPR of claims 1-4 of the ’290 patent is concurrently filed.




      1
          Motion to transfer to the Northern District of California has been granted.




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   C. Designation of Counsel (37 C.F.R. § 42.8(b)(3))

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     D.    Notice of Service Information (37 C.F.R. § 42.8(b)(4))
       Please send correspondence to lead counsel at the above address. Apple con-

sents to email service at: davidc-PTAB@skgf.com and mrygiel-PTAB@skgf.com.

III.   GROUNDS FOR STANDING (37 C.F.R. § 42.104(a))

       Apple certifies that the ’290 patent is available for IPR. Apple is not barred

or estopped from requesting IPR of any claim of the ’290 patent on the grounds

identified herein. This Petition is filed in accordance with 37 C.F.R. § 42.106(a). A

Power of Attorney and Exhibit List under § 42.10(b) and § 42.63(e), respectively,

are filed herewith. The required fee has been paid through online credit card pay-

ment. The Office is authorized to charge fee deficiencies and credit overpayments

to Deposit Acct. No. 19-0036 (Customer ID No. 63,975).

IV.    PRECISE RELIEF REQUESTED (37 C.F.R. § 42.22(a))
       Apple requests IPR and cancellation of claims 6, 7, 9, and 10. Apple’s full

statement of the reasons for the relief requested is set forth below.




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V. THE ’290 PATENT

   A. Overview of the ’290 Patent

      The ’290 patent describes a network for “bidirectional wireless data com-

munications between a microcomputer unit and a plurality of peripheral units.”

(’290 patent, 1:11-15.) FIG. 1 illustrates a server microcomputer (11) and associat-

ed peripheral units (21, 29). The server microcomputer can be a personal digital

assistant (“PDA”). (Id. at 2:66-67, FIG. 1.) The “peripheral units,” or “personal

electronic accessories (PEAs),” include “conventional” peripheral devices like a

keyboard and mouse, and “a wide variety of less conventional” peripheral and in-

put devices, like displays on a headband or glasses and “physiological sensors.”

(Id. at 1:62-2:18.) The sensors can be temperature, heartbeat, and respiration sen-

sors for patient monitoring or fitness training. (Id. at 2:10-15.) The microcomputer

and peripherals are linked “in close physical proximity, e.g., within twenty me-

ters,” to establish a common time base or synchronization. (Id. at 1:50-55.)

      The ’290 patent seeks to “provide wireless communication between a host or

server microcomputer unit and a plurality of peripheral units” that is reliable, low

power, avoids interference, and relatively simple. (Id. at 1:33-46.) This is purport-

edly achieved by a low duty cycle pulsed operation mode, where transmitters are

active for short durations of time, which “substantially reduces power consumption

and facilitates the rejection of interfering signals.” (Id. at 1:57-61, 2:35-39.)



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   B. Priority Date of the ’290 Patent
      The ’290 patent was filed on October 14, 1997 and assigned Application No.

08/949,999 (“the ’999 application”) (APL 1005) as a continuation-in-part of Ap-

plication No. 08/611,695, filed on March 6, 1996 (“the ’695 application”) (APL

1006). At least claims 9 and 10 are only entitled to the ’290 patent’s October 14,

1997 filing date because they recite new matter added to the ’999 application. The

’695 and ’999 specifications are nearly identical, but the ’999 application added

new disclosure that the peripheral units are “located within short range of the serv-

er unit, e.g. within 20 meters.” (’290 patent, Abstract.) And in comparison to the

’695 application, the ’999 application recites: “the server microcomputer unit and

the several peripheral units which are to be linked are all in close physical proximi-

ty, e.g., under two meters separation within twenty meters”, changing the range of

“close physical proximity” from “under two meters” to “within twenty meters”.

(Compare APL 1006, p. 25 with APL 1005, p. 25.)

      Claim 9 specifically claims the newly added features, reciting “a plurality of

peripheral units which provide either input information from the user or output in-

formation to the user, and which are adapted to operate within about 20 meters of

said server unit.” Thus, at least independent claim 9, and its dependent claim 10,

are entitled only to the benefit of the ’290 patent’s October 14, 1997 filing date.




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   C. Level of Ordinary Skill in the Art
      A person of ordinary skill in the art (“POSA”) at the time of invention would

have typically had an undergraduate degree in Electrical Engineering and 1-2 years

of experience working with wireless network technology, or equivalent education

and/or work experience. (Grimes Dec. ¶ 9.)

VI.   CLAIM CONSTRUCTION
      Under 37 C.F.R. § 42.100(b), the challenged claims must be given their

broadest reasonable interpretations (“BRI”) in light of the patent specification.

Generally, claim terms are given their ordinary and customary meaning. Phillips v.

AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005) (en banc); Alloc, Inc. v. Int’l

Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir. 2003). The broadest reasonable in-

terpretation must also be consistent with the interpretation a POSA would reach. In

re Cortright, 165 F.3d 1353, 1359 (Fed. Cir. 1999).

      Apple presents interpretations of certain claim limitations under the BRI

standard. Apple reserves the right to present different constructions in the District

Court litigation where a different claim construction standard applies, and does not

acquiesce to being bound in the litigation by claim construction presented herein.

   A. “local oscillator”
      The term “local oscillator” appears in challenged claims 6 and 9. Yet its use

in the claims is at odds with the ’290 patent specification. In claim 6, the peripheral

units include “a local oscillator which can be synchronized to said server unit oscil-

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lator using said synchronizing information.” In claim 9, each peripheral unit has a

“local oscillator” and “a second mode to synchronize the respective local oscillator

with the server unit oscillator.” So, in the claims, the “local oscillator” of the pe-

ripheral unit is synchronized with the server unit oscillator.

      The ’290 patent teaches otherwise—the PDA and PEA modems each have a

“crystal oscillator” and a “local oscillator.” (See e.g., ’290 patent, FIGS. 2-3.) The

PDA modem has “a crystal oscillator 18 which is utilized in maintaining the net-

work time base.” (Id. at 4:14-15, FIG. 3.) The PDA modem also has “a local oscil-

lator 16 which is shared by the transmitter and the receiver.” (Id. at 4:11-12, FIG.

3.) Similarly, the PEA modem has “a voltage controlled crystal oscillator oscillator

[sic] 44 which is utilized in maintaining a common time base with the host micro-

computer.” (Id. at 3:36-38; see also id. at 8:40-41, FIG. 2.) The PEA modem also

has “a local oscillator 42 which is shared by the transmitter and the receiver.” (Id.

at 3:33-34, FIG. 2.) In FIG. 4, “transmission is effected using the local oscillator 45

to drive the transmit antenna amplifier 50 whose output drives transmit antenna

51.” (Id. at 4:25-27; see also id. at 4:30-32.)

      So the ’290 patent discloses that the “crystal oscillators”—CXO (18) of the

PDA (server unit) and VCXO (44) of the PEA (peripheral unit)—maintain a com-

mon time base (synchronization). And the “local oscillators” drive the transmit an-

tennas. This is how a POSA would have understood the oscillators to work.



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(Grimes Dec. ¶ 25.) In particular, “local oscillator” is a term of art and its usage in

the ’290 specification to denote a component that drives the transmitter/receiver is

consistent with its commonly understood meaning. (Id.) But this does not square

with the claims, which require that the “local oscillator” of the peripheral unit is

synchronized to the server unit oscillator (i.e., a crystal oscillator “for establishing

a time base).

      The ambiguity of the claims and their discord with the specification creates a

peculiar situation. Interpreted literally and consistently with “local oscillator” in

the specification, the claims are unsupported by the specification. In the District

Court litigation, the patent owner recognized this defect and concocted a construc-

tion where “local oscillator” simply means “an oscillator located in a peripheral

unit,” using “local” as an adjective for the oscillator’s location—in the peripheral

unit. (Claim Constr. Brief, pp. 22-24) (APL 1007.) This makes a “local oscillator”

any oscillator in the peripheral unit. This cannot be the case and Apple disagrees

this can be the broadest reasonable interpretation of “local oscillator” in view of

the specification, as required. If the Board adopts this impermissibly broad inter-

pretation of “local oscillator,” the prior art discloses this feature as shown herein.

VII. IDENTIFICATION OF CHALLENGE (37 C.F.R. § 42.104(b))

   A. Statutory Grounds for the Challenge
      Petitioner requests review of claims 6, 7, 9, and 10:



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      GROUND 1: Claims 9 and 10 are unpatentable under 35 U.S.C. § 103 as

obvious over by “BodyLANTM: A Low-Power Communications System” by

Thomas J. Barber Jr. (“Barber”).

      GROUND 2: Claims 6, 7, 9, and 10 are unpatentable under 35 U.S.C. § 103

as obvious over U.S. Patent No. 5,241,542 to Natarajan et al. (“Natarajan”) in view

of U.S. Patent No. 4,887,266 to Neve et al. (“Neve”).

      GROUND 3: Claims 6 and 7 are unpatentable under 35 U.S.C. § 103 as ob-

vious over U.S. Patent No. 5,696,903 to Mahany (“Mahany”).

   B. Citation of Prior Art
      Barber (APL 1002) is prior art under at least 35 U.S.C. § 102(b). It was

published at least as early as April 11, 1996, more than 1 year before the priority

date for claims 9 and 10 of the ’290 patent, its October 14, 1997 filing date.

      Natarajan (APL 1003) is prior art under at least § 102(b), issuing on August

31, 1993, more than 2 years before the ’290 patent’s earliest possible priority date.

      Neve (APL 1004) is prior art under at least § 102(b), issuing on December

12, 1989, more than 6 years before the ’290 patent’s earliest possible priority date.

      Mahany (APL 1010) is prior art under at least § 102(e). It was filed on April

29, 1994, almost 2 years before the ’290 patent’s earliest possible priority date.

   C. The Proposed Grounds Are Not Redundant
      Apple recognizes the Board may use its discretion under 35 U.S.C. § 325(d)



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to institute trial only on certain grounds when multiple grounds “are presented in a

redundant manner by a petitioner who makes no meaningful distinction between

them.” Liberty Mutual Ins. Co. v. Progressive Casualty Ins. Co., CBM2012-00003,

Paper 7, p. 2 (P.T.A.B. Oct. 25, 2012). The grounds here are not redundant and

Apple discusses the distinctions below. The Board typically exercises its discretion

when numerous grounds are asserted against the same claims. See e.g., Canon Inc.

v. Intellectual Ventures I LLC, IPR2014-00535, Paper 9, pp. 19-20 (P.T.A.B. Sept.

24, 2014) (all 31 claims challenged, total of 49 grounds over multiple petitions).

Here, IPR is requested for only four claims, with just two grounds for each claim.

For this reasonable number of challenged claims and grounds, the Board may insti-

tute inter partes review on all grounds when the petitioner “articulate[s] relative

strengths and weaknesses between references.” Liberty Mutual, CBM2012-00003,

Paper 7 at 3. Apple does so here.

      Ground 1 is based on Barber under § 103. Barber alone discloses each claim

limitation in view of a POSA’s knowledge and what would have been obvious to a

POSA. This ground is stronger in that only a single reference is needed for obvi-

ousness. Barber qualifies as prior art under § 102(b) because claims 9-10 recite

new matter added to the ’290 patent and are entitled only to the ’290 patent’s filing

date. This ground is arguably weaker in that the patent owner may argue that Bar-

ber does not qualify as prior art because in the patent owner’s view the ’290 patent



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is entitled to an earlier priority date (even though it is not). Similarly, Ground 3,

based Mahany alone under § 103, qualifies as prior art under § 102(e), so the pa-

tent owner may argue an earlier conception date.

       Ground 2 is based on Natarajan and Neve under § 103. Both references

qualify as prior art under § 102(b) even against the ’290 patent’s earliest possible

priority date. This ground is stronger in that the patent owner cannot attempt to

prove an earlier priority date to overcome the references. This ground is arguably

weaker in that a combination of references is used, rather than a single reference,

to demonstrate obviousness.

      Apple would be prejudiced if the Board institutes trial based only on one

ground for each claim. If the Board institutes trial, for example, based only on

Ground 2 and avoids addressing the ’290 patent’s lack of priority, Apple would be

denied the opportunity to present an arguably “stronger” ground. Yet if the Board

institutes trial based only Ground 1, the patent owner might attempt to argue that

the ’290 patent is entitled to an earlier priority date (although it is not) to overcome

Barber. Thus, the totality of the circumstances counsels that the Board should insti-

tute trial for each of the four challenged claims based on both presented grounds.

VIII. GROUNDS OF REJECTION

   A. Ground 1: Claims 9 and 10 would have been obvious in view of Barber.

      1. Overview of Barber
      Barber is a Master’s thesis titled “BodyLANTM: A Low-Power Communica-

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Barber discloses the limitation of claim 10: “wherein said server and peripheral

units are allocated respective time slots within a predetermined frame interval for

transmitting.” (Id. at 86.) This is a standard feature of TDMA. (Id.) In Barber,

TDMA is preferred for the BodyLAN™. (Barber, p. 12.) Barber explains that in its

TDMA system, “each node has a scheduled time to use the channel and is inactive

during all other times.” (Id. at 11.) “During the TDMA mode the PEA and the Hub

have an established communications link and are both transmitting and receiving

regularly according to the TDMA plan stored in the memory.” (Id. at 29-30.)

   B. Ground 2: Claims 6, 7, 9, and 10 would have been obvious over Nata-
      rajan in view of Neve.

       1. Overview of Natarajan
       Natarajan describes battery power conservation in wireless communications

of mobile computers controlled by multi-access protocols. (Natarajan, 1:6-12.)

Multiple mobile units communicate with base stations via wireless radio links. (Id.

at 2:28-39, Figures 1-2.) The base stations can be a “conventional microcomputer”

and the mobile units can be a “hand held or laptop computer.” (Id. at 2:40-43,

2:58-59.) Both the base stations and mobile units have an RF transceiver. (Id. at

2:51-52, 2:65-67.) Battery power consumption is minimized using a scheduled

multiaccess protocol where a transmitter (or receiver) is turned on only to transmit

(or receive). (Id. at 3:59-4:6.)

       The scheduled multiaccess protocol divides time into “fixed-length frames,


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and frames are divided into slots.” (Id. at 4:20-23, FIG. 4.) There are subframes for

transmitting data packets from the base station to mobile units, contention-free

transmission from mobile units to the base station, and “bursty data traffic” in a

contention mode from mobile units to the base station. (Id. at 4:27-38.) The base

station transmits a header AH to the mobile units with: a list of mobile units that

will receive data packets from the base station, the order the mobile units will re-

ceive the data packets, and the number of data packets for each mobile unit. (Id. at

4:45-53.) If a mobile unit is not included in the header AH, it will not be receiving

data and can turn its receiver off during the base station’s transmission time frame.

(Id. at 4:64-67, FIGS. 8A-8D.) A mobile unit that will receive data can compute

when the transmission will occur based on its assigned time slot, power up during

that time slot to receive its data, and then go back to sleep for the remainder of the

base station’s transmission time frame. (Id. at 4:67-5:6.) A similar header BH is

broadcast to schedule which mobile units will transmit to the base station and their

transmission order. (Id. at 5:9-29, 6:35-38.)

      Each mobile unit is assigned an index number during a “registration period”

which is “needed to associate each mobile unit in the network with the intended

base station.” (Id. at 6:48-54.) The header AH from the base station includes a

“Receiving Users designation or Index message portion”—a bit-vector sequence

with a bit for each of the registered mobile units. (Id. at 6:55-58.) A “1” indicates



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that the mobile unit will receive a message and a “0” means that it will not and it

can turn off its receiver. (Id. at 6:59-68.) Header BH has an analogous scheme. (Id.

at 7:1-6.) This scheduled communication reduces power consumption because de-

vices are only powered on when receiving or transmitting data. (Id. at 7:6-15.)

      2. Overview of Neve

      Neve discloses “[a] communication system able to provide multiple path

communication between a plurality of stations operating on a single channel. The

stations are synchronized and a cyclically repeating series of time slots is defined.”

(Neve, Abstract.) Each device has “a transmitter and receiver device (transceiver) 2

which includes an antenna 3, a transmitter circuit 4 and a receiver circuit 5” for ra-

dio communication. (Id. at 3:59-63.) A processor connected to the transceiver con-

trols data transfer to and from the transmitter and receiver. (Id. at 3:64-68.)

      Neve’s system “enables a very low power consumption to be achieved in the

cases where the device requires to transmit data only rarely or the receiver receives

the predetermined code signal only rarely…a device may need to transmit data for

only a fraction of a second in many hours.” (Id. at 2:25-31.) When data transfer is

not taking place, the device enters a lower power consumption state. (Id. at 2:13-

16.) The system is designed “automatically to re-enter the data transfer condition

when either a signal is received from the device indicative of the need to transmit

data or a predetermined code signal is received by the receiver circuit indicative of



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the need to receive data.” (Id. at 2:19-24.) Power consumption is low because only

the internal timing circuitry is energized continuously, while the rest of the receiv-

ing circuit is energized only during its assigned time slot. (Id. at 2:39-41.) Similar-

ly, the transmitter is only energized when transmission is required. (Id. at 2:45-47.)

      Further, Neve’s “system is a synchronous communication system with one

station designated the master station providing system synchronisation signals, and

defining a cyclic sequence of time slots.” (Id. at 3:9-12.) The time slots include “at

least one synchronisation time slot, at least one interrupt time slot, and a plurality

of address or data time slots, wherein any other station can transmit a message to

the master station during an interrupt time slot to indicate a request to communi-

cate.” (Id. at 3:12-17.) The receiver circuit is energized only during its time slot

and “the synchronisation time slot thereby enabling it to maintain synchronisation

with low power consumption.” (Id. at 4:43-48.)

      3. Overview of the Combination of Natarajan and Neve
      Natarajan and Neve are from the same field of endeavor—wireless network

communication systems. (Grimes Dec. ¶ 89.) Both are concerned with conserving

battery power of wireless devices. (Natarajan, Abstract, 1:16-21; Neve, 1:29-34,

2:48-51.) The ’290 patent allegedly addresses this same issue. (’290 patent, Ab-

stract, 1:59-61.) Natarajan and Neve reduce power consumption in similar ways,

by scheduling transmission time slots and having devices operate in a low power



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mode when they are not transmitting or receiving. (Natarajan, Abstract, 3:66-4:7;

Neve, Abstract, 2:35-41.) The ’290 patent uses a similar technique. (’290 patent,

2:35-40.) Many of the claimed elements in the ’290 patent are merely standard

components of wireless communications systems disclosed by both Natarajan and

Neve. (Grimes Dec. ¶ 90.) For example, both disclose a “server microcomputer”

base unit communicating with a plurality of “peripheral units,” where each device

has an RF transmitter and receiver. (See e.g., Natarajan, Abstract, FIGS. 1-2; Neve,

Abstract, FIG. 1.)

      Although Natarajan does not explicitly describe synchronizing the mobile

units and base station, it teaches that coordinated timing of transmissions is im-

portant. (Grimes Dec. ¶ 92.) In the “registration period,” the base station indexes

each mobile unit, which is “needed to associate each mobile unit in the network

with the intended base station.” (Natarajan, 6:53-54 (emphasis added).) The mo-

bile units and base stations each have “a dedicated microprocessor 62 containing

high-resolution time interval determination hardware or ‘timers’ typical of real-

time microprocessor systems.” (Id. at 3:18-21, FIG 3 (emphasis added).) The tim-

ers provide that “each receiving mobile unit can compute exactly when it should be

ready to receive packets from the base station (add up the slots allocated to all re-

ceiving units that precede it). Each receiving mobile unit goes to sleep after sched-

uling to wake itself up at its designated time for receiving data.” (Id. at 4:67-5:4.)



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This scheduling reduces power consumption. (Id. at 7:7-38.) A POSA would have

understood that Natarajan’s coordinated data transmission would have benefitted

from synchronizing the timers in the mobile units and the base station, and there-

fore been motivated to do so. (Grimes Dec. ¶ 92.)

      This would have led a POSA to Neve, which is in the same field of endeavor

and describes a well-known method in wireless communication for synchronizing

peripheral devices with a base station. (Id. at 93.) Neve discloses “a synchronous

communication system with one station designated the master station providing

system synchronisation signals, and defining a cyclic sequence of time slots.”

(Neve, 3:9-12.) During a dedicated “synchronization time slot,” a “synchronization

word” is transmitted by the master station. (Id. at 7:31-33.) The CPU is able to “ad-

just the phase of the clock used for synchronous communication for correct recep-

tion of the incoming synchronous data.” (Id. at 6:15-18.) The receivers are ener-

gized “only for the time slot in which its address may occur and for the synchroni-

sation time slot thereby enabling it to maintain synchronisation with low power

consumption.” (Id. at 4:43-48.)

      A POSA would have combined the synchronization technique described in

Neve with the system of Natarajan because Neve is an example of a conventional

synchronization technique for a time scheduled data communication system and

Natarajan teaches that timing is important for data transmissions in its similar time



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scheduled communication system. (Grimes Dec. ¶ 94.) Thus, the combination of

Natarajan and Neve would have been merely combining prior art elements accord-

ing to known methods to yield predictable results and using a known technique to

improve similar devices in the same way. (Id.; KSR International Co. v. Teleflex

Inc., 550 U.S. 398, 416-17 (2007).)

      4. Independent claim 6 would have been obvious over Natarajan in
         view of Neve.

         (a) “A data network system for effecting coordinated operation of a
             plurality of electronic devices”
      Natarajan discloses a multiaccess protocol for a plurality of mobile electron-

ic devices in “an indoor digital data communication system” where “registration is

needed to associate each mobile unit in the network with the intended base sta-

tion.” (Natarajan, 1:67-68, 6:48-54, FIG. 1.) Neve similarly discloses “[a] commu-

nication system able to provide multiple path communication between a plurality

of stations operating on a single channel.” (Neve, Abstract.) “A large number of

communication stations…may be provided in a communication network operating

on the same radio frequency.” (Id. at 4:6-9, FIG. 9.) Thus, Natarajan and Neve

each disclose limitation (a) of claim 6. (Grimes Dec. ¶¶ 95-96.)

         (b) “a server microcomputer unit, said server unit including an oscil-
             lator for establishing a time base”
      Natarajan discloses “a base station 26 or 28, which may be [a] conventional

microcomputer” and that a “server” is “typically also a conventional microcomput-


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er.” (Natarajan, 2:40-45, FIGS. 1-2.) Neve similarly discloses that “[o]ne station,

which is physically similar to the others but operates a different stored program,

may be designated the master station and provides synchronisation signals for all

of the other stations (referred to hereinafter as ‘slave’ stations) and controls access

of the stations to the single radio channel.” (Neve, 4:10-15, FIG. 9.) Each station

includes “a digital control processor 8 controlled by a stored program in memory

9.” (Id. at 3:64-66, FIGS. 1, 4, and 5.) Neve also describes that the units are porta-

ble. (See id. at 2:49-55.) Thus, Natarajan and Neve each disclose “a server micro-

computer unit.” (Grimes Dec. ¶ 97.)

      Natarajan and Neve also each disclose that the server microcomputer unit

includes “an oscillator for establishing a time base.” (Grimes Dec. ¶ 98.) Natarajan

discloses “high-resolution time interval determination hardware” and “timers” (Na-

tarajan, 3:18-21, FIG 3) and that the “internal timer and oscillator” affect the power

consumption of the transceiver (id. at 7:10-27). Specifically, the devices use the

HPC microcontroller 46400E, which has an “internal timer and oscillator.” (Id. at

7:17-25.) A POSA would have understood that the oscillator was “for establishing

a time base.” (Grimes Dec. ¶ 98.) Neve discloses that each device includes “a crys-

tal oscillator.” (Neve, 5:24-28, (27) in FIGS. 4-5.) A “synchronization clock” is

always active and “[t]he fundamental frequency of the oscillator is used as the sys-

tem clock for the CPU.” (Id. at 6:7-14.) A POSA would have understood that the



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clock and oscillator were “for establishing a time base.” (Grimes Dec. ¶ 98.) Thus,

Natarajan and Neve each disclose limitation (b) of claim 6. (Id. at 99.)

           (c) “a plurality of peripheral units which are battery powered and
               portable and which provide either input information from the us-
               er or output information to the user”
        Natarajan’s system has a plurality of “mobile units” designed “for conserv-

ing battery power in a wireless link adapter of a battery operated computer such as

a portable laptop computer.” (Natarajan, Abstract, FIG. 1.) Neve discloses devices

with “a small primary battery” and a “complete self-contained data transmitting

and receiving device [that] may be made in a package only a few centimeters in

each dimension, allowing it to be mounted almost anywhere that communication is

required” (i.e., “portable”). (Neve, 2:48-59.) Thus, Natarajan and Neve each dis-

close peripheral units that are “battery powered and portable.” (Grimes Dec. ¶

100.)

        Natarajan discloses that “[t]he mobile station may itself be a hand held or

laptop computer.” (Natarajan, 2:58-59.) Further, “computer 50 runs an operating

system 70 which supports one or more user application programs 72.” (Id. at 3:50-

51.) A POSA would have understood that “user application programs” of a “hand

held or laptop computer” would have been used to provide “input information from

the user” and “output information to the user.” (Grimes Dec. ¶ 101.) For example,

during Period A, data is transmitted from the base station to the mobile units. (Na-



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tarajan, 4:30-32.) During Period B, data is transmitted from the mobile units to the

base station. (Id. at 4:33-35.) Transmissions occur according to a “Receiving Users

Index” and a “Transmitting Users Index.” (Id. at 6:17-21, 6:32-34.) “Most users

are very likely to be inactive (both Transmit-Inactive and Receive-Inactive) most

of the time for most applications.” (Id. at 6:41-44.) A POSA would have under-

stood that the user can be an active participant in supplying the “input information”

and receiving the “output information” via the “user application programs” of the

mobile units. (Grimes Dec. ¶ 101.) So, Natarajan discloses that the peripheral de-

vices “provide either input information from the user or output information to the

user.” (Id.) Thus, the combination of Natarajan and Neve discloses limitation (c) of

claim 6. (Id. at 102.)

          (d) “said server microcomputer incorporating an RF transmitter
             controlled by said oscillator for sending commands and synchro-
             nizing information to said peripheral units”

      Natarajan discloses that the base station has an RF transceiver, i.e., both an

RF transmitter and an RF receiver. (Natarajan, 2:51-58, FIGS. 2-3; Grimes Dec. ¶

103.) Neve discloses “a radio transmitter and receiver apparatus” with “a transmit-

ter and receiver device (transceiver) 2 which includes an antenna 3, a transmitter

circuit 4 and a receiver circuit 5.” (Neve, 3:59-63, FIGS. 1, 3.) A POSA would

have understood the RF transmitter of the server microcomputer was “controlled

by” the oscillator because an oscillator’s standard function is to control the trans-



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mitter and receiver. (Grimes Dec. ¶ 104.) For example, the transmitter and receiver

frequency (i.e. carrier frequency) is controlled by the oscillator frequency. (Id.)

      Natarajan discloses that the base station transmitter sends “commands” to

the peripheral units, for example, the “headers” AH and BH discussed above con-

taining information about which mobile units will receive (or transmit) data and

the order for doing so. (Natarajan, 4:20-5:19; Grimes Dec. ¶ 105.) Neve similarly

discloses that the master station allocates time slots for communication to the slave

stations. (Neve, 3:26-28.) The instruction as to which time slot to communicate in

is a “command” sent from the master station to the slave station. (Grimes Dec. ¶

105.) Neve also discloses that the slave station “responds to commands on the

channel and takes part in transmission and reception.” (Neve, 7:46-49.) These

“commands” would have been sent by the master station. (Grimes Dec. ¶ 105.)

      As discussed above, Natarajan teaches the need for a “registration period” to

associate the mobile units with the base station (Natarajan, 6:48-54), “high-

resolution time interval determination hardware” and “timers” (id. at 3:18-21, FIG

3), and that the receiving mobile units can compute exactly when to wake up to re-

ceive data packets from the base station (id. at 4:67-5:4). Thus, Natarajan contem-

plates the need for precise timing of data transmissions. (Grimes Dec. ¶ 106.) So,

although Natarajan does not explicitly disclose that the base station sends “syn-

chronizing information” to the mobile units, this feature would have been obvious



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to a POSA in view of Neve. (Id.) Neve discloses that the master station “provides

synchronisation signals for all of the other stations.” (Neve, 4:10-13, FIG. 2.) “One

time slot in each cycle is reserved for the transmission of synchronization infor-

mation by a station designated the master station for reception by the other sta-

tions, designated slave stations, and maintaining synchronization therein.” (Id. at

Abstract.) When the master and slave stations are synchronized, the respective

transmitters and receivers operate at the proper times for synchronized data com-

munication. (Grimes Dec. ¶ 107.) The known synchronization technique in Neve

would have improved Natarajan’s similar system in this same way. (Id.; KSR, 550

U.S. at 416-17.) Thus, limitation (d) of claim 6 would have been obvious in view

of Natarajan and Neve. (Grimes Dec. ¶ 108.)

         (e) “said peripheral units each including an RF receiver for detecting
            said commands and synchronizing information and including also
            a local oscillator which can be synchronized to said server unit os-
            cillator using said synchronizing information and an RF transmit-
            ter controlled by said local oscillator for sending input infor-
            mation from the user to said server microcomputer”

      FIG. 2 of Natarajan illustrates “the basic components of a mobile station and

a base station.” (Natarajan, 2:1-3.) “The laptop computer like the base station, is

provided with an antenna 42 and a transceiver adapter 44.” (Id. at 2:65-67, FIGS. 2

and 3.) Thus, the mobile units have an RF transceiver, i.e., both an RF transmitter

and an RF receiver. (Grimes Dec. ¶ 109.) Neve discloses that the slave stations are

“a radio transmitter and receiver apparatus” with “a transmitter and receiver device


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(transceiver) 2 which includes an antenna 3, a transmitter circuit 4 and a receiver

circuit 5.” (Neve, 3:59-63, FIGS. 1 and 3.)

      A POSA would have understood that the receivers in Natarajan and Neve

would have been responsible for detecting the “commands and synchronizing in-

formation” described above. (Grimes Dec. ¶ 110.) In Natarajan, “[p]ackets re-

ceived or to be sent are held in data storage 68 and communicated to or from the

RF transceiver 54.” (Natarajan, 3:28-30.) Further, “each receiving mobile unit can

compute exactly when it should be ready to receive packets from the base station.”

(Id. at 4:67-5:4.) Neve discloses that “[o]ne time slot in each cycle is reserved for

the transmission of synchronization information by a station designated the master

station for reception by the other stations, designated slave stations, and maintain-

ing synchronization therein.” (Neve, Abstract.) Neve also discloses that the slave

station “responds to commands on the channel and takes part in transmission and

reception.” (Id. at 7:46-49.) The “commands” and “synchronization information”

would have been detected by the slave station’s receiver. (Grimes Dec. ¶ 110.)

Thus, Natarajan and Neve in combination disclose that the peripheral units detect

commands and synchronizing information. (Id.)

      Natarajan also discloses that the peripheral unit’s RF transmitter “send[s] in-

put information from the user to said server microcomputer.” (Id. at 111.) There

are designated periods “for the contention-free transfer of all traffic from mobile



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units to base station (inbound traffic)” and “the transfer of all bursty data traffic in

a contention mode from mobile units to base station.” (Natarajan, 4:33-38.) A

POSA would have understood that since the mobile units can be a “hand held or

laptop computer” (id. at 2:58-59), the data transferred from the mobile units to the

base station was “input information from the user,” for example, via the “user ap-

plication programs.” (Id. at 3:50-51; Grimes Dec. ¶ 111.) Indeed, inbound trans-

missions from the mobile units are based on a “Transmitting Users Index” (Nata-

rajan, 6:32-34) and “[m]ost users are very likely to be inactive (both Transmit-

Inactive and Receive-Inactive) most of the time for most applications.” (Id. at

6:41-44.) Thus, a POSA would have understood that the user can be an active par-

ticipant in supplying the “input information” via the mobile units. (Grimes Dec. ¶

111.) The RF transmitter of the mobile unit would have been responsible for send-

ing this input information. (Id.)

      Further, as discussed above, Natarajan and Neve disclose that each device

includes an oscillator. (Natarajan, 7:17-25; Neve, 5:24-28, 6:7-14, FIGS. 4-5;

Grimes Dec. ¶ 112.) Because there is an oscillator in the peripheral unit, each pe-

ripheral unit has a “local oscillator.” (Grimes Dec. ¶ 112.) A POSA would have

understood that the “synchronization information” in Neve would have been for

synchronizing the “local oscillator” with the “server unit oscillator.” (Id.) And as

discussed above for the server unit transmitter, a POSA would have understood



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that the RF transmitter of the peripheral units was “controlled by” the oscillator be-

cause an oscillator’s standard function is to control the transmitter and receiver.

(Id.) For example, the transmitter and receiver frequency (i.e. carrier frequency) is

controlled by the oscillator frequency. (Id.) Thus, Natarajan and Neve in combina-

tion disclose limitation (e) of claim 6. (Id. at 113.)

          (f) “said server microcomputer including a receiver controlled by
              said server unit oscillator for receiving input information trans-
              mitted from said peripheral units”
      Natarajan discloses that the base station has an RF transceiver, i.e., both an

RF transmitter and an RF receiver. (Natarajan, 2:51-58, FIGS. 2-3; Grimes Dec. ¶

114.) Neve discloses “a radio transmitter and receiver apparatus” with “a transmit-

ter and receiver device (transceiver) 2 which includes an antenna 3, a transmitter

circuit 4 and a receiver circuit 5.” (Neve, 3:59-63, FIGS. 1 and 3.) As discussed

above, Natarajan and Neve each disclose that the server microcomputer includes

an oscillator. A POSA would have understood that the receiver is “controlled by”

the oscillator because an oscillator’s standard function is to control the transmitter

and receiver. (Grimes Dec. ¶ 116.) For example, the transmitter and receiver fre-

quency (i.e. carrier frequency) is controlled by the oscillator frequency.

      As also discussed above, a POSA would have understood that since Nata-

rajan’s mobile units can be a “hand held or laptop computer” (Natarajan, 2:58-29)

with “user application programs” (id. at 3:50-51), the data transferred from the



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mobile units to the base station was “input information.” (Grimes Dec. ¶ 115.) For

example, “[h]eader BH contains an ordered list of users that will be allowed to

transmit to the base station in the current frame.” (Natarajan, 5:9-15.) Neve dis-

closes a designated time slot where “the master station receives” from the slave

stations. (Neve, 7:31-34.) A POSA would have understood that the “receiver” of

the base/master stations was responsible for receiving “input information.”

(Grimes Dec. ¶ 115.) Thus, Natarajan and Neve in combination disclose limitation

(f) of claim 6. (Id. at 117.)

          (g) “said server and peripheral transmitters being energized in low
             duty cycle RF bursts which are timed in relation to said synchro-
             nizing information”
       Natarajan discloses that “[s]cheduled access multiaccess protocols can be

implemented to effectively conserve battery power by suitable control of the state

of transmitter and receiver units at the portable units (i.e., by scheduling when they

should be turned ON or OFF)…the transmitter (or receiver) consumes power only

when it is actively transmitting a message (or actively receiving a message).” (Na-

tarajan, 3:66-4:6.) This constitutes “low duty cycle RF bursts.” (Grimes Dec. ¶

118.) Natarajan also discloses a period “for the transfer of all bursty data traffic in

a contention mode from mobile units to base station (inbound traffic), with a head-

er CH.” (Natarajan, 4:36-38 (emphasis added).) Neve also discloses a “low power

duty cycle.” (Neve, 5:60-61.) “The slave stations operate in a low power condition



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except during one of the other time slots when they may receive their own address,

or except when they need to transmit data” (id. at Abstract) and the interface circuit

of each device is “arranged to energise the transmitter circuit only when transmis-

sion is required” (id. at 2:42-47). Thus, Natarajan and Neve each disclose that the

transmitters are “energized in low duty cycle RF bursts.” (Grimes Dec. ¶ 118.)

      As discussed above, Natarajan teaches the need for a “registration period” to

associate the mobile units with the base station (Natarajan, 6:48-54), “high-

resolution time interval determination hardware” and “timers” (id. at 3:18-21, FIG

3), and that the transmitters can turn on only when it is their turn to transmit (id. at

3:66-4:6). Thus, although Natarajan does not explicitly disclose that the base sta-

tion sends “synchronizing information” to the mobile units, this would have been

obvious in view of Neve. (Grimes Dec. ¶ 119.)

      In Neve, the master station “provides synchronisation signals for all of the

other stations.” (Neve, 4:10-13, FIG. 2.) “One time slot in each cycle is reserved

for the transmission of synchronization information by a station designated the

master station for reception by the other stations, designated slave stations, and

maintaining synchronization therein.” (Id. at Abstract.) A POSA would have found

Natarajan’s “registration period” to be a logical time to transmit synchronization

information as taught in Neve so that the timers were synchronized before the data

transmission schedule began. (Grimes Dec. ¶ 119.) The “RF bursts” would be



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transmitted in their designated time slots after the timers were synchronized, and

therefore “timed in relation to said synchronizing information.” (Id. at 120.) Thus,

Natarajan and Neve in combination disclose limitation (g) of claim 6. (Id. at 121.)

      5. Claim 7 would have been obvious over Natarajan in view of Neve.
      The explanation for claim 6 also applies to claim 7, depending therefrom.

Natarajan and Neve disclose the limitation of claim 7: “wherein said server and

peripheral units are allocated respective time slots within a predetermined frame

interval for transmitting.” (Id. at 122.) Natarajan discloses “a scheduled multiac-

cess protocol is used in which time is divided into fixed-length frames, and frames

are divided into slots” with “Period A for broadcast of packets from base station to

mobile units (outbound traffic)” and “Period B for the contention-free transfer of

all traffic from mobile units to base station (inbound traffic).” (Natarajan, 4:20-38,

FIG. 4) Neve similarly discloses that the master station defines “a cyclic sequence

of time slots” where the master station transmits a synchronization word to the

slave stations during a synchronization time slot and the slave stations transmit to

the master station in an interrupt time slot. (Neve, 3:9-17, 7:27:33.)

      6. Independent claim 9 would have been obvious over Natarajan in
         view of Neve.

          (a) “A data network system for effecting coordinated operation of a
              plurality of electronic devices”
      This limitation is exactly the same as recited in claim 6. Therefore, the dis-

cussion above in Section VIII.B.4.(a) applies to limitation (a) of claim 9 as well.

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(See also Grimes Dec. ¶¶ 124-25.)

          (b) “a server microcomputer unit, said server unit including an oscil-
              lator for establishing a time base”
      This limitation is exactly the same as recited in claim 6. Therefore, the dis-

cussion above in Section VIII.B.4.(b) applies to limitation (b) of claim 9 as well.

(See also id. at 126-28.)

          (c) “a plurality of peripheral units which provide either input infor-
             mation from the user or output information to the user, and
             which are adapted to operate within about 20 meters of said serv-
             er unit”
      Natarajan discloses a system with a plurality of “mobile units” that wireless-

ly communicate with a base station. (Natarajan, 2:32-39, FIG. 1.) Neve similarly

discloses “[a] large number of communication stations each comprising a trans-

ceiver 2 and interface circuit 7 and any necessary interface 10 may be provided in a

communication network operating on the same radio frequency.” (Neve, 4:6-9)

      Natarajan discloses that “[t]he mobile station may itself be a hand held or

laptop computer.” (Natarajan, 2:58-59.) Further, “computer 50 runs an operating

system 70 which supports one or more user application programs 72.” (Id. at 3:50-

51.) As discussed above, POSA would have understood that “user application pro-

grams” of a “hand held or laptop computer” would have provided “input infor-

mation from the user” and “output information to the user.” (Grimes Dec. ¶ 130.)

For example, during Period A, data is transmitted from the base station to the mo-



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bile unit (Natarajan, 4:30-32), and vice versa during Period B (id. at 4:33-35).

Transmissions occur according to a “Receiving Users Index” and a “Transmitting

Users Index.” (Id. at 6:17-21, 6:32-34.) “Most users are very likely to be inactive

(both Transmit-Inactive and Receive-Inactive) most of the time for most applica-

tions.” (Id. at 6:41-44.) A POSA would have understood that the user can be an ac-

tive participant in supplying “input information” and receiving “output infor-

mation” via the “user application programs” of the mobile units. (Grimes Dec. ¶

130.) So, Natarajan discloses that the peripheral devices “provide either input in-

formation from the user or output information to the user.” (Id.)

      Natarajan also discloses that “[t]here has been recent work directed to the

design of multiaccess protocols for portable mobile computer users, as well as

movable boundary protocols for supporting integrated voice/data users in mobile

indoor radio networks.” (Natarajan, 1:39-43 (emphasis added).) Portable comput-

ers operating in an indoor network would have been “adapted to operate within

about 20 meters of said server unit.” (Grimes Dec. ¶ 131.) Similarly, Neve disclos-

es that thousands of devices can be used in an industrial plant, such as an oil refin-

ery. (Neve, 1:10-15, 1:34-40.) In this environment, the peripheral units would have

been “adapted to operate within about 20 meters of said server unit.” (Grimes Dec.

¶ 131.) Thus, the combination of Natarajan and Neve discloses limitation (c) of

claim 9. (Id. at 132.)



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         (d) “said server microcomputer incorporating an RF transmitter con-
             trolled by said oscillator for sending commands and synchroniz-
             ing information to said peripheral units, said synchronizing in-
             formation being carried by time spaced beacons characteristic of
             the particular server unit

      Like claim 6, claim 9 identically recites “said server microcomputer incor-

porating an RF transmitter controlled by said oscillator for sending commands and

synchronizing information to said peripheral units.” Therefore, the discussion

above in Section VIII.B.4.(d) applies to limitation (d) of claim 9 as well. (See also

Grimes Dec. ¶¶ 133-137.)

      Claim 9 additionally recites “said synchronizing information being carried

by time spaced beacons characteristic of the particular server unit.” Neve discloses

that synchronizing information is “carried by time spaced beacons.” (Id. at 138.)

The master station “provides synchronisation signals for all of the other stations”

(Neve, 4:10-15) and “[o]ne time slot in each cycle is reserved for the transmission

of synchronization information by a station designated the master station for recep-

tion by the other stations” (Neve, Abstract). Because Neve discloses a “cyclically

repeating series of consecutive time slots,” where one slot is reserved for synchro-

nization information, the synchronization signals (i.e. “beacons”) are “time

spaced.” (Neve, 1:61-62, FIG. 2; Grimes Dec. ¶ 138.)

      Neve also discloses that each receiver has “a pre-assigned address” for

“uniquely identifying the device” (Neve, 4:38-43) and that the data word format



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includes an address/data flag bit (id. at 4:25-27, FIG. 2). Natarajan similarly dis-

closes that the receivers are able “to recognize a specific adaptor address as well as

a broadcast address.” (Natarajan, 3:41-46.) A POSA would have found it obvious

to include an address of the transmitting master station with the synchronization

information so that the synchronization beacon was “characteristic of the particular

server unit.” (Grimes Dec. ¶ 139.) Thus, limitation (d) of claim 9 would have been

obvious to a POSA in view of Natarajan and Neve. (Id. at 140.)

         (e) “said peripheral units each including an RF receiver for detecting
             said commands and synchronizing information and including also
             a local oscillator, each of said peripheral units being operative in a
             first mode to receive said beacons independently of synchroniza-
             tion of the respective local oscillator when that peripheral unit is
             in close proximity to said server unit and to determine from the
             server unit its characteristics, each of said peripheral units being
             operative in a second mode to synchronize the respective local os-
             cillator with the server unit oscillator, each of said peripheral
             units also including an RF transmitter operative in a third mode
             for sending input information from the user to said server micro-
             computer”
      The combination of Natarajan and Neve discloses limitation (e) of claim 9.

(Id. at 141.) FIG. 2 of Natarajan illustrates “the basic components of a mobile sta-

tion and a base station.” (Natarajan, 2:1-3.) “The laptop computer like the base sta-

tion, is provided with an antenna 42 and a transceiver adapter 44.” (Id. at 2:65-67,

FIGS. 2-3.) Thus, the mobile units have an RF transceiver, i.e., both an RF trans-

mitter and an RF receiver. (Grimes Dec. ¶ 141.) Neve discloses that the slave sta-

tions are “a radio transmitter and receiver apparatus” with “a transmitter and re-


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ceiver device (transceiver) 2 which includes an antenna 3, a transmitter circuit 4

and a receiver circuit 5.” (Neve, 3:59-63, FIGS. 1 and 3.)

      A POSA would have understood that the receivers in Natarajan and Neve

would have been responsible for detecting the “commands and synchronizing in-

formation” discussed above. (Grimes Dec. ¶ 142; see also Section VIII.B.4.(d).) In

Natarajan, “[p]ackets received or to be sent are held in data storage 68 and com-

municated to or from the RF transceiver 54.” (Natarajan, 3:28-30.) Further, “each

receiving mobile unit can compute exactly when it should be ready to receive

packets from the base station.” (Id. at 4:67-5:4.) Neve discloses that “[o]ne time

slot in each cycle is reserved for the transmission of synchronization information

by a station designated the master station for reception by the other stations, desig-

nated slave stations, and maintaining synchronization therein.” (Neve, Abstract.)

Neve also discloses that the slave station “responds to commands on the channel

and takes part in transmission and reception.” (Neve, 7:46-49.) These “commands”

and “synchronizing information” would have been detected by the receiver.

(Grimes Dec. ¶ 142.) Thus, Natarajan and Neve in combination disclose that the

peripheral units detect commands and synchronizing information. (Id.)

      The combination of Natarajan and Neve discloses a “first mode to receive

said beacons independently of synchronization of the respective local oscillator.”

(Id. at 143.) Neve discloses “the master station providing system synchronisation



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signals, and defining a cyclic sequence of time slots comprising at least one syn-

chronisation time slot.” (Neve, 3:10-14.) A POSA would have understood that pri-

or to synchronizing the devices, the slave station receives the synchronization sig-

nal “independently of synchronization.” (Id. at 143.) As discussed above, Neve

discloses that each receiver has “a pre-assigned address” for “uniquely identifying

the device” (id. at 4:38-43) and Natarajan discloses that the receivers are able “to

recognize a specific adaptor address as well as a broadcast address” (Natarajan,

3:41-46). So it would have been obvious to a POSA that the peripheral units could

“determine from the server unit its characteristics.” (Grimes Dec. ¶ 143.) As also

discussed above, Natarajan discloses portable computers operating in an indoor

network (Natarajan, 1:39-43) and Neve discloses that its system could be used in

an industrial plant, such as an oil refinery (Neve, 1:10-15, 1:34-40). So, the periph-

eral unit would have been “in close proximity to said server unit.” (Grimes Dec. ¶

143.)

        Neve also discloses the “second mode.” (Id. at 144.) “One time slot in each

cycle is reserved for the transmission of synchronization information by a station

designated the master station for reception by the other stations, designated slave

stations, and maintaining synchronization therein.” (Neve, Abstract.) Neve and Na-

tarajan disclose that each device includes an oscillator. (Natarajan, 7:17-25; Neve,

5:24-28, 6:7-14, FIGS. 4-5; Grimes Dec. ¶ 144.) Thus, each peripheral unit in-



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cludes a “local oscillator.” (Id.) A POSA would have understood that the “syn-

chronization information” disclosed in Neve was for synchronizing the “local os-

cillator” with the “server unit oscillator.” (Id.)

      Finally, Neve discloses that “[a]nother time slot is reserved for any slave sta-

tion to transmit a message that it requires to communicate to another station.”

(Neve, Abstract.) And Natarajan discloses that the peripheral unit’s RF transmitter

“send[s] input information from the user to said server microcomputer.” (Grimes

Dec. ¶ 145.) For example, there are designated periods “for the contention-free

transfer of all traffic from mobile units to base station (inbound traffic)” and “the

transfer of all bursty data traffic in a contention mode from mobile units to base

station.” (Natarajan, 4:33-38.) A POSA would have understood that since the mo-

bile units are a “hand held or laptop computer” (id. at 2:58-59), the data transferred

from the mobile units to the base station would have been “input information from

the user,” for example, via the “user application programs” (id. at 3:50-51).

(Grimes Dec. ¶ 145.) Because inbound transmissions from the mobile units are

based on a “Transmitting Users Index” (id. at 6:32-34) and “[m]ost users are very

likely to be inactive (both Transmit-Inactive and Receive-Inactive) most of the

time for most applications” (id. at 6:41-44), a POSA would have understood that

the user can be an active participant in supplying the “input information” via the

mobile units. (Grimes Dec. ¶ 145.) And a POSA would have understood that the



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RF transmitter of the mobile unit would have been responsible for sending this in-

put information. (Id.) Thus, the combination of Natarajan and Neve discloses “a

third mode for sending input information from the user to said server microcom-

puter.” (Id.)

          (f) “said server microcomputer including a receiver for receiving in-
              put information transmitted from said peripheral units”
       Natarajan discloses that the base station has an RF transceiver, i.e., both an

RF transmitter and an RF receiver. (Natarajan, 2:51-58, FIGS. 2-3; Grimes Dec. ¶

147.) Neve similarly discloses “a radio transmitter and receiver apparatus” with “a

transmitter and receiver device (transceiver) 2 which includes an antenna 3, a

transmitter circuit 4 and a receiver circuit 5.” (Neve, 3:59-63, FIGS. 1 and 3.)

       As discussed above, a POSA would have understood that since Natarajan’s

mobile units can be a “hand held or laptop computer” (Natarajan, 2:58-29) with

“user application programs” (id. at 3:50-51), the data transferred from the mobile

units to the base station was “input information.” (Grimes Dec. ¶ 148.) And Nata-

rajan discloses that “[h]eader BH contains an ordered list of users that will be al-

lowed to transmit to the base station in the current frame.” (Natarajan, 5:9-15.)

Neve similarly discloses a designated time slot where “the master station receives”

from the slave stations. (Neve, 7:31-34.) A POSA would have understood that the

receiver of the base/master stations would have been responsible for receiving the

“input information.” (Grimes Dec. ¶ 148.) Thus, Natarajan and Neve in combina-


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tion disclose limitation (f) of claim 9. (Id. at 149.)

          (g) “said server and peripheral transmitters being energized in low
              duty cycle RF bursts at intervals with said receivers being con-
              trolled by the respective oscillators”

      Natarajan discloses that “[s]cheduled access multiaccess protocols can be

implemented to effectively conserve battery power by suitable control of the state

of transmitter and receiver units at the portable units (i.e., by scheduling when they

should be turned ON or OFF)…the transmitter (or receiver) consumes power only

when it is actively transmitting a message (or actively receiving a message).” (Na-

tarajan, 3:66-4:6.) This constitutes “low duty cycle RF bursts.” (Grimes Dec. ¶

150.) Further, there is a period “for the transfer of all bursty data traffic in a con-

tention mode from mobile units to base station (inbound traffic), with a header

CH.” (Natarajan, 4:36-38 (emphasis added).) Neve similarly discloses a “low pow-

er duty cycle.” (Neve, 5:60-61.) Further, “[t]he slave stations operate in a low

power condition except during one of the other time slots when they may receive

their own address, or except when they need to transmit data” (id. at Abstract) and

the interface circuit is of each of the devices is “arranged to energise the transmit-

ter circuit only when transmission is required” (id. at 2:42-47). Thus, Natarajan and

Neve each disclose that the transmitters are “energized in low duty cycle RF

bursts.” (Grimes Dec. ¶ 150.)

      As discussed above, Natarajan and Neve each disclose that the devices each



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include an oscillator. (Natarajan, 7:17-25; Neve, 5:24-28, 6:7-14, FIGS. 4-5;

Grimes Dec. ¶ 151.) A POSA would have understood that the receivers are “con-

trolled by” the oscillators because an oscillator’s standard function is to control the

transmitter and receiver. (Id.) For example, the transmitter and receiver frequency

(i.e. carrier frequency) is controlled by the oscillator frequency. (Id.) Thus, Nata-

rajan and Neve in combination disclose limitation (f) of claim 9. (Id. at 152.)

      7. Claim 10 would have been obvious over Natarajan in view of Neve.
      The explanation for claim 9 also applies to claim 10, depending therefrom.

The limitation of claims 10 is exactly the same as recited in claim 7. Therefore, the

discussion above in Section VIII.B.5 also applies to claim 10. (See also Grimes

Dec. ¶¶ 153-54.)

   C. Ground 3: Claims 6 and 7 would have been obvious over Mahany.

      1. Overview of Mahany
      Mahany discloses a “local area network [that] allows for radio communica-

tion between a portable computer device and peripheral devices with built-in trans-

ceivers utilized by the portable computer device” where communication is “con-

trolled by a reservation access communication protocol.” (Mahany, Abstract,

FIGS. 1b and 1c.) The devices have “a voltage controlled oscillator (VCO)

(3601),” where “the VCO is stabilized by connecting it in a phase locked loop to a

narrowband reference, such as a crystal reference oscillator (3603).” (Id. at 55:11-

17, FIG. 38.) “The oscillator (3603) outputs a signal of a fixed or reference fre-

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POSA would have understood that the “bursts” are “timed in relation to said syn-

chronization information.” (Id.) For example, the SYNC information is transmitted

first at (2101) and subsequently—therefore “timed in relation to”—data is trans-

mitted, for example, in the TDMA slots. (Mahany, FIG. 22; Grimes Dec. ¶ 178.)

Thus, Mahany discloses limitation (g) of claim 6. (Grimes Dec. ¶ 179.)

      3. Claim 7 would have been obvious over Mahany.
      The explanation for claim 6 also applies to claim 7, depending therefrom.

Mahany discloses the limitation of claim 7: “wherein said server and peripheral

units are allocated respective time slots within a predetermined frame interval for

transmitting.” (Id. at 180.) For example, Mahany discloses that after the SYNC

header is sent, a reservation phase (203) follows that provides the peripheral devic-

es an opportunity to reserve a communication slots during sessions frame (205),

followed by a frame (207) for optional TDMA slots in order to accommodate

scheduled services. (Mahany, 13:1-22, FIG. 2.)

IX.   CONCLUSION

      Inter partes review of claims 6, 7, 9, and 10 of the ’290 patent is requested.

                                   Respectfully submitted,
                                   STERNE, KESSLER, GOLDSTEIN & FOX P.L.L.C.

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Date: 12/4/2014                    Attorneys for Petitioner Apple


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                APPENDIX A – EXHIBIT LIST


Exhibit No.                            Description
APL 1001      U.S. Patent No. 6,128,290 to Carvey (“the ʼ290 patent”)
APL 1002      T. J. Barber, Jr., “BodyLAN™: A Low Power Communications
              System,” Masterʼs Thesis at Massachusetts Institute of Technol-
              ogy, 1996 (“Barber”)
APL 1003      U.S. Patent No. 5,241,542 to Natarajan (“Natarajan”)
APL 1004      U.S. Patent No. 4,887,266 to Neve (“Neve”)
APL 1005      Prosecution History of U.S. Application No. 08/949,999 (now
              U.S. Patent No. 6,128,290) (“the ’999 application”)
APL 1006      U.S. Application No. 08/611,695 (as-filed) (“the ’695 applica-
              tion”)
APL 1007      Apple’s Claim Construction Brief in Case No. 6:13-cv-00919
              JDL (EDTX)
APL 1008      Declaration of Jack D. Grimes, Ph.D. in Support of Petition for
              Inter Partes Review of U.S. Patent No. 6,128,290 (“Grimes
              Dec.”)
APL 1009      Curriculum Vitae of Jack D. Grimes, Ph.D. (“Grimes CV”)
APL 1010      U.S. Patent No. 5,696,903 to Mahany (“Mahany”)




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      CERTIFICATION OF SERVICE (37 C.F.R. §§ 42.6(e), 42.105(a))

           The undersigned hereby certifies that the above-captioned PETITION

 FOR INTER PARTES REVIEW OF U.S. PATENT NO. 6,128,290, petition-

 er’s powers of attorney, and all associated exhibits were served in their entireties

 on December 4, 2014, on the following parties via FedEx®:

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 dress of record for U.S. Patent No.      as likely to effect service
 6,128,290

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       UNITED STATES PATENT AND TRADEMARK OFFICE
                      ______________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      ______________

                         APPLE, INC.,
                          Petitioners,

                               v.

            DSS TECHNOLOGY MANAGEMENT, INC.,
                       Patent Owner.

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                     Case: IPR2015-00373
                    U.S. Patent No. 6,128,290

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PATENT OWNER DSS TECHNOLOGY MANAGEMENT, INC.’S
 PRELIMINARY RESPONSE PURSUANT TO 37 C.F.R. §42.107




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                      PATENT OWNER’S LIST OF EXHIBITS

DSS-2001    U.S. Patent No. 5,699,357

DSS-2002    Definition of “e.g.,” Black’s Law Dictionary (9th ed. 2009).




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I. INTRODUCTION


       Pursuant to 37 C.F.R. § 42.207(a), the patent owner, DSS Technology Management, Inc.,

(“Patent Owner”), hereby submits the following Preliminary Response in response to the Petition

for Inter Partes Review (“IPR”) of U.S. Patent No. 6,128,290 (“the ‘290 Patent”) (APL-1001).

       The ‘290 Patent, entitled “Personal Data Network,” issued on October 3, 2000 and has a

priority date of March 6, 1996. The ‘290 Patent contains eleven (11) claims, of which claims 1, 5,

6, 9, and 15 are independent. Petitioner challenges validity of claims 6, 7, 9, and 10. Petitioner

advances the following invalidity challenges:

       (1) obviousness of claims 9 and 10 under 35 U.S.C. §103 based on a Master’s Thesis

           entitled “BodyLANTM: A Low-Power Communications System” by Thomas J. Barber

           Jr. (“Barber”) (APL-1002);

       (2) obviousness of claims 6, 7, 9, and 10 under 35 U.S.C. §103 based on U.S. Patent No.

           5,241,542 to Natarajan et al. (“Natarajan”) (APL-1003) in view of U.S. Patent No.

           4,887,266 to Neve et al. (“Neve”) (APL-1004); and

       (3) obviousness of claims 6, 7, 9, and 10 under 35 U.S.C. §103 based on U.S. Patent No.

           5,696,903 to Mahany (“Mahany”) (APL-1010).

       To institute an IPR review, Petitioner must satisfy its burden of establishing that there is a

reasonable likelihood that at least one of the challenged claims of the ‘290 Patent is unpatentable.

See 37 C.F.R. § 42.108(c). “The Director may not authorize an inter partes review to be instituted

unless the Director determines that the information presented in the petition filed under section

311 and any response filed under section 313 shows that there is a reasonable likelihood that the

petitioner would prevail with respect to at least one of the claims challenged in the petition.” 35
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U.S.C. § 314(a). Here, Petitioner failed to meet its burden, and therefore, the Patent Trial and

Appeal Board (“the Board”) should deny the Petition in its entirety and decline to institute trial

against claims 6, 7, 9, and 10 of the ‘290 Patent.


II. STATEMENT OF RELIEF REQUESTED


       Patent Owner respectfully requests the Board to deny the Petition for an IPR of claims 6,

7, 9, and 10 of the ‘290 Patent because Petitioner has failed to prove that there is a reasonable

likelihood that the challenged claims are unpatentable under 35 U.S.C. § 103.


III. RELATED IPR PETITION


       Petitioner filed another IPR petition against claims 1-4 of the ‘290 Patent in case IPR2015-

00369. The Board’s decision in the present case is likely to be highly pertinent to the invalidity

challenges advanced by Petitioner in case IPR2015-00369.


IV. OVERVIEW OF THE INVENTION CLAIMED IN THE ‘290 PATENT

       In its summary of the ‘290 Patent, Petitioner omitted several material elements of the

claimed invention. The following overview provides a brief description of the data network system

disclosed and claimed in the ‘290 Patent, focusing on the elements Petitioner failed to discuss.

       A. Summary of the ‘290 Patent

       The ‘290 Patent discloses and claims a data network system that improves bidirectional

wireless data communications between a server microcomputer unit and a plurality of peripheral

units. See APL 1001, ‘290 Patent at 1:11-14. At the time of invention, two major issues hindered

widespread adoption of wireless data communication systems: (1) short battery life and (2)

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interference from other wireless data systems operating nearby. See id. at Abstract. The ‘290 Patent

advanced the state of the art by ameliorating both problems.

       The ‘290 Patent discloses and claims a wireless data system, in which both the server and

peripheral transmitters are energized in low duty cycle RF bursts. See id. at claims 6 and 9. This

feature of the claimed invention achieves two important objectives: (1) it reduces power usage for

both the server and the peripheral units because the server transmitter is only energized when the

server must transmit data; and (2) it reduces likelihood of interference between nearby wireless

ensembles because the server transmits signals only during scheduled communications with a

peripheral unit. See id. at 1:59-61. The specification of the ‘290 Patent explains that “[i]f during a

particular bit period, two RF bursts are being simultaneously received, one from a transmitter in

the home ensemble and the other from a foreign ensemble, the receiver will ‘capture’ only the data

received from the stronger of two transmitters.” Id. at 6:36-40. Accordingly, by claiming a system

in which both the server and peripheral transmitters operate in low duty cycle RF bursts, the ‘290

Patent significantly reduces the number of transmissions outgoing from the server unit, thereby

decreasing the likelihood that nearby peripheral units belonging to a foreign ensemble will receive

an unintended data signal from the server. Id. at 1:59-61.

       At the time of filing of the ‘290 Patent, the accepted convention in wireless data systems

technology was for a server transmitter to continuously transmit data, regardless of whether any

peripheral units were receiving that data. See, e.g., APL 1004, Neve at 4:48-50 (disclosing that the

server unit transmits “idle words” when no active data transmission is scheduled). While the server

transmitter is outputting a continuous data stream, the peripheral units schedule to wake

themselves up at designated times to receive or transmit data and remain powered down at all other

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times. See, e.g., APL 1003, Natarajan at 5:2-4. In such a system, it is only necessary to ensure that

the peripheral receivers are energized at an appropriate time to receive the designated data segment

within the continuous data stream. This scheme is advantageous because it does not require the

server transmitter to be separately energized for each individual transmission to a peripheral unit—

instead, the server must only be energized once to initiate the continuous transmission of the data

stream, and the peripheral units are timed to listen in at appropriate times. If no data has to be

transmitted, the server remains energized and transmits idle signals. See APL 1004, Neve at 4:48-

50.

       In sharp contrast, the ‘290 Patent discloses a system in which the server transmitter does

not send a continuous data stream, but instead is energized in RF bursts only when active data

transmission between the server unit and a peripheral unit is scheduled to occur. See id. at 1:59-

61. The data network system disclosed in the ‘290 Patent employs a complex synchronization

scheme to achieve a functioning system in which both the server and peripheral transmitters are

energized in low duty cycle RF bursts. See id. at 10:5-11:8. The server unit must initiate a separate

transmission to each unit at the exact time as the peripheral unit’s receiver is tuning in to listen.

This scheme introduces complexities to the data network system because the server must be very

closely synchronized with the peripheral units. For this reason, the ‘290 Patent discloses a complex

synchronization scheme in which the peripheral units are equipped with voltage controlled crystal

oscillators, whose frequency must be aligned with the frequency of the server’s oscillator to

establish precise synchronization between the server unit and the peripheral unit. See id. at 10:35-

61. The ‘290 Patent introduces these complexities into a wireless data system to allow both the




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server and peripheral transmitters to be energized only when an active data transmission must

occur and remain powered down at all other times.

        In conclusion, the ‘290 Patent explicitly states that its objectives include “provision of such

a data network which requires extremely low power consumption” and “avoids interference from

nearby similar systems.” Id. at 1:39-44. The ‘290 Patent achieves these objectives by creating a

data network system in which, inter alia, both “server and peripheral transmitters [are] energized

in low duty cycle RF bursts.” Id. at claims 6 and 9 (emphasis added); see also id. at 1:59-61 (“The

low duty cycle pulsed operation both substantially reduces power consumption and facilitates the

rejection of interfering signals.”).

        B. Priority date of the ’290 Patent

        The ’290 Patent issued from Application No. 08/949,999 (“the ’999 application”) (APL

1005) filed on October 14, 1997. The ‘290 Patent claims the benefit of priority from the U.S.

Application No. 08/611,695 (“the ’695 Application”) (APL 1006) on a basis of being continuation-

in-part thereof. The ‘695 Application was filed on March 6, 1996 and issued into the U.S. Patent

No. 5,699,357 (“the ‘357 Patent) (DSS-2001). Challenged claims 6, 7, 9, and 10 are fully supported

by the original disclosure of the ‘695 Application for the reasons provided below, and therefore,

are entitled to the priority date of the ‘695 Application.

        Petitioner alleges that claims 9 and 10 recite new matter not disclosed in the ‘695

Application. See Petition at pg. 5. This is not true. Petitioner fails to recognize that the ‘695

Application discloses and claims a data network system having the exact same structure as the

system claimed in the ’290 Patent, and therefore, all functional capabilities of the system claimed



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250 nanoseconds. The 125-nanosecond transit time corresponds to a distance of approximately 37

meters.3

       Both the ‘290 Patent and the ‘695 Application expressly provide that the operable range of

the system to enable the protocol is constrained by the distance at which the “accuracy of

synchronization is not appreciably affected by transit time delays.” A POSA would appreciate that

the claimed system, as disclosed identically in both the ‘290 and ‘695 Applications, has a

maximum operational range that is greater than the non-limiting examples of two meters and

twenty meters disclosed in the ‘695 Application the ‘290 Patent respectively.

       In conclusion, the ‘695 Application discloses every limitation of claim 1, including the

disputed limitation “peripheral units . . . adapted to operate within about 20 meters of said server

unit” in a manner that satisfies the requirements of 35 U.S.C. § 112. Accordingly, the Board should

find that claims 9 and 10 of the ‘290 Patent are entitled to March 6, 1996 priority date of the ‘695

Application.


V. CLAIM CONSTRUCTION

       The Board generally interprets the claims of an unexpired patent according to the broadest

reasonable interpretation (“BRI”) standard. See 37 C.F.R. § 42.100(b).

       1. Energized in low duty cycle RF bursts

       Patent Owner proposes that the claim language “energized in low duty cycle RF bursts”

be given its plain and ordinary meaning. Alternatively, if the Board finds any ambiguity, the


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 The time of flight for the signals is determined by the speed of light in air, which is
approximately 1 meter per 3.33 nanoseconds. In 125 nanoseconds, a signal will travel 37.54
meters.
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specification of the ‘290 Patent states that “[t]he low duty cycle pulsed operation both substantially

reduces power consumption and facilitates the rejection of interfering signals.” APL 1001, ‘290

Patent at 1:59-61. Accordingly, the limitation “energized in low duty cycle RF bursts” should be

construed as “a pulsed operation that substantially reduces power consumption and facilitates

the rejection of interfering signals.”

       Although Petitioner did not provide an explicit construction for this claim term, both

Petitioner and Petitioner’s expert stated that a transmitter is energized in low duty cycle RF bursts

if the transmitter “consumes power only when it is actively transmitting a message.” See Petition

at pg. 39; see also APL 1008 at ¶118.

       Patent Owner believes that the Board’s decision on whether to institute trial will be the

same under either construction.


VI. PETITIONER HAS FAILED TO PROVE THAT THERE IS A REASONABLE
    LIKELIHOOD THAT AT LEAST ONE CLAIM OF THE ‘290 PATENT IS
    UNPATENTABLE


       A. Ground 1: Barber does not qualify as prior art against the ‘290 Patent


       As established in Part IV.B., supra, claims 9 and 10 of the ‘290 Patent are entitled to March

6, 1996 priority date. Barber did not become publicly available at least until April 11, 1996. For

this reason, Barber does not qualify as prior art against claims 9 and 10 of the ‘290 Patent.

Accordingly, the Board should deny Petitioner’s invalidity challenge based on this reference.

       B. Ground 2: There is no reasonable likelihood that claims 6, 7, 9, and 10 are obvious
          based on Natarajan in view of Neve




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       In a trial before the Board, Petitioner “has the burden of proof to establish that it is entitled

to the requested relief.” See 37 C.F.R. §42.20(c). In this case, Petitioner has not met this burden

because the combination of the cited prior art references does not disclose all limitations of

challenged claim 1.

               1. Natarajan does not disclose that the server transmitter is energized in low
                  duty cycle RF bursts

       It is well established in the United States patent law that challenges on obviousness grounds

cannot be sustained by mere conclusory statements. See KSR Int'l Co. v. Teleflex Inc., 550 U.S.

398, 418 (2007) (quoting In re Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). Instead, “there must be

some articulated reasoning with some rational underpinning to support the legal conclusion of

obviousness.” Id. As the Federal Circuit eloquently stated: “[o]bviousness requires a court to walk

a tightrope blindfolded (to avoid hindsight) – an enterprise best pursued with the safety net of

objective evidence.” See Mintz v. Dietz & Watson, Inc., 679 F. 3d 1372, 1379 (Fed. Cir. 2012).

       In its invalidity challenge based on Natarajan in view of Neve, Petitioner ignores a material

limitation of claim 1: “said server and peripheral transmitters being energized in low duty cycle

RF bursts.” APL 1001, ‘290 Patent at claims 6 and 9. Petitioner profusely quotes disclosures of

Natarajan and Neve teaching that the transmitters of the peripheral units (i.e. mobile units,

portable units, slave stations) are energized only when they are actively transmitting data. See

Petition at pg. 39. Petitioner, however, does not provide any objective evidence that could

reasonably lead to a conclusion that these references also disclose that the transmitter of the server

unit (i.e. base, hub, master) is energized in low duty cycle RF bursts.




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       Petitioner’s argument with respect to “energized in low duty cycle RF bursts” limitation is

reproduced below in its entirety with emphasis added to illustrate that Petitioner only discusses the

operation of peripheral units, and completely ignores that claims 6 and 9 require that server

transmitters be also energized in low duty cycle RF bursts:

               Natarajan discloses that “[s]cheduled access multiaccess protocols
               can be implemented to effectively conserve battery power by
               suitable control of the state of transmitter and receiver units at the
               portable units (i.e., by scheduling when they should be turned ON
               or OFF)…the transmitter (or receiver) consumes power only when
               it is actively transmitting a message (or actively receiving a
               message).” (Natarajan, 3:66-4:6.) This constitutes “low duty cycle
               RF bursts.” (Grimes Dec. ¶ 118.) Natarajan also discloses a period
               “for the transfer of all bursty data traffic in a contention mode from
               mobile units to base station (inbound traffic), with a header CH.”
               (Natarajan, 4:36-38 (emphasis added).) Neve also discloses a “low
               power duty cycle.” (Neve, 5:60-61.) “The slave stations operate in
               a low power condition except during one of the other time slots
               when they may receive their own address, or except when they need
               to transmit data” (id. at Abstract) and the interface circuit of each
               device is “arranged to energise the transmitter circuit only when
               transmission is required” (id. at 2:42-47). Thus, Natarajan and Neve
               each disclose that the transmitters are “energized in low duty cycle
               RF bursts.” (Grimes Dec. ¶ 118.)
               Petition at pg. 39-40 (emphasis added).

       Based on this analysis of Natarajan and Neve, Petitioner concludes that “Natarajan and

Neve each disclose that the transmitters are ‘energized in low duty cycle RF bursts.’” Id.

(emphasis added). Petitioner, therefore, completely ignores the fact that claims 6 and 9 do not

merely recite “transmitters,” but rather, they explicitly require “said server and peripheral

transmitters being energized in low duty cycle RF bursts.” APL 1001, ‘290 Patent at claims 6 and

9. Petitioner provides no objective evidence and no reasoning that could reasonably establish that

Natarajan and Neve teach or suggest this limitation of claims 6 and 9.

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       Petitioner contends that to satisfy the “low duty cycle” limitation, the transmitter must be

powered ON only during data transfer and powered OFF at all other times. See Petition at pg. 39;

see also APL 1008, Grimes Dec. at ¶118. Natarajan and Neve do not disclose that the server

transmitter operates in such a way.

       Natarajan discloses in detail the scheduling plan according to which “[e]ach receiving

mobile unit goes to sleep after scheduling to wake itself up at its designated time for receiving

data. After receiving its packets, the mobile unit goes to sleep for the remainder of period A.” APL

1003, Natarajan at 5:2-6. Natarajan, however, states nothing about the server transmitter turning

itself OFF and scheduling to wake up at an appropriate time to transmit data to a designated mobile

unit. In fact, when Natarajan calculates the power savings achieved by its system, Natarajan only

takes into account the power savings associated with the mobile unit operating in low duty cycle.

See id. at 7:22-58. Natarajan neither teaches nor suggests that the operation of the server unit

provides any power savings, thereby further buttressing a conclusion that, unlike the mobile units,

the server transmitter does not operate in low duty cycle RF bursts.

       Neve does not cure deficiencies of Natarajan and, in fact, teaches away from the limitation

of claims 6 and 9 requiring the server transmitter to be energized in low duty cycle RF bursts. See

Part VI.B.2, infra. Neve teaches that a server transmits a continuous data stream, and “[i]f no data

is currently required to be transmitted, the master station transmits idle words.” See APL 1004,

Neve at 4:48-50 (emphasis added). Therefore, even under Petitioner’s interpretation of the terms

“energized in low duty cycle RF bursts,” Natarajan in view of Neve fails to teach or suggest that

the transmitter of the server unit is energized in low duty cycle RF bursts.



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       For the reasons set forth above, the Petition lacks any reasoning or objective evidence that

could reasonably establish that Natarajan and Neve teach or suggest that “said server and

peripheral transmitters are energized in low duty cycle RF bursts.”



               2. Neve teaches away from the server transmitter being energized in low duty
                  cycle RF bursts

       It is axiomatic that "[a] prior art reference must be considered in its entirety, i.e., as a whole,

including portions that would lead away from the claimed invention." W.L. Gore & Associates,

Inc. v. Garlock, Inc., 721 F.2d 1540 (Fed. Cir. 1983)). Neve explicitly discloses that the server unit

remains energized even when it is not actively transmitting any data to the peripheral units. See

APL 1004, Neve at 4:48-50. (“If no data is currently required to be transmitted, the master station

transmits idle words.”) (emphasis added). Neve explains that “the master station has to allocate

the various virtual circuits to the time slots in a manner avoiding interference between the data

paths whilst utilizing the available time slots efficiently. An idle word is transmitted if no other

transmission is needed.” See id. at 7:14-19. Accordingly, Neve discloses a server transmitter that

is constantly ON, even when no active data transfer is scheduled between the server unit and a

peripheral unit. For this reason, Neve not only lacks disclosure of “said server and peripheral

transmitter being energized in low duty cycle RF bursts,” but in fact, teaches away from this

limitation of claims 6 and 9.

       For the reasons set forth above, Natarajan in view of Neve does not render claims 6 and 9

obvious. Claims 7 and 10 are, therefore, nonobvious as a matter of law. See In re Fine, 837 F.2d




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1071, 1076 (Fed. Cir. 1988). Accordingly, the Board should deny Petitioner’s invalidity challenge

based on obviousness over Natarajan in view of Neve in its entirety.

               C. Ground 3: Petitioner fails to show that claims 6 and 7 are obvious over
                  Mahany


       Petitioner fails to establish that claims 6 and 7 are obvious over Mahany. “The key to

supporting any [challenge] under 35 U.S.C. 103 is the clear articulation of the reason(s) why the

claimed invention would have been obvious.” MPEP § 2142. Challenges on obviousness grounds

cannot be sustained by mere conclusory statements. See KSR Int'l Co. v. Teleflex Inc., 550 U.S.

398, 418 (2007) (quoting In re Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). “[T]here must be some

articulated reasoning with some rational underpinning to support the legal conclusion of

obviousness.” Id. (emphasis added).

       Petitioner’s challenge of claim 6 based on Mahany does not satisfy the legal standard for

obviousness the U.S. Supreme Court established in KSR Int'l Co. v. Teleflex Inc. In Part VIII.C.2(g)

of the Petition, Petitioner concludes that Mahany discloses the limitation of claim 6 requiring that

“said server and peripheral transmitters are energized in low duty cycle.” See Petition at pg. 59-

60. Petitioner provides no reasoning in support of this conclusion and, instead, quotes a single

sentence of Mahany: “[a] sleeping device with no transmission requirements may sleep for eight

20 ms access intervals, and wake only for the SYNC and Reservation Poll…to monitor pending

messages before returning to the sleep state, for a duty cycle of less than 5%.” See Petition at pg.

59 (quoting Mahany at 35:48-52) (emphasis added). Petitioner does not articulate any reasoning

as to why this sentence, which discloses a single sleeping device, establishes that Mahany teaches

that both the server and peripheral transmitters are energized in low duty cycles. Accordingly,

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Petitioner’s challenge with respect to this limitation lacks rational underpinning and fails to

establish that Mahany renders claim 6 obvious.

        For the reasons set forth above, the Board should deny Petitioner’s challenge of claim 6

based on obviousness over Mahany. Claim 7 depends from claim 6 and, therefore, is also

nonobvious. See In re Fine, 837 F.2d at 1076.


        VII. CONCLUSION


        For the reasons set forth above, Petitioner failed to show that there is a reasonable

likelihood that Petitioner would prevail in an IPR trial with respect to a single claim of the ‘290

Patent based on the three challenges advanced in the Petition. Accordingly, the Board should deny

the Petition in its entirety and decline to institute the IPR trial of the ‘290 Patent.

Date: March 30, 2015                                            Respectfully submitted,

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______________________________________________________________________________


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, in accordance with 37 C.F.R. § 42.6(e), the above

Preliminary Response of the Patent Owner and a copy of the Exhibits were served via electronic

mail on March 30, 2015, in their entirety upon the following:



David K.S. Cornwell, Lead Counsel for Petitioner
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Date: March 30, 2015                                       /andriy lytvyn/
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Trials@uspto.gov                                                 Paper No. 8
571-272-7822                                          Entered: June 25, 2015




       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                               APPLE INC.,
                                Petitioner,

                                     v.

             DSS TECHNOLOGY MANAGEMENT, INC.,
                        Patent Owner.
                        ____________

                           Case IPR2015-00373
                             Patent 6,128,290
                              ____________



Before JAMESON LEE, MATTHEW R. CLEMENTS, and
CHARLES J. BOUDREAU, Administrative Patent Judges.

BOUDREAU, Administrative Patent Judge.

                                 DECISION
                     Institution of Inter Partes Review
                             37 C.F.R. § 42.108




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Patent 6,128,290

                             I. INTRODUCTION
      On December 4, 2014, Petitioner Apple Inc. (“Apple”) filed a Petition
(Paper 2, “Pet.”) requesting inter partes review of claims 6, 7, 9, and 10 of
U.S. Patent No. 6,128,290 (Ex. 1001, “the ’290 patent”). On March 30,
2015, Patent Owner DSS Technology Management, Inc. (“DSS”) timely
filed a Preliminary Response (Paper 7, “Prelim. Resp.”). We have
jurisdiction under 35 U.S.C. § 314, which provides that inter partes review
may not be instituted “unless . . . there is a reasonable likelihood that the
petitioner would prevail with respect to at least 1 of the claims challenged in
the petition.” 35 U.S.C. § 314(a). Upon consideration of the Petition,
Preliminary Response, and the proffered evidence, we conclude that Apple
has established a reasonable likelihood that it would prevail in challenging
the patentability of claims 6, 7, 9, and 10 of the ’290 patent under 35 U.S.C.
§ 103(a) on certain of the grounds presented. Accordingly, we institute inter
partes review of those claims.

      A. Related Matters
      The parties inform us that the ’290 patent is the subject of two district
court actions: DSS Technology Management, Inc. v. Apple, Inc., No. 5:14-
cv-05330-LHK (N.D. Cal.), and DSS Technology Management, Inc. v.
Lenovo (United States), Inc., No. 6:14-cv-00525-JDL (E.D. Tex.). Pet. 2;
Paper 5, 2. Additionally, claims 1–4 of the ’290 patent are the subject of a
concurrently filed petition for inter partes review, IPR2015-00369.

      B. The ’290 Patent (Ex. 1001)
      The ’290 patent, titled “Personal Data Network,” issued October 3,
2000, from U.S. Patent Application No. 08/949,999 (Ex. 1005, 22–62, “the
’999 application”). The ’999 application was filed October 14, 1997, as a

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continuation-in-part (“CIP”) of U.S. Patent Application No. 08/611,695 (Ex.
1006, 21–61, “the ’695 application”), filed March 6, 1996, which matured
into U.S. Patent No. 5,699,357 (Ex. 2001, “the ’357 patent”). See Ex. 1001,
col. 1, ll. 6–8.
       The ’290 patent relates to a data network for bidirectional wireless
data communications between a host or server microcomputer unit and a
plurality of peripheral units referred to as personal electronic accessories
(PEAs). Ex. 1001, col. 1, ll. 11–14, col. 2, ll. 15–18. Among the objects of
the invention is the provision of a data network that requires extremely low
power consumption, “particularly for the peripheral units,” avoids
interference from nearby similar systems, and is of relatively simple and
inexpensive construction. Id. at col. 1, ll. 33–34, 39–45. Figure 1 of the
’290 patent, reproduced below, is illustrative of the described wireless data
network system.




       Figure 1 is a block diagram of a wireless data network system linking
a server microcomputer, referred to as “personal digital assistant (PDA) 11,”

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with a plurality of peripheral units, or PEAs, 21–29. Id. at col. 2, ll. 42–44,
col. 2, l. 66–col. 3, l. 15.
       According to the ’290 patent, “the server microcomputer unit and the
several peripheral units which are to be linked are all in close physical
proximity, e.g., within twenty meters, to establish, with very high accuracy,
a common time base or synchronization.” Id. at col. 1, ll. 50–54. “Using the
common time base, code sequences are generated which control the
operation of the several transmitters in a low duty cycle pulsed mode of
operation.” Id. at col. 1, ll. 57–59. “The server and peripheral unit
transmitters are energized in low duty cycle pulses at intervals which are
determined by a code sequence which is timed in relation to the
synchronizing information initially transmitted from the server
microcomputer.” Id. at col. 2, ll. 35–39. “The low duty cycle pulsed
operation both substantially reduces power consumption and facilitates the
rejection of interfering signals.” Id. at col. 1, ll. 59–61. “In the intervals
between slots in which a PEA is to transmit or receive, all receive and
transmit circuits are powered down.” Id. at col. 4, ll. 6–8.

       C. Illustrative Claims
       As noted above, Apple challenges claims 6, 7, 9, and 10 of the ’290
patent. Claims 6 and 9, the independent claims challenged, are reproduced
below. Challenged claims 7 and 10 depend from claims 6 and 9,
respectively.




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      6. A data network system for effecting coordinated operation of a
   plurality of electronic devices, said system comprising:
      a server microcomputer unit, said server unit including an oscillator
   for establishing a time base;
      a plurality of peripheral units which are battery powered and portable
   and which provide either input information from the user or output
   information to the user;
       said server microcomputer incorporating an RF transmitter controlled
   by said oscillator for sending commands and synchronizing information
   to said peripheral units;
      said peripheral units each including an RF receiver for detecting said
   commands and synchronizing information and including also a local
   oscillator which can be synchronized to said server unit oscillator using
   said synchronizing information and an RF transmitter controlled by said
   local oscillator for sending input information from the user to said server
   microcomputer;
      said server microcomputer including a receiver controlled by said
   server unit oscillator for receiving input information transmitted from
   said peripheral units;
      said server and peripheral transmitters being energized in low duty
   cycle RF bursts which are timed in relation to said synchronizing
   information.
      9. A data network system for effecting coordinated operation of a
   plurality of electronic devices, said system comprising:
      a server microcomputer unit, said server unit including an oscillator
   for establishing a time base;
      a plurality of peripheral units which provide either input information
   from the user or output information to the user, and which are adapted to
   operate within about 20 meters of said server unit;
       said server microcomputer incorporating an RF transmitter controlled
   by said oscillator for sending commands and synchronizing information
   to said peripheral units, said synchronizing information being carried by
   time spaced beacons characteristic of the particular server unit;
     said peripheral units each including an RF receiver for detecting said
   commands and synchronizing information and including also a local

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   oscillator, each of said peripheral units being operative in a first mode to
   receive said beacons independently of synchronization of the respective
   local oscillator when that peripheral unit is in close proximity to said
   server unit and to determine from the server unit its characteristics, each
   of said peripheral units being operative in a second mode to synchronize
   the respective local oscillator with the server unit oscillator, each of said
   peripheral units also including an RF transmitter operative in a third
   mode for sending input information from the user to said server
   microcomputer,
      said server microcomputer including a receiver for receiving input
   information transmitted from said peripheral units;
      said server and peripheral transmitters being energized in low duty
   cycle RF bursts at intervals with said receivers being controlled by the
   respective oscillators.
Ex. 1001, col. 12, l. 59–col. 13, l. 16, col. 13, l. 25–col. 14, l. 10.

       D. Evidence of Record
       Apple relies on the following references, as well as the Declaration of
Jack D. Grimes, Ph.D. (Ex. 1008):

                            Reference                                     Exhibit

Thomas J. Barber Jr., BODYLANTM: A LOW-POWER
COMMUNICATION SYSTEM (M.S. thesis, Massachusetts                           1002
Institute of Technology) (“Barber”)

Natarajan (U.S. Patent No. 5,241,542; issued Aug. 31, 1993)                1003

Neve (U.S. Patent No. 4,887,266; issued Dec. 12, 1989)                     1004




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      E. Asserted Grounds of Unpatentability
      Apple challenges the patentability of the challenged claims on the
following three grounds:

         Reference(s)                Basis              Claims Challenged

Barber                             § 103(a)                   9, 10

Natarajan and Neve                 § 103(a)                 6, 7, 9, 10

Mahany                             § 103(a)                    6, 7


                               II. DISCUSSION
      A. Claim Interpretation
      In inter partes review proceedings, claims of an unexpired patent are
given their broadest reasonable interpretation in light of the specification of
the patent in which they appear. 37 C.F.R. § 42.100(b); Office Patent Trial
Practice Guide, 77 Fed. Reg. 48,756, 48,766 (Aug. 14, 2012); see In re
Cuozzo Speed Techs., LLC, 778 F.3d 1271, 1278–82 (Fed. Cir. 2015).
Under this standard, we interpret claim terms using “the broadest reasonable
meaning of the words in their ordinary usage as they would be understood
by one of ordinary skill in the art, taking into account whatever
enlightenment by way of definitions or otherwise that may be afforded by
the written description contained in the applicant’s specification.” In re
Morris, 127 F.3d 1048, 1054 (Fed. Cir. 1997). We presume that claim terms
have their ordinary and customary meaning. See In re Translogic Tech.,
Inc., 504 F.3d 1249, 1257 (Fed. Cir. 2007) (“The ordinary and customary
meaning is the meaning that the term would have to a person of ordinary
skill in the art in question.” (internal quotation marks omitted). A patentee,


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however, may rebut this presumption by acting as his own lexicographer,
providing a definition of the term in the specification with “reasonable
clarity, deliberateness, and precision.” In re Paulsen, 30 F.3d 1475, 1480
(Fed. Cir. 1994).
      Apple asks us to construe the phrase “local oscillator” recited in
claims 6 and 9. Pet. 6–8. DSS asks us to construe “energized in low duty
cycle RF bursts,” also recited in claims 6 and 9. Prelim. Resp. 19–20.
                             (1) “local oscillator”
      Claim 6 and 9 each recite peripheral units “including an RF receiver
for detecting [] commands and synchronizing information and including also
a local oscillator” that can be synchronized with a server unit oscillator. In
claim 6, the peripheral units also include an RF transmitter “controlled by
said local oscillator.” We have considered Apple’s arguments that “local
oscillator” is a term of art, that the term’s usage in portions of the
Specification is consistent with its commonly understood meaning, and that
the term’s usage in the claims is “at odds with” those portions of the
Specification (see Pet. 6–8), but conclude that the word “local” appears to be
used in claims 6 and 9 only as an adjective to designate the location of the
recited oscillator. Notably, Apple does not propose any specific
construction for “local oscillator” in the Petition. Nor does Apple point to
any special definition set forth in the Specification for “local oscillator” that
is inconsistent with or otherwise contrary to the plain meaning of “local.”
We, therefore, see no need for any express construction of “local oscillator.”
                 (2) “energized in low duty cycle RF bursts”
      DSS proposes that the phrase “energized in low duty cycle RF bursts”
be given its plain and ordinary meaning, or alternatively, in the event of any


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ambiguity, that it should be construed as “a pulsed operation that
substantially reduces power consumption and facilitates the rejection of
interfering signals.” Prelim. Resp. 20 (boldface and italics omitted).
      We conclude that it is not necessary for our determination of whether
to institute inter partes review of claims 6, 7, 9, and 10 of the ’290 patent to
construe expressly the phrase “energized in low duty cycle RF bursts.” Only
those terms which are in controversy need to be construed, and only to the
extent necessary to resolve the controversy. Vivid Techs., Inc. v. Am. Sci. &
Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999).

      B. Obviousness of Claims 9 and 10 over Barber
      Apple contends that claims 9 and 10 of the ’290 patent are
unpatentable under 35 U.S.C. § 103(a) as obvious over Barber, which Apple
asserts was published “at least as early as April 11, 1996.” Pet. 9, 11, 13–24.
According to Apple, claims 9 and 10 recite features first disclosed in the
’999 application, and accordingly, are entitled only to the benefit of the ’999
application’s October 14, 1997 filing date, rather than the March 6, 1996
filing date of the ’695 parent application. Id. at 5. Because April 11, 1996,
was more than one year prior to October 14, 1997, Apple asserts that Barber
is prior art under at least 35 U.S.C. § 102(b). Id. at 9. DSS counters that
claims 9 and 10 are fully supported by the original disclosure of the ’695
application and are, therefore, entitled to the benefit of the March 6, 1996
filing date of the ’695 application. Prelim. Resp. 5.
      For the reasons explained below, we are not persuaded that Apple has
established a reasonable likelihood that it would prevail on this ground with
respect to each of claims 9 and 10, regardless of whether claims 9 and 10 are



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entitled to the ’695 application’s March 6, 1996 filing date or only to the
’999 patent’s October 14, 1997 filing date.
      As the Board has previously explained, to qualify as a printed
publication within the meaning of § 102, “a reference ‘must have been
sufficiently accessible to the public interested in the art’ before the critical
date.” Actavis, Inc. v. Research Corp. Techs., Inc., Case IPR2014-01126,
slip op. at 9 (PTAB Jan. 9, 2015) (Paper 22) (quoting In re Cronyn, 890 F.2d
1158, 1160 (Fed. Cir. 1989). Whether a reference is publicly accessible is
determined on a case-by-case basis, based on the “facts and circumstances
surrounding the reference’s disclosure to members of the public.” In re
Lister, 583 F.3d 1307, 1311 (Fed. Cir. 2009). A reference is considered
publicly accessible if it was disseminated or otherwise made available to the
extent that persons interested and ordinarily skilled in the subject matter or
art, exercising reasonable diligence, can locate it. Id. Having reviewed
Apple’s arguments and proffered evidence, we determine that Apple has not
satisfied its burden to prove that Barber qualifies as prior art.
      Apple merely asserts, without any citation of evidence, that Barber
“was published at least as early as April 11, 1996.” Pet. 9. Apple’s expert,
Dr. Grimes, likewise asserts, without citing any additional evidence, that
Barber was “submitted January 30, 1996, [and] archived in Massachusetts
Institute of Technology Libraries April 11, 1996” (Ex. 1008, 6).
      We acknowledge that the cover page of Barber includes a stamp
reading “ARCHIVES MASSACHUSETTS INSTITUTE OF
TECHNOLOGY APR 11 1996 LIBRARIES.” Ex. 1002, 1. That stamped
date, however, would appear to be a hearsay statement to the extent that it
would be offered for its truth (see Fed. R. Evid. 801). Further, even if Apple


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could establish either that the statement is excluded from hearsay or that an
exception to the rule against hearsay should apply, such that we would admit
the stamped date as evidence of when the thesis was archived, the stamp
does not establish when, if ever, the thesis became publicly accessible.
      We must decide whether to institute a trial based on “the information
presented in the petition” (35 U.S.C. § 314(a)). In this case, Apple has not
identified sufficient evidence on the record before us to qualify Barber as
prior art. Apple has submitted no evidence, for example, to establish that the
thesis was indexed, cataloged, and shelved in the university library prior to
the filing of the ’999 application. See Cronyn, 890 F.2d at 1161; cf. In re
Hall, 781 F.2d 897 (Fed. Cir. 1986). We conclude, therefore, that Apple has
not demonstrated a reasonable likelihood that it would prevail at trial in
challenging claims 9 and 10 of the ’290 patent under 35 U.S.C. § 103(a)
over Barber. Because our conclusion does not turn on whether claims 9 and
10 are entitled to the priority date of the ’695 application or only that of the
’999 application, we further conclude that it is not necessary for our
determination of whether to institute inter partes review of claims 9 and 10
of the ’290 patent to decide that issue.

      C. Obviousness of Claims 6, 7, 9, and 10 over Natarajan and Neve
      Apple contends that claims 6, 7, 9, and 10 of the ’290 patent are
unpatentable under 35 U.S.C. § 103(a) as obvious over the combination of
Natarajan and Neve. Pet. 24, 30–51. We are persuaded that Apple has
established a reasonable likelihood that it would prevail on this ground with
respect to each of claims 6, 7, 9, and 10, for the reasons explained below.




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                                 (1) Natarajan
      Natarajan is directed to power conservation in wireless
communication, particularly battery efficient operation of wireless link
adapters of mobile computers (also referred to, inter alia, as battery powered
computers, hand held or laptop computers, mobile units, and mobile
stations) as controlled by multiaccess protocols used in wireless
communication. Ex. 1003, col. 1, ll. 7–13, col. 2, l. 32, Abst. Figure 2 of
Natarajan is reproduced below.




Figure 2 is a block diagram of a digital data communication system of the
type in which Natarajan’s invention is implemented, illustrating the basic
components of a mobile station and a base station. Id. at col. 1, l. 67–col. 2,
l. 3. As depicted in Figure 2, mobile stations 10, 12, 14, and 16
communicate with gateways (i.e., base stations 26, 28) connected with
server 18, via wireless transceivers adapters 36, 44. Id. at col. 2, ll. 32–39,
51–52, 58–59, 65–67. According to Natarajan:



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       The scheduled access multiaccess protocol is implemented to
       effectively conserve battery power by suitable control of the
       state of the controller, the transmitter and receiver units at the
       wireless link adapter by scheduling when the adapter is in a
       normal running mode, or a standby mode in which power is
       conserved.
Id., Abst; see also id. at col. 3, l. 66–col. 4, l. 1.
       Natarajan discloses that “[a] desirable solution is one in which the
transmitter (or receiver) consumes power only when it is actively
transmitting a message (or actively receiving a message).” Id. at 4:3–6.
Natarajan further discloses that the scheduled multiaccess protocol divides
time into “fixed-length frames, and frames are divided into slots.” Id. at
col. 4, ll. 20–23. The frames are divided into subframes for transmission of
data from the base station to mobile units (outbound traffic) as well as
transmission of data from mobile units to the base station (inbound traffic).
Id. at col. 4, ll. 27–38. According to Natarajan, at least one slot is assigned
to each mobile computer designated to communicate with the base station.
Id. at col. 10, ll. 26–29. The battery power of the wireless link adapter for a
given mobile computer is turned on to full power during the at least one
assigned slot, and the battery power of the wireless link adapter is
substantially reduced during the remaining time slots. Id. at col. 10, ll. 29–
37.
       With respect to outbound traffic, Natarajan discloses that the base
station broadcasts a header that includes a list of mobile users that will be
receiving data packets from the base station in the current frame, the order in
which the mobile users will receive the data packets, and the bandwidth
allocated to each user. Id. at col. 4, ll. 45–53. According to Natarajan, a
mobile unit that is not included in the header from the base station can turn


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its receiver “OFF” for the duration of the current subframe. Id. at col. 4,
ll. 64–67. Additionally, the adapter of each receiving mobile unit can
compute exactly when it should be ready to receive packets from the base
station by adding up the slots allocated to all receiving units that precede it,
power “ON” during that time slot to receive its data, and go back to sleep for
the remainder of the subframe. Id. at col. 4, l. 67–col. 5, l. 6.
      For inbound traffic, Natarajan similarly discloses that the base station
broadcasts a header that includes an ordered list of users that will be allowed
to transmit packets to the base station in the current frame and the bandwidth
allocated to each. Id. at col. 5, ll. 9–19. Using the information regarding the
number of packets that each user can transmit, each mobile unit can compute
exactly when it should begin its transmission. Id. at col. 5, ll. 20–22. Once
each mobile station computes its exact time for transmission, it can shut both
its transmitter and receiver “OFF” until the designated time, and then turn
“ON” and transmit for a fixed period of time whose duration depends on the
number of slots allocated to it. Id. at col. 5, ll. 23–29.
                                    (2) Neve
      Neve is directed to a communication system able to provide multiple
path communication between a plurality of stations operating on a single
channel. Ex. 1004, Abst. Neve discloses that one station, which is
physically similar to the others but operates a different stored program, may
be designated the “master” station and provides synchronization signals for
all of the other stations (referred to as “slave stations”) and controls access
of the stations to the single radio channel. Id. at 4:10–15.
      According to Neve, the stations are synchronized and a cyclically
repeating series of time slots is defined. Id. at Abst. One time slot in each


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cycle is reserved for the transmission of synchronization information by the
master station for reception by the slave stations and for maintaining
synchronization therein. Id. Another time slot is reserved for any slave
station to transmit a message indicating that it needs to communicate to
another station, such indication preferably being by transmitting its own pre-
assigned address code. Id. The remaining time slots are used for
transmitting address information and data. Id.
      Neve discloses that when data transfer is not taking place, the
described devices can enter a lower power consumption state. Id. at col. 2,
ll. 13–16. The system is designed automatically to re-enter the data transfer
condition when either a signal is received from the device indicative of the
need to transmit data or a predetermined code signal is received by the
receiver circuit indicative of the need to receive data. Id. at col. 2, ll. 19–24.
Neve discloses that the receiver has very low power consumption because
only the internal timing circuitry is energized continuously, whereas the rest
of the receiving circuit is energized only when its assigned time slot occurs.
Id. at col. 2, ll. 39–41. More particularly, the receiver circuit includes a low
power timing circuit that operates to energize the rest of the receiver circuit
only for the time slot in which its address may occur and for the
synchronization time slot, thereby enabling it to maintain synchronization
with low power consumption. Id. at col. 4, ll. 43–48. Neve similarly
discloses that the interface circuit is arranged to energize the transmitter
circuit only when transmission is required. Id. at col. 2, ll. 45–47.
                                  (3) Analysis
      Apple contends that Natarajan discloses all limitations of claims 6, 7,
9, and 10, with the exception of explicit disclosure of the server unit sending


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“synchronizing information” to the mobile units, as recited in claims 6 and
9, and “said synchronizing information being carried by time spaced
beacons,” as recited in claim 9. Pet. 30–51. Apple further contends that
Neve discloses those elements not disclosed explicitly by Natarajan. Id.
Upon review of the Petition, we are persuaded that Apple has shown a
reasonable likelihood that it would prevail in establishing the unpatentability
of claims 6, 7, 9, and 10 on this ground.
      DSS makes two principal arguments regarding Natarajan and Neve in
the Preliminary Response. First, DSS argues that Natarajan does not
disclose that the server transmitter is energized in low duty cycle RF bursts.
Prelim. Resp. 21. According to DSS, Apple “profusely quotes disclosures of
Natarajan and Neve teaching that the transmitters of the peripheral units
(i.e. mobile units, portable units, slave stations) are energized only when
they are actively transmitting data,” but “does not provide any objective
evidence that could reasonably lead to a conclusion that these references also
disclose that the transmitter of the server unit (i.e. base, hub, master) is
energized in low duty cycle RF bursts.” Id. DSS contends that “Natarajan
. . . says nothing about the server transmitter turning itself OFF and
scheduling to wake up at an appropriate time to transmit data to a designated
mobile unit” and that “Natarajan neither teaches nor suggests that the
operation of the server unit provides any power savings.” Id. at 23.
      Based on the record before us, we are persuaded that the disclosure of
Natarajan pertaining to a scheduled multi-access protocol in which time is
divided into fixed-length frames, along with Natarajan’s description of
frames being divided into slots and multiple subframes, is sufficient to
demonstrate a reasonable likelihood that Natarajan discloses “said server and


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peripheral transmitters being energized in low duty cycle RF bursts,” as
recited in claims 6 and 9. Claims 6, 7, 9, and 10 do not recite any
requirements that the server transmitter must turn itself OFF and schedule to
wake up at an appropriate time to transmit data to a designated mobile unit
or that the operation of the server unit must provide any “power savings”;
nor is such required by the plain and ordinary meaning of the claim phrase
“energized in low duty cycle RF bursts.” Regardless, by disclosing, for
example, that “a scheduled multi-access protocol is used in which time is
divided into fixed-length frames” and that “frame[s] [are] divided into
multiple subframes,” including different periods for broadcast of packets
from base station to mobile units (outbound traffic) and for transfer of traffic
from mobile units to base station (inbound traffic) (see, e.g., Ex. 1003, col.
4, ll. 20–22, 28–38), we are persuaded for purposes of this Decision that
Natarajan conveys that both the receivers and the transmitters in the base
station, as well as in the mobile units, are energized only in low duty cycle
RF bursts.
      Second, DSS argues that Neve teaches away from the server
transmitter being energized in low duty cycle RF bursts. Prelim. Resp. 24.
According to DSS, “Neve explicitly discloses that the server unit remains
energized even when it is not actively transmitting any data to the peripheral
units” and “[f]or this reason, Neve not only lacks disclosure of ‘said server
and peripheral transmitter [sic] being energized in low duty cycle RF
bursts,’ but in fact, teaches away from this limitation of claims 6 and 9.” Id.
In support of that contention, DSS cites portions of Neve stating “[i]f no data
is currently required to be transmitted, the master station transmits idle




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words” and “[a]n idle word is transmitted if no other transmission is
needed.” Id. (quoting Neve 4:48–50, 7:17–19 (emphasis added by DSS)).
      Based on the record before us, we are not persuaded that Neve teaches
away from the server transmitter being energized in low duty cycle RF
bursts. When the sentences quoted by DSS are read in the context of the full
disclosure of Neve, those sentences do not suggest continuous transmission
from the master station, but instead transmission of idle words in the event
that there is no data required to be transmitted in the time slots specifically
allocated for transmission by the server. Neve explicitly discloses that the
described synchronous communication system, which includes “one station
designated the master station,” “allows stations to remain in an inactive
condition when they are not communicating.” Ex. 1004, col. 3, ll. 9–20.
Neve also discloses that the master station performs different functions
during different time slots, only certain of which involve transmission:
      After the master station is powered up it scans its table of time
      slot allocations. . . . If the time slot is a synchronisation time
      slot the synchronisation word is transmitted. If it is an interrupt
      time slot the master station receives. If a valid address is
      received this is entered into the table of active slave stations
      requiring communication. During the other time slots either a
      housekeeping operation is performed as previously described or
      the master station takes part in a communication operation or
      the master station monitors the channel if the time slot has been
      allocated to communication between two slave stations. If the
      time slot is unassigned the idle word is transmitted.
Ex. 1004, col. 7, ll. 27–42 (emphases added).
      Because, on this record, Apple has identified sufficient evidence to
support its contention that the combination of Natarajan and Neve would
have rendered obvious the subject matter of claims 6, 7, 9, and 10 of the



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’290 patent, we conclude that Apple has established a reasonable likelihood
that it would prevail at trial in challenging those claims under 35 U.S.C.
§ 103(a) over the combination of Natarajan and Neve.

      D. Obviousness of Claims 6 and 7 over Mahany
      Apple contends that claims 6 and 7 of the ’290 patent are unpatentable
under 35 U.S.C. § 103(a) as obvious over Mahany. Pet. 51–60. We are
persuaded that Apple has established a reasonable likelihood that it would
prevail on this ground with respect to each of claims 6 and 7, for the reasons
explained below.
                                  (1) Mahany
      Mahany is directed to a “hierarchical communication system . . . in
which two wireless local area networks exhibiting substantially different
characteristics are employed to link inherently portable or mobile computer
devices.” Ex. 1010, Abst. As explained by Apple, Mahany discloses that
one of the local area networks “allows for radio communication between a
portable computer device and peripheral devices with built-in transceivers
utilized by the portable computer device” where communication is
“controlled by a reservation access communication protocol.” Id. The
devices have a “voltage controlled oscillator (VCO)” that is “stabilized by
connecting it in a phase locked loop to a narrowband reference, such as a
crystal reference oscillator.” Id. at col. 55, ll. 11–17. The crystal reference
oscillator outputs a signal of a fixed or reference frequency FREF, and if the
output of the VCO begins to drift out of phase of the reference frequency, a
“phase detector” provides a corrective output to adjust the center frequency
of the VCO back into phase. Id. at col. 55, ll. 17–33. Mahany also describes
“Access Intervals,” each having a “SYNC header” generated by a base


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device and “[a] timing character for synchronization of device local clocks
to the NET clock contained within the Control Point device,” that are used to
synchronize communications between the mobile computing devices and
peripheral devices. Id. at col. 15, ll. 55–67, col. 40, ll. 26–28.
                                   (2) Analysis
      Apple presents its positions on why Mahany renders obvious each of
claims 6 and 7, at pages 52–60 of the Petition. Focusing specifically on the
words “said server and peripheral transmitters are energized in low duty
cycle” recited in claim 6, DSS contends that Apple’s challenge based on
Mahany does not satisfy the legal standard for obviousness established in
KSR International Co. v. Teleflex Inc., 550 U.S. 398 (2007). Prelim. Resp.
25. DSS argues that Apple provides no reasoning in support its conclusion
that Mahany discloses the recited limitation. Instead, according to DSS,
Apple:
      quotes a single sentence of Mahany: “[a] sleeping device with
      no transmission requirements may sleep for eight 20 ms access
      intervals, and wake only for the SYNC and Reservation Poll . . .
      to monitor pending messages before returning to the sleep state,
      for a duty cycle of less than 5%” [and] does not articulate any
      reasoning as to why this sentence, which discloses a single
      sleeping device, establishes that Mahany teaches that both the
      server and peripheral transmitters are energized in low duty
      cycles.
Id. (citing Pet. 59 (quoting Ex. 1010, col. 35, ll. 48–52)) (emphases added by
DSS). DSS concludes Apple’s challenge with respect to this limitation
“lacks rational underpinning and fails to establish that Mahany renders claim
6 obvious.” Id. at 26.
      Notwithstanding DSS’s contentions, we are persuaded that Apple has
shown a reasonable likelihood that it would prevail on this ground with


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respect to claims 6 and 7. DSS has truncated the final clause of claim 6
following the adjective phrase “low duty cycle.” That clause reads in full,
“said server and peripheral transmitters being energized in low duty cycle
RF bursts which are timed in relation to said synchronizing information.”
Ex. 1001, col. 13, ll. 14–16. In support of the conclusion that Mahany
discloses the limitations set forth in that clause, Apple not only quotes from
column 35, lines 48–52 of Mahany, as DSS contends, but also explains in
the Petition that:
       FIGS. 21 and 22, for example, also show that RF transmissions
       occur in “bursts.” (Grimes Dec. ¶ 178.) A POSA would have
       understood that the “bursts” are “timed in relation to said
       synchronization information.” (Id.) For example, the SYNC
       information is transmitted first at (2101) and subsequently—
       therefore “timed in relation to”—data is transmitted, for
       example, in the TDMA slots. (Mahany, FIG. 22; Grimes Dec.
       ¶ 178.) Thus, Mahany discloses limitation (g) of claim 6.
       (Grimes Dec. ¶ 179.)
Id. at 59–60. Based on the record before us, we are persuaded that the
disclosure of Mahany pertaining to devices transmitting in TDMA slots
following the transmission of SYNC information is sufficient to demonstrate
a reasonable likelihood that Mahany discloses “said server and peripheral
transmitters being energized in low duty cycle RF bursts which are timed in
relation to said synchronizing information,” as recited in claim 6.
       Because, on this record, Apple has identified sufficient evidence to
support its contention that Mahany would have rendered obvious the subject
matter of claims 6 and 7 of the ’290 patent, we conclude that Apple has
established a reasonable likelihood that it would prevail at trial in
challenging those claims under 35 U.S.C. § 103(a) over Mahany.



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                              III. CONCLUSION
      We conclude that Apple has shown a reasonable likelihood that it
would prevail at trial in demonstrating that claims 6, 7, 9, and 10 of the ’290
patent are unpatentable under 35 U.S.C. § 103(a).
      At this stage of the proceeding, the Board has not made a final
determination as to the patentability of any challenged claim or the
construction of any claim term.

                                  IV. ORDER
      Upon consideration of the record before us, it is, therefore,
      ORDERED that an inter partes review is instituted as to claims
6, 7, 9, and 10 of the ’290 patent on the following grounds:
      (1) Claims 6, 7, 9, and 10 under 35 U.S.C. § 103(a) as unpatentable
over Natarajan and Neve, and
      (2) Claims 6 and 7 under 35 U.S.C. § 103(a) as unpatentable over
Mahany;
      FURTHER ORDERED that pursuant to 35 U.S.C. § 314(a), inter
partes review of the ’290 patent is hereby instituted commencing on the
entry date of this Decision, and pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4, notice is hereby given of the institution of a trial;
      FURTHER ORDERED that no other grounds set forth in the Petition
as to claims 6, 7, 9, and 10 of the ’290 patent are authorized.




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Patent 6,128,290

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  UNITED STATES PATENT AND TRADEMARK OFFICE
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   BEFORE THE PATENT TRIAL AND APPEAL BOARD
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                      APPLE, INC.,
                       Petitioners,

                            v.

       DSS TECHNOLOGY MANAGEMENT, INC.,
                  Patent Owner.

                      ____________

                  Case: IPR2015-00373
                 U.S. Patent No. 6,128,290

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     PATENT OWNER DSS TECHNOLOGY, INC.’S
            RESPONSE TO PETITION




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                 PATENT OWNER’S LIST OF EXHIBITS

DSS-2001     U.S. Patent No. 5,699,357

DSS-2002     Definition of “e.g.,” Black’s Law Dictionary (9th ed. 2009)

DSS-2003     Myk Dormer, Low Duty Cycle?, Electronics World Magazine, Dec.
             2008, available at http://www.radiometrix.com/files/additional/Low-
             Duty-Cycle.pdf

DSS-2004     U.S. Pat. No. 7,558,232

DSS-2005     U.S. Pat. No. 7,092,762

DSS-2006     U.S. Pat. No. 7,049,620

DSS-2007     U.S. Pat. No. 8,837,653

DSS-2008     U.S. Pat. No. 8,727,561

DSS-2009     Definition of “burst,” Chambers Dictionary of Science and
             Technology (1st ed. 1999)

DSS-2010     Tom Sheldon, Encyclopedia of Networking & telecommunications,
             549, (Lisa Wolters-Broder ed., McGraw Hill 2001)

DSS-2011     U.S. Pat. No. 3,598,914

DSS-2012     U.S. Pat. No. 6,983,031

DSS-2013     Yurcik, William J., Serial and Parallel Transmission. Computer
             Sciences. 2002. Encyclopedia.com, available at
             http://www.encyclopedia.com

DSS-2014     Asynchronous HDLC MC68360 ASYNC HDLC Protocol Microcode
             User’s Manual, 8, (Freescale Semiconductor, Inc. 1996)

DSS-2015     Transcript of 08-27-2015 Deposition Testimony of Dr. Jack Duane
             Grimes


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DSS-2016     Declaration of Mr. Robert Dezmelyk

DSS-2017     Wmat Auppu, AIF Inter DSP Communication, 1, available at
             http://processors.wiki.ti.com/index.php/AIF_Inter_DSP_Communica
             tion




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I. INTRODUCTION


      On June 25, 2015, the Board instituted trial with respect to claims 6, 7, 9, and

10 of the U.S. Patent No. 6,128,290 (“the ‘290 Patent”) (APL 1001) owned by DSS

Technology Management, Inc., (“Patent Owner”). Specifically, the Board instituted

trial based on a single ground:

      (1) obviousness of claims 6, 7, 9, and 10 under 35 U.S.C. §103(a) based on

          U.S. Pat. No. (“Natarajan”) (APL 1003) in view of U.S. Pat. No (“Neve”)

          (APL 1004);

      (2) obviousness of claims 6 and 7 under 35 U.S.C. §103(a) based on U.S. Pat.

          No. 5,696,903 (“Mahany”) (APL 1010).

      Patent Owner submits this Response to the invalidity challenge listed above.

For the reasons set forth below, the Board should find claims 9 and 10 patentable

over Natarajan in view of Neve.


II. RELATED IPR PETITION


      Petitioner filed another IPR petition against claims 1-4 of the ‘290 Patent in

case IPR2015-00369. The Board’s decision in the present case is likely to be

pertinent to case IPR2015-00369.



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III.   PATENT OWNER DISCLAIMED CLAIMS 6 AND 7

       On October 5, 2015, Patent Owner filed a disclaimer under 37 C.F.R. 1.321(a)

disclaiming claims 6 and 7 of the ‘290 Patent. Accordingly the challenges to these

claims are rendered moot. Patent Owner disclaimed claims 6 and 7 to increase

administrative efficiency of this proceeding. The disclaimer is not an admission that

claims 6 and 7 were rendered obvious by either Natarajan in view of Neve or

Mahany.


IV. OVERVIEW OF THE INVENTION CLAIMED IN THE ‘290 PATENT

       In its summary of the ‘290 Patent, Petitioner omitted several material elements

of the claimed invention. The following overview provides a brief summary of the

prior art and a concise description of the data network system disclosed and claimed

in the ‘290 Patent, focusing on the elements Petitioner failed to discuss.

       A. Summary of the prior art

       At the time of filing of the ‘290 Patent, wireless data networks had several

major shortcomings. The accepted convention in wireless data networks was to

partition a multiaccess protocol into fixed-length frames, wherein each frame is

further divided into the following subframes: (1) outbound transmission period for

broadcast of data from server unit to Peripheral units, (2) inbound contention-free

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traffic for the contention-free transfer of all transmissions from Peripheral units to

the server unit, and (3) inbound contention traffic for the transfer of data traffic in a

contention mode from Peripheral units to the server unit. See APL 1003, Natarajan

at 4:30-38. A server unit would transmit to peripheral units during the outbound

transmission period and receive transmissions from peripheral units during the time

periods designated for inbound data traffic. See id.

      During the outbound transmission period, the server would transmit a

continuous data stream which comprises data packets addressed to peripheral units

and idle words when no other transmission is needed. See, e.g., DSS 2010,

Encyclopedia of Networking, at pg. 549 (“If no data is being transmitted, this same

sequence is continuously transmitted so the end systems remain synchronized.”); see

also APL 1004, Neve at 4:48-50 (disclosing that the server unit transmits “idle

words” when no active data transmission is scheduled); DSS-2016, Dezmelyk Dec.

at ¶ 38. Idle words are important to operability of such systems because idle

transmissions maintain synchronization between the server unit and the Peripheral

units. See DSS-2010, Encyclopedia of Networking, at pg. 549; see also DSS-2015,

Grimes Cross-Exam at 43:20-22 – 44:1-7. The following is a brief explanation of

the idle word transmissions and the advantages they provide:



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             idle words are injected by the terminal whenever there are
             no data words available to be transmitted. In some
             applications, this approach is found to be desirable
             because it avoids the necessity of bringing the transmitting
             and receiving ends of the signaling channel into
             synchronization each time the stream of actual data words
             is interrupted as when there is no data to be sent. Since the
             system is in continuous operation, delays occasioned by
             the need to resynchronize may largely be avoided.

             DSS-2011 at 1:14-22.

      In such data networks, the server transmitter would transmit a continuous data

stream during the outbound transmission period. See DSS-2016, Dezmelyk Dec. at

¶ 28. The peripheral units would schedule to wake themselves up at designated times

to receive data segments within the data stream addressed to them and power down

after the data is received. See, e.g., APL 1003, Natarajan at 5:2-4. In such a system,

it is only necessary to ensure that each peripheral receiver is energized at an

appropriate time to receive the designated data segment within the continuous data

stream. See DSS-2016, Dezmelyk Dec. at ¶ 28. This scheme is advantageous because

it does not require that the server transmitter be energized at the exact time for each

individual transmission—instead, the server transmitter remains energized for the

duration of the outbound transmission period, and the peripheral units are timed to


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listen in at appropriate times. See id. If no data has to be transmitted in a particular

time slot, the server transmits idle signals. See APL 1004, Neve at 4:48-50.

      The data networks that existed prior to the ‘290 Patent had two major

drawbacks. First, a server-PEA ensemble in which the server transmitter operates in

a continuous or a high duty cycle is likely to interfere with nearby foreign ensembles.

See DSS-2016, Dezmelyk Dec. at ¶ 19. By transmitting idle words when no data

transmission is necessary, the likelihood of collisions between the transmission of

two nearby ensembles increases: the longer the duration during which the transmitter

is energized, the higher the likelihood that at some point during that transmission

period a signal coming from a nearby second ensemble will interfere with the signal

transmitted by the first ensemble. See id. Second, in applications where the server

unit is battery-operated, transmission of idle words, in addition to an active

transmission of useful data packets, significantly increases power consumption

making the data network unsuitable for low-power applications. See id. at ¶ 29; see

also APL-1002 at pg. 11.

      B. Summary of the ‘290 Patent and its advancement over the prior art

      The ‘290 Patent discloses and claims a data network system that improves

bidirectional wireless data communications between a server microcomputer unit


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and a plurality of peripheral units. See APL 1001, ‘290 Patent at 1:11-14. At the time

of invention, two major issues hindered widespread adoption of wireless data

communication systems: (1) short battery life and (2) interference from other

wireless data systems operating nearby. See id. at Abstract. The ‘290 Patent

advanced the state of the art by ameliorating both issues.

      The ‘290 Patent discloses and claims a wireless data system, in which both

the server and peripheral transmitters are energized in low duty cycle RF bursts. See

id. at claim 9. This feature of the claimed invention achieves two important

objectives: (1) it reduces power usage for both the server and the peripheral units

because the server transmitter is only energized when the server must transmit data;

and (2) it reduces the likelihood of interference between nearby wireless ensembles

because the server transmits signals only during scheduled communications with a

peripheral unit. See id. at 1:59-61. The specification of the ‘290 Patent explains that

“[i]f during a particular bit period, two RF bursts are being simultaneously received,

one from a transmitter in the home ensemble and the other from a foreign ensemble,

the receiver will ‘capture’ only the data received from the stronger of two

transmitters.” Id. at 6:36-40. Accordingly, by claiming a system in which both the

server and peripheral transmitters operate in low duty cycle RF bursts, the ‘290

Patent significantly reduces the number of transmissions outgoing from the server

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unit, thereby decreasing the likelihood that a nearby foreign ensemble will receive

an unintended data signal. Id. at 1:59-61.

      In sharp contrast to the data network systems described in Section III.A.,

supra, the ‘290 Patent claims a system in which the server transmitter does not

transmit a continuous data stream, but, instead, is energized in low duty cycle RF

bursts only when active data transmissions between the server unit and a peripheral

units are scheduled to occur. See id. at 1:59-61; see also DSS-2015, Grimes Cross-

Exam at 44:9-11 (“[T]he patent only talks about transmissions that are done for the

purpose of conveying useful data to the receiving entity.”). The data network system

disclosed in the ‘290 Patent employs a complex synchronization scheme to achieve

a functioning system in which both the server and peripheral transmitters are

energized in low duty cycle RF bursts. See APL 1001, ‘290 Patent at 10:5-11:8; see

also DSS-2016, Dezmelyk Dec. at ¶ 20. The ‘290 Patent discloses a synchronization

scheme in which the peripheral units are equipped with voltage controlled crystal

oscillators, whose frequencies are aligned with the frequency of the server’s

oscillator to establish precise synchronization between the server unit and the

peripheral unit. See APL 1001, ‘290 Patent at 10:35-61. The synchronization scheme

disclosed in the ‘290 Patent makes it possible for both the server and peripheral

transmitters to be energized only when an active data transmission must occur and

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remain powered down at all other times, thereby achieving “low power consumption

and avoidance of interference between nearby similar systems.” See id. at Abstract;

see also DSS-2016, Dezmelyk Dec. at ¶ 21. This advancement over the prior art is

captured in the following limitation of claim 9: “said server and peripheral

transmitters being energized in low duty cycle RF bursts.”

      The ‘290 Patent explicitly states that its objectives include “provision of such

a data network which requires extremely low power consumption” and “avoids

interference from nearby similar systems.” APL 1001, ‘290 Patent at 1:39-44. The

‘290 Patent achieves these objectives by creating a data network system in which,

inter alia, both “server and peripheral transmitters [are] energized in low duty cycle

RF bursts,” wherein“[t]he low duty cycle pulsed operation both substantially

reduces power consumption and facilitates the rejection of interfering signals.” Id.

at claim 9 (emphasis added) and at 1:59-61.


V. CLAIM CONSTRUCTION

      The Board generally interprets the claims of an unexpired patent according to

the broadest reasonable interpretation (“BRI”) standard. See 37 C.F.R. § 42.100(b).

In Microsoft Corp. v Proxyconn, Inc., the Federal Circuit provided the following

guidance pertaining to proper application of the BRI standard to claim terms in the

context of an IPR:
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            [T]he protocol of giving claims their broadest reasonable
            interpretation does not include giving claims a legally
            incorrect interpretation. Rather, claims should always be
            read in light of the specification and teachings in the
            underlying patent. The PTO should also consult the
            patent’s prosecution history in proceedings in which the
            patent has been brought back to the agency for a second
            review. Even under the broadest reasonable interpretation,
            the Board’s construction cannot be divorced from the
            specification and the record evidence, and must be
            consistent with the one that those skilled in the art would
            reach. A construction that is unreasonably broad and
            which does not reasonably reflect the plain language and
            disclosure will not pass muster.

            Microsoft Corp. v Proxyconn, Inc., 789 F.3d 1292, 1298
            (Fed. Cir. 2015) (internal quotations omitted) (emphasis
            added).



      1. Claim construction the Board applied in the Institution Decision

      In the Institution Decision, the Board held that: “it is not necessary for our

determination of whether to institute inter partes review of claims 1–4 of the ’290

patent to construe expressly the phrases ‘code sequence’ and ‘energized in low duty

cycle RF bursts.’” Institution Decision at pg. 10. The Board also found that “Claims

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1–4 do not recite any requirement that the server transmitter must be “powered OFF”

during the time slots when no active transmission between the server and peripheral

units occurs; nor is such required by the plain and ordinary meaning of the claim

phrase ‘energized in low duty cycle RF bursts.’” Institution Decision at pg. 18-19.

This finding is inconsistent with the record before the Board because this finding

contradicts construction proposed by Patent Owner, Petitioner’s statements, and

testimonies of both parties’ experts.

      Although Petitioner did not provide an explicit construction for “low duty

cycle RF bursts,” both Petitioner and Petitioner’s expert stated the following: “the

transmitter (or receiver) consumes power only when it is actively transmitting a

message (or actively receiving a message). This constitutes low duty cycle RF

bursts.”)” See Petition at pg. 39 and APL 1008 at ¶115 (internal quotations omitted)

(emphasis added). Mr. Dezmelyk, the expert for Patent Owner, also testified that the

server transmitter remaining energized when it is not actively transmitting data to

the peripheral units is inconsistent with a low duty cycle operation. See DSS-2016,

Dezmelyk Dec. at ¶ 35. Therefore, although claims 9 and 10 do not explicitly require

that the server transmitter be energized only when it is actively transmitting a

message and powered down when there is no data to transmit, this requirement is




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imposed by the “energized in low duty cycle RF bursts limitation.” See Petition at

pg. 39; see also APL 1008 at ¶115; DSS-2016, Dezmelyk Dec. at ¶ 36.




       2. Low duty cycle

       “Low duty cycle” is a term of art in wireless communication data networks.

Under broadest reasonable interpretation, a POSITA would have understood “duty

cycle” of the server transmitter as “the ratio of actual duration during which the

server transmitter is energized to the total duration designated for outbound

transmissions.”

       This construction is consistent with the one provided by Petitioner’s expert:

“[t]he low-duty cycle refers to the ratio of the time spent transmitting versus the

time spent nontransmitting.” DSS-2015, Grimes Cross-Exam at 41:7-9. “Low-duty

cycle tells you that most of the time there's nothing being sent. And when there is

something being sent, that's what's called a burst.” Id. at 31:10-12. “[T]he key thing

is that the burst is small -- the time it takes is small relative to the overall time that

the transmitter could have been transmitting.” Id. at 46:12-15 (emphasis added);

see also DSS-2016, Dezmelyk Dec. at ¶ 27. Accordingly, the duty cycle of the

server transmitter must be calculated over the total duration designated for the

outbound transmissions. See DSS-2016, Dezmelyk Dec. at ¶ 23. Time slots
                                            11


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designated for the inbound data traffic are not taken into account because the server

transmitter could not have been transmitting during these time slots. See DSS-

2015, Grimes Cross-Exam at 60:19-22 (“[W]hen the units are receiving

information, their respective transmitters can't be operating. If they were, they

would not be able to receive information.”); see also DSS-2016, Dezmelyk Dec.

at ¶ 23.

       Under the broadest reasonable interpretation, a POSITA would have

understood that a server transmitter is energized in a low duty cycle when the

server transmitter is energized for less than ten percent (10%) of the total duration

designated for outbound transmissions. See DSS-2016, Dezmelyk Dec. at ¶ 24.

This range is consistent with the specification of the ‘290 Patent. See id. For

example, for the outbound transmissions involving Optically Orthogonal Codes,

the ‘290 patent discloses that “a maximum of three RF bursts can occur in each

section,” wherein each section comprises sixty-four (64) slots. See APL 1001, ‘290

Patent at 7:23-33, see also DSS-2016, Dezmelyk Dec. at ¶ 26. This scheme results

in the server transmitter being energized for 4.688% of the transmission period,

which falls well within the low-duty cycle range of 10%. See APL-1001 at 7:22-

32. Another example of outbound transmission disclosed in the ‘290 Patent

involves transmission of synchronization beacons (SBs): “[e]ach SB consists of


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eight RF bursts spread out over 252 slots.” Since each burst equals to one slot, the

server transmitter is energized in the duty cycle of 3.175%, which also falls within

the low duty cycle range of 10%.

        Furthermore, Table 1 provided below, contains results of a survey of

exemplary ranges for “low duty cycle” as this term is used in the art, which is

evidence of how a POSITA would interpret the terms “low duty cycle.”1

        Table 1. Exemplary ranges of “low duty cycle” in third party patents
    Exhibit      Patent No.            Duty cycle (%)                         Citation
    DSS-2004     U.S. 7,558,232        “low duty cycle, e.g. 2%”              4:13-16
                                       “high duty cycle, e.g. 25%”
    DSS-2005     U.S. 7,092,762        “low duty cycle, e.g., 4% or           2:21-22
                                       less”
    DSS-2006     U.S. 7,049,620        “low duty cycle, e.g., 0.5             8:3
                                       percent”
    DSS-2007     U.S. 8,837,653        “low duty cycle (e.g., a duty          10:52-
                                       cycle of less than 10 percent, 1       53
                                       one percent, 0.1 percent or 0.02
                                       percent)”
    DSS-2008     U.S. 8,727,561        “low duty cycle, e.g., at an           10:5-6
                                       about 10 percent (10%) duty
                                       cycle”


        3. RF bursts




1
 Search Methodology: Table 1 provides the first five (5) relevant results obtained on Google
Patents through the query: “low duty cycle e.g.” & network & percent.
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      “RF bursts” is a term of art in the field of wireless data networks. Under the

broadest reasonable interpretation, a POSITA would have understood the phrase

“RF bursts” to mean “a short period of intense activity on an otherwise quiet data

channel.” See DSS-2009.

      This construction is consistent with the one provided by Petitioner’s expert:

“the key thing is that the burst is small -- the time it takes is small relative to the

overall time that the transmitter could have been transmitting.” See DSS-2015,

Grimes Cross-Exam at 46:12-15 (emphasis added). Furthermore, this construction

is also consistent with the specification of the ‘290 Patent. For example, FIG. 6

shows that three (3) RF bursts are transmitted during an outbound transmission

sector having 64 time slots, wherein each RF burst slot is 2 µs.2 See APL-1001 at

Fig. 6; see also DSS-2015, Grimes Cross-Exam at 34:2-8 (“[T]here's a Figure 6 in

the specification that shows how these bursts occur and gives you kind of a spatial

image of the -- of these bursts. And you can see from looking at the picture that

most of the time nothing is being transmitted, nothing is being received.”).




2
 It should be noted that prosecution history of the ‘290 Patent illustrates the
original informal drawings stated that RF burst slot = 2 µsec, when the drawings
were formalized, “µsec” was changed to “MSEC.” See APL 1005 at pg. 76.
                                           14


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      In the exemplary embodiment depicted in Fig. 6, the duration of a single RF

burst accounts for        100%     1.563% of the outbound transmission section,

thereby satisfying the construction of the term “RF burst” provided herein. See

DSS-2016, Dezmelyk Dec. at ¶ 26. The duty cycle of the embodiment depicted in

Fig. 6 can be calculated as      100%    4.688%, which also satisfies the low duty

cycle requiremnt. See id. at ¶ 24. Therefore, the constructions for “low duty cycle”

and “RF bursts” provided herein are supported by the specification of the ‘290

Patent. See id. at ¶ 24-26.



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VI. PETITIONER HAS FAILED TO PROVE THAT CLAIMS 9 AND 10 OF
    THE ‘290 PATENT ARE UNPATENTABLE

      A. Claims 9 and 10 are not rendered obvious by Natarajan in view of
         Neve

      The Board instituted this trial on the ground that there is a reasonable

likelihood that claims 9 and 10 of the ‘290 Patent are rendered obvious by Natarajan

in view of Neve. For the reasons that follow, the Board should uphold validity of all

challenged claims.

             1. Natarajan does not teach or suggest that the server transmitter
                is energized in low duty cycle RF bursts

                     a. Natarajan is silent with respect to operation of server
                        transmitter during outbound data traffic periods

      It is well established in the United States patent law that challenges on

obviousness grounds cannot be sustained by mere conclusory statements. See KSR

Int'l Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007) (quoting In re Kahn, 441 F.3d

977, 988 (Fed. Cir. 2006)). Instead, “there must be some articulated reasoning with

some rational underpinning to support the legal conclusion of obviousness.” Id. As

the Federal Circuit eloquently stated: “[o]bviousness requires a court to walk a

tightrope blindfolded (to avoid hindsight) – an enterprise best pursued with the safety




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net of objective evidence.” See Mintz v. Dietz & Watson, Inc., 679 F. 3d 1372, 1379

(Fed. Cir. 2012).

      Natarajan does not contain any disclosure of the server transmitter being

energized in low duty cycle. See DSS-2016, Dezmelyk Dec. at ¶ 31. Although

Natarajan teaches a system for reducing power consumption in mobile units,

Natarajan is silent regarding the operation of the base unit’s transmitter. See id. It is

well understood in the art that although the base unit and mobile units may be

structured similarly, the base and mobile units operate under different schemes. See,

e.g., APL 1004, Neve, at 4:10-12 (“One station, which is physically similar to the

others but operates a different stored program, may be designated the master station

and provides synchronisation signals for all of the other stations (referred to

hereinafter as “slave” stations) and controls access of the stations to the single radio

channel.”). Accordingly, a POSITA would not have concluded that base transmitters

operate the same way as the mobile units. See DSS-2016, Dezmelyk Dec. at ¶ 31.

Indeed, Natarajan discloses that its objective is to provide energy savings for the

mobile units, but does not teach or suggest that there are any energy savings

associated with operation of the base unit’s transmitter. See APL 1003 at 3:59-61

and 10:14-37, See DSS-2016, Dezmelyk Dec. at ¶ 32. For this reason, the base unit’s



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transmitter could operate continuously during the time slots designated for outbound

traffic without undermining the objectives of Natarajan. See id. at ¶ 38.

      Natarajan discloses a multi-access protocol in which time is divided into

fixed-length frames that are further subdivided in three (3) subframes:

             Period A for broadcast of packets from base station to
             mobile units (outbound traffic), with a header AH for
             period A. Period B for the contention-free transfer of all
             traffic from mobile units to base station (inbound traffic),
             with a header BH for period B. Period C for the transfer of
             all bursty data traffic in a contention mode from mobile
             units to base station (inbound traffic), with a header CH.
             APL 1004, Natarajan at 4:30-38.
      An example of a frame is provided in FIG. 4 of Natarajan, which is reproduced

below:




      FIG. 4 depicts a single frame of the multi-access protocol, which begins with

a header G of fixed length FH. See id. at 4:27-28. Natarajan discloses that outbound

transmission from the base unit to the mobile units takes place during time Period

A. See id. at 4:30-32. Period B is designated for inbound data traffic from mobile


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units to the base unit. See id. at 4:33-35. During Period C, mobile units transmit data

to the base unit in a contention mode, and, responsive to a mobile unit’s transmission,

the base unit transmits an outbound ACK/NAK message. See id. at 9:30-34.

Accordingly, the base transmitter must be energized during header durations AH and

BH, during outbound transmission Period A, and also when sending ACK/NAK

messages during Period C. The only subframe during which the base transmitter is

not transmitting is Period B. See DSS-2016, Dezmelyk Dec. at ¶ 32.

      Without additional information regarding “the relative amount of time

consumed by transmission versus nontransmission”—which Natarajan does not

provide—the disclosure pertaining to partitioning of multi-access protocol into

frames and subframes does not teach or suggest that base transmitter operates in a

low-duty cycle. See DSS-2015, Grimes Cross-Exam at 40:21-22 – 41:1 (“So low-

duty cycle is simply a statement about the relative amount of time consumed by

transmission versus nontransmission.”); see also DSS-2016, Dezmelyk Dec. at ¶ 36.

Natarajan is bereft of any disclosure pertaining to the duty cycle of the server

transmitter. See id. at ¶ 38. Specifically, Natarajan does not disclose that the server

transmitter is energized in a low duty cycle. The logical conclusion is that in the data

network system disclosed in Natarajan, the base transmitter is continuously

energized during the time periods designated for outbound transmissions—which is

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how a POSITA would interpret Natarajan for the reasons provided in Section V.1.b.,

infra. Therefore, a POSITA would conclude that Natarajan suggests that the server

transmitter is not energized in low duty cycle RF bursts. See DSS-2016, Dezmelyk

Dec. at ¶ 38.

      In the absence of an express disclosure stating that the base transmitter

operates in a low duty cycle, it is necessary to know “the relative amount of time

consumed by transmission versus nontransmission” to determine whether the duty

cycle of the base transmitter falls within the range that a POSITA would consider as

low duty cycle. See DSS-2015, Grimes Cross-Exam at 40:21-22 – 41:1. Natarajan

lacks this information. See DSS-2016, Dezmelyk Dec. at ¶ 32. The description of

the only exemplary embodiment disclosed in Natarajan would lead a POSITA to a

conclusion that at least in that exemplary embodiment, the base unit transmitter is

not energized in a low duty cycle. See id. at ¶ 35. Accordingly, Natarajan neither

teaches that the base transmitter operates in a low duty cycle nor provides sufficient

information that would suggest to a POSITA the base transmitter is energized in a

low duty cycle.

                   b. The HDLC packet structure disclosed in Natarajan is
                      inconsistent with a server transmitter being energized in low
                      duty cycle RF bursts.



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      As explained in Section V.A.1.a., supra, Natarajan is devoid of disclosure

pertaining to operation of base unit’s transmitter. However, Natarajan does provide

some insight into how the base unit’s transmitter operates in the following

description:

               Packets received or to be sent are held in data storage 68
               and communicated to or from the RF transceiver 54 via
               interface 58 under control of serial channels and a direct
               memory access (DMA) controller (not shown) which is
               part of the microprocessor 62. The function of these serial
               channels is to encapsulate data and control information
               in an HDLC (high-level data link control) packet
               structure and provide the packet in serial form to the RF
               transceiver 54.
               APL 1003, Natarajan at 3:28-37 (emphasis added).

      It is well-known in the art that HDLC is an example of a bit-oriented framing

that involves a continuous outbound transmission rather than operation in low duty

cycle RF bursts. The following is an excerpt from Encyclopedia of Networking &

Telecommunications pertaining to bit-oriented framing:

               Bit-oriented framing This type of framing allows the
               sender to transmit a long string of bits at one time. IBM's
               SDLC (Synchronous Data Link Control) and HDLC (High
               Level Data Link Control) are examples of bit-oriented
               protocols. Most LANs use bit-oriented framing. There is
               usually a maximum frame size. For example, Ethernet has
               a maximum frame size of 1,526 bytes. The beginning and
               end of a frame is signaled with a special bit sequence

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             (01111110 for HDLC). If no data is being transmitted,
             this same sequence is continuously transmitted so the
             end systems remain synchronized.
             DSS-2010, Encyclopedia of Networking at pg. 549.

      As the excerpt quoted above indicates, HLDC packet structure is used to

transmit “long strings of data at one time.” See id. When asked to define an “RF

burst,” Petitioner’s expert explained that “the key thing is that the burst is small --

the time it takes is small relative to the overall time that the transmitter could have

been transmitting.” DSS-2015, Grimes Cross-Exam at 46:12-15. Accordingly,

Natarajan’s disclosure of HDLC, which is used for transmitting “long strings of data

at one time,” directly contradicts the requirement of claim 9 of the ‘290 Patent that

server transmitters be energized in RF bursts.

      Moreover, HDLC involves continuous transmissions in which special bit

sequences—i.e. idle words—are transmitted when no data transmission is required.

See DSS-2010, Encyclopedia of Networking at pg. 549. This undermines the

Petitioner’s challenge of claims 9 and 10 for two reasons. First, a continuous

transmission is an antithesis of RF bursts. See id. (contrasting bit-oriented framing

involving continuous transmissions and clock-oriented framing involving pulsed

transmissions); see also DSS-2016, Dezmelyk Dec. at ¶ 34. Second, protocols

involving transmission of idle words in an absence of active transmissions are
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inconsistent with server transmitter operating in a low-duty cycle because such

protocols extend the duration during which the server transmitter is energized. See,

e.g., APL-1002 at pg. 11 (stating that continuous transmission protocols are

“unsuitable for low-power applications” because “[m]aintaining these continuous

links while there is no data transmission causes the power dissipation to be higher”);3

see also Petition at pg. 39 (“[T]he transmitter (or receiver) consumes power only

when it is actively transmitting a message (or actively receiving a message). This

constitutes low duty cycle RF bursts.”) (internal quotations omitted) (emphasis

added).

                    c. Natarajan’s disclosure of “bursty traffic” during the
                       contention period does not teach or suggest that the server
                       transmitter is energized in RF bursts
      In support of Petitioner’s contention that Natarajan in view of Neve teaches

or suggests the server and peripheral transmitters being energized in RF bursts,

Petitioner stated the following: “Natarajan also discloses that there is a period “for

the transfer of all bursty data traffic in a contention mode from mobile units to base


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  It should be noted, that the “continuous transmission” discussed in this section
pertains to outbound transmission subframe during Period A disclosed in
Natarajan. Patent Owner acknowledges that the operation of the base transmitter is
not continuous over the entire frame because the base transmitter is powered down
during inbound traffic in Period B. However, just because the base transmitter is
powered down during a certain subframe, does not mean that the base transmitter
is “energized in low duty cycle RF bursts.”
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station (inbound traffic), with a header CH.” Petition at pg. 39 (quoting Natarajan)

(emphasis in original). This disclosure of Natarajan, however, does not teach or

suggest that that the server transmitter is energized in RF bursts at least for two

reasons. First, Natrajan’s disclosure of “bursty data traffic” pertains to the contention

period which is designated for inbound traffic from mobile units to the base unit, and

therefore, does not teach or suggest that this type of traffic also applies to the

outbound data traffic. See DSS-2016, Dezmelyk Dec. at ¶ 37.

       Second, arguendo, even if the “bursty data traffic” pertained to the outbound

data traffic, just because the traffic is bursty does not mean that the transmitter is

energized in RF bursts. See id. In fact, “the easiest approach to implement bursty

traffic would be to have the AIF transmitter continuously send dummy data, and

insert useful data when there is actually something to send.” DSS-2017 at pg. 1. This

approach closely aligns with the HDLC protocol, which also involves server

transmitter continuously sending out a data stream wherein idle words are

transmitted when there is no actual data to transmit. See Section V.A.1.c., supra.

Accordingly, Natarajan’s disclosure of “bursty data traffic” does not teach or suggest

that the server transmitter is energized in RF bursts. See DSS-2016, Dezmelyk Dec.

at ¶ 37.



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                    d. Petitioner failed to meet its burden of establishing that
                       Natarajan in view of Neve teaches or suggests that the server
                       transmitter is energized in low duty cycle RF bursts
      Petitioner failed to satisfy its burden of establishing that Natarajan in view of

Neve teaches or suggest server transmitter being energized in low duty cycle RF

bursts. The Petition does not adequately address a material limitation of claim 9:

“said server and peripheral transmitters being energized in low duty cycle RF

bursts.” APL 1001, ‘290 Patent at claim 9. Petitioner quotes disclosures of Natarajan

and Neve teaching that the transmitters of the peripheral units (i.e. mobile units,

slave stations) are energized in low duty cycles. See Petition at pg. 39-40. Petitioner,

however, does not provide any objective evidence that could reasonably lead to a

conclusion that these references also disclose that the transmitter of the server unit

(i.e. base unit, master station) is also energized in low duty cycle RF bursts.

      Based on Petitioner’s analysis of Natarajan’s and Neve’s disclosures

pertaining to operation of the peripheral units, Petitioner concludes that “Natarajan

and Neve each disclose that the transmitters are ‘energized in low duty cycle RF

bursts.’” Id. (emphasis added). Petitioner, therefore, completely ignores the fact that

claim 9 does not merely recite “transmitters,” but rather, it explicitly requires “said

server and peripheral transmitters being energized in low duty cycle RF bursts.”

APL 1001, ‘290 Patent at claim 9. Neve discloses that although the server unit and


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peripheral units may have similar structures, their functionalities are different. See

APL 1004, Neve at 4:10-15 (“One station, which is physically similar to the others

but operates a different stored program, may be designated the master station and

provides synchronisation signals for all of the other stations (referred to hereinafter

as “slave” stations) and controls access of the stations to the single radio channel.”)

(emphasis added); id. at FIGS. 6 and 7. Accordingly, it is improper to conclude that

just because the peripheral transmitters operate in a low duty cycle, the server

transmitter also operates in a low duty cycle. See DSS-2016, Dezmelyk Dec. at ¶ 39.

      Petitioner states that a data network in which “the transmitter (or receiver)

consumes power only when it is actively transmitting a message (or actively

receiving a message) . . . constitutes ‘low duty cycle RF bursts.’” See Petition at pg.

39 (emphasis added); see also APL 1008, Grimes Dec. at ¶115. Even under this

construction, Natarajan and Neve do not provide disclosure sufficient to render

obvious claim limitation requiring that server transmitter is “energized in low duty

cycle RF bursts.” See DSS-2016, Dezmelyk Dec. at ¶ 43. In fact, Natarajan teaches

using HDLC, the functionality of which is summarized in the Encyclopedia of

Networking and Telecommunications: “[i]f no data is being transmitted, this same

sequence is continuously transmitted so the end systems remain synchronized.”

DSS-2010, Encyclopedia of Networking at pg. 549. Neve discloses a similar data

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network protocol in which “[i]f no data is currently required to be transmitted, the

master station transmits idle words.” APL 1004, Neve at 4:48-50. Accordingly,

even under Petitioner’s construction, Natarajan and Neve do not disclose server

transmitter operating in low duty cycles because in both Natarajan and Neve, the

server transmitter consumes power not only while it is actively transmitting a

message, but also when it is transmitting idle signals to maintain synchronization.

See DSS-2016, Dezmelyk Dec. at ¶ 45.

      The U.S. Supreme Court set forth that “there must be some articulated

reasoning with some rational underpinning to support the legal conclusion of

obviousness.” KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007). Petitioner’s

arguments fall far short of this legal standard and, therefore, are insufficient to

establish that claims 9 is rendered obvious by Natarajan in view of Neve.

            2. Combining Natarajan with Neve does not cure deficiencies of
               Natarajan and further suggests that the combination of these
               references does not teach or suggest that server transmitter is
               energized in low duty cycle RF bursts

                   a. Petitioner’s expert distinguished Neve from transmissions
                      involving RF bursts

      Claim 9 of the ‘290 Patent unambiguously requires that server transmitter be

“energized in low duty cycle RF bursts.” During the cross-examination, Petitioner’s


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expert distinguished data networks using “idle words”—such as the one disclosed in

Neve—from RF bursts:

             Q.    Is there any other type of transmission besides RF
             bursts?
                   MR. CORNWELL:               Objection.    Foundation.
             Objection. Form.
             A.    There are sometimes in some systems where you
             can have a transmission -- in other words, the transmitter
             is transmitting, but there's no information being
             transmitted.
                   The Neve reference refers to that as an idle word, if
             you will. And the idle word means that the transmitter is
             transmitting but there's no information being transmitted.
             Or another way of saying it is that the information that's
             being transmitted is that there's no information there.
             DSS-2015, Grimes Cross-Exam at 42:9-22 (emphasis
             added).


      The above testimony of Petitioner’s expert reinforces that Neve does not teach

or suggest that server transmitter operates in RF bursts. Instead, the expert testimony

reinforces that Neve discloses a data network in which the server transmitter send

out idle words if no other transmission is needed rather than being energized in RF

bursts only when a data packet must be transmitted to a peripheral unit. See APL

1004, Neve at 4:48-50.




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      Petitioner’s expert further testified that although idle transmissions may be

necessary to maintain synchronization in the some data networks, this not how the

‘290 Patent operates. See DSS-2015, Grimes Cross-Exam at 43:20-22 – 44:1-11.

Petitioner’s expert stated the following in response to a question about the purpose

of idle words:

                  It could be -- it could have to do with
            synchronization. It could have to do with, you know, the
            transmitter saying, I'm still here.
                  I mean, in some sense, that’s information. But if you
            look at the data stream, there's no content to the data
            stream. It's just simply you know the transmitter is
            transmitting, but that's all you know.
                   Now, in some cases, that turns out to be important
            to know. But in the case of this system here, the patent,
            it's not discussed.
                  So the patent only talks about transmissions that
            are done for the purpose of conveying useful data to the
            receiving entity.
            Id. (emphasis added).



      The testimony of Petitioner’s expert reinforces that Neve and the ‘290 Patent

operate under functionally different protocols: claim 9 of the ‘290 Patent requires

that the server transmitter be energized in low duty cycle RF bursts only when an

active data transmission is required, whereas Neve discloses that the server


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transmitter (master station) transmits a data stream in which idle words are

transmitted when no data transmission is required. See APL 1004, Neve at 4:48-50,

7:17-19, and 7:41-42.

                    b. Neve does not teach or suggest that server transmitter is
                       energized in low duty cycle RF bursts
      In the Institution Decision, the Board found that Neve does not teach away

from the server transmitter being energized in low duty cycle RF bursts because the

disclosure of Neve does not suggest continuous transmission from the master station.

See Institution Decision at pg. 19-20. The Board’s finding is correct insofar as the

server transmitter is not transmitting during every time slot. See DSS-2016,

Dezmelyk Dec. at ¶ 44. However, during the time slots designated for outbound

transmissions, “[i]f no data is currently required to be transmitted, the master station

transmits idle words.” See APL 1004, Neve at 4:48-50.

      Idle words are inconsistent with server transmitter being energized in low duty

cycle RF bursts for the following two reasons. First, the server transmitter must be

energized while it is actively transmitting data to peripheral units, and additionally,

it must also be energized during transmission of idle words. See DSS-2015, Grimes

Cross-Exam at 38:2-6 (“[B]eing energized simply means that the transmitter is

transmitting. The transmitter is either transmitting or it’s not transmitting. When it’s


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transmitting, it’s energized.”). Transmission of idle words, therefore, increases the

power consumption of the server transmitter and reduces its battery life. See DSS-

2016, Dezmelyk Dec. at ¶ 38. Second, transmission of idle signals may interfere with

the signals transmitted by nearby foreign ensembles, which could disrupt the

operation of both data networks. See id. at ¶ 19. At least for these reasons, protocols

involving idle words are inconsistent with the server operating in low duty cycle RF

bursts because transmission of idle words undermines the following objectives of

low duty cycle RF bursts: “[t]he low duty cycle pulsed operation both substantially

reduces power consumption and facilitates the rejection of interfering signals.” APL

1001, ‘290 Patent at 1:59-61

                    c. Neve reinforces the conclusion that Natarajan does not teach
                       or suggest the server transmitter being energized in low duty
                       cycle RF bursts

      When Natarajan is considered in view of Neve, it becomes even more

apparent that these references, either individually or in combination, do not teach or

suggest that server transmitter is energized in low duty cycle RF bursts. See DSS-

2016, Dezmelyk Dec. at ¶ 45. Neve discloses that the master station transmits idle

words when no other transmission is required. See APL 1004, Neve at 4:48-50.

Natarajan discloses that data is encapsulated into HDLC packet structure that used



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to provide the packet in serial form to the RF transceiver. See APL 1003, Natarajan

at 3:33-37. Both idle words and HDLC are characteristic to bit-oriented framing:

             Bit-oriented framing This type of framing allows the
             sender to transmit a long string of bits at one time. IBM's
             SDLC (Synchronous Data Link Control) and HDLC
             (High Level Data Link Control) are examples of bit-
             oriented protocols. Most LANs use bit-oriented framing.
             There is usually a maximum frame size. For example,
             Ethernet has a maximum frame size of 1,526 bytes. The
             beginning and end of a frame is signaled with a special bit
             sequence (01111110 for HDLC). If no data is being
             transmitted, this same sequence is continuously
             transmitted so the end systems remain synchronized.
             DSS 2010, Encyclopedia of Networking, at pg. 549.

      As established in Section V.A.1.b, supra, bit-oriented framing is inconsistent

with a server transmitter being energized in low duty cycle RF bursts for the

following reasons. First, under bit-oriented framing, the server transmitter transmits

“long strings of bits at one time,” which contradicts RF bursts. See DSS-2016,

Dezmelyk Dec. at ¶ 34. Second, the server transmitter continuously transmits idle

signals when no data is being transmitted, thereby contradicting a low duty cycle

operation. See id. at ¶ 35.

      The Petition states that a data transmission protocol in which “the transmitter

(or receiver) consumes power only when it is actively transmitting a message (or

actively receiving a message) . . . constitutes ‘low duty cycle RF bursts.’” See
                                         32


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Petition at pg. 39 (emphasis added); see also APL 1008, Grimes Dec. at ¶115.

Accordingly, even under Petitioner’s interpretation of “low duty cycle RF bursts,”

data network systems disclosed in Natarajan and Neve in which the server

transmitter is energized when no data is being transmitted do not teach or suggest

that server transmitter be energized in low duty cycle RF bursts.

      3. The Board should not give any weight to Petitioner’s expert’s
         testimony pertaining to the issue of whether Natarajan in view of Neve
         teaches or suggests that server transmitters are energized in low duty
         cycle RF bursts
       “The Board is capable of taking into account the baselessness of a witness's

testimony, if any, when weighing all of the testimony of the witness.” Liberty Mutual

Insurance Co. v. Progressive Casualty Insurance Co., CBM2013-00009, Final

Written Decision at pg. 47 (Feb. 11, 2014). The Manual of Patent Examining

Procedure (“MPEP”) provides that “[t]he person of ordinary skill in the art is a

hypothetical person who is presumed to have known the relevant art at the time of

the invention.” MPEP 2141.03.I. In this case, Dr. Grimes, Petitioner’s expert, cannot

be considered a person of ordinary skill in the art at least because he has admitted

his unfamiliarity with several key elements of Natarajan and Neve.

      Specifically, when asked about whether he was familiar with HDLC, Dr.

Grimes replied: “I have passing familiarity with HDLC. I’ve certainly heard of it.”


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DSS-2015, Grimes Cross-Exam at 51:6-10. Passing familiarity with a key element

of the prior art is insufficient to render a reliable and well-informed opinion on

whether the prior art renders obvious a patent claim. Dr. Grimes further admitted

that he is unfamiliar with the terms “idle words,” despite this concept being explicitly

discussed in Neve:

                     Q.    Is it possible the transmitter could be sending
             an idle word during that time?

                           MR. CORNWELL: Objection. Form.

                     A.    That's not disclosed at all in Natarajan.

                           BY MR. LYTVYN:

                     Q.    But that's within the knowledge of an
             ordinary person skilled in the art at that time; is that
             correct?

                     A.    This notion of idle words is a weird concept
             that I have not run into before, so I'm not sure that that
             would be understood by a person of ordinary skill in the
             art.

                     When I saw that in Neve, I thought to myself, what
             is this? And I did a little bit of research to try and figure it
             out, and it's weird.



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                   Apparently, it refers to -- according to -- in Neve,
            refers to some kind of a mechanism to let you know that
            the transmitter is still working, even though it's
            transmitting not useful information.

                   It's just transmitting a sequence of 1s or something
            like that.

                   Q.    So your opinion is that a person of ordinary
            skill in the art would not be familiar with that scheme at
            the time of the invention in 1997?

                         MR. CORNWELL: Objection. Form.

                   A.    Yes. That was a new term for me. I certainly
            have never heard this term "idle word" before.

                   I don't believe that a person of ordinary skill would
            understand what it means either.

            DSS-2015, Grimes Cross-Exam at 68:13-22 – 69:1-20 (emphasis
            added)


      In this case, determination of whether Natarajan in view of Neve teaches or

suggests the server transmitters being energized in low duty cycle RF bursts hinges

on proper understanding of “HDLC” and “idle words”—both of which are explicitly

disclosed in the prior art cited against claims 9 and 10 of the ‘290 Patent. See

Sections V.A.1-2, supra. In the testimony quoted above, Dr. Grimes admitted that


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the concepts of “idle words” and “HDLC” fall outside the boundaries of his

expertise. Because Dr. Grimes admittedly does not have requisite knowledge and

understanding of these concepts, he could not have competently analyzed whether

the server transmitter in Natarajan is send out idle words when no active

transmission is required. Accordingly, the testimony of Dr. Grimes on the issue of

whether Natarajan in view of Neve teaches or suggests “said server and peripheral

transmitters being energized in low duty cycle RF bursts” limitation of claim 9 is

unreliable and should not be given any weight.

      For the reasons set forth above, Natarajan in view of Neve do not render claim

9 obvious. Claim 10 depend from patentable claim 9, and therefore are patentable as

a matter of law. See In re Fine, 837 F.2d 1071, 1076 (Fed. Cir. 1988). Accordingly,

the Board should deny Petitioner’s challenge of claims 9-10 based on obviousness

over Natarajan in view of Neve.


      VII. CONCLUSION


      For the reasons set forth above, Petitioner failed to prove by preponderance

of evidence that the challenged claims are unpatentable based on the asserted

grounds for invalidity. Accordingly, the Board should affirm the validity of all

claims 9 and 10 of the ‘084 Patent.


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Date: October 5, 2015                      Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, in accordance with 37 C.F.R. §

42.6(e), the above Patent Owner’s Response and a copy of the Exhibits were

served via electronic mail on October 5, 2015, in their entirety upon the following:



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          UNITED STATES PATENT AND TRADEMARK OFFICE
                      _____________________

           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      _____________________


                                 APPLE INC.
                                  Petitioner

                                     v.

                DSS TECHNOLOGY MANAGEMENT, INC.
                           Patent Owner

                          _____________________

                            Case IPR2015-00373
                              Patent 6,128,290
                          _____________________

        PETITIONER’S REPLY TO PATENT OWNER RESPONSE




Mail Stop “PATENT BOARD”
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                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
                            EXHIBIT LIST

  Apple                                  Description
Exhibit No.
APL 1001      U.S. Patent No. 6,128,290 to Carvey (“the ʼ290 patent”)
APL 1002      T. J. Barber, Jr., “BodyLAN™: A Low Power Communications
              System,” Masterʼs Thesis at Massachusetts Institute of Technol-
              ogy, 1996 (“Barber”)
APL 1003      U.S. Patent No. 5,241,542 to Natarajan (“Natarajan”)
APL 1004      U.S. Patent No. 4,887,266 to Neve (“Neve”)
APL 1005      Prosecution History of U.S. Application No. 08/949,999 (now
              U.S. Patent No. 6,128,290) (“the ’999 application”)
APL 1006      U.S. Application No. 08/611,695 (as-filed) (“the ’695 applica-
              tion”)
APL 1007      Apple’s Claim Construction Brief in Case No. 6:13-cv-00919
              JDL (EDTX)
APL 1008      Declaration of Jack D. Grimes, Ph.D. in Support of Petition for
              Inter Partes Review of U.S. Patent No. 6,128,290 (“Grimes
              Dec.”)
APL 1009      Curriculum Vitae of Jack D. Grimes, Ph.D. (“Grimes CV”)
APL 1010      U.S. Patent No. 5,696,903 to Mahany (“Mahany”)
APL 1011      Deposition Transcript of Robert Dezmelyk, IPR2015-00369 and
              IPR2015-00373, December 15, 2015 (“Dezmelyk Depo.”)
APL 1012      Mischa Schwartz, Telecommunications Networks: Protocols,
              Modeling and Analysis, Addison-Wesley, 1988 (“Schwartz”)
APL 1013      Tom Sheldon, Encyclopedia of Networking & Telecommunica-
              tions, Lisa Wolters-Broder ed., McGraw Hill, 2001 (other ex-
              cerpts submitted as DSS 2010)
APL 1014      Declaration of Dr. Jing Hu (“Hu Dec.”)
APL 1015      Curriculum Vitae of Dr. Jing Hu




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                                                                     IPR2015-00373
                                                              U.S. Pat. No. 6,128,290
I.    Introduction
      Claims 6, 7, 9 and 10 of the ’290 patent at issue in this inter partes review

are merely a combination of well-known concepts. Each and every limitation is ei-

ther expressly disclosed in the prior art or would have been plainly obvious to a

person of ordinary skill in the art (“POSA”).

      DSS’s sole argument in its Patent Owner’s Response is that the combination

of Natarajan and Neve does not teach or suggest a server transmitter that operates

in “low duty cycle RF bursts.” Although this term was not commonplace, the tech-

nical features it describes were well-known to those of ordinary skill in the art.

      DSS’s argument is flawed for at least four reasons. First, Natarajan teaches

or suggests a server transmitter operating in “low duty cycle RF bursts.” Second,

DSS bases its argument on the inaccurate premise that HDLC is inconsistent with

low duty cycle RF bursts. In particular, DSS erroneously assumes that HDLC uses

idle words. Third, DSS uses faulty logic to define “low duty cycle” and imposes an

arbitrary 10% maximum threshold. And fourth, DSS bases its positions on the tes-

timony Mr. Dezmelyk, which lacks credibility, particularly because he admits that

he is not an expert in HDLC.

      Accordingly, DSS’s argument is meritless. Apple has shown by a prepon-

derance of the evidence that claims 6, 7, 9 and 10 of the ’290 patent are unpatenta-

ble and the Board should enter judgment in accordance therewith.



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                                                                  IPR2015-00373
                                                          U.S. Pat. No. 6,128,290
II.    DSS’s statutory disclaimer of claims 6 and 7 is effective as a request for
       adverse judgment against those claims.
       DSS asserts in its Patent Owner’s Response that claims 6 and 7 were dis-

claimed. (POR, p. 2.) On January 5, 2016, DSS filed a Notice of Filing of Statutory

Disclaimer (Paper 18) along with a copy of a “Disclaimer in Patent Under 37 CFR

1.321(a)” dated October 5, 2015, indicating the same. As reflected in the Board’s

Order of January 11, 2016 (Paper 20), the parties had a conference call with the

Board on January 7, 2016 to discuss this matter. The Board indicated that “the dis-

claimer works as an effective cancellation of claims 6 and 7 upon which Petitioner

can rely in preparing its Reply to Patent Owner’s Response.” (Paper 20, p. 2.) Ac-

cordingly, Apple does not address claims 6 and 7 herein, as DSS’s statutory dis-

claimer is effective as requesting adverse judgment against these claims under 37

C.F.R. § 42.73. Any and all estoppels, including the prohibition to pursue any pa-

tentably indistinct claims, therefore apply.

III.   Natarajan teaches or suggests a server transmitter operating in “low
       duty cycle RF bursts,” as recited in claim 9 of the ’290 patent.
       The vague term “low duty cycle RF bursts” is not defined in the ’290 patent.

As the Board correctly recognized in the Institution Decision, under the broadest

reasonable interpretation of this term, Natarajan’s “scheduled multi-access protocol

in which time is divided into fixed-length frames, along with Natarajan’s descrip-

tion of frames being divided into slots and multiple subframes” demonstrates that



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                                      Appx0943
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                                                                    IPR2015-00373
                                                            U.S. Pat. No. 6,128,290
Natarajan discloses “said server and peripheral transmitters being energized in low

duty cycle RF bursts.” (Institution Decision, pp. 16-17; Hu Dec. ¶ 43.) Indeed, like

the ’290 patent, Natarajan discloses that “[s]cheduled access multiaccess protocols

can be implemented to effectively conserve battery power by suitable control of

the state of transmitter and receiver units at the portable units (i.e., by scheduling

when they should be turned ON or OFF)…the transmitter (or receiver) consumes

power only when it is actively transmitting a message (or actively receiving a mes-

sage).” (Natarajan, 3:59-4:6.) This type of communication operates in “low duty

cycle RF bursts.” (Grimes Dec. ¶ 118; Hu Dec. ¶ 43.)

         DSS argues that Natarajan only describes that the mobile units operate in

this manner. (POR, p. 17.) But a POSA would have understood that, similarly,

when the base station is not transmitting, its transmitter is powered off. (Grimes

Dec. ¶¶ 29, 118; Grimes Depo. (DSS 2015), 68:5-12, 74:7-19, 75:21-76:3; Hu Dec.

¶ 44.) In Natarajan, “[m]ost users are very likely to be inactive (both Transmit-

Inactive and Receive-Inactive) most of the time for most applications. This is pri-

marily due to the bursty nature of data communication traffic.” (Natarajan, 6:41-

44 (emphasis added).) A POSA would have understood this to mean that Nata-

rajan’s base station and mobile units operate in low duty cycle RF bursts. (Hu Dec.

¶ 45.)




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                                                     U.S. Pat. No. 6,128,290
      Moreover, DSS acknowledges that Natarajan explicitly discloses that the

mobile unit transmitters operate in “low duty cycle RF bursts.” (POR, p. 17;

Dezmelyk Dec. ¶ 31.) So even if not expressly taught by Natarajan, it would have

been plainly obvious to a POSA to have the base station operate in an analogous

manner. (Hu Dec. ¶ 45.) Because the base and mobile stations have the same phys-

ical structure, this would have been no more than using a known technique to im-

prove similar devices in the same way. (Natarajan, 3:7-8; Hu Dec. ¶ 45.) The “low

duty cycle RF bursts” limitation of claim 9 is not novel. (Hu Dec. ¶ 45.)

IV.   HDLC is consistent with low duty cycle RF bursts.
      DSS alleges that the High-Level Data Link Control (HDLC) packet structure

disclosed in Natarajan is inconsistent with a server transmitter being energized in

low duty cycle RF bursts. (POR, pp. 20-23.) This is false. First, the ’290 patent’s

preferred embodiment uses HDLC. Second, DSS relies on testimony from Mr.

Dezmelyk, who admits he is not an expert in HDLC. Third, a POSA would have

been directed to Schwartz for information on Natarajan’s HDLC protocol and un-

derstood that HDLC is consistent with low duty cycle RF bursts. Fourth, DSS con-

cocts inaccurate, piecemeal arguments that are inconsistent with the HDLC proto-

col. And fifth, Natarajan’s HDLC protocol does not use idle words.




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                                                               IPR2015-00373
                                                        U.S. Pat. No. 6,128,290
      A.      The preferred embodiment in the ’290 patent uses HDLC.
      DSS’s argument that HDLC is inconsistent with low duty cycle RF bursts is

meritless because the preferred embodiment of the ’290 patent itself discloses us-

ing HDLC for communication between the PDA and PEAs. If DSS’s argument is

believed, then the ’290 patent’s preferred embodiment would not be enabled.

      The “basic scheme” of the ’290 patent’s frame structure is “a form of time

division multiple access (TDMA).” (’290 patent, 5:45-50.) The ’290 patent states

that “[a]s will be understood by those skilled in the art, the TDMA system is

greatly facilitated by the establishment of a common frame time base between PEA

and PDA.” (Id. at 7:63-65 (emphasis added).) This is accomplished using synchro-

nization beacons (SBs). (Id. at 7:65-67.) Before receiving the SBs, a PEA is asso-

ciated with the PDA using a succession of Attachment Beacons (ABs), which are

“composed of RF bursts,” broadcast from the PDA to the PEAs. (Id. at 9:8-16,

9:66-10:2.) “This succession of ABs forms an HDLC channel using bit-stuffing to

delineate the beginning and end of a packet.” (Id. at 10:2-4 (emphasis added).)

      So, the ’290 patent uses HDLC to transmit and receive RF bursts. (Hu Dec.

¶¶ 48-49.) Thus, the ’290 patent itself shows that DSS’s argument is fallacious.

      B.      DSS relies on the testimony of Mr. Dezmelyk, who admits he is
              not an expert in HDLC.
      DSS relies on Mr. Dezmelyk’s testimony to support its argument that HDLC

is inconsistent with a server transmitter operating in low duty cycle RF bursts. (See


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                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
e.g., POR, pp. 21-23 (citing Dezmelyk Dec. ¶ 34.).) But Mr. Dezmelyk admits he

is not an expert in HDLC.

             Q.· Are you an expert in the HDLC protocol?

             A.· No.·I would not say I am an expert in that area.

      (Dezmelyk Depo., 26:15-16.)

      Mr. Dezmelyk is not an inventor on any patents related to HDLC protocol;

he has not received any industry awards related to HDLC protocol; and he has

never lectured on HDLC protocol. (Id. at 19:10-20:4.) In fact, this IPR and the re-

lated district court case are the only matters he recollects working on that are even

related more generally to wireless communication (id. at 21:1-22), which he asserts

is “a hugely broad topic area” (id. at 26:1-2). Although his standard practice is to

attach his Curriculum Vitae with a declaration, he did not here. (Id. at 16:5-7.)

There is no evidence that Mr. Dezmelyk is qualified to opine on HDLC. To the

contrary, by his own admission, Mr. Dezmelyk is not an expert in HDLC. And his

understanding of the HDLC protocol is factually inaccurate. (Hu Dec. ¶ 50.) Ac-

cordingly, DSS’s reliance on his testimony on HDLC must be disregarded.




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                                                                IPR2015-00373
                                                        U.S. Pat. No. 6,128,290
      C.        A POSA would have looked to Schwartz for information on Nata-
                rajan’s HDLC protocol and understood that it is consistent with
                low duty cycle RF bursts.
           1.     Mr. Dezmelyk did not consider Schwartz–the most logical ref-
                  erence for information on Natarajan’s HDLC protocol–when
                  forming his opinions.
      A POSA need not look any further than Natarajan itself for direction on

more specifics about Natarajan’s HDLC protocol. Natarajan describes that infor-

mation packets are transmitted between the base station and mobile stations:

      Packets received or to be sent are held in data storage 68 and commu-
      nicated to or from the RF transceiver 54 via interface 58 under control
      of serial channels…. The function of these serial channels is to encap-
      sulate data and control information in an HDLC (high-level data link
      control) packet structure and provide the packet in serial form to the
      RF transceiver 54. For more information on the HDLC packet struc-
      ture, see, for example, Mischa Schwartz, Telecommunication Net-
      works: Protocols, Modeling and Analysis, Addison-Wesley (1988).
      (Natarajan at 3:28-40 (emphasis added).)
      So, the Schwartz book (APL 1012) is the most logical resource for a POSA

to consult for information on Natarajan’s HDLC packet structure. (Hu Dec. ¶ 51.)

Indeed, Mr. Dezmelyk acknowledged that a POSA would have access to Schwartz.

(Dezmelyk Depo., 72:12-22.) Yet Mr. Dezmelyk never looked at Schwartz when

considering how Natarajan’s HDLC packet structure operates. (Id. at 71:11-73:13.)

Nor does DSS reference Schwartz. Instead, DSS forgoes logic, formulating a con-

voluted argument that defies technical accuracy. (See infra, Section IV.D.)

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                                                      IPR2015-00373
                                               U.S. Pat. No. 6,128,290
   2.    Natarajan’s HDLC protocol is consistent with low duty cycle
         RF burst communication.
Schwartz provides a concise summary of the HDLC frame format:

The standard frame format for HDLC (ADCCP and SDLC have the
same format) appears in Fig. 4-9. Note that the number of overhead
(control) bits is ℓ' = 48, just the number used earlier for calculations.
The eight-bit flag sequence 01111110 that appears at the beginning
and end of a frame is used to establish and maintain synchroniza-
tion. Because the flag appears at the beginning and end of the frame
there is no need to prescribe an information field structure. The in-
formation field (packet) delivered from the network layer above can
be any desired number of bits. Extended versions of the frame struc-
ture of Fig. 4-9 are available as well: The address, control, and
block­check fields can all be increased to allow additional addressing,
improved error detection, and increased sequence numbers. Since the
flags appearing at the beginning and end of a frame contain six con-
secutive ones, that sequence may not appear anywhere else in the
frame. Bit stuffing is used to eliminate this possibility: a zero is in-
serted at the transmitter any time that five ones appear outside the F
fields. The zeros are removed at the receiver. If seven ones appear
anywhere in the frame (six ones followed by an additional one), the
frame is declared in error.




(Schwartz, pp. 135-136 (emphasis added), Fig. 4-9.)

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                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
      Schwartz also describes that “[w]hen the transmitter reaches its maximum

sequence number it is forced to stop transmitting until a frame in the reverse direc-

tion is received, acknowledging an outstanding packet.” (Id. at 136 (emphasis add-

ed).) Thus, the transmitter does not continuously transmit under HDLC protocol.

(Hu Dec. ¶ 53.) The discontinuous transmission of the HDLC protocol is also

shown in Schwartz’s throughput calculation illustrated in Figure 4-13, showing pe-

riods (e.g., between I10 and I30) where the transmitter is idle (i.e., not transmit-

ting). (Id.) Figure 4-13 illustrates the maximum throughput, so the amount of time

the transmitter is not transmitting is at a minimum. (Schwartz, p. 142 (“This station

is assumed in addition to be in a saturated state: It always has frames to send. As

noted earlier, this provides the maximum possible throughput.” (emphasis origi-

nal)); Hu Dec. ¶ 53.) When the primary station is not saturated, there will be addi-

tional periods where the transmitter is not transmitting. (Hu Dec. ¶ 53.)




                       Annotated Figure 4-13 of Schwartz




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                                                                IPR2015-00373
                                                        U.S. Pat. No. 6,128,290
      Thus, the HDLC protocol described in Schwartz is consistent with low duty

cycle communication. (Hu Dec. ¶ 54.) Moreover, as illustrated, for example by the

I-frames I00-I30 in Figure 4-13, the transmissions occur in “bursts.” (Id.)

      Schwartz also describes the three modes of operation for the HDLC proto-

col. (Schwartz, pp. 137-138.) The asynchronous balanced mode (ABM) is for

point-to-point transmission only, and therefore inapplicable to Natarajan, which is

point-to-multipoint communication. (Id.; Hu Dec. ¶ 55.) The normal response

mode (NRM) and asynchronous response mode (ARM) are used for point-to-

multipoint operation. (Schwartz, p. 137; Hu Dec. ¶ 55.)

      A POSA would have understood that Natarajan operates using the ARM.

(Hu Dec. ¶ 55.) ARM provides that “the secondary station does not need permis-

sion from the primary station to initiate transmission.” (Schwartz, p. 137.) This oc-

curs in Period C in Natarajan, which allows for “bursty data traffic in a contention

mode from mobile units to base station.” (Natarajan, 4:36-37 (emphasis added);

Hu Dec. ¶ 55.) In Period C, the mobile units initiate transmission without permis-

sion from the base station. (Hu Dec. ¶ 55.)

      D.      DSS and Mr. Dezmelyk concoct inaccurate piecemeal arguments
              from excerpts of unrelated references that are inconsistent with
              each other and inconsistent with the operation of HDLC.
      DSS and Mr. Dezmelyk did not consider the most logical reference–

Schwartz–for information on Natarajan’s HDLC protocol. Instead, they piece to-



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                                     Appx0951
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                                                                     IPR2015-00373
                                                             U.S. Pat. No. 6,128,290
gether a patchwork of references in an ill-fated effort alleging that Natarajan does

not teach low duty cycle RF bursts because it employs HDLC. (POR, pp. 20-23;

Dezmelyk Dec. ¶¶ 34-35.) This argument is meritless because the disparate refer-

ences do not support the asserted premise. (Hu Dec. ¶ 56.)

      First, DSS’s reliance on the excerpt from DSS 2010 is misplaced. DSS as-

serts that the cited definition of “bit-oriented framing” shows that HDLC “involves

continuous outbound transmission.” (POR, pp. 21-22.) But DSS neglects to

acknowledge the very first sentence of the cited section, stating that “[a] point-to-

point connection between two computers or devices consists of a wire in which

data is transmitted as a stream of bits.” (DSS 2010, p. 549 (emphasis added).) DSS

2010 refers to point-to-point wired communication, not to a point-to-multipoint

wireless system as taught in Natarajan. (Hu Dec. ¶ 56.) There are fundamental dif-

ferences and unique challenges between point-to-point wired systems and point-to-

multipoint wireless systems–the features are not simply interchangeable. (Id. at 57-

60.) For example, a continuous transmission of so-called “idle words” to maintain

synchronization when there is no data to transmit–suitable for an isolated point-to-

point wired connection for design simplicity and reliability–would be detrimental

to a point-to-multipoint wireless connection because it would interfere with the

carefully designed scheduling, waste power, decrease the system data rate, and pol-

lute the wireless channel potentially shared by many devices. (Id. at 59.)


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                                     Appx0952
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                                                                  IPR2015-00373
                                                          U.S. Pat. No. 6,128,290
        DSS also asserts that the “HLDC [sic] packet structure is used to transmit

‘long strings of data at one time,’” and therefore is inconsistent with “small” RF

bursts. (POR, p. 22 (emphasis original).) DSS misquotes this passage, which actu-

ally states: “[t]his type of framing allows the sender to transmit a long string of

bits at one time.” (DSS 2010, p. 549 (emphasis added).) A POSA would have un-

derstood that this does not mean that HDLC only sends a long string of bits; nor

does it suggest that transmitting a string of bits is not a “burst.” (Hu Dec. ¶ 61.) Ra-

ther, a sender with data bits to transmit “at one time” does not have to break the

string into smaller packets before the string of bits reach the data link layer. (Id.)

        Moreover, this same reference discloses that the number of bits in the Infor-

mation Field of an HDLC frame is “variable.” (APL 1013, p. 582, Figure H-2.) Mr.

Dezmelyk, however, did not consider any portion of this reference other than what

DSS provided to him. 1 (Dezmelyk Depo., 101:4-102:7.)




                        Annotated Figure H-2 of APL 1013
1
    Regarding DSS 2010, Mr. Dezmelyk asserts he was “trying to get [a reference] in

the right time frame” (Dezmelyk Depo., 101:18-19), but the copyright date for this

reference is 2001–well after the ’290 patent’s filing date.




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                                                           IPR2015-00373
                                                    U.S. Pat. No. 6,128,290
         This portion of DSS 2010 (APL 1013)–uncited by DSS–corroborates

Schwartz. (Schwartz, p. 135 (“The information field (packet) delivered from the

network layer above can be any desired number of bits.”) (emphasis added).) So,

the HDLC frame format is compatible with a “burst” transmission. (Hu Dec. ¶ 62.)

         Next, Mr. Dezmelyk tries to tie the excerpt from DSS 2010 with an excerpt

from DSS 2013, proposing that Natarajan teaches continuous transmission, which

it does not. Mr. Dezmelyk notes that Natarajan’s HDLC packets are in “serial

form.” (Dezmelyk Dec. ¶ 35 (citing APL 1003 at 3:36-37).) He alleges that serial

communication systems “include a server transmitter transmitting idle words when

no useful data is being transmitted.” (Dezmelyk Dec. ¶ 35.) But nowhere does DSS

2013 use the term “idle words.”2 Mr. Dezmelyk instead provides a quote: “In syn-

chronous transmission, groups of bits are combined into frames and frames are

sent continuously with or without data to be transmitted.” (Id. (quoting DSS 2013,

p. 2 (emphasis added)).) But this does not describe Natarajan’s HDLC protocol,

which is asynchronous. (Hu Dec. ¶ 64.) Mr. Dezmelyk is wrong that a POSA

would not have known whether Natarajan operates under a synchronous or asyn-

chronous protocol. (Dezmelyk Depo., 99:12-20; Hu Dec. ¶ 64.) His assertion un-

derscores his misunderstanding of HDLC, a subject on which he admits he is not


2
    Importantly, Natarajan’s system does not use idle words. (Section IV.E., infra.)




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                                       Appx0954
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                                                                IPR2015-00373
                                                        U.S. Pat. No. 6,128,290
an expert. (Dezmelyk Depo., 26:15-16; Hu Dec. ¶ 50.) As discussed above in Sec-

tion IV.C.2, a POSA would have understood that Natarajan operates under the

asynchronous response mode (ARM) of HDLC. (Hu Dec. ¶ 64.)

      The very next sentences in DSS 2013 distinguish that “[i]n asynchronous

transmission, groups of bits are sent as independent units with start/stop flags and

no data link synchronization, to allow for arbitrary size gaps between frames.

However, start/stop bits maintain physical bit level synchronization once detect-

ed.” (DSS 2013, p. 2 (emphasis added).) These “start/stop flags” for synchroniza-

tion corroborate Schwartz, that an “eight-bit flag sequence 01111110 that appears

at the beginning and end of a frame is used to establish and maintain synchroniza-

tion.” (Schwartz, p. 135; Hu Dec. ¶ 65.) Thus, in HDLC, transmission is not con-

tinuous, as DSS asserts; rather, there are gaps between frames. (Hu Dec. ¶ 65.)

      Finally, Mr. Dezmelyk pieces an excerpt from DSS 2014 together with the

excerpts from DSS 2010 and DSS 2013. (Dezmelyk Dec. ¶ 35 (quoting DSS 2014

at Section 2.5.6. (“When transmitting, the Asynchronous HDLC controller will

transmit IDLE characters (characters consisting of only “1”s) when no data is

available for transmission.”)).) This association is inapt for two reasons. First, DSS

2014 relates to point-to-point communications, not point-to-multipoint communi-

cations as in Natarajan. (DSS 2014, p. 4 (“This protocol is typically used as the

physical layer for the Point-to-Point (PPP) protocol.”); Hu Dec. ¶ 66.) As discussed


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                                                                IPR2015-00373
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above, a point-to-point wired connection and a point-to-multipoint wireless con-

nection are two fundamentally different types of data communication with distinct

design challenges and principles. (See supra, Section IV.D; Hu Dec. ¶¶ 57-60, 66.)

Second, DSS 2014 is a technical manual for a proprietary Motorola product, which

uses a modified “HDLC-like” protocol. (Hu Dec. ¶ 66.) This is evident because it

can repeatedly transmit “characters consisting of only ‘1’s.” (Id.) This violates the

standard HDLC protocol, where “[i]f seven ones appear anywhere in the frame

(six ones followed by an additional one), the frame is declared in error.”

(Schwartz, p. 136 (emphasis added); see also APL 1013, p. 582 (“If any portion of

the data in the frame contains more than five 1 bits, a zero-bit insertion technique

inserts a 0 bit to ensure that data is not mistaken for a flag.”).)

      Thus, DSS 2014 does not disclose the standard HDLC protocol and so it

cannot be used to support DSS’s position. (Hu Dec. ¶¶ 67-68.) Yet Mr. Dezmelyk

relies on this document as supposedly disclosing “the HDLC spec,” which it does

not. (Dezmelyk Depo., 69:17-71:1; Hu Dec. ¶ 68.) Because Mr. Dezmelyk bases

his opinions on DSS 2014, which does not disclose the standard HDLC protocol,

his opinions on HDLC are unsupported. (Hu Dec. ¶ 68.)

      The piecemeal argument cobbled together by DSS and Mr. Dezmelyk pro-

vides misinformation about how HDLC operates. Indeed, excluded portions of the




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                                                                  IPR2015-00373
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very references they cite belie their contentions regarding HDLC, and thus their

assertions regarding Natarajan. Accordingly, DSS’s arguments are baseless.

      E.        DSS’s “idle words” argument is a red herring.
           1.     Neve is cited to expressly show that synchronizing a base sta-
                  tion and peripheral units was well-known.
      Apple’s Petition includes Neve in combination with Natarajan because “Na-

tarajan does not explicitly describe synchronizing the mobile units with the base

station.” (Petition, p. 28.) However, Natarajan teaches numerous reasons that “co-

ordinated timing of transmissions is important”. (See id. (citing Grimes Dec. ¶ 92);

Hu Dec. ¶ 69.) Thus, a POSA would have been motivated to precisely synchronize

the mobile units and base unit, leading a POSA to Neve–an example of a conven-

tional synchronization technique. (Petition, pp. 29-30; Hu Dec. ¶ 69.)

      Indeed, although Natarajan does not explicitly disclose synchronizing the

mobile units with the base station, the HDLC protocol, for example as described in

Schwartz, explains that the “standard frame format for HDLC” has an “eight-bit

flag sequence 01111110 that appears at the beginning and end of a frame [that] is

used to establish and maintain synchronization.” (Schwartz, p. 135 (emphasis

added).) Thus, Natarajan’s HDLC protocol contemplates a synchronization mech-

anism. (Hu Dec. ¶ 70.) To make clear that synchronization was well-known, Neve

is combined with Natarajan. As Mr. Dezmelyk acknowledges, synchronization was

within the skill of a POSA. (Dezmelyk Depo., 93:6-16; Hu Dec. ¶ 70.)


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                                                              IPR2015-00373
                                                      U.S. Pat. No. 6,128,290
         2.     Natarajan’s HDLC protocol does not use idle words.
      Again, Apple cites Neve to make clear that synchronization was convention-

al in communication networks before the ’290 patent’s priority date. DSS uses

Neve as a distraction, conjuring a theory that Natarajan uses idle words, as dis-

closed in Neve. DSS’s theory is unfounded. (Hu Dec. ¶¶ 71-72.)

      To begin with, even Neve’s master station does not continuously transmit

idle words. (Id. at 71.) The Board correctly found that Neve “do[es] not suggest

continuous transmission from the master station, but instead transmission of idle

words in the event that there is no data required to be transmitted in the time slots

specifically allocated for transmission by the server” and that “the master station

performs different functions during different time slots, only certain of which in-

volve transmission.” (Institution Decision, p. 18 (emphasis added); Hu Dec. ¶ 71.)

Idle words are not continuously transmitted in Neve. (Hu Dec. ¶ 71.)

      DSS contorts the inclusion of Neve as somehow suggesting that Natarajan

operates identically, which it does not. (Id. at 72.) In particular, DSS suggests that

Natarajan transmits idle words (POR, pp. 31-33), which it does not. (Hu Dec. ¶

72.) Indeed, neither Natarajan, nor Schwartz’s discussion of HDLC for that matter,

mention idle words. This is likely because using idle words in Natarajan would be

pointless. (Id. at 73.) First, HDLC has a mechanism–start/stop flags–for synchroni-

zation, so idle words would be redundant. (Id.) Second, if Natarajan used idle



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                                                                   IPR2015-00373
                                                           U.S. Pat. No. 6,128,290
words, they would be transmitted “out into the air and there is nobody really pay-

ing attention to it.” (Dezmelyk Depo., 84:22-85:1 (emphasis added).) This is illog-

ical. (Hu Dec. ¶ 73.) Mr. Dezmelyk tries to reconcile, asserting that when receivers

turned back on, they could synchronize onto the stream of idle words. (Dezmelyk

Depo., 85:2-14.) But Natarajan discloses that “each receiving mobile unit can

compute exactly when it should be ready to receive packets from the base sta-

tion…to wake itself up at its designated time for receiving data.” (Natarajan, 4:67-

5:3 (emphasis added).) Thus, a POSA would understand that Natarajan does not

operate in the manner Mr. Dezmelyk suggests. (Hu Dec. ¶ 73.)

      Mr. Dezmelyk even acknowledges that Natarajan does not actually disclose

continuous transmission: “…using the Natarajan example, there is a period of time

for outbound data traffic. There will be effectively, if there is a lot of data sent,

continuous transmission over across that interval.” (Dezmelyk Depo., 62:3-6 (em-

phasis added).) And although he is factually inaccurate because the HDLC proto-

col does not use idle words, Mr. Dezmelyk asserts that HDLC only “typically” us-

es idle words. (Id. at 69:10-16.)

      Moreover, Mr. Dezmelyk asserts that systems using idle words can have, for

example, ten consecutive 1’s. (Dezmelyk Depo., 98:1-13.) Again, Mr. Dezmelyk is

wrong. (Hu Dec. ¶ 74.) HDLC cannot have more than six consecutive 1’s, other-

wise an error is declared. (Schwartz, p. 135-136; Hu Dec. ¶ 74.) That is why, ac-


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                                                                  IPR2015-00373
                                                          U.S. Pat. No. 6,128,290
cording to the book cited by DSS, “[i]f any portion of the data in the frame con-

tains more than five 1 bits, a zero-bit insertion technique inserts a 0 to ensure that

data is not mistaken for a flag,” which is 01111110. (APL 1013, p. 582.)

      Nothing in Natarajan or the HDLC protocol suggests using idle words. (Hu

Dec. ¶ 75.) And, in fact, a POSA would understand that HDLC does not use idle

words. (Id.) DSS’s argument on this point is meritless.

V.    DSS’s “low duty cycle” argument is meritless.
      A.      Mr. Dezmelyk’s definition of “duty cycle” is nonsensical.
      Mr. Dezmelyk asserts in his declaration that “duty cycle” should be con-

strued to mean “the ratio of the duration during which the server transmitter is en-

ergized to the total duration designated for outbound transmissions–from the server

unit to the peripheral units.” (Dezmelyk Dec. ¶ 23.) But in his deposition, he pro-

vides two different, yet equally confounding, explanations for determining duty

cycle. In each case, the ’290 patent would have a 100% duty cycle.

      First, in his redirect testimony, Mr. Dezmelyk asserts that “duty cycle is

measured based on when you are transmitting.” (Dezmelyk Depo., 116:8-9.) He

asserts that Natarajan has a 100% duty cycle because “if you measure during what

periods of time it is transmitting it is transmitting at 100 percent duty cycle.”

(Dezmelyk Depo., 69:7-9.) But of course, if the only times used to calculate duty

cycle are when the transmitter is actually transmitting, the duty cycle will always



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                                                      U.S. Pat. No. 6,128,290
be 100%. (Hu Dec. ¶ 80.) Using Mr. Dezmelyk’s example from the ’290 patent, if

transmissions occur in 3 out of 64 slots and “if you measure during what periods of

time it is transmitting” (i.e., the 3 transmissions slots), the ’290 patent transmits at

a 100% duty cycle. (Dezmelyk Dec. ¶¶ 24, 26; see also Dezmelyk Depo., 116:10-

14 (“So if there was enough data to occupy two slots then the question is:· What is

the duty cycle of the RF transmitter during that period of time of those two slots.

Or the aggregate time of those two slots if they weren’t adjacent to one another.”);

Hu Dec. ¶ 80.) Under Mr. Dezmelyk’s interpretation, if a particular time slot is

filled by a transmission, the duty cycle is 100%. (Hu Dec. ¶ 80.)

      Second, Mr. Dezmelyk doubles down on this peculiar interpretation, assert-

ing that duty cycle is calculated based on the sub-portion of a time slot taken up by

a transmission. Mr. Dezmelyk asserts that:

      if you had -- you are using in essence two slots out of the 10 that are
      available, and particular slots have a fixed width, then that period of
      time of the two slots that you actually have something to transmit in
      gives you the kind of what you are dividing by, the time you are di-
      viding by to calculate the duty cycle. You are looking at the percent-
      age of time that the transmitter is active during the period in time
      when, in essence when a transmission is called for.
      (Dezmelyk Depo., 116:20-117:6 (emphasis added).)

      Put another way by Mr. Dezmelyk, “the question is, what percentage of that

slot time is taken up by the transmission.” (Dezmelyk Depo., 106:2-4 (emphasis


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                                                                  IPR2015-00373
                                                          U.S. Pat. No. 6,128,290
added).) So, Mr. Dezmelyk’s interpretation requires determining the percentage of

a single transmission slot used for transmission. (Hu Dec. ¶ 82.) Again, Mr.

Dezmelyk’s calculation for the ’290 patent accounts for transmission during the

entirety of the 3 time slots (out of the 64 total slots), which would be a 100% duty

cycle under his interpretation. (See ’290 patent at 4:2-6 (“For each slot, this

TDMA program indicates that a PEA or host is to transmit, or not, and whether it

will receive, or not.”); Hu Dec. ¶ 82.)

      Neither of Mr. Dezmelyk’s interpretations of duty cycle are consistent with

the ’290 patent. (Hu Dec. ¶ 82.) And only under this inaccurate interpretation of

duty cycle is he able to allege that Natarajan has a 100% duty cycle. So too, how-

ever, would the ’290 patent. Because Mr. Dezmelyk’s interpretation is erroneous,

his testimony on duty cycle and DSS’s reliance thereon should be ignored.

      B.      DSS’s proposed claim construction that “low duty cycle” is less
              than 10% is arbitrary and unduly narrow.
      DSS proposes that the broadest reasonable interpretation for a server trans-

mitter energized in a “low duty cycle” is that “the server transmitter is energized

for less than ten percent (10%) of the total duration designated for outbound

transmissions.” (POR, p. 12 (emphasis added).) But DSS’s proffered evidence does

not support a ceiling of 10% for a low duty cycle. (Hu Dec. ¶ 76.)

      The “examples” that DSS cites in Table 1 are cherry-picked results from a

search premised on finding examples by including “e.g.” in the search string.


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                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
(POR, p. 13.) Yet none of these references are contemporaneous with the ’290 pa-

tent’s filing date. One of DSS’s own examples contradicts the proposed construc-

tion of “less than ten percent,” providing a “low duty cycle, e.g., at an about 10

percent (10%) duty cycle.” (POR, p. 13 (quoting DSS 2008 at 10:5-6) (emphasis

added).) So, the duty cycle could be at or even slightly above 10%, which is not

“less than ten percent,” as DSS proposes. Thus, DSS’s own example demonstrates

that its proposed construction is inappropriate. (Hu Dec. ¶ 77.)

      DSS cites Mr. Dezmelyk’s declaration in support of its interpretation (POR,

pp. 11-12), but his deposition testimony undermines the proposed construction.

First, Mr. Dezmelyk admits that the term “low duty cycle” itself does not require

an upper bound at 10%. (Dezmelyk Depo., 78:2-6; see Hu Dec. ¶ 77.) While Mr.

Dezmelyk asserts that “we are quibbling over whether it is 9.9 or 10.1,” it is he

who places a strict upper bound on a low duty cycle. (Dezmelyk Depo., 80:11-12;

Dezmelyk Dec. ¶ 24.)

      Second, Mr. Dezmelyk asserts for the first time that the 10% limit is actually

based on claim 8 of U.S. Patent No. 5,699,357. (See Dezmelyk Depo., 79:12-81:3.)

DSS does not cite the ’357 patent in its claim construction or in Table 1. Mr.

Dezmelyk states that he “probably missed the citation to it in here because I was

plowing away in a hurry.” (Id. at 80:6-7.) But claim 8 of the ’357 patent is irrele-

vant because it does not support a 10% limit either. Claim 8 recites “…said low


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                                                          U.S. Pat. No. 6,128,290
duty cycle pulses comprise chips within the respective code sequences such that a

transmitter is enerrgized [sic] less than 10% of the time during an allocated time

slot.” Because claim 8 depends ultimately from independent claim 6, it is narrower

than the independent claim, meaning that the ’357 patent contemplates a “low duty

cycle” greater than 10%. (Hu Dec. ¶ 78.)

      Apple does not propose a specific upper threshold for “low duty cycle;”

however, it is evident that DSS’s proposed upper bound of 10% is unsupported.

So, under the broadest reasonable interpretation standard, a “low duty cycle” of a

transmitter should simply be interpreted as the transmitter being designed to be on

only to satisfy the data communication needs over the communication cycle of the

system. (See Grimes Depo., 40:16-19; Hu Dec. ¶ 79.)

      C.      DSS improperly truncates the time period for calculating Nata-
              rajan’s duty cycle.
      DSS focuses only on the period for “outbound transmissions” for calculating

Natarajan’s duty cycle. (POR, pp. 11-12; Dezmelyk Dec., ¶ 23.) This is improper.

(Hu Dec. ¶ 83.) A POSA would calculate the duty cycle over the period of time

that it takes a system to go through a cycle of communication. (Id.) DSS’s method-

ology improperly manipulates that time period. (Id.)

      A POSA would calculate Natarajan’s duty cycle over all of Periods A, B,

and C. (Hu Dec. ¶ 84.) To limit the calculation only to Period A, as Mr. Dezmelyk

suggests (Dezmelyk Dec. ¶ 32), reads the word “cycle” out of the term “duty cy-


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                                                                 IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
cle.” (Hu Dec. ¶ 84.) The communication “cycle” in Natarajan includes all of Peri-

ods A-C. (Id.) Once the transmissions between the base station and mobile stations

cycle through Periods A-C, the cycle begins again with Period A for the next

frame. (Id. at 85.) Thus, Natarajan’s duty cycle must be calculated over Periods A-

C. (Id.) Indeed, Natarajan’s communication cycle, where “[m]ost users are very

likely to be inactive (both Transmit-Inactive and Receive-Inactive) most of the

time,” is a low duty cycle. (Natarajan, 6:41-44; Hu Dec. ¶ 85.) Further still, even

under DSS’s improper limitations for duty cycle, Natarajan’s system would be ca-

pable of operating at a duty cycle less than 10% in Period A. (Hu Dec. ¶¶ 86-88.)

VI.   The Board should not give any weight to Mr. Dezmelyk’s testimony.
      A.      Mr. Dezmelyk’s testimony lacks credibility.
      Mr. Dezmelyk asserts that he read his declaration “[m]any, many, many

times.” (Dezmelyk Depo., 27:18.) And yet he did not notice that the very first page

after the caption states “DECLARATION OF CHRIS A. MACK, PH.D.” (Id. at

26:21-27:18.) Nor did he notice that there are two paragraphs numbered 15 and

two paragraphs numbered 16. (Id. at 27:19-28:3.)

      Even if the duplicative paragraph numbers resulted from “Microsoft Word at

work where it has got strange issues of paragraph numbering” (id. at 28:5-7), this

error casts doubt on how thoroughly he reviewed the statements in his declaration.

More importantly, the fact that Mr. Dezmelyk did not notice someone else’s name



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on his sworn declaration clouds the credibility and veracity of his entire testimony.

Thus, the Board should not give any weight to Mr. Dezmelyk’s declaration.

      B.      Mr. Dezmelyk admits he is not an expert in HDLC.
      As discussed above in Section IV.B., Mr. Dezmelyk admits he is not an ex-

pert in HDLC. At a minimum, his testimony on that topic must be discounted.

      C.      Mr. Dezmelyk bases his opinions on inaccurate assumptions.
      Mr. Dezmelyk bases his opinions on the inaccurate assumption that Nata-

rajan’s system uses idle words. (See supra, Section IV.E.) Because Natarajan does

not use idle words, Mr. Dezmelyk’s opinions are meritless. Mr. Dezmelyk also ba-

ses his opinions on an arbitrary and unduly narrow construction of “low duty cy-

cle” and improperly truncating the time period for calculating Natarajan’s duty cy-

cle. (See supra, Section V.) So again, Mr. Dezmelyk’s opinions are meritless.

VII. Conclusion
      Apple has demonstrated by a preponderance of the evidence that claims 6, 7,

9, and 10 of U.S. Patent No. 6,128,290 are unpatentable and respectfully requests

that the Board enter judgment in accordance therewith.




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                                                              IPR2015-00373
                                                       U.S. Pat. No. 6,128,290
                               Respectfully submitted,
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                                                      IPR2015-00373
                                              U.S. Pat. No. 6,128,290
             CERTIFICATION OF SERVICE (37 C.F.R. §§ 42.6(e))

      The undersigned hereby certifies that the above-captioned PETITIONER’S

REPLY TO PATENT OWNER RESPONSE and all associated exhibits were

served in their entirety via e-mail on January 22, 2016, upon the following counsel

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                                    Appx0968
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        .                                                                                                          US005241542A

United States Patent [191                                                                  _ [11] Patent Number:                             5,241,542
Natarajan et al.                                                                                 [45]     Date of Patent:               Aug. 31, 1993

[54] BATTERY EFFICIENT OPERATION OF
     SCHEDULED ACCESS PROTOCOL                                                                          FOREIGN PATENT DOCUMENTS
[75]    Inventors:     Kadathur S. Namajan, Millwcod;                                             2232326 12/1990 United Kingdom ................ .. 370/29
                       Chin-Chi Huang, Yorktown Heights,                                              OTHER PUBLICATIONS
                       both of NY’                                                       William Stallings, “Data and Computer Communica
[73] Assignee:         International Business Machines                                    tiOnS”, Macmillan Publishing Company, 1985, PP
                       Corporation, Armonk, NY.                                           312-315.
[21] Appl. No_: 749,234                                                                  Primary Examiner-Douglas W. Olrns
            .                                                                         Assistant Examiner-Hassan Kizou
[22] Flled:            Aug‘ 23’ 1991                                                  Attorney, Agent, or Firm—Jack M. Arnold
[51]
[52]    Int. Cl.5
        US.   Cl. ................................
                  ...................... .. HMB    .. 370/953; 370/852;                                                                 .
                                      455/383; 455/541; 455/343                          A method and apparatus for conserving battery power
[58]    Field of Search ................. .. 370/951, 95.3, 104.1,                        in a wireless link adapter of a battery Operated com‘
                370/29’ 851’ 85‘7’ 941; 455/53’1, 54.1’ 343,                             puter such as a portable laptop computer, as controlled
                            3&3; 340/825‘44, 3111; 379/58                                by a scheduled multiaccess protocol. The portable com
                                                                                          puter is operable as a mobile unit in a multi-cell wireless
[56]                 References Cited                                                     network. The scheduled access multiaccess protocol is
                us PATENT DOCUMENTS                                                       implemented to effectively conserve battery power by
                                  U                                                       suitable control of the state of the controller, the trans
                              2251:3131 """""""""""" " gig/i4?                            mitter and receiver units at the wireless link adaptertby
       4:995:05”   2/1991 D avis _____ H '                           /825_                scheduling when the adapter IS in a normal running
       5,095.308   3/1992 Hewitt ............................... .. 455/343               mode, or a Standby mOde in which POWer is c°nserve¢
       5,144.296   9/1992     DeLuca et al. ................... .. 455/343
       5,150,361   9/1992 Wieczorek er al. .............. .. 370/951                                           7 Claims, 9 Drawing Sheets

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                                                      SERVER                                     ADAPTERS



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                        Appx1151
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                        Appx1152
   Case: 16-2523                    Document: 32                         Page: 532                 Filed: 03/01/2017



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                                                       FIG. 5

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                                   I-                           ‘      as

                    SLEEP_DURATIUN                                     FIG.
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                         TA-.:§ S]
                                  J '                                  FIG.
                                                                       80
                             95



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                           F95
              TURN RECEIVER IJFF,                     FIG. 8B
               ENTER SLEEP MUDEI
                 wAKE UP AFTER                   96
                   SLEEP_DURATIUN           _/
             SLUTS HAvE ELAPSED


       RECEIVE HEADER BH FUR PERIUD B                         98
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                                 "\111        FIG. 8C
         ENTER SLEEP MUDE FUR TRANSMITTER
               FUR SLEEP_DURATIUN                             112
               VAKE UP RECEIVER AFTER                    ‘/
                PERIUD B HAS ELAPSED


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              132                                           118
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                   TURN TRANSMITTER UF'F'J
                     ENTER SLEEP MUDE'     / 122


        WAKE UP TRANSMITTER SLEEP_DURATIUN
        HAS ELAPSED AND TRANSMIT AT SLUT T                    184
          & THEN GU TU SLEEP (TRANSMITTER)

                                 I
            WAKE UP RECEIVER AND RECEIVE
               ACK/NAK MESSAGE AT SLUT _                  126
           T +ACA= DELAY FUR GENERATING                  /
              THE ACK/NAK MESSAGE) &
               GU TU SLEEP RECEIVER




                              Appx1156
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                                                             130

    138 YES               ANY MORE PACKET
  (FIG.8C>             TD TRANSMIT IN RANDUM
                           ACCESS MUDE '?

      118
    (mass)?         a‘: ‘



                     SLEEP_DURATIUN <‘- REMAINING/434
                          TIME IN PERIUD C

                                         l
             TURN TRANSMITTER AND RECEIVER UFFJ_ 136
                            ENTER SLEEP MUDE

                                          l
                               WAKE UP AFTER
                              SLEEPJJURATIUN                  138
                                 HAS ELAPSED


                       CHANGE CARRIER FREQUENCY    ..._,140
                   (IN A FREQUENCY HDPPING SYSTEM)

                                         i80
                                       (FIGBA)




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                        F ‘G- 9                ANTENNA

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         Case: 16-2523               Document: 32                  Page: 538           Filed: 03/01/2017


                                                      5,241,542
                            1                                                                 2
                                                                     FIG. 2 is a block diagram of the system shown in
        BATTERY EFFICIENT OPERATION OF                             FIG. 1 illustrating the basic components of a mobile
          SCHEDULED ACCESS PROTOCOL                                station and a base station;
                                                                      FIG. 3 is a block diagram of the radio system used in
            FIELD OF THE INVENTION                                 the implementation of a preferred embodiment of the
   The invention is in the ?eld of wireless communica              invention;
                                                                     FIG. 4 is a diagram of the frame structure of a multi
tions, and in particular is directed to power conserva             access protocol for describing the battery efficient oper
tion due to wireless communication. Speci?cally, the               ation of a wireless link adapter according to the inven
invention is directed to battery efficient operation of            tron;
wireless link adapters of mobile computers as controlled             FIG. 5 is a diagram of a Receiving Users Index mes
by multiaccess protocols used in wireless communica                sage as a bit-vector 64 bits long;
tion.                                                                FIG. 6 is a diagram of receiver allocations for the
        BACKGROUND OF THE INVENTION
                                                                   multiaccess protocol;
                                                              15     FIG. 7 is a diagram of transmitter allocations for the
  In order to obtain true portability in micro-computers           multiaccess protocol; ,
and workstations, battery powered operation is essen                  FIG. 8A-8D, when taken together as shown in FIG.
tial. Moreover, given the capacity versus size limita              8, are block diagram representations of how the battery
tions of known batteries, it is essential to minimize total        efficient operation of the wireless link adapter is con
power consumption in order to extend the operating life            trolled by the multiaccess protocol, as implemented
of the batteries.                                                  according to the invention;
  It is relatively easy to reduce battery consumption by             FIG. 9 is a block diagram of how a controller in the
an initial 60 to 70 percent in the computer portion of a           wireless link adapter sets a time to accomplish the im'
mobile station. This initial savings can be accomplished           plementation set forth in FIGS. 8A-8D.
by simply turning selected pieces of hardware in the 25                   DETAILED DESCRIPTION OF THE
computer portion off when they are not being used. The                                  INVENTION
last 30 to 40 percent savings in the computer portion
                                                                     The invention is described relative to operation in a
becomes increasingly more difficult to achieve, while
                                                                   wireless radio communications link. It is to be appreci
simultaneously becoming increasingly more valuable in              ated that the invention is also applicable to other wire
terms of extending battery life. This is due to the inverse        less communication links such as infrared links as well
relationship between battery life and battery load. Ac    as microwave links. FIG. 1 depicts mobile stations 10,
cordingly, savings that would seem trivial in off-line    12, 14, and 16 that communicate via wireless links.
applications, might be momentous in a battery powered     Gateways, referred to as base stations, are augmented
environment.                                           35 according to the invention to provide certain radio
  While the above is directed to the computer portion,    system management functions which coordinate the
to date no work has been done relative to the wireless             mobile stations’ access to the common radio channel.
link adapter portion of the mobile station.                        Communications between mobile stations is supported
  There has been recent work directed to the design of             via relay through the base stations 26 and 28.
multiaccess protocols for portable mobile computer                   As shown in more detail in FIG. 2, a base station 26
users, as well as movable boundary protocols for sup               or 28, which may be conventional microcomputer, has
porting integrated voice/data users in mobile indoor     a LAN adapter 30 inserted in a bus slot and connected
radio networks. The schemes proposed to date do not      to LAN cabling 32. A server 18, typically also a con~
take into explicit account the effective conservation of ventional microcomputer and including one or more
battery power used by the multiaccess scheme relative 45 direct access storage devices (DASDs) such as hard
to the wireless link adapter.                            disks (not shown), also has a LAN adapter 34 inserted in
  Since portable laptop computers run on battery         a bus slot and connected to LAN cabling 32. The LAN
power, the implementation of a multiaccess protocol      adapters 30 and 34 and the LAN cabling 32 together
described in this invention attempts to minimize the     with LAN software constitute the LAN 24. The LAN
consumption of battery power in a wireless link adapter  24 is of conventional design and does not form part of
to the minimum amount required, as a function of the     the invention. The base station 26 or 28 also has an RF
protocol.                                                          transceiver adapter 36 implemented as a printed circuit
                                                                   card which is inserted in a bus slot of the base station.
  According to this invention, several techniques are
                                                                   The transceiver adapter 36 includes a spread spectrum
disclosed for minimizing the battery power wasted at
                                                                   transceiver of conventional design. The transceiver
the wireless link adapters of mobile units, as controlled          adapter 36 has an antenna 38 by which a radio link 40 is
by a multiaccess protocol for wireless communication.              established with one or more remote or mobile stations,
        DISCLOSURE OF THE INVENTION                                10, 12, 14, or 16. The mobile station may itself be a hand
                                                                   held or laptop computer such as an IBM PS/2 Model
   Method and apparatus is described for the battery               L40 SX laptop computer as described in Technical
efficient operation of wireless link adapters of mobile            Reference Manual, Order Number: S/5F-2270, Part
computers as controlled by scheduled multiaccess pro               No. 15F2270, which may be ordered from an IBM
tocols for wireless communication.                                 Authorized Dealer.
                                                                      IBM and PS/2 are registered Trademarks of Interna
   BRIEF DESCRIPTION OF THE DRAWINGS                          65   tional Business Machines Corporation. The laptop com
                                                                   puter like the base station, is provided with an
   FIG. 1 is a pictorial diagram showing an indoor digi            antenna 42 and a transceiver adapter 44, also
tal data communication system of the type in which the             implemented as a printed circuit card which is
invention is implemented;                                          inserted in a bus slot of the computer. The




                                                   Appx1159
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                                                      5,241,542
                            3                                                             4
transceiver adapter 44, like transceiver adapter 36, in       of transmitter and receiver units at the portable units
cludes a spread spectrum transceiver of similar design.       (i.e., by scheduling when they should be turned ON or
The base station and the mobile stations are further          OFF). A desirable solution is one in which the transmit
provided with software, generally indicated by refer          ter (or receiver) consumes power only when it is ac
ence numerals 46 and 48, respectively, which support          tively transmitting a message (or actively receiving a
their respective transceiver adapters.                        message). Traditional multiaccess protocols do not have
  FIG. 3 shows the radio system common to both the            the above desirable characteristics because:
mobile stations and the base stations of FIG. 1. The            A receiver may consume power while waiting to
radio system includes a transceiver adapter 36 or 44          receive a packet. Some examples are as follows:
connected to a computer 50 via a computer’s bus inter           A mobile station may be waiting to hear a polling
face 52. The transceiver adapter 36 section is itself di          message from the base station station before it can
vided into an RF transceiver 54, which may be com                 transmit a packet.
mercially available spread spectrum transceiver, and a          Outbound messages are broadcast from the base sta
dedicated microprocessor system 56 which controls the             tion. Mobiles keep their receiver ON in order to
transceiver via an interface 58. The microprocessor 15            receive packets that may be addressed to them.
system 56 further includes a system interface 60 which            Battery power is wasted in receiving packets that
interfaces the transceiver adapter 36 section to the com          are addressed to others.
puter section 50. The microprocessor system includes a     A transmitter may consume power while waiting to
dedicated microprocessor 62 containing high-resolution        transmit a packet.
time interval determination hardware or “timers” typi 20   In the scheme described here, a scheduled multiac
cal of real-time microprocessor systems.                 cess protocol is used in which time is divided into ?xed
   Microprocessor 62 is connected by a memory bus 64     length frames, and frames are divided into slots as
to program storage 66 and data storage 68 as well as to  shown in FIG. 4. It is to be appreciated that different
interfaces 60 and 58 providing attachment to bus inter   frame divisions and header lengths and content may be
face 52 and RF transceiver 54, respectively. Program 25 utilized in the practice of the invention, and the scheme
storage 66 is typically read only memory (ROM), while   set forth here is merely exemplary.
data storage 68 is static or dynamic random access         The beginning of the frame is a header G of ?xed
memory (SRAM or DRAM). Packets received or to be        length FH. The frame is divided into multiple subframes
sent are held in data storage 68 and communicated to or  as described below.
from the RF transceiver 54 via interface 58 under con 30    Period A for broadcast of packets from base station to
trol of serial channels and a direct memory access            mobile units (outbound traf?c), with a header AH
(DMA) controller (not shown) which is part of the                 for period A.
microprocessor 62. The function of these serial channels        Period B for the contention-free transfer of all traf?c
is to encapsulate data and control information in an              from mobile units to base station (inbound traf?c),
I-IDLC (high-level data link control) packet structure 35         with a header BH for period B.
and provide the packet in serial form to the RF trans           Period C for the transfer of all bursty data traffic in a
ceiver 54. For more information on the HDLC packet                contention mode from mobile units to base station
structure, see, for example, Mischa Schwartz, Telecom             (inbound traf?c), with a header CH.
munication Networks: Protocols, Modeling and Analy              Referring to FIG. 1, in conjunction with FIG. 4, in
sis, Addison-Wesley (1988).                                   interval A the base station 26 or 28 controls the trans
  When a packet is received through the RF trans           missions outbound to the mobile units 14. The corre
ceiver 54, the serial channels check the packet destina    sponding header (AH) control information for this in
tion address, check for errors, and deserialize the packet terval is broadcast reliably by the base station, and is
to data storage 68. The serial channels must have the      assumed to be received correctly by relevant mobile
capability to recognize a speci?c adaptor address as 45 stations. The header includes:
well as a broadcast address. Speci?c microprocessors         A list of mobile users (U 1, U2, . . . , U"), that will be
with appropriate serial channel and timer facilities in         receiving data from the base station in the current
clude the Motorola 68302 and the National Semicon               frame and the order in which they will receive
ductor HPC464OOE microprocessors.                                 packets.
  The computer 50 runs an operating system 70 which 50          Bandwidth allocated to users in this frame (S1, S2, . .
supports one or more user application programs 72. The            . , S”), where 8,, is the number of packets that will
operating system 70 may include a communications                  be directed to User U; from the base station in the
manager 74, or the communications manager 74 may              current frame.
itself be an application program installed on the com      In the description that follows, a transmitter or re
puter. In either case, the communications manager 74 55 ceiver is considered ON or awake when it is in a normal
controls a device driver 76 via the operating system 70. running mode. A transmitter or receiver is considered
The device driver 76, in turn, communicates with the     OFF or asleep when it is in an idle or standby mode.
transceiver adapter 36 or 44 via bus interface 52.         The following is a general description of the method
  In general, the main idea for minimizing battery       of battery ef?cient control of a wireless link adapter as
power consumed by wireless link adapters at the mobile       controlled by a scheduled multiaccess protocol for
units is as follows. The transmitter and receiver units at   wireless communication as shown in FIG. 4, a more
the communication adapter(s) of a portable terminal      detailed description is set forth relative to FIGS.
expend some power that depend on their states (OFF       8A-8D. On correct reception of the above broadcast
state/ON state/ACTIVE ON). The ratio of transmit         information as shown in FIG. 4, a mobile unit that is not
to-receive power depends also on the type of wireless 65 included in Header AH can turn its receiver OFF for a
link adapter used (radio or infrared). Scheduled access  time duration TA (total number of slots allocated to
multiaccess protocols can be implemented to effectively  interval A). The adapter of each receiving mobile unit
conserve battery power by suitable control of the state  can compute exactly when it should be ready to receive




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packets from the base station (add up the slots allocated        messages at the correct time and then go to sleep. It is
to all receiving units that precede it). Each receiving          likely that battery power savings resulting from ef?
mobile unit goes to sleep after scheduling to wake itself        cient operation of interval C may be signi?cantly less
up at its designated time for receiving data. After re           compared to those realized in the contention-free inter
ceiving its packets, the mobile unit goes to sleep for the       vals A and B.
remainder of period A. At the end of the A interval, all            Next a brief outline of a scheme for implementing
mobile units turn their receiver ON and receive Header           battery efficient execution of a simple version of the
BH corresponding to the B interval.                              Scheduled Access Protocol for wireless communication
  Header BH contains an ordered list of users that will          is described. The implementation is based on the con
be allowed to transmit to the base station in the current        cept of broadcasting short user activity (in transmit and
frame.                                                           receive modes) indexing messages in the header sections
  A list of mobile stations (V 1, V2, . . . , V,,) that are
                                                          of a frame. For purpose of description, assume that in
    allowed to transmit packets to the base station in    each frame a mobile unit is allocated at least one slot for
    the current frame and the order in which they         receiving traffic and at least one slot for transmitting
    should transmit.                                   15 traf?c.                '
  Bandwidth allocated to mobile stations in this frame       In Period A, before the base station broadcasts mes
    (t1, t2, . . . , t,,), where tiis the number of packets
                                                        sages to receivers, it includes a Receiving Users Index
    that the mobile station V; can transmit in the cur
    rent frame.
                                                        in the Header AH section of the frame. The Receiving
  Using the information regarding the number of pack 20 Users  Index is a coded description of mobile users that
                                                        will receive data in the current frame. That is, it is a
ets that each user can transmit, each mobile unit can
                                                                 designation of which mobile users are to communicate
compute exactly when it should begin its transmission.
Once each mobile station computes its exact time for            with the base station during this frame. All the mobiles
transmission, it can schedule to wake up its transmitter        listen to this designation or indexing message and all
at its designated time and then go to sleep (i.e., shut both 25 Receive-Inactive users (i.e., users who do not have a
it s transmitter and receiver OFF). At its designated           message coming in from the base station in the current
time, the transmitter at a mobile station can turn ON           frame) can simply turn their receiver power OFF until
and transmit for a ?xed period of time whose duration           the beginning of Header BH for Period B. At that time
depends on the number of slots allocated to it.                 all the mobiles turn their receivers ON and listen to
   It is pointed out that explicit polling messages are not     Transmitting Users Index in the Header BH section of
used to address users individually. The advantage of            the frame. The receivers are turned OFF until the be
avoiding explicit polling on a peruser basis is the follow      ginning of Header CH for Period C. The Transmitting
ing. Each polling message spacing incurs a ?xed over            Users Index is a coded designation or description of
head time per station that is polled. The overhead is           mobile users that can transmit data in the current frame.
independent of whether the station has anything to 35 Transmit-Inactive users (i.e., users who do not have a
transmit or not. The polling overhead is the sum of the        slot designated or allocated to them for transmission)
following components:                                          can simply continue to keep their transmitters powered
   Time to transmit a polling message.                         OFF until the beginning of Header CH for Period C.
   Effective propagation time for the polling message             Signi?cant power savings can be achieved due to the
      (this includes the delay due electromagnetic radia 40 following two observations:
      tion plus the radio turnaround time from receive            Most users are very likely to be inactive (both Trans
      to-transmit mode at the mobile unit that responds             mit-Inactive and Receive-Inactive) most of the
      to a poll message and radio turnaround time at the            time for most applications. This is primarily due to
      base station itself) could signi?cantly impair perfor         the bursty nature of data communication traf?c.
      mance in radio-based networks.                        45    The designation or indexing messages in the header
   The execution of scheduled access in the manner                  sections (AH and BH) represent a small fraction of
described here has the following advantages over ex                 the whole frame length.
plicit polling schemes. They are summarized below:                A method of implementation of the multiaccess pro
   Effective elimination of the polling overhead for all       tocol is described below. Here, assume that there are N
    inbound traffic from mobile users.                        50 users in the system, say, N=64. Then the users can be
   More importantly, the mobile stations economize the    indexed from 1 to 64 by the base station in each user’s
     use of battery power by utilizing the control infor  initial registration period. The registration is needed to
     mation contained in the AH (Outbound) and BH         associate each mobile unit in the network with the in
     (Inbound) headers and scheduling their transmit      tended base station.
     ters/receivers to be turned ON just in time and 55      In the initial portion of the header section AH, the
     turned OFF at the earliest opportunity.              base station sends out the Receiving Users designation
   In interval C (Random Access or Contention Mode),      or Index message portion of the header as a bit-vector,
only those mobile units that do not wish to transmit go   64 bits long as shown in FIG. 5.
to sleep (by turning both their transmitter and receiver     The content of each bit location signals the receiver
OFF) till the end of the current frame. The inbound 60 activity of the user designated or indexed by the bit
traf?c from remaining mobile units may include: regis     location. For example, reading left to right, a “l” in the
tration requests (that enable mobile stations to request  4’th, 8’th, 9’th, etc. bit location can be used to signal that
the services of the base station), bandwidth reservation  the 4’th, 8’th, 9’th, etc. mobile unit is designated to
requests for use in interval B, single packet messages    receive one message in the current frame period. “0” in
etc. A mobile unit executing a random access protocol 65 the l’st, 2’nd, 3’rd, etc. bit location signals that the l’th,
wakes up its transmitter at its designated time and trans 2’nd, 3’rd, etc. mobile unit is inactive (is not designated
mits and then goes to sleep. The receiver at the mobile          to receive any data) and can turn its receiver power
unit can wake itself up to receive acknowledgement               OFF until the beginning of Header BH.




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  Optimization of transmit power is done in an analo               to transmit information to the base station. It is seen that
gous manner. In the initial portion of the Header BH,              there are 14 slots allocated, 4 in time period R1 for the
the base station sends out another 64 bit-vector repre             ?rst unit, 3 in time period R2 for the second unit and 7
senting the Transmitting Users designation or Index.               in time period R3 for the third unit.
Mobile user i turns its transmitter ON only if the i''' bit          Refer now to FIGS. 8A-8D which constitute a flow
in the bit-vector is l.                                            chart of a program operable in controller 152 of the
   The methods described above are simple and effec                wireless link adapter of FIG. 9 for controlling the bat
tive in reducing power consumption in any frame based              tery efficient operation of a wireless link adapter as
Scheduled Access Protocol scheme for sharing wireless              controlled by the multiaccess protocol as illustrated in
communications channels (radio and infrared) among                 FIGS. 4, 6 and 7. In the following description, it is to be
portable mobile users. The techniques for battery effi     appreciated that any reference to a transmitter or re
cient operation of the protocol rely on implementation     ceiver, is to the transmitter or receiver of the wireless
of timers that do not consume signi?cant battery power     link adapter.
when compared with transmitter, receiver, micro               In FIG. 8A at input 80 the header AH (FIG. 4) is
processor or logic in the wireless adapter cards. A de
                                                           received for period A at' block 82. At decision block 84
tailed description of an exemplary wireless link adapter
is set forth shortly relative to FIG. 9. The adapter de    a determination is made by a given mobile unit, such as
scribed, utilizes the components described below. The      unit 10 (FIG. 1) if it is designated in the RLIST of
following data taken from manufacturer’s manuals indi      receiving mobile units (FIG. 5). If the determination
cate that timers can be implemented with relatively low 20 NO is indicated, at block 86 the adapter of the given
power consumption. The example is representative of        mobile station 10 sets the variable sleep duration (indi
what can be saved in a realistic system. As an example,    cates how long it can sleep) to TA. At block 86, the
a HPC microcontroller 4640015 consumes 385 mW in           receiver is turned off for the duration TA (FIG. 4) of
Normal running mode and 55 mW in Idle mode (i.e,           the broadcast of the base station such as base station 26
with internal timer and oscillator running). The Proxim 25 to the given mobile station 10, resulting in a conserva
transceiver (RDA-lOO/Z) consumes 325 mW in Trans           tion of power at the mobile station 10 for the period TA~.
mitter ON mode, 400 mW in Receiver ON mode and l           If the determination at block 84 is YES that the given
mW in Standby mode. When the timer is used to put the      mobile station 10 is designated in the RLIST, a determi
transmitter and receiver into sleep mode, the HPC mi       nation is made at block 88 what the position of the given
crocontroller can be put into Idle mode (55 mW) and        mobile station is in the RLIST. User ui must wait until
the Proxim radio can be put in Standby mode (1 mW).        all preceding users (U1, U2, . . . , UM have received
Thus the minimum power consumed is 56 mW in sleep          their packets. The length of the wait equals the sum of
mode. When the transmitter is ON, the power con       receiver slot allocations as computed at block 88. The
sumed is the sum of I-IPC running in normal mode (385 receiver of the mobile station 10 is turned OFF at block
mW)‘and the transmitter in ON mode (325 mW). Simi 35 90, and turned back ON at block 92 when the time slots
larly, when the receiver is ON. the power consumed is allocated in the RLIST for the mobile station 10 is
the sum of HPC running in normal mode (385 mW) and                 reached. After receiving the packets addressed to it,
the receiver in ON mode (400 mW).                                  mobile station 10 at block 94 computes the remaining
  Suppose f] is the fraction of the time a user is actively        time in period A that it should sleep.
transmitting (i.e., user is allocated (TA+TB) f, slots in            The sleep duration as computed in blocks 86 and 94 is
Period B) packets to the base station. Suppose f,, is the          provided at point 95 to block 96 of FIG. 8B. The re
fraction of the time the user is actively receiving pack           ceiver for the mobile station is once again turned off as
ets addressed to him (i.e., user is allocated (TA+TB) f,           indicated at block 96 after its allotted time slots have
slots in Period A). The power consumed using the cur               passed. Since the receiver for the mobile station 10 is on
rent invention is:                                     only during allotted time slots, once again battery con
                                                              45
                                                       servation during the receive mode has been achieved.
                                                          During the transmission cycle for mobile unit to base
                                                       station transmission, the header BH (FIGS. 4,6 and 7)
  The power consumed without the techniques of this    for period B is received'by the given mobile station 10
invention is:                                       50 at block 98, as previously explained, and the receiver is
                                                       turned off for entire duration of period B. A determina
                                                                   tion is then made at decision block 100 whether or not
                                                          the given mobile station is designated to transmit in this
   If f,=O. l, f,=0.l power consumption with this inven   frame. If the determination is NO, the adapter of the
tion is 194.3 mW. Otherwise the power consumed 55 given mobile ‘station 10 sets variable sleep-duration
would have been 777.5 mW. Signi?cant power savings        (indicates how long the transmitter is off) to TB, as
can be realized with this invention, especially as f,—>0, indicated at block 102. The transmitter of the mobile
f,->O.                                                    station 10 is turned off at block 102 (FIG. 8C) for the
   FIG. 6 is a diagram of receiver allocation of the mul  duration TB of the period B (FIG. 4), resulting in a
tiaccess protocol. If there are 64 mobile units as shown           conservation of power at the mobile station 10 for the
in FIG. 5, four (4) of these units are designated to re            period TB. If the determination at block 100 is YES that
ceive information from the base station. It is seen that           the given mobile station 10 is designated in the TLIST
there are 15 slots allocated, 3 in time period S1 for the          a determination is made at block 104 what the position
?rst unit, 5 in time period S2 for the second unit, 3 in      of the given mobile station is in the TLIST. User Vi
time period S3 for the third unit, and 4 in time period S5 65 must wait until all preceding users V1, V2, . . . , V,-_1 have
for the fourth unit.          '                               transmitted their packets in their allocated slots. The
  FIG. 7 is a diagram of transmitter allocations for the      length of the wait equals the sum of transmitter slot
multiaccess protocol. Three mobile units are designated       allocations as computed in block 104. The transmitter of




                                                     Appx1162
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the mobile station 10 is turned off at block 106, and            The controller 152 sets the timer 154 for desired peri
turned back on at block 108 when the time slots allo           ods of time as explained relative to FIGS. 8A-8D.
cated in the TLIST for the given mobile station 10 is          When the timer 154 elapses, it sends a wakeup signal to
reacheduAfter transmitting its packets, mobile station         the controller 152, and to the radio 158 via line 166. The
10 computes at block 110 the remaining length of period        radio receiver 158 is put to sleep by the controller 152
B.                                                             via the line 164.
     The sleep duration as computed in blocks 102 and 110        In summary, a method has been set forth for the bat
is provided at point 111 to block 112 of FIG. 8C. The          tery efficient operation of a wireless link adapter of a
transmitter for the given mobile station 10 is once again      mobile computer as controlled by a scheduled multiac
turned off as indicated at block 112 after its allotted time   cess protocol.
slots have passed. Since the transmitter for the mobile
station 10 is on only during its allotted time slots, once                     Industrial Applicability
again battery conservation during the transmit mode            It is an object of the invention to provide a method
has been achieved,                                          and apparatus for conserving battery power in a wire
   During the contention cycles for mobile stations rela 15 less link adapter of a mobile computer.
tive to transmission to the base station station, the          It is another object of the invention to provide a
header CH for period TC (FIGS. 4,6 and 7) is received       method and apparatus for conserving battery power in
by the given mobile station 10 at block 114 and the         a wireless link adapter of mobile computers as con
receiver is turned off for the duration of perion C. A      trolled by a multiaccess protocol for wireless communi
determination is made at decision block 116 whether or      cation between the mobile computers and a base station.
not the given mobile station 10 has any packets to trans       It is yet another object of the invention to provide a
mit in the random access mode (period C). If the answer     method and apparatus for conserving battery power in
is NO as indicated at point 118 proceed to block 134 of        a wireless link adapter of mobile computers as con
FIG. 8D. The function of the block 134 is explained        trolled by a multiaccess protocol for wireless communi
shortly. If the determination at block 116 is YES, pro 25 cation between the mobile computers and a base station.
ceed to block 120 where transmission is scheduled in a     The multiaccess protocol is portioned into at least one
slot T. The transmitter is turned off for the times other  frame which is divided into slots, with there being at
than the slot T, as indicated at block 122. The transmit   least one slot assigned to each mobile computer desig
ter is then turned on at slot T as indicated at block 124. nated to communicate with the base station. The battery
The receiver is turned on at block 126 to receive a 30 power of the wireless link adapter for a given mobile
ACK/NAK message at slot T+A from the base station.         computer designated to communicate with the base
The A is equal to a delay sufficient for the base station  station is turned on to full power at least during said at
to send, and the mobile station to receive the ACK         least one slot, for running the given mobile computer in
/NAK message. If a NAK message is received, packet         a normal running mode, with the battery power of the
is rescheduled for repeat transmission. The receiver is 35 wireless link adapter being substantially reduced during
then put back to sleep.                                    the remaining time slots, for running the given mobile
   The indication of the receiver being turned off at      computer in an idle mode.
point 128 is provided to decision block 130 of FIG. 8D,       Having thus described our invention, what we claim
where a determination is made if there are any more            as new, and desire to secure by Letters Patent is:
packets to transmit in the random access mode. If the            1. A method of conserving battery power in a wire
determination is YES, as indicated at point 132, the           less link adapter of battery powered computers operable
logic returns to block 120 of FIG. SC to proceed as         in a multiaccess protocol for wireless communication
previously explained. If the determination is NO, the       between n, where n is an integer, of said battery pow
sleep duration is set to the remaining length of period C,  ered computers and a base station, with said protocol
and the battery power for the transmitter and receiver 45 including a designation of which ones of said n comput
are turned off for the remaining duration of the period     ers are to communicate with said base station, said
C. Accordingly, the transmitter and receiver are turned     method comprising the steps of:
off at block 136. The receiver is turned back on at block     partitioning said multiaccess protocol into at least one
138 after period C has elapsed. If this is a frequency           frame including a header AH having n bits, with
hopping system, the carrier frequency is changed at              each of said :1 bits being assigned to a correspond
block 140 and a return is made via point 80 to block 82          ing one of said n battery powered computers, with
of FIG. 8A to repeat the transmission of the multiaccess         a given one of said It computers being scheduled
protocol from the base station 26 to the mobile station          for communication with said base station during
10.                                                              said frame when its corresponding one of said n bits
   FIG. 9 is an exemplary block diagram of wireless link 55      is in a ?rst state, and for not being in communica~
adapter hardware which may be used to implement                  tion when in a second state, with the remainder of
battery power control of the adapter in accord with the          said frame being divided into a plurality of slots in
flow charts of FIGS. 8A-8D. The components used in               a time duration TA, with there being at least one
the adapter and the power consumption characteristics            slot dynamically assigned to only the ones of said in
were described earlier. A radio controller 150 includes          battery powered computers scheduled to commu
a HPC controller 152, a timer 154 and memory and                   nicate with said base station;
logic 156 for controlling the battery efficient operation        turning ON said battery power of said wireless link
of a Proxim radio transmitter/receiver 158. That is,               adapter for each of said it battery powered comput
controlling the normal running mode and idle mode of               ers for the duration of header AH;
the radio transmitter/receiver 158 as controlled by the 65       turning OFF battery power for said time duration
scheduled multiaccess protocol. Transmit and receive               TA for each wireless link adapter of the n battery
signals are via lines 160 and 162 respectively. Sleep and          powered computers that is not scheduled to com
wakeup signals are via lines 164 and 166 respectively.             municate with said base station; and




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  turning ON battery power only during the at least            including a designation of which ones of said computer
    one slot time of TA scheduled, for each wireless           are to communicate with said base station, said method
    link adapter of the n battery powered computers            comprising the steps of:
    scheduled to communicate with said base station,             partitioning said multiaccess protocol into at least one
    and turning OFF battery power for the remaining                frame including a header AH having 11 bits, with
     slots of TA.                                                  each of said n bits being assigned to a correspond
  2. The method claimed in claim 1, wherein the com                ing one of said 11 battery powered computers, with
munication scheduled is for said base station to transmit          a given one of said it battery powered computers
to the scheduled ones of said battery powered comput               being scheduled for communication with said base
ers during the time duration TA.                          10       station during said at least one frame, when its
  3. The method of claim 2, including the steps of:                corresponding one of said n bits is in a ?rst state,
  including a second frame in said multiaccess protocol,           and for not being in communication when in a
    including a header BH having n bits, with each of              second state, with the remainder of said at least one
    said It bits being assigned to a corresponding one of          frame being divided into a plurality of slots in a
    said n battery powered computers, with a given                 time duration TA, with there being at least one slot
    one of said n computers being scheduled for trans              dynamically assigned to only the ones of said n
    mitting information to said base station during said           computers scheduled to communicate with said
    second frame when its corresponding one of said n
    bits is in a ?rst state, and for not transmitting infor
                                                                   base station;
                                                                 running said wireless link adapter of each of said it
    mation when in a second state, with the remainder
    of said second frame being divided into a plurality            battery powered computers in a normal running
    of slots in a time duration TB, with there being at            mode for the duration of header AH;
    least one slot dynamically assigned to only the ones         running in an idle mode for said time duration TA,
    of said 11 battery powered computers scheduled to              said wireless link adapter of each of the n battery
    transmit to said base station;                       25
                                                                   powered computers that is not scheduled to com
  turning on said battery power of said wireless link              municate with said base station; and
    adapter for each of said n battery powered comput            running said wireless link adapter in a normal mode
    ers for the duration of the header BH;                         only during the at least one slot time of TA sched
  turning OFF battery power for said time duration TB              uled for each of the n battery powered computers
    for each wireless link adapter of the n battery pow            that is scheduled to communicate with said base
    ered computers that is not scheduled to transmit to            station, and running it in an idle mode for the re
    said base station; and                                         maining slots of TA.
  turning ON battery power only during the at least              6. A method of conserving battery power in a wire
    one slot time of TB scheduled for each wireless linkless link adapter of battery powered computers operable
    adapter of the n battery powered computers sched 35 in a multiaccess protocol for wireless communication
    uled to transmit to said base station, and turning         between n, where n is an integer, of said battery pow
     OFF battery power for the remaining slots of TB.          ered computers and a base station, with said protocol
  4. The method of claim 3, including the steps of:            including a designation of which ones of said n comput
  including a third frame in said multiaccess protocol,        ers are to communicate with said base station, said
    with said third frame including a header CH which       method comprising the steps of:
    includes a designation of the number of slots avail       partitioning said multiaccess protocol into at least
    able in the remainder of said third frame in time           ?rst and second frames;
    duration TC, with said third frame being allotted to      including in said ?rst frame a header AH having n
    contention mode transmission from said it battery           bits, with each of said It bits being assigned to a
    powered computers to said base station;              45     corresponding one of said n battery powered com
  turning ON said battery power of said wireless link           puters, with a given one of said n computers being
    adapter of each of said n battery powered comput               scheduled for receiving information from said base
    ers for the duration of the header CH;                         station during said ?rst frame when its correspond
  turning OFF said battery power of the receiver of                ing one of said it bits is in a ?rst state, and for not
    each wireless link adapter of each of said n battery           receiving information when in a second state, with
    power computers for the time duration TC;                      the remainder of said frame being divided into a
  turning OFF the battery power of the transmitter in              plurality of slots in a time duration TA, with there
    said wireless link adapter of any of said battery              being at least one slot dynamically assigned to only
    powered computers that do not wish to transmit to              the ones of said it battery powered computers
    said base station during said third frame; and tum 55          scheduled to receive information from said base
    ing ON said battery power for a transmitter of said            station;
    wireless link adapter in a given battery powered             running said wireless link adapter for each of said 11
    computer for at least one slot in said third frame for         battery powered computers in a normal running
    transmitting from said given battery powered com               mode for the duration of header AH;
     puter to said base station, with said battery power         running said wireless link adapter in an idle mode for
     for said transmitter of said wireless adapter link            said time duration TA for each of the n battery
     being turned OFF for the remaining time slots of              powered computers that is not scheduled to re
     said third frame.                                             ceive information from said base station;
  5. A method of conserving battery power in a wire              running said wireless link adapter in a normal running
less link adapter of battery powered computers operable 65         mode only during the at least one slot time of TA
in a multiaccess protocol for wireless communication               scheduled for each of the n battery powered com
between n, where n is an integer, of said battery pow              puters scheduled to receive information from said
ered computers and a base station, with said protocol              base station;




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including in said second frame a header Bl-I having n           and running it in an idle mode for the remaining
  bits, with each of said n bits being assigned to a            slots of TB.
  corresponding one of said n battery powered com            7. The method of claim 6, including the step of:
  puters, with a given one of said n computers being         including a third frame in said multiaccess protocol,
                                                                with said third frame including a header CH which
  scheduled for transmitting information to said base           includes a designation of the number of slots avail
  station during said second frame when its corre               able in the remainder of said third frame in a time
  sponding one of said n bits is in a ?rst state, and for       duration TC, with said third frame being allotted to
  not transmitting information when in a second                 contention mode transmission from said n battery
  state, with the remainder of said second frame 10            powered computers to said base station;
  being divided into a plurality of slots in a time          running in the normal running mode the receiver in
  duration TB, with there being at least one slot              the wireless link adapter of each of said n battery
  dynamically assigned to only the ones of said 11             powered computers for the duration of the header
  battery powered computers scheduled to transmit 15           HC;
                                                             running in the idle mode the transmitter in said wire
  to said base station;                                        less link adapter of any of said n battery powered
running said wireless link adapter for each of said 11         computers that do not wish to transmit to said base
  battery powered computers in a normal running                station during said third frame; and
  mode for the duration of the header BH;                    running the transmitter in said wireless link adapter in
running said wireless link adapter in an idle mode for 20      a given one of said 11 battery powered computers in
  said time duration TB for each of the n battery              a normal running mode at least during one slot in
  powered computers that is not scheduled to trans             said third frame for transmitting communications
                                                               from said given one of said n battery powered
  mit to said base station; and
                                                               computer to said base station, with said transmitter
running said wireless link adapter in a normal running 25      in said wireless link adapter running in an idle
  mode only during the at least one slot time of TB            mode for the remaining time slots of said third
  scheduled for each of the n battery powered com              frame.
  puters scheduled to transmit to said base station,                            *   i   i    *   ¥




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United States Patent [191                                                                [11]     Patent Number:                4,887,266
Neve et al.                                                                              I45]     Date of Patent:           Dec. 12, 1989

[54] COM1\/IUNICATION SYSTEM                                                                    FOREIGN PATENT DOCUMENTS
[75] Inventors: Brian D. Neve, Exbury; Peter J.                                            2024571    1/1980 United Kingdom .
                         Lawrence, Fareham; Lyndon N.                                      2035641    6/1980 United Kingdom .
                         Owen, Black?eld, all of England
                                                                                                     OTHER PUBLICATIONS
[73] Assignee‘           Process Automation & Computer                            I. Kong et al, “CableNet: A Local Area Network Res
                         Systems Ltd-s London’ England                            ervation Scheme”, 24th IEEE COMPUTER SOCI
                                                                                  ETY INTERNATIONAL Conf. Feb. 22-25, 1982,
[21] Appl. No.:                     2,763                                         NY.
 22      PCT F? d:                  A _ 29 1986                                   L. C. Chien, “Short-Range Radio Transmission of Sen
[ 1            e                     pr ’                                         sor Data”, National Telecommunications Conf. V4,
[86] PCT No.:                       PCT/GB86/00230                                NOV- 3o-Dec- 4, 1980, NY
     § 371 Date;                    Dec_ 29, 1936                                 Primary Examiner-Joseph A. Orsino
                                                                                  Assistant Examiner-Frank M. Scutch, III
         § 102(e) Date:             Dec‘ 29’ 1986                                 Attorney, Agent, or Firm-Bacon & Thomas
[87] PCT Pub. No.: WO86/06571                                                     [57]              ABSTRACT
     PCT Pub. Date: Nov. 6, 1986                                                  A communication system able to provide multiple path
                                _                _    .                           communication between a plurality of stations operat
[30]           Foreign Application Priority Data                                  ing on a single channel. The stations are synchronized
  Apr. 29, 1985 [GB]         United Kingdom ..........          8510808           and a cyclically repeating series of time slots is de?ned.
                                                                             ‘    One time slot in each cycle is reserved for the transmis
[51] Int. Cl.‘ .............................................. .. H04J 3/16        sion of synchronization information by a station desig
[52] US. Cl. ................................... .. 370/951                       nated the master station for reception by the other sta
[58] Field of Search ..................... .. 370/95, 96, 89, 90;                 tions, designated slave stations, and maintaining syn
                                                           340/825.08             chronization therein. Another time slot is reserved for
                                                                                  any slave station to transmit a message that it requires to
[56]                  References Cited                                            communicate to another station, such indication prefer
               U_s_ PATENT DOCUMENTS                                              ably being by transmitting its own pre-assigned address
                                    '                                             code. The remaining time slots are used for transmitting
       2,323,323 g/igf ?nonaiti al- ------------------------ -- 370/39            address information and data. The slave stations operate
       4’129’749 122972       Ggl'glzmn ' ‘ ‘ ‘ ' '          ‘'‘"                 in a low power condition except during one of the other
       4’161’7l8 7/1979       Cohen et ‘ ' '                ' ' ' " 371/71        time slots when they may receive their own address, or
       4:270:185 5/1981       Cohen et a1: ' ' ' ' '        I ' ' "364/900        except when they need to transmit data.
       4,326,265 4/1982 Cohen et al.                            364/900
       4,466,001 8/1984 Moore et al.                        IMO/325.08                               12 Claims, 9 Drawing Sheets

                                                                                  3

                                                            TEiNsMn'rER l RECEIVER /2
                                                               cmcun' 4               C'RCUIT 5

                                                                      TRANSCEIVER




                                                                   INTERFACE CIRCUIT 7




                                                                                  L DlGITAL CONTROL
                                                                                             PROCESSOR 8




                                                               CONNECTION INTERFACE




                                                                  ELECTRICAL DEVICE




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             TEANSMITTER
              _ CIRCUIT 4           RECEWER
                                    CIRCU'T 5        /

                     TRANSCEIVER




                   INTERFACE CIRCUIT 7

                                            \_/-" MEMORY 9

                                \
                                L DIGITAL CONTROL
                                           PROCESSOR 8



                                                I0
                 CONNECTION INTERFACE




                   ELECTRICAL DEVICE




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         OATA WORO FORMAT



             1O BIT AOORESS/OATA >            2BlT_ 1O BIT BOH
                               -               LTNK     ENEOOE
    AOORESS/OATA                   "          CONTROL              PARITY
       FLAG BIT


                   um BATCH FORMAT

                   S I        15 WOROS



        C.51

                   S I
                               15 wuRus '

                               15 WOROS
                   s ; svucnanmsmuu' wuRu
                   I ; INTERRUPT WORD
                                       FIG.2V
                                                             IJ
                                   Appx1168
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                        Appx1169
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                 FIG. 4           '                    INTERFACE




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     ELK




                                              cD



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                                                    5 SI




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                         SLAVE
                     PDWERED DDWN

                            GETS TD DDRMANT STATE
                            BY LDGGTNG DNTD NETWDRK
                            AND INDICATING DWN     -    '
                            ADDRESS ETC.
                                   INTERNAL TIMER             WAKE UP FDR
                                                            SYNCHRDNIZATIDN




             PARALLEL INTERFACE       -
            SERVICING: lNPUT/DUTPUT
             DATA TD REGISTERS DF
                VIRTUAL CIRCUITS

      REDUIRES                              PARTSDLFANEETWURRKEISTNEUNING
                                                   ‘Wm/inmate                 >
                                                 TRANSMITTTNG/ RECEIVING
              SEND DUT INTERRUPT
            REQUESTING ATTENTlDN.
          WAIT FDR ACKNOWLEDGEMENT
             REPEAT IF NECESSARY




                                  Appx1173
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                             VIRTUAL CIRCUIT
                              DUES NOT EXIST

                                       REQUEST TO                    TRANSIENT CIRCUIT
                                       CREATE CIRCUIT                  BUFFERS EMPTY
                            INDICATE T0 MASTER
                          mm cmcun REQUIRED.
                           DESTINATION ANU TYPE
      KIWI" REH-            0F CIRCUIT. REPEAT IF
     AEKNUWLEDGED             NEEESSARY
      WITH CIRCUIT                              FAILED TO
         NUMBER                                 CREATE CIRCUIT
                 MASTER INDICATES
              TU DESTINATION THAT IT
              IS PART OF VIRTUAL CIRCUIT
                 AND TYPE OF CIRCUIT
      SUCCESSFUL
          CIRCUIT                          RF CHANNEL ALLUCATEII
                                                      TU CIRCUIT
                        CIRCUIT EXISTS:
                     SOURCE/DESTINATION
                         MONITOR RF
   gé?tup                 CHANNEL
   INUICATING USE OF                           TNTFENTW
   DEFAULT cmcun                          on cmcun um
                    DORMANT STATE         "MED Um
               DEFAULT VIRTUAL
                       EXISTS cmcun                     EMPTY ,



                                          FIG. 8




                                    Appx1174
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       d1            d2               d3           d1.                            d8

                    ‘\MASIER/                                                 SLAVE
                       mnlou
                           ‘
                                              .        ,
                                                                              NUQHFL
                                                                                  |


                           \                                            DEFAULT ' ACTIVE
                               ‘, \                                     cmcun.         NUDE
                           ,’ .\-'r=::"'                   — _"— “7/
                  x?’                 EREATEIJ\\                          ; RF “ANNE
                   / I/ACTIVE         cmcun                               ‘00mm
                 .' Imus                                                  ‘NUDE
            lsuws                                                     SLAVE
    DEFAULT" "0051”                                                 9 "0054”, [mun
    cmcun I            \                                                          cmcun
            as          d1!)                      d7               d5        as




                                           Appx1175
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                                                       4,887,266
                             1                                                              2
                                                                particular time slot dependent on said address. Said
             COMIVIUNICATION SYSTEM                             other device is preferably arranged to transmit its ad
                                                                dress in said reserved time slot when it requests commu
       BACKGROUND OF THE INVENTION                              nication.
    This invention relates to a communication system and          Viewed from another aspect, the invention provides a
 in particular to a radio communication system capable          radio transmitter and receiver apparatus for providing
 of supporting a network of intercommunicating points           data communication with an electrical device, compris
 with a variety of communication paths therebetween.            ing a transmitter circuit, a receiver circuit and an inter
 The invention has particular utility in applications           face circuit, said interface circuit including a processor
 where a relatively large number of devices are required        controlled by a stored program and being arranged to
 to intercommmunicate, such as in industrial plant and          control the transfer of data from said device to the
 process monitoring and control, but the bene?ts and            transmitter circuit and/or from the receiver circuit to
 advantages of the invention are by no means restricted         the device, and said interface circuit being operable in a
to such applications.                                           condition in which data transfer can take place or in a
   Communication networks employing cable (electri              lower power consumption condition in which data
cal and optical) connections and radio links are of             transfer cannot take place, the interface circuit being
course well known. Cable systems have the disadvan              operable automatically to enter the lower power condi
tage that the capital cost of the equipment and the in         tion when a communication operation has been com
stallation costs are relatively high. Whilst switched          pleted and automatically to re-enter the data transfer
systems can provide great ?exibility in the communica          condition when either a signal is received from the
tion paths which are established, the provision of com         device indicative of the need to transmit data or a pre
munications to a point not served by the original net       determined code signal is received by the receiver cir
work may involve considerable dif?culty and expense.        cuit indicative of the need to receive data.
Radio systems have the advantage that a transmitting           Such apparatus enables a very low power consump
and/or receiving station can normally be set up rela     25
                                                            tion to be achieved in the cases where the device re
tively easily in any location but there may be dif?culty    quires to transmit data only rarely orthe receiver re
in providing a power supply to the station and often a         ceives the predetermined code signal only rarely. In
radio station is relatively large and in particular may        process monitoring applications, for example, a device
require a large antenna. There are many applications
                                                         may need to transmit data for only a fraction of a second
where it is desirable to provide a communications sys 30
tem in which the transmitting and receiving apparatus is       in many hours. A further advantage of the invention is
small, may be easily installed in any location, and is of      that it enables the use of a receiver system similar to
very low power consumption so as to mitigate the prob            known radio paging systems in which the address of an
lem of power supplies. For example, on a site such as a         individual receiver is only transmitted when communi
re?nery there may typically be of the order of 4000             cation to that receiver is required and further can only
points between which it is desired to provide data com          occur in a predetermined time slot in a cyclically ,re
munication for process control purposes. There may,             peating series of time slots. This means that the receiver
for example, be 3000 sensors at various points in the           circuit itself can have very low power consumption
plant and perhaps 1000 receiving devices, such as data          because it needs only to energise internal timing cir
recording devices or actuators, such as valves. Data 40 cuitry continuously and to energise the rest of the re
integrity and security are of course of great importance        ceiving circuit when its assigned time slot occurs.
in such an application and this factor, together with the          Preferably the interface circuit includes a micro
need to avoid any danger of electromagnetic interfer            processor which is operable in a low power condition.
ence, etc., has led to the use of complex cable systems         Further preferably, the power supply to the transmitter
often employing protected cables laid underground. 45 circuit may be controlled by the interface circuit, the
Such installations are extremely costly (typically sev          interface circuit being arranged to energise the transmit
eral millions of pounds for an oil re?nery) and further         ter circuit only when transmission is required.
high costs arise when it is desired to alter the system, for       Thus it may be seen that a very low power transmit
example when adding or moving a sensor.                         ter and receiver apparatus may be provided. A practical
                                                             50 example of the invention provided with a small primary
         SUMMARY OF THE INVENTION                               battery may operate for in excess of ?ve years Because
  Viewed from one aspect the invention provides a               of the use of radio paging circuits which are available in
communication system operating on a single channel              the form of compact integrated circuits a very small
including a device at each of a plurality of nodes be           communication device may be provided. A complete
tween which it is desired to establish communication,           self-contained data transmitting and receiving device
one device including means for transmitting synchroni           may be made in a package only a few centimeters in
sation information and each other device having means           each dimension, allowing it to be mounted almost any
for providing a synchronisation signal in synchrony             where that communication is required, such as directly
with said synchronisation information, said one device          on a sensor or actuator.
being capable of transmitting an address of another 60 Viewed from another aspect, the invention provides a
device in one of a cyclically repeating series of consecu       communication system comprising a plurality of sta
tive time slots, at least one of said time slots in each       tions each having a transmitter, a receiver, a control
cycle being reserved so that no such address may be            processor and a buffer store for data to be transmitted,
transmitted, whereby any of said other devices may             the control processor being responsive to the state of
transmit in such a reserved time slot to request commu 65 fullness of the buffer and arranged in dependence
nication on said channel. Preferably, each said other     thereon to cause an alteration in the rate of data flow
device has a-pre-assigned address and operates to de           through the system. Preferably every word of data
code transmitted information on said channel only in a         which passes through the system is accompanied by at




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 least one bit of link control information, and each con        to the device 6. A connection interface 10 provides any
 trol processor includes a register for holding informa         necessary electrical and protocol conversion between
 tion indicative of the current mode of operation of the        the device 6 and interface circuit 7, for example the
 station and is arranged to combine the link control in         provision of input or output signals in accordance with
 formation with the contents of the register to control         a standard interface bus.
 the subsequent operation, and in particular to provide a         A large number of communication stations each com
 mode of increased rate of data throughput when the             prising a transceiver 2 and interface circuit 7 and any
 state of fullness of the buffer so dictates.                   necessary interface 10 may be provided in a communi
   Preferably the system isa synchronous communica              cation network operating on the same radio frequency.
 tion system with one station designated the master sta         One station, which is physically similar to the others but
 tion providing system synchronisation signals, and de          operates a different stored program, may be designated
 fining a cyclic sequence of time slots comprising at least '   the master station and provides synchronisation signals
one synchronisation time slot, at least one interrupt time      for all of the other stations (referred to hereinafter as
slot, and a plurality of address or data time slots,            “slave” stations) and controls access of the stations to
wherein any other station can transmit a message to the 15 the single radio channel.
master station during an interrupt time slot to indicate a        Referring to FIG. 2, which shows the data transmis
request to communicate. Such a system provides great            sion format, it may be seen that digital signals are trans
?exibility in the communication paths which can be              mitted in cyclically repeating series or batches of seven
established, allows stations to remain in an inactive           teen 32-bit words. The ?rst word in each batch is re
condition when they are not communicating, and can 20 served for synchronisation information transmitted by
readily and ef?ciently adapt to the transmission of large      the master station. The second word (referred to as an
or small quantities of data. In a preferred arrangement,       “interrupt time slot”) is reserved for any slave station to
after the master station has acknowledged the request to       transmit a request for communication service. Any
communicate a station may transmit to the master sta           device with synchronisation can attempt to transmit
tion the address of the destination station if this is not 25 within this word to attract attention. The remaining
known to the master station. The master station may            fifteen tie slots are used for address or data words of the
then broadcast a signal to the source and destination          format shown at the top of FIG. 2. Each word contains
stations allocating them a time slot for communication.        an address/data ?ag bit which indicates whether the
Preferably a fixed time later the data transfer takes place    following information is an address or data. Eighteen
and if the accompanying link control information indi 30 bits of address or data then follow, followed by two bits
cates that the buffer of the source station is not empty,      of link control information. Bits 21 to 3l»are BCH cyclic
the master station may automatically allocate further          error checking bits and the ?nal bit provides a parity
time on the transmission channel.                              check.
                                                                 Considerable similarity will be noted with the data
   BRIEF DESCRIPTION OF THE DRAWINGS                        35 format employed in the POCSAG code used for digital
  An embodiment of the invention will now be de                 radio paging receivers, in particular the use of synchro
scribed by way of example and with reference to the             nous communication using batches of transmission time
accompanying drawings, in which:                                slots beginning with synchronisation information. The
  FIG. 1 is an overall block diagram of a transmitter          receiver 5 may be generally similar to a known paging
and receiver, apparatus according to the invention;            receiver and holds a pre-assigned address which as well
   FIG. 2 is a diagram showing the data transmission           as uniquely identifying the device indicates in which of
format used by the apparatus of FIG. 1;                        the fifteen address/data time slots the address of the
   FIG. 3 is a functional block diagramof the transmit         receiver will be transmitted. The receiver circuit 5 in
ter and receiver circuits of the apparatus of FIG. 1;          cludes a low power timing circuit which operates to
   FIG. 4 is a functional block diagram of the interface 45 energise the rest of the receiver circuit only for the time
circuit of the apparatus of FIG. 1;                            slot in which its address may occur and for the syn
   FIG. 5 is a circuit diagram of the interface circuit; -     chronisation time slot thereby enabling it to maintain
   FIG. 6 is a state diagram of the function of a master       synchronisation with low power consumption. If no
station;                                                       data is currently required to be transmitted, the master
   FIG. 7 is a state diagram of the function of a slave 50 station transmits idle words.
station;                                                          Referring to FIG. 3, the transmitter circuit 4 includes
   FIG. 8 is a state diagram illustrating the establishment    a radio frequency amplifier 12 and a modulator 13 for
of a communication path; and                                   providing FSK (frequency shift keying) signals to an
   FIG. 9 is a schematic illustration of a number of data      tenna 3 via diode switch 14. The diode switch operates
communication paths in a network.                           55 to connect the amplifier 12 to the antenna 3 when the
                                                               transmitter is operational but otherwise connects the
       DESCRIPTION OF THE PREFERRED                            antenna to the receiver circuit 5. The transmitter is
                     EMBODIMENT                                brought to its active state only when data is being trans
  Referring to the drawings, a radio transmitter and           mitted. This is achieved by including a ‘transmitter
receiver apparatus for providing data communication 60 enable’ line from the controller. Inputs and outputs to
with an electrical device 6 comprises a transmitter and        the interface circuit 7 of FIG. 4 are shown at the right
receiver device (transceiver) 2 which includes an an           hand side of FIG. 3. The receiver circuit 5 comprises
tenna 3, a transmitter circuit 4 and a receiver circuit 5. two integrated circuits, a receiver 15 and a decoder 16.
The transceiver 2 is connected to an interface circuit 7   The decoder 16 includes low power timing circuits and
which includes a digital control processor 8 controlled 65 a comparator for comparing a received address with an
by a stored program in memory 9 and is arranged to         address stored in an address matrix 17. In operation, the
control the transfer of data from the device 6 to the      decoder 16 provides a ‘battery save’ signal on line 18 to
transmitter circuit 4 and/or from the receiver circuit 5   cause the receiver 15 to operate during each synchroni




                                                       Appx1177
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 sation time slot and each pre-assigned address time slot.       A background task in the control processor can now
 If the correct address is received a series of square         hold a reference point from which frame and batch
 waves known as a cadence is produced and this to              edges can be accurately de?ned in time. Internal inter
gether with the signal on line 18 causes the interface         rupts can be assigned to a particular frame or batch edge
circuit 7 to process the data provided on line 19. The         so that prede?ned events, e.g. data transmission, can
receiver 15 may be additionally energised by a signal on       occur exactly at a frame or batch edge.
line 20 when the interface circuit 7 determines that             Control of the transceiver involves managing recep
signals should be received in a time slot other than the       tion and transmission. The reception task requires four
pre-assigned time slot. The output of the decoder can be       functions of the controller: power up, capture of ca
terminated by a ‘Decoder Reset’ signal from the con            dence, bit synchronisation, and provision of a bit syn
troller.                                                       chronisation clock. The clock is always active and is
   FIG. 4 shows functionally (the signal ?ow paths) the        provided via a divider chain. The fundamental fre
interface circuit 7 and FIG. 5 is a circuit diagram       quency of the oscillator is used as the system clock for
thereof. The interface circuit 7 controls the transfer of the CPU.
data between the transceiver 2 of FIG. 3 and the inter 15   Using the timing gained from the ‘Battery Save’ sig
face 10 provided at the right-hand side of FIGS. 4 and    nals the CPU can adjust the phase of the clock used for
5. Control processor 8 is connected to program memory     synchronous communication for correct reception of
9 and the other components by control, interrupt, data        the incoming synchronous data.                           ,
and address buses 22, 23, 24 and 25 respectively. The           It may be seen further that a signal line 37 is extended
control processor 8 is preferably a microprocessor, e. g.     from the microprocessor 8 to the transmitter ampli?er
Hitachi 6300 series, with the facility to enter a standby     12; this enables the interface circuit 7 to energise the
mode with a signal on line 26 (FIG. 5) in which condi         transmitter circuit only when a transmission is required,
tion the program halts and the power consumption of           further reducing the power requirements of the appara
                                                              tus.
the microprocessor is very low. In FIG. 5 the address,
                                                                A multifunction interface comprising latches 34 and
data and control buses are shown in solid line; the other
                                                              logic 35, 32 is provided to suit various applications. The
components are a crystal oscillator 27, a divider 28, a
                                                              microprocessor can address external devices as part of '
bistable latch 29, a chip select decoder 32, memories 33,     its own memory map, communicate via a general pur
9, data buffers 34 and associated logic gates 35.             pose I/O port, or load and read data via a bi-directional
  After a communication operation has been com                buffer. This latter feature allows interfacing to other
pleted, the microprocessor 8 automatically enters the         processors’ memory maps without need for direct mem
low power standby condition by outputting a signal to         ory access. The buffer can also generate interrupts on
line 26 and it remains in this condition until the station    reception of data.
address is detected by the receiver circuit 5 or until the      If the peripheral device requires communication out
device 6 indicates via an interrupt request from the          side of its own normal call-up time, then the controller
interface 10 that action is required. The signals which       can be powered up by means of a speci?c interrupt into
cause normal operation of the microprocessor 8 to re          pin 1 of port A.
commence enter at the interrupt line 30 and standby line        A peripheral device could be a transducer, a proces
31.                                                           sor or other piece of equipment, which would have a
  The ‘Cadence’ is a series of bursts of square waves at      detrimental effect on the remote station battery life. To
audio frequency (corresponding to th pager’s bleep            mitigate this effect, a power enable line, 38, under con
pattern). When received the envelope of bursts are            trol of the microprocessor is also provided. This allows
extracted by the microprocessor. The ‘Cadence Enve            further intelligent use to be made of battery power to
lope’ and ‘Battery Save’ signals are logically ANDed          external devices by gating it as required.
and if true cause the rest of the controller to become 45       Turning now to the manner in which the master
active. If not, the microprocessor is returned to the         station controls access to the communication channel to
standby condition.                                            provide data flow paths between the various stations,
  Cadence type is detected by comparisons with a pro          the master station maintains a list of “virtual circuits”
grammable timer under the control of the CPU. Trail       i.e. a list of which stations require to intercommunicate.
ing or falling edges of the cadence envelope are discern  Each slave station also keeps a list of the virtual circuits
able via software. From this, a 2-bit secondary address   in which it takes part. Each virtual circuit may be per
is determined. When sufficient synchronisation and        manently operative or may be transient, i.e. only set up
cadence information has been gathered the decoder is      when required. Further, a number of default circuits
reset by the controller. The cadence edge is not suffi    may be permanently listed for use between stations
ciently precisely de?ned to allow this to be used for 55 which often need to intercommunicate and this reduces
transferring bit and frame synchronisation to the micro   the housekeeping operations the master station needs to
processor from the decoder. Therefore the start up        perform in that the destination station can be assumed
sequence sets up an interrupt occurring on the leading    for these frequently-used data paths rather than having
edge of the battery save signal. This is the signal gener to be set up each time information is being transmitted.
ated in the decoder that controls the low power duty 60 Generally speaking, the master station listens during the
cycle.                                                    interrupt time slot for a request for communication from
   The decoder derives the timing of this battery save    a slave station. The slave station transmits its own ad
signal from the synchronisation signal transmitted from   dress and if this is properly received by the master sta
the aster station. On receipt of this interrupt the ?rst  tion an acknowledgement of interrupt signal is transmit
action of the microprocessor 8 is to cause further inter  ted in the next batch. If the interrupt is unsuccessful, e. g.
rupts from this source to be ignored. An internal timer   because a number of stations are attempting to interrupt
is then initialised to divide down the system clock to    simultaneously, each slave station attempts to interrupt
create the transmission bit rate clock.                   a random number of batches later. On receiving an




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                             7                                                                8
 acknowledgement of the interrupt, the slave station             tion automatically operates to allocate further time slots
 responds in the next time slot but one (giving time to          to the virtual circuit. The further allocation need not be
 decode the data) with a message indicating the address          only a single time slot but may be a series of successive
 of the other station with which it wishes to communi            time slots. In a further development, the link control
 cate. The master station then adds this link to its table of    bits could indicate the level of fullness of the buffer, e. g.
 virtual circuits and transmits the address of the destina       more or less than half full, which can be used by the
 tion station in its appropriate address time slot. This         master station for prioritising the allocation of further
 causes the destination station to switch into the full          channel time to the virtual circuits requiring it.
 receiving condition and the master station then indi              FIG. 8 illustrates this operation. If, for example, a
 cates that the virtual circuit is open. Subsequently, e. g.     source slave station wishes to communicate with a desti
 a ?xed time later, the data is transmitted by the ?rst      nation slave station it ?rst sends an interrupt signal as
 slave station and received by the other. Equally, the       described above and then indicates to the master station
 operation could be one of calling for information from      the address of the destination station. The master station
another station. Clearly the master station has to allo      transmits to the destination station the virtual circuit
cate the various virtual circuits to the time slots in a 15 number and both the source and destination stations
manner avoiding interference between the data paths          monitor the channel. When the master station allocates
whilst utilising the available time slots efficiently. An    the channel to the virtual circuit the source and destina
idle word is transmitted if no other transmission is         tion stations communicate. The link control bits indi
needed.                                                      cate the state of fullness of the buffer and if it is not
   When a station interface circuit 7 is ?rst energised it   empty after a transmission the master station allocates
is initialised if a master station by setting up the virtual further channel time. When the data buffers are empty
circuit tables and other variables. If it is a new slave     the virtual circuit is terminated (if it were a transient
station it ?rst logs on to the network by transmitting to    circuit) or the stations revert to the dormant state with
the master station details as to the address and type of     the virtual circuit still in the tables (if it were a default
slave station. FIGS. 6 and 7 are state diagrams showing 25 virtual circuit).
in high level form the steps followed by the programs in       The resulting system is now seen from the user’s
the master and slave stations respectively. After the        viewpoint to be an array of virtual circuits via which
master station is powered up it scans its table of time slot communication can be made to a remote point through
allocations. If the interface 10 demands attention, this is  a system of hardware ports which are described to the
dealt with by inputting or outputting data from the          master station by a logical port address map. Each port
appropriate virtual circuit register. If the time slot is a     may have an associated buffer so that the system can be
synchronisation time slot the synchronisation word is        conceptualised as each virtual circuit consisting of a
transmitted. If it is an interrupt time slot the master      simple USART. Clearly the operation of the system
station receives. If a valid address is received this is     should be totally transparent to the user and this is
entered into the table of active slave stations requiring 35 achieved by using the. method as described.
communication. During the other time slots either a            Referring to FIG. 9, we can now build up a complete
housekeeping operation is performed as previously de            system to monitor and control. The example given is f6r
scribed or the master station takes part in a communica         a data logger with pens d1d4 having master to slave,
tion operation or the master station monitors the chan          slave to master and slave to slave virtual circuits. Data
nel if the time slot has been allocated to communication 40 is simply obtained from the various ?eld stations d8, d9
between two slave stations. If the time slot is unassigned  and logged on the data logger. Communication is also
the idle word is transmitted.                               set up between slaves 1 and 2, i.e. devices d10 and d7.
   The slave station normally remains dormant except        Each data logger has its own virtual circuit and is effec
for the synchronisation and pre-assigned address slots in   tively connected directly to its own data source in the
which the receiver is energised under the action of the 45 field. Similarly, device d10 is effectively connected
receiver internal timer. If the receiver receives a valid   directly to d7.
address the slave station becomes operational, responds        We claim:
to commands on the channel and takes part in transmis          1. A communication system operating on a single
sion and reception. If an external interrupt is received    channel including a device at each of a plurality of
from interface 10 data is input to or output from the       nodes between which it is desired to establish communi
appropriate virtual circuit register and if the data is     cation, one device including means for transmitting
required to be sent to another station the slave station    synchronization information to each other device simul
sends an interrupt signal requesting communication          taneously and each other device having means for pro
attention.                                                  viding a synchronization signal in synchrony with said
  An important feature of the present invention is the 55 synchronization information, said one device being
ability of the system to alter the rate of data ?ow       capable of transmitting to each other device simulta
through the system in accordance with the amount of             neously an address of another device in one of a cycli
data awaiting transmission. In the normal operation of a        cally repeating series of consecutive time slots, said one
virtual circuit as described above transmission of data     time slot being preassigned for transmission of said ad
takes place at a time dictated by the master station and 60 dress and said other device being arranged to communi
for a limited time only, e.g. one time slot. In the pre     cate upon receipt and recognition of its address, and at
ferred arrangement, the link control bits which are         least one other of said time slots in each cycle being
transmitted with each data word are used to indicate to     reserved so that no such said address may be transmit
the master station which is receiving or monitoring the   ted therein, whereby any of said other devices may
transmission whether the data buffer which holds the 65 transmit in such a reserved time slot to request commu
information for transmission (e. g. in RAM 33) is empty.  nication on said channel, the remaining time slots of said
If it is, the virtual circuit is terminated. If, however, series being usable for the transmission of address infor
more data is required to be transmitted, the master sta   mation and data.




                                                       Appx1179
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                                                     4, 887,266
                                                                                              10
   2. A communication system as claimed in claim 1                cuit being arranged to energize the transmitter circuit
 wherein each said other device has a pre-assigned ad             only when transmission is required.
 dress and operates to decode transmitted information on            8. A communication system as claimed in claim 1
said channel only in a particular time slot dependent on          comprising a plurality of stations each having a trans
said address.                                                     mitter, a receiver, a control processor and a buffer store
  3. A communication system as claimed in claim 2                 for data to be transmitted, the control processor being
wherein a said other device is arranged to transmit its         responsive to the state of fullness of the buffer and ar
address in said reserved time slot when it requests com         ranged in dependence thereon to cause an alteration in
 munication.                                                    the rate of data flow through the system.
                                                             l0   9. A communication system as claimed in claim 8
   4. A communication system as claimed in claim 1
                                                            wherein every word of data which passes through the
 wherein every word of data which passes between said       system is accompanied by at least one bit of link control
 devices is accompanied by at least one bit of link control information, and each control processor includes a reg
information, and each device ‘includes a register for       ister for holding information indicative of the current
holding information indicative of the current mode of 15 mode of operation of the station and is arranged to
operation of the device and is arranged to combine the      combine the link control information with the contents
link control information with the contents of the regis     of the register to control the subsequent operation, to
ter to control the subsequent operation.                    provide at least ' a mode of increased rate of data
   5. A communication system as claimed in claim 1          throughput when the state of fullness of the buffer so
including radio transmitter and receiver apparatus for 20 dictates.
providing data communication with an electrical appa           10. A communication system as claimed in claim 8
ratus, comprising a transmitter circuit, a receiver circuit wherein the system is a synchronous communication
and an interface circuit, said interface circuit including  system with one station designated the master station
a processor controlled by a stored program and being        providing system synchronization signals, and de?ning
arranged to control the transfer of data from said elec     a cyclic sequence of time slots comprising at least one
trical apparatus to the transmitter circuit and/or from     synchronization time slot, at least one interrupt time
the receiver circuit to the electrical apparatus, and said  slot, and a plurality of address or data time slots,
interface circuit being operable in a condition in which    wherein any other station can transmit a message to the
data transfer can take place or in a lower power con        master station during an interrupt time slot to indicate a
sumption condition in which data transfer cannot take       request to communicate.
                                                                    11. A communication system as claimed in claim 10
place, the interface circuit being operable automatically         wherein after the master station has acknowledged the
to enter the lower power condition when a communica
                                                                  request to communicate a station may transmit to the
tion operation has been completed and automatically to            master station the address of the destination station if
re-enter the data transfer condition when a signal is             this is not known to the master station, the master sta
received from the electrical apparatus indicative of the          tion being arranged then to broadcast a signal to the
need to transmit data and when a predetermined code               source and destination stations allocating them a time
signal is received by the receiver circuit indicative of          slot for communication.
the need to receive data.                              12. A communication system as claimed in claim 11
  6. A communication system as claimed in claim 5 40 wherein after the allocation of the time slot data transfer
wherein the interface circuit includes a microprocessor      takes place and if the accompanying link control infor
which is operable in a lower power condition.                mation indicates that the buffer of the source station is
  7. A communication system as claimed'in claim’ 5           not empty, the master station automatically allocates
wherein the power supply to the transmitter circuit may      further time on the transmission channel.
be controlled by the interface circuit, the interface cir 45                      *  *   #0! ill ill




                                                            55




                                                            65




                                                Appx1180
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                        Appx1950
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                        Appx1960
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                        Appx1961
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                        Appx1962
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                        Appx1963
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                        Appx1964
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 UNITED STATES PATENT AND TRADEMARK OFFICE
             _____________________

   BEFORE THE PATENT TRIAL AND APPEAL BOARD
              _____________________


                      APPLE INC.
                       Petitioner

                           v.

        DSS TECHNOLOGY MANAGEMENT, INC.
                   Patent Owner

                 _____________________

                   Case IPR2015-00373
                     Patent 6,128,290
                 _____________________

           DECLARATION OF DR. JING HU




                                      APL 1014
                                      IPR2015-00373


                        Appx1974
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                                                                                            IPR2015-00373
                                                                                     U.S. Pat. No. 6,128,290
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VI.    State of the Art and Summary of References ................................................ 9
       A.      Natarajan..............................................................................................10
       B.      Neve.....................................................................................................15
VII.   Claims 9 and 10 would have been obvious to a POSA over Natarajan
       in view of Neve. .......................................................................................... 17
VIII. HDLC is consistent with low duty cycle RF burst communications. ......... 20
       A.      The preferred embodiment disclosed in the ’290 patent uses
               HDLC. .................................................................................................20
       B.      Mr. Dezmelyk’s understanding of HDLC is incorrect........................21
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                                                                   IPR2015-00373
                                                            U.S. Pat. No. 6,128,290
      I, Dr. Jing Hu, hereby declare as follows:

I.      Introduction
      1.      I am over the age of eighteen (18) and otherwise competent to make

this declaration.

      2.      I have been retained as an expert witness on behalf of APPLE INC. for

the above-captioned inter partes review (IPR). I am being compensated for my

time in connection with this IPR at my standard legal consulting rate, which is

$250 per hour.

      3.      I understand that this inter partes review involves U.S. Patent No.

6,128,290 (“the ’290 patent”), APL 1001, which issued from U.S. Patent

Application No. 08/949,999 (“the ’999 application”), filed on October 14, 1997.

The ’290 patent names Phillip P. Carvey as the sole inventor. The ’290 patent

issued on October 3, 2000, from the ’999 application. It is my understanding that

the ’290 patent is currently owned by DSS Technology Management, Inc.

      4.      In preparing this Declaration, I have reviewed the ’290 patent and

considered each of the documents cited herein in light of the general knowledge in

the art at the time of the alleged inventions. In formulating my opinions, I have

relied upon my experience, education, and knowledge in the relevant art(s). I have

also considered the viewpoint of a person of ordinary skill in the art (“POSA”) at

the relevant time period.



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                                     Appx1976
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                                                                  IPR2015-00373
                                                           U.S. Pat. No. 6,128,290
II.     My Background and Qualifications
      5.      I hold a doctoral degree (PhD) in Electrical and Computer

Engineering, granted by University of California, Santa Barbara in 2007, as well as

a Master’s degree in Electrical and Computer Engineering from Rice University in

2003, and a Bachelor’s degree in Precision Instruments from Tsinghua University,

Beijing, China in 2001.

      6.      I worked as a research scientist and embedded software engineer at

Cisco Systems, Inc. between the years of 2007 and 2012. At Cisco Systems, I

worked on a series of projects that included wide area network optimization, video

quality monitoring, and multimedia conferencing systems on digital signal

processing parts of enterprise network routers. I designed algorithms, wrote

production source code and conducted unit testing on these projects.

      7.      I have conducted research in both academia and industry for over ten

years. My research topics include wireless network optimization, information

theory, video compression, and communication over wireless networks. I have

published numerous peer-reviewed research papers on these topics. My research

paper “Video capacity of Wireless LANs with a multiuser perceptual quality

constraint” won Best Paper Award of IEEE Transactions on Multimedia over the

years of 2007 to 2009. Please see my Curriculum Vitae (CV) for the list of my




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                                    Appx1977
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                                                                   IPR2015-00373
                                                           U.S. Pat. No. 6,128,290
other published research papers. I have been a visiting researcher at University of

California, Santa Barbara since early 2013.

      8.      I am an inventor of four awarded or pending U.S. patents, on topics

ranging from wide area network optimization to video quality monitoring in the

network and in the endpoints. Please see my CV for the list of my patents and

patent applications.

      9.      I have co-authored a book titled “Rate Distortion Bounds for Voice

and Video,” published in the prestigious Foundations and Trends in

Communications and Information Theory Series, in February 2014. In this book,

my co-author and I teach the current best-performing voice and video codecs for

communication over wired, wireless, and cellular networks and present the first

rate distortion bounds for voice and video that lower bound the operational rate

distortion performance of these codecs.

      10.     In the course of my research and product development related to data

communication over wireless and wired networks, I worked extensively with

communication protocols across various layers of the networks, including, for

example, IEEE 802.11, Asynchronous Transfer Mode (ATM), Ethernet, and High-

Level Data Link Control (HDLC) on the data link layer. I have both designed data

communication algorithms and developed relevant products that function over

and/or interoperate with the networks governed by these protocols.


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                                    Appx1978
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                                                                 IPR2015-00373
                                                          U.S. Pat. No. 6,128,290
        11.     I have been engaged as an expert consultant in many technology-

based matters for the past three years, with a focus on patent infringement and

patent portfolio evaluation. My cases have covered diverse areas such as Bluetooth

technologies, cellular networks, smart handheld devices, banking and security

related software, video compression related software, and television systems.

        12.     Additional information concerning my qualifications are set forth in

my current CV, a copy of which is attached hereto as Exhibit APL 1015.

III.        List of Documents Considered in Formulating My Opinions
        13.     In formulating my opinions, I have considered the following

documents and any other documents cited herein:

  Exhibit /
                                            Description
  Paper #
                Apple’s Petition for Inter Partes Review of U.S Patent No.
       2
                6,128,290

       8        Institution Decision by Patent Trial and Appeal Board

       15       Patent Owner DSS Technology, Inc.’s Response to Petition

                Carvey, U.S. Patent No. 6,128,290, “Personal Data Network,” (filed
 APL 1001
                October 14, 1997; issued October 3, 2000) (“the ’290 patent”).

          Natarajan et al., U.S. Patent No. 5,241,542, “Battery Efficient
 APL 1003 Operation of Scheduled Access Protocol,” (filed August 23, 1991;
          issued August 31, 1993) (“Natarajan”).

                Neve et al., U.S. Patent No. 4,887,266, “Communication System,”
 APL 1004
                (filed April 29, 1986; issued December 12, 1989) (“Neve”).

 APL 1005 File history of U.S. Patent No. 6,128,290


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                                                               IPR2015-00373
                                                        U.S. Pat. No. 6,128,290
Exhibit /
                                       Description
Paper #
APL 1006 Application No. 08/611,695 (as-filed)

            Apple’s Claim Construction Brief in Case No. 6:13-cv-00919-JDL
APL 1007
            (EDTX)
APL 1011 Deposition Transcript of Robert Dezmelyk, IPR2015-00369 and
         IPR2015-00373, December 15, 2015 (“Dezmelyk Depo.”)
APL 1012 Mischa Schwartz, Telecommunications Networks: Protocols,
         Modeling and Analysis, Addison-Wesley, 1988 (“Schwartz”)
APL 1013 Tom Sheldon, Encyclopedia of Networking & Telecommunications,
         Lisa Wolters-Broder ed., McGraw Hill, 2001 (other excerpts
         submitted as DSS 2010)
DSS 2001 U.S. Patent No. 5,699,357
DSS 2002 Definition of “e.g.,” Black’s Law Dictionary (9th ed. 2009)
DSS 2003 Myk Dormer, Low Duty Cycle?, Electronics World Magazine, Dec.
         2008, available at
         http://www.radiometrix.com/files/additional/Low-
         Duty-Cycle.pdf
DSS 2004 U.S. Pat. No. 7,558,232
DSS 2005 U.S. Pat. No. 7,092,762
DSS 2006 U.S. Pat. No. 7,049,620
DSS 2007 U.S. Pat. No. 8,837,653
DSS 2008 U.S. Pat. No. 8,727,561
DSS 2009 Definition of “burst,” Chambers Dictionary of Science and
         Technology (1st ed. 1999)
DSS 2010 Tom Sheldon, Encyclopedia of Networking & telecommunications,
         549, (Lisa Wolters-Broder ed., McGraw Hill 2001)
DSS 2011 U.S. Pat. No. 3,598,914
DSS 2012 U.S. Pat. No. 6,983,031
DSS 2013 Yurcik, William J., Serial and Parallel Transmission. Computer
         Sciences. 2002. Encyclopedia.com, available at
         http://www.encyclopedia.com
DSS 2014 Asynchronous HDLC MC68360 ASYNC HDLC Protocol Microcode
         User’s Manual, 8, (Freescale Semiconductor, Inc. 1996)

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                                 Appx1980
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                                                                       IPR2015-00373
                                                                U.S. Pat. No. 6,128,290
 Exhibit /
                                           Description
 Paper #
 DSS 2016 Declaration of Mr. Robert Dezmelyk
 DSS 2017 Wmat Auppu, AIF Inter DSP Communication, 1, available at
          http://processors.wiki.ti.com/index.php/AIF_Inter_DSP_Communic
          ation

IV.     Legal Principles
      14.    I understand that, during an inter partes review, claims are to be given

their broadest reasonable construction in light of the specification as would be

understood by a person of ordinary skill in the relevant art.

      15.    I understand that to determine how a person of ordinary skill would

understand a claim term, one should look to those sources available that show what

a person of skill in the art would have understood disputed claim language to

mean. Such sources include the words of the claims themselves, the remainder of

the patent’s specification, the prosecution history of the patent (all considered

“intrinsic” evidence), and “extrinsic” evidence concerning relevant scientific

principles, the meaning of technical terms, and the state of the art.

      16.    I understand that words or terms should be given their ordinary and

accepted meaning unless it appears that the inventors were using them to mean

something else. I understand that a person of ordinary skill in the art is deemed to

read a claim term not only in the context of the particular claim in which the

disputed term appears, but in the context of the entire patent, including the



                                         -6-

                                      Appx1981
         Case: 16-2523      Document: 32       Page: 638   Filed: 03/01/2017


                                                                     IPR2015-00373
                                                             U.S. Pat. No. 6,128,290
specification. For this reason, the words of the claim must be interpreted in view of

the entire specification. Put another way, claim terms are given their broadest

reasonable interpretation that is consistent with the specification and the

prosecution history.

      17.    In addition to consulting the specification, one should also consider

the patent’s prosecution history. The prosecution history provides evidence of how

both the Patent Office and the inventor(s) understood the terms of the patent,

particularly in light of what was known in the prior art. Furthermore, where the

specification describes a claim term broadly, arguments and amendments made

during prosecution may require a more narrow interpretation.

      18.    I understand that while intrinsic evidence is of primary importance,

extrinsic evidence, e.g., all evidence external to the patent and prosecution history,

including expert and inventor testimony, dictionaries, and learned treatises, can

also be considered. For example, technical dictionaries may help one better

understand the underlying technology and the way in which one of skill in the art

might use the claim terms. Extrinsic evidence should not be considered, however,

divorced from the context of the intrinsic evidence.

      19.    I understand that an obviousness analysis involves comparing a claim

to the prior art to determine whether the claimed invention would have been

obvious to a person of ordinary skill in the art in view of the prior art, and in light


                                         -7-

                                      Appx1982
         Case: 16-2523      Document: 32      Page: 639   Filed: 03/01/2017


                                                                 IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
of the general knowledge in the art. I also understand when a person of ordinary

skill in the art would have reached the claimed invention through routine

experimentation, the invention may be deemed obvious.

      20.     I also understand that obviousness can be established by combining or

modifying the teachings of the prior art to achieve the claimed invention. It is also

my understanding that where there is a reason to modify or combine the prior art to

arrive at the claimed invention, there must also be a reasonable expectation of

success in so doing. I understand that the reason to combine prior art references

can come from a variety of sources, not just the prior art itself or the specific

problem the patentee was trying to solve. And I understand that the references

themselves need not provide a specific hint or suggestion of the alteration needed

to arrive at the claimed invention; the analysis may include recourse to logic,

judgment, and common sense available to a person of ordinary skill that does not

necessarily require explanation in any reference.

      21.     I understand that when considering the obviousness of an invention,

one should also consider whether there are any secondary considerations that

support the nonobviousness of the invention. I understand that secondary

considerations of nonobviousness include failure of others, copying, unexpectedly

superior results, perception in the industry, commercial success, and a long-felt but

unmet need.


                                        -8-

                                     Appx1983
         Case: 16-2523      Document: 32      Page: 640    Filed: 03/01/2017


                                                                    IPR2015-00373
                                                             U.S. Pat. No. 6,128,290
V.      Person of Ordinary Skill in the Art
      22.    I understand that a person of ordinary skill in the art (“POSA”) is one

who is presumed to be aware of pertinent art, thinks along conventional wisdom in

the art, and is a person of ordinary creativity. In my opinion, a person of ordinary

skill in the art at the time of the priority date of the ’290 patent would be a person

with an undergraduate degree in Electrical Engineering and 1-2 years of experience

working with wireless network technology, or equivalent education and/or work

experience. I am familiar with what a POSA would have known at the time of the

priority date of the ’290 patent.

VI.     State of the Art and Summary of References
      23.    In my opinion, the references asserted against the ’290 patent claims

and discussed herein clearly show that the features recited in the ’290 patent claims

were well known in the prior art. To the extent that a particular feature is not

explicitly described in one of the asserted references, it is my opinion that these

features would have been obvious to a POSA.

      24.    Many of the claimed limitations are simply well known components

of wireless communication systems performing their standard functions. For

example, the claims recite basic features such as a “server microcomputer unit”

communicating with multiple “peripheral units,” where these components each

have a transmitter and receiver. Energizing the transmitters and receivers only



                                        -9-

                                     Appx1984
        Case: 16-2523      Document: 32    Page: 641    Filed: 03/01/2017


                                                          IPR2015-00373
                                                   U.S. Pat. No. 6,128,290
during designated transmission slots was also well known. So too was

synchronizing devices so that they could rely on timed communication plans.

      25.   It is my opinion that the ’290 patent claims merely recite a collection

of well known components performing their standard function according to well

known techniques. In my opinion, the ’290 patent claims do not recite any features

that were not previously known in the art or would not have been obvious to a

POSA.

      26.   It is my understanding from reviewing DSS’s Patent Owner Response

to Petition that DSS only contends that one feature–the server transmitter being

“energized in low duty cycle RF bursts”–is not taught or suggested by the

combination of prior art references. Therefore, my opinions and analysis herein

focus on this claim element.

      27.   Exemplary relevant art that was published before October 14, 1997

includes the references described below.

   A. Natarajan
      28.   Natarajan is directed to battery power conservation in wireless

communications of mobile computers controlled by multi-access protocols.

(Natarajan, 1:6-12.) Figure 1 shows that multiple mobile units (10, 12, 14, 16)

communicate with base stations (26, 28) via wireless radio links. (Natarajan, 2:28-

39, Figure 1.) Natarajan describes that the base stations can be a “conventional



                                      - 10 -

                                    Appx1985
         Case: 16-2523      Document: 32     Page: 642     Filed: 03/01/2017


                                                                  IPR2015-00373
                                                          U.S. Pat. No. 6,128,290
microcomputer” and that the mobile units can be a “hand held or laptop computer.”

(Natarajan, 2:40-41, 2:58-59.) Both the base stations and mobile units have an RF

transceiver for establishing a radio link. (Natarajan, 2:51-56, 2:65-67.) A system




schematic common to both the base station and mobile stations is illustrated in

FIG. 3. (Natarajan, 3:7-8.) Each device includes, for example, a microprocessor

system (56) that controls the transceiver via an interface (58). (Natarajan, 3:14-15.)

The microprocessor system also includes a dedicated microprocessor (62) with

high-resolution time interval determination hardware or “timers.” (Natarajan, 3:18-

21.)

       29.   Natarajan describes that its system is intended “for minimizing battery

power consumed by wireless link adapters at the mobile units.” To do so,

Natarajan describes turning off the transmitter and receivers when not in use.

(Natarajan, 4:2-5.) More specifically, Natarajan describes that:

       [s]cheduled access multiaccess protocols can be implemented to
       effectively conserve battery power by suitable control of the state of
       transmitter and receiver units at the portable units (i.e., by scheduling


                                        - 11 -

                                      Appx1986
         Case: 16-2523      Document: 32     Page: 643     Filed: 03/01/2017


                                                               IPR2015-00373
                                                      U.S. Pat. No. 6,128,290
      when they should be turned ON or OFF). A desirable solution is one
      in which the transmitter (or receiver) consumes power only when it is
      actively transmitting a message (or actively receiving a message).
      (Natarajan, 3:59-4:6.)

      30.    Natarajan further describes that the scheduled multiaccess protocol

divides time into “fixed-length frames, and frames are divided into slots,” as

shown, for example, in FIG. 4. (Natarajan, 4:20-23, FIG. 4.) The frames are

divided into subframes where, for example with respect to FIG. 4, one subframe is

for transmitting data packets from the base station to mobile units (Period A), a

second subframe is for contention-free transmission from mobile units to the base

station (Period B), and a third subframe is for “bursty data traffic” in a contention

mode from mobile units to the base station (Period C). (Natarajan, 4:27-38.)




      31.    Natarajan describes that in Period A, the base station controls the

outbound transmissions to the mobile units. (Natarajan, 4:40-41.) Prior to Period

A, the base station broadcasts a header (AH) to the mobile units that includes: a list

of mobile units that will be receiving data packets from the base station, the order

in which the mobile units will receive the data packets, and the number of data


                                        - 12 -

                                     Appx1987
          Case: 16-2523     Document: 32      Page: 644    Filed: 03/01/2017


                                                                IPR2015-00373
                                                        U.S. Pat. No. 6,128,290
packets that will be transmitted to each mobile unit. (Natarajan, 4:45-53.) If a

mobile unit is not included in header (AH), it will not be receiving data from the

base station, and can turn off its receiver for Period A. (Natarajan, 4:63-67.)

Because the mobile units know the order and number of data packets to be

transmitted, each mobile unit that will be receiving data can compute when its

designated transmission slot will be, go to sleep until that time, and wake itself up

in its designated time slot to receive data. (Natarajan, 4:67-5:4.) After receiving its

data, the receiver can go back to sleep for the remainder of Period A. (Natarajan,

5:4-6.)

      32.    Natarajan similarly discloses broadcasting another header (BH) for

scheduling which mobile units will be allowed to transmit to the base station and

the order they will transmit. (Natarajan, 5:9-29.) Flow charts of these processes are

shown, for example, in FIGS. 8A-8D and described in Natarajan at 8:14-9:54.

Using this scheme, the mobile units save power by powering up only during their

designated reception or transmission time slot.

      33.    Natarajan also describes that header (AH) includes “a coded

description of mobile users that will receive data in the current frame. That is, it is

a designation of which mobile users are to communicate with the base station

during this frame.” (Natarajan, 6:19-22.) Header (BH) similarly includes “a coded

designation or description of mobile users that can transmit data in the current


                                        - 13 -

                                      Appx1988
         Case: 16-2523      Document: 32      Page: 645     Filed: 03/01/2017


                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
frame.” (Natarajan, 6:31-33.) Natarajan describes assigning each mobile unit an

index number during a “registration period” which is “needed to associate each

mobile unit in the network with the intended base station.” (Natarajan, 6:48-54.)

      34.    The header (AH) transmitted from the base station includes a

“Receiving Users designation or Index message portion” that is a bit-vector

sequence with a bit for each of the registered mobile units. (Natarajan, 6:55-58.)

FIG. 5 illustrates an example of this sequence.




      35.    Natarajan specifically describes that the “coded description”

designates whether or not each mobile unit will communicate with the base station

during a particular time frame:

      The content of each bit location signals the receiver activity of the
      user designated or indexed by the bit location. For example, reading
      left to right, a “1” in the 4’th, 8’th, 9’th, etc. bit location can be used
      to signal that the 4’th, 8’th, 9’th, etc. mobile unit is designated to
      receive one message in the current frame period. “0” in the 1’st, 2’nd,
      3’rd, etc. bit location signals that the 1’th, 2’nd, 3’rd, etc. mobile unit
      is inactive (is not designated to receive any data) and can turn its
      receiver power OFF until the beginning of Header BH.



                                        - 14 -

                                     Appx1989
         Case: 16-2523     Document: 32    Page: 646     Filed: 03/01/2017


                                                                  IPR2015-00373
                                                           U.S. Pat. No. 6,128,290
      (Natarajan, 6:59-68.)

      An analogous scheme is used in the header (BH) for transmission from the

mobile units to the base station. (Natarajan, 7:1-6.) This scheduled communication

scheme reduces power consumption by requiring that the mobile units only be

powered on during time slots where they will be receiving or transmitting data.

(Natarajan, 7:6-15.)

   B. Neve
      36.    Neve is directed to “[a] communication system able to provide

multiple path communication between a plurality of stations operating on a single

channel. The stations are synchronized and a cyclically repeating series of time

slots is defined.” (Neve, Abstract.) In order to provide radio data communication,

Neve discloses that each device includes “a transmitter and receiver device

(transceiver) 2 which includes an antenna 3, a transmitter circuit 4 and a receiver

circuit 5.” (Neve, 3:59-63.) The transceiver is connected to a digital control

processor, which controls data transfer to and from the transmitter and receiver.

(Neve, 3:64-68.)

      37.    Neve describes that it is “desirable to provide a communications

system in which the transmitting and receiving apparatus is small, may be easily

installed in any location, and is of very low power consumption.” (Neve, 1:31-34.)

Thus, Neve’s system “enables a very low power consumption to be achieved in the



                                      - 15 -

                                    Appx1990
         Case: 16-2523      Document: 32     Page: 647     Filed: 03/01/2017


                                                                     IPR2015-00373
                                                            U.S. Pat. No. 6,128,290
cases where the device requires to transmit data only rarely or the receiver receives

the predetermined code signal only rarely…a device may need to transmit data for

only a fraction of a second in many hours.” (Neve, 2:25-31.)

      38.    Neve describes that when data transfer is not taking place, the device

can enter a lower power consumption state. (Neve, 2:13-16.) The system is

designed “automatically to re-enter the data transfer condition when either a signal

is received from the device indicative of the need to transmit data or a

predetermined code signal is received by the receiver circuit indicative of the need

to receive data.” (Neve, 2:19-24.) So, the receiver has very low power

consumption because only the internal timing circuitry is energized continuously,

whereas the rest of the receiving circuit is energized only when its assigned time

slot occurs. (Neve, 2:39-41.) Similarly, the transmitter only needs to be energized

when transmission is required. (Neve, 2:45-47.)

      39.    The time slots include “at least one synchronisation time slot, at least

one interrupt time slot, and a plurality of address or data time slots, wherein any

other station can transmit a message to the master station during an interrupt time

slot to indicate a request to communicate.” (Neve, 3:12-17.) Neve describes that

the receiver circuit “includes a low power timing circuit which operates to energise

the rest of the receiver circuit only for the time slot in which its address may occur




                                        - 16 -

                                     Appx1991
         Case: 16-2523     Document: 32     Page: 648    Filed: 03/01/2017


                                                        IPR2015-00373
                                                 U.S. Pat. No. 6,128,290
and for the synchronisation time slot thereby enabling it to maintain

synchronisation with low power consumption.” (Neve, 4:43-48.)

       40.   Neve further describes that controlling the transceiver includes power

up, cadence capture, bit synchronization, and a bit synchronization clock. (Neve,

6:7-11.) The clock is always active and the fundamental frequency of the oscillator

is used as the system clock for the CPU. (Neve, 6:11-14.)

VII.    Claims 9 and 10 would have been obvious to a POSA over Natarajan
        in view of Neve.
       41.   Having reviewed claims 9 and 10 of the ’290 patent and the prior art

of record, it is my opinion that each and every limitation of claims 9 and 10 is

disclosed by Natarajan and/or Neve or would have been obvious to a POSA in

view of the combination of Natarajan and Neve. Therefore, it is my opinion that

claims 9 and 10 of the ’290 patent would have been obvious in view of Natarajan

and Neve.

       42.   Having reviewed Patent Owner DSS Technology Inc.’s Response to

Petition, it appears that DSS’s only contention is that the combination of Natarajan

and Neve does not teach or suggest a server transmitter “energized in low duty

cycle RF bursts,” as recited in independent claim 9. It is my opinion that this

feature is, in fact, taught by the combination of Natarajan and Neve. At the very

least, should the Board find, wrongly in my opinion, that this feature is not




                                       - 17 -

                                    Appx1992
         Case: 16-2523      Document: 32     Page: 649     Filed: 03/01/2017


                                                                   IPR2015-00373
                                                            U.S. Pat. No. 6,128,290
expressly taught by the prior art, this feature would have been obvious to a POSA

in view of Natarajan and Neve.

      43.    The general term “low duty cycle RF bursts” is not expressly defined

in the ’290 patent. I agree with the Board’s position in the Institution Decision that,

under the broadest reasonable interpretation of this term, Natarajan’s “scheduled

multi-access protocol in which time is divided into fixed-length frames, along with

Natarajan’s description of frames being divided into slots and multiple subframes”

demonstrates that Natarajan discloses “said server and peripheral transmitters

being energized in low duty cycle RF bursts.” (Institution Decision, pp. 16-17.)

This is because, like the ’290 patent, Natarajan discloses that “[s]cheduled access

multiaccess protocols can be implemented to effectively conserve battery power by

suitable control of the state of transmitter and receiver units at the portable units

(i.e., by scheduling when they should be turned ON or OFF)…the transmitter (or

receiver) consumes power only when it is actively transmitting a message (or

actively receiving a message).” (Natarajan, 3:59-4:6.) Under the broadest

reasonable interpretation of this term, a POSA would consider a system operating

in this manner to operate in “low duty cycle RF bursts.”

      44.    DSS asserts that Natarajan only describes that the mobile units operate

in the manner described above. (POR, p. 17.) However, it is my opinion that a

POSA would have understood that the base station would have operated similarly,


                                        - 18 -

                                     Appx1993
         Case: 16-2523      Document: 32     Page: 650     Filed: 03/01/2017


                                                                       IPR2015-00373
                                                              U.S. Pat. No. 6,128,290
that is, when the base station is not transmitting, its transmitter is powered off. As

described in Natarajan, “[m]ost users are very likely to be inactive (both Transmit-

Inactive and Receive-Inactive) most of the time for most applications. This is

primarily due to the bursty nature of data communication traffic.” (Natarajan, 6:41-

44 (emphasis added).) Because most of the users are inactive most of the time, the

base station will not have information to transmit most of the time. Therefore,

when it is not transmitting, it will be powered off. Based on this description, a

POSA would have understood Natarajan’s base station and mobile units operate in

“low duty cycle RF bursts.”

      45.    Furthermore, as described above, Natarajan explicitly discloses that

the mobile unit transmitters operate in “low duty cycle RF bursts.” (Natarajan,

3:59-4:6.) Therefore, it would have been obvious to a POSA to have the base

station operate in an analogous manner. The RF systems of the base station and

mobile stations in Natarajan have the same physical structure. (Natarajan, 3:7-8,

FIG. 3.) A POSA applying the exact design disclosed in Natarajan to an

application exactly as described in Natarajan where “[m]ost users are very likely to

be inactive (both Transmit-Inactive and Receive-Inactive) most of the

time,”(Natarajan, 6:41-44 (emphasis added)) would have conceived a system in

which both the transmitter and the receiver of both the base station and the mobile

stations operate in “low duty cycle RF bursts.” Therefore, it is my opinion that a


                                        - 19 -

                                     Appx1994
          Case: 16-2523    Document: 32     Page: 651    Filed: 03/01/2017


                                                              IPR2015-00373
                                                      U.S. Pat. No. 6,128,290
POSA would not have found the “low duty cycle RF bursts” recited in claim 9 of

the ’290 patent to be novel.

VIII.    HDLC is consistent with low duty cycle RF burst communications.
        46.   DSS asserts that the High-Level Data Link Control (HDLC) packet

structure disclosed in Natarajan is inconsistent with a server transmitter being

energized in low duty cycle RF bursts. (POR, pp. 20-23.) For the reasons below, it

is my opinion that DSS’s position is wrong. To the contrary, HDLC is consistent

with low duty cycle RF burst communications.

   A. The preferred embodiment disclosed in the ’290 patent uses HDLC.
        47.   The preferred embodiment of the ’290 patent discloses using HDLC

for communication between the PDA and PEAs. Therefore, if HDLC is not

compatible with low duty cycle RF burst communications, then the preferred

embodiment in the ’290 patent would not work.

        48.   The basic scheme of the ’290 patent’s frame structure is “a form of

time division multiple access (TDMA).” (’290 patent, 5:45-50.) The ’290 patent

states that “[a]s will be understood by those skilled in the art, the TDMA system is

greatly facilitated by the establishment of a common frame time base between PEA

and PDA.” (’290 patent, 7:63-65.) I agree this was well-known in the art. The ’290

patent describes that establishment of a common frame time base is accomplished

using synchronization beacons (SBs). (’290 patent, 7:65-67.) Before receiving the



                                       - 20 -

                                    Appx1995
         Case: 16-2523      Document: 32   Page: 652    Filed: 03/01/2017


                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
SBs, a PEA is associated with the PDA using a succession of Attachment Beacons

(ABs), which are “composed of RF bursts having the same interval spacings as

Synchronization Beacons,” broadcast from the PDA to the PEAs. (’290 patent,

9:13-16 (emphasis added), 9:66-10:2.) The ’290 patent states that “[t]his

succession of ABs forms an HDLC channel using bit-stuffing to delineate the

beginning and end of a packet.” (’290 patent, 10:2-4 (emphasis added).)

      49.    In view of this disclosure in the ’290 patent, a POSA would have

understood that the preferred embodiment of the ’290 patent discloses using HDLC

to transmit and receive RF bursts of relatively small number of bits in a non-

continuous fashion, due to the small size of the Attachment Beacons (ABs) and the

interval spacings between the ABs. Furthermore, in view of my own understanding

of HDLC, it is my opinion that HDLC is compatible with low duty cycle RF burst

communications and a POSA would have understood the same.

   B. Mr. Dezmelyk’s understanding of HDLC is incorrect.
      50.    Mr. Dezmelyk admits he is not an expert in HDLC. (Dezmelyk Depo.,

26:15-16.) This is clear, in my opinion, because his explanations of the HDLC

protocol are factually inaccurate.

      51.    Based on my knowledge and experience, an accurate description of

the HDLC protocol is found in Telecommunication Networks: Protocols, Modeling

and Analysis, Addison-Wesley (1988) by Mischa Schwartz (APL 1012), which is



                                      - 21 -

                                     Appx1996
        Case: 16-2523      Document: 32     Page: 653     Filed: 03/01/2017


                                                                   IPR2015-00373
                                                            U.S. Pat. No. 6,128,290
specifically referred to in Natarajan. (Natarajan, 3:28-40.) Because the Schwartz

book is specifically referenced in Natarajan, this would have been the most logical

resource for a POSA to consult for information on Natarajan’s HDLC packet

structure. I found it surprising that neither DSS nor Mr. Dezmelyk looked to the

Schwartz book for information on HDLC.

      52.   Pages 135-136 of Schwartz and Figure 4-9, reproduced below,

provide a concise summary of the HDLC frame format as it would have been

understood by a POSA:

      The standard frame format for HDLC (ADCCP and SDLC have the
      same format) appears in Fig. 4-9. Note that the number of overhead
      (control) bits is ℓ' = 48, just the number used earlier for calculations.
      The eight-bit flag sequence 01111110 that appears at the beginning
      and end of a frame is used to establish and maintain synchronization.
      Because the flag appears at the beginning and end of the frame there
      is no need to prescribe an information field structure. The information
      field (packet) delivered from the network layer above can be any
      desired number of bits. Extended versions of the frame structure of
      Fig. 4-9 are available as well: The address, control, and block­check
      fields can all be increased to allow additional addressing, improved
      error detection, and increased sequence numbers. Since the flags
      appearing at the beginning and end of a frame contain six consecutive
      ones, that sequence may not appear anywhere else in the frame. Bit
      stuffing is used to eliminate this possibility: a zero is inserted at the
      transmitter any time that five ones appear outside the F fields. The


                                       - 22 -

                                     Appx1997
         Case: 16-2523       Document: 32     Page: 654    Filed: 03/01/2017


                                                                 IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
      zeros are removed at the receiver. If seven ones appear anywhere in
      the frame (six ones followed by an additional one), the frame is
      declared in error.




      53.       Schwartz also describes that “[w]hen the transmitter reaches its

maximum sequence number it is forced to stop transmitting until a frame in the

reverse direction is received, acknowledging an outstanding packet.” (Schwartz, p.

136 (emphasis added).) Thus, the transmitter does not continuously transmit under

HDLC protocol. This is also shown in the throughput calculation analysis

illustrated in Figure 4-13, reproduced below, which indicates periods (e.g.,

between I10 and I30) where the transmitter is idle (i.e., not transmitting). As

described in Schwartz, Figure 4-13 illustrates the maximum throughput, so the

amount of time the transmitter is not transmitting is at a minimum. (See Schwartz,

p. 142 (“This station is assumed in addition to be in a saturated state: It always has

frames to send. As noted earlier, this provides the maximum possible throughput.”

(emphasis original).) A POSA would understand that, in cases where the primary

station is not saturated, there will be additional periods where the transmitter is not

transmitting.


                                        - 23 -

                                      Appx1998
         Case: 16-2523     Document: 32    Page: 655    Filed: 03/01/2017


                                                                    IPR2015-00373
                                                             U.S. Pat. No. 6,128,290




                         Annotated Figure 4-13 of Schwartz

      54.    Thus, as would have been understood by a POSA, the HDLC

protocol, for example as described in Schwartz, does not require continuous

transmission as asserted by DSS, and can be deployed in a low duty cycle

communication. And, as illustrated, for example, in Figure 4-13, the transmissions

occur in “bursts.”

      55.    Schwartz also describes the three modes of operation for the HDLC

protocol. (Schwartz, pp. 137-138.) The third mode listed, the asynchronous

balanced mode (ABM), is for point-to-point transmission only. Therefore, ABM is

inapplicable to Natarajan, which discloses point-to-multipoint communication. The

normal response mode (NRM) and asynchronous response mode (ARM) are used

for point-to-multipoint operation. (Schwartz, p. 137.) A POSA would have

understood that Natarajan operates using the ARM because it provides that “the

secondary station does not need permission from the primary station to initiate

transmission.” (Schwartz, p. 137.) This type of communication occurs in Period C



                                      - 24 -

                                    Appx1999
         Case: 16-2523      Document: 32      Page: 656    Filed: 03/01/2017


                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
in Natarajan, which allows for “bursty data traffic in a contention mode from

mobile units to base station.” (Natarajan, 4:36-37.) In Period C, the mobile units

initiate transmission without permission from the base station.

      56.    In my opinion, DSS’s arguments are flawed that Natarajan does not

teach low duty cycle RF bursts because it employs HDLC protocol. To begin with,

DSS’s reliance on the excerpt from DSS 2010 is misguided. DSS asserts that the

cited definition for “bit-oriented framing” shows that HDLC “involves continuous

outbound transmission.” (POR, pp. 21-22.) However, as indicated in the first

sentence of the section cited by DSS, it states that it pertains to “[a] point-to-point

connection between two computers or devices consists of a wire in which data is

transmitted as a stream of bits.” (DSS 2010, p. 549 (emphasis added).) Thus, the

description cited by DSS only applies to a point-to-point wired communication, not

a point-to-multipoint wireless system, as taught in Natarajan.

      57.    A point-to-point connection between two computers or devices that

consists of a wire is the simplest form of data communication. Firstly, the

connection is dedicated to the two computers or devices communicating

exclusively to each other, and hence no scheduling mechanism is required beyond

specifying the direction of data transmission over the dedicated connection, i.e.,

which of the two peer computers or devices is transmitting (and the other peer

computer or device would be receiving) at any given time. Secondly, the


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                                      Appx2000
         Case: 16-2523     Document: 32     Page: 657    Filed: 03/01/2017


                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
connection consists of a wire, in which data travels at a high speed within the

isolation provided by the wire, and hence the transmission bit rate, transmission

delay, and interference with nearby devices and systems–the three major issues

faced when designing a wireless connection–are of little relevance to the design of

a point-to-point wired connection.

      58.   A wireless point-to-multipoint system, on the contrary, allows data

communication over an open channel among more than two devices. When a base

station transmits, there are multiple peripheral devices capable of receiving at the

same time; similarly, when a base station receives, multiple peripheral devices can

compete to transmit to the base station. Therefore, a sophisticated scheduling

mechanism needs to be established to achieve the point-to-multipoint

communication. Unlike a point-to-point wired connection in which simplicity and

reliability are usually the only design goals, a point-to-multipoint wireless

connection often needs to prioritize the system data rate, interference avoidance,

delay management, and power management.

      59.   Recognizing these fundamental differences between a point-to-point

wired connection and a point-to-multipoint wireless connection is important

because ignoring them and applying a design suited for one type of connection to

the other type of connection will result in underutilization of system resources at

best and system failure at worst. For example, applying the frame structure


                                       - 26 -

                                     Appx2001
         Case: 16-2523     Document: 32     Page: 658     Filed: 03/01/2017


                                                                    IPR2015-00373
                                                           U.S. Pat. No. 6,128,290
disclosed in Natarajan to a point-to-point wired connection will result in almost all

time slots in subframe C (the designated contention subframe) being wasted as

there is only one peripheral device in the point-to-point connection. Similarly,

enforcing a continuous transmission of so called “idle words” to maintain

synchronization whenever there is no data being transmitted–a scheme suitable for

an isolated point-to-point wired connection to achieve design simplicity and

reliability–is detrimental to a point-to-multipoint wireless connection because it

interferes with the carefully designed scheduling and synchronization mechanism,

wastes power, decreases the system data rate, and pollutes the wireless channel

potentially shared by many devices and systems.

      60.    For these reasons I disagree with Mr. Dezmelyk’s assertion that a

point-to-point connection and a point-to-multipoint connection are the same “in

particular [when] the question is what the channel looks like.” (Dezmelyk Depo.,

102:19-103:2.) I also disagree with Mr. Dezmelyk’s assertion that the quoted

passage in DSS 2010 is applicable to the wireless communication protocols.

(Dezmelyk Depo., 113:15-114:3.) In his deposition, Mr. Dezmelyk references a

sentence in the quoted passage in DSS 2010: “[i]t provides a way for a sender to

transmit a set of bits that are meaningful to the receiver,” as evidence that this

passage also applies to wireless communication. (Dezmelyk Depo., 113:15-114:3

(referencing DSS 2010, p. 549.) This is incorrect. This sentence describes a generic


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                                     Appx2002
         Case: 16-2523     Document: 32     Page: 659     Filed: 03/01/2017


                                                                  IPR2015-00373
                                                           U.S. Pat. No. 6,128,290
function of all data communication, and is not proof that the two distinct types of

data communication–a point-to-point wired data communication and a point-to-

multipoint wireless data communication–are the same. Nor does this sentence

show that the quoted passage, specified by the author to refer to a point-to-point

wired communication, is also applicable to a point-to-multipoint wireless

communication.

      61.    DSS also asserts that the quoted passage in DSS 2010 indicates that

the “HLDC [sic] packet structure is used to transmit ‘long strings of data at one

time,’” alleging that this is inconsistent with “small” RF bursts. (POR, p. 22

(emphasis original).) I note that the actual quote in DSS 2010 is: “[t]his type of

framing allows the sender to transmit a long string of bits at one time.” (DSS

2010, p. 549 (emphasis added).) A POSA would have understood that within the

context of framing, bit-oriented protocols such as HDLC add special bit sequences

to the beginning and end of a string of bits to be transmitted, and hence the upper

layers of the sender that has data bits to transmit “at one time” don’t have to break

the string of bits into smaller frames or packets before the string of bits reach the

data link layer. This clearly does not mean that HDLC can only handle a long

string of bits; nor does it suggest that the transmission of a string of bits of any

length is not a “burst.”




                                       - 28 -

                                     Appx2003
         Case: 16-2523     Document: 32      Page: 660   Filed: 03/01/2017


                                                             IPR2015-00373
                                                     U.S. Pat. No. 6,128,290
      62.   Furthermore, another portion of DSS 2010 describing Figure H-2,

shown below, discloses that the number of bits in the Information Field of an

HDLC frame is “variable.” (APL 1013, p. 582, Figure H-2.) This corroborates

Schwartz, which discloses that “[t]he information field (packet) delivered from the

network layer above can be any desired number of bits.” (Schwartz, p. 135

(emphasis added).) An information field that “can be any desired number of bits”

supports that the HDLC frame format is compatible with a “burst” transmission.




      63.   Mr. Dezmelyk combines the excerpt from DSS 2010 with an excerpt

from DSS 2013 to suggest that Natarajan teaches continuous transmission by the

base station. But Natarajan does not teach continuous transmission by the base

station. Mr. Dezmelyk notes that Natarajan’s HDLC packets are provided in “serial

form.” (Dezmelyk Dec. ¶ 35 (citing APL 1003 at 3:36-37).) Pointing to DSS 2013,

he then alleges that serial communication systems “include a server transmitter

transmitting idle words when no useful data is being transmitted.” (Dezmelyk Dec.

¶ 35.) First, I note that DSS 2013 does not use the term “idle words.” And second,

idle words are not used in Natarajan.

                                        - 29 -

                                    Appx2004
         Case: 16-2523     Document: 32     Page: 661    Filed: 03/01/2017


                                                          IPR2015-00373
                                                   U.S. Pat. No. 6,128,290
      64.   Mr. Dezmelyk provides a quote: “In synchronous transmission,

groups of bits are combined into frames and frames are sent continuously with or

without data to be transmitted.” (Dezmelyk Dec. ¶ 35 (quoting DSS 2013, p. 2

(emphasis added)).) But this quote does not describe the HDLC protocol in

Natarajan, which is asynchronous. Mr. Dezmelyk is wrong that a POSA would not

have known whether Natarajan operates under a synchronous or asynchronous

protocol. (See Dezmelyk Depo., 99:12-20.) In my opinion, this illustrates his lack

of understanding of HDLC. As discussed above, a POSA would have understood

that Natarajan specifically operates under the asynchronous response mode (ARM)

of HDLC.

      65.   In fact, the very next sentences in DSS 2013 after the sentence quoted

by Mr. Dezmelyk describe that “[i]n asynchronous transmission, groups of bits are

sent as independent units with start/stop flags and no data link synchronization, to

allow for arbitrary size gaps between frames. However, start/stop bits maintain

physical bit level synchronization once detected.” (DSS 2013, p. 2.) These

“start/stop flags” that are used to maintain synchronization corroborate Schwartz’s

disclosure of HDLC that an “eight-bit flag sequence 01111110 that appears at the

beginning and end of a frame is used to establish and maintain synchronization.”

(Schwartz, p. 135.) A POSA would have understood that, in HDLC, transmission

is not continuous, but rather there are gaps between frames.


                                       - 30 -

                                    Appx2005
         Case: 16-2523     Document: 32     Page: 662     Filed: 03/01/2017


                                                          IPR2015-00373
                                                   U.S. Pat. No. 6,128,290
      66.    Mr. Dezmelyk adds an excerpt from DSS 2014 together with the

excerpts from DSS 2010 and DSS 2013. (Dezmelyk Dec. ¶ 35 (quoting DSS 2014

at Section 2.5.6. (“When transmitting, the Asynchronous HDLC controller will

transmit IDLE characters (characters consisting of only “1”s) when no data is

available for transmission.”)).) In my opinion, this association is inappropriate for

two reasons. First, DSS 2014 is related to point-to-point communications, not

point-to-multipoint communications as described in Natarajan. DSS 2014 states

that “[t]his protocol is typically used as the physical layer for the Point-to-Point

(PPP) protocol.” (DSS 2014, p. 4.) As discussed above, a point-to-point wired

connection and a point-to-multipoint wireless connection are two fundamentally

different types of data communication with distinct design challenges and

principles. (See ¶¶ 57-60.) Second, DSS 2014 is a technical manual for a

proprietary Motorola product, which uses a modified “HDLC-like” protocol. This

is evident from its description of repeatedly transmitting “characters consisting of

only ‘1’s” when no data is available for transmission. Therefore, during an

extended period when no data is available for transmission, there would be many

1’s transmitted. A POSA would have understood that these repeated 1’s would

violate the standard HDLC protocol, where “[i]f seven ones appear anywhere in

the frame (six ones followed by an additional one), the frame is declared in error.”

(Schwartz, p. 136.) This point is reaffirmed on page 582 of APL 1013 (DSS 2010),


                                       - 31 -

                                     Appx2006
         Case: 16-2523      Document: 32     Page: 663     Filed: 03/01/2017


                                                                     IPR2015-00373
                                                             U.S. Pat. No. 6,128,290
which states that “[i]f any portion of the data in the frame contains more than five

1 bits, a zero-bit insertion technique inserts a 0 bit to ensure that data is not

mistaken for a flag.”

      67.    The incompatibility of a continuous transmission of the idle words, as

described on page 549 of DSS 2010 and in DSS 2014, with the standard HDLC

protocol, as described by pages 581-583 of APL 1013 (DSS 2010) and by

Schwartz, can also be explained on page 1006 of APL 1013 (DSS 2010). In the

section describing “PPP (Point-to-Point Protocol),” it states that “[m]ost PPP

implementations use framing derived from HDLC (High-level Data Link Protocol)

as described in RFC 1662 (PPP in HDLC-like Framing, July 1994).” (APL 1013

(DSS 2010), p. 1006 (emphasis added).) In other words, the HDLC protocols

referred to in both page 549 of DSS 2010 and in DSS 2014 are “HDLC-like”

protocols, modified to suit the specific design need of a point-to-point protocol.

      68.    Because DSS 2014 does not disclose the standard HDLC protocol, it

cannot be used to support DSS’s position. Mr. Dezmelyk asserts that he relies on

DSS 2014 as being analogous to “the HDLC spec,” but it is not. (See Dezmelyk

Depo., 69:17-71:1.) Because Mr. Dezmelyk bases his opinions on DSS 2014,

which does not disclose the standard HDLC protocol, it is my position that his

opinions on HDLC are irrelevant.




                                        - 32 -

                                     Appx2007
         Case: 16-2523       Document: 32   Page: 664    Filed: 03/01/2017


                                                               IPR2015-00373
                                                       U.S. Pat. No. 6,128,290
   C. Natarajan and the HDLC protocol do not use “idle words.”
      69.   It is my understanding from reviewing Apple’s Petition that Neve is

included in combination with Natarajan because “Natarajan does not explicitly

describe synchronizing the mobile units with the base station.” (Petition, p. 28.) I

agree, as explained in the Petition, that Natarajan does teach that “coordinated

timing of transmissions is important” for the numerous reasons discussed in the

Petition. (Petition, p. 28.) I also agree that a POSA would have been motivated to

precisely synchronize the mobile units with the base unit, which would have led a

POSA to a reference such as Neve, which is an example of a conventional

synchronization technique.

      70.   Although Natarajan does not explicitly disclose synchronizing the

mobile units with the base station, the HDLC protocol, for example, as described

in Schwartz, explains that the “standard frame format for HDLC” has an “eight-bit

flag sequence 01111110 that appears at the beginning and end of a frame [that] is

used to establish and maintain synchronization.” (Schwartz, p. 135.) A POSA

would have understood that the HDLC protocol used by Natarajan contemplates a

mechanism for synchronization. Such synchronization was within the skill of a

POSA.

      71.   DSS’s suggestion that the HDLC protocol of Natarajan uses idle

words (as described in Neve) is inaccurate. I would first point out that Neve does



                                       - 33 -

                                     Appx2008
         Case: 16-2523     Document: 32     Page: 665     Filed: 03/01/2017


                                                                 IPR2015-00373
                                                          U.S. Pat. No. 6,128,290
not disclose that idle words are continuously transmitted by the master station. I

agree with the Board, which found that Neve “do[es] not suggest continuous

transmission from the master station, but instead transmission of idle words in the

event that there is no data required to be transmitted in the time slots specifically

allocated for transmission by the server” and that “the master station performs

different functions during different time slots, only certain of which involve

transmission.” (Institution Decision, p. 18 (emphasis added).)

      72.    DSS suggests that the base station in Natarajan transmits idle words

like in Neve, but it does not. And a POSA would have understood that HDLC does

not use idle words.

      73.    To be clear, neither Natarajan nor Schwartz’s discussion of HDLC

mention idle words. In my opinion, this is likely because the use of continuous idle

words in Natarajan, which DSS asserts would assist with synchronization, would

be pointless in HDLC. (See POR, pp. 26-27, 32; Dezmelyk Depo., 119:13-20.)

First, HDLC has its own mechanism–start/stop flags–for synchronization. Second,

as Mr. Dezmelyk acknowledges, if Natarajan used idle words, they would be

transmitted “out into the air and there is nobody really paying attention to it.”

(Dezmelyk Depo., 84:22-85:1.) A POSA would have found it illogical to transmit

idle words that were not received by any of the mobile devices. Mr. Dezmelyk

asserts that when the receivers turned back on, they would be able to synchronize


                                       - 34 -

                                     Appx2009
        Case: 16-2523     Document: 32     Page: 666      Filed: 03/01/2017


                                                             IPR2015-00373
                                                      U.S. Pat. No. 6,128,290
onto the stream of idle words. (Dezmelyk Depo., 85:2-14.) However, Natarajan

discloses that “each receiving mobile unit can compute exactly when it should be

ready to receive packets from the base station…to wake itself up at its designated

time for receiving data.” (Natarajan, 4:67-5:3 (emphasis added).) Thus, a POSA

would have understood that Natarajan is designed to have the mobile units turn

back on precisely when needed to receive data. They would not wake up “early” to

try to synchronize to a string of idle words, in the manner suggested by Mr.

Dezmelyk. This would defeat the precise timing disclosed in Natarajan and is

unnecessary because of the start/stop flags used in HDLC for synchronization.

      74.   Mr. Dezmelyk’s lack of understanding of HDLC is further highlighted

by his assertion that systems using idle words can have, for example, ten

consecutive 1’s. (Dezmelyk Depo at 98:1-13.) HDLC cannot have more than six

consecutive 1’s, otherwise an error is declared. (Schwartz, p. 135-136.) That is

why, “[i]f any portion of the data in the frame contains more than five 1 bits, a

zero-bit insertion technique inserts a 0 to ensure that data is not mistaken for a

flag,” (i.e., 01111110). (APL 1013 (DSS 2010), p. 582.)

      75.   In sum, nothing in Natarajan or the HDLC protocol suggests the use

of idle words and a POSA would understand that HDLC does not use idle words.




                                      - 35 -

                                   Appx2010
         Case: 16-2523     Document: 32     Page: 667     Filed: 03/01/2017


                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
IX.     DSS’s interpretation of “low duty cycle” is incorrect.
      76.   DSS proposes that the broadest reasonable interpretation for a server

transmitter energized in a “low duty cycle” is that “the server transmitter is

energized for less than ten percent (10%) of the total duration designated for

outbound transmissions.” (POR, p. 12.) In my opinion, DSS’s interpretation is not

supported by the ’290 patent or the evidence presented.

      77.   One of DSS’s own examples in Table 1 contradicts the proposed

construction of “less than ten percent,” because it provides for a “low duty cycle,

e.g., at an about 10 percent (10%) duty cycle.” (POR, p. 13 (quoting DSS 2008 at

10:5-6) (emphasis added).) This example would include a “low duty cycle” that is

at or even slightly above 10%, which is not “less than ten percent.” Furthermore,

Mr. Dezmelyk acknowledges that the term “low duty cycle” does not require an

upper bound at 10%. (Dezmelyk Depo., 78:2-6.) Indeed, a POSA would not have

placed a strict upper limit of 10% on “low duty cycle.”

      78.   Mr. Dezmelyk also asserts that the 10% limit is based on claim 8 of

U.S. Patent No. 5,699,357. (See Dezmelyk Depo., 79:12-81:3.) Claim 8 of the ’357

patent recites “[a] data network system as set forth in claim 7 wherein said psuedo

random codes are sparse uncorrelated codes and said low duty cycle pulses

comprise chips within the respective code sequences such that a transmitter is

enerrgized [sic] less than 10% of the time during an allocated time slot.” It is my



                                       - 36 -

                                    Appx2011
         Case: 16-2523     Document: 32     Page: 668     Filed: 03/01/2017


                                                                IPR2015-00373
                                                         U.S. Pat. No. 6,128,290
understanding that because claim 8 depends ultimately from independent claim 6,

it is narrower than the independent claim, meaning that the ’357 patent

contemplates a “low duty cycle” that is greater than 10%.

      79.    Accordingly, it is my opinion that the term “low duty cycle” does not

impose an upper limit of 10% for the duty cycle. Under the broadest reasonable

interpretation standard, a “low duty cycle” of a transmitter should simply be

interpreted as the transmitter being carefully designed to be on only to satisfy the

data communication needs over the communication cycle of the system. Moreover,

a transmitter that is off for more time than it is on over the communication cycle of

the system would be an example of a low duty cycle.

      80.    It is also my opinion that Mr. Dezmelyk’s interpretation of “duty

cycle” is not only inaccurate, it does not make sense. Mr. Dezmelyk asserts in his

declaration that “duty cycle” should be construed to mean “the ratio of the duration

during which the server transmitter is energized to the total duration designated for

outbound transmissions–from the server unit to the peripheral units.” (Dezmelyk

Dec. ¶ 23.) In his deposition, Mr. Dezmelyk further explains his proposed

construction. First, Mr. Dezmelyk asserts that “duty cycle is measured based on

when you are transmitting.” (Dezmelyk Depo., 116:8-9.) He asserts that Natarajan

has a 100% duty cycle because “if you measure during what periods of time it is

transmitting it is transmitting at 100 percent duty cycle.” (Dezmelyk Depo., 69:7-


                                       - 37 -

                                     Appx2012
         Case: 16-2523      Document: 32      Page: 669    Filed: 03/01/2017


                                                                    IPR2015-00373
                                                            U.S. Pat. No. 6,128,290
9.) In my opinion, this interpretation is illogical because if the only time frame

used to calculate duty cycle is when the transmitter is actually transmitting, the

duty cycle will always be 100%. Using Mr. Dezmelyk’s example from the ’290

patent, if transmissions occur in 3 out of 64 slots and “if you measure during what

periods of time it is transmitting” (i.e., the 3 transmissions slots) then the ’290

patent is transmitting at a 100%, not at 4.688%. (See Dezmelyk Dec. ¶¶ 24, 26; see

also Dezmelyk Depo., 116:10-14 (“So if there was enough data to occupy two slots

then the question is:· What is the duty cycle of the RF transmitter during that

period of time of those two slots. Or the aggregate time of those two slots if they

weren't adjacent to one another.”).) Under Mr. Dezmelyk’s interpretation, if a

particular time slot is filled by a transmission, the duty cycle is 100%.

      81.    Mr. Dezmelyk provides additional context to his interpretation,

asserting that duty cycle is calculated based on a sub-portion of a time slot is taken

up by a transmission. Mr. Dezmelyk asserts that:

      if you had -- you are using in essence two slots out of the 10 that are
      available, and particular slots have a fixed width, then that period of
      time of the two slots that you actually have something to transmit in
      gives you the kind of what you are dividing by, the time you are
      dividing by to calculate the duty cycle. You are looking at the
      percentage of time that the transmitter is active during the period in
      time when, in essence when a transmission is called for. (Dezmelyk
      Depo., 116:20-117:6 (emphasis added).)


                                        - 38 -

                                      Appx2013
         Case: 16-2523      Document: 32      Page: 670    Filed: 03/01/2017


                                                                IPR2015-00373
                                                        U.S. Pat. No. 6,128,290
      82.    Put another way by Mr. Dezmelyk, “the question is, what percentage

of that slot time is taken up by the transmission.” (Dezmelyk Depo., 106:2-4

(emphasis added).) Mr. Dezmelyk’s interpretation thus requires determining the

percentage of a single transmission slot used for transmission. Under this

interpretation, Mr. Dezmelyk’s calculation from the example in the ’290 patent,

which accounts for transmission during the entirety of the 3 time slots (out of the

64 total slots), would again be a 100% duty cycle. Thus, neither of Mr. Dezmelyk’s

interpretations of duty cycle are consistent with his interpretation of the ’290 patent

specification, which he asserts requires a duty cycle of less than 10%.

      83.    Furthermore, DSS improperly focuses only on the period for

“outbound transmissions” for calculating the duty cycle in Natarajan. (POR, p. 11-

12; Dezmelyk Dec. ¶ 23.) A POSA would calculate the duty cycle over the period

of time that it takes a system to go through a cycle of communication. DSS’s

methodology improperly manipulates the time period over which a POSA would

determine the duty cycle.

      84.    For Natarajan, a POSA would calculate the duty cycle over all of

Periods A, B, and C. To limit the calculation only to Period A, as suggested by Mr.

Dezmelyk (Dezmelyk Dec. ¶ 32), would read the word “cycle” out of the term

“duty cycle.” The communication “cycle” in Natarajan includes all of Periods A-C.




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                                      Appx2014
           Case: 16-2523   Document: 32     Page: 671     Filed: 03/01/2017


                                                                 IPR2015-00373
                                                          U.S. Pat. No. 6,128,290
      85.     Once the transmissions between the base station and mobile stations

cycle through Periods A-C, the next transmission cycle begins again with Period

A. Accordingly, the calculation of the duty cycle for Natarajan must include

Periods A-C. Furthermore, a POSA would have understood that the

communication cycle in Natarajan, where “[m]ost users are very likely to be

inactive (both Transmit-Inactive and Receive-Inactive) most of the time,”

represents a low duty cycle.

      86.     Using the proper calculation over Periods A-C for duty cycle in

Natarajan, even under DSS’s incorrect interpretation of “low duty cycle” being less

than 10%, Natarajan can operate in a manner that satisfies the proposed

interpretation. By way of example, if the base station transmits to one (1) mobile

unit during Period A, thirty (30) mobile units transmit to the base station during

Period B, and two (2) mobile units transmit to the base station during Period C

(with two (2) ACKs transmitted from the base station to those mobile stations).

Assuming all transmissions take one slot each, then the base station will have

transmitted in three (3) slots out of the thirty-five (35) slots in Periods A-C. This

would represent a duty cycle of 8.57%. Accordingly, even under DSS’s incorrect

interpretation, Natarajan is still capable of satisfying the “low duty cycle” claim

element.




                                       - 40 -

                                     Appx2015
         Case: 16-2523      Document: 32     Page: 672     Filed: 03/01/2017


                                                                  IPR2015-00373
                                                          U.S. Pat. No. 6,128,290
      87.    In another example, Natarajan can operate under a low duty cycle that

is less than 10% where the base station: transmits to one (1) of thirty (30) mobile

units during Period A, two (2) mobile units transmit to the base station during

Period B, and two (2) mobile units transmit to the base station during Period C

(with two (2) ACKs transmitted from the base station to those mobile stations),

where the length of Period C has enough inbound slots (i.e., twenty-eight (28) in

this example) for each of the mobile stations that did not transmit in Period B to

transmit in the contention mode of Period C. A POSA would have found such an

arrangement for Period C to be logical because it provides the opportunity for each

mobile station to transmit to the base station, but if they do not, they can still

conserve power by not turning on. Assuming all transmissions take one slot each,

then the base station will have transmitted in three (3) slots out of the thirty-three

(33) slots in Periods A-C. This would represent a duty cycle of 9.09%.

      88.    Furthermore, should the Board decide, wrongly in my opinion, only to

look at Period A in Natarajan for calculating the duty cycle, it is my opinion that a

POSA would understood that Period A of Natarajan could operate in a low duty

cycle, even at less than 10%. For example, a POSA would have understood that

Period A of Natarajan could be of fixed length, for example, having a timeslot

reserved for each of thirty (30) mobile units, as was common in TDMA schemes.

If the base station transmits to two (2) of the thirty (30) timeslots, this would


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                                     Appx2016
         Case: 16-2523     Document: 32     Page: 673    Filed: 03/01/2017


                                                                IPR2015-00373
                                                        U.S. Pat. No. 6,128,290
represent a 6.67% duty cycle. The transmitter would be off for the remainder of

Period A because, as discussed above, Natarajan’s HDLC protocol does not use

idle words when there is no data to transmit.

X.      Conclusion
      89.    In signing this declaration, I recognize that the declaration will be

filed as evidence in a contested case before the Patent Trial and Appeal Board of

the United States Patent and Trademark Office. I also recognize that I may be

subject to cross-examination in the case and that cross-examination will take place

within the United States. If cross-examination is required of me, I will appear for

cross-examination within the United States during the time allotted for cross-

examination.




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                                     Appx2017
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                        Appx2018
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                        Appx2212
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                        Appx2213
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                        Appx2214
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                        Appx2272
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                        Appx2306
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Benton v. Merit Systems Protection Board, --- Fed.Appx. ---- (2016)
2016 WL 4729510

                                                             disclosures.” MSPB Br. 11. The Board also states that
                                                             it erred in holding that Mr. Benton had not exhausted
                  2016 WL 4729510
                                                             his administrative remedies as to disclosures 4 and 10 of
   Only the Westlaw citation is currently available.
                                                             the eleven actions. The Board nonetheless argues that this
            This case was not selected for
                                                             court on appeal should decide the issues of actions 4 and
       publication in West's Federal Reporter.
                                                             10; the Board states that we should decide in favor of the
      See Fed. Rule of Appellate Procedure 32.1
                                                             position as argued in the Board's Respondent's brief on
       generally governing citation of judicial
                                                             this appeal, without opportunity for Mr. Benton to be
      decisions issued on or after Jan. 1, 2007.
                                                             heard by the Board on this new analysis.
     See also U.S.Ct. of App. Fed. Cir. Rule 32.1.
           United States Court of Appeals,
                                                             The Board's proposal is inappropriate not only as a matter
                   Federal Circuit.
                                                             of due process, but also because a court generally may
             LaRay J. Benton, Petitioner                     review an agency's decision only on the grounds “upon
                         v.                                  which the record discloses that its action was based.”
     Merit Systems Protection Board, Respondent              Securities & Exchange Comm'n v. Chenery Corp., 318 U.S.
                                                             80, 87, 63 S.Ct. 454, 87 L.Ed. 626 (1943); see Ward v.
     Nuclear Regulatory Commission, Intervenor
                                                             Merit Sys. Prot. Bd., 981 F.2d 521, 527–28 (Fed. Cir.
                      2015–3004                              1992) (Chenery doctrine prohibits affirming the Board on
                           |                                 “a wholly different theory” or “entirely different ground
              Decided: September 12, 2016                    from the one it gave in its opinion”).

Petition for review of the Merit Systems Protection Board    We salute the Board's action in correcting its errors.
in No. DC–1221–13–0508–W–1.                                  However, with the concession that for disclosures 4 and
                                                             10 Mr. Benton had exhausted the OSC administrative
Attorneys and Law Firms                                      remedy, the Board's judgment on this Individual Right
                                                             of Action appeal is no longer final. 28 U.S.C. § 1295(a)
LARAY J. BENTON, Mitchellville, MD, pro se.
                                                             (9) (2006) (conferring jurisdiction over “an appeal from
KATHERINE MICHELLE SMITH, Office of the                      a final order or final decision of the Merit Systems
General Counsel, Merit Systems Protection Board,             Protection Board, pursuant to sections 7703(b)(1) and
Washington, DC, for respondent. Also represented by          7703(d) of title 5”); see, e.g. Rockwell v. Dep't of Transp.,
BRYAN G. POLISUK.                                            F.A.A., 789 F.2d 908, 913 (Fed. Cir. 1986) (“Congress
                                                             expressly limited our appellate review, 5 U.S.C. § 7703(c),
JESSICA COLE, Commercial Litigation Branch,                  to final orders and decisions of the board on the record.”);
Civil Division, United States Department of Justice,         Johnson v. U.S.P.S., 527 Fed.Appx. 868, 871 (Fed. Cir.
Washington, DC, for intervenor. Also represented by          2013) (remanding when agency conceded that controlling
BENJAMIN C. MIZER, ROBERT E. KIRSCHMAN,                      standard was not considered by the Board).
JR., PATRICIA M. MCCARTHY.
                                                             As the Board's order is no longer final, we dismiss this
Before Newman, Reyna, and Stoll, Circuit Judges.
                                                             appeal for lack of jurisdiction. The case is remanded to the
Opinion                                                      Board for further proceedings.

Per Curiam.                                                  DISMISSED AND REMANDED

*1 Mr. LaRay J. Benton appeals the judgment of the
Merit Systems Protection Board, dismissing his Individual
                                                                                       COSTS
Right of Action (IRA) appeal. 1 The Board now states,
in its Respondent's brief on this appeal, that “the          Costs to Mr. Benton.
administrative judge and the full Board erred in analyzing
Mr. Benton's 11 alleged personnel actions as protected



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All Citations

--- Fed.Appx. ----, 2016 WL 4729510 (Mem)


Footnotes
1      Benton v. Nuclear Regulatory Com'n, DC–1221–13–0508–W–1, 2014 WL 5358394 (M.S.P.B. July 29, 2014) (Final
       Decision).


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Cutsforth, Inc. v. MotivePower, Inc., 636 Fed.Appx. 575 (2016)




                                                              Jason Alexander Engel, K & L Gates LLP, Chicago,
                  636 Fed.Appx. 575                           IL, argued for appellee. Also represented by Benjamin
             This case was not selected for                   Edward Weed, Alan L. Barry, Robert J. Barz.
        publication in West's Federal Reporter.
       See Fed. Rule of Appellate Procedure 32.1              Before PROST, Chief Judge, CLEVENGER, and
        generally governing citation of judicial              MOORE, Circuit Judges.
       decisions issued on or after Jan. 1, 2007.
      See also U.S.Ct. of App. Fed. Cir. Rule 32.1.           Opinion
            United States Court of Appeals,
                                                              CLEVENGER, Circuit Judge.
                    Federal Circuit.
                                                              This appeal arises from the inter partes review (“IPR”) of
            CUTSFORTH, INC., Appellant,
                                                              U.S. Patent No. 7,990,018 (“the ′018 patent”) owned by
                     v.
                                                              Cutsforth, Inc. (“Cutsforth”). The United States Patent
           MOTIVEPOWER, INC., Appellee.                       and Trademark Office, Patent Trial and Appeal Board
                                                              (“the Board”) held that claims 1–24 of the ′018 patent are
                      No. 2015–1316.
                                                              unpatentable as obvious under 35 U.S.C. § 103. Motive–
                             |
                                                              Power, Inc. v. Cutsforth, Inc., IPR2013–00274, Paper No.
                      Jan. 22, 2016.
                                                              31 (PTAB Oct. 30, 2014). Cutsforth appeals the Board's
Synopsis                                                      decision. Because the Board did not adequately describe
Background: Challenger filed petition for inter partes        its reasoning for finding the claims obvious, we vacate and
review of patent directed to a removable brush holder         remand for further proceedings.
that could be used to pass electrical current in electrical
devices or slip ring assemblies. The United States
Patent and Trademark Office, Patent Trial and Appeal                                       I
Board (PTAB), 2014 WL 5661374, found patent was
unpatentable as obvious over combination of prior art.        The ′018 patent is directed to a removable brush holder
Patent owner appealed.                                        that can be used to pass electrical current in electrical
                                                              devices or slip ring assemblies, such as electric generators
                                                              and motors. The patent generally describes a brush holder
                                                              assembly that allows a current to pass from a stationary
Holding: The Court of Appeals, Clevenger, Circuit Judge,
                                                              device (such as a brush) to a moving contact, or vice versa.
held that PTAB was required to articulate reasoning for
                                                              The brush is made of a *576 conductive material and is
decision that patent was obvious over combination of
                                                              held in place by a brush holder to remain in continuous
prior art.
                                                              contact with a moving conductive surface to generate an
                                                              electrical current. The invention makes it easier to remove
Vacated and remanded.                                         and replace brushes during operation as the brushes wear
                                                              down, which allows for safer and more cost effective
                                                              maintenance.
 *575 Appeal from the United States Patent and
Trademark Office, Patent Trial and Appeal Board in No.        Independent claim 1 is representative of the claimed
IPR2013–00274.                                                invention and reads as follows:

Attorneys and Law Firms                                          1. A brush holder assembly for holding a brush having
                                                                    a conductive element, the brush holder assembly
Mathias Wetzstein Samuel, Fish & Richardson P.C.,                   comprising:
Minneapolis, MN, argued for appellant. Also represented
by Robert P. Courtney, Conrad Gosen.                             an elongated mounting block having a major axis, an
                                                                 upper end and a lower end, and a first and second outer
                                                                 side surfaces substantially parallel to said major axis,



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Cutsforth, Inc. v. MotivePower, Inc., 636 Fed.Appx. 575 (2016)


  and including a stationary brush release proximate said      “mounting block,” and thus reject Cutsforth's argument,
  lower end; and                                               as we also did in Appeal No. 2015–1315, Cutsforth, Inc. v.
                                                               Motivepower, Inc., 626 Fed.Appx. 1011 (Fed.Cir.2015).
  a brush holder component adapted for removably
  mounting to the mounting block, the brush holder
  component comprising a brush box and a channel for
  receiving a portion of the mounting block therein, the                                *577 II
  channel including first and second inner side surfaces;
                                                               Under 35 U.S.C. § 103, an invention is unpatentable if
  the brush holder component further comprising a brush        the differences between the invention and the prior art
  catch having a first position and a second position, the     are such that a person of ordinary skill in the art would
  brush catch preventing sliding movement of a brush           have found the claimed invention obvious. The Board's
  within the brush box in the first position, and the brush    ultimate determination of obviousness is a legal question,
  catch permitting sliding movement of a brush within the      which we review de novo. In re Kotzab, 217 F.3d 1365,
  brush box in the second position;                            1369 (Fed.Cir.2000). However, we review the underlying
                                                               factual findings for substantial evidence. Id. Substantial
  wherein the stationary brush release is positioned on        evidence is “such relevant evidence as a reasonable mind
  the mounting block so that when the brush holder             might accept as adequate to support a conclusion.” In
  component is mounted on the mounting block, the              re Gartside, 203 F.3d 1305, 1312 (Fed.Cir.2000) (citation
  stationary brush release engages with the brush catch,       omitted).
  moving the brush catch into the second position.
                                                               The issue in this case is whether the Board correctly
U.S. Patent No. 7,990,018 col. 17 l. 64–col. 18 l. 20 (filed   determined that the ′ 018 patent is obvious over Bissett,
Sept. 21, 2010).                                               Ohmstedt, and Kartman. While we review this question
                                                               de novo, we first consider the findings made by the Board
On May 8, 2013, MotivePower, Inc. (“MotivePower”)              to reach its conclusion.
petitioned for IPR, challenging all claims of the ′018
patent. 1 The Board instituted review of all claims (1–        First, regarding independent claim 1, the Board's analysis
24) based on the ground that all asserted claims would         begins by summarizing MotivePower's arguments for
have been obvious in light of U.S. Patent No. 3,432,708        why claim 1 is obvious over Bissett, Ohmstedt, and
(“Bissett”), U.S. Patent No. 5,043,619 (“Kartman”), and        Kartman. The Board briefly describes MotivePower's
U.S. Patent No. 3,864,803 (“Ohmstedt”). The Board              belief that Bissett discloses several limitations of claim
issued its Final Written Decision on October 30, 2014.         1 and that it would have been obvious to adapt the
The Board first construed “mounting block” to mean “a          brush holder of Bissett and combine it with key elements
base for affixing to another structure,” and “removably        of Ohmstedt to produce the remaining limitations from
mounting” to mean “mounting in a manner that is not            claim 1. The Board also includes MotivePower's argument
permanent.” In light of these constructions, the Board         that it would be obvious to adapt the mounting block
determined that all claims were obvious over Bissett,          of Bissett (i.e., dovetails 18) with the mounting block
Kartman, and Ohmstedt, which also disclose various             of Kartman (i.e., detachable connecting means 42). This
brush holder assemblies.                                       adaptation is referred to as the Bissett/Kartman mounting
                                                               block. However, the Board stated no independent reasons
Cutsforth timely appealed the Board's decision to this         for why claim 1 is obvious nor did it formally adopt
Court. We have jurisdiction pursuant to 28 U.S.C. §            MotivePower's arguments as its own reasoning.
1295(a)(4)(A). In addition to its challenge to the Board's
obviousness conclusions, Cutsforth also challenges the         Second, the Board found that dependent claim 5 is
Board's interpretation of the “mounting block” limitation.     obvious in light of the prior art. Claim 5 reads “The
As noted, the Board concluded that “mounting block”            brushholder holder assembly of claim 1, wherein the
means “a base for affixing to another structure,” and          mounting block includes a spring that applies spring
need not be fixed to another structure, as Cutsforth           force against at least a portion of the brush holder
argues. We see no error in the Board's interpretation of       component when the brush holder component is mounted



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to the mounting block.” The Board recites MotivePower's          from the Bissett and Kartman references to get the
argument that the adapted Bissett/Kartman mounting               Bissett/Kartman mounting block. The Board's decision
block does include a spring (i.e., spring lead receptacle        appears to assume this combination is obvious. It offers
32 of Bissett). The Board then determined “that                  no explanation for why a person of ordinary skill in the art
positioning spring lead receptacle 32 on the Bissett/            would adjust Bissett and Kartman to create the claimed
Kartman mounting block is a matter of design choice              mounting block of the ′018 patent. The Board only
because its placement there would not alter the operation        states that MotivePower argued it was obvious to do so.
of the modified mounting block.”                                 Merely reciting MotivePower's argument does not satisfy
                                                                 the Board's responsibility to explain its own reasoning.
Third, the Board found that dependent claim 8 is obvious.        The decision must explain why a person of ordinary skill
Claim 8 reads “The brush holder assembly of claim                in the art would find it obvious. The Board gives no such
1, wherein the mounting block includes a portion that            explanation.
is moveable relative to the remainder of the mounting
block and operable to engage with the removable brush            For claim 5, which requires that the mounting block
holder component to secure the removable brush holder            include a spring, the Board explains that the placement of
component to the mounting block.” The Board again                the spring on the mounting block is simply a design choice.
recited MotivePower's argument that one of ordinary skill        In Bissett, lead receptacle 32 is located on a stationary
in the art would know to move crosspiece 40 of Bissett           brush frame, not the mounting block. Yet, the Board
to the mounting block, thereby incorporating a moveable          determined that lead receptacle 32 could be positioned
portion on the mounting block. However, the Board gave           on the modified Bissett/Kartman mounting block and the
no other reason for why this modification is obvious.            elements would function as disclosed in the ′018 patent.
                                                                 Thus, the Board found that the location of the spring is a
As we held in In re Sang–Su Lee, 277 F.3d 1338                   design choice and is obvious. This statement alone is not
(Fed.Cir.2002), the Board must articulate its reasoning for      enough to explain why the Board found claim 5 obvious.
making its decision. The Board must develop and explain          Merely stating that a particular placement of an element is
the basis for its findings. This enables the reviewing           a design choice does not make it obvious. The Board must
court to conduct meaningful review of the proceedings.           offer a reason for why a person of ordinary skill in the art
Broad, conclusory statements are not enough to satisfy the       would have made the specific design choice to locate the
Board's obligation to provide reasoned explanation for its       spring on the mounting block. Here, it does not.
decision. In re Sang–Su Lee, 277 F.3d at 1343–45. In a
case of *578 obviousness, the Board must explain why a           For claim 8, the Board's explanation is nominal. Claim
person of ordinary skill in the art would modify the prior       8 requires that the mounting block include a movable
art references to create the claimed invention. See In re        portion. The Board recited MotivePower's argument that
Kotzab, 217 F.3d at 1371; In re Rouffet, 149 F.3d 1350,          a person of ordinary skill in the art could modify and
1359 (Fed.Cir.1998).                                             relocate an element of Bissett to the mounting block
                                                                 and this claim would be satisfied. There is no further
In this case, the Board made broad, conclusory statements        explanation. Again, conclusory statements do not give
in its analysis to determine that the claims of the              adequate justification for why a claim is obvious. The
′018 patent are obvious. The majority of the Board's             Board does not give any reasons for how a person of
Final Written Decision is spent summarizing the parties'         ordinary skill would find this modification obvious.
arguments and offers only conclusory analysis of its own.
While the decision does specify when it is rejecting a party's
argument, the Board does not explain why it accepts
                                                                                             III
the remaining arguments as its own analysis. This leaves
little explanation for why the Board found the claimed           For the foregoing reasons, we hold that the Board's Final
invention obvious.                                               Written Decision does not provide enough explanation
                                                                 to support its finding of obviousness. Therefore, this
The first basis for the Board's obviousness conclusion           Court cannot properly review whether there is substantial
is that it would have been obvious to modify elements            evidence to support the underlying factual findings of



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the Board's determination. When the Board determines
that modifications and combinations of the prior art
render a claimed invention obvious, the Board must fully                       VACATED AND REMANDED
explain why a person of ordinary skill in the art would
 *579 find such changes obvious. We vacate the Board's
                                                                 All Citations
decision and remand “for proceedings appropriate to the
administrative process.” In re Sang–Su Lee, 277 F.3d at          636 Fed.Appx. 575
1346.


Footnotes
1      MotivePower petitioned for IPR of five related patents, including the #018 patent. The Board instituted all five IPRs and
       every challenged claim was either cancelled by Cutsforth or found to be unpatentable by the Board. Cutsforth appealed
       three of the five decisions, including this one and Appeal No. 2015–1314 and Appeal No. 2015–1315, which were
       consolidated for oral argument before this Court.


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In re Lemay, 660 Fed.Appx. 919 (2016)




                                                               *920 Appeal from the United States Patent and
                  660 Fed.Appx. 919                           Trademark Office, Patent Trial and Appeal Board in No.
             This case was not selected for                   11/968,067.
        publication in West's Federal Reporter.
       See Fed. Rule of Appellate Procedure 32.1              Attorneys and Law Firms
        generally governing citation of judicial
       decisions issued on or after Jan. 1, 2007.             MARK S. DAVIES, Orrick, Herrington & Sutcliffe LLP,
      See also U.S.Ct. of App. Fed. Cir. Rule 32.1.           Washington, DC, argued for appellants. Also represented
            United States Court of Appeals,                   by E. JOSHUA ROSENKRANZ, MARC SHAPIRO,
                    Federal Circuit.                          SARAH M. STERNLIEB, New York, NY; DONALD E.
                                                              DAYBELL, Irvine, CA; CATHY C. SHYONG, Menlo
  In re: Stephen O. Lemay, Michael Matas, Timothy             Park, CA; BRIAN B. HO, PETER J. YIM, Morrison &
 P. Omernick, Richard Williamson, Imran Chaudhri,             Foerster LLP, San Francisco, CA.
     Charles J. Pisula, Marcel Van Os, Appellants
                                                              PHILIP J. WARRICK, Office of the Solicitor, United
                       2015–1973                              States Patent and Trademark Office, Alexandria, VA,
                            |                                 argued for appellee Michelle K. Lee. Also represented by
               Decided: September 19, 2016                    THOMAS W. KRAUSE, BRIAN RACILLA.

Synopsis                                                      Before Newman, Moore, and Wallach, Circuit Judges.
Background: Named inventors in applied-for patent
                                                              Opinion
generally directed to method of streaming online videos to
portable device appealed Patent Trial and Appeal Board's
(PTAB) decision rejecting certain claims as obvious.          Dissenting opinion filed by Circuit Judge Moore.

                                                              Wallach, Circuit Judge.

Holdings: The Court of Appeals, Wallach, Circuit Judge,       Appellants Stephen O. Lemay and others (collectively,
held that:                                                    “Lemay” or “Appellants”), inventors at Apple Inc., 1
                                                              appeal the Final Written Decision of the United States
[1] PTAB's finding that claims relating to clicking icon to   Patent and Trademark Office's (“USPTO”) Patent Trial
produce “corresponding list of information” were obvious      and Appeal Board (“PTAB”), which affirmed in part
was not supported by substantial evidence;                    an examiner's rejection of all claims of U.S. Patent
                                                              Application Publication No. 2008/0320391 (the “Lemay
[2] PTAB's finding that claims relating to “displaying a      application”). We reverse.
first list of information about online video items in a
plurality of lists of information about online video items”
were obvious was not supported by substantial evidence;
and                                                                               BACKGROUND

                                                              Appellants are the named inventors of the Lemay
[3] inventors waived argument that claim limitations
                                                              application, which is generally directed to a method
established “dual functionality” element.
                                                              of streaming online videos to a portable device. The
                                                              application contains six independent claims (1, 2, 29, and
Reversed.                                                     31–33) that each recite, among other things, a touch screen
                                                              and a graphical user interface that displays “a first list of
Moore, Circuit Judge, filed dissenting opinion.               information about online video items.” See, e.g., *921
                                                              J.A. 985 (claim 1). Representative 2 claim 1 recites:

                                                                A method, comprising:



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                                                      Appx2561
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In re Lemay, 660 Fed.Appx. 919 (2016)


                                                                 decision as to claims 1–9 and 12–33. This court has
  at a portable electronic device with a touch screen            jurisdiction under 28 U.S.C. § 1295(a)(4)(A) (2012).
  display:

  displaying, on the touch screen display of the portable
  electronic device, a first list of information about online                          DISCUSSION
  video items in a plurality of lists of information about
  online video items;
                                                                                I. Standard of Review and
  displaying, on the touch screen display of the portable                     Legal Standard for Obviousness
  electronic device, a plurality of icons corresponding to at
                                                                 The USPTO may not issue a patent “if the differences
  least some of the plurality of lists of information about
                                                                 between the subject matter *922 sought to be patented
  online video items;
                                                                 and the prior art are such that the subject matter as a whole
  in response to detecting a moving finger gesture on            would have been obvious at the time the invention was
  the first list of information about online video items,        made to a person having ordinary skill in the [relevant]
  scrolling the first list of information about online video     art....” 35 U.S.C. § 103(a) (2006). 5 “The [USPTO] bears
  items on the touch screen display of the portable              the initial burden of showing a prima facie case of
  electronic device;                                             obviousness.” In re Giannelli, 739 F.3d 1375, 1379 (Fed.
                                                                 Cir. 2014) (citation omitted). The ultimate determination
  in response to detecting a tap gesture on a first portion of   of obviousness is a question of law, but that determination
  a row in the first list of information about online video      is based on underlying factual findings. See In re Gartside,
  items, wherein the row contains information about a            203 F.3d 1305, 1316 (Fed. Cir. 2000). The underlying
  particular online video item:                                  factual findings include (1) “the scope and content of
                                                                 the prior art,” (2) “differences between the prior art and
  initiating a request for the particular online video item
                                                                 the claims at issue,” (3) “the level of ordinary skill in
  from a remote computer, receiving the particular online
                                                                 the pertinent art,” and (4) the presence of secondary
  video item, and playing the particular online video item;
                                                                 considerations of nonobviousness, such as “commercial
  in response to detecting a finger gesture on a second          success, long felt but unsolved needs, [and] failure of
  portion of the row in the first list of information            others.” Graham v. John Deere Co. of Kan. City, 383 U.S.
  about online video items, wherein the second portion           1, 17–18, 86 S.Ct. 684, 15 L.Ed.2d 545 (1966). If “a prima
  of the row is different from the first portion of the          facie case of obviousness is made, the burden then shifts
  row, displaying, on the touch screen display of the            to the applicant to come forward with evidence and/or
  portable electronic device, additional information about       argument supporting patentability.” Giannelli, 739 F.3d at
  the particular online video item; and                          1379 (citation omitted).

  in response to detecting a finger gesture on a respective      We review the PTAB's factual determinations for
  icon in the plurality of icons, displaying, on the touch       substantial evidence and its legal determinations de novo.
  screen display of the portable electronic device, a            Gartside, 203 F.3d at 1316. “Substantial evidence is
  corresponding list of information about online video           something less than the weight of the evidence but more
  items.                                                         than a mere scintilla of evidence.” In re Kotzab, 217 F.3d
                                                                 1365, 1369 (Fed. Cir. 2000) (citation omitted). It is “
J.A. 15–16 (emphases added). 3                                   ‘such relevant evidence as a reasonable mind might accept
                                                                 as adequate to support a conclusion.’ ” In re Applied
A USPTO examiner rejected claims 1–33 as obvious                 Materials, Inc., 692 F.3d 1289, 1294 (Fed. Cir. 2012)
over various combinations of U.S. Patent No. 7,739,271           (quoting Consol. Edison Co. v. N.L.R.B., 305 U.S. 197,
(“Cook”) and U.S. Patent Application Publication No.             229, 59 S.Ct. 206, 83 L.Ed. 126 (1938)).
2007/0024646 (“Saarinen”). 4 The PTAB affirmed the
rejections of claims 1–9 and 12–33, but reversed the
rejections of claims 10–11. Lemay appeals the PTAB's



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      II. No Substantial Evidence Supports the
    PTAB's Determination that Cook and Saarinen
       Teach the Subject Elements of Claim 1

The PTAB found that certain elements of claim 1 of
the Lemay application would have been obvious over
Cook and Saarinen. See J.A. 5–6. When no substantial
evidence supports the PTAB's findings, we may reverse
its findings without remanding the matter. See, e.g.,
Arendi S.A.R.L. v. Apple Inc., 832 F.3d 1355, 1366–67
(Fed. Cir. 2016) (reversing the PTAB's determination
that adding a search for phone numbers to a text
recognition program would have been obvious because
the PTAB's decision was “conclusory and unsupported
by substantial evidence”); Giannelli, 739 F.3d at 1380
(reversing affirmance of examiner's rejection where the
PTAB's analysis “contained no explanation why or how a
person having ordinary skill in the art would modify” the
prior art to arrive at the claimed invention). The instant
appeal warrants reversal.

Lemay argues that no evidence demonstrates that Cook
and Saarinen teach the three disputed elements of claim 1.
Although the USPTO attempts to identify record evidence
in support of the PTAB's findings, 6 its arguments are
unpersuasive. We agree with Lemay that no substantial
 *923 evidence supports the PTAB's findings as to two of      J.A. 959 (Lemay application fig.5A). Figure 5A illustrates
these three elements in claim 1, but we find that Lemay       a touch screen display that allows users to click on the
waived its arguments as to the third. We discuss each in      bottom row of icons to generate a list of “featured,” “most
turn.                                                         viewed,” or “bookmark[ed]” video titles. J.A. 959.

                                                              According to Lemay, those categories (i.e., “featured,”
                                                              “most viewed,” “bookmark[ed],” *924 etc.) represent
   A. No Substantial Evidence Supports the PTAB's
                                                              the “plurality of icons” recited in claim 1 of the Lemay
    Finding that Cook and Saarinen Teach an Icon
                                                              application. J.A. 16. For example, when a user taps a
     and “A Corresponding List of Information”
                                                              finger on the “most viewed” category, the screen will
 [1] First, Lemay asserts that Cook does not teach the        display “a list of ‘most viewed’ video titles along with other
element recited in the final clause of claim 1, which         information about each online video item.” Appellants'
requires that “in response to detecting a finger gesture      Br. 23. The resulting list of video items can be seen in
on a respective icon in the plurality of icons, displaying,   Figure 5A as “Pokemon theme music,” “SNL–Digital
on the touch screen display of the portable electronic        Short,” etc. See J.A. 959 (Lemay application fig.5A).
device, a corresponding list of information about online      The tapping of the user's finger and the resulting display
video items.” J.A. 16 (emphases added). Lemay explains        of video titles and associated information illustrate,
that this clause can be understood by reference to Figure     according to Lemay, the two elements of (1) “a finger
5A of the Lemay application, which is reproduced below:       gesture on a respective icon in the plurality of icons”
                                                              and (2) “a corresponding list of information about online
                                                              video items,” respectively. J.A. 16, 959.




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The USPTO argues that substantial evidence supports
the PTAB's finding that Cook teaches these elements (in          Appellee's Br. 22 (emphases added). However, if the “list
combination with Saarinen, which teaches a touch screen          of information” corresponding to an icon is represented
and finger gestures). The PTAB adopted the examiner's            by album titles, artist names, and release dates generated
finding that Cook teaches user queries entered into an           as the results of the search query, the same list cannot also
Internet search engine, J.A. 671, which generates “a             be represented elsewhere as a list of track titles. These are
listing of album covers and links to listen to a music           different lists.
sample from three different albums,” J.A. 874. In support,
the USPTO contends that a user may click any of                  For these reasons, we conclude that no substantial
Cook's “Listen!” icons (i.e., “links to listen,” J.A. 874),      evidence supports the PTAB's finding that Cook, in
which it says correspond to Lemay application claim              combination with Saarinen, discloses clicking an icon to
1's “plurality of icons.” Upon clicking one of these             produce the recited “corresponding” list of information.
icons (i.e., “a finger gesture on a respective icon in the
plurality of icons,” J.A. 959), a media player appears that
“displays various lists of information corresponding to               *925 B. No Substantial Evidence Supports the
the selected media sample” (i.e., “a corresponding list of          PTAB's Finding that Cook and Saarinen Teach a
information,” J.A. 959). Appellee's Br. 25–26; see J.A.           “First List of Information About Online Video Items”
671–72, 676 (examiner's findings that the media samples
are “a corresponding list of information”). According             [2] The first clause of claim 1 recites “displaying ... a first
to the USPTO, the “list of information about online              list of information about online video items in a plurality
video items” corresponds to the icon clicked by the user         of lists of information about online video items.” J.A. 15
and comprises the album “tracks,” along with other               (emphasis added). Lemay asserts that the use of the word
information. See Appellee's Br. 26; see also J.A. 672            “items” indicates that “the first list of information must
(examiner's finding that songs can be “video items”).            be about multiple online video items.” Appellants' Br. 25.
                                                                 The USPTO states that Lemay's argument “misses the
The USPTO's reasoning is flawed. The final clause of             mark” because the “sample(s)” illustrated in Cook Figure
claim 1 in the Lemay application recites “in response            3B are the “items” referred to in claim 1, and the “list of
to detecting a finger contact on a respective icon in the        information” corresponding to these items is the list of
plurality of icons, displaying ... a corresponding list of       search results illustrated in Figure 3B. Appellee's Br. 32
information about online video items.” J.A. 16 (emphases         (emphasis omitted).
added). The claim earlier provides the antecedent basis
for “the plurality of icons” and their corresponding lists       The USPTO's position regarding “items” contradicts its
of information when it recites (1) “displaying ... a first       position regarding “lists of information.” Earlier in its
list of information about online video items in a plurality      brief, the USPTO contends that each of the three sets
of lists of information about online video items” and (2)        of title, artist, and price information identified in Cook
“displaying ... a plurality of icons corresponding to at least   Figure 3B is one of the “lists of information.” See,
some of the plurality of lists of information about online       e.g., Appellee's Br. 22–23 (where the USPTO “borrow[s]
video items.” J.A. 15 (emphases added). The USPTO                the annotations from [Lemay's] brief,” but omits the
argues that                                                      rectangular annotation boxes surrounding the names of
                                                                 the “items”). Comparing Lemay's brief to the USPTO's
            each of the three album covers                       reveals this discrepancy:
            and “Listen!” links represent icons,
            and each list of information about
            the online media sample—album
            title (e.g.[,] “I Wanna Be With
            You”), artist name (e.g., “Mandy
            Moore”), release date (e.g., “May
            9, 2000”), and price (e.g., “$12.99”)
            —corresponds to those icons.



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                                                                               C. Lemay Waived its Arguments
                                                                                   as to Dual Functionality

                                                                    [3] Although the term “dual functionality” does not
                                                                   appear anywhere in the Lemay application, claim 1 recites
                                                                   the following two steps:

                                                                     [ (1) ] in response to detecting a tap gesture on a
Compare Appellants' Br. 20 (left, reproducing and
                                                                     first portion of a row in the first list of information
annotating a portion of J.A. 867 (Cook fig.3B)), with
                                                                     about online video items, wherein the row contains
Appellee's Br. 23 (right, reproducing and annotating a
                                                                     information about a particular online video item:
portion of J.A. 867 (Cook fig.3B)). As can be seen from
these illustrations, Lemay's annotated version of Cook               ...
Figure 3B contains rectangles around “Mandy More,” “I
Wanna Be With You,” and “Now That's What I Call                      playing the particular online video item;
Music! 4,” i.e., around the “items” referred to in the claim.
Appellants' Br. 20. In contrast, the USPTO's version omits           [ (2) ] in response to detecting a finger gesture on a
these rectangles, noting that “the green boxes [i.e., the            second portion of the row in the first list of information
larger rectangles surrounding the title, artist, and price           about online video items, wherein the second portion
information] indicate the ‘plurality of lists of information.’       of the row is different from the first portion of the
” Appellee's Br. 23. According to the USPTO, each of the             row, displaying, on the touch screen display of the
three sets of title, artist, and price information is one of the     portable electronic device, additional information about
“lists of information.” Id. at 22–23. The USPTO confirms             the particular online video item....
this understanding when it states that “Cook ... explains
                                                                   J.A. 15 (emphases added). Lemay contends that these
that the results display includes a listing of information
                                                                   limitations establish the dual functionality element, which
that correlates to each album cover: the price of the album
                                                                   is illustrated in Figure 5A of the Lemay application.
and *926 ‘other purchasing information.’ ” Id. at 24
                                                                   Appellants' Br. 28 (reproducing and annotating a portion
(emphases added) (quoting J.A. 874).
                                                                   of J.A. 959 (Lemay application fig.5A)).

The USPTO's reasoning is internally inconsistent. If each
                                                                   However, the court need not address these arguments.
of the three sets of title, artist, and price information
                                                                   Because Lemay did not raise this issue before the PTAB,
constitutes one of the “lists of information,” it cannot
                                                                   the PTAB did not make any findings on this issue.
also be correct that the search results as a whole (i.e.,
                                                                   The court cannot decide questions of fact in the first
“Mandy More,” “I Wanna Be With You,” and “Now
                                                                   instance when reviewing the PTAB's decisions. Therefore,
That's What I Call Music! 4”) constitute one of the lists.
                                                                   Lemay's arguments as to claim 1 are waived. See, e.g.,
And, if each of the three sets of title, artist, and price
                                                                   In re Suitco Surface, Inc., 603 F.3d 1255, 1261 (Fed. Cir.
information constitutes one of the lists of information,
                                                                   2010) (declining to consider new anticipation argument
then each such list corresponds only to a single item (i.e.,
                                                                   not raised before the PTAB); In re Watts, 354 F.3d 1362,
the “particular online video item,” J.A. 15, that is played
                                                                   1367–68 (Fed. Cir. 2004) (holding patent holder waived
when a user clicks the “Listen!” link), rather than multiple
                                                                   new argument on the scope of the prior art never raised
“online video items.” J.A. 15 (emphasis added).
                                                                   to the PTAB). Therefore, the court need not consider
                                                                   whether Cook discloses the dual functionality element of
For these reasons, the court concludes that no substantial
                                                                   claim 1 of the Lemay application.
evidence supports the PTAB's conclusion that Cook
Figure 3B discloses “displaying ... a first list of
information about online video items in a plurality of
lists of information about online video items.” J.A. 15
(emphasis added).


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                                                                 4 and 9), 768–71 (claim 9), 773–74 (claim 23), and the
                                                                 PTAB provided separate reasoning for its affirmance of
          III. No Substantial Evidence Supports
                                                                 the examiner's rejection of these claims, see J.A. 7–9.
         the PTAB's Obviousness Determination
                                                                 Before this court, Lemay continues to separately argue
         as to Claims 2–3, 5–8, 12–22, and 24–33
                                                                 these claims. See Appellants' Br. 48–54. However, the
                                                                 court need not address these separate arguments because
As to claims 2–3, 5–8, 12–22, and 24–33, 7 claim 1 is
                                                                 these claims depend from nonobvious claims.
representative. A claim is considered representative when
it is not separately argued before the PTAB, see 37 C.F.R.
                                                                 It is true that dependent claims may either stand or fall
§ 41.37(c)(1)(iv) (“For each ground *927 of rejection
                                                                 when the associated independent claim is invalidated as
applying to two or more claims, the claims may be
                                                                 obvious. See 35 U.S.C. § 282(a) ( “[D]ependent or multiple
argued ... as a group (all claims subject to the ground of
                                                                 dependent claims shall be presumed valid even though
rejection rise and fall together)....” (emphasis added)), and
                                                                 dependent upon an invalid claim.”); Scanner Techs. Corp.
claims that “are not separately argued ... all stand or fall
                                                                 v. ICOS Vision Sys. Corp. N.V., 528 F.3d 1365, 1383 (Fed.
together,” In re Kaslow, 707 F.2d 1366, 1376 (Fed. Cir.
                                                                 Cir. 2008) (noting the “black letter law that a finding of
1983).
                                                                 invalidity of an independent claim does not determine
                                                                 the validity of claims that depend from it” (citation
In their opening brief before the PTAB, Lemay grouped
                                                                 omitted)). But this does not mean that dependent claims
claims 2–3, 5–8, 12–22, and 24–33 together and presented
                                                                 that are not themselves inherently nonobvious may either
arguments applicable to this group. See J.A. 711–20
                                                                 stand or fall when, as here, the associated independent
(Appellants' Brief to the PTAB); see also J.A. 760–67
                                                                 claim is determined to be nonobvious. To the contrary,
(Appellants' Reply Brief to the PTAB grouping claims in
                                                                 “dependent claims are nonobvious if the independent
the same manner, with the exception of including claim 4
                                                                 claims from which they depend are nonobvious....” In re
in the sections on claims 1–3, 5–8, 12–22, and 24–33). As
                                                                 Fritch, 972 F.2d 1260, 1266 (Fed. Cir. 1992); see Ortho–
a result, the PTAB determined that “Appellants have not
                                                                 McNeil Pharm., Inc. v. Mylan Labs., Inc., 520 F.3d 1358,
presented separate patentability arguments for pending
                                                                 1365 (Fed. Cir. 2008) (“[I]f claim 1 is not obvious then
claims 2–3, 5–8, 12–22, and 24–33 or have reiterated
                                                                 claims 6–8 also cannot be obvious because they all depend
substantially the same patentability arguments as those
                                                                 from a nonobvious claim.” (citation omitted)); In re Fine,
previously discussed for claim 1,” and thus sustained the
                                                                 837 F.2d 1071, 1076 (Fed. Cir. 1988) (“Dependent claims
examiner's rejection of these claims on the same grounds
                                                                 are nonobvious under section 103 if the independent
as claim 1. J.A. 7 (citing 37 C.F.R. § 41.37(c)(1)(iv)).
                                                                 claim from which they depend are nonobvious.” (citations
                                                                 omitted)); Manual of Patent Examining Procedure §
In the present appeal, the parties continue to agree
                                                                 2143.03 (9th ed. Rev. 7, Nov. 2015) (“If an independent
that claim 1 is representative. See Appellants' Br. 7 n.6
                                                                 claim is nonobvious *928 under 35 U.S.C. [§ ] 103, then
(“Because the parties and the PTAB treated claim 1
                                                                 any claim depending therefrom is nonobvious.” (citation
as a representative claim, this brief does so as well.”);
                                                                 omitted)).
Appellee's Br. 1, 3, 5, 18–19, 21, 40 (repeatedly referring to
“representative claim 1”). Therefore, claims 2–3, 5–8, 12–
                                                                 Claims 4, 9, and 23 depend from claims that this court
22, and 24–33 stand or fall with claim 1. See 37 C.F.R. §
                                                                 determined to be nonobvious, i.e., claims 2 and 3. See
41.37(c)(1)(iv); Kaslow, 707 F.2d at 1376. Because claim 1
                                                                 J.A. 17 (where claims 4 and 9 depend from “[t]he method
would not have been obvious, we reverse as to claims 2–3,
                                                                 of claim 2”), 19 (where claim 23 depends from “[t]he
5–8, 12–22, and 24–33 as well.
                                                                 method of claim 3”). Therefore, claims 4, 9, and 23 also
                                                                 are nonobvious. See Ortho–McNeil, 520 F.3d at 1365.

         IV. No Substantial Evidence Supports
        the PTAB's Obviousness Determinations
                                                                                     CONCLUSION
          as to Dependent Claims 4, 9, and 23
                                                                 We have considered the parties' remaining arguments and
Lemay provided separate arguments for dependent claims
                                                                 find them unpersuasive. For these reasons, the decision of
4, 9, and 23 before the PTAB, see J.A. 720–22 (claims


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the United States Patent and Trademark Office's Patent          plurality of icons,” the examiner cited a different portion
Trial and Appeal Board is                                       of Cook at column 8 lines 37–49, which describes the
                                                                branded player depicted in Figure 5 of Cook. J.A. 627.
REVERSED
                                                                The majority states, and I agree, that “a plurality of icons”
                                                                recited in the first limitation provides antecedent basis for
                                                                and thus must be the same as “the plurality of icons”
Moore, Circuit Judge, dissenting.
                                                                recited in the second limitation. Majority Op. at 9–10. And
The majority holds that the Patent Trial and Appeal
                                                                I do not read the PTO's brief to dispute this issue. What the
Board's (“Board”) findings regarding the scope and
                                                                PTO does argue is that the first limitation's “plurality of
content of the prior art are not supported by
                                                                lists of information” does not provide antecedent basis for
substantial evidence and reverses the Board's obviousness
                                                                “a corresponding list of information.” Appellee's Br. 29–
determination as to every disputed claim. I would affirm
                                                                30. I agree and therefore cannot join the majority's opinion
the Board's rejection of claims 1–8 and 12–33, but would
                                                                holding that the Board's findings are not supported by
reverse on claim 9.
                                                                substantial evidence because the Board relies on “different
                                                                lists” disclosed in Cook to satisfy each limitation. See
                                                                Majority Op. at 10.
                         I. Claim 1
                                                                The first limitation recites “at least some of the plurality
Respectfully, substantial evidence supports the Board's
                                                                of lists of information *929 about online video items.”
finding that Cook and Saarinen disclose the disputed
                                                                The second limitation recites “a corresponding list of
limitations of claim 1.
                                                                information about online video items.” I cannot agree
                                                                with the majority that these must be the same lists of
The majority opinion concludes that there is not
                                                                information for three reasons. First, there is no antecedent
substantial evidence to support the Board's finding that
                                                                basis to support limiting “a corresponding list” to one of
Cook discloses an “icon” and “a corresponding list of
                                                                the “plurality of lists.” Second, the limitations themselves
information.” See Majority Op. at 6–10. This implicates         use different words to describe the two different lists
two of the three limitations disputed by Lemay:                 of information. See CAE Screenplates Inc. v. Heinrich
  displaying, on the touch screen display of the portable       Fiedler GmbH & Co. KG, 224 F.3d 1308, 1317 (Fed. Cir.
  electronic device, a plurality of icons corresponding to at   2000) (holding there is a presumption that when different
                                                                words are used to describe different elements they have
  least some of the plurality of lists of information about
                                                                different meanings). That both limitations refer to lists of
  online video items;
                                                                information “about online video items” does not mean
  ...                                                           the limitations are referring to the same lists. Finally,
                                                                during prosecution, the PTO gives terms their broadest
  in response to detecting a finger gesture on a respective     reasonable construction. Viewing these terms under the
  icon in the plurality of icons, displaying, on the touch      broadest reasonable interpretation, I cannot say that “a
  screen display of the portable electronic device, a           corresponding list” must be identical to “the plurality of
  corresponding list of information about online video          lists.”
  items.
                                                                In short, the claim's “plurality of lists of information about
J.A. 15–16 (emphases added).
                                                                online video items” is a different element from the same
                                                                claim's “a corresponding list of information about online
For the first limitation, “a plurality of icons corresponding
                                                                video items.” The majority errs when it requires them to be
to at least some of the plurality of lists of information,”
                                                                “the same list.” Majority Op. at 10. Understanding claim
the examiner cited Cook's disclosure at column 6 lines
                                                                1 in this way, I would hold there is substantial evidence to
33–39, which describes a search result display depicted in
                                                                support the examiner's finding, adopted by the Board, that
Figure 3B of Cook. J.A. 626. For the second limitation,
                                                                these limitations are disclosed in Cook. See J.A. 626–27.
displaying “a corresponding list of information” after
detecting “a finger gesture on a respective icon in the


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                                                                    “Cook describes editing operations for a playlist, as well
For similar reasons, I would also hold that substantial
                                                                    as a function with an interface that directs the user to
evidence supports the Board's finding that the third
                                                                    take actions.” J.A. 8. The portion of Cook disclosing
limitation, “a first list of information about online video
                                                                    customizing playlists does not involve customizing or
items in a plurality of lists of information about online
video items,” is disclosed in Cook. Under the broadest              configuring the display of icons in any way. See J.A. 875
                                                                    (Cook at 8:37–49). Even if the “call-to-action” function
reasonable interpretation, I think the majority is again
mistaken in requiring that “a first list of information” look       could be interpreted to reconfigure the display of media
                                                                    product icons, as the PTO argues, Appellee's Br. 54–55,
the same as “a plurality of lists of information.”
                                                                    this function occurs within the branded player, apart from
                                                                    the “icons ... displayed with the first list of information.”
                                                                    See J.A. 869 (Cook at Fig. 5); 875 (Cook at 8:50–60).
                         II. Claim 9                                Because the Board's finding that Cook discloses claim
                                                                    9's “a configuration icon that when activated initiates the
While I disagree with the majority regarding claim 1,
                                                                    display of a user interface for configuring [ ] icons” is not
which is representative of claims 2–8 and 12–33, I
                                                                    supported by substantial evidence, I would reverse the
would not affirm the Board on claim 9. Claim 9 recites
                                                                    Board's decision that claim 9 would have been obvious
“a configuration icon that when activated initiates the
                                                                    over Cook.
display of a user interface for configuring which icons ...
are displayed with the first list of information.” J.A.
17. In its rejection, the examiner cited Cook at column             All Citations
8 lines 37–60, which describes Cook's branded player
depicted in Figure 5 and a “call-to-action” function.               660 Fed.Appx. 919
J.A. 629. The Board adopted the examiner's finding that


Footnotes
1      Apple Inc. is the real party in interest.
2      As will be explained more fully below, a claim is considered representative when the arguments presented in support
       of that claim before the PTAB apply to other claims grouped with the representative claim, and all claims argued with a
       representative claim rise and fall based on the representative claim. See 37 C.F.R. § 41.37(c)(1)(iv) (2012) (“For each
       ground of rejection applying to two or more claims, the claims may be argued ... as a group (all claims subject to the
       ground of rejection rise and fall together)....” (emphasis added)).
3      Since filing the Lemay application in December 2008, claims 1–33 have been amended on multiple occasions. See J.A.
       11–14 (PTAB Docket Sheet listing the parties' filings, including those related to amendments), 500, 510–11 (Lemay's
       comments regarding amendments). For ease of reference, the court refers to the amended claims as argued before the
       PTAB. See J.A. 15–23 (Appendix providing amended claims that “will replace all prior versions, and listings, of claims
       in the application”).
4      The USPTO also referenced U.S. Patent Application Publication Nos. 2007/0229465 (“Sakai”) and 2007/0064619
       (“Bettis”) as prior art, but Sakai and Bettis are not central to this appeal.
5      Congress amended § 103 when it enacted the Leahy–Smith America Invents Act (“AIA”). Pub. L. No. 112–29, § 3(c),
       125 Stat. 284, 287 (2011). However, because the Lemay application was filed before March 16, 2013, the pre-AIA § 103
       applies. See id. § 3(n)(1), 125 Stat. at 293.
6      In its Final Written Decision, the PTAB adopted the examiner's findings as to claim 1, see J.A. 6–7 (“We find that
       the evidence of record supports the [e]xaminer's finding th[at] Saarinen's touch screen and finger gestures (see, e.g.,
       Saarinen ¶¶ 37, 43), combined with Cook's icons and plurality of lists of information (see [J.A. 867 (Cook fig.3B) ] ),
       renders obvious the disputed [elements] of claim 1.”), and the USPTO has overstated the examiner's findings in its brief.
       Although we refer to the USPTO's supporting arguments, we review the examiner's findings as adopted by the PTAB.
7      Because the PTAB reversed the examiner's rejections of claims 10 and 11, they are not at issue in this appeal. See
       generally Appellants' Br. 41–56.


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                              CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the above-

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Date: March 1, 2017
                                                    /s/ andriy lytvyn/
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